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                                              In the
         United States Court of Appeals
                              for the Federal Circuit

                            BEARBOX LLC, AUSTIN STORMS,
                                                                            Plaintiffs-Appellants,
                                                 v.
     LANCIUM LLC, MICHAEL T. McNAMARA, RAYMOND E. CLINE, JR.,
                                                                          Defendants-Appellees.
                             _______________________________________
                               Appeal from the United States District Court
                       for the District of Delaware, No. 1:21-cv-00534-GBW-CJB
                                   The Honorable Gregory B. Williams

                            CORRECTED JOINT APPENDIX

ADAM M. KAUFMANN                                       BENJAMIN T. HORTON
BARNES & THORNBURG LLP                                 JOHN R. LABBE
One North Wacker Drive, Suite 4400                     RAYMOND R. RICORDATI, III
Chicago, Illinois 60606                                CHELSEA MURRAY
(312) 357-1313                                         MARSHALL, GERSTEIN & BORUN LLP
                                                       233 South Wacker Drive
MARK C. NELSON
                                                       6300 Willis Tower
BARNES & THORNBURG LLP
                                                       Chicago, IL 60606-6357
2121 North Pearl Street, Suite 700
                                                       (312) 474-6300
Dallas, Texas 75201
(214) 258-4200
                                                       Counsel for Plaintiffs-Appellants
CHAD S.C. STOVER                                       BearBox LLC and Austin Storms
BARNES & THORNBURG LLP
222 Delaware Avenue, Suite 1200
Wilmington, Delaware 19801
(302) 300-3434

Counsel for Appellees, Lancium LLC, Michael T.
McNamara and Raymond E. Cline, Jr.

 f                                                                                              @
     COUNSEL PRESS ∙ (866) 703-9373                                 PRINTED ON RECYCLED PAPER
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                     ~
               BearBox
               Product details - BearBox V20S (Bitmain S9j, Dragonmint T1, or similar)

               x   Physical Dimensions
                       o Exterior: 20’L x 8’ W x 8’6”H
                       o Interior: 19’4”L x 7’8”W x 7’9”H
                       o Door Opening: 7’8”W x 7’5”H
                       o Weight: 4,900 lbs. + installed equipment
               x   Electrical System
                       o 3-Phase, 4-Wire 415Y/240v
                       o Remote dual-outlet control PDUs (64.8kW total)
                       o All network infrastructure on UPS/battery backup
                       o ~373kW max load
               x   Physical Rack System
                       o Custom laser cut aluminum frame with stainless wire deck shelving
                                                                                     lving
                       o Adjustable in 1” increments
               x   Cooling System
                       o Convection air cooled
                       o (8) 10,100 CFM direct-drive, single-phase exhaust fans (see attached)
                                                                                        ached)
                       o Temperature controlled/software automation, remote on/off
               x   Air Filtration System
                        o Option 1: Permatron Model U2 (see attached)
                        o Option 2: Camfil V-Bank Glide/Pack (see attached)
                        o Intake-side adjustable pitch weather shield
               x   Total Designed Hashrate
                       o 272 miners @ 14.5 TH/s each
                       o 3.9 PH/s total
               x   Network
                       o Cat5e ethernet
                       o 48-port unmanaged switches (CISCO, TP-Link, or other)
                       o On-site WAN or satellite (varies by location)
               x   Software Management
                       o Local cgminer watchdog
                       o PostgreSQL database miner logging
                       o PDU/relay mapping (full automation)
                       o Optional real-time breakeven monitoring (renewable marketplace data)
                       o SMTP email alerts (restart, reboot, and maintenance required)
               x   Summary
                      o BearBox V20S (3.9 PH/s @ ~373kW max load)
                      o Does NOT include miners or exterior electrical infrastructure (transformer)
                      o Price - $86,791.51 ($94,766.33 after 9.2% sales tax)




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                                                                                                                 Bearbox v Lancium
                                                                                                                  Trial Exhibit
                                                                                                                     TX171


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                                                             Appx11371
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                    ~
               BearBox
               Product details - BearBox V20S (Bitmain S9j, Dragonmint T1, or similar) – cont.



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                                                    vfEASJaJ l,O




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Confidential                                                                                      LANCIUM00014570
                                                     Appx11372
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 3UH9HQW0RGHO8%+$
 )OH[LEOH)UDPH$LU,QWDNH)LOWHU
 $FWVDVDSULPDU\SUHILOWUDWLRQGHIHQVHWRKHOS
 SUHYHQWWKHGDPDJHDQGH[WHQVLYHPDLQWHQDQFHWKDW
 ODUJHYROXPHVRIGLUWDQGGHEULVFDQFDXVH0RGHO8
 DQG%+$DUHFXVWRPGHVLJQHGDQGPDQXIDFWXUHGWR                  02'(/8
                                                                   MODEL#Ul
 ILWDQ\VL]HGDLULQWDNH                                        02'(/8
                                                                   MODEL#U2

 0RGHO8ILOWHULVFRQVWUXFWHGRIZDVKDEOHWKUHHGLPHQVLRQDO                      3ODVWLFPRXQW
                                                                               FOLSVDYDLODEOHIRU
 HOHFWURVWDWLFSRO\SURS\OHQHPHGLDDQGHQFDVHGLQDµVHZQ                HDV\LQVWDOODWLRQ
 YLQ\OHGJHZLWKVLQJOHRUGRXEOHVWLWFKLQJ0RGHO8FRQWDLQV
 RQHOD\HURIPHGLDRU0RGHO8FRQWDLQVWZROD\HUVRIPHGLD
 GHSHQGLQJRQWKHDSSOLFDWLRQ·VHQYLURQPHQWDOSDUWLFOHVL]H

 0RGHO%+$ILOWHULVFRQVWUXFWHGRIEODFN39&FRDWHGSRO\HVWHU
 KLJKDEUDVLRQPHGLDDQGHQFDVHGLQDµVHZQYLQ\OHGJH
 ZLWKVLQJOHRUGRXEOHVWLWFKLQJ0RGHO%+$FRQWDLQVRQHOD\HU
 RIPHGLD

    • &DQEHDIIL[HGWRXQLWZLWKKRRNORRSVWULSSLQJJURPPHWV
      ZLWKPRXQWFOLSVHODVWLFEXQJHHKRRNVRUPDJQHWLF
      VWULSSLQJ
    • )LWVDQ\HTXLSPHQWVSHFLI\VL]H                                                           02'(/%+$
                                                                 0DJQHWLFVWULSSLQJLQVLGHYLQ\OHGJH
    • 6HZQµYLQ\OHGJH IROGHGWRµ LVVWDQGDUGIRU
                                                          for    DYDLODEOHIRUHDV\LQVWDOODWLRQ
                                                                 DYDLODEOHIRUHDV\LQVWDOODWLRQ
      IOH[LEOHILOWHUVVTXDUHLQFKHV
    • 6RQLFZHOGHGHGJHVDOVRDYDLODEOHDVIUDPHRSWLRQ
    • 89SURWHFWHGEODFNPHGLD
    • 8/&ODVVLILHGDVWR)ODPPDELOLW\2QO\
    • <HDU:DUUDQW\




                                                                 8           8              %+$
                         $YJ$UUHVWDQFH(IILFLHQF\                                     1$
                         'XVW+ROGLQJ&DSDFLW\              JP      JP                1$
                         ,QLWLDO$LU)ORZ5HVLVWDQFH      µZJ   µZJ    µZJ
                                                                                                              Bearbox v Lancium



                                      ZZZSHUPDWURQFRP
                                                                                                               Trial Exhibit
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                                         
                                                                                       3HUPDWURQ&RUSRUDWLRQ


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                                                       Appx11373
                                                                                                                                                        Case: 23-1922                                 Document: 39-7                    Page: 17                    Filed: 01/02/2024

                                                                                                                                     Fi l t e r F ra m e s & H o us i ng s

                                                                                                                                     H o u si n g s ( AS H RA E )


                                                                                                                                     V-Bank Glide/Pack ®

                                                                                                                                                                                                          Advantages
                                                                                                                                                                                                            V-bank design reduces filter                            Increases life of filters up to
                                                                                                                                                                                                              velocity and filter pressure                             four times
                                                                                                                                                                                                              drop by up to 60%, saving
                                                                                                                                                                                                              energy



                                                                                                                                                                                                          Typical applications: Single-stage V-bank filter housing for commercial, industrial,
                                                                                                                                                                                                          manufacturing or medical facilities.
                                                                                                                                                                                                          Construction: 16-gauge galvanized steel with pre-drilled standing flanges, dual access doors,
                                                                                                                                                                                                          UV-resistant door knobs, door and filter sealing gasketing.
                                                                                                                                                                                                          Filters: Any 2" deep filter.
                                                                                                                                                                                                          Performance: Less than 1/2 of 1% leakage guaranteed. Rated airflow 500 fpm, may be
                                                                                                                                                                                                          operated to 625 fpm. Standard model operational to ± 6.0" w.g.
                                                                                                                                                                                                          Additional data: Sizes available from 4 filters high to 6 filters wide. Housing is weatherproof for
                                                                                                                                                                                                          outside installation without modification. Includes pneumatic fitting for static pressure gauge.

                                                                                                                                                                                                          See Literature 2421 for more details.


                                                                                                                                                                                        W     D




                                                                                                                                     Dimensions and Airflow Capacity (cfm)

                                                                                                                                                                      ½          1           1-½           2       2-½          3       3-½          4        4-½            5        5-½         6         Housing
                                                                                                                                     Number of          Height       Filter    Filter       Filters     Filters   Filters    Filters   Filters    Filters    Filters      Filters    Filters   Filters        depth
                                                                                                                                     filters wide      (inches)      wide      wide          wide        wide      wide       wide      wide       wide       wide         wide       wide      wide        (inches)

                                                                                                                                     ½                  15.25          -      2,000            -        4,000        -       6,000        -       8,000         -        10,000         -      12,000
                                                                                                                                     1                  27.25        2,000    4,000         6,000       8,000     10,000    12,000     14,000     16,000    18,000       20,000      22,000    24,000
                                                                                                                                     1-½                39.50          -      6,000            -       12,000        -      18,000        -       24,000        -        30,000         -      36,000
  As part of our program for continuous improvement, Camfil reserves the right to change specifications without notice. 2018-12-07




                                                                                                                                     2                  51.50        4,000    8,000         12,000     16,000     20,000    24,000     28,000     32,000    36,000       40,000      44,000    48,000
                                                                                                                                                                                                                                                                                                             28.00
                                                                                                                                     2-½                63.75          -      10,000           -       20,000        -      30,000        -       40,000        -        50,000         -      60,000
                                                                                                                                     3                  75.75        6,000    12,000        18,000     24,000     30,000    36,000     42,000     48,000    54,000       60,000      66,000    72,000
                                                                                                                                     3-½                88.00          -      14,000           -       28,000        -      42,000        -       54,000        -        70,000         -      84,000
                                                                                                                                     4                  100.00       8,000    16,000        24,000     32,000     40,000    48,000     56,000     60,000    72,000       80,000      88,000    96,000
                                                                                                                                                    Width (inches)    12        24           36          48         60        72         84        96         108          120        132       144




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                                                                                                                                                                                                                                                                                                         Bearbox v Lancium
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                                                                                                                                                                                                                                                                                                             TX173




                                                                                                                                                                                            Conover NC, Corcoran CA, Crystal Lake IL, Riverdale NJ,
                                                                                                                                                                                                       Washington NC, Concord Ontario
                                                                                                                                                                                        United States Tel: (866) 422-6345, Canada Tel: (800) 976-9382                               ◄ camfil
                                                                                                                                                                                                                www.camfil.com




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                                                                                                                                                                                                                     Appx11374
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      Total System Solutions

       Wall Master Exhaust Fan
       J&D Manufacturing’s Wall Master exhaust fan offers high volume output and smooth, efficient operation. The heavy duty 18 gauge
       galvanized housing is strong, compact, and easy to install. J&D’s Wall Master is a dependable fan suited for nearly any application
       including agricultural buildings, greenhouses, and warehouses.

         When installing any J&D Manufacturing
         exhaust fan, you must provide a proper
         inlet. Call us today to help you choose
         the appropriate inlet and design an
         efficient ventilation system.




      Features
      • Available in 36” and 50” models
      • Heavy duty 18 gauge galvanized housing
      • Rugged X-frame for added stability on belt drive models
      • Aluminum shutters with tie bar to prevent flapping and locking open
      • 1” x 2” removable wire mesh guards are hot dip galvanized after welding
      • Poly guard clips to reduce vibration for quiet performance
      • 3, 4 or 6 blade galvanized propeller is balanced for smooth operation
      • Lifetime Warranty on 3 blade cast aluminum props, available
        on select 50” models
      • Bearings are eccentric locking, pre-lubricated, permanently sealed and rubber
        mounted for smooth operation and reduced blade fatigue, and are covered by
        a Three Year Warranty
      • Spring belt tensioning system reduces bounce at startup on all belt driven models
      • Optional weather hood available for protection from severe wind and weather                                                                                                Bearbox v Lancium
      • Totally enclosed, maintenance-free, high-efficiency motors have completely                                                                                                   Trial Exhibit
        sealed ball bearings, and are covered by a Two Year Warranty                                                                                                                   TX174

              !   WARNING: This product can expose you to chemicals including lead, which is known to the State of California to cause cancer
                           and birth defects or other reproductive harm. For more information go to www.P65Warnings.ca.gov/product.
       Due to our continual effort to provide the best products available and adhere to market conditions; literature, products, prices and availability are subject to change without notice.



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Confidential                                                                                                                                                         LANCIUM00014573
                                                                                      Appx11375
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      Wall Master Exhaust· Fan




                                                                                                                                Removable 12 Gauge 1” x 2” wire mesh guards
                                                                                                                                are hot dip galvanized after welding. The guard is
                                                                                                                                attached to the housing with poly guard clips to
                                                                                                                                reduce noise and vibration.




                                                                                                                                Belt drive models include a heavy duty spring belt
                                                                                                                                tensioner to reduce bounce at startup and provide
                                                                                                                                uniform loading to increase the life of the belt and
                                                                                                                                maintain high efficiency.
                           Heavy-duty X-frame - (Shown without rear guard for illustration purposes only)

                                 @0.05” SP
                                      CFM/
       Part#        Size Phs Spd CFM Watt Drive Prop
      _______________________________________________                                                                 Optional Weather Hood
       Single Phase
      _______________________________________________
       VF36DM       36” 1 1 10,100 19.5 Direct 3-Glv
      _______________________________________________                                                                 If Wall Master is mounted with the
       VF36GG       36” 1 1      9,000 18.1 Belt 4-Glv
      _______________________________________________                                                                 shutter side of the fan flush to an
       VF36GG1      36” 1 1 11,500 15.2 Belt 4-Glv
      _______________________________________________                                                                 exterior wall a weather hood may
       VF36GG2      36” 1     2 11,400 15.3 Belt 4-Glv
      _______________________________________________                                                                 be used on the exterior shutter
       VF50GG       50” 1 1 21,000 18.9 Belt 3-Glv
      _______________________________________________                                                                 side of the Wall Master to
       VF50GG6      50” 1 1 21,300 20.0 Belt 6-Glv
      _______________________________________________                                                                 further protect the fan and
       VF50GGCA     50” 1 1 20,900 ' 18.8 Belt 3-CA
      _______________________________________________                                                                 shutter from severe winds
       Three Phase
      _______________________________________________                                                                 and harsh weather.
       VF36DM3CF 36” 3 1 10,000 19.6 Direct 3-Glv
      _______________________________________________
       VF36GG3      36” 3 1 11,400 15.1 Belt 4-Glv
      _______________________________________________                                                                   Wall    Weather
       VF503GG
       VF503GG6
                    50” 3 1 21,000 18.9 Belt 3-Glv
      _______________________________________________
                    50” 3 1 21,200 20.2 Belt 6-Glv
      _______________________________________________
       VF503GGCA 50” 3 1 20,900 18.8 Belt 3-CA
      _______________________________________________
       OSHA requires these fans to be mounted 7’ above the floor
                                                                                    [D[IJ
                                                                                     Fan
                                                                                    Size
                                                                                             Rough
                                                                                            Opening
                                                                                    ___________________
                                                                                     36” 41”W x 41”H
                                                                                    ___________________
                                                                                     50” 54¾”W x 54¾”H
                                                                                                                       Master    Hood
                                                                                                                      Fan Size Part#
                                                                                                                      ___________________
                                                                                                                         36”   VFT140860
                                                                                                                      ___________________
                                                                                                                         50”   VFT140861


             !   WARNING: This product can expose you to chemicals including lead, which is known to the State of California to cause cancer
                          and birth defects or other reproductive harm. For more information go to www.P65Warnings.ca.gov/product.
      Due to our continual effort to provide the best products available and adhere to market conditions; literature, products, prices and availability are subject to change without notice.



                     www.jdmfg.com                     jdmfg@jdmfg.com                    P:1-800-998-2398                   F:1-888-972-4454                                           28
Confidential                                                                                                                                                         LANCIUM00014574
                                                                                     Appx11376
                   A           B                 C                    D              E              F                   G                 H           I               J              K               L
             1 BTC_price block_height breakeven_mining_cost     datetime     day_ahead_LMP day_ahead_LMP_rev est_network_hashrate    mining_rev network_diff real_time_LMP real_time_LMP_rev realized_rev
             2    5698.24       574867               0.0883609 5/6/19 11:37         0.0292715         0.9056602         4.81358E+13 2.6928794 6.70217E+12           0.0283682         0.8777121  2.6928794
             3    5704.01       574867               0.0884504 5/6/19 11:42         0.0292715         0.9056602         4.81358E+13 2.6956062 6.70217E+12           0.0256247         0.7928282  2.6956062
             4    5721.16       574868               0.0878003 5/6/19 11:47         0.0292715         0.9056602         4.86381E+13 2.6757929 6.70217E+12           0.0266466         0.8244458  2.6757929
             5    5712.77       574868               0.0876715 5/6/19 11:52         0.0292715         0.9056602         4.86381E+13 2.6718689 6.70217E+12           0.0294184         0.9102053  2.6718689
             6    5702.98       574868               0.0875213 5/6/19 11:57         0.0292715         0.9056602         4.86381E+13 2.6672901 6.70217E+12           0.2156316         6.6716417  6.6716417
             7    5711.53       574868               0.0876525 5/6/19 12:02         0.0319112         0.9873325         4.86381E+13     2.671289 6.70217E+12        0.4257598        13.1730082 13.1730082
             8    5719.99       574868               0.0877823 5/6/19 12:08         0.0319112         0.9873325         4.86381E+13 2.6752457 6.70217E+12           0.2947237         9.1187513  9.1187513
             9    5711.93       574869               0.0870193 5/6/19 12:13         0.0319112         0.9873325         4.89954E+13 2.6519913 6.70217E+12           0.1560219         4.8273176  4.8273176
            10    5708.01       574871               0.0868646 5/6/19 12:18         0.0319112         0.9873325           4.9049E+13 2.6472769 6.70217E+12          0.0253548         0.7844775  2.6472769
            11     5701.9       574871               0.0867716 5/6/19 12:23         0.0319112         0.9873325           4.9049E+13 2.6444432 6.70217E+12           0.027036         0.8364938  2.6444432
            12    5698.51       574871                  0.08672 5/6/19 12:28        0.0319112         0.9873325           4.9049E+13    2.642871 6.70217E+12         0.026636         0.8241178   2.642871
            13    5705.99       574875               0.0875317 5/6/19 13:07         0.0316965         0.9806897         4.86579E+13 2.6676082 6.70217E+12           0.0297482         0.9204093  2.6676082
            14    5706.72       574875               0.0875429 5/6/19 13:11         0.0316965         0.9806897         4.86579E+13 2.6679495 6.70217E+12           0.0283545         0.8772882  2.6679495
            15    5702.01       574875               0.0874707 5/6/19 13:16         0.0316965         0.9806897         4.86579E+13 2.6657475 6.70217E+12           0.0263671         0.8157981  2.6657475
                                                                                                                                                                                                               Case: 23-1922




            16    5703.44       574876               0.0881359 5/6/19 13:21         0.0316965         0.9806897         4.83028E+13 2.6860221 6.70217E+12            0.027458         0.8495505  2.6860221
            17    5705.99       574876               0.0881753 5/6/19 13:26         0.0316965         0.9806897         4.83028E+13     2.687223 6.70217E+12        0.0295297         0.9136489    2.687223
            18    5706.85       574876               0.0881886 5/6/19 13:31         0.0316965         0.9806897         4.83028E+13     2.687628 6.70217E+12         0.029437         0.9107808    2.687628
            19    5726.52       574876               0.0884926 5/6/19 13:36         0.0316965         0.9806897         4.83028E+13 2.6968915 6.70217E+12           0.0294468          0.911084  2.6968915
            20    5727.41       574876               0.0885064 5/6/19 13:41         0.0316965         0.9806897         4.83028E+13 2.6973107 6.70217E+12           0.0291977         0.9033768  2.6973107
            21    5742.95       574876               0.0887465 5/6/19 13:46         0.0316965         0.9806897         4.83028E+13 2.7046292 6.70217E+12           0.0461903         1.4291279  2.7046292
            22    5734.03       574876               0.0886086 5/6/19 13:51         0.0316965         0.9806897         4.83028E+13 2.7004284 6.70217E+12           0.0300478         0.9296789  2.7004284
            23    5731.45       574876               0.0885688 5/6/19 13:56         0.0316965         0.9806897         4.83028E+13 2.6992133 6.70217E+12            0.023358         0.7226965  2.6992133
            24    5739.99       574877               0.0901743 5/6/19 14:01         0.0292446         0.9048279         4.75135E+13 2.7481417 6.70217E+12           0.0252541         0.7813619  2.7481417
            25     5749.1       574877               0.0903174 5/6/19 14:06         0.0292446         0.9048279         4.75135E+13 2.7525033 6.70217E+12            0.022385         0.6925919  2.7525033
            26    5732.99       574877               0.0900643 5/6/19 14:11         0.0292446         0.9048279         4.75135E+13 2.7447903 6.70217E+12           0.0278815         0.8626536  2.7447903
                                                                                                                                                                                                               Document: 39-7




            27    5722.65       574878               0.0904991 5/6/19 14:16         0.0292446         0.9048279         4.71999E+13 2.7580421 6.70217E+12           0.0276273         0.8547887  2.7580421
            28    5719.43       574878               0.0904482 5/6/19 14:21         0.0292446         0.9048279         4.71999E+13 2.7564902 6.70217E+12           0.0401146         1.2411457  2.7564902




Appx11377
            29    5727.52       574878               0.0905761 5/6/19 14:26         0.0292446         0.9048279         4.71999E+13 2.7603892 6.70217E+12           0.0357633         1.1065165  2.7603892
            30    5719.12       574878               0.0904433 5/6/19 14:31         0.0292446         0.9048279         4.71999E+13 2.7563408 6.70217E+12           0.0216376         0.6694673  2.7563408
            31    5720.06       574880               0.0904384 5/6/19 14:37         0.0292446         0.9048279         4.72102E+13 2.7561911 6.70217E+12           0.0206897         0.6401393  2.7561911
            32    5730.64       574880               0.0906057 5/6/19 14:42         0.0292446         0.9048279         4.72102E+13 2.7612891 6.70217E+12           0.0212322         0.6569243  2.7612891
                                                                                                                                                                                                               Page: 20




            33    5734.69       574880               0.0906697 5/6/19 14:47         0.0292446         0.9048279         4.72102E+13 2.7632406 6.70217E+12           0.0214839         0.6647119  2.7632406
            34    5739.31       574881                0.090775 5/6/19 14:52         0.0292446         0.9048279         4.71935E+13 2.7664494 6.70217E+12           0.0212921         0.6587776  2.7664494
            35    5736.72       574882               0.0910352 5/6/19 14:57         0.0292446         0.9048279         4.70373E+13 2.7743811 6.70217E+12            0.020696         0.6403342  2.7743811
            36    5741.99       574883               0.0905084 5/6/19 15:02         0.0212846         0.6585455         4.73545E+13 2.7583257 6.70217E+12           0.0203623         0.6300096  2.7583257
            37    5733.24       574885               0.0890821 5/6/19 15:07         0.0212846         0.6585455         4.80395E+13 2.7148565 6.70217E+12           0.0198016         0.6126615  2.7148565
            38    5724.73       574886               0.0885552 5/6/19 15:12         0.0212846         0.6585455         4.82535E+13 2.6988006 6.70217E+12           0.0190006         0.5878786  2.6988006
            39    5709.73       574886               0.0883232 5/6/19 15:17         0.0212846         0.6585455         4.82535E+13 2.6917292 6.70217E+12           0.0184907         0.5721023  2.6917292
            40    5678.11       574887                0.088385 5/6/19 15:22         0.0212846         0.6585455         4.79528E+13 2.6936119 6.70217E+12            0.023136         0.7158278  2.6936119
            41    5683.73       574888               0.0873487 5/6/19 15:27         0.0212846         0.6585455         4.85697E+13 2.6620299 6.70217E+12           0.0165815         0.5130316  2.6620299
            42    5681.84       574891               0.0832705 5/6/19 15:32         0.0212846         0.6585455         5.09315E+13 2.5377429 6.70217E+12           0.0157946         0.4886849  2.5377429
            43    5697.16       574891                0.083495 5/6/19 15:37         0.0212846         0.6585455         5.09315E+13 2.5445855 6.70217E+12           0.0722406         2.2351242  2.5445855
            44    5684.36       574892               0.0835678 5/6/19 15:42         0.0212846         0.6585455         5.07728E+13 2.5468044 6.70217E+12            0.025128         0.7774603  2.5468044
                                                                                                                                                                                                               Filed: 01/02/2024




            45    5683.95       574894               0.0819393 5/6/19 15:47         0.0212846         0.6585455         5.17781E+13 2.4971743 6.70217E+12           0.0141482         0.4377453  2.4971743
            46    5700.28       574894               0.0821747 5/6/19 15:52         0.0212846         0.6585455         5.17781E+13 2.5043487 6.70217E+12           0.0158794         0.4913086  2.5043487
            47    5700.01       574895               0.0825354 5/6/19 15:57         0.0212846         0.6585455         5.15494E+13     2.515341 6.70217E+12        0.0142467         0.4407929    2.515341
            48    5696.94       574897               0.0824036 5/6/19 16:02         0.0282033         0.8726101         5.16041E+13 2.5113225 6.70217E+12           0.0193804         0.5996296  2.5113225
            49    5700.76       574897               0.0824588 5/6/19 16:07         0.0282033         0.8726101         5.16041E+13 2.5130065 6.70217E+12           0.0145181            0.44919 2.5130065
            50    5684.53       574897               0.0822241 5/6/19 16:12         0.0282033         0.8726101         5.16041E+13     2.505852 6.70217E+12        0.0157287          0.486646    2.505852
            51    5689.74       574897               0.0822994 5/6/19 16:18         0.0282033         0.8726101         5.16041E+13 2.5081486 6.70217E+12           0.0162324         0.5022305  2.5081486
            52    5682.26       574897               0.0821912 5/6/19 16:23         0.0282033         0.8726101         5.16041E+13 2.5048513 6.70217E+12           0.0157041         0.4858849  2.5048513


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            exelon4_modeling_05092019                                                                      1                                                                                LANCIUM00014575
                    A           B                 C                    D              E              F                   G                 H           I               J              K               L
              1 BTC_price block_height breakeven_mining_cost     datetime     day_ahead_LMP day_ahead_LMP_rev est_network_hashrate    mining_rev network_diff real_time_LMP real_time_LMP_rev realized_rev
             53    5686.59       574898               0.0828228 5/6/19 16:28         0.0282033         0.8726101         5.12496E+13 2.5240987 6.70217E+12           0.0148626         0.4598488  2.5240987
             54    5681.45       574899               0.0829971 5/6/19 16:33         0.0282033         0.8726101         5.10957E+13 2.5294123 6.70217E+12           0.0141661         0.4382991  2.5294123
             55    5684.86       574899               0.0830469 5/6/19 16:38         0.0282033         0.8726101         5.10957E+13 2.5309305 6.70217E+12           0.0039202           0.121291 2.5309305
             56     5679.5       574899               0.0829686 5/6/19 16:43         0.0282033         0.8726101         5.10957E+13 2.5285442 6.70217E+12           0.0059038         0.1826636  2.5285442
             57    5681.53       574901               0.0836257 5/6/19 16:48         0.0282033         0.8726101         5.07124E+13 2.5485671 6.70217E+12           0.0056964         0.1762466  2.5485671
             58    5689.99       574902               0.0837969 5/6/19 16:53         0.0282033         0.8726101         5.06841E+13 2.5537859 6.70217E+12           0.0098804         0.3056996  2.5537859
             59    5691.01       574903               0.0831196 5/6/19 16:58         0.0282033         0.8726101         5.11063E+13 2.5331438 6.70217E+12           0.0072672         0.2248472  2.5331438
             60    5699.02       574904               0.0827156 5/6/19 17:03         0.0245371         0.7591779         5.14281E+13 2.5208339 6.70217E+12           0.0100674         0.3114854  2.5208339
             61    5700.57       574905               0.0827554 5/6/19 17:08         0.0245371         0.7591779         5.14174E+13 2.5220451 6.70217E+12           0.0086099         0.2663903  2.5220451
             62    5695.51       574906               0.0812506 5/6/19 17:13         0.0245371         0.7591779         5.23232E+13 2.4761856 6.70217E+12           0.0053846         0.1665995  2.4761856
             63     5694.8       574907               0.0809439 5/6/19 17:18         0.0245371         0.7591779         5.25149E+13 2.4668388 6.70217E+12           0.0017196         0.0532044  2.4668388
             64    5695.29       574907               0.0809509 5/6/19 17:23         0.0245371         0.7591779         5.25149E+13     2.467051 6.70217E+12        0.0048459         0.1499321    2.467051
             65    5711.94       574907               0.0811875 5/6/19 17:28         0.0245371         0.7591779         5.25149E+13 2.4742634 6.70217E+12           0.0072046         0.2229103  2.4742634
             66    5717.52       574908               0.0815164 5/6/19 17:33         0.0245371         0.7591779         5.23541E+13 2.4842862 6.70217E+12           0.0173188         0.5358437  2.4842862
                                                                                                                                                                                                               Case: 23-1922




             67    5717.19       574908               0.0815117 5/6/19 17:38         0.0245371         0.7591779         5.23541E+13 2.4841428 6.70217E+12           0.0107967         0.3340499  2.4841428
             68    5709.94       574908               0.0814083 5/6/19 17:43         0.0245371         0.7591779         5.23541E+13 2.4809927 6.70217E+12           0.0175668         0.5435168  2.4809927
             69    5706.05       574908               0.0813529 5/6/19 17:48         0.0245371         0.7591779         5.23541E+13 2.4793025 6.70217E+12           0.0040943         0.1266776  2.4793025
             70    5698.01       574909               0.0821371 5/6/19 17:53         0.0245371         0.7591779         5.17812E+13 2.5032013 6.70217E+12           0.0062052         0.1919889  2.5032013
             71    5704.79       574909               0.0822348 5/6/19 17:59         0.0245371         0.7591779         5.17812E+13 2.5061798 6.70217E+12           0.0060673         0.1877223  2.5061798
             72    5706.81       574909               0.0822639 5/6/19 18:04         0.0188872            0.58437        5.17812E+13 2.5070672 6.70217E+12            0.004964         0.1535862  2.5070672
             73    5699.44       574910               0.0819668 5/6/19 18:09         0.0188872            0.58437        5.19018E+13 2.4980119 6.70217E+12           0.0096617           0.298933 2.4980119
             74    5697.53       574910               0.0819393 5/6/19 18:14         0.0188872            0.58437        5.19018E+13 2.4971748 6.70217E+12           0.0094749         0.2931534  2.4971748
             75    5693.01       574910               0.0818743 5/6/19 18:19         0.0188872            0.58437        5.19018E+13 2.4951937 6.70217E+12           0.0097717         0.3023364  2.4951937
             76    5693.01       574910               0.0818743 5/6/19 18:24         0.0188872            0.58437        5.19018E+13 2.4951937 6.70217E+12           0.0113155         0.3501016  2.4951937
             77    5693.94       574911               0.0828462 5/6/19 18:29         0.0188872            0.58437        5.13013E+13 2.5248113 6.70217E+12          -0.0060949        -0.1885762  2.5248113
                                                                                                                                                                                                               Document: 39-7




             78    5699.57       574911               0.0829281 5/6/19 18:34         0.0188872            0.58437        5.13013E+13 2.5273078 6.70217E+12           0.0003233         0.0100029  2.5273078
             79    5698.15       574912               0.0833531 5/6/19 18:39         0.0188872            0.58437          5.1027E+13    2.540262 6.70217E+12        0.0028852         0.0892681    2.540262




Appx11378
             80    5693.81       574913               0.0834471 5/6/19 18:44         0.0188872            0.58437        5.09307E+13 2.5431267 6.70217E+12           0.0066411         0.2054756  2.5431267
             81    5686.01       574914               0.0818977 5/6/19 18:49         0.0188872            0.58437        5.18232E+13 2.4959076 6.70217E+12           0.0059357         0.1836506  2.4959076
             82    5685.94       574915               0.0814507 5/6/19 18:54         0.0188872            0.58437        5.21069E+13 2.4822846 6.70217E+12          -0.0011344        -0.0350983  2.4822846
             83     5683.4       574915               0.0814144 5/6/19 18:59         0.0188872            0.58437        5.21069E+13 2.4811757 6.70217E+12           0.0001905         0.0058941  2.4811757
                                                                                                                                                                                                               Page: 21




             84    5694.85       574915               0.0815784 5/6/19 19:04         0.0193163         0.5976463         5.21069E+13 2.4861744 6.70217E+12           0.0002833         0.0087653  2.4861744
             85    5721.14       574915                0.081955 5/6/19 19:09         0.0193163         0.5976463         5.21069E+13 2.4976517 6.70217E+12           0.0025406         0.0786062  2.4976517
             86    5732.53       574915               0.0821181 5/6/19 19:14         0.0193163         0.5976463         5.21069E+13 2.5026242 6.70217E+12           0.0016449         0.0508932  2.5026242
             87    5732.74       574915               0.0821211 5/6/19 19:19         0.0193163         0.5976463         5.21069E+13 2.5027159 6.70217E+12           0.0041178         0.1274047  2.5027159
             88     5730.2       574915               0.0820848 5/6/19 19:24         0.0193163         0.5976463         5.21069E+13     2.501607 6.70217E+12        -0.000019        -0.0005879   2.501607
             89    5737.27       574915                0.082186 5/6/19 19:29         0.0193163         0.5976463         5.21069E+13 2.5046935 6.70217E+12          -0.0002028        -0.0062746  2.5046935
             90    5731.74       574915               0.0821068 5/6/19 19:34         0.0193163         0.5976463         5.21069E+13 2.5022793 6.70217E+12           0.0002309           0.007144 2.5022793
             91    5727.94       574915               0.0820524 5/6/19 19:40         0.0193163         0.5976463         5.21069E+13 2.5006204 6.70217E+12           0.0130869         0.4049087  2.5006204
             92    5741.23       574915               0.0822428 5/6/19 19:45         0.0193163         0.5976463         5.21069E+13 2.5064223 6.70217E+12           0.0122933         0.3803547  2.5064223
             93    5740.52       574915               0.0822326 5/6/19 19:50         0.0193163         0.5976463         5.21069E+13 2.5061123 6.70217E+12           0.0089193         0.2759631  2.5061123
             94    5749.19       574916                  0.08668 5/6/19 19:55        0.0193163         0.5976463           4.9508E+13 2.6416525 6.70217E+12          0.0021355         0.0660724  2.6416525
             95    5745.01       574916                0.086617 5/6/19 20:00         0.0241251         0.7464306           4.9508E+13 2.6397319 6.70217E+12          -0.001813        -0.0560942  2.6397319
                                                                                                                                                                                                               Filed: 01/02/2024




             96    5763.99       574916               0.0869032 5/6/19 20:05         0.0241251         0.7464306           4.9508E+13 2.6484528 6.70217E+12         -0.0003708        -0.0114726  2.6484528
             97    5769.68       574916                0.086989 5/6/19 20:10         0.0241251         0.7464306           4.9508E+13 2.6510673 6.70217E+12          0.0062241         0.1925737  2.6510673
             98    5769.14       574917               0.0882187 5/6/19 20:15         0.0241251         0.7464306         4.88133E+13 2.6885453 6.70217E+12           0.0116013         0.3589442  2.6885453
             99    5755.39       574917               0.0880085 5/6/19 20:20         0.0241251         0.7464306         4.88133E+13 2.6821375 6.70217E+12           0.0009813         0.0303614  2.6821375
            100     5754.1       574917               0.0879887 5/6/19 20:25         0.0241251         0.7464306         4.88133E+13 2.6815363 6.70217E+12          -0.0161407        -0.4993933  2.6815363
            101     5771.1       574917               0.0882487 5/6/19 20:30         0.0241251         0.7464306         4.88133E+13 2.6894587 6.70217E+12          -0.0174708        -0.5405466  2.6894587
            102    5764.05       574918               0.0890788 5/6/19 20:35         0.0241251         0.7464306         4.82994E+13     2.714756 6.70217E+12       -0.0175085          -0.541713  2.714756
            103     5752.2       574918               0.0888956 5/6/19 20:40         0.0241251         0.7464306         4.82994E+13 2.7091749 6.70217E+12          -0.0038463        -0.1190045  2.7091749


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            exelon4_modeling_05092019                                                                      2                                                                                LANCIUM00014575
                   A           B                 C                   D              E              F                   G                H           I               J              K               L
             1 BTC_price block_height breakeven_mining_cost    datetime     day_ahead_LMP day_ahead_LMP_rev est_network_hashrate   mining_rev network_diff real_time_LMP real_time_LMP_rev realized_rev
            104   5755.49       574918               0.0889465 5/6/19 20:45        0.0241251         0.7464306         4.82994E+13 2.7107244 6.70217E+12         -0.0004318        -0.0133599  2.7107244
            105   5762.02       574919               0.0902091 5/6/19 20:50        0.0241251         0.7464306         4.76774E+13 2.7492027 6.70217E+12          0.0004104         0.0126978  2.7492027
            106    5760.7       574919               0.0901884 5/6/19 20:55        0.0241251         0.7464306         4.76774E+13 2.7485729 6.70217E+12         -0.0009508        -0.0294178  2.7485729
            107   5762.49                            0.0902164 5/6/19 21:02        0.0175071         0.5416697         4.76774E+13    2.749427                    0.0007073         0.0218839    2.749427
            108   5774.99       574920               0.1001885 5/6/19 21:19        0.0175071         0.5242793         4.74463E+13 2.9553058 6.70217E+12         -0.0013119          -0.039287 2.9553058
            109   5844.99       574922               0.1031216 5/6/19 21:44        0.0175071         0.5242793         4.66555E+13 3.0418256 6.70217E+12         -0.0118157        -0.3538408  3.0418256
            110   5844.99       574922               0.1031216 5/6/19 21:44        0.0175071         0.5242793         4.66555E+13 3.0418256 6.70217E+12         -0.0118157        -0.3538408  3.0418256
            111   5844.99       574922               0.1031216 5/6/19 21:45        0.0175071         0.5242793         4.66555E+13 3.0418256 6.70217E+12         -0.0118157        -0.3538408  3.0418256
            112   5844.99       574922               0.1031216 5/6/19 21:45        0.0175071         0.5242793         4.66555E+13 3.0418256 6.70217E+12         -0.0118157        -0.3538408  3.0418256
            113   5843.89       574923               0.1041911 5/6/19 21:52        0.0175071         0.5242793         4.61679E+13 3.0733748 6.70217E+12          0.0001052         0.0031504  3.0733748
            114   5889.14       574923               0.1049979 5/6/19 21:57        0.0175071         0.5242793         4.61679E+13 3.0971724 6.70217E+12          0.0047856         0.1433128  3.0971724
            115   5938.96       574925               0.1060149 5/6/19 22:02        0.0137884         0.4129166         4.61118E+13 3.1271721 6.70217E+12          0.0012328         0.0369183  3.1271721
            116   5924.06       574925                0.105749 5/6/19 22:07        0.0137884         0.4129166         4.61118E+13 3.1193265 6.70217E+12         -0.0183554          -0.549683 3.1193265
            117    5904.4       574925                0.105398 5/6/19 22:15        0.0137884         0.4129166         4.61118E+13 3.1089744 6.70217E+12         -0.0038279        -0.1146328  3.1089744
                                                                                                                                                                                                             Case: 23-1922




            118    5904.4       574925                0.105398 5/6/19 22:16        0.0137884         0.4129166         4.61118E+13 3.1089744 6.70217E+12         -0.0038279        -0.1146328  3.1089744
            119   5906.55       574925               0.1054364 5/6/19 22:16        0.0137884         0.4129166         4.61118E+13 3.1101065 6.70217E+12         -0.0038279        -0.1146328  3.1101065
            120   5906.55       574925               0.1054364 5/6/19 22:16        0.0137884         0.4129166         4.61118E+13 3.1101065 6.70217E+12         -0.0038279        -0.1146328  3.1101065
            121   5906.55       574925               0.1054364 5/6/19 22:16        0.0137884         0.4129166         4.61118E+13 3.1101065 6.70217E+12         -0.0038279        -0.1146328  3.1101065
            122   5906.55       574925               0.1054364 5/6/19 22:16        0.0137884         0.4129166         4.61118E+13 3.1101065 6.70217E+12         -0.0038279        -0.1146328  3.1101065
            123   5900.68       574927               0.1057464 5/6/19 22:23        0.0137884         0.4129166         4.59309E+13    3.119251 6.70217E+12        0.0035913         0.1075475    3.119251
            124   5904.02       574929               0.1030516 5/6/19 22:30        0.0137884         0.4129166         4.71587E+13 3.0397615 6.70217E+12         -0.0015977        -0.0478458  3.0397615
            125   5904.02       574929               0.1030516 5/6/19 22:30        0.0137884         0.4129166         4.71587E+13 3.0397615 6.70217E+12         -0.0015977        -0.0478458  3.0397615
            126    5898.4       574930               0.1031447 5/6/19 22:35        0.0137884         0.4129166         4.70713E+13 3.0425064 6.70217E+12         -0.0289922        -0.8682197  3.0425064
            127   5893.05       574930               0.1030511 5/6/19 22:37        0.0137884         0.4129166         4.70713E+13 3.0397468 6.70217E+12         -0.0289922        -0.8682197  3.0397468
            128   5897.36       574930               0.1031265 5/6/19 22:42        0.0137884         0.4129166         4.70713E+13     3.04197 6.70217E+12       -0.0236925        -0.7095114     3.04197
                                                                                                                                                                                                             Document: 39-7




            129   5899.22       574931               0.1032757 5/6/19 22:47        0.0137884         0.4129166         4.70181E+13    3.046371 6.70217E+12       -0.0155618          -0.466024  3.046371
            130    5901.5       574931               0.1033156 5/6/19 22:52        0.0137884         0.4129166         4.70181E+13 3.0475484 6.70217E+12         -0.0215767        -0.6461502  3.0475484




Appx11379
            131   5895.01       574932               0.1028817 5/6/19 22:57        0.0137884         0.4129166         4.71645E+13 3.0347496 6.70217E+12         -0.0188905        -0.5657075  3.0347496
            132   5882.85       574943               0.1003326 5/7/19 0:02         0.0098383         0.2946243           4.8263E+13 2.9595589 6.70217E+12         -0.002652        -0.0794186  2.9595589
            133   5891.99       574943               0.1004885 5/7/19 0:07         0.0098383         0.2946243           4.8263E+13 2.9641571 6.70217E+12         0.0003922         0.0117451  2.9641571
            134    5896.7       574944               0.1020246 5/7/19 0:12         0.0098383         0.2946243         4.75743E+13 3.0094662 6.70217E+12          0.0109642         0.3283412  3.0094662
                                                                                                                                                                                                             Page: 22




            135   5903.84       574944               0.1021481 5/7/19 0:17         0.0098383         0.2946243         4.75743E+13 3.0131102 6.70217E+12          0.0001877           0.005621 3.0131102
            136   5911.06       574944                0.102273 5/7/19 0:22         0.0098383         0.2946243         4.75743E+13 3.0167951 6.70217E+12         -0.0190565        -0.5706787  3.0167951
            137   5885.39       574945               0.1028414 5/7/19 0:27         0.0098383         0.2946243         4.71059E+13 3.0335618 6.70217E+12          -0.005721        -0.1713249  3.0335618
            138   5895.99       574945               0.1030267 5/7/19 0:32         0.0098383         0.2946243         4.71059E+13 3.0390254 6.70217E+12           0.005387         0.1613227  3.0390254
            139   5897.07       574945               0.1030455 5/7/19 0:37         0.0098383         0.2946243         4.71059E+13 3.0395821 6.70217E+12          0.0090961         0.2723979  3.0395821
            140   5898.51       574945               0.1030707 5/7/19 0:42         0.0098383         0.2946243         4.71059E+13 3.0403243 6.70217E+12          0.0000416         0.0012458  3.0403243
            141   5901.99       574945               0.1031315 5/7/19 0:47         0.0098383         0.2946243         4.71059E+13 3.0421181 6.70217E+12          0.0002217         0.0066392  3.0421181
            142   5889.59       574946               0.1043197 5/7/19 0:52         0.0098383         0.2946243         4.64716E+13 3.0771656 6.70217E+12         -0.0026672        -0.0798737  3.0771656
            143   5889.01       574947               0.1040736 5/7/19 0:57         0.0098383         0.2946243         4.65768E+13 3.0699085 6.70217E+12         -0.0003307        -0.0099034  3.0699085
            144   5877.69       574947               0.1038736 5/7/19 1:02         0.0105202         0.3150449         4.65768E+13 3.0640074 6.70217E+12         -0.0003011        -0.0090169  3.0640074
            145   5889.43       574948               0.1042298 5/7/19 1:07         0.0105202         0.3150449         4.65104E+13 3.0745154 6.70217E+12         -0.0001362        -0.0040787  3.0745154
            146   5887.99       574948               0.1042043 5/7/19 1:12         0.0105202         0.3150449         4.65104E+13 3.0737637 6.70217E+12          0.0091898         0.2752039  3.0737637
                                                                                                                                                                                                             Filed: 01/02/2024




            147    5867.4       574948               0.1038399 5/7/19 1:17         0.0105202         0.3150449         4.65104E+13 3.0630149 6.70217E+12          0.0091883           0.275159 3.0630149
            148  5883.85        574950               0.1044213 5/7/19 1:22         0.0105202         0.3150449         4.63811E+13 3.0801634 6.70217E+12          0.0098517         0.2950256  3.0801634
            149  5871.24        574950               0.1041975 5/7/19 1:27         0.0105202         0.3150449         4.63811E+13 3.0735621 6.70217E+12          0.0110652         0.3313659  3.0735621
            150  5870.35        574950              0.1041817 5/7/19 1:32          0.0105202         0.3150449         4.63811E+13 3.0730962 6.70217E+12          0.0117356         0.3514421  3.0730962
            151  5880.51        574950                0.104362 5/7/19 1:37         0.0105202         0.3150449         4.63811E+13 3.0784149 6.70217E+12          0.0114298         0.3422844  3.0784149
            152  5887.56        574951              0.1056193 5/7/19 1:42          0.0105202         0.3150449         4.58839E+13 3.1155019 6.70217E+12          0.0158031         0.4732502  3.1155019
            153  5888.94        574951              0.1056441 5/7/19 1:47         0.0105202          0.3150449         4.58839E+13 3.1162321 6.70217E+12          0.0139082         0.4165042  3.1162321
            154  5890.07        574951              0.1056643 5/7/19 1:52         0.0105202          0.3150449         4.58839E+13 3.1168301 6.70217E+12          0.0141407         0.4234668  3.1168301


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            exelon4_modeling_05092019                                                                     3                                                                               LANCIUM00014575
                   A           B                 C                  D              E              F                   G                H           I               J              K              L
             1 BTC_price block_height breakeven_mining_cost   datetime     day_ahead_LMP day_ahead_LMP_rev est_network_hashrate   mining_rev network_diff real_time_LMP real_time_LMP_rev realized_rev
            155   5887.93       574952               0.1061226 5/7/19 1:57        0.0105202         0.3150449         4.56692E+13 3.1303483 6.70217E+12          0.0129154         0.3867732  3.1303483
            156   5879.77       574953               0.1056897 5/7/19 2:02         0.011378         0.3407332         4.57927E+13    3.117579 6.70217E+12        0.0142018         0.4252966   3.117579
            157   5880.52       574954               0.1043159 5/7/19 2:07         0.011378         0.3407332         4.64017E+13 3.0770561 6.70217E+12          0.0139436         0.4175643  3.0770561
            158   5875.01       574954               0.1042182 5/7/19 2:12         0.011378         0.3407332         4.64017E+13    3.074173 6.70217E+12        0.0105143         0.3148682   3.074173
            159    5873.6       574954               0.1041932 5/7/19 2:17         0.011378         0.3407332         4.64017E+13 3.0734352 6.70217E+12          0.0094361         0.2825797  3.0734352
            160   5871.85       574955               0.1044686 5/7/19 2:22         0.011378         0.3407332         4.62656E+13 3.0815582 6.70217E+12          0.0088951         0.2663786  3.0815582
            161   5871.01       574956                0.103617 5/7/19 2:27         0.011378         0.3407332         4.66391E+13 3.0564397 6.70217E+12          0.0093072         0.2787196  3.0564397
            162   5859.85       574956               0.1034201 5/7/19 2:32         0.011378         0.3407332         4.66391E+13 3.0506298 6.70217E+12          0.0120542         0.3609831  3.0506298
            163   5865.94       574956               0.1035275 5/7/19 2:37         0.011378         0.3407332         4.66391E+13 3.0538003 6.70217E+12          0.0128926         0.3860904  3.0538003
            164    5869.1       574956               0.1035833 5/7/19 2:42         0.011378         0.3407332         4.66391E+13 3.0554454 6.70217E+12          0.0141064         0.4224397  3.0554454
            165    5877.6       574956               0.1037333 5/7/19 2:47         0.011378         0.3407332         4.66391E+13 3.0598705 6.70217E+12          0.0141304         0.4231584  3.0598705
            166   5877.18       574957               0.1057538 5/7/19 2:52         0.011378         0.3407332         4.57448E+13 3.1194692 6.70217E+12          0.0141067         0.4224486  3.1194692
            167   5885.01       574958               0.1054291 5/7/19 2:57         0.011378         0.3407332         4.59468E+13 3.1098919 6.70217E+12          0.0188926         0.5657704  3.1098919
            168   5882.93       574959               0.1056834 5/7/19 3:02        0.0110606         0.3312281            4.582E+13 3.1173937 6.70217E+12         0.0159616         0.4779967  3.1173937
                                                                                                                                                                                                           Case: 23-1922




            169   5880.11       574959               0.1056328 5/7/19 3:07        0.0110606         0.3312281            4.582E+13 3.1158994 6.70217E+12         0.0162983         0.4880798  3.1158994
            170   5876.76       574959               0.1055726 5/7/19 3:12        0.0110606         0.3312281            4.582E+13 3.1141242 6.70217E+12         0.0123771         0.3706529  3.1141242
            171   5875.44       574959               0.1055489 5/7/19 3:17        0.0110606         0.3312281            4.582E+13 3.1134247 6.70217E+12         0.0104838         0.3139549  3.1134247
            172   5868.65       574959               0.1054269 5/7/19 3:22        0.0110606         0.3312281            4.582E+13 3.1098266 6.70217E+12         0.0135372          0.405394  3.1098266
            173    5871.6       574959               0.1054799 5/7/19 3:27        0.0110606         0.3312281            4.582E+13 3.1113899 6.70217E+12         0.0142273         0.4260602  3.1113899
            174    5871.6       574959               0.1054799 5/7/19 3:32        0.0110606         0.3312281            4.582E+13 3.1113899 6.70217E+12         0.0143862         0.4308187  3.1113899
            175   5877.57       574959               0.1055871 5/7/19 3:37        0.0110606         0.3312281            4.582E+13 3.1145534 6.70217E+12         0.0142716         0.4273868  3.1145534
            176   5876.48       574959               0.1055676 5/7/19 3:42        0.0110606         0.3312281            4.582E+13 3.1139758 6.70217E+12         0.0142134          0.425644  3.1139758
            177   5868.98       574960                0.109055 5/7/19 3:47        0.0110606         0.3312281         4.42981E+13 3.2168461 6.70217E+12          0.0124885         0.3739889  3.2168461
            178   5865.34       574960               0.1089874 5/7/19 3:52        0.0110606         0.3312281         4.42981E+13 3.2148509 6.70217E+12          0.0128153         0.3837755  3.2148509
            179   5869.73       574961               0.1097753 5/7/19 3:57        0.0110606         0.3312281         4.40131E+13 3.2380924 6.70217E+12          0.0125425         0.3756061  3.2380924
                                                                                                                                                                                                           Document: 39-7




            180   5876.57       574962               0.1082718 5/7/19 4:02        0.0132424         0.3965657         4.46763E+13 3.1937442 6.70217E+12           0.012019          0.359929  3.1937442
            181   5864.77       574962               0.1080544 5/7/19 4:07        0.0132424         0.3965657         4.46763E+13 3.1873313 6.70217E+12          0.0116681         0.3494207  3.1873313




Appx11380
            182   5870.49       574963               0.1086102 5/7/19 4:12        0.0132424         0.3965657           4.4491E+13 3.2037267 6.70217E+12          0.012883         0.3858029  3.2037267
            183   5892.85       574964               0.1086378 5/7/19 4:17        0.0132424         0.3965657         4.46491E+13 3.2045387 6.70217E+12          0.0113387         0.3395563  3.2045387
            184   5893.36       574964               0.1086472 5/7/19 4:22        0.0132424         0.3965657         4.46491E+13    3.204816 6.70217E+12        0.0115719         0.3465398   3.204816
            185   5890.81       574964               0.1086002 5/7/19 4:27        0.0132424         0.3965657         4.46491E+13 3.2034293 6.70217E+12          0.0118547         0.3550087  3.2034293
                                                                                                                                                                                                           Page: 23




            186   5894.23       574965               0.1080396 5/7/19 4:32        0.0132424         0.3965657         4.49069E+13 3.1868941 6.70217E+12          0.0122344         0.3663795  3.1868941
            187   5898.56       574965                0.108119 5/7/19 4:37        0.0132424         0.3965657         4.49069E+13 3.1892353 6.70217E+12          0.0138738         0.4154741  3.1892353
            188   5908.64       574965               0.1083037 5/7/19 4:42        0.0132424         0.3965657         4.49069E+13 3.1946853 6.70217E+12           0.014388         0.4308726  3.1946853
            189   5915.11       574965               0.1084223 5/7/19 4:47        0.0132424         0.3965657         4.49069E+13 3.1981835 6.70217E+12          0.0166224         0.4977855  3.1981835
            190    5909.7       574965               0.1083231 5/7/19 4:52        0.0132424         0.3965657         4.49069E+13 3.1952584 6.70217E+12          0.0144629         0.4331156  3.1952584
            191   5906.81       574966               0.1085559 5/7/19 4:57        0.0132424         0.3965657         4.47887E+13 3.2021242 6.70217E+12           0.014704         0.4403358  3.2021242
            192   5914.74       574966               0.1087016 5/7/19 5:02        0.0163996         0.4911134         4.47887E+13 3.2064231 6.70217E+12          0.0082133          0.245961  3.2064231
            193    5917.1       574967                0.109481 5/7/19 5:07        0.0163996         0.4911134         4.44875E+13 3.2294129 6.70217E+12          0.0137796         0.4126531  3.2294129
            194   5912.39       574967               0.1093939 5/7/19 5:12        0.0163996         0.4911134         4.44875E+13 3.2268423 6.70217E+12          0.0156701         0.4692673  3.2268423
            195   5894.35       574968               0.1094478 5/7/19 5:17        0.0163996         0.4911134            4.433E+13 3.2284315 6.70217E+12         0.0146488         0.4386827  3.2284315
            196   5898.35       574968                0.109522 5/7/19 5:22        0.0163996         0.4911134            4.433E+13 3.2306223 6.70217E+12         0.0145908         0.4369458  3.2306223
            197   5902.16       574969               0.1079698 5/7/19 5:27        0.0163996         0.4911134         4.49963E+13 3.1848344 6.70217E+12          0.0155564         0.4658623  3.1848344
                                                                                                                                                                                                           Filed: 01/02/2024




            198   5900.85       574969               0.1079458 5/7/19 5:32        0.0163996         0.4911134         4.49963E+13 3.1841275 6.70217E+12          0.0134736         0.4034894  3.1841275
            199   5900.34       574969               0.1079365 5/7/19 5:37        0.0163996         0.4911134         4.49963E+13 3.1838523 6.70217E+12          0.0130804         0.3917144  3.1838523
            200   5898.32       574969               0.1078995 5/7/19 5:42        0.0163996         0.4911134         4.49963E+13 3.1827623 6.70217E+12          0.0152049         0.4553361  3.1827623
            201   5896.02       574970               0.1092694 5/7/19 5:47        0.0163996         0.4911134         4.44149E+13 3.2231712 6.70217E+12          0.0153738         0.4603941  3.2231712
            202   5901.06       574971               0.1070272 5/7/19 5:52        0.0163996         0.4911134         4.53842E+13 3.1570311 6.70217E+12          0.0162384          0.486286  3.1570311
            203   5889.23       574971               0.1068126 5/7/19 5:57        0.0163996         0.4911134         4.53842E+13 3.1507021 6.70217E+12          0.0142726         0.4274168  3.1507021
            204   5888.81       574971                0.106805 5/7/19 6:02        0.0219988         0.6587907         4.53842E+13 3.1504774 6.70217E+12          0.0140196         0.4198403  3.1504774
            205   5888.88       574971               0.1068063 5/7/19 6:07        0.0219988         0.6587907         4.53842E+13 3.1505149 6.70217E+12          0.0128572         0.3850303  3.1505149


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            exelon4_modeling_05092019                                                                    4                                                                              LANCIUM00014575
                   A           B                 C                   D              E              F                   G                H           I               J              K               L
             1 BTC_price block_height breakeven_mining_cost    datetime     day_ahead_LMP day_ahead_LMP_rev est_network_hashrate   mining_rev network_diff real_time_LMP real_time_LMP_rev realized_rev
            206   5894.99       574971               0.1069171 5/7/19 6:12         0.0219988         0.6587907         4.53842E+13 3.1537837 6.70217E+12          0.0139901         0.4189569  3.1537837
            207   5888.93       574973               0.1083283 5/7/19 6:17         0.0219988         0.6587907         4.47469E+13 3.1954116 6.70217E+12          0.0169327         0.5070779  3.1954116
            208   5883.23       574973               0.1082235 5/7/19 6:22         0.0219988         0.6587907         4.47469E+13 3.1923187 6.70217E+12          0.0161834         0.4846389  3.1923187
            209   5874.07       574973                0.108055 5/7/19 6:27         0.0219988         0.6587907         4.47469E+13 3.1873483 6.70217E+12          0.0160255         0.4799103  3.1873483
            210   5873.01       574975               0.1081041 5/7/19 6:32         0.0219988         0.6587907         4.47185E+13 3.1887959 6.70217E+12          0.0161849         0.4846838  3.1887959
            211    5877.1       574977               0.1051264 5/7/19 6:37         0.0219988         0.6587907         4.60172E+13 3.1009613 6.70217E+12          0.0160886         0.4817999  3.1009613
            212   5883.19       574977               0.1052353 5/7/19 6:42         0.0219988         0.6587907         4.60172E+13 3.1041746 6.70217E+12              0.01829       0.5477245  3.1041746
            213   5883.91       574979               0.1039877 5/7/19 6:47         0.0219988         0.6587907           4.6575E+13 3.0673739 6.70217E+12         0.0197193         0.5905273  3.0673739
            214   5887.01       574980               0.1024096 5/7/19 6:52         0.0219988         0.6587907         4.73176E+13 3.0208243 6.70217E+12          0.0172624         0.5169513  3.0208243
            215   5890.93       574981               0.1023627 5/7/19 6:57         0.0219988         0.6587907         4.73708E+13 3.0194404 6.70217E+12          0.0219934          0.658629  3.0194404
            216   5891.99       574981               0.1023811 5/7/19 7:02         0.0252156         0.7551232         4.73708E+13 3.0199837 6.70217E+12          0.0190854         0.5715441  3.0199837
            217    5901.6       574981               0.1025481 5/7/19 7:07         0.0252156         0.7551232         4.73708E+13 3.0249094 6.70217E+12           0.022021         0.6594555  3.0249094
            218   5900.12       574982               0.1027094 5/7/19 7:12         0.0252156         0.7551232         4.72845E+13 3.0296666 6.70217E+12           0.019538          0.585098  3.0296666
            219   5902.76       574983               0.1021815 5/7/19 7:17         0.0252156         0.7551232         4.75501E+13 3.0140942 6.70217E+12          0.0208005         0.6229056  3.0140942
                                                                                                                                                                                                             Case: 23-1922




            220   5901.94       574985               0.1025203 5/7/19 7:22         0.0252156         0.7551232         4.73864E+13 3.0240881 6.70217E+12          0.0333844         0.9997515  3.0240881
            221   5902.21       574986               0.1024856 5/7/19 7:27         0.0252156         0.7551232         4.74046E+13 3.0230648 6.70217E+12          0.0226755         0.6790556  3.0230648
            222   5897.09       574987               0.1012514 5/7/19 7:32         0.0252156         0.7551232         4.79408E+13 2.9866604 6.70217E+12          0.0258656         0.7745885  2.9866604
            223   5891.39       574988               0.1001624 5/7/19 7:37         0.0252156         0.7551232         4.84152E+13 2.9545379 6.70217E+12          0.0217027         0.6499235  2.9545379
            224   5896.98       574988               0.1002575 5/7/19 7:42         0.0252156         0.7551232         4.84152E+13 2.9573413 6.70217E+12          0.0181457         0.5434032  2.9573413
            225   5915.01       574989               0.0992602 5/7/19 7:47         0.0252156         0.7551232         4.90511E+13 2.9279253 6.70217E+12          0.0175618         0.5259174  2.9279253
            226   5909.89       574989               0.0991743 5/7/19 7:52         0.0252156         0.7551232         4.90511E+13 2.9253909 6.70217E+12          0.0176235         0.5277651  2.9253909
            227   5907.41       574990               0.0997661 5/7/19 7:57         0.0252156         0.7551232         4.87396E+13 2.9428486 6.70217E+12          0.2076065         6.2171227  6.2171227
            228   5909.98       574990               0.0998095 5/7/19 8:02         0.0276548         0.8281691         4.87396E+13 2.9441289 6.70217E+12          0.3509108        10.5086088 10.5086088
            229    5885.9       574991               0.1001084 5/7/19 8:07         0.0276548         0.8281691         4.83962E+13 2.9529431 6.70217E+12          1.0618156        31.7978378 31.7978378
            230   5894.01       574991               0.1002463 5/7/19 8:12         0.0276548         0.8281691         4.83962E+13 2.9570118 6.70217E+12          0.3477068        10.4126596 10.4126596
                                                                                                                                                                                                             Document: 39-7




            231   5901.61       574991               0.1003756 5/7/19 8:17         0.0276548         0.8281691         4.83962E+13 2.9608247 6.70217E+12          0.2233212         6.6877255  6.6877255
            232   5901.01       574993               0.0990295 5/7/19 8:22         0.0276548         0.8281691           4.9049E+13 2.9211197 6.70217E+12         0.1839307         5.5081114  5.5081114




Appx11381
            233   5896.99       574993                0.098962 5/7/19 8:27         0.0276548         0.8281691           4.9049E+13 2.9191298 6.70217E+12         0.2097637         6.2817236  6.2817236
            234   5903.12       574994               0.0985656 5/7/19 8:32         0.0276548         0.8281691         4.92975E+13 2.9074343 6.70217E+12          0.0304959         0.9132506  2.9074343
            235   5904.99       574994               0.0985968 5/7/19 8:37         0.0276548         0.8281691         4.92975E+13 2.9083554 6.70217E+12          0.0229099         0.6860751  2.9083554
            236   5928.02       574994               0.0989813 5/7/19 8:42         0.0276548         0.8281691         4.92975E+13 2.9196982 6.70217E+12           0.023268          0.696799  2.9196982
                                                                                                                                                                                                             Page: 24




            237   5918.93       574994               0.0988295 5/7/19 8:47         0.0276548         0.8281691         4.92975E+13 2.9152212 6.70217E+12          0.0200853         0.6014878  2.9152212
            238   5920.48       574994               0.0988554 5/7/19 8:52         0.0276548         0.8281691         4.92975E+13 2.9159846 6.70217E+12              0.02447       0.7327949  2.9159846
            239   5927.27       574996               0.1000578 5/7/19 8:57         0.0276548         0.8281691           4.8761E+13 2.9514506 6.70217E+12         0.0185494         0.5554927  2.9514506
            240   5970.03       574997               0.0973284 5/7/19 9:02         0.0268411         0.8038015            5.049E+13 2.8709404 6.70217E+12         0.0182697         0.5471166  2.8709404
            241   5896.92       574997               0.0961365 5/7/19 9:07         0.0268411         0.8038015            5.049E+13 2.8357824 6.70217E+12         0.0189375          0.567115  2.8357824
            242   5876.01       574998               0.0954385 5/7/19 9:12         0.0268411         0.8038015         5.06789E+13 2.8151949 6.70217E+12          0.0203296         0.6088038  2.8151949
            243   5818.78       574999               0.0935121 5/7/19 9:17         0.0268411         0.8038015         5.12192E+13    2.758369 6.70217E+12        0.0194987         0.5839211    2.758369
            244   5836.61       574999               0.0937986 5/7/19 9:22         0.0268411         0.8038015         5.12192E+13 2.7668213 6.70217E+12          0.0190273         0.5698042  2.7668213
            245   5852.94       574999                0.094061 5/7/19 9:27         0.0268411         0.8038015         5.12192E+13 2.7745624 6.70217E+12          0.0201623         0.6037937  2.7745624
            246   5843.39       575000               0.0949282 5/7/19 9:32         0.0268411         0.8038015         5.06685E+13 2.8001417 6.70217E+12          0.0195915         0.5867001  2.8001417
            247    5840.9       575000               0.0948878 5/7/19 9:37         0.0268411         0.8038015         5.06685E+13 2.7989485 6.70217E+12          0.0208798         0.6252804  2.7989485
            248   5844.44       575000               0.0949453 5/7/19 9:42         0.0268411         0.8038015         5.06685E+13 2.8006448 6.70217E+12          0.0199536         0.5975438  2.8006448
                                                                                                                                                                                                             Filed: 01/02/2024




            249   5831.94       575001               0.0948603 5/7/19 9:47         0.0268411         0.8038015         5.06054E+13 2.7981392 6.70217E+12          0.0196606         0.5887694  2.7981392
            250   5840.78       575003               0.0941941 5/7/19 9:52         0.0268411         0.8038015         5.10406E+13 2.7784869 6.70217E+12          0.0187964         0.5628895  2.7784869
            251   5839.47       575003                0.094173 5/7/19 9:57         0.0268411         0.8038015         5.10406E+13 2.7778637 6.70217E+12          0.0188057          0.563168  2.7778637
            252   5836.55       575003               0.0941259 5/7/19 9:58         0.0268411         0.8038015         5.10406E+13 2.7764747 6.70217E+12          0.0188057          0.563168  2.7764747
            253   5843.59       575003               0.0942394 5/7/19 10:03        0.0287164         0.8599605         5.10406E+13 2.7798236 6.70217E+12          0.0202762         0.6072046  2.7798236
            254   5851.93       575003               0.0943739 5/7/19 10:08        0.0287164         0.8599605         5.10406E+13    2.783791 6.70217E+12        0.0195808         0.5863797    2.783791
            255    5840.6       575003               0.0941912 5/7/19 10:13        0.0287164         0.8599605         5.10406E+13 2.7784013 6.70217E+12          0.0202654         0.6068812  2.7784013
            256   5841.73       575003               0.0942094 5/7/19 10:18        0.0287164         0.8599605         5.10406E+13 2.7789388 6.70217E+12           0.020167         0.6039344  2.7789388


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            exelon4_modeling_05092019                                                                     5                                                                               LANCIUM00014575
                   A           B                 C                   D              E              F                   G                H           I               J              K               L
             1 BTC_price block_height breakeven_mining_cost    datetime     day_ahead_LMP day_ahead_LMP_rev est_network_hashrate   mining_rev network_diff real_time_LMP real_time_LMP_rev realized_rev
            257   5837.26       575004               0.0966021 5/7/19 10:23        0.0287164         0.8599605         4.97383E+13 2.8495172 6.70217E+12          0.0196567         0.5886526  2.8495172
            258    5843.1       575004               0.0966987 5/7/19 10:28        0.0287164         0.8599605         4.97383E+13    2.852368 6.70217E+12        0.0207215         0.6205399    2.852368
            259   5843.45       575005               0.0974035 5/7/19 10:35        0.0287164         0.8599605         4.93814E+13 2.8731576 6.70217E+12          0.0201838         0.6044375  2.8731576
            260   5841.01       575005               0.0973629 5/7/19 10:35        0.0287164         0.8599605         4.93814E+13 2.8719579 6.70217E+12          0.0198071         0.5931566  2.8719579
            261   5844.02       575005                0.097413 5/7/19 10:42        0.0287164         0.8599605         4.93814E+13 2.8734379 6.70217E+12          0.0200159         0.5994095  2.8734379
            262   5844.02       575005                0.097413 5/7/19 10:43        0.0287164         0.8599605         4.93814E+13 2.8734379 6.70217E+12          0.0200159         0.5994095  2.8734379
            263   5843.32       575005               0.0974014 5/7/19 10:43        0.0287164         0.8599605         4.93814E+13 2.8730937 6.70217E+12          0.0200159         0.5994095  2.8730937
            264   5843.32       575005               0.0974014 5/7/19 10:44        0.0287164         0.8599605         4.93814E+13 2.8730937 6.70217E+12          0.0200159         0.5994095  2.8730937
            265   5843.18       575005                0.097399 5/7/19 10:45        0.0287164         0.8599605         4.93814E+13 2.8730249 6.70217E+12          0.0201643         0.6038536  2.8730249
            266   5843.18       575005                0.097399 5/7/19 10:46        0.0287164         0.8599605         4.93814E+13 2.8730249 6.70217E+12          0.0201643         0.6038536  2.8730249
            267   5843.81       575005               0.0974095 5/7/19 10:48        0.0287164         0.8599605         4.93814E+13 2.8733347 6.70217E+12          0.0201643         0.6038536  2.8733347
            268   5855.01       575005               0.0975962 5/7/19 10:51        0.0287164         0.8599605         4.93814E+13 2.8788416 6.70217E+12          0.0202597         0.6067105  2.8788416
            269   5853.18       575005               0.0975657 5/7/19 10:52        0.0287164         0.8599605         4.93814E+13 2.8779418 6.70217E+12          0.0202597         0.6067105  2.8779418
            270   5853.18       575005               0.0975657 5/7/19 10:53        0.0287164         0.8599605         4.93814E+13 2.8779418 6.70217E+12          0.0202597         0.6067105  2.8779418
                                                                                                                                                                                                             Case: 23-1922




            271   5854.99       575005               0.0975959 5/7/19 10:58        0.0287164         0.8599605         4.93814E+13 2.8788317 6.70217E+12          0.0204901         0.6136102  2.8788317
            272   5855.01       575005               0.0975962 5/7/19 11:03        0.0273473         0.8189605         4.93814E+13 2.8788416 6.70217E+12           0.019272         0.5771322  2.8788416
            273   5862.23       575005               0.0977166 5/7/19 11:08        0.0273473         0.8189605         4.93814E+13 2.8823916 6.70217E+12          0.0185107         0.5543338  2.8823916
            274   5868.68       575005               0.0978241 5/7/19 11:13        0.0273473         0.8189605         4.93814E+13    2.885563 6.70217E+12        0.0182389         0.5461943    2.885563
            275    5877.1       575005               0.0979644 5/7/19 11:18        0.0273473         0.8189605         4.93814E+13    2.889703 6.70217E+12        0.0175485         0.5255191    2.889703
            276   5880.82       575006               0.1020763 5/7/19 11:23        0.0273473         0.8189605         4.74222E+13 3.0109929 6.70217E+12          0.0171425         0.5133607  3.0109929
            277   5885.64       575007               0.1017322 5/7/19 11:28        0.0273473         0.8189605         4.76216E+13    3.000843 6.70217E+12        0.0161012         0.4821773    3.000843
            278   5888.81       575007                0.101787 5/7/19 11:33        0.0273473         0.8189605         4.76216E+13 3.0024592 6.70217E+12          0.0167836         0.5026129  3.0024592
            279   5887.01       575007               0.1017559 5/7/19 11:38        0.0273473         0.8189605         4.76216E+13 3.0015415 6.70217E+12           0.017405         0.5212217  3.0015415
            280   5885.87       575009               0.1022383 5/7/19 11:43        0.0273473         0.8189605         4.73877E+13 3.0157712 6.70217E+12          0.0181379         0.5431696  3.0157712
            281   5882.45       575010               0.1025602 5/7/19 11:48        0.0273473         0.8189605         4.72115E+13 3.0252654 6.70217E+12          0.0188967         0.5658932  3.0252654
                                                                                                                                                                                                             Document: 39-7




            282   5889.31       575010               0.1026798 5/7/19 11:53        0.0273473         0.8189605         4.72115E+13 3.0287934 6.70217E+12          0.0191234         0.5726821  3.0287934
            283   5888.74       575011               0.1032466 5/7/19 11:58        0.0273473         0.8189605         4.69478E+13 3.0455122 6.70217E+12          0.0189953         0.5688459  3.0455122




Appx11382
            284   5894.74       575011               0.1033518 5/7/19 12:03        0.0270574         0.8102789         4.69478E+13 3.0486153 6.70217E+12          0.0201972         0.6048388  3.0486153
            285   5895.72       575011               0.1033689 5/7/19 12:08        0.0270574         0.8102789         4.69478E+13 3.0491221 6.70217E+12          0.0246114         0.7370294  3.0491221
            286   5907.12       575011               0.1035688 5/7/19 12:13        0.0270574         0.8102789         4.69478E+13 3.0550179 6.70217E+12          0.0195085         0.5842145  3.0550179
            287   5908.19       575013               0.1040015 5/7/19 12:18        0.0270574         0.8102789         4.67609E+13 3.0677806 6.70217E+12          0.0177224         0.5307268  3.0677806
                                                                                                                                                                                                             Page: 25




            288   5895.99       575013               0.1037867 5/7/19 12:23        0.0270574         0.8102789         4.67609E+13 3.0614459 6.70217E+12          0.0163821         0.4905893  3.0614459
            289   5898.02       575014               0.1043706 5/7/19 12:27        0.0270574         0.8102789         4.65154E+13 3.0786681 6.70217E+12          0.0162962         0.4880169  3.0786681
            290    5895.6       575014               0.1043278 5/7/19 12:32        0.0270574         0.8102789         4.65154E+13 3.0774049 6.70217E+12          0.0164602         0.4929281  3.0774049
            291   5887.34       575016               0.1041844 5/7/19 12:37        0.0270574         0.8102789         4.65141E+13 3.0731761 6.70217E+12          0.0200409         0.6001582  3.0731761
            292    5889.4       575016               0.1042209 5/7/19 12:42        0.0270574         0.8102789         4.65141E+13 3.0742514 6.70217E+12          0.0215114         0.6441947  3.0742514
            293   5893.65       575016               0.1042961 5/7/19 12:47        0.0270574         0.8102789         4.65141E+13 3.0764699 6.70217E+12           0.020945         0.6272329  3.0764699
            294   5893.83       575018               0.1033386 5/7/19 12:52        0.0270574         0.8102789         4.69465E+13 3.0482275 6.70217E+12          0.0215906         0.6465665  3.0482275
            295   5890.09       575018                0.103273 5/7/19 12:57        0.0270574         0.8102789         4.69465E+13 3.0462932 6.70217E+12          0.0199465         0.5973312  3.0462932
            296   5887.86       575018               0.1032339 5/7/19 13:02        0.0260477         0.7800418         4.69465E+13 3.0451399 6.70217E+12          0.0182097         0.5453198  3.0451399
            297   5877.45       575018               0.1030514 5/7/19 13:07        0.0260477         0.7800418         4.69465E+13 3.0397559 6.70217E+12          0.0171154         0.5125492  3.0397559
            298   5880.76       575018               0.1031095 5/7/19 13:12        0.0260477         0.7800418         4.69465E+13 3.0414678 6.70217E+12          0.0158291         0.4740288  3.0414678
            299   5885.01       575018                0.103184 5/7/19 13:17        0.0260477         0.7800418         4.69465E+13 3.0436659 6.70217E+12          0.0156969         0.4700698  3.0436659
                                                                                                                                                                                                             Filed: 01/02/2024




            300   5886.65       575019                0.105185 5/7/19 13:22        0.0260477         0.7800418         4.60663E+13     3.10269 6.70217E+12        0.0194576         0.5826903     3.10269
            301   5886.81       575019               0.1051878 5/7/19 13:27        0.0260477         0.7800418         4.60663E+13 3.1027744 6.70217E+12          0.0237637         0.7116436  3.1027744
            302   5886.02       575019               0.1051737 5/7/19 13:32        0.0260477         0.7800418         4.60663E+13    3.102358 6.70217E+12         0.034183         1.0236669    3.102358
            303   5878.86       575019               0.1050458 5/7/19 13:37        0.0260477         0.7800418         4.60663E+13 3.0985841 6.70217E+12          0.4823059         14.443454  14.443454
            304   5879.94       575019               0.1050651 5/7/19 13:42        0.0260477         0.7800418         4.60663E+13 3.0991534 6.70217E+12          0.1343145         4.0222716  4.0222716
            305   5872.78       575020               0.1055767 5/7/19 13:47        0.0260477         0.7800418         4.57872E+13 3.1142442 6.70217E+12          0.0287544         0.8610984  3.1142442
            306   5868.57       575020                0.105501 5/7/19 13:52        0.0260477         0.7800418         4.57872E+13 3.1120117 6.70217E+12          0.0442637         1.3255503  3.1120117
            307    5877.6       575020               0.1056633 5/7/19 13:57        0.0260477         0.7800418         4.57872E+13 3.1168002 6.70217E+12          0.0156508         0.4686893  3.1168002


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            exelon4_modeling_05092019                                                                     6                                                                               LANCIUM00014575
                   A           B                 C                   D              E              F                   G                H           I               J              K               L
             1 BTC_price block_height breakeven_mining_cost    datetime     day_ahead_LMP day_ahead_LMP_rev est_network_hashrate   mining_rev network_diff real_time_LMP real_time_LMP_rev realized_rev
            308    5880.3       575021               0.1070192 5/7/19 14:02         0.025584         0.7661555         4.52279E+13    3.156795 6.70217E+12        0.0212368         0.6359714    3.156795
            309    5873.1       575021               0.1068882 5/7/19 14:07         0.025584         0.7661555         4.52279E+13 3.1529297 6.70217E+12          0.0135226         0.4049568  3.1529297
            310   5856.76       575021               0.1065908 5/7/19 14:12         0.025584         0.7661555         4.52279E+13 3.1441577 6.70217E+12          0.0161145         0.4825756  3.1441577
            311   5835.32       575021               0.1062006 5/7/19 14:17         0.025584         0.7661555         4.52279E+13 3.1326478 6.70217E+12           0.021294         0.6376843  3.1326478
            312    5823.7       575021               0.1059891 5/7/19 14:22         0.025584         0.7661555         4.52279E+13 3.1264097 6.70217E+12          0.0232619         0.6966164  3.1264097
            313    5823.9       575021               0.1059927 5/7/19 14:27         0.025584         0.7661555         4.52279E+13 3.1265171 6.70217E+12          0.0186602         0.5588108  3.1265171
            314   5844.51       575021               0.1063678 5/7/19 14:32         0.025584         0.7661555         4.52279E+13 3.1375814 6.70217E+12          0.0221179         0.6623574  3.1375814
            315   5852.73       575022               0.1090264 5/7/19 14:37         0.025584         0.7661555         4.41871E+13 3.2160024 6.70217E+12          0.0160534         0.4807458  3.2160024
            316   5842.59       575022               0.1088375 5/7/19 14:42         0.025584         0.7661555         4.41871E+13 3.2104306 6.70217E+12          0.0139152         0.4167139  3.2104306
            317   5844.51       575023               0.1093454 5/7/19 14:47         0.025584         0.7661555         4.39963E+13    3.225412 6.70217E+12        0.0096897         0.2901742    3.225412
            318   5842.77       575023               0.1093128 5/7/19 14:52         0.025584         0.7661555         4.39963E+13 3.2244517 6.70217E+12          0.0082441         0.2468833  3.2244517
            319   5843.27       575023               0.1093222 5/7/19 14:57         0.025584         0.7661555         4.39963E+13 3.2247277 6.70217E+12          0.0080116         0.2399207  3.2247277
            320   5849.85       575023               0.1094453 5/7/19 15:02        0.0200751         0.6011823         4.39963E+13    3.228359 6.70217E+12         0.004172         0.1249375    3.228359
            321   5844.11       575023               0.1093379 5/7/19 15:07        0.0200751         0.6011823         4.39963E+13 3.2251913 6.70217E+12          0.0063173         0.1891821  3.2251913
                                                                                                                                                                                                             Case: 23-1922




            322   5838.69       575023               0.1092365 5/7/19 15:12        0.0200751         0.6011823         4.39963E+13 3.2222001 6.70217E+12          0.0074128         0.2219887  3.2222001
            323   5843.57       575023               0.1093278 5/7/19 15:17        0.0200751         0.6011823         4.39963E+13 3.2248932 6.70217E+12          0.0068169         0.2041434  3.2248932
            324   5844.59       575023               0.1093469 5/7/19 15:22        0.0200751         0.6011823         4.39963E+13 3.2254562 6.70217E+12          0.0173942         0.5208983  3.2254562
            325   5849.99       575023               0.1094479 5/7/19 15:27        0.0200751         0.6011823         4.39963E+13 3.2284363 6.70217E+12          0.0160868          0.481746  3.2284363
            326   5849.99       575023               0.1094479 5/7/19 15:32        0.0200751         0.6011823         4.39963E+13 3.2284363 6.70217E+12          0.0179579         0.5377792  3.2284363
            327   5862.15       575023               0.1096754 5/7/19 15:37        0.0200751         0.6011823         4.39963E+13    3.235147 6.70217E+12        0.0185996          0.556996    3.235147
            328    5861.7       575023                0.109667 5/7/19 15:42        0.0200751         0.6011823         4.39963E+13 3.2348987 6.70217E+12          0.0164337         0.4921345  3.2348987
            329   5871.48       575024               0.1144475 5/7/19 15:47        0.0200751         0.6011823         4.22289E+13 3.3759101 6.70217E+12          0.0172669         0.5170861  3.3759101
            330    5859.1       575024               0.1142061 5/7/19 15:52        0.0200751         0.6011823         4.22289E+13    3.368792 6.70217E+12        0.0085437         0.2558553    3.368792
            331    5854.1       575025               0.1144044 5/7/19 15:57        0.0200751         0.6011823         4.21197E+13 3.3746406 6.70217E+12          0.0200752         0.6011853  3.3746406
            332   5843.22       575026               0.1144995 5/7/19 16:02        0.0216225         0.6475218         4.20066E+13 3.3774456 6.70217E+12          0.0220984         0.6617734  3.3774456
                                                                                                                                                                                                             Document: 39-7




            333   5853.43       575026               0.1146996 5/7/19 16:07        0.0216225         0.6475218         4.20066E+13 3.3833471 6.70217E+12          0.0156725         0.4693391  3.3833471
            334   5856.16       575026               0.1147531 5/7/19 16:12        0.0216225         0.6475218         4.20066E+13    3.384925 6.70217E+12        0.0214597         0.6426465    3.384925




Appx11383
            335   5854.02       575026               0.1147111 5/7/19 16:17        0.0216225         0.6475218         4.20066E+13 3.3836881 6.70217E+12          0.0239835         0.7182259  3.3836881
            336   5850.81       575026               0.1146482 5/7/19 16:22        0.0216225         0.6475218         4.20066E+13 3.3818327 6.70217E+12          0.0167074         0.5003309  3.3818327
            337   5854.62       575027               0.1163454 5/7/19 16:27        0.0216225         0.6475218         4.14207E+13 3.4318944 6.70217E+12          0.0156102         0.4674735  3.4318944
            338    5855.8       575028               0.1157465 5/7/19 16:32        0.0216225         0.6475218         4.16435E+13 3.4142287 6.70217E+12          0.0163249         0.4888763  3.4142287
                                                                                                                                                                                                             Page: 26




            339   5856.74       575029               0.1142802 5/7/19 16:37        0.0216225         0.6475218         4.21846E+13 3.3709755 6.70217E+12          0.0175314          0.525007  3.3709755
            340   5868.02       575029               0.1145003 5/7/19 16:42        0.0216225         0.6475218         4.21846E+13 3.3774679 6.70217E+12          0.0151098         0.4524881  3.3774679
            341   5872.51       575029               0.1145879 5/7/19 16:47        0.0216225         0.6475218         4.21846E+13 3.3800522 6.70217E+12          0.0146534         0.4388205  3.3800522
            342   5871.99       575029               0.1145777 5/7/19 16:52        0.0216225         0.6475218         4.21846E+13 3.3797529 6.70217E+12          0.0175759         0.5263396  3.3797529
            343   5880.77       575029               0.1147491 5/7/19 16:57        0.0216225         0.6475218         4.21846E+13 3.3848064 6.70217E+12          0.0063504         0.1901733  3.3848064
            344   5886.53       575029               0.1148614 5/7/19 17:02        0.0204922         0.6136731         4.21846E+13 3.3881217 6.70217E+12          0.0061338         0.1836869  3.3881217
            345   5889.98       575029               0.1149288 5/7/19 17:07        0.0204922         0.6136731         4.21846E+13 3.3901075 6.70217E+12          0.0028472         0.0852641  3.3901075
            346    5885.6       575031               0.1147437 5/7/19 17:12        0.0204922         0.6136731         4.22212E+13 3.3846492 6.70217E+12          0.0111196          0.332995  3.3846492
            347   5883.88       575032               0.1144564 5/7/19 17:17        0.0204922         0.6136731         4.23148E+13 3.3761744 6.70217E+12          0.0197231         0.5906411  3.3761744
            348   5871.02       575033                0.114058 5/7/19 17:22        0.0204922         0.6136731         4.23698E+13    3.364421 6.70217E+12         0.013771         0.4123955    3.364421
            349   5872.05       575033                0.114078 5/7/19 17:27        0.0204922         0.6136731         4.23698E+13 3.3650113 6.70217E+12          0.0099314         0.2974123  3.3650113
            350   5878.77       575034               0.1147072 5/7/19 17:32        0.0204922         0.6136731         4.21856E+13 3.3835727 6.70217E+12          0.0135307         0.4051994  3.3835727
                                                                                                                                                                                                             Filed: 01/02/2024




            351    5877.4       575034               0.1146805 5/7/19 17:37        0.0204922         0.6136731         4.21856E+13 3.3827841 6.70217E+12          0.0143791         0.4306061  3.3827841
            352   5880.39       575034               0.1147388 5/7/19 17:42        0.0204922         0.6136731         4.21856E+13 3.3845051 6.70217E+12          0.0171643         0.5140136  3.3845051
            353   5871.98       575034               0.1145747 5/7/19 17:47        0.0204922         0.6136731         4.21856E+13 3.3796646 6.70217E+12          0.0179472         0.5374588  3.3796646
            354    5878.4       575035               0.1155377 5/7/19 17:52        0.0204922         0.6136731         4.18797E+13 3.4080684 6.70217E+12          0.0182428         0.5463111  3.4080684
            355   5886.62       575035               0.1156992 5/7/19 17:57        0.0204922         0.6136731         4.18797E+13 3.4128341 6.70217E+12          0.0280718         0.8406568  3.4128341
            356   5896.23       575036               0.1119906 5/7/19 18:02        0.0194272         0.5817799         4.33372E+13 3.3034392 6.70217E+12          0.4423178        13.2459437 13.2459437
            357    5898.4       575036               0.1120318 5/7/19 18:08        0.0194272         0.5817799         4.33372E+13    3.304655 6.70217E+12            0.19554       5.8557712  5.8557712
            358   5899.98       575036               0.1120618 5/7/19 18:13        0.0194272         0.5817799         4.33372E+13 3.3055402 6.70217E+12          0.0183816         0.5504676  3.3055402


                                                                                                                                                                                              CONFIDENTIAL
            exelon4_modeling_05092019                                                                     7                                                                               LANCIUM00014575
                   A           B                 C                   D              E              F                   G                H           I               J              K              L
             1 BTC_price block_height breakeven_mining_cost    datetime     day_ahead_LMP day_ahead_LMP_rev est_network_hashrate   mining_rev network_diff real_time_LMP real_time_LMP_rev realized_rev
            359   5899.98       575037               0.1118805 5/7/19 18:18        0.0194272         0.5817799         4.34075E+13 3.3001905 6.70217E+12          0.0124839         0.3738512  3.3001905
            360   5901.99       575039               0.1087922 5/7/19 18:23        0.0194272         0.5817799         4.46549E+13 3.2090942 6.70217E+12          0.0063404         0.1898738  3.2090942
            361   5898.01       575040               0.1082466 5/7/19 18:28        0.0194272         0.5817799         4.48497E+13 3.1930006 6.70217E+12          0.0069752          0.208884  3.1930006
            362   5899.19       575041               0.1069708 5/7/19 18:33        0.0194272         0.5817799         4.53937E+13 3.1553672 6.70217E+12          0.0117867         0.3529724  3.1553672
            363   5858.01       575041               0.1062241 5/7/19 18:38        0.0194272         0.5817799         4.53937E+13 3.1333408 6.70217E+12          0.0008215         0.0246012  3.1333408
            364   5832.84       575041               0.1057677 5/7/19 18:43        0.0194272         0.5817799         4.53937E+13 3.1198778 6.70217E+12           0.007936         0.2376567  3.1198778
            365   5825.57       575042               0.1062064 5/7/19 18:48        0.0194272         0.5817799         4.51499E+13 3.1328187 6.70217E+12          0.0131193         0.3928793  3.1328187
            366   5730.23       575042               0.1044682 5/7/19 18:53        0.0194272         0.5817799         4.51499E+13 3.0815477 6.70217E+12          0.0147234         0.4409168  3.0815477
            367   5765.61       575042               0.1051132 5/7/19 18:58        0.0194272         0.5817799         4.51499E+13    3.100574 6.70217E+12         0.015851         0.4746846   3.100574
            368   5698.35       575042                0.103887 5/7/19 19:03        0.0208363         0.6239777         4.51499E+13 3.0644036 6.70217E+12          0.0143949         0.4310793  3.0644036
            369   5728.93       575043                0.104596 5/7/19 19:08        0.0208363         0.6239777         4.50844E+13 3.0853184 6.70217E+12          0.0085453         0.2559033  3.0853184
            370   5726.34       575044               0.1042417 5/7/19 19:13        0.0208363         0.6239777         4.52172E+13 3.0748672 6.70217E+12          0.0131066          0.392499  3.0748672
            371   5721.68       575044               0.1041569 5/7/19 19:18        0.0208363         0.6239777         4.52172E+13    3.072365 6.70217E+12        0.0074483         0.2230518   3.072365
            372   5740.89       575044               0.1045066 5/7/19 19:23        0.0208363         0.6239777         4.52172E+13 3.0826801 6.70217E+12          0.0220669         0.6608301  3.0826801
                                                                                                                                                                                                            Case: 23-1922




            373   5739.97       575047               0.1037772 5/7/19 19:28        0.0208363         0.6239777         4.55277E+13 3.0611659 6.70217E+12          0.0206216         0.6175482  3.0611659
            374   5762.15       575047               0.1041783 5/7/19 19:33        0.0208363         0.6239777         4.55277E+13 3.0729946 6.70217E+12          0.0227412         0.6810231  3.0729946
            375   5772.32       575048               0.1046881 5/7/19 19:38        0.0208363         0.6239777           4.5386E+13 3.0880343 6.70217E+12         0.0213669         0.6398674  3.0880343
            376   5757.52       575048               0.1044197 5/7/19 19:43        0.0208363         0.6239777           4.5386E+13 3.0801167 6.70217E+12         0.0192512         0.5765093  3.0801167
            377   5780.76       575048               0.1048412 5/7/19 19:48        0.0208363         0.6239777           4.5386E+13 3.0925494 6.70217E+12         0.0184615         0.5528604  3.0925494
            378   5772.27       575049               0.1062044 5/7/19 19:53        0.0208363         0.6239777         4.47376E+13 3.1327595 6.70217E+12          0.0170593         0.5108692  3.1327595
            379   5763.53       575049               0.1060435 5/7/19 19:58        0.0208363         0.6239777         4.47376E+13    3.128016 6.70217E+12        0.0193825         0.5804413   3.128016
            380   5774.99       575049               0.1062544 5/7/19 20:03        0.0214057         0.6410294         4.47376E+13 3.1342357 6.70217E+12          0.0225229         0.6744858  3.1342357
            381   5785.64       575050               0.1067275 5/7/19 20:08        0.0214057         0.6410294         4.46214E+13 3.1481898 6.70217E+12          0.0200782         0.6012752  3.1481898
            382   5794.65       575051               0.1065264 5/7/19 20:13        0.0214057         0.6410294         4.47753E+13 3.1422582 6.70217E+12          0.0189119         0.5663484  3.1422582
            383   5794.99       575052                0.105856 5/7/19 20:18        0.0214057         0.6410294         4.50615E+13 3.1224836 6.70217E+12          0.0168789         0.5054668  3.1224836
                                                                                                                                                                                                            Document: 39-7




            384   5777.32       575052               0.1055332 5/7/19 20:23        0.0214057         0.6410294         4.50615E+13 3.1129625 6.70217E+12          0.0188787         0.5653541  3.1129625
            385   5779.44       575052               0.1055719 5/7/19 20:28        0.0214057         0.6410294         4.50615E+13 3.1141049 6.70217E+12          0.0185028         0.5540972  3.1141049




Appx11384
            386   5784.49       575053               0.1069047 5/7/19 20:33        0.0214057         0.6410294         4.45386E+13 3.1534189 6.70217E+12          0.0168679         0.5051374  3.1534189
            387   5792.26       575054               0.1071284 5/7/19 20:38        0.0214057         0.6410294         4.45053E+13 3.1600161 6.70217E+12          0.0100913         0.3022008  3.1600161
            388   5794.99       575055               0.1078127 5/7/19 20:43        0.0214057         0.6410294         4.42437E+13 3.1802017 6.70217E+12          0.0159387         0.4773109  3.1802017
            389   5798.99       575056               0.1065136 5/7/19 20:48        0.0214057         0.6410294         4.48142E+13 3.1418807 6.70217E+12          0.0155694         0.4662516  3.1418807
                                                                                                                                                                                                            Page: 27




            390   5799.99       575056               0.1065319 5/7/19 20:53        0.0214057         0.6410294         4.48142E+13 3.1424225 6.70217E+12          0.0120816         0.3618036  3.1424225
            391   5792.47       575056               0.1063938 5/7/19 20:58        0.0214057         0.6410294         4.48142E+13 3.1383482 6.70217E+12          0.0121052         0.3625104  3.1383482
            392   5783.99       575057               0.1071229 5/7/19 21:03        0.0187353         0.5610598           4.4444E+13 3.1598544 6.70217E+12         0.0062082         0.1859149  3.1598544
            393   5798.01       575060               0.1064196 5/7/19 21:08        0.0187353         0.5610598         4.48462E+13 3.1391083 6.70217E+12          0.0101617          0.304309  3.1391083
            394   5804.99       575060               0.1065477 5/7/19 21:13        0.0187353         0.5610598         4.48462E+13 3.1428873 6.70217E+12          0.0147359         0.4412911  3.1428873
            395   5804.47       575060               0.1065382 5/7/19 21:18        0.0187353         0.5610598         4.48462E+13 3.1426058 6.70217E+12          0.0161425         0.4834141  3.1426058
            396   5797.19       575061               0.1077196 5/7/19 21:23        0.0187353         0.5610598         4.42987E+13 3.1774565 6.70217E+12          0.0166747         0.4993517  3.1774565
            397   5796.01       575062               0.1073179 5/7/19 21:28        0.0187353         0.5610598         4.44555E+13 3.1656063 6.70217E+12          0.0162576         0.4868609  3.1656063
            398   5796.91       575062               0.1073346 5/7/19 21:33        0.0187353         0.5610598         4.44555E+13 3.1660978 6.70217E+12          0.0154972         0.4640895  3.1660978
            399   5804.49       575063               0.1082426 5/7/19 21:38        0.0187353         0.5610598         4.41402E+13 3.1928815 6.70217E+12          0.0140195         0.4198373  3.1928815
            400   5807.51       575063               0.1082989 5/7/19 21:43        0.0187353         0.5610598         4.41402E+13 3.1945427 6.70217E+12          0.0138085         0.4135185  3.1945427
            401   5806.56       575064                0.107581 5/7/19 21:48        0.0187353         0.5610598         4.44275E+13 3.1733683 6.70217E+12          0.0123646         0.3702786  3.1733683
                                                                                                                                                                                                            Filed: 01/02/2024




            402   5797.78       575064               0.1074184 5/7/19 21:53        0.0187353         0.5610598         4.44275E+13 3.1685699 6.70217E+12          0.0135325         0.4052533  3.1685699
            403   5793.65       575064               0.1073419 5/7/19 21:58        0.0187353         0.5610598         4.44275E+13 3.1663128 6.70217E+12          0.0143717         0.4303845  3.1663128
            404   5778.02       575065               0.1070536 5/7/19 22:03        0.0092857         0.2780758         4.44269E+13 3.1578114 6.70217E+12          0.0159167         0.4766521  3.1578114
            405   5773.43       575066               0.1052104 5/7/19 22:08        0.0092857         0.2780758         4.51693E+13 3.1034402 6.70217E+12          0.0153253         0.4589417  3.1034402
            406   5779.39       575067               0.1054664 5/7/19 22:13        0.0092857         0.2780758         4.51062E+13 3.1109906 6.70217E+12          0.0139439         0.4175733  3.1109906
            407   5791.59       575067                0.105689 5/7/19 22:18        0.0092857         0.2780758         4.51062E+13 3.1175577 6.70217E+12          0.0131096         0.3925888  3.1175577
            408   5790.02       575067               0.1056603 5/7/19 22:23        0.0092857         0.2780758         4.51062E+13 3.1167126 6.70217E+12          0.0122573         0.3670653  3.1167126
            409   5782.94       575067               0.1055311 5/7/19 22:28        0.0092857         0.2780758         4.51062E+13 3.1129015 6.70217E+12          0.0136306          0.408191  3.1129015


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            exelon4_modeling_05092019                                                                    8                                                                               LANCIUM00014575
                   A           B                 C                   D              E              F                   G                H           I               J              K               L
             1 BTC_price block_height breakeven_mining_cost    datetime     day_ahead_LMP day_ahead_LMP_rev est_network_hashrate   mining_rev network_diff real_time_LMP real_time_LMP_rev realized_rev
            410   5775.43       575067               0.1053941 5/7/19 22:33        0.0092857         0.2780758         4.51062E+13 3.1088589 6.70217E+12          0.0135185          0.404834  3.1088589
            411   5779.99       575068               0.1067775 5/7/19 22:38        0.0092857         0.2780758           4.4557E+13 3.1496656 6.70217E+12         0.0130395         0.3904896  3.1496656
            412   5785.55       575068               0.1068802 5/7/19 22:43        0.0092857         0.2780758           4.4557E+13 3.1526954 6.70217E+12         0.0132167         0.3957961  3.1526954
            413    5776.9       575070               0.1064823 5/7/19 22:48        0.0092857         0.2780758         4.46566E+13 3.1409571 6.70217E+12          0.0151927         0.4549707  3.1409571
            414   5782.35       575070               0.1065827 5/7/19 22:53        0.0092857         0.2780758         4.46566E+13 3.1439203 6.70217E+12          0.0127496          0.381808  3.1439203
            415   5778.56       575070               0.1065129 5/7/19 22:58        0.0092857         0.2780758         4.46566E+13 3.1418596 6.70217E+12              0.01094       0.3276165  3.1418596
            416   5807.88       575077               0.1057164 5/8/19 0:03          0.010744          0.321747         4.52214E+13 3.1183659 6.70217E+12          0.0116913         0.3501155  3.1183659
            417   5804.11       575077               0.1056478 5/8/19 0:08          0.010744          0.321747         4.52214E+13 3.1163417 6.70217E+12          0.0120928         0.3621391  3.1163417
            418   5801.23       575078               0.1058179 5/8/19 0:13          0.010744          0.321747         4.51263E+13 3.1213604 6.70217E+12          0.0121536         0.3639598  3.1213604
            419   5791.66       575078               0.1056434 5/8/19 0:18          0.010744          0.321747         4.51263E+13 3.1162113 6.70217E+12          0.0124538         0.3729498  3.1162113
            420    5795.5       575078               0.1057134 5/8/19 0:23          0.010744          0.321747         4.51263E+13 3.1182774 6.70217E+12          0.0132227         0.3959758  3.1182774
            421   5795.98       575079               0.1065412 5/8/19 0:28          0.010744          0.321747         4.47794E+13 3.1426942 6.70217E+12          0.0133711         0.4004199  3.1426942
            422   5799.99       575081                0.102499 5/8/19 0:33          0.010744          0.321747         4.65775E+13 3.0234621 6.70217E+12          0.0173409         0.5193022  3.0234621
            423   5804.41       575082               0.1023697 5/8/19 0:38          0.010744          0.321747         4.66719E+13 3.0196463 6.70217E+12          0.0172819         0.5175353  3.0196463
                                                                                                                                                                                                             Case: 23-1922




            424   5804.82       575084               0.1015622 5/8/19 0:43          0.010744          0.321747         4.70463E+13 2.9958274 6.70217E+12          0.0175389         0.5252316  2.9958274
            425   5802.49       575086               0.0989662 5/8/19 0:48          0.010744          0.321747         4.82609E+13 2.9192535 6.70217E+12          0.0173835         0.5205779  2.9192535
            426   5795.31       575086               0.0988438 5/8/19 0:53          0.010744          0.321747         4.82609E+13 2.9156412 6.70217E+12          0.0147548         0.4418571  2.9156412
            427   5799.55       575087               0.0990391 5/8/19 0:58          0.010744          0.321747           4.8201E+13 2.9214025 6.70217E+12         0.0135535         0.4058821  2.9214025
            428   5810.52       575087               0.0992264 5/8/19 1:03         0.0116366         0.3484774           4.8201E+13 2.9269284 6.70217E+12         0.0126685         0.3793793  2.9269284
            429   5818.01       575087               0.0993543 5/8/19 1:08         0.0116366         0.3484774           4.8201E+13 2.9307013 6.70217E+12         0.0083531         0.2501475  2.9307013
            430   5819.24       575089               0.0985572 5/8/19 1:13         0.0116366         0.3484774         4.86011E+13 2.9071881 6.70217E+12          0.0126493         0.3788044  2.9071881
            431   5817.19       575090               0.0973429 5/8/19 1:18         0.0116366         0.3484774         4.91901E+13 2.8713676 6.70217E+12          0.0126278         0.3781605  2.8713676
            432   5820.91       575090               0.0974051 5/8/19 1:23         0.0116366         0.3484774         4.91901E+13 2.8732038 6.70217E+12          0.0125071          0.374546  2.8732038
            433   5831.99       575090               0.0975905 5/8/19 1:28         0.0116366         0.3484774         4.91901E+13 2.8786729 6.70217E+12          0.0125147         0.3747735  2.8786729
            434   5837.72       575090               0.0976864 5/8/19 1:33         0.0116366         0.3484774         4.91901E+13 2.8815012 6.70217E+12          0.0030723         0.0920051  2.8815012
                                                                                                                                                                                                             Document: 39-7




            435   5825.57       575090               0.0974831 5/8/19 1:38         0.0116366         0.3484774         4.91901E+13    2.875504 6.70217E+12        0.0007008         0.0209866   2.875504
            436    5834.9       575090               0.0976392 5/8/19 1:43         0.0116366         0.3484774         4.91901E+13 2.8801093 6.70217E+12           0.002842         0.0851084  2.8801093




Appx11385
            437   5839.94       575090               0.0977235 5/8/19 1:49         0.0116366         0.3484774         4.91901E+13    2.882597 6.70217E+12        0.0029206         0.0874622    2.882597
            438   5834.68       575090               0.0976355 5/8/19 1:54         0.0116366         0.3484774         4.91901E+13 2.8800007 6.70217E+12          0.0037273         0.1116202  2.8800007
            439   5827.66       575090               0.0975181 5/8/19 1:59         0.0116366         0.3484774         4.91901E+13 2.8765356 6.70217E+12          0.0045235         0.1354637  2.8765356
            440   5833.57       575090                0.097617 5/8/19 2:04         0.0119665         0.3583568         4.91901E+13 2.8794528 6.70217E+12           0.005794          0.173511  2.8794528
                                                                                                                                                                                                             Page: 28




            441   5837.02       575090               0.0976747 5/8/19 2:09         0.0119665         0.3583568         4.91901E+13 2.8811557 6.70217E+12          0.0120927         0.3621361  2.8811557
            442   5834.82       575091               0.1021121 5/8/19 2:14         0.0119665         0.3583568         4.70347E+13 3.0120484 6.70217E+12          0.0138694         0.4153423  3.0120484
            443   5832.01       575091               0.1020629 5/8/19 2:19         0.0119665         0.3583568         4.70347E+13 3.0105978 6.70217E+12          0.0243003          0.727713  3.0105978
            444   5827.28       575091               0.1019802 5/8/19 2:24         0.0119665         0.3583568         4.70347E+13 3.0081561 6.70217E+12          0.0146496         0.4387067  3.0081561
            445    5814.3       575091                0.101753 5/8/19 2:29         0.0119665         0.3583568         4.70347E+13 3.0014556 6.70217E+12           0.013417         0.4017944  3.0014556
            446   5822.06       575092               0.1015212 5/8/19 2:34         0.0119665         0.3583568         4.72051E+13 2.9946169 6.70217E+12           0.013794         0.4130843  2.9946169
            447   5827.69       575092               0.1016193 5/8/19 2:39         0.0119665         0.3583568         4.72051E+13 2.9975127 6.70217E+12          0.0134243          0.402013  2.9975127
            448   5825.01       575094               0.1011451 5/8/19 2:44         0.0119665         0.3583568         4.74046E+13 2.9835236 6.70217E+12          0.0173396         0.5192632  2.9835236
            449   5825.01       575094               0.1011451 5/8/19 2:49         0.0119665         0.3583568         4.74046E+13 2.9835236 6.70217E+12          0.0160878          0.481776  2.9835236
            450   5827.65       575094               0.1011909 5/8/19 2:54         0.0119665         0.3583568         4.74046E+13 2.9848758 6.70217E+12          0.0135423         0.4055467  2.9848758
            451   5828.98       575094                0.101214 5/8/19 2:59         0.0119665         0.3583568         4.74046E+13    2.985557 6.70217E+12        0.0119787         0.3587221   2.985557
            452   5816.75       575095               0.1023933 5/8/19 3:04         0.0120924         0.3621271         4.67603E+13    3.020342 6.70217E+12         0.007941         0.2378065   3.020342
                                                                                                                                                                                                             Filed: 01/02/2024




            453   5816.32       575095               0.1023857 5/8/19 3:09         0.0120924         0.3621271         4.67603E+13 3.0201187 6.70217E+12           0.011828         0.3542092  3.0201187
            454   5822.73       575095               0.1024985 5/8/19 3:14         0.0120924         0.3621271         4.67603E+13 3.0234471 6.70217E+12          0.0145702         0.4363289  3.0234471
            455    5828.4       575095               0.1025983 5/8/19 3:19         0.0120924         0.3621271         4.67603E+13 3.0263913 6.70217E+12          0.0152655         0.4571508  3.0263913
            456   5829.18       575097               0.1038705 5/8/19 3:24         0.0120924         0.3621271         4.61938E+13 3.0639178 6.70217E+12          0.0169161         0.5065808  3.0639178
            457   5837.98       575097               0.1040273 5/8/19 3:29         0.0120924         0.3621271         4.61938E+13 3.0685432 6.70217E+12          0.0230203         0.6893813  3.0685432
            458   5838.98       575098               0.1040229 5/8/19 3:34         0.0120924         0.3621271         4.62037E+13 3.0684122 6.70217E+12          0.0845618          2.532344  3.0684122
            459   5828.52       575098               0.1038366 5/8/19 3:39         0.0120924         0.3621271         4.62037E+13 3.0629154 6.70217E+12          0.0234107         0.7010724  3.0629154
            460   5822.59       575099               0.1046272 5/8/19 3:44         0.0120924         0.3621271         4.58079E+13 3.0862378 6.70217E+12          0.0168116         0.5034514  3.0862378


                                                                                                                                                                                              CONFIDENTIAL
            exelon4_modeling_05092019                                                                     9                                                                               LANCIUM00014575
                   A           B                 C                   D              E              F                   G                H           I               J              K               L
             1 BTC_price block_height breakeven_mining_cost    datetime     day_ahead_LMP day_ahead_LMP_rev est_network_hashrate   mining_rev network_diff real_time_LMP real_time_LMP_rev realized_rev
            461   5803.44       575099               0.1042831 5/8/19 3:49         0.0120924         0.3621271         4.58079E+13 3.0760874 6.70217E+12          0.0140409         0.4204782  3.0760874
            462   5796.56       575099               0.1041595 5/8/19 3:54         0.0120924         0.3621271         4.58079E+13 3.0724407 6.70217E+12          0.0144936          0.434035  3.0724407
            463   5807.05       575101               0.1050426 5/8/19 3:59         0.0120924         0.3621271         4.55049E+13 3.0984912 6.70217E+12          0.0119057          0.356536  3.0984912
            464   5809.78       575101                0.105092 5/8/19 4:04         0.0137229         0.4109551         4.55049E+13 3.0999478 6.70217E+12          0.0125622          0.376196  3.0999478
            465   5812.68       575101               0.1051445 5/8/19 4:09         0.0137229         0.4109551         4.55049E+13 3.1014952 6.70217E+12          0.0142995         0.4282224  3.1014952
            466   5815.61       575102               0.1048815 5/8/19 4:14         0.0137229         0.4109551           4.5642E+13 3.0937385 6.70217E+12         0.0193516         0.5795159  3.0937385
            467   5808.55       575103               0.1046033 5/8/19 4:19         0.0137229         0.4109551         4.57078E+13 3.0855325 6.70217E+12          0.0200764         0.6012213  3.0855325
            468   5820.01       575104               0.1050843 5/8/19 4:24         0.0137229         0.4109551         4.55884E+13     3.09972 6.70217E+12        0.0189938          0.568801     3.09972
            469   5816.06       575105               0.1052763 5/8/19 4:29         0.0137229         0.4109551         4.54744E+13 3.1053836 6.70217E+12          0.0230152         0.6892285  3.1053836
            470   5808.82       575106               0.1053792 5/8/19 4:34         0.0137229         0.4109551         4.53734E+13 3.1084182 6.70217E+12          0.0197229         0.5906351  3.1084182
            471   5815.31       575106               0.1054969 5/8/19 4:39         0.0137229         0.4109551         4.53734E+13 3.1118911 6.70217E+12          0.0184185         0.5515727  3.1118911
            472   5818.61       575108               0.1056718 5/8/19 4:44         0.0137229         0.4109551           4.5324E+13 3.1170516 6.70217E+12         0.0141625         0.4241197  3.1170516
            473   5810.51       575108               0.1055247 5/8/19 4:49         0.0137229         0.4109551           4.5324E+13 3.1127124 6.70217E+12         0.0159072         0.4763676  3.1127124
            474   5815.11       575108               0.1056083 5/8/19 4:54         0.0137229         0.4109551           4.5324E+13 3.1151766 6.70217E+12         0.0160139         0.4795629  3.1151766
                                                                                                                                                                                                             Case: 23-1922




            475   5808.22       575109               0.1054956 5/8/19 4:59         0.0137229         0.4109551         4.53187E+13 3.1118531 6.70217E+12          0.0129169         0.3868181  3.1118531
            476   5821.06       575109               0.1057288 5/8/19 5:04         0.0172785         0.5174335         4.53187E+13 3.1187323 6.70217E+12          0.0087613         0.2623717  3.1187323
            477   5830.24       575109               0.1058956 5/8/19 5:09         0.0172785         0.5174335         4.53187E+13 3.1236507 6.70217E+12          0.0125147         0.3747735  3.1236507
            478   5816.12       575110               0.1063653 5/8/19 5:14         0.0172785         0.5174335         4.50092E+13 3.1375074 6.70217E+12          0.0158514         0.4746966  3.1375074
            479   5816.12       575110               0.1063653 5/8/19 5:19         0.0172785         0.5174335         4.50092E+13 3.1375074 6.70217E+12          0.0145818         0.4366763  3.1375074
            480   5811.28       575111               0.1058572 5/8/19 5:24         0.0172785         0.5174335         4.51877E+13 3.1225197 6.70217E+12          0.0159657         0.4781195  3.1225197
            481   5814.19       575113               0.1054793 5/8/19 5:29         0.0172785         0.5174335         4.53722E+13 3.1113735 6.70217E+12          0.0189354         0.5670521  3.1113735
            482   5822.89       575113               0.1056372 5/8/19 5:34         0.0172785         0.5174335         4.53722E+13 3.1160292 6.70217E+12          0.0168377          0.504233  3.1160292
            483    5825.6       575113               0.1056863 5/8/19 5:39         0.0172785         0.5174335         4.53722E+13 3.1174794 6.70217E+12          0.0142709         0.4273659  3.1174794
            484   5825.47       575114               0.1057728 5/8/19 5:44         0.0172785         0.5174335         4.53341E+13 3.1200304 6.70217E+12          0.0162737         0.4873431  3.1200304
            485   5830.59       575114               0.1058658 5/8/19 5:49         0.0172785         0.5174335         4.53341E+13 3.1227726 6.70217E+12           0.016296         0.4880109  3.1227726
                                                                                                                                                                                                             Document: 39-7




            486   5839.34       575114               0.1060247 5/8/19 5:54         0.0172785         0.5174335         4.53341E+13    3.127459 6.70217E+12        0.0078999         0.2365757    3.127459
            487   5838.51       575115               0.1055129 5/8/19 5:59         0.0172785         0.5174335         4.55475E+13 3.1123637 6.70217E+12          0.0157437         0.4714713  3.1123637




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            488   5829.09       575117               0.1054774 5/8/19 6:04         0.0211899         0.6345669         4.54893E+13 3.1113164 6.70217E+12           0.015334         0.4592022  3.1113164
            489   5826.85       575117               0.1054369 5/8/19 6:09         0.0211899         0.6345669         4.54893E+13 3.1101208 6.70217E+12          0.0095667         0.2864908  3.1101208
            490   5838.53       575118                0.105587 5/8/19 6:14         0.0211899         0.6345669         4.55157E+13 3.1145494 6.70217E+12          0.0126575         0.3790499  3.1145494
            491   5843.74       575119               0.1054459 5/8/19 6:19         0.0211899         0.6345669         4.56173E+13 3.1103869 6.70217E+12          0.0159603         0.4779578  3.1103869
                                                                                                                                                                                                             Page: 29




            492   5843.03       575119               0.1054331 5/8/19 6:24         0.0211899         0.6345669         4.56173E+13    3.110009 6.70217E+12        0.0169939         0.5089107    3.110009
            493   5842.51       575119               0.1054237 5/8/19 6:29         0.0211899         0.6345669         4.56173E+13 3.1097323 6.70217E+12          0.0176305         0.5279747  3.1097323
            494   5859.77       575120               0.1055662 5/8/19 6:34         0.0211899         0.6345669         4.56903E+13 3.1139353 6.70217E+12          0.0182108         0.5453528  3.1139353
            495   5849.16       575120               0.1053751 5/8/19 6:39         0.0211899         0.6345669         4.56903E+13 3.1082971 6.70217E+12          0.0222873         0.6674303  3.1082971
            496   5859.91       575120               0.1055687 5/8/19 6:44         0.0211899         0.6345669         4.56903E+13 3.1140097 6.70217E+12          0.0240313         0.7196573  3.1140097
            497   5874.94       575120               0.1058395 5/8/19 6:49         0.0211899         0.6345669         4.56903E+13 3.1219968 6.70217E+12          0.0247785         0.7420335  3.1219968
            498   5849.77       575122               0.1058251 5/8/19 6:54         0.0211899         0.6345669         4.55007E+13 3.1215733 6.70217E+12           0.035146         1.0525055  3.1215733
            499   5847.52       575123               0.1059851 5/8/19 6:59         0.0211899         0.6345669         4.54146E+13 3.1262913 6.70217E+12          0.0331317          0.992184  3.1262913
            500   5858.74       575123               0.1061884 5/8/19 7:04         0.0245969         0.7365952         4.54146E+13 3.1322899 6.70217E+12          0.0225584         0.6755489  3.1322899
            501   5868.24       575124               0.1046351 5/8/19 7:09         0.0245969         0.7365952         4.61635E+13 3.0864695 6.70217E+12          0.0227738         0.6819994  3.0864695
            502   5860.28       575124               0.1044931 5/8/19 7:14         0.0245969         0.7365952         4.61635E+13 3.0822829 6.70217E+12          0.0189208         0.5666149  3.0822829
            503   5864.03       575124                  0.10456 5/8/19 7:19        0.0245969         0.7365952         4.61635E+13 3.0842552 6.70217E+12          0.0206953         0.6197553  3.0842552
                                                                                                                                                                                                             Filed: 01/02/2024




            504   5860.24       575125               0.1049602 5/8/19 7:24         0.0245969         0.7365952         4.59578E+13 3.0960609 6.70217E+12          0.0230157         0.6892435  3.0960609
            505   5855.35       575125               0.1048726 5/8/19 7:29         0.0245969         0.7365952         4.59578E+13 3.0934774 6.70217E+12          0.0225888         0.6764593  3.0934774
            506   5861.24       575125               0.1049781 5/8/19 7:34         0.0245969         0.7365952         4.59578E+13 3.0965892 6.70217E+12          0.0205788         0.6162665  3.0965892
            507   5864.22       575125               0.1050315 5/8/19 7:39         0.0245969         0.7365952         4.59578E+13 3.0981636 6.70217E+12          0.0197214         0.5905902  3.0981636
            508    5855.4       575125               0.1048735 5/8/19 7:44         0.0245969         0.7365952         4.59578E+13 3.0935039 6.70217E+12          0.0198359         0.5940191  3.0935039
            509   5848.68       575126                0.102448 5/8/19 7:49         0.0245969         0.7365952         4.69919E+13 3.0219576 6.70217E+12          0.0296779         0.8887542  3.0219576
            510   5843.55       575127               0.1024751 5/8/19 7:54         0.0245969         0.7365952         4.69382E+13 3.0227572 6.70217E+12          0.0208223         0.6235585  3.0227572
            511   5851.77       575127               0.1026193 5/8/19 7:59         0.0245969         0.7365952         4.69382E+13 3.0270092 6.70217E+12          0.0230156         0.6892405  3.0270092


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            exelon4_modeling_05092019                                                                    10                                                                               LANCIUM00014575
                   A           B                 C                   D              E              F                   G                H           I               J              K               L
             1 BTC_price block_height breakeven_mining_cost    datetime     day_ahead_LMP day_ahead_LMP_rev est_network_hashrate   mining_rev network_diff real_time_LMP real_time_LMP_rev realized_rev
            512   5849.49       575127               0.1025793 5/8/19 8:04         0.0242095         0.7249938         4.69382E+13 3.0258298 6.70217E+12          0.0232039         0.6948795  3.0258298
            513   5849.48       575129               0.1024537 5/8/19 8:09         0.0242095         0.7249938         4.69957E+13 3.0221242 6.70217E+12          0.0199092         0.5962142  3.0221242
            514    5848.2       575130               0.1023337 5/8/19 8:14         0.0242095         0.7249938         4.70405E+13 3.0185855 6.70217E+12          0.0193885         0.5806209  3.0185855
            515   5833.78       575131               0.1018159 5/8/19 8:19         0.0242095         0.7249938         4.71632E+13 3.0033105 6.70217E+12          0.0228642         0.6847066  3.0033105
            516   5845.68       575131               0.1020236 5/8/19 8:24         0.0242095         0.7249938         4.71632E+13 3.0094368 6.70217E+12          0.0197323         0.5909166  3.0094368
            517   5850.11       575133                0.101054 5/8/19 8:29         0.0242095         0.7249938         4.76518E+13 2.9808362 6.70217E+12          0.0210194          0.629461  2.9808362
            518   5849.94       575134                0.101143 5/8/19 8:34         0.0242095         0.7249938         4.76084E+13 2.9834634 6.70217E+12          0.0253845         0.7601812  2.9834634
            519   5844.18       575135               0.1003625 5/8/19 8:39         0.0242095         0.7249938         4.79315E+13 2.9604385 6.70217E+12          0.0187378         0.5611347  2.9604385
            520   5844.99       575136               0.1007176 5/8/19 8:45         0.0242095         0.7249938         4.77691E+13 2.9709144 6.70217E+12          0.0201853         0.6044825  2.9709144
            521   5856.45       575136               0.1009151 5/8/19 8:50         0.0242095         0.7249938         4.77691E+13 2.9767393 6.70217E+12          0.0212258          0.635642  2.9767393
            522   5861.07       575136               0.1009947 5/8/19 8:55         0.0242095         0.7249938         4.77691E+13 2.9790876 6.70217E+12          0.0203371         0.6090284  2.9790876
            523   5859.02       575136               0.1009594 5/8/19 9:00         0.0244939         0.7335107         4.77691E+13 2.9780456 6.70217E+12          0.0193291         0.5788421  2.9780456
            524   5865.61       575136               0.1010729 5/8/19 9:05         0.0244939         0.7335107         4.77691E+13 2.9813952 6.70217E+12          0.0272511         0.8160796  2.9813952
            525   5854.26       575136               0.1008773 5/8/19 9:10         0.0244939         0.7335107         4.77691E+13 2.9756262 6.70217E+12          0.0236817          0.709188  2.9756262
                                                                                                                                                                                                             Case: 23-1922




            526    5831.3       575137               0.1018101 5/8/19 9:15         0.0244939         0.7335107         4.71458E+13 3.0031404 6.70217E+12          0.2149698         6.4376289  6.4376289
            527   5839.16       575137               0.1019473 5/8/19 9:20         0.0244939         0.7335107         4.71458E+13 3.0071883 6.70217E+12          0.2149291         6.4364101  6.4364101
            528    5843.2       575137               0.1020179 5/8/19 9:25         0.0244939         0.7335107         4.71458E+13 3.0092689 6.70217E+12          0.0275293         0.8244108  3.0092689
            529   5841.15       575137               0.1019821 5/8/19 9:30         0.0244939         0.7335107         4.71458E+13 3.0082132 6.70217E+12          0.0429576         1.2864369  3.0082132
            530   5849.05       575139               0.1011946 5/8/19 9:35         0.0244939         0.7335107           4.7577E+13 2.9849829 6.70217E+12         0.0232529         0.6963468  2.9849829
            531   5857.36       575140               0.0999202 5/8/19 9:40         0.0244939         0.7335107         4.82522E+13    2.947394 6.70217E+12        0.0229391         0.6869496    2.947394
            532   5857.91       575140               0.0999296 5/8/19 9:45         0.0244939         0.7335107         4.82522E+13 2.9476708 6.70217E+12          0.0235124          0.704118  2.9476708
            533   5864.03       575140                0.100034 5/8/19 9:50         0.0244939         0.7335107         4.82522E+13 2.9507504 6.70217E+12          0.0259313          0.776556  2.9507504
            534   5868.53       575142               0.0972217 5/8/19 9:55         0.0244939         0.7335107         4.96861E+13 2.8677931 6.70217E+12          0.0202099         0.6052191  2.8677931
            535   5857.64       575143               0.0964425 5/8/19 10:00        0.0273545         0.8191761         4.99946E+13 2.8448083 6.70217E+12           0.018816         0.5634765  2.8448083
            536    5866.7       575143               0.0965916 5/8/19 10:05        0.0273545         0.8191761         4.99946E+13 2.8492083 6.70217E+12          0.0166105         0.4974291  2.8492083
                                                                                                                                                                                                             Document: 39-7




            537   5863.82       575143               0.0965442 5/8/19 10:10        0.0273545         0.8191761         4.99946E+13 2.8478096 6.70217E+12          0.0189675         0.5680134  2.8478096
            538   5866.01       575143               0.0965803 5/8/19 10:15        0.0273545         0.8191761         4.99946E+13 2.8488732 6.70217E+12          0.0207265         0.6206896  2.8488732




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            539   5864.99       575144               0.0934511 5/8/19 10:20        0.0273545         0.8191761         5.16596E+13 2.7565705 6.70217E+12          0.0230154         0.6892345  2.7565705
            540    5879.4       575144               0.0936807 5/8/19 10:25        0.0273545         0.8191761         5.16596E+13 2.7633433 6.70217E+12           0.022665         0.6787412  2.7633433
            541   5893.62       575144               0.0939073 5/8/19 10:30        0.0273545         0.8191761         5.16596E+13 2.7700267 6.70217E+12           0.026083         0.7810989  2.7700267
            542   5896.01       575144               0.0939454 5/8/19 10:35        0.0273545         0.8191761         5.16596E+13     2.77115 6.70217E+12        0.0230839         0.6912859     2.77115
                                                                                                                                                                                                             Page: 30




            543   5888.01       575145               0.0946022 5/8/19 10:40        0.0273545         0.8191761         5.12313E+13    2.790525 6.70217E+12        0.0287548         0.8611104    2.790525
            544   5881.26       575145               0.0944937 5/8/19 10:45        0.0273545         0.8191761         5.12313E+13    2.787326 6.70217E+12        0.0290496         0.8699387    2.787326
            545   5890.78       575145               0.0946467 5/8/19 10:50        0.0273545         0.8191761         5.12313E+13 2.7918378 6.70217E+12           0.031648         0.9477521  2.7918378
            546   5902.32       575145               0.0948321 5/8/19 10:55        0.0273545         0.8191761         5.12313E+13    2.797307 6.70217E+12        0.0386126         1.1563187    2.797307
            547   5892.56       575146               0.0957691 5/8/19 11:01        0.0256602         0.7684375         5.06462E+13 2.8249464 6.70217E+12          0.1850845         5.5426638  5.5426638
            548    5892.8       575146                0.095773 5/8/19 11:06        0.0256602         0.7684375         5.06462E+13 2.8250615 6.70217E+12          0.1223436          3.663783    3.663783
            549   5886.97       575146               0.0956783 5/8/19 11:11        0.0256602         0.7684375         5.06462E+13 2.8222665 6.70217E+12          0.0289788         0.8678185  2.8222665
            550   5886.09       575147                0.095016 5/8/19 11:16        0.0256602         0.7684375         5.09916E+13 2.8027303 6.70217E+12          0.0293671         0.8794468  2.8027303
            551   5892.15       575147               0.0951138 5/8/19 11:21        0.0256602         0.7684375         5.09916E+13 2.8056159 6.70217E+12          0.0222423         0.6660827  2.8056159
            552   5876.44       575148               0.0951515 5/8/19 11:26        0.0256602         0.7684375         5.08355E+13 2.8067268 6.70217E+12          0.0207227         0.6205758  2.8067268
            553   5884.06       575149               0.0955244 5/8/19 11:31        0.0256602         0.7684375         5.07027E+13 2.8177282 6.70217E+12          0.0191584         0.5737302  2.8177282
            554   5888.27       575149               0.0955928 5/8/19 11:36        0.0256602         0.7684375         5.07027E+13 2.8197442 6.70217E+12          0.0213724         0.6400321  2.8197442
                                                                                                                                                                                                             Filed: 01/02/2024




            555   5886.01       575149               0.0955561 5/8/19 11:41        0.0256602         0.7684375         5.07027E+13    2.818662 6.70217E+12        0.0222172         0.6653311    2.818662
            556   5884.57       575150               0.0935906 5/8/19 11:46        0.0256602         0.7684375         5.17548E+13 2.7606856 6.70217E+12          0.0230647         0.6907109  2.7606856
            557   5889.82       575150               0.0936741 5/8/19 11:51        0.0256602         0.7684375         5.17548E+13 2.7631486 6.70217E+12          0.0228225         0.6834578  2.7631486
            558   5888.19       575151               0.0945307 5/8/19 11:56        0.0256602         0.7684375         5.12716E+13 2.7884168 6.70217E+12          0.0233477         0.6991858  2.7884168
            559   5872.61       575151               0.0942806 5/8/19 12:01         0.026371         0.7897235         5.12716E+13 2.7810387 6.70217E+12          0.0224703         0.6729106  2.7810387
            560   5867.29       575152               0.0946705 5/8/19 12:06         0.026371         0.7897235         5.10142E+13 2.7925413 6.70217E+12          0.0217427         0.6511214  2.7925413
            561   5863.69       575152               0.0946125 5/8/19 12:11         0.026371         0.7897235         5.10142E+13 2.7908278 6.70217E+12          0.0206502         0.6184047  2.7908278
            562   5866.61       575153               0.0947421 5/8/19 12:16         0.026371         0.7897235         5.09698E+13 2.7946505 6.70217E+12          0.0211696          0.633959  2.7946505


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            exelon4_modeling_05092019                                                                    11                                                                               LANCIUM00014575
                   A           B                 C                   D              E              F                   G                H           I               J              K               L
             1 BTC_price block_height breakeven_mining_cost    datetime     day_ahead_LMP day_ahead_LMP_rev est_network_hashrate   mining_rev network_diff real_time_LMP real_time_LMP_rev realized_rev
            563   5868.73       575154               0.0943442 5/8/19 12:21         0.026371         0.7897235         5.12032E+13 2.7829139 6.70217E+12          0.0227271         0.6806009  2.7829139
            564   5877.65       575154               0.0944876 5/8/19 12:26         0.026371         0.7897235         5.12032E+13 2.7871437 6.70217E+12          0.0262613         0.7864384  2.7871437
            565   5886.52       575156               0.0934827 5/8/19 12:31         0.026371         0.7897235         5.18317E+13 2.7575042 6.70217E+12          0.0246938          0.739497  2.7575042
            566   5883.25       575156               0.0934308 5/8/19 12:36         0.026371         0.7897235         5.18317E+13 2.7559724 6.70217E+12          0.0239477         0.7171538  2.7559724
            567    5880.8       575156               0.0933919 5/8/19 12:41         0.026371         0.7897235         5.18317E+13 2.7548247 6.70217E+12          0.0215346         0.6448895  2.7548247
            568   5886.84       575157               0.0931778 5/8/19 12:46         0.026371         0.7897235         5.20042E+13 2.7485095 6.70217E+12          0.0215175         0.6443774  2.7485095
            569   5887.77       575157               0.0931925 5/8/19 12:51         0.026371         0.7897235         5.20042E+13 2.7489437 6.70217E+12          0.0210953         0.6317339  2.7489437
            570   5886.14       575159               0.0936745 5/8/19 12:56         0.026371         0.7897235         5.17223E+13 2.7631598 6.70217E+12          0.0221968         0.6647202  2.7631598
            571   5880.23       575159               0.0935804 5/8/19 13:01        0.0224056          0.670973         5.17223E+13 2.7603855 6.70217E+12          0.0220558         0.6604977  2.7603855
            572   5884.79       575159                0.093653 5/8/19 13:06        0.0224056          0.670973         5.17223E+13 2.7625261 6.70217E+12          0.0232481         0.6962031  2.7625261
            573   5887.12       575159               0.0936901 5/8/19 13:11        0.0224056          0.670973         5.17223E+13 2.7636199 6.70217E+12          0.0228614         0.6846227  2.7636199
            574   5882.83       575159               0.0936218 5/8/19 13:16        0.0224056          0.670973         5.17223E+13    2.761606 6.70217E+12        0.0286842         0.8589962    2.761606
            575   5887.05       575160                0.095298 5/8/19 13:21        0.0224056          0.670973           5.0849E+13 2.8110496 6.70217E+12         0.0210217         0.6295298  2.8110496
            576   5885.01       575161               0.0954767 5/8/19 13:26        0.0224056          0.670973         5.07362E+13 2.8163217 6.70217E+12          0.0209618          0.627736  2.8163217
                                                                                                                                                                                                             Case: 23-1922




            577   5877.03       575161               0.0953473 5/8/19 13:31        0.0224056          0.670973         5.07362E+13 2.8125028 6.70217E+12           0.019652         0.5885119  2.8125028
            578    5864.5       575163               0.0928787 5/8/19 13:36        0.0224056          0.670973         5.19737E+13 2.7396868 6.70217E+12          0.0197032         0.5900452  2.7396868
            579   5878.37       575163               0.0930984 5/8/19 13:41        0.0224056          0.670973         5.19737E+13 2.7461664 6.70217E+12          0.0229336         0.6867849  2.7461664
            580   5884.42       575163               0.0931942 5/8/19 13:46        0.0224056          0.670973         5.19737E+13 2.7489927 6.70217E+12           0.027902         0.8355719  2.7489927
            581   5882.28       575163               0.0931603 5/8/19 13:51        0.0224056          0.670973         5.19737E+13    2.747993 6.70217E+12        0.0286405         0.8576875    2.747993
            582   5884.83       575163               0.0932007 5/8/19 13:56        0.0224056          0.670973         5.19737E+13 2.7491843 6.70217E+12          0.0262751         0.7868517  2.7491843
            583   5884.52       575164               0.0946934 5/8/19 14:01        0.0200678         0.6009637         5.11517E+13    2.793214 6.70217E+12         0.027166         0.8135311    2.793214
            584   5879.67       575164               0.0946153 5/8/19 14:06        0.0200678         0.6009637         5.11517E+13 2.7909119 6.70217E+12          0.0243166         0.7282011  2.7909119
            585   5877.49       575164               0.0945802 5/8/19 14:11        0.0200678         0.6009637         5.11517E+13 2.7898771 6.70217E+12          0.0208701         0.6249899  2.7898771
            586   5887.28       575166               0.0950829 5/8/19 14:16        0.0200678         0.6009637           5.0966E+13 2.8047039 6.70217E+12         0.0218292         0.6537118  2.8047039
            587   5884.05       575166               0.0950307 5/8/19 14:21        0.0200678         0.6009637           5.0966E+13 2.8031651 6.70217E+12         0.0217633         0.6517383  2.8031651
                                                                                                                                                                                                             Document: 39-7




            588   5885.12       575166                0.095048 5/8/19 14:26        0.0200678         0.6009637           5.0966E+13 2.8036749 6.70217E+12         0.0217781         0.6521815  2.8036749
            589   5902.91       575167               0.0961455 5/8/19 14:31        0.0200678         0.6009637         5.05365E+13    2.836049 6.70217E+12         0.021451         0.6423859    2.836049




Appx11388
            590   5902.72       575167               0.0961424 5/8/19 14:36        0.0200678         0.6009637         5.05365E+13 2.8359577 6.70217E+12          0.1801174         5.3939157  5.3939157
            591   5906.61       575167               0.0962058 5/8/19 14:41        0.0200678         0.6009637         5.05365E+13 2.8378267 6.70217E+12          0.0426523         1.2772942  2.8378267
            592   5912.28       575167               0.0962981 5/8/19 14:46        0.0200678         0.6009637         5.05365E+13 2.8405508 6.70217E+12          0.1999116          5.986686    5.986686
            593   5908.65       575170                0.095031 5/8/19 14:51        0.0200678         0.6009637           5.1179E+13 2.8031727 6.70217E+12         0.2670565          7.997452    7.997452
                                                                                                                                                                                                             Page: 31




            594   5900.02       575170               0.0948922 5/8/19 14:56        0.0200678         0.6009637           5.1179E+13 2.7990785 6.70217E+12         0.0299601         0.8972051  2.7990785
            595   5884.23       575171               0.0950701 5/8/19 15:01        0.0170556         0.5107584         5.09465E+13 2.8043263 6.70217E+12          0.0297971         0.8923238  2.8043263
            596   5890.02       575171               0.0951636 5/8/19 15:06        0.0170556         0.5107584         5.09465E+13 2.8070857 6.70217E+12          0.0254303         0.7615527  2.8070857
            597   5890.65       575171               0.0951738 5/8/19 15:11        0.0170556         0.5107584         5.09465E+13 2.8073859 6.70217E+12          0.0264722         0.7927541  2.8073859
            598   5868.34       575171               0.0948133 5/8/19 15:16        0.0170556         0.5107584         5.09465E+13 2.7967533 6.70217E+12          0.0232906         0.6974758  2.7967533
            599   5883.01       575172               0.0962041 5/8/19 15:21        0.0170556         0.5107584         5.03355E+13    2.837777 6.70217E+12        0.0222239         0.6655317    2.837777
            600   5877.22       575172               0.0961094 5/8/19 15:26        0.0170556         0.5107584         5.03355E+13 2.8349841 6.70217E+12           0.021497         0.6437635  2.8349841
            601   5882.35       575173               0.0955836 5/8/19 15:31        0.0170556         0.5107584         5.06566E+13 2.8194728 6.70217E+12          0.0233908         0.7004765  2.8194728
            602   5895.23       575174               0.0960485 5/8/19 15:36        0.0170556         0.5107584         5.05218E+13 2.8331879 6.70217E+12          0.0260191         0.7791853  2.8331879
            603   5891.02       575174               0.0959799 5/8/19 15:41        0.0170556         0.5107584         5.05218E+13 2.8311646 6.70217E+12          0.0204508         0.6124333  2.8311646
            604    5895.3       575174               0.0960497 5/8/19 15:46        0.0170556         0.5107584         5.05218E+13 2.8332215 6.70217E+12          0.0203869         0.6105197  2.8332215
            605   5898.69       575174               0.0961049 5/8/19 15:51        0.0170556         0.5107584         5.05218E+13 2.8348507 6.70217E+12          0.0210614         0.6307187  2.8348507
                                                                                                                                                                                                             Filed: 01/02/2024




            606   5898.34       575175               0.0970802 5/8/19 15:56        0.0170556         0.5107584         5.00112E+13    2.863621 6.70217E+12        0.0209194         0.6264663    2.863621
            607   5900.14       575176               0.0971661 5/8/19 16:01        0.0174326         0.5220483         4.99823E+13 2.8661537 6.70217E+12          0.0209977         0.6288111  2.8661537
            608   5891.31       575176               0.0970207 5/8/19 16:06        0.0174326         0.5220483         4.99823E+13 2.8618643 6.70217E+12          0.0203367         0.6090164  2.8618643
            609   5893.65       575176               0.0970592 5/8/19 16:11        0.0174326         0.5220483         4.99823E+13    2.863001 6.70217E+12        0.0213506         0.6393793    2.863001
            610   5892.53       575177               0.0969298 5/8/19 16:16        0.0174326         0.5220483         5.00395E+13 2.8591849 6.70217E+12          0.0261533         0.7832042  2.8591849
            611   5894.16       575177               0.0969567 5/8/19 16:21        0.0174326         0.5220483         5.00395E+13 2.8599758 6.70217E+12          0.0258626         0.7744987  2.8599758
            612   5895.84       575178                0.097646 5/8/19 16:26        0.0174326         0.5220483         4.97004E+13     2.88031 6.70217E+12        0.0215949         0.6466953     2.88031
            613   5896.89       575179               0.0980892 5/8/19 16:31        0.0174326         0.5220483         4.94846E+13 2.8933819 6.70217E+12          0.0198411         0.5941748  2.8933819


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            exelon4_modeling_05092019                                                                    12                                                                               LANCIUM00014575
                   A           B                 C                   D              E              F                   G                H           I               J              K               L
             1 BTC_price block_height breakeven_mining_cost    datetime     day_ahead_LMP day_ahead_LMP_rev est_network_hashrate   mining_rev network_diff real_time_LMP real_time_LMP_rev realized_rev
            614   5902.19       575180               0.0983841 5/8/19 16:36        0.0174326         0.5220483         4.93807E+13 2.9020809 6.70217E+12          0.0207134         0.6202973  2.9020809
            615    5905.9       575181                0.097534 5/8/19 16:41        0.0174326         0.5220483         4.98424E+13 2.8770052 6.70217E+12          0.0223016         0.6678586  2.8770052
            616   5906.84       575181               0.0975495 5/8/19 16:46        0.0174326         0.5220483         4.98424E+13 2.8774631 6.70217E+12          0.0254538         0.7622565  2.8774631
            617   5904.42       575181               0.0975095 5/8/19 16:51        0.0174326         0.5220483         4.98424E+13 2.8762842 6.70217E+12           0.025079         0.7510325  2.8762842
            618   5903.02       575181               0.0974864 5/8/19 16:56        0.0174326         0.5220483         4.98424E+13 2.8756022 6.70217E+12          0.0246071         0.7369006  2.8756022
            619   5894.63       575182               0.0989154 5/8/19 17:01        0.0174032         0.5211678         4.90525E+13 2.9177544 6.70217E+12          0.0226389         0.6779596  2.9177544
            620   5898.06       575182                0.098973 5/8/19 17:06        0.0174032         0.5211678         4.90525E+13 2.9194522 6.70217E+12          0.0256642         0.7685572  2.9194522
            621   5891.22       575182               0.0988582 5/8/19 17:11        0.0174032         0.5211678         4.90525E+13 2.9160665 6.70217E+12          0.0384273         1.1507695  2.9160665
            622   5888.49       575182               0.0988124 5/8/19 17:16        0.0174032         0.5211678         4.90525E+13 2.9147151 6.70217E+12          0.0364449         1.0914033  2.9147151
            623   5895.57       575183               0.0996828 5/8/19 17:21        0.0174032         0.5211678         4.86826E+13 2.9403898 6.70217E+12          0.0191003         0.5719903  2.9403898
            624   5896.91       575183               0.0997054 5/8/19 17:26        0.0174032         0.5211678         4.86826E+13 2.9410582 6.70217E+12          0.0230176         0.6893004  2.9410582
            625   5918.72       575183               0.1000742 5/8/19 17:31        0.0174032         0.5211678         4.86826E+13 2.9519358 6.70217E+12          0.0030289         0.0907055  2.9519358
            626   5926.18       575183               0.1002003 5/8/19 17:36        0.0174032         0.5211678         4.86826E+13 2.9556564 6.70217E+12          0.0439309          1.315584  2.9556564
            627   5934.97       575183                0.100349 5/8/19 17:41        0.0174032         0.5211678         4.86826E+13 2.9600404 6.70217E+12          0.0408583         1.2235699  2.9600404
                                                                                                                                                                                                             Case: 23-1922




            628   5944.99       575185                0.100551 5/8/19 17:46        0.0174032         0.5211678         4.86669E+13 2.9659989 6.70217E+12          0.0170991          0.512061  2.9659989
            629   5940.01       575185               0.1004667 5/8/19 17:51        0.0174032         0.5211678         4.86669E+13 2.9635144 6.70217E+12          0.0183967         0.5509198  2.9635144
            630   5931.52       575186               0.1008871 5/8/19 17:56        0.0174032         0.5211678         4.83948E+13 2.9759139 6.70217E+12          0.0163528         0.4897119  2.9759139
            631    5938.6       575188               0.0986457 5/8/19 18:01        0.0165475         0.4955425         4.95535E+13 2.9097985 6.70217E+12          0.0185884         0.5566606  2.9097985
            632   5931.02       575189               0.0980181 5/8/19 18:06        0.0165475         0.4955425         4.98071E+13 2.8912849 6.70217E+12          0.0173413         0.5193141  2.8912849
            633   5928.19       575189               0.0979713 5/8/19 18:12        0.0165475         0.4955425         4.98071E+13 2.8899053 6.70217E+12          0.0187899         0.5626949  2.8899053
            634   5932.23       575189               0.0980381 5/8/19 18:17        0.0165475         0.4955425         4.98071E+13 2.8918748 6.70217E+12          0.0180684         0.5410884  2.8918748
            635   5931.78       575189               0.0980306 5/8/19 18:22        0.0165475         0.4955425         4.98071E+13 2.8916554 6.70217E+12          0.0164812          0.493557  2.8916554
            636   5964.15       575189               0.0985656 5/8/19 18:27        0.0165475         0.4955425         4.98071E+13 2.9074353 6.70217E+12          0.0180238         0.5397527  2.9074353
            637   5899.89       575189               0.0975036 5/8/19 18:32        0.0165475         0.4955425         4.98071E+13 2.8761095 6.70217E+12          0.0168118         0.5034574  2.8761095
            638   5931.45       575190               0.1008336 5/8/19 18:37        0.0165475         0.4955425         4.84199E+13 2.9743362 6.70217E+12          0.0122315         0.3662927  2.9743362
                                                                                                                                                                                                             Document: 39-7




            639   5929.97       575190               0.1008085 5/8/19 18:42        0.0165475         0.4955425         4.84199E+13    2.973594 6.70217E+12        0.0162317         0.4860853    2.973594
            640    5923.2       575191               0.0994527 5/8/19 18:47        0.0165475         0.4955425         4.90239E+13 2.9336031 6.70217E+12          0.0090855         0.2720804  2.9336031




Appx11389
            641   5934.99       575192               0.0992547 5/8/19 18:52        0.0165475         0.4955425         4.92195E+13 2.9277617 6.70217E+12          0.0122121         0.3657117  2.9277617
            642   5940.66       575194               0.0989022 5/8/19 18:57        0.0165475         0.4955425         4.94421E+13 2.9173636 6.70217E+12          0.0091815         0.2749553  2.9173636
            643   5948.18       575194               0.0990274 5/8/19 19:02        0.0158704         0.4752656         4.94421E+13 2.9210566 6.70217E+12          0.0137605         0.4120811  2.9210566
            644   5964.98       575194               0.0993071 5/8/19 19:07        0.0158704         0.4752656         4.94421E+13 2.9293068 6.70217E+12          0.0152734         0.4573874  2.9293068
                                                                                                                                                                                                             Page: 32




            645    5960.1       575194               0.0992258 5/8/19 19:12        0.0158704         0.4752656         4.94421E+13 2.9269103 6.70217E+12          0.0109359         0.3274938  2.9269103
            646   5946.01       575194               0.0989912 5/8/19 19:17        0.0158704         0.4752656         4.94421E+13 2.9199909 6.70217E+12          0.0150092         0.4494755  2.9199909
            647   5937.16       575194               0.0988439 5/8/19 19:22        0.0158704         0.4752656         4.94421E+13 2.9156448 6.70217E+12          0.0154969         0.4640805  2.9156448
            648   5955.08       575194               0.0991422 5/8/19 19:27        0.0158704         0.4752656         4.94421E+13 2.9244451 6.70217E+12          0.0152611         0.4570191  2.9244451
            649   5957.98       575195               0.1010248 5/8/19 19:32        0.0158704         0.4752656         4.85444E+13    2.979976 6.70217E+12        0.0228461         0.6841645    2.979976
            650   5962.91       575195               0.1011084 5/8/19 19:37        0.0158704         0.4752656         4.85444E+13 2.9824418 6.70217E+12          0.0165428         0.4954017  2.9824418
            651   5956.59       575195               0.1010012 5/8/19 19:42        0.0158704         0.4752656         4.85444E+13 2.9792807 6.70217E+12          0.0163774         0.4904485  2.9792807
            652    5957.7       575195               0.1010201 5/8/19 19:47        0.0158704         0.4752656         4.85444E+13 2.9798359 6.70217E+12          0.0147872         0.4428273  2.9798359
            653   5969.98       575195               0.1012283 5/8/19 19:52        0.0158704         0.4752656         4.85444E+13    2.985978 6.70217E+12        0.0161979         0.4850731    2.985978
            654   5987.65       575195               0.1015279 5/8/19 19:57        0.0158704         0.4752656         4.85444E+13 2.9948159 6.70217E+12          0.0140256            0.42002 2.9948159
            655    6036.6       575195               0.1023579 5/8/19 20:02         0.013261         0.3971227         4.85444E+13    3.019299 6.70217E+12        0.0154454         0.4625382    3.019299
            656   6037.49       575196               0.1050403 5/8/19 20:07         0.013261         0.3971227         4.73117E+13 3.0984226 6.70217E+12          0.0157078         0.4703963  3.0984226
                                                                                                                                                                                                             Filed: 01/02/2024




            657   6092.47       575196               0.1059968 5/8/19 20:12         0.013261         0.3971227         4.73117E+13 3.1266382 6.70217E+12          0.0215321         0.6448146  3.1266382
            658   6052.38       575196               0.1052994 5/8/19 20:17         0.013261         0.3971227         4.73117E+13 3.1060641 6.70217E+12           0.018557         0.5557203  3.1060641
            659   6053.32       575199               0.1035905 5/8/19 20:22         0.013261         0.3971227         4.80997E+13 3.0556586 6.70217E+12          0.0163585         0.4898825  3.0556586
            660   6041.03       575200               0.1032464 5/8/19 20:27         0.013261         0.3971227           4.8162E+13 3.0455058 6.70217E+12         0.0188459         0.5643719  3.0455058
            661   6030.66       575202               0.1032473 5/8/19 20:32         0.013261         0.3971227         4.80789E+13 3.0455341 6.70217E+12          0.0134602         0.4030881  3.0455341
            662   6043.34       575204               0.1032455 5/8/19 20:37         0.013261         0.3971227         4.81808E+13 3.0454809 6.70217E+12          0.0164743         0.4933504  3.0454809
            663   6042.19       575204               0.1032259 5/8/19 20:42         0.013261         0.3971227         4.81808E+13 3.0449014 6.70217E+12          0.0147002          0.440222  3.0449014
            664   6049.96       575204               0.1033586 5/8/19 20:47         0.013261         0.3971227         4.81808E+13    3.048817 6.70217E+12        0.0148678         0.4452411    3.048817


                                                                                                                                                                                              CONFIDENTIAL
            exelon4_modeling_05092019                                                                    13                                                                               LANCIUM00014575
                   A           B                 C                   D              E              F                   G                H           I               J              K               L
             1 BTC_price block_height breakeven_mining_cost    datetime     day_ahead_LMP day_ahead_LMP_rev est_network_hashrate   mining_rev network_diff real_time_LMP real_time_LMP_rev realized_rev
            665   6051.76       575205               0.1040715 5/8/19 20:52         0.013261         0.3971227           4.7865E+13 3.0698443 6.70217E+12         0.0130545         0.3909388  3.0698443
            666   6054.77       575206               0.1045618 5/8/19 20:57         0.013261         0.3971227         4.76643E+13    3.084309 6.70217E+12        0.0122348         0.3663915    3.084309
            667   6045.31       575206               0.1043985 5/8/19 21:02        0.0057558          0.172367         4.76643E+13 3.0794901 6.70217E+12          0.0113115         0.3387417  3.0794901
            668   6042.99       575207               0.1043195 5/8/19 21:07        0.0057558          0.172367           4.7682E+13 3.0771614 6.70217E+12         0.0064092         0.1919342  3.0771614
            669   6038.47       575207               0.1042415 5/8/19 21:12        0.0057558          0.172367           4.7682E+13 3.0748598 6.70217E+12         0.0050076         0.1499609  3.0748598
            670   6046.62       575207               0.1043822 5/8/19 21:17        0.0057558          0.172367           4.7682E+13 3.0790099 6.70217E+12        -0.0026668        -0.0798618  3.0790099
            671    6044.8       575207               0.1043508 5/8/19 21:22        0.0057558          0.172367           4.7682E+13 3.0780831 6.70217E+12         0.0105849         0.3169825  3.0780831
            672   6048.33       575207               0.1044117 5/8/19 21:27        0.0057558          0.172367           4.7682E+13 3.0798806 6.70217E+12         0.0086089         0.2578079  3.0798806
            673   6052.87       575208               0.1057954 5/8/19 21:32        0.0057558          0.172367         4.70937E+13 3.1206959 6.70217E+12              0.0018          0.053904 3.1206959
            674   6056.61       575210               0.1055202 5/8/19 21:37        0.0057558          0.172367         4.72457E+13 3.1125773 6.70217E+12         -0.0021614        -0.0647267  3.1125773
            675   6059.99       575212               0.0995054 5/8/19 21:42        0.0057558          0.172367         5.01295E+13 2.9351584 6.70217E+12         -0.0034416        -0.1030644  2.9351584
            676   6049.69       575213               0.0988159 5/8/19 21:47        0.0057558          0.172367         5.03935E+13 2.9148188 6.70217E+12         -0.0015146        -0.0453572  2.9148188
            677   6056.42       575214               0.0996142 5/8/19 21:52        0.0057558          0.172367         5.00453E+13 2.9383674 6.70217E+12         -0.0023178        -0.0694104  2.9383674
            678   6045.27       575214               0.0994308 5/8/19 21:57        0.0057558          0.172367         5.00453E+13 2.9329578 6.70217E+12          0.0029429            0.08813 2.9329578
                                                                                                                                                                                                             Case: 23-1922




            679   6041.19       575214               0.0993637 5/8/19 22:02       -0.0039885        -0.1194423         5.00453E+13 2.9309783 6.70217E+12          0.0028846         0.0863842  2.9309783
            680   6033.23       575215               0.0986577 5/8/19 22:07       -0.0039885        -0.1194423           5.0337E+13 2.9101535 6.70217E+12        -0.0021717        -0.0650352  2.9101535
            681   6034.99       575215               0.0986865 5/8/19 22:12       -0.0039885        -0.1194423           5.0337E+13 2.9110025 6.70217E+12         0.0094236         0.2822054  2.9110025
            682   6042.83       575215               0.0988147 5/8/19 22:17       -0.0039885        -0.1194423           5.0337E+13 2.9147841 6.70217E+12        -0.0117128        -0.3507593  2.9147841
            683   6033.48       575216               0.0981874 5/8/19 22:22       -0.0039885        -0.1194423         5.05802E+13 2.8962791 6.70217E+12         -0.0071632          -0.214514 2.8962791
            684   6028.01       575217               0.0985494 5/8/19 22:27       -0.0039885        -0.1194423         5.03487E+13 2.9069577 6.70217E+12         -0.0043047        -0.1289114  2.9069577
            685   6027.43       575217               0.0985399 5/8/19 22:32       -0.0039885        -0.1194423         5.03487E+13    2.906678 6.70217E+12       -0.0026014        -0.0779033    2.906678
            686   6029.94       575217                0.098581 5/8/19 22:37       -0.0039885        -0.1194423         5.03487E+13 2.9078884 6.70217E+12         -0.0017683        -0.0529547  2.9078884
            687   6039.16       575219               0.0983331 5/8/19 22:42       -0.0039885        -0.1194423         5.05528E+13 2.9005763 6.70217E+12         -0.0018002           -0.05391 2.9005763
            688   6039.06       575221               0.0975716 5/8/19 22:47       -0.0039885        -0.1194423         5.09465E+13 2.8781157 6.70217E+12          0.0035525         0.1063855  2.8781157
            689   6035.97       575221               0.0975217 5/8/19 22:52       -0.0039885        -0.1194423         5.09465E+13    2.876643 6.70217E+12       -0.0028608        -0.0856714    2.876643
                                                                                                                                                                                                             Document: 39-7




            690   6041.91       575222               0.0971742 5/8/19 22:57       -0.0039885        -0.1194423           5.1179E+13 2.8663937 6.70217E+12        -0.0044334        -0.1327656  2.8663937
            691   6066.64       575224               0.1014592 5/9/19 0:02        -0.0060127        -0.1800603         4.92181E+13 2.9927906 6.70217E+12         -0.0145142        -0.4346519  2.9927906




Appx11390
            692   6072.36       575225               0.1021048 5/9/19 0:07        -0.0060127        -0.1800603         4.89531E+13 3.0118316 6.70217E+12         -0.0130235        -0.3900104  3.0118316
            693   6068.07       575225               0.1020326 5/9/19 0:12        -0.0060127        -0.1800603         4.89531E+13 3.0097038 6.70217E+12         -0.0286682          -0.858517 3.0097038
            694   6076.08       575225               0.1021673 5/9/19 0:17        -0.0060127        -0.1800603         4.89531E+13 3.0136767 6.70217E+12         -0.0231556          -0.693433 3.0136767
            695   6077.05       575225               0.1021836 5/9/19 0:22        -0.0060127        -0.1800603         4.89531E+13 3.0141578 6.70217E+12         -0.0015472        -0.0463335  3.0141578
                                                                                                                                                                                                             Page: 33




            696   6056.56       575225               0.1018391 5/9/19 0:27        -0.0060127        -0.1800603         4.89531E+13    3.003995 6.70217E+12       -0.0012057        -0.0361067   3.003995
            697   6053.34       575225               0.1017849 5/9/19 0:37        -0.0060127        -0.1800603         4.89531E+13 3.0023979 6.70217E+12         -0.0181456        -0.5434002  3.0023979
            698   6047.02       575227               0.1035951 5/9/19 0:42        -0.0060127        -0.1800603         4.80475E+13 3.0557938 6.70217E+12         -0.0191353        -0.5730385  3.0557938
            699   6061.52       575227               0.1038435 5/9/19 0:47        -0.0060127        -0.1800603         4.80475E+13 3.0631212 6.70217E+12         -0.0107209        -0.3210552  3.0631212
            700   6050.01       575229                0.103384 5/9/19 0:52        -0.0060127        -0.1800603         4.81694E+13 3.0495651 6.70217E+12          0.0010001         0.0299497  3.0495651
            701   6044.15       575229               0.1032838 5/9/19 0:57        -0.0060127        -0.1800603         4.81694E+13 3.0466114 6.70217E+12         -0.0040798        -0.1221764  3.0466114
            702   6044.76       575229               0.1032943 5/9/19 1:02        -0.0084514        -0.2530913         4.81694E+13 3.0469188 6.70217E+12         -0.0033111        -0.0991564  3.0469188
            703   6039.56       575229               0.1032054 5/9/19 1:07        -0.0084514        -0.2530913         4.81694E+13 3.0442977 6.70217E+12         -0.0031204        -0.0934456  3.0442977
            704    6042.9       575231               0.1030119 5/9/19 1:12        -0.0084514        -0.2530913         4.82866E+13 3.0385906 6.70217E+12         -0.0012951        -0.0387839  3.0385906
            705  6042.77        575232               0.1030817 5/9/19 1:17        -0.0084514        -0.2530913         4.82528E+13 3.0406489 6.70217E+12         -0.0005672        -0.0169857  3.0406489
            706  6053.94        575233               0.1033545 5/9/19 1:22        -0.0084514        -0.2530913         4.82145E+13 3.0486951 6.70217E+12         -0.0121807        -0.3647714  3.0486951
            707  6056.93        575233               0.1034055 5/9/19 1:27        -0.0084514        -0.2530913         4.82145E+13 3.0502008 6.70217E+12         -0.0149888        -0.4488646  3.0502008
                                                                                                                                                                                                             Filed: 01/02/2024




            708  6055.69        575233              0.1033843 5/9/19 1:32         -0.0084514        -0.2530913         4.82145E+13 3.0495763 6.70217E+12         -0.0147726        -0.4423901  3.0495763
            709  6058.16        575233              0.1034265 5/9/19 1:37         -0.0084514        -0.2530913         4.82145E+13 3.0508202 6.70217E+12         -0.0157309          -0.471088 3.0508202
            710    6059.3       575234              0.1038084 5/9/19 1:42         -0.0084514        -0.2530913         4.80461E+13 3.0620845 6.70217E+12         -0.0227758        -0.6820593  3.0620845
            711  6061.34        575235              0.1031342 5/9/19 1:47         -0.0084514        -0.2530913         4.83765E+13 3.0421965 6.70217E+12         -0.0265233        -0.7942844  3.0421965
            712  6073.89        575235              0.1033477 5/9/19 1:52         -0.0084514        -0.2530913         4.83765E+13 3.0484953 6.70217E+12         -0.0258125        -0.7729983  3.0484953
            713    6070.6       575236              0.1036534 5/9/19 1:57         -0.0084514        -0.2530913         4.82077E+13 3.0575115 6.70217E+12         -0.0270166        -0.8090571  3.0575115
            714  6070.34        575237              0.1039744 5/9/19 2:02          -0.009959        -0.2982389         4.80568E+13 3.0669809 6.70217E+12         -0.0241909        -0.7244368  3.0669809
            715  6070.64        575238              0.1033994 5/9/19 2:07          -0.009959        -0.2982389         4.83264E+13 3.0500217 6.70217E+12         -0.0192845        -0.5775065  3.0500217


                                                                                                                                                                                              CONFIDENTIAL
            exelon4_modeling_05092019                                                                    14                                                                               LANCIUM00014575
                   A           B                 C                   D              E              F                   G                 H           I               J              K               L
             1 BTC_price block_height breakeven_mining_cost    datetime     day_ahead_LMP day_ahead_LMP_rev est_network_hashrate    mining_rev network_diff real_time_LMP real_time_LMP_rev realized_rev
            716    6066.1       575238               0.1033221 5/9/19 2:12         -0.009959        -0.2982389         4.83264E+13 3.0477407 6.70217E+12          -0.0253576        -0.7593756  3.0477407
            717   6051.34       575238               0.1030707 5/9/19 2:17         -0.009959        -0.2982389         4.83264E+13     3.040325 6.70217E+12       -0.0277084        -0.8297742    3.040325
            718   6061.78       575239               0.1040791 5/9/19 2:22         -0.009959        -0.2982389         4.79408E+13 3.0700698 6.70217E+12          -0.0259793        -0.7779934  3.0700698
            719   6063.51       575239               0.1041088 5/9/19 2:27         -0.009959        -0.2982389         4.79408E+13     3.070946 6.70217E+12       -0.0268247        -0.8033103    3.070946
            720   6069.07       575240               0.1042563 5/9/19 2:32         -0.009959        -0.2982389         4.79168E+13 3.0752977 6.70217E+12          -0.0240329        -0.7197052  3.0752977
            721   6065.45       575242               0.1026794 5/9/19 2:37         -0.009959        -0.2982389         4.86237E+13 3.0287832 6.70217E+12          -0.0250565        -0.7503587  3.0287832
            722   6056.78       575242               0.1025327 5/9/19 2:43         -0.009959        -0.2982389         4.86237E+13 3.0244539 6.70217E+12          -0.0183811        -0.5504527  3.0244539
            723   6054.89       575242               0.1025007 5/9/19 2:48         -0.009959        -0.2982389         4.86237E+13 3.0235101 6.70217E+12          -0.0211004        -0.6318866  3.0235101
            724   6052.82       575243               0.1032503 5/9/19 2:53         -0.009959        -0.2982389         4.82542E+13 3.0456209 6.70217E+12          -0.0280966        -0.8413995  3.0456209
            725   6054.43       575243               0.1032777 5/9/19 2:58         -0.009959        -0.2982389         4.82542E+13     3.046431 6.70217E+12       -0.0255341        -0.7646612    3.046431
            726   6054.32       575244               0.1033884 5/9/19 3:03        -0.0077595        -0.2323712         4.82017E+13     3.049695 6.70217E+12       -0.0035264        -0.1056039    3.049695
            727   6068.65       575246               0.1006368 5/9/19 3:08        -0.0077595        -0.2323712         4.96368E+13 2.9685297 6.70217E+12          -0.0237767        -0.7120329  2.9685297
            728   6068.33       575249               0.0992317 5/9/19 3:13        -0.0077595        -0.2323712           5.0337E+13 2.9270841 6.70217E+12         -0.0227655        -0.6817508  2.9270841
            729   6063.73       575250               0.0992085 5/9/19 3:18        -0.0077595        -0.2323712         5.03106E+13 2.9263997 6.70217E+12          -0.0241747        -0.7239517  2.9263997
                                                                                                                                                                                                              Case: 23-1922




            730   6046.71       575250                  0.09893 5/9/19 3:23       -0.0077595        -0.2323712         5.03106E+13 2.9181857 6.70217E+12          -0.0246606        -0.7385028  2.9181857
            731   6046.74       575251                0.099455 5/9/19 3:28        -0.0077595        -0.2323712         5.00453E+13     2.933671 6.70217E+12       -0.0228565          -0.684476  2.933671
            732   6058.26       575252               0.0992865 5/9/19 3:33        -0.0077595        -0.2323712         5.02257E+13 2.9286995 6.70217E+12          -0.0237663        -0.7117215  2.9286995
            733   6064.08       575252               0.0993819 5/9/19 3:38        -0.0077595        -0.2323712         5.02257E+13     2.931513 6.70217E+12       -0.0229553        -0.6874347   2.931513
            734   6061.98       575252               0.0993474 5/9/19 3:43        -0.0077595        -0.2323712         5.02257E+13 2.9304978 6.70217E+12          -0.0218107        -0.6531578  2.9304978
            735   6061.61       575252               0.0993414 5/9/19 3:48        -0.0077595        -0.2323712         5.02257E+13 2.9303189 6.70217E+12          -0.0228651        -0.6847335  2.9303189
            736   6055.44       575252               0.0992403 5/9/19 3:53        -0.0077595        -0.2323712         5.02257E+13 2.9273362 6.70217E+12          -0.0258057        -0.7727947  2.9273362
            737   6048.17       575253               0.1013391 5/9/19 3:58        -0.0077595        -0.2323712         4.91264E+13 2.9892481 6.70217E+12          -0.0222549        -0.6664601  2.9892481
            738   6036.54       575253               0.1011443 5/9/19 4:03        -0.0064119         -0.192015         4.91264E+13 2.9835001 6.70217E+12          -0.0201096        -0.6022155  2.9835001
            739   6032.68       575254               0.1009675 5/9/19 4:08        -0.0064119         -0.192015           4.9181E+13 2.9782848 6.70217E+12         -0.0220837        -0.6613332  2.9782848
            740   6036.52       575254               0.1010317 5/9/19 4:13        -0.0064119         -0.192015           4.9181E+13 2.9801806 6.70217E+12         -0.0189611        -0.5678217  2.9801806
                                                                                                                                                                                                              Document: 39-7




            741   6048.03       575254               0.1012244 5/9/19 4:18        -0.0064119         -0.192015           4.9181E+13    2.985863 6.70217E+12       -0.0284786        -0.8528391   2.985863
            742   6049.12       575254               0.1012426 5/9/19 4:23        -0.0064119         -0.192015           4.9181E+13 2.9864011 6.70217E+12         -0.0265276        -0.7944132  2.9864011




Appx11391
            743    6047.1       575255                0.102742 5/9/19 4:28        -0.0064119         -0.192015         4.84471E+13 3.0306289 6.70217E+12          -0.0220302        -0.6597311  3.0306289
            744   6040.01       575255               0.1026215 5/9/19 4:33        -0.0064119         -0.192015         4.84471E+13 3.0270756 6.70217E+12          -0.0249572        -0.7473849  3.0270756
            745   6039.32       575256               0.1033913 5/9/19 4:38        -0.0064119         -0.192015         4.80809E+13 3.0497802 6.70217E+12          -0.0273476        -0.8189695  3.0497802
            746   6037.47       575256               0.1033596 5/9/19 4:43        -0.0064119         -0.192015         4.80809E+13 3.0488459 6.70217E+12          -0.0285916        -0.8562231  3.0488459
                                                                                                                                                                                                              Page: 34




            747   6046.95       575256               0.1035219 5/9/19 4:48        -0.0064119         -0.192015         4.80809E+13 3.0536332 6.70217E+12          -0.0276954        -0.8293849  3.0536332
            748   6051.57       575256                0.103601 5/9/19 4:53        -0.0064119         -0.192015         4.80809E+13 3.0559662 6.70217E+12          -0.0189461        -0.5673725  3.0559662
            749   6052.41       575257               0.1025409 5/9/19 4:58        -0.0064119         -0.192015         4.85847E+13 3.0246966 6.70217E+12          -0.0213883        -0.6405083  3.0246966
            750   6058.73       575257                0.102648 5/9/19 5:03         -0.001004        -0.0300665         4.85847E+13     3.027855 6.70217E+12       -0.0284985        -0.8534351   3.027855
            751    6054.8       575258               0.1018989 5/9/19 5:08         -0.001004        -0.0300665         4.89101E+13 3.0057607 6.70217E+12          -0.0254371        -0.7617564  3.0057607
            752   6051.38       575258               0.1018414 5/9/19 5:13         -0.001004        -0.0300665         4.89101E+13 3.0040629 6.70217E+12          -0.0222254        -0.6655766  3.0040629
            753    6048.3       575258               0.1017896 5/9/19 5:18         -0.001004        -0.0300665         4.89101E+13 3.0025339 6.70217E+12          -0.0245437          -0.735002 3.0025339
            754   6051.14       575258               0.1018373 5/9/19 5:23         -0.001004        -0.0300665         4.89101E+13 3.0039438 6.70217E+12          -0.0272051        -0.8147021  3.0039438
            755   6057.19       575258               0.1019392 5/9/19 5:28         -0.001004        -0.0300665         4.89101E+13 3.0069471 6.70217E+12           -0.026005        -0.7787631  3.0069471
            756   6059.15       575259               0.1040181 5/9/19 5:33         -0.001004        -0.0300665         4.79481E+13 3.0682693 6.70217E+12          -0.0148258        -0.4439833  3.0682693
            757   6061.72       575260               0.1037848 5/9/19 5:38         -0.001004        -0.0300665         4.80762E+13 3.0613901 6.70217E+12          -0.0244808        -0.7331184  3.0613901
            758   6057.72       575260               0.1037164 5/9/19 5:43         -0.001004        -0.0300665         4.80762E+13      3.05937 6.70217E+12       -0.0243887        -0.7303603     3.05937
                                                                                                                                                                                                              Filed: 01/02/2024




            759    6057.7       575260                0.103716 5/9/19 5:48         -0.001004        -0.0300665         4.80762E+13 3.0593599 6.70217E+12          -0.0198852        -0.5954955  3.0593599
            760   6047.35       575260               0.1035388 5/9/19 5:53         -0.001004        -0.0300665         4.80762E+13 3.0541327 6.70217E+12          -0.0198875        -0.5955643  3.0541327
            761   6044.98       575261               0.1039808 5/9/19 5:58         -0.001004        -0.0300665         4.78531E+13 3.0671699 6.70217E+12          -0.0198792        -0.5953158  3.0671699
            762   6040.28       575262               0.1043375 5/9/19 6:03         0.0099891         0.2991402         4.76524E+13     3.077692 6.70217E+12       -0.0173633          -0.519973   3.077692
            763   6034.01       575263               0.1041918 5/9/19 6:08         0.0099891         0.2991402         4.76695E+13 3.0733946 6.70217E+12           -0.018275        -0.5472753  3.0733946
            764   6034.26       575263               0.1041961 5/9/19 6:13         0.0099891         0.2991402         4.76695E+13 3.0735219 6.70217E+12          -0.0079803        -0.2389834  3.0735219
            765   6037.47       575263               0.1042516 5/9/19 6:18         0.0099891         0.2991402         4.76695E+13 3.0751569 6.70217E+12          -0.0028126          -0.084228 3.0751569
            766   6035.61       575264               0.1036859 5/9/19 6:23         0.0099891         0.2991402         4.79148E+13 3.0584702 6.70217E+12          -0.0009188          -0.027515 3.0584702


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            exelon4_modeling_05092019                                                                     15                                                                               LANCIUM00014575
                   A           B                 C                   D              E              F                   G                 H            I              J              K               L
             1 BTC_price block_height breakeven_mining_cost    datetime     day_ahead_LMP day_ahead_LMP_rev est_network_hashrate    mining_rev network_diff real_time_LMP real_time_LMP_rev realized_rev
            767   6032.26       575264               0.1036283 5/9/19 6:28         0.0099891         0.2991402         4.79148E+13 3.0567726 6.70217E+12          -0.0017763        -0.0531943  3.0567726
            768   6035.08       575266               0.1012996 5/9/19 6:33         0.0099891         0.2991402         4.90392E+13     2.988081 6.70217E+12       -0.0029613        -0.0886811    2.988081
            769   6038.27       575266               0.1013531 5/9/19 6:38         0.0099891         0.2991402         4.90392E+13 2.9896604 6.70217E+12          -0.0017698        -0.0529996  2.9896604
            770   6038.35       575267               0.1004336 5/9/19 6:43         0.0099891         0.2991402         4.94889E+13 2.9625364 6.70217E+12          -0.0040978        -0.1227155  2.9625364
            771   6041.06       575267               0.1004787 5/9/19 6:48         0.0099891         0.2991402         4.94889E+13     2.963866 6.70217E+12       -0.0041121        -0.1231437    2.963866
            772    6032.6       575269               0.1003466 5/9/19 6:53         0.0099891         0.2991402         4.94846E+13 2.9599697 6.70217E+12          -0.0017941        -0.0537273  2.9599697
            773   6038.62       575269               0.1004467 5/9/19 6:58         0.0099891         0.2991402         4.94846E+13 2.9629235 6.70217E+12          -0.0169009        -0.5061256  2.9629235
            774   6023.18       575269               0.1001899 5/9/19 7:03          0.015734         0.4711809         4.94846E+13 2.9553477 6.70217E+12          -0.0127165        -0.3808168  2.9553477
            775   6018.06       575270                0.100393 5/9/19 7:08          0.015734         0.4711809         4.93426E+13 2.9613379 6.70217E+12          -0.0057831        -0.1731846  2.9613379
            776   6028.56       575270               0.1005681 5/9/19 7:13          0.015734         0.4711809         4.93426E+13 2.9665047 6.70217E+12          -0.0011814          -0.035379 2.9665047
            777   6023.05       575271               0.1000255 5/9/19 7:18          0.015734         0.4711809         4.95649E+13        2.9505 6.70217E+12      -0.0018878        -0.0565333       2.9505
            778    6002.6       575271               0.0996859 5/9/19 7:23          0.015734         0.4711809         4.95649E+13 2.9404822 6.70217E+12          -0.0019315          -0.057842 2.9404822
            779   6004.55       575271               0.0997183 5/9/19 7:28          0.015734         0.4711809         4.95649E+13 2.9414374 6.70217E+12          -0.0032781        -0.0981682  2.9414374
            780   6023.65       575271               0.1000355 5/9/19 7:33          0.015734         0.4711809         4.95649E+13 2.9507939 6.70217E+12          -0.0044118        -0.1321187  2.9507939
                                                                                                                                                                                                               Case: 23-1922




            781   6022.52       575272               0.1006869 5/9/19 7:38          0.015734         0.4711809           4.9235E+13 2.9700094 6.70217E+12         -0.0183056        -0.5481917  2.9700094
            782   6016.76       575272               0.1005906 5/9/19 7:43          0.015734         0.4711809           4.9235E+13 2.9671688 6.70217E+12          -0.004465        -0.1337119  2.9671688
            783   6007.87       575272                0.100442 5/9/19 7:48          0.015734         0.4711809           4.9235E+13 2.9627847 6.70217E+12         -0.0011594        -0.0347202  2.9627847
            784   5998.51       575272               0.1002855 5/9/19 7:53          0.015734         0.4711809           4.9235E+13 2.9581688 6.70217E+12         -0.0019525        -0.0584709  2.9581688
            785   6004.67       575273                0.101848 5/9/19 7:58          0.015734         0.4711809         4.85294E+13 3.0042572 6.70217E+12           -0.016446        -0.4925029  3.0042572
            786   5986.82       575273               0.1015452 5/9/19 8:03         0.0212738         0.6370794         4.85294E+13 2.9953265 6.70217E+12          -0.0226577        -0.6785226  2.9953265
            787   5966.01       575273               0.1011922 5/9/19 8:08         0.0212738         0.6370794         4.85294E+13 2.9849149 6.70217E+12          -0.0040549        -0.1214307  2.9849149
            788   5975.72       575273               0.1013569 5/9/19 8:13         0.0212738         0.6370794         4.85294E+13     2.989773 6.70217E+12        0.0088876           0.266154   2.989773
            789   5974.19       575273                0.101331 5/9/19 8:18         0.0212738         0.6370794         4.85294E+13 2.9890075 6.70217E+12           0.0059397         0.1778742  2.9890075
            790   5989.16       575275               0.1021458 5/9/19 8:23         0.0212738         0.6370794           4.8263E+13 3.0130416 6.70217E+12           0.005809         0.1739602  3.0130416
            791    5989.1       575275               0.1021448 5/9/19 8:28         0.0212738         0.6370794           4.8263E+13 3.0130114 6.70217E+12          0.0001868           0.005594 3.0130114
                                                                                                                                                                                                               Document: 39-7




            792   5990.38       575275               0.1021666 5/9/19 8:33         0.0212738         0.6370794           4.8263E+13 3.0136553 6.70217E+12          0.0010001         0.0299497  3.0136553
            793   5999.35       575275               0.1023196 5/9/19 8:38         0.0212738         0.6370794           4.8263E+13    3.018168 6.70217E+12       -0.0026113        -0.0781997    3.018168




Appx11392
            794   6009.99       575276               0.1040749 5/9/19 8:43         0.0212738         0.6370794         4.75331E+13 3.0699468 6.70217E+12           0.0003791         0.0113528  3.0699468
            795   6015.23       575276               0.1041657 5/9/19 8:48         0.0212738         0.6370794         4.75331E+13 3.0726234 6.70217E+12           0.0045541         0.1363801  3.0726234
            796   6006.59       575276               0.1040161 5/9/19 8:53         0.0212738         0.6370794         4.75331E+13 3.0682101 6.70217E+12           0.0020439           0.061208 3.0682101
            797   6012.06       575276               0.1041108 5/9/19 8:58         0.0212738         0.6370794         4.75331E+13 3.0710042 6.70217E+12           0.0057903         0.1734002  3.0710042
                                                                                                                                                                                                               Page: 35




            798   5997.24       575276               0.1038541 5/9/19 9:03          0.021087         0.6314854         4.75331E+13     3.063434 6.70217E+12        0.0154138         0.4615919    3.063434
            799   6009.31       575277               0.1048522 5/9/19 9:08          0.021087         0.6314854         4.71754E+13 3.0928732 6.70217E+12            0.007881         0.2360097  3.0928732
            800   6014.99       575277               0.1049513 5/9/19 9:13          0.021087         0.6314854         4.71754E+13 3.0957966 6.70217E+12           0.0015859         0.0474924  3.0957966
            801   6015.14       575277               0.1049539 5/9/19 9:18          0.021087         0.6314854         4.71754E+13 3.0958738 6.70217E+12           0.0110437           0.330722 3.0958738
            802   6010.98       575277               0.1048813 5/9/19 9:23          0.021087         0.6314854         4.71754E+13 3.0937327 6.70217E+12           0.0082541         0.2471828  3.0937327
            803    6015.8       575279               0.1061867 5/9/19 9:28          0.021087         0.6314854         4.66328E+13      3.13224 6.70217E+12        0.0098213         0.2941152     3.13224
            804   6008.98       575281               0.1036694 5/9/19 9:33          0.021087         0.6314854           4.7711E+13 3.0579847 6.70217E+12          0.0137284         0.4111198  3.0579847
            805   6005.02       575281               0.1036011 5/9/19 9:38          0.021087         0.6314854           4.7711E+13 3.0559695 6.70217E+12          0.0148862         0.4457921  3.0559695
            806   5992.86       575281               0.1033913 5/9/19 9:43          0.021087         0.6314854           4.7711E+13 3.0497812 6.70217E+12           0.019156         0.5736583  3.0497812
            807    6001.7       575281               0.1035438 5/9/19 9:48          0.021087         0.6314854           4.7711E+13 3.0542799 6.70217E+12          0.0155476         0.4655988  3.0542799
            808   5996.77       575281               0.1034587 5/9/19 9:53          0.021087         0.6314854           4.7711E+13    3.051771 6.70217E+12        0.0127646         0.3822572   3.051771
            809   5997.26       575281               0.1034672 5/9/19 9:58          0.021087         0.6314854           4.7711E+13 3.0520204 6.70217E+12              0.01036       0.3102475  3.0520204
                                                                                                                                                                                                               Filed: 01/02/2024




            810   5995.19       575281               0.1034315 5/9/19 10:03        0.0217322         0.6508069           4.7711E+13    3.050967 6.70217E+12       -0.0001443        -0.0043213   3.050967
            811   5995.19       575281               0.1034315 5/9/19 10:08        0.0217322         0.6508069           4.7711E+13    3.050967 6.70217E+12        0.0134747         0.4035223   3.050967
            812  5978.15        575281               0.1031375 5/9/19 10:13        0.0217322         0.6508069           4.7711E+13 3.0422953 6.70217E+12          0.0153319         0.4591393  3.0422953
            813  5989.44        575281               0.1033323 5/9/19 10:18        0.0217322         0.6508069           4.7711E+13 3.0480408 6.70217E+12           0.016155         0.4837884  3.0480408
            814  6001.74        575282              0.1070813 5/9/19 10:23         0.0217322         0.6508069         4.61352E+13     3.158626 6.70217E+12        0.0174376           0.522198  3.158626
            815  6010.06        575282              0.1072297 5/9/19 10:28         0.0217322         0.6508069         4.61352E+13 3.1630047 6.70217E+12           0.0234385         0.7019049  3.1630047
            816  6009.71        575283              0.1079065 5/9/19 10:33         0.0217322         0.6508069         4.58431E+13 3.1829698 6.70217E+12           0.0203173         0.6084354  3.1829698
            817  5995.73        575283              0.1076555 5/9/19 10:38         0.0217322         0.6508069         4.58431E+13 3.1755655 6.70217E+12            0.019624         0.5876734  3.1755655


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            exelon4_modeling_05092019                                                                     16                                                                                LANCIUM00014575
                   A           B                 C                   D              E              F                   G                H           I               J              K               L
             1 BTC_price block_height breakeven_mining_cost    datetime     day_ahead_LMP day_ahead_LMP_rev est_network_hashrate   mining_rev network_diff real_time_LMP real_time_LMP_rev realized_rev
            818   6000.73       575284               0.1065399 5/9/19 10:43        0.0217322         0.6508069         4.63618E+13    3.142657 6.70217E+12        0.0143614         0.4300761    3.142657
            819   6007.62       575284               0.1066622 5/9/19 10:48        0.0217322         0.6508069         4.63618E+13 3.1462654 6.70217E+12          0.0184275         0.5518422  3.1462654
            820   6006.48       575284                0.106642 5/9/19 10:53        0.0217322         0.6508069         4.63618E+13 3.1456683 6.70217E+12          0.0226632         0.6786873  3.1456683
            821   5999.23       575284               0.1065133 5/9/19 10:58        0.0217322         0.6508069         4.63618E+13 3.1418714 6.70217E+12          0.2007318         6.0112483  6.0112483
            822   6004.02       575284               0.1065983 5/9/19 11:03        0.0217961         0.6527205         4.63618E+13     3.14438 6.70217E+12        0.0307427         0.9206414     3.14438
            823   6000.99       575284               0.1065445 5/9/19 11:08        0.0217961         0.6527205         4.63618E+13 3.1427931 6.70217E+12          0.0293874         0.8800547  3.1427931
            824   6003.38       575284               0.1065869 5/9/19 11:13        0.0217961         0.6527205         4.63618E+13 3.1440448 6.70217E+12          0.0349274         1.0459592  3.1440448
            825   6014.88       575284               0.1067911 5/9/19 11:18        0.0217961         0.6527205         4.63618E+13 3.1500675 6.70217E+12          0.0260766         0.7809072  3.1500675
            826   6026.81       575284               0.1070029 5/9/19 11:24        0.0217961         0.6527205         4.63618E+13 3.1563154 6.70217E+12          0.0118225         0.3540445  3.1563154
                                                                                                                                                                                                             Case: 23-1922
                                                                                                                                                                                                             Document: 39-7




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            exelon4_modeling_05092019                                                                    17                                                                               LANCIUM00014575
                      Case: 23-1922           Document: 39-7              Page: 37         Filed: 01/02/2024




             )URP 0LFKDHO0F1DPDUDPLFKDHOPFQDPDUD#ODQFLXPFRP!
                7R =L\L.RK]L\LNRK#VELELWVFRP!-RQDWKDQ7DQHPRUL
                    MRQDWKDQWDQHPRUL#VELELWVFRP!-HUU\&KDQMHUU\FKDQ#VELELWVFRP!
               &F -RQ&RKHQMRQFRKHQ#ODQFLXPFRP!'DYLG+HQVRQGDYLGKHQVRQ#ODQFLXPFRP!
                    5D\PRQG&OLQHUHFOLQH#ODQFLXPFRP!(ULF.XWVFKDHULFNXWVFKD#ODQFLXPFRP!
                    3UDVKDQW*XSWDSUDVKDQWJXSWD#ODQFLXPFRP!
           6XEMHFW /DQFLXP6%,8SGDWH6HSWWK
              'DWH 7KX6HS
       ,PSRUWDQFH 1RUPDO
      $WWDFKPHQWV (')5/DQFLXPB+HUHIRUGB7HUPVB6XPPDU\B'5$)7BGRF[
                    $FFLRQDB6(3B6LWHB9LVLWSGI6HUYLFH1RZB/RFDWLRQB(QWU\SQJ
                    6HUYLFH1RZB'HYLFHB(QWU\SQJ7LHUB3RZHUB0DQDJHPHQWB'DVKERDUGSQJ


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HIGHLY CONFIDENTIAL - ATTORNEY'S EYES ONLY                                                                 LANCIUM00014629
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BUSINESS CONFIDENTIAL AND PROPRIETARY                                                      EDFR DRAFT 09/19/2018


                                      SUMMARY OF TERMS:
                          EDFR-Lancium Hereford Behind-the-Meter Energy Sale

The following is a summary statement of the principal terms and conditions relating to a potential
transaction. It is not a commitment or binding offer to enter into any agreement and is not a
comprehensive statement of all of the terms and conditions of the proposed transaction.

 1.        Buyer                   Lancium LLC entity [NTD: Specific entity and relationship to Lancium to
                                   be defined.]

 2.        Wind Seller             EDF Renewables Asset Management on behalf of the Hereford I Wind
                                   Project LLC (“Hereford”) via Deaf Smith Electric Cooperative (“Coop”)

 3.        Wind Project            Hereford I Wind project, a 200 MW operating wind electric generating
                                   facility located in Deaf Smith County, TX owned by EDF Renewables and
                                   Blackrock, Inc.

 4.        Server Facility         A distributed data center facility to be constructed and operated by Buyer.
                                   The Server Facility will require a minimum of [X] MW of electric power
                                   (“Auxiliary Power”1) and a maximum of [Y] MW (“Maximum Power”).

                                   Server Facility will ramp up and down between Auxiliary Power and
                                   Maximum Power in response to available output from Wind Project.2

                                   Auxiliary Power will be the power required to power critical networking
                                   and control systems.

                                   If Auxiliary Power exceeds the MW output available from Wind Project at
                                   any point in time, Buyer will purchase that excess from Coop as defined in
                                   “19. Other Agreements” below.3

 5.        Wind PPA                Buyer and Wind Seller will enter into back to back power purchase
                                   agreements with Coop (further described in other agreements below).

                                   Wind Seller will sell and deliver to Buyer via Coop, and Buyer will purchase
                                   and accept from Wind Seller, via Coop all of the net electric energy
                                   generated by the first [Y] MW slice of Wind Project generating capacity
                                   (“Generation Slice”) and delivered to the POI defined below (“Wind
                                   Energy”), but excluding all associated environmental credits, including all
                                   renewable energy credits, benefits, offsets, and allowances generated by the
                                   Wind Project, as well as any investment or production tax credits or similar
                                   government incentives.

                                   The Generation Slice MW amount will be equal to the Maximum Power
                                   MW amount, which will be the same as the Server Facility nameplate MW.4

                                   The Buyer will purchase and accept all Wind Energy produced by the lower

1 NTD: Auxiliary power assumed to be approximately 5% of Maximum Power. Specific MW level to be discussed and detailed.
2 NTD: Server Facility ramp rate and MW increments to be discussed, recognizing ramping down will be faster than ramping up.
3 NTD: Buyer to confirm that Auxiliary Power will be drawn from Hereford when available
4 NTD: Such MW amount will vary between Implementation and Commercial phases as detailed below.




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                              BUSINESS CONFIDENTIAL AND PROPRIETARY


                                     of as-available Wind Project MW output and the Generation Slice MW
                                     output over any measurement period, subject to the provisions below in “12.
                                     Curtailments”.5

 6.        Conditions                Seller: Legal and Senior management review and approval of the terms and
           Precedent                 conditions and Seller’s Board Approval.

                                     Buyer: Buyer’s Board or Risk Committee approval and confirmation that
                                     Buyer has the right from Deaf Smith Electric Coop and Golden Spread
                                     Electric Coop (if applicable) to pursue this energy purchase contract.6

 7.        Term                      Implementation Phase for a Generation Slice of [5] MW will have an
                                     initial term of [1] year.

                                     Commercial Phase for a Generation Slice of [45] will have an initial term
                                     of [2] years, commencing at conclusion of Implementation Phase.7

                                     Buyer and Seller will have option to extend an additional two years if
                                     mutually agreed.

 8.        Base Price                The real-time settlement price per MWh received by Wind Seller for power
                                     sold at the Wind Project’s ERCOT node.

 9.        Contract Price            The Base Price, plus an adder of $[10.50] per MWh (the “Adder”).

                                     The Adder to be paid to Wind Seller will be reduced by 50% of the aggregate
                                     administrative fee charged by Coop to Buyer

 10.       Interconnection           Buyer will be responsible for all costs and risks associated with the
                                     development, construction, completion and operation of the Server Facility
                                     and its interconnection to the Wind Project. Such costs will include the
                                     installation of a power circuit breaker or similar equipment at the main
                                     collector substation of the Wind Project to be specified in the Wind PPA
                                     (the “POI”), as well as a power meter and the Main Power Isolation
                                     Equipment further described below.

                                     Wind Seller will have the right to inspect installation and interconnection of
                                     the Server Facility and all related equipment, including the Isolation
                                     Equipment. Wind Seller will likewise have approval rights for contractor(s)
                                     and plans selected by Buyer prior to commencement of any work on
                                     Interconnection.8

                                     To the extent interconnection of the Server Facility results in a loss of
                                     generation from the Wind Project, Buyer shall reimburse Seller for the

5 NTD: Definite Agreement may include consideration of “over powering” options for Server Facility and associated physical

and financial parameters, to be discussed.
6 NTD: Seller’s final participation in this deal is very likely subject to review and approval by the Hereford Project Tax Equity

Providers and potentially other equity and hedge parties. Clarification of the roles of Deaf Smith Electric Coop and Golden
Spread Electric Coop will also be required.
7 NTD: Parties to discuss conditions required to move from Implementation to Commercial Phase.
8 NTD: Buyer wishes for Seller to pick contractor(s) based on experience and relationships.

                                                                 2




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                                     arising lost revenue, computed as the expected generation times the Base
                                     Price during the outage period, up to a maximum equal to the Credit Support
                                     as defined below. Interconnection of the Server Facility may require all or
                                     a portion of the Wind Project to be taken offline for a period not to exceed
                                     [G] hours and at a date and time selected by Wind Seller.

 11.       Isolation                 Buyer will install a breaker switch and/or such other equipment as Wind
                                     Seller may require on the electric distribution line running from the POI to
                                     the Server Facility as may be necessary to allow Wind Seller to isolate the
                                     Server Facility from the circuit of which it is part (the “Main Isolation
                                     Equipment”).

                                     The Wind PPA will give Wind Seller complete control of the operation of
                                     the Main Isolation Equipment and the portion of the distribution line
                                     running from the POI to the Main Isolation Equipment.9

 12.       Curtailments              Wind Seller will have the right to curtail delivery of Energy to Buyer in its
                                     discretion, through operation of the Main Isolation Equipment or otherwise,
                                     to avoid potential injury to individuals or to property. In no case will non-
                                     delivery of Wind Energy give rise to any further obligation to Buyer.

                                     Buyer will have the right to curtail Wind Energy delivered pursuant to the
                                     Wind PPA, (1) for safety purposes (2) if the Base Price plus the Adder is
                                     greater than [$75.00 per MWh on an hour ahead basis] and (3) for a period
                                     of twenty-fours each calendar quarter to perform maintenance on the Server
                                     Facility. In no case will non-acceptance of Wind Energy give rise to any
                                     further obligation to Buyer.10

 13.       Permitting                Buyer will be responsible for obtaining all permits at Buyer’s time, risk and
                                     expense necessary for the construction, operation and maintenance of the
                                     Server Facility and related equipment in accordance with good utility
                                     practice. Buyer will similarly be responsible for obtaining permits
                                     necessary for the purchase of wind energy from Wind Seller. Wind Seller
                                     will provide assistance to Buyer in obtaining such permits, upon Buyer’s
                                     reasonable request and at Buyer’s expense. Permits to be obtained by Buyer
                                     will be listed in the Wind PPA and Buyer will provide periodic reports to
                                     Wind Seller on progress toward obtaining them.

                                     For the avoidance of doubt, Wind Seller will not have the authority to
                                     require Lancium to obtain wildlife or similar permits that are not required
                                     or recommended by any governmental authority.

 14.       Credit Support            To secure its obligations under the Wind PPA, Buyer will establish credit
                                     support in the form of a Letter of Credit, Cash Collateral, or other
                                     Acceptable form as agreed by Seller. Buyer credit support shall be in the
                                     amount of 3 months of Adder on the Maximum Power amount for each
                                     Phase.11
9 NTD: Wind Seller rights and triggers for isolating server facility to be fully defined in a Definitive Agreement.
10 NTD: Safety purposes and maintenance non-acceptance to be further discussed. Parties also to discuss time frame for

providing curtailment directives and also ramp up/ramp down directives.
11 NTD: Specific credit $ amounts to be computed based on final details of Generation Slice and Adder.

                                                                 3




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 15.       Cooperation             The parties will agree to cooperate and exchange information reasonably
                                   necessary to permit, construct, interconnect and operate the Server Facility.

 16.       Title and Risk of       [Title and risk of loss to the Energy will pass from Wind Seller to Buyer at
           Loss                    the locations of the Main Isolation Equipment.]12

 17.       Operating               The Wind PPA will set forth key points of contact for Wind Seller and Buyer
           Procedures              to coordinate the daily administration of the Wind PPA. Wind Seller will
                                   provide [hourly] forecasting of available Wind Energy to Buyer or such
                                   other incremental forecasting as may be necessary for the safe operation of
                                   the Server Facility.13

                                   Buyer maintenance personnel will have access to the restroom facilities in
                                   the Wind Project’s O&M building when on site, as well as any open
                                   conference room facilities as they may be available.

                                   At Buyer’s cost, Wind Seller will provide Buyer with access to necessary
                                   communications equipment via [a fiber connection] from the Server Facility
                                   to the Wind Project’s O&M building or otherwise.

                                   Operating protocol between Wind Seller and Wind Buyer shall form an
                                   appendix to the Wind PPA. Operating protocol will specify Scheduling
                                   obligations.

 18.       Remedies;               In the event of a dispute relating to the Wind PPA, Wind Seller and Buyer
           Mitigation              will nominate executive employees following formal notice of dispute from
                                   either party for meetings and in-person discussions to take place over two
                                   weeks. In the event such dispute is not resolved at the end of two weeks,
                                   the parties will elect a neutral third-party arbitrator to resolve their dispute
                                   following submission of written arguments by both parties.14

 19.       Other                   To facilitate the Wind PPA, Wind Seller, Coop and Buyer will enter into
           Agreements              simultaneous “back-to-back” power purchase agreements for the sale and
                                   purchase of Wind Energy to be delivered by the Wind Seller to the POI (the
                                   “PPAs”). Terms of the PPAs will be separately negotiated between the
                                   Buyer and Coop. Buyer will work with Coop to include Golden Spread in
                                   the PPA between Buyer and Coop, if and as required.15

                                   Buyer and Coop will enter into a separate power purchase agreement for the
                                   sale and purchase of electric energy as may be necessary for the continuous
                                   operation of heating and air conditioning equipment within the Server
                                   Facility to the extent Wind Energy is not available to support such
                                   equipment at any time. This separate electric energy will be procured by
                                   Coop and in turn delivered to Buyer.

                                   Buyer will enter into a real property lease pursuant to which the owner(s) of
                                   land adjacent to the Wind Project’s substation will lease to Buyer the right

12 NTD: To be discussed in context of Coop role in transaction
13 NTD: Forecasting obligations to be discussed
14 NTD: Dispute resolution escalation approach to be discussed
15 NTD: Specific points of negotiation and contracts required that may be separate from the Wind Seller PPA to be discussed.

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                                    to construct, maintain and operate the Server Facility and related equipment
                                    on a parcel of property approximately 150’ by 150’.

 20.       Assignment               Buyer may assign or transfer the Wind PPA or the Other Agreements in
                                    whole or in part, only with Wind Seller’s prior written approval, not to be
                                    unreasonably withheld. For purposes of the foregoing sentence, assignment
                                    will include collateral assignment and any change of control of Buyer.
                                    Buyer’s assigned party shall be responsible for providing credit security at
                                    least equal to Buyer, as defined by rating, net worth, or other metric to be
                                    specified in the Definitive Agreement.

                                    Seller may assign or transfer the Wind PPA or the Other Agreements in
                                    whole or in part to affiliates or to any new full or partial owners of Wind
                                    Project representing cash equity.

 21.       Confidentiality          The Term Sheet and information relating to or referencing this Term Sheet,
           and Information          and any draft documents or oral communications exchanged between the
           Release                  parties in connection with this Term Sheet are considered “Confidential
                                    Information” for purposes of the Nondisclosure Agreement between Buyer
                                    and Seller. The parties agree to treat Confidential Information disclosed
                                    hereunder in accordance with the terms and conditions of the NDA.

                                    None of the parties or their affiliates will issue any statement or
                                    communication to any third party or share the Confidential Information of
                                    or related to this Term Sheet (other than with its legal and accounting
                                    advisors, potential lenders, equity investors, acquirers or assignees who
                                    agree to keep such information confidential) regarding the Term Sheet,
                                    including, if applicable, its termination and the reasons therefor, without the
                                    written consent of the other party.16



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16 NTD: Parties to discuss requirements for Confidentiality with third party contractors (e.g., engineering) and if additional NDAs

are necessary.
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                                                                                                                       LANCIUM00014634
                                                        Appx11400
                                                                                    Case: 23-1922




            Acciona Big Smile
                                                                                    Document: 39-7




                   Site Visit September 19, 2019




Appx11401
            Majors Topics regarding Interface to Lancium
                                                                                    Page: 44
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                                                                Bearbox v Lancium
                                                                 Trial Exhibit
                                                                    TX178


                                                           LANCIUM00014635
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                                                          Appx11402
                                   Extent of grounding system




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                                                                                                                      \
                                                                                                                   \ I
                                   WTG Grounding transformer connection to
                      3- GT ?




            3- GT ?
                                   main grid not known.

                                   WTG transformers are up in tower
                                                                                                                                                         Case: 23-1922




                                Potential Lancium Sites

                                Elevation
                                Grounding
                                Pad                                    --- ---------
                                                                                                                                                         Document: 39-7




                                Aux Power
                                                                                       ------ ...... - - - .....




                                Driveway




Appx11403
                                Rain Water on Surface
                                                                                                                         -----------




                                Prevailing wind
                                Rodent/Insect/Snake
                                                                                                                                                         Page: 46




                                Ect.
                                                              -------- ------
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                                                                                                                                                         Filed: 01/02/2024




                                                                                                                                          Il II




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                                                                                                                                       LANCIUM00014637
            Water Well Pump House,
            NW of OM building
                                                                                          Case: 23-1922
                                                                                          Document: 39-7




Appx11404
                                                                                          Page: 47




                                 Septic tank, possible leaching field
                                 East of OM building
                                                                                          Filed: 01/02/2024




                                                                        LANCIUM00014638
            34kV general arrangement,
            installed on top of elevated
            deck.
                                                                                             Case: 23-1922
                                                                                             Document: 39-7




Appx11405
                                                                                             Page: 48




                                     Unused conduit for future WTG’s,
                                     under NW corner of Switchgear deck,
                                     Note, it is not under NE corner,
                                                                                             Filed: 01/02/2024




                                                                           LANCIUM00014639
                                                                                              Appx11406
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Appx11408
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         5.3 Load Management
         Lancium Data Centers are located in close proximity to a power provider and the contractual terms for
         purchase and utilization of power require Lancium to manage power utilization (load) of the data center.
         This is called “ramping of power consumption” and typically follows the daily/hourly plan coordinated
         with the power provider.

         5.3.1 Load Management – Lancium
         Lancium can manage load utilization at a distributed computing site using the following methods:

             A. Soft Load Control (Software Instruction)
                    a. The Lancium NOC may use software instructions to adjust computational activity for each
                        computing rack across the site thereby managing total electrical load utilization to
                        desired or permissible levels.
                    b. Lancium’s implementation of Soft Load Control allows computing racks to be adjusted
                        down to an idle state to minimize power utilization while leaving computing equipment
                        in an online state and receptive to later instruction.
             B. Hard Load Control (Module Supply Main Breaker Action)
                    a. The Lancium NOC, or a local Lancium Operator/Technician, can open/close the module
                        supply main breakers. Each module has two supply main breakers that can be controlled
                        individually.
                    b. Opening a main breaker causes de-energization of associated computing racks and
                        exhaust fans, decreasing overall site load utilization. Closing a main breaker allows for
                        energization of associated computing racks and exhaust fans, increasing overall site load
                        utilization.
                                Note that Site UPS power is provided through an auxiliary circuit breaker to
                                  critical module-level devices (e.g. network switches, I/O Aggregator etc.) even
                                  when the module supply main breakers are open.
                                The computing load is not powered by the Site UPS.

         Soft Load Control is preferred over Hard Load Control for load reduction. Hard Load Control is used as a
         backup, to trigger opening of breakers when Soft Load Control mechanisms fail to (or cannot) keep load
         utilization below defined limits (within defined time and magnitude thresholds).

         5.3.2 Load Management Coordination – Power Provider
         The power provider can direct or coordinate electrical load utilization at the Lancium site using the
         following methods:

             A. Site Supply Main Breaker
                    a. The power provider has the capability to control the site supply main breaker and quickly
                        shed all load utilized by the site.
                    b. This option is only to be used without warning when the power provider has an
                        emergency requiring fast load shed to stabilize or protect generation assets.
             B. Person to Person Communication (telephone, email etc.)
                    a. The power provider can communicate directly with personnel at the Lancium NOC who in
                        turn can implement Soft Load Control mechanisms (see section 5.3.2) to manage

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                         processing activity levels for computing racks across the Lancium site in order to adjust
                         electrical load utilization to required levels. This communication may take the form of a
                         coordinated daily/hourly plan.
                C. Communicated Control Signals
                      a. The power provider can update control system signals which are passed via secure
                         communications link, received by the Lancium Brain and evaluated to trigger automated
                         actions to manage site load (e.g. Soft Load Control and Hard Load Control, see section
                         5.3.1).

         5.3.3 Automated Load Management – Communications Link
         To Be Determined:

         What will be the physical infrastructure and communications protocol used to communicate the Load
         Limit Setpoint to Lancium’s system for managing computational activity for the computing racks?

         5.3.4 Automated Load Management – Communicated Signals
         This section describes one potential implementation of coordinated and automated load management.
         The actual architecture and implementation of the communication link and communicated signals is to be
         coordinated with the relevant power provider for each Lancium data center.

         To support automated and coordinated load management scenarios the power provider provides to the
         power consuming site (Lancium), via secure communications link, three (3) primary control signals1. These
         signals are described in Table 4-1 below.
         Table 4-1: Signals from Power Provider to Lancium Site

             Name                                        Description

             Load Limit Setpoint                         This integer value, determined by the power provider,
                                                         represents the maximum allowable electrical load, that
                                                         may be utilized by the site.

             Load Limit Compliance Period                This integer value, determined by the power provider,
                                                         represents the allowable time duration, after the time
                                                         when Load Limit Setpoint has been reduced, for the site
                                                         to reduce load utilization below the new Load Limit
                                                         Setpoint value.

                                                         >= 0:     Tolerance thresholds enabled

                                                         < 0:      Tolerance thresholds disabled

             Metered Load                                Real-time site load utilization as metered by the power
                                                         provider.



         1
             Other signals such as watchdog bits may also be used to validate the integrity of the communications link.

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         5.3.5 Automated Load Management – Automated Response
         The Lancium Brain monitors the value of the Load Limit Setpoint and the Load Limit Compliance Period as
         communicated from the power provider.

         The Load Limit Setpoint value is evaluated and used in determination and initiation of Soft Load Control
         mechanisms that are used to maintain load at or below the Load Limit Setpoint by managing
         computational activity (and power usage) for module computing racks in order to manage total power
         utilization across the site.

         The Lancium Brain maintains an Internal Load Limit variable that is used to determine when and if Hard
         Load Control action is to be initiated. Hard Load Control action is triggered only when site load is greater
         than the Internal Load Limit A) by more than a configurable threshold value (e.g. 2 MW), or B) for longer
         than the configurable threshold duration (e.g. 2 minutes). This allows site load to momentarily spike above
         the load limit (within reasonable limits), without triggering breaker action.

         In general (steady state), the Internal Load Limit value is set equal to the communicated Load Limit
         Setpoint value. However, when the communicated Load Limit Setpoint value is reduced, and the
         communicated Load Limit Compliance Period value is greater than zero, then the Internal Load limit is
         maintained at its previous value until the compliance period has elapsed (from the time when the load
         limit was reduced), after that it is again set equal to the communicated Load Limit Setpoint value.

                  Load Limit Compliance Period >= 0:
                   When the site load is greater than the Internal Load Limit value and the compliance period is zero
                   or greater (positive) then Hard Load Control action is triggered only when site load is greater than
                   the Internal Load Limit value and the extends beyond the duration or magnitude thresholds
                   described above.
                  Load Limit Compliance Period < 0:
                   A negative Load Limit Compliance period can be used by the power provider when a load
                   reduction is to occur as fast as possible (e.g. islanding of generation assets).
                   When the site load is greater than the Internal Load Limit value and the compliance period is less
                   than zero (negative), then Hard Load Control action is triggered immediately when site load is
                   detected as greater than the Internal Load Limit value.

         5.3.5.1    Automated Response – Module Supply Main Breakers
         When the Lancium Brain determines that Hard Load Control actions are required it evaluates the total site
         load against its internal Load Limit Setpoint and controls the module supply main breakers per the
         following description:

                  Power meter readings from each module are used to determine which module main breakers are
                   to be opened such that overall site load will be reduced below the load limit. Control signals are
                   passed from the Lancium Brain to the specified modules, causing specified breakers to open.

         The Lancium Brain may be configured to implement prioritization of certain modules over others.




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            CONFIDENTIAL - ATTORNEY'S EYES ONLY                                                                                                 LANCIUM00025194
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                     Case: 23-1922                Document: 39-7          Page: 111           Filed: 01/02/2024




               From: Tim Carter <tim.carter@mp2energy.com>
                  To: Michael McNamara <michael.mcnamara@lancium.com>
                 Cc: Jay Young <Jyoung@strategicpowersolutions.net>, Rachel Arndt
                      <rachel.arndt@lancium.com>
             Subject: Countersigned EMS attached
                Date: Mon, 15 Jul 2019 14:04:26 -0500
        Importance: Normal
       Attachments: Countersigned_EMS_Lancium_071519.pdf
      Inline-Images: image001.jpg; image002.png


   Please find the attached countersigned energy management services agreement. We are working with Draco to
   ensure this site can be started in the market as soon as possible.

   Tim Carter CEM, CDSM, CEP
   MP2 Energy LLC, A Shell Energy North America Subsidiary
   O 832.510.1061 | C 832.684.5645 | www.MP2Energy.com




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                                                                   EXHIBIT "A"


            Transaction Confirmat ion #I

            This Transaction Confirmation confirms the transaction between the Parties agreed to as of the date accepted by
            MP2 Energy LLC ("MP2") below pursuant to and in accordance with the Energy Management Services Agreement
            entered into between MP2 and Lancium LLC ( 'Customer'') dated on or about 6/ J 4/2019 (the " Agreement") and
            constitutes part of and is subject to all of the terms and provisions of such Agreement. Tem1s used but not defined
            herein shall have the meanings ascribed to them in the Agreement, or to the extent not therein defined terms shall
            have the respective meanings set forth in the relevant Protocols, Manuals, Rules and/or Regu lations governing the
            demand response opportunity and/or program.

           Opportunity: LR
           Date: Start 9/ 1/2019
           Term: through 9/30/202 1
           Quantity: Approximately .8 MWs to start with an expectation ofgrowi11g to 7 MWs

             Service Address                                                  ESIJD
             6006 THOMAS RO HOUSTON, TX 77041                                 1008901011901056760115

           Descri11tion: MP2 will offer in to the ERCOT LR market. that amoum of capacity that CU TOMER and M1'2 agree reasonably
           complies with the LR program (the ·' Quantity""). Customer understands that the Quantity and the a.Jue associated therewith
                                                                                                                                       may
           change from time to time.


           Eco nomic Settlement: The re enucs received relative to this Transaction Confirmation. by MP2 from ERCO T, shall be
                                                                                                                                   divi ded
           between the Parties upon the fo llowing schedule and is dependent on the average hourly MW vo lumes offered into the LR
                                                                                                                                   market
           for the applicable settlement month:

           Less than 5MW: 75% to Customer and 25% to MP2
           Between SMW and 20MW: 83% to Customer and 17% to MP2
           Over 20MW: 89% to Customer and 11 % to MP2

           The revenue sharing breakpoint. shall apply to all MWs for the appl icable senlement monih.


           Fees: Cu tomcr agrees to pay MP2 a base monthly fee in the amo unt of$0 for each month during the Tenn. Customer authorizes
           MP2 to deduct the base monthly fee from the revenue accruing to Customer hereunder and MP2 will reflect the deduction
                                                                                                                                 on the
           settlement tatement .

           Agreed and Accepted.

            LANCTTJM L L ~
            By: _ _ _ _ _ _ _ _ _ _ __

            Name:     Michael McNamara

            Title: CEO

            Date: July 9th, 2019




CONFIDENTIAL - ATTORNEY'S EYES ONLY                                                                                            LANCIUM00030580
                                                               Appx12337
                      Case: 23-1922                 Document: 39-7                  Page: 113             Filed: 01/02/2024




               From: "Hunsucker, Brett" <Brett.Hunsucker@ercot.com>
                  To: Vitor Henrique <vitor.henrique@lancium.com>
             Subject: RE: FW: Real-Time LMP
                Date: Mon, 22 Apr 2019 15:49:23 -0500
        Importance: Normal
      Inline-Images: image001.jpg; image004.jpg


   Good afternoon, Victor.

   I apologize for the delay. Yes, ERCOT data such as LMPs are accessible via an API. For more information, please
   refer to the EIP External Interfaces Specification v1.20L.

   Regards,

                   -c-                        Brett Hunsucker
    ercot-p                                   Manager, ERCOT Client Services
                                              Office: 512.248.6556 Cell: 971.263.8843
                                              Brett.Hunsucker@ercot.com

   Confidentiality Notice: DO NOT FORWARD. The information contained in this email message and any attached documents are privileged,
   confidential and intended for the addressee only. If you received this message in error then please notify the sender immediately. If the reader
   of this message is not the intended recipient, or an employee/agent of the intended recipient, you are hereby notified that any use, duplication,
   dissemination or distribution of this communication is unauthorized.

   From: Vitor Henrique [mailto:vitor.henrique@lancium.com]
   Sent: Monday, April 22, 2019 2:33 PM
   To: info <i@ercot.com>
   Cc: Hunsucker, Brett <Brett.Hunsucker@ercot.com>
   Subject: Re: FW: Real-Time LMP


   ***** EXTERNAL email. Please be cautious and evaluate before you click on links, open attachments,
   or provide credentials. *****
   Hello,

   I haven't received any response on my request yet, could you please follow up?

   Vitor Henrique

   On Thu, Apr 18, 2019 at 1:01 PM info <i@ercot.com> wrote:

      Dear Vitor Henrique,

      Thank you for your inquiry.

      Since your company is a registered Market Participant in the ERCOT Market, your request has
      been routed to the appropriate internal department.

      LANCIUM LLC (IMRE)’s assigned Account Manager, Brett Hunsucker, will contact you regarding
      your request.



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CONFIDENTIAL - ATTORNEY'S EYES ONLY                                                                                                LANCIUM00030608
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                 Case: 23-1922         Document: 39-7           Page: 114       Filed: 01/02/2024




     Regards,




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                                      Information Request Services
                                      ERCOT Client Services
                                      2705 West Lake Drive | Taylor, TX
                                      www.ercot.com


     From: Vitor Henrique [mailto:vitor.henrique@lancium.com]
     Sent: Thursday, April 18, 2019 12:09 PM
     To: info <i@ercot.com>
     Subject: Real-Time LMP


     ***** EXTERNAL email. Please be cautious and evaluate before you click on links, open
     attachments, or provide credentials. *****
     Hello,

     Is there a way to get access to the LMP value though an API instead of the tables?

     Best regards,
     --
     Vitor Henrique
     System Engineer at Lancium
     (832) 815 9054




   --
   Vitor Henrique
   System Engineer at Lancium
   (832) 815 9054




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                                                   Appx12343
                 Case: 23-1922          Document: 39-7          Page: 115        Filed: 01/02/2024




             From: Raymond Cline <recline@lancium.com>
                To: Michael McNamara <michael.mcnamara@lancium.com>
           Subject: MP2 Demand Response
              Date: Tue, 27 Aug 2019 15:07:49 -0500
       Importance: Normal
      Attachments: ADK_LD1_-_Lancium_-_2019-08-27.xlsx; ADK_LD1_-_Lancium_-_2019-08-26.xlsx;
                    ADK_LD1_-_Lancium_-_2019-08-28.xlsx


   Michael,

   Attached you will find three spreadsheets that calculate the demand response "revenue". Yesterday was a
   good day for this program. We had a call with Tim Carter to understand what they were sending to us.
   "Award" is the MW that ERCOT has awarded us for the hour. "LMP" is the day ahead clearance settlement
   price, or something like that, which is the price per MW we would receive. Award x "LMP" = dollars to us.

   An important point, which didn't come across in our conversations, is that the award is essentially an
   obligation on our part, that we consume that amount of power that ERCOT COULD curtail. If we routinely
   use less than our award we could suffer a penalty. Also, if we are going to shutdown or plan to use less than
   our award we should notify MP2, so that they can balance accordingly.

   We are working to automate processing of the spreadsheet we receive from MP2 and we will try to automate
   notifications if possible. This is a bit more complicated than we originally understood, but we will adapt.

   Good news is that we will have received:
   8/26 $4,596.02
   8/27 $337.66
   8/28 $473.88
   Total $5,407.56

   That is already more than 1/3 of a months worth of T&D charges.

   Cheers,
   Ray
   Raymond E. Cline Jr., PhD
   Chief Computing Officer




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                 Case: 23-1922           Document: 39-7        Page: 116       Filed: 01/02/2024




               From: Michael McNamara <michael.mcnamara@lancium.com>
                  To: Raymond Cline <recline@lancium.com>, Ian Rock <ian.rock@lancium.com>, Vitor
                      Henrique <vitor.henrique@lancium.com>
             Subject: Thomas Road Power
                Date: Fri, 16 Aug 2019 15:29:57 -0400
        Attachments: Thomas_Road_Power_Cosiderations.xlsx


   As of today, we have a fixed price power contract with Calpine at Thomas Road for ATC power at
   ~$34/MWh.

   This is cool. We now have two revenue sources: Bitcoin mining and selling power back to grid.

   I took a crack at comparing economics. We will want to watch this closely and update regularly - probably
   multiple times a day.

   Please take a look and we can get on a call to discuss.

   --

   (917) 833-2720




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                  Case: 23-1922          Document: 39-7          Page: 117        Filed: 01/02/2024




       From: David Henson <david.henson@lancium.com>
          To: Michael McNamara <michael.mcnamara@lancium.com>
         Cc: "Tobin, Brian" <Brian.Tobin@nexteraenergy.com>, Steve Pattyn <spattyn@gmail.com>, Jon
              Cohen <jon.cohen@lancium.com>, "Kelly, Kevin" <Kevin.Kelly@nexteraenergy.com>
     Subject: Re: Checking / New Mexico Wind Energy Center
        Date: Tue, 6 Feb 2018 18:02:13 -0600


   Hi Brian, happy to discuss the technical Flex aspects. Our power management platform takes a variety of
   signals including grid telemetry, nodal economic real time data to derive a shaped load response in the
   minute response timeframe, 200Kw to 1 MW for the nominal 1 MW units. We are also developing
   frequency response characteristics within that control range that may be of interest. Our target ‘on line’ time
   per machine is in 10 minute (plus 2 minutes spool time). Those metrics are approximately the same at
   machine level or asset level( 1MW Flex box level)
   Regards
   David

   David Henson
   Lancium

   On Feb 6, 2018, at 3:59 PM, Michael McNamara <michael.mcnamara@lancium.com> wrote:


    Hi Brian,

    Once we get some information on the farm’s capacity factor, we’ll work
    with you to tailor a solution including some mix of our Core and Flex units.
    We would like to find a way for Core units to run as much as possible
    (90pct+). The Flex units, on the other hand, are designed to ramp up and
    down often. Flex units can ramp up to full capacity and down to 0 load
    within a 10 minute window. We think we can get that window down to 5
    minutes.

    I’ve CC’d our technical head here, David Henson, who can provide more
    details as needed. As always, we can hop on a call at any time to talk in
    more detail. Just let us know.
    Sent from my iPhone

    On Feb 6, 2018, at 4:42 PM, Tobin, Brian <Brian.Tobin@nexteraenergy.com> wrote:


    Hi Steve,

    We are still working through our structure and are making progress. I have a question, technically, how would
    the servers shutdown before power comes back in from the grid when the wind stops blowing. Also, what if



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                   Case: 23-1922                 Document: 39-7             Page: 118           Filed: 01/02/2024




              From: Vitor Henrique <vitor.henrique@lancium.com>
                 To: Deon Wyatt <deon.wyatt@mp2energy.com>
            Subject: Re: ADK_LD1 - Lancium LR Awards.xlsx
               Date: Wed, 4 Sep 2019 10:10:22 -0500
     Inline-Images: image001.jpg; image002.png


   Hello Deon,

   Any news on today's file? I automated our dashboard with the input file, so we can track it on our operational
   dashboard.

   Best regards,

   Vitor Henrique

   On Tue, Sep 3, 2019 at 8:50 AM Deon Wyatt <deon.wyatt@mp2energy.com>
                                              - - - - - - - - wrote:

     Please see attachment.



     Deon Wyatt

     MP2 Energy LLC, A Shell Energy North America Subsidiary

     O 832.510.1063 | C 832.917.4570 | www.MP2Energy.com




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     From: Deon Wyatt <deon.wyatt@mp2energy.com>
     Sent: Sunday, September 01, 2019 3:09 PM
     To: ian.rock@lancium.com; recline@lancium.com; thomas.salvatore@lancium.com;
     vitor.henrique@lancium.com


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                   Case: 23-1922               Document: 39-7               Page: 119           Filed: 01/02/2024



     Cc: MP2 Asset Operations Desk <operations@mp2energy.com>
     Subject: RE: ADK_LD1 - Lancium LR Awards.xlsx



     Please see attachment.



     Deon Wyatt

     MP2 Energy LLC, A Shell Energy North America Subsidiary

     O 832.510.1063 | C 832.917.4570 | www.MP2Energy.com




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     From: Deon Wyatt <deon.wyatt@mp2energy.com>
     Sent: Saturday, August 31, 2019 2:36 PM
     To: ian.rock@lancium.com; recline@lancium.com; thomas.salvatore@lancium.com;
     vitor.henrique@lancium.com
     Cc: MP2 Asset Operations Desk <operations@mp2energy.com>
     Subject: RE: ADK_LD1 - Lancium LR Awards.xlsx



     Please see attachment.



     Deon Wyatt

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     From: Deon Wyatt <deon.wyatt@mp2energy.com>
     Sent: Friday, August 30, 2019 2:54 PM
     To: ian.rock@lancium.com; recline@lancium.com; thomas.salvatore@lancium.com;
     vitor.henrique@lancium.com
     Cc: MP2 Asset Operations Desk <operations@mp2energy.com>
     Subject: RE: ADK_LD1 - Lancium LR Awards.xlsx



     Please see attachment.



     Deon Wyatt

     MP2 Energy LLC, A Shell Energy North America Subsidiary

     O 832.510.1063 | C 832.917.4570 | www.MP2Energy.com




     @ Please consider the envi     me: t before pl1i ting t is email.

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                                                                 Appx12354
                   Case: 23-1922                Document: 39-7              Page: 121           Filed: 01/02/2024




     From: Deon Wyatt
     Sent: Thursday, August 29, 2019 2:40 PM
     To: 'ian.rock@lancium.com' <ian.rock@lancium.com>; 'recline@lancium.com' <recline@lancium.com>;
     'thomas.salvatore@lancium.com' <thomas.salvatore@lancium.com>; 'vitor.henrique@lancium.com'
     <vitor.henrique@lancium.com>
     Cc: MP2 Asset Operations Desk <operations@mp2energy.com>
     Subject: Revised ADK_LD1 - Lancium LR Awards.xlsx



     Revised.



     Deon Wyatt

     MP2 Energy LLC, A Shell Energy North America Subsidiary

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     communication and its attachments without reading, printing or saving in any manner.




     From: Deon Wyatt
     Sent: Wednesday, August 28, 2019 1:48 PM
     To: ian.rock@lancium.com; recline@lancium.com; thomas.salvatore@lancium.com;
     vitor.henrique@lancium.com
     Cc: MP2 Asset Operations Desk <operations@mp2energy.com>
     Subject: RE: ADK_LD1 - Lancium LR Awards.xlsx




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                                                               Appx12355
                           Case: 23-1922                      Document: 39-7                      Page: 122   Filed: 01/02/2024



     Deon Wyatt

     MP2 Energy LLC, A Shell Energy North America Subsidiary

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     @   P   l   ease   consider   the   enviJ'O/lment before pl1i   ting   t   i   s   em ail.




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     communication and its attachments without reading, printing or saving in any manner.




   --
   Vitor Henrique
   System Engineer at Lancium
   (832) 815 9054




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                                                                                          Appx12356
                    Case: 23-1922          Document: 39-7          Page: 123        Filed: 01/02/2024



        External Sender: Use caution with links/attachments.

        Hi Todd,
        Do you have any intro material on participating in EROT's ERS program? We think our load is well
        suited, but were curious as to what the process and requirements are.

        Also we've been working with Centerpoint on looking at upgrade options for Thomas Rd, but its taking
        longer than anticipated. Will keep you posted on that

        Thanks,
        Jon
        COMPANY CONFIDENTIALITY NOTICE: The information in this e-mail may be confidential and/or
        privileged and protected by work product immunity or other legal rules. No confidentiality or privilege is
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   system.
   BEGIN:VCARD
   VERSION:2.1
   N;LANGUAGE=en-us:Young;Jay
   FN:Jay Young
   ORG:Strategic Power Solutions
   TITLE:President
   TEL;WORK;VOICE:(214) 415-5462
   X-MS-OL-DEFAULT-POSTAL-ADDRESS:0
   EMAIL;PREF;INTERNET:jyoung@strategicpowersolutions.net
   X-MS-OL-DESIGN;CHARSET=utf-8:<card
   xmlns="http://schemas.microsoft.com/office/outlook/12/electronicbusinesscards" ver="1.0" layout="left"
   bgcolor="ffffff"><img xmlns="" align="fit" area="16" use="cardpicture"/><fld xmlns="" prop="name"
   align="left" dir="ltr" style="b" color="000000" size="10"/><fld xmlns="" prop="org" align="left" dir="ltr"
   color="000000" size="8"/><fld xmlns="" prop="title" align="left" dir="ltr" color="000000" size="8"/><fld
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   size="8"><label align="right" color="626262">Work</label></fld><fld xmlns="" prop="email" align="left"
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   BEGIN:VCARD


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                                                       Appx12358
                   Case: 23-1922          Document: 39-7          Page: 124        Filed: 01/02/2024




             From: Michael McNamara <michael.mcnamara@lancium.com>
                To: Jay Young <Jyoung@strategicpowersolutions.net>
           Subject: Re: LR DEMAND RESPONSE PRESENTATION 2019.pptx
              Date: Sat, 18 May 2019 12:57:01 -0400
      Attachments: Lancium_Introduction_and_Overview_-_May_2019.pdf


   Jay,

   Here is some introductory information on us. As I mentioned, our data centers are co-located directly at wind
   project substations and generally sit "behind-the-meter". We can pick up and drop 95% of our entire load in
   under 5 minutes (actually under 1 min) and our load follows the generation profile of the wind facility. We
   get first call on all power out of the wind facility with the exception that we turn down when prices exceed
   $75/MWh.

   Our first facility is 36 MW near Lubbock. We will actually have an AEP subtractive meter and ERCOT will
   be able to monitor our consumption. If we could quality for LR it would be awesome!

   Lets chat on Monday?

   On Sat, May 18, 2019 at 12:44 PM Michael McNamara <michael.mcnamara@lancium.com> wrote:
    Jay,

     Do you have 5 min to talk over the phone? Wanted to run an idea by you.

     On Sat, May 18, 2019 at 9:34 AM Jay Young <Jyoung@strategicpowersolutions.net>
                                                - - - - - wrote:
      I have a call with the QSE Monday morning to start the process. I will follow up after that call with steps
      to quickly get this going.

          Sent from my iPhone

          On May 18, 2019, at 11:31 AM, Michael McNamara <michael.mcnamara@lancium.com> wrote:


          Ok - what do we do next?

                                                     - - - - - wrote:
          On Sat, May 18, 2019 at 7:35 AM Jay Young <Jyoung@strategicpowersolutions.net>

            Jon and Michael –



            Attached is the information we discussed on Thursday for the DR programs in ERCOT. This covers
            all of the high level details. We will need to do a site and software assessment to see what is needed
            for telemetry, communication, etc.



            CPower mentioned that the quickest they have enrolled a new participant was 35 days. So if we want
            to take advantage of historically high summer revenues, we need to get on this next week.




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                                                                                                               Bearbox v Lancium
                                                                                                                Trial Exhibit
                                                                                                                     TX740

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                                                       Appx12395
                        Case: 23-1922          Document: 39-7         Page: 125       Filed: 01/02/2024



                  I used to work for CPower and continue to do business with them. They have a great team and are
                  one of the largest QSE’s in the nation.



                  Please let me know if you have any questions.



                  Thank you,




                  Jay A. Young

                  President

                  Strategic Power Solutions

                  214-415-5462



             --

             (917) 833-2720

        --

        (917) 833-2720


   --

   (917) 833-2720




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                                                           Appx12396
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                                                                                                                Document: 39-7




Appx12397
                                                  POWERING THE FUTURE OF COMPUTING
                                                                                                                Page: 126




                                                                                            Bearbox v Lancium
                                                                                                                Filed: 01/02/2024




                                                                                             Trial Exhibit
                                                                                                TX741
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Case: 23-1922                                                       Document: 39-7                                   Page: 127   Filed: 01/02/2024




                                                                                                                                                                                              LANCIUM00035221
                                                                                                                                                                                          2
TOO MUCH GREEN POWER IS OVERWHELMING THE GRID
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                                                Incidences of Negative Priced Power




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                                                                                                                                    Source: National Renewable Energy Laboratory (NREL)




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                                                                                                  Appx12398
                                                                                                       Case: 23-1922




                                                  DISTRIBUTED COMPUTING CAN FIX IT
                                                                                                       Document: 39-7




Appx12399
                                                                                                       Page: 128
                                                                                                       Filed: 01/02/2024




            CONFIDENTIAL - ATTORNEY'S EYES ONLY                                      LANCIUM00035222
                       INTRODUCTION
                                                                  [R(e;ln)(e;W~[b)j(e
                                                                  Renewable                          Data Center
                                                                     [Eln)(efgf
                                                                     Energy                         Power Demand
                                                                                                                                 Case: 23-1922




                         Lancium is a new company that sits at
                          the confluence of mega trends
                          involving computing and energy


                         Lancium’s proprietary solution allows
                                                                                        I(
                                                                                                                                 Document: 39-7




                          specialized data centers to consume                      ~ LANCIUM
                                                                                            !
                          power directly from renewable energy




Appx12400
                          facilities
                                                                                                                                 Page: 129




                         Lancium’s innovations (30+ patents in
                          process) position the company as the
                          lowest cost provider of distributed
                          computing
                                                                                         Parallel
                                                                                          mlJ)i
                                                                                        Computing
                                                                                                                                 Filed: 01/02/2024




                                                                                                                       4
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                       CURRENT MEGA TRENDS IN POWER AND COMPUTING
                                                                                                                                                Case: 23-1922
                                                                                                                                                Document: 39-7




Appx12401
                              MOVE TO 100% RENEWABLE             GROWTH OF PARALLEL               DATA CENTER POWER
                                       GRID                         COMPUTING                          DEMAND
                                                                                                                                                Page: 130




                               Renewable generation’s          Exploding demand for           Steadily increasing demand
                                share of the power grid will     perfectly parallel              for more power at ever
                                continue to grow                 applications                    increasing power densities
                               Zero variable cost leads to     These applications (ML, AI     The End of Moore’s Law
                                increasing frequency of          and simulations) are            makes electricity the key
                                negative priced electricity      unaffected by interruptions     cost driver
                                                                                                                                                Filed: 01/02/2024




                                                                                                                                      5
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                       BIOGRAPHIES
                                                                                                                                                                                                Case: 23-1922




                                                                                                                               Joining June, 2019

                   Michael
                   Mk~~cel McNamara
                           M«::N~m~rn              Raymond        Cline,1 Ph.D.
                                                   IR~ymlOJllildl Ci!llilce IP~oDo             (O)lli) (:(O)~(elli)
                                                                                             JJon      Cohen            Allildlrcew
                                                                                                                        Andrew Gr!m§~~w       IP~JD\
                                                                                                                                    Grimshaw, Ph.D. 1           Eric
                                                                                                                                                                !Erk Kutscha
                                                                                                                                                                     K~t§«::~~
                                                                                                                                                                                                Document: 39-7




                     Co-Founder and Chief             Co-Founder and Chief              Chief Financial Officer            Chief Software Architect            EVP - Operations
                       Executive Officer               Computing Officer




Appx12402
                    Entrepreneur and private       Dr. Cline has over 38 years of      Highly experienced power             Professor of Computer        Eric has more than 30 years’
                 investor with deep experience            experience in high          and utilities expert with over    Science, UVA (on leave). He is   experience leading electrical
                    in the power, energy and          performance computing,           twenty years experience in           the chief designer and          engineering and project
                                                                                                                                                                                                Page: 131




                      technology industries.         distributed computing, and      the financial services industry.      architect of Mentat and         management of electrical
                   Previously, Michael covered      information technology. He            Jon was previously an             Legion. In 1999 he co-       power and control projects.
                    energy and resources at a      has held research and senior       Investment Banker at Credit        founded Avaki Corporation,        Eric was most recently at
                  number of multi-billion dollar   management level positions at        Suisse. Jon most recently         and served as its Chairman         Rockwell Automation
                  buy side institutions. Michael   Sandia National Laboratories,         covered the Power and           and Chief Technical Officer,     Intelligent Packaged Power
                  graduated from Georgetown        SAIC, EDS, HP, University of       Utilities sector at Millennium     until 2005 when Avaki was       after completing more than
                  University magna cum laude        Houston, and CGI. Dr. Cline                Management.                   acquired by Sybase.           35 years in various sales,
                  with degrees in Finance and          has a PhD in Chemical                                                                             engineering, and leadership
                           Accounting.                         Physics.                                                                                         roles at Siemens.
                                                                                                                                                                                                Filed: 01/02/2024




                                                                                                                                                                                         6
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                       COMPANY HISTORY AND TIMELINE

                                         Files Initial PCT for                   Successful ramping and
                                                                                                                                                                      Case: 23-1922




                                          Specialized Data                       thermal stress tests on                        Begins construction on
                                                Centers                           Bitcoin mining ASICS                            first data centers
                     Company                                                                                                          (projected)
                     Founded                                      Opens Houston                                 Awarded first
                                                                 Technical Facility                               patent
                                                                                                                                                                      Document: 39-7




Appx12403
                              Q4 2017                               Q2 2018                           Q4 2018                    Q2 2019
                                                                                                                                                                      Page: 132




                                                             Raises $10mm Series A                 Successful migration of
                            Raises $2mm Seed
                                                            Capital from SBI Holdings              Biomolecular modelling
                                  Capital
                                                                  (Nikkei: 8473)                        applications
                                                                                                                                                                      Filed: 01/02/2024




                                                                                                                                                            7
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                       THE PROBLEM
                                                                                                                                                                                                                                                                             Case: 23-1922




                                                                                                                  Percentage of Annual Prices that are below $0/MWh
                                       9%                                                                                                                                                                                                     18%
                                                                     9                                                                                 0                                                -      Negative Pri ce Frequency RT
                                       8%                                                                                                                                                                                                     16%
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                                                  CAISO                              ERCOT                                   SPP                           I         MISO                    PJM             NYISO                  ISO- NE
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                                     Source: UC Berkeley
                                                                                                                                                                                                                                                                             Filed: 01/02/2024




                                                                                                                                                                                                                                                                   8
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                       DISTRIBUTED COMPUTING IS THE ANSWER
                        Bring the solution directly to the problem
                                                                                                                                                             Case: 23-1922
                                                                                                                                                             Document: 39-7




Appx12405
                                 MORE    TRANSMISSION?               BATTERY        STORAGE?           COMPUTE AT THE SOURCE
                                                                                                                                                             Page: 134




                                 MOIR.IE l!RANSM!SS!ON?              !BATTIEIRV OR
                                                                                OIR SlOIRAGIE?         <COM~UllEAllHIE SOUIR<CIE

                                • Too expensive                      • Currently too expensive          • Consumes excess power directly
                                • Cannot get permitted               • Shifts availability but not        from the facility

                                • No near term projects on horizon     incremental demand               • Ramps up and down based on
                                  in major renewable regions         • Price spread in wind corridor      power availability and price
                                                                       does not support construction    • Perfectly suited for parallel
                                                                                                          computing applications
                                                                                                                                                             Filed: 01/02/2024




                                                                                                                                                   9
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                       HOW CAN DISTRIBUTED COMPUTING WORK USING
                       ONLY WIND POWER?
                                                                                                                                                                Case: 23-1922




                       Uptime?
                       Uptime?                        Target specific applications and control server power rapidly (utilize intermittent power
                                                      availability)


                       Lost Work?
                       Lost Work?                     Checkpoint application status and move jobs as needed (no redundancy required)
                                                                                                                                                                Document: 39-7




                       Power Surges?
                       Power Surges?              _   Use software to dynamically control servers (no UPS needed)




Appx12406
                       Temperature Control?
                       Temperature Control?           Only run when power is available and inexpensive (no HVAC required)
                                                                                                                                                                Page: 135




                       Backup
                       Backup Power?
                              Power?                  Not necessary - Lancium computing does not require grid power so no Transmission &
                                                      Distribution charges
                                                                                                                                                                Filed: 01/02/2024




                                                                                                                                                     10
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                              LANCIUM’S BENEFIT TO THE OPERATOR AND THE GRID
                                LANCIUM’S BENEFIT TO THE OPERATOR AND THE GRID
                                                                                                                                                                                                     Case: 23-1922




                                           Lancium Typical Day - 5 MW Initial Phase (Illustrative)                          Lancium power consumption follows the generation
                              180                                                            -    Pilot Main Power (5 MW)
                                                                                                                            profile of wind projects
                              160                          -   Auxiliary Power (SMW Pilot)

                              140
                      §° 120
                      ::;
                      -::- 100                                                                                              Data centers spin up and down rapidly to match load
                       ..3:    80
                      0
                      0.
                               60                                                                                           with power availability and price
                               40
                               20
                                                                                                                                                                                                     Document: 39-7




                                0
                                    0                            10      12       14         16      18      20       22    Lancium will spin down during periods of high priced
                                                               Hour Beginning




Appx12407
                                                                                                                            power to enable:
                                        Lancium Typical Day - SO MW Example Full Build (Illustrative)
                              200
                              180
                                                                  - - • Full Build Main Power (50 MW)• Example
                                                                                                                                                                                                     Page: 136




                              160                                 - - • Auxiliary Power (SO MW Full Build)• Example          Generator to maximize profit
                              140
                     §° 120
                      ::;
                     -:- 100
                      ..
                      3: 80
                      ~                                                                                                      Stronger, more resilient Grid
                               60
                               40
                               20

                               0 --------------------------------------------                                                Reduced data center thermal stress
                                                    10  12 14  16  18  20  22
                                                               Hour Beginning
                                                                                                                                                                                                     Filed: 01/02/2024




                                                                                                                                                                                          11
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                       CHALLENGES ADDRESSED: LANCIUM MOAT
                        Multi-disciplined engineering approach
                                                                 • Fundamental rethinking of data center design, power
                                                                                                                                           Case: 23-1922




                                                                   market structure and computing paradigms

                                                                 • Addressed via engineering advancements and in-house
                                                                   innovations


                                                                    Regulatory and transaction structure
                                                                                                                                           Document: 39-7




                                                                    Electrical engineering including power




Appx12408
                                                                    factor and harmonics management
                                                                                                                                           Page: 137




                                                                    Software development and individual server
                                                                    control

                                                                    Thermal control and heat resistance insights
                                                                                                                                           Filed: 01/02/2024




                                                                                                                                12
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                                                                                                                                                               Case: 23-1922




                    LANCIUM COST ADVANTAGES
                                                                                                                                                               Document: 39-7




Appx12409
                              CAPITAL  COSil§:
                              CAIP!lAl COSTS:                                       OIPIEIRAl!NG COSil§:
                                                                                    OPERATING COSTS:
                              • Very inexpensive to site and build                  • World’s cheapest power with no transmission and
                                                                                                                                                               Page: 138




                              • Minimal real estate value in Wind Corridor            distribution charges

                              • Entirely air cooled with no expensive HVAC system   • Excellent Power Use Effectiveness (PUE) with limited
                                                                                      parasitic loss
                              • No redundant systems required
                                                                                    • Flexible clocking ability
                                                                                                                                                               Filed: 01/02/2024




                                                                                                                                                    13
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                                                                                                                        Case: 23-1922




                                                  •Exclusive ability to utilize exceptionally cheap
                          LANCIUM                  but intermittent renewable power
                                                                                                                        Document: 39-7




                       COMPETITIVE                •In excess of 30 patents filed or in process




Appx12410
                       ADVANTAGES                 •Enables more renewable generation
                                                                                                                        Page: 139
                                                                                                                        Filed: 01/02/2024




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                                                                    Case: 23-1922




                          GO TO MARKET
                          STRATGEY
                                                                    Document: 39-7




Appx12411
                                                                    Page: 140
                                                                    Filed: 01/02/2024




                                                         15
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                                                                                                                  Case: 23-1922




                                         1
                                         'Free power
                                        “Free  power is
                                                     is here, it's just
                                                        here, it’s just unevenly distributed"
                                                                        unevenly distributed”
                                                                                                                  Document: 39-7




Appx12412
                                                                                                                  Page: 141
                                                                                                                  Filed: 01/02/2024




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                       CORPORATE STRATEGY
                                                        CORPORATE STRATEGY
                                                                                                                                                                Case: 23-1922




                       Capture the Potential
                       Capture the Potential         Lancium has executed term sheets with four of the world’s largest power producers
                       Market
                       Market                        covering 100MW+ of power


                       Move Fast.. .
                       Move Fast…                    The company is proceeding with pilot stage projects at each power producer to solidify
                                                     first mover and power price advantage
                                                                                                                                                                Document: 39-7




                       …but
                       ... but in
                               in aa Staged
                                     Staged Manner
                                            Manner   Pilot stage projects require limited capital with Lancium retaining option to commence
                                                     commercial stage expansion




Appx12413
                       Up-Sell
                       Up-Sell Rack
                               Rack Space
                                    Space            The data centers will initially be filled with Crypto mining ASICs and backfilled with High
                                                                                                                                                                Page: 142




                                                     Value distributed computing over time


                       Target Long-Term
                       Target Long-Term Deals
                                        Deals        Lancium plans on signing long term deals for distributed computing with customers in
                                                     Industry, Government and Academia
                                                                                                                                                                Filed: 01/02/2024




                                                                                                                                                     17
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                       STAGED GROWTH: DATA CENTER LEVEL
                       Grow footprint to match demand and financing availability
                                                                                                                                         Case: 23-1922




                                             PILOT    STAGE:
                                             IP! l07r SilAG[E: 6MW
                                                               6MW                     COMMERCIAL    STAGE: 35MW
                                                                                       <COMM[EIR<C!AlSi7rAG[E: 3!5MW

                                                                                   \
                                                                                                                                         Document: 39-7




Appx12414
                                                                                                                                         Page: 143
                                                                                                                                         Filed: 01/02/2024




                                                                                                                              18
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                       STAGED GROWTH: RACK LEVEL
                       Distributed computing hardware will displace Crypto ASICs over time
                                                                                                               Case: 23-1922
                                                                                                               Document: 39-7




Appx12415
                                                                                                               Page: 144
                                                                                                               Filed: 01/02/2024




                                                                                                    19
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                                                                                                                      Case: 23-1922




                    LEAD WITH CRYPTOCURRENCY MINING
                                                                                                                      Document: 39-7




                       Requires
                       Requires no
                                no sales team and
                                   sales team and provides
                                                  provides immediate
                                                           immediate revenue
                                                                     revenue




Appx12416
                       Extremely
                       Extremely cheap to install
                                 cheap to install on
                                                  on per
                                                     per KW
                                                         KW basis
                                                            basis
                                                                                                                      Page: 145




                       Crypto
                       Crypto ASICs are durable
                              ASICs are durable and
                                                and heat
                                                    heat resistant
                                                         resistant

                       Requires
                       Requires limited
                                limited data
                                        data center
                                             center fabric and network
                                                    fabric and network

                       Bitcoin
                       Bitcoin mining
                               mining provides
                                      provides steady
                                               steady margin
                                                      margin for
                                                             for those
                                                                 those with very low
                                                                       with very low priced
                                                                                     priced power
                                                                                            power
                                                                                                                      Filed: 01/02/2024




                                                                                                           20
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                       MARKET STRATEGY FOR CRYPTO RACK SPACE
                                                                                                                                             Case: 23-1922




                                                  BULL
                                                  BsU ll MARKET
                                                         MAlR~[E7r                       BEAR
                                                                                         BsEAlR MARKET
                                                                                                MAlR~!El
                                  (high ratio of block reward to hash rate)     (low ratio of block reward to hash rate)
                                                                                                                                             Document: 39-7




                                Enter into multi-year hosting                 Purchase machines at very low or
                                 arrangements on existing or new                scrap value to capitalize on Lancium




Appx12417
                                 build rack space                               energy price advantage
                                                                                                                                             Page: 146




                                Run legacy merchant machines or               Enter into Vendor Finance
                                 bring machines “out of retirement”             arrangements with OEMs
                                                                                                                                             Filed: 01/02/2024




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                                BITCOIN MINING ECONOMIC CONSIDERATIONS
                                       70,000                                                                    12,000
                                                                                                                                           Extremely rational commodity business
                                                                                                                                                                                                         Case: 23-1922




                                       60,000
                                                                                                                 10,000
                                                                                                                                           Due to the End of Moore’s Law, limited
                                       50,000
                                                                                                                                           availability to improve ASICs
                                                                                                                 8,000

                                       40,000                                                                                              Operating cost (electricity) is now the key
                                                                                                                 6,000                     major variable
                                                                                                                                                                                                         Document: 39-7




                                       30,000




                     Hashrate (PH/s)
                                                                                                                         BTC Price (USD)




Appx12418
                                                                                                                 4,000                     Bitcoin mining profitability is driven by
                                       20,000
                                                                                                                                           Bitcoin price, Hash Rate and electricity
                                                                                                                 2,000
                                                                                                                                                                                                         Page: 147




                                       10,000
                                                                                                     Hashrate                              Recently, hash rate has been extremely


                                                                                               I I
                                                                                                     BTC Price                             responsive to Bitcoin price moves which
                                                                                                                0
                                          03/08/18 04/27/18 06/16/18 08/05/18 09/24/18 11/13/18 01/02/19 02/21/19                          creates embedded margin if one has access to
                                                                                                                                           very cheap electricity
                                                                                                                                                                                                         Filed: 01/02/2024




                                                                                                                                                                                              22
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                            BTC MINING REVENUE (S9): EMBEDDED MARGIN
                                350
                                                                                                                                                 Case: 23-1922




                                300
                                                                                                          BTC Rev/MWh
                                                                                                          Lancium Cost
                                250



                                200
                                                                                                                                                 Document: 39-7




                    $ per MWh



Appx12419
                                150
                                                                                                                                                 Page: 148




                                100



                                 50



                                 0
                                03/08/18          04/27/18   06/16/18   08/05/18   09/24/18   11/13/18   01/02/19   02/21/19
                                                                                                                                                 Filed: 01/02/2024




                                                                                                                                      23
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                       AFTER BITCOIN MINING? THE NEXT APPLICATIONS
                                                                                                                                             Case: 23-1922




                                                                 D~~(CIF~!P)it~©lril
                                                                 Description                         ~aim!P)i(e;~
                                                                                                     Examples


                         High Throughput Computing,
                         High Throughput Computing,     Highest value computing for        Fluid Dynamics, Large Machine
                               (Tightly Coupled)        major Government, Industrial         Learning Studies, Weather
                         High
                         High Performance
                              Performance Computing
                                           Computing      and Academic research                      Modelling
                                                                                                                                             Document: 39-7




                                                       Parallel computing that does not    Monte Carlo Modelling, Small




Appx12420
                         High Throughput Computing,
                         High Throughput Computing,
                                 (Loosely Coupled)
                                                        require expensive and complex       Machine Learning Studies,
                                                                  networking                    Image Rendering
                                                                                                                                             Page: 149




                                                       Bitcoin mining will be deployed
                            Low
                            Low Value Computing
                                Value Computing        first due to ease and low capital          Proof-of-Work
                                                                      cost
                                                                                                                                             Filed: 01/02/2024




                                                                                                                                  24
            CONFIDENTIAL - ATTORNEY'S EYES ONLY                                                                            LANCIUM00035243
                       TOTAL ADDRESSABLE MARKET
                                                                                                                                                 Case: 23-1922




                                                                  Total Addressable   Highly Suited to   Highly
                                                                                                         H~gJu!y s~~t~rdl
                                                                                                                 Suited t©to
                                                                    Market (USD)        Lancium %        ~wud~m (USD)
                                                                                                         Lancium    (USD)


                        High
                        High Performance
                             Performance Computing
                                         Computing                     $10 B               30%+                $3
                                                                                                               $3 B
                                                                                                                  B
                                                                                                                                                 Document: 39-7




                      Cloud and Computing
                      Cloud and Computing Industries
                                          Industries                   $20 B               25%+                $5
                                                                                                               $5 B
                                                                                                                  B




Appx12421
                        Hyperscale
                        Hyperscale and
                                   and Consumer
                                       Consumer
                                                                       $20 B               25%+                $5
                                                                                                               $5 B
                                                                                                                  B
                                                                                                                                                 Page: 150




                                Internet
                                Internet


                           Low Value Computing
                           Low Value Computing                          $3 B              100%+                $3
                                                                                                               $3 B
                                                                                                                  B


                     Source: NVIDIA, Lancium internal estimates
                                                                                                                                                 Filed: 01/02/2024




                                                                                                                                      25
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                                       WHY WIND? THE DISTRIBUTION OF POWER GENERATION
                                                                                                                                                                                                               Case: 23-1922




                                                                POWER DURATION CURVE
                                  100.0%                                                                                                             Wind production distribution allows for a
                                                        Phase I: 5 MW @ ~89%
                                       90.0%                                                                                                         tiered data center installation
                                                               utilization

                                       80.0%

                                                                            Up to 35 MW FLEX @                                                       Lancium deal arrangements call for “first
                                       70.0%
                                                                              ~75% utilization
                                                                                                                                                     call” on power with high priced hours
                                       60.0%
                                                                                                                                                                                                               Document: 39-7




                                                                                                                                                     retained by the generator
                                       50.0%




Appx12422
                                       40.0%




                     % of Hours > MW
                                                                                                                                                     Some power is nearly always available to
                                       30.0%
                                                                                                                                                     Lancium data centers
                                                                                                                                                                                                               Page: 151




                                       20.0%


                                       10.0%
                                                                                                                                                     Available power is routed to most valuable
                                        0.0%




                                               0
                                                                                                                                                     computing hardware first




                                                   10
                                                           20
                                                                 30
                                                                       40
                                                                               50
                                                                                    60
                                                                                          70
                                                                                                 80
                                                                                                      90
                                                                                                           100
                                                                                                                 110
                                                                                                                       120
                                                                                                                             130
                                                                                                                                   140
                                                                                                                                         150
                                                                                                                                               160




                                                                                               MW Output
                                                                                                                                                                                                               Filed: 01/02/2024




                                                                                                                                                                                                    26
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                        WHY WIND? THE DISTRIBUTION OF POWER GENERATION
                                                                                                                                                                 Case: 23-1922




                        160


                        140
                                                                                                            Low value computing (light blue) will
                                                                                                            serve as a buffer and absorb the
                        120
                                                                                                            majority of wind power variability
                        100


                         80                                                                                 Lancium has proven the resiliency of
                                                                                                                                                                 Document: 39-7




                   MW
                                                                                                            bitcoin mining hardware to constant and
                         60
                                                                                                            fast ramping




Appx12423
                         40


                         20                                                                                 Higher value computing (gray) will
                                                                                                                                                                 Page: 152




                                                                                                            receive nearly constant power and will
                          0
                           9/30    10/1     10/2   10/3   10/4   10/5   10/6   10/7   10/8   10/9   10/10   see rare and short periods of downtime
                        -20
                                                                                                                                                                 Filed: 01/02/2024




                                                                                                                                                      27
            CONFIDENTIAL - ATTORNEY'S EYES ONLY                                                                                                LANCIUM00035246
                       WIND ENGINEERING CONSIDERATIONS
                       Lancium has developed several interconnection options to fit the needs of its wind partners
                                                                                                                                                                                                Case: 23-1922




                            Lancium has worked on two potential                              1. Feeder Direct-Connect
                                                                                                                                                           Or;;rrbunon Cf0t
                                                                                                                                                           /   HVAC)
                             options: (1) Feeder Direct-Connect or (2)                                                                     ~nsrormor

                             Main Transformer Connect                                        IJunct,on
                                                                                             ..        box            f     _"t '--.._
                                                                                                                          sw1t~   h    f    :~□
                                                                                                                                brea ker]
                            Regardless of approach, Server Facility                                                                            Data center
                                                                                                        To Subs lation
                                                                                                                                                                                                Document: 39-7




                             would be behind a breaker-switch and/or
                             other equipment to enable isolation




Appx12424
                                                                                              2. Main,Transformer Connect
                            Isolation equipment to be in complete                                                                               Subs ta tfon/
                                                                                      Oi!!; l 11bu tion Llf"e (fOfj
                                                                                               HVAC)
                                                                                                                                                IMa m Trans form er
                                                                                                                                                                                                Page: 153




                             control of wind project (except in cases of
                             curtailment for safety purposes by Lancium)



                                                                                               Data ce nter
                                                                                                                                                                                                Filed: 01/02/2024




                                                                                                                                                                                     28
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                       ILLUSTRATIVE SINGLE LINE DIAGRAM
                       Conceptual SLD for substation interconnect
                                                                                                                                                                                             -- ARCADIS
                                                                                                                                                                                                                                   Case: 23-1922




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Appx12425
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                                                  6MW DATA.CENTER STRING                                                            llllH W.N09TEN40UTIJTYD«JfriCDlhG
                                                                                                                                                                                                                                   Filed: 01/02/2024




                                                                                                                                                                                                                        29
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                                                                                                                  Case: 23-1922




                                                  The World’s Only Truly Green Computing
                                                                                                                  Document: 39-7




                                            “Run cycles at Lancium and help save the planet.”




Appx12426
                                                                                                                  Page: 155
                                                                                                                  Filed: 01/02/2024




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                  Case: 23-1922          Document: 39-7              Page: 156      Filed: 01/02/2024



                     MICHAEL MCNAMARA, Michael McNamara, Storms

    Contributors:




   •                                          •
            Name: MICHAEL MCNAMARA                      Name: Michael McNamara
            Email: mcnamarm@hotmail.com                 Phone:




   •
            Name: Storms
            Phone:+1 (985)377-6257




                                                 2019-05-04 04:57:43 +0000
         Storms




   •
         +1 (985) 377-6257

           Storms

                                                 2019-05-05 20:00:52 +0000


                                                                                               nrrr:rwrrrm
                                                                Storms, great to meet you at the conference

                                                                This is me:




                                                                                                              •
                                                 2019-05-05 20:00:53 +0000

                                                  https://www.linkedin .com/in/michael-mcnamara-1055211

                                                 2019-05-05 20:04:41 +0000
         Storms
         +1 (985) 377-6257

           Same here, Michael. I'm not on Linkedln, but you 've got
           my personal # .




   •       I'll put some feelers out to some of my PM friends this
           week about what we talked about Fri night. Tty soon.

                                                 2019-05-05 20:06:45 +0000




         Storms
         +1 (985) 377-6257
                                                 2019-05-05 23:43:04 +0000                                    •
   •       Absolutely. I can send you specs on the boxes/PDUs/logic
           design - what's your email?




                                                                                                              D
                                                                                                              Bearbox v Lancium
                                                                                                               Trial Exhibit
                                                                                                                  TX742

CONFIDENTIAL                                                                                           LANCIUM00035256
                                                      Appx12427
                 Case: 23-1922           Document: 39-7                Page: 157       Filed: 01/02/2024


                                                  2019-05-05 23:45:00 +0000


                                                                                                          rnrrn
                                                                                                                   •
                                                                                                M:rrrr:
                                                                               Michael.mcnamara@lancium.com

                                                  2019-05-05 23:49:01 +0000
        Storms




   •
        +1 (985) 377-6257




                                                  2019-05-08 17:45:41 +0000
                                                                                                Michael McNamara




        Storms
                                                 Storms, can you send me those box design specs please!

                                                  2019-05-08 20:31 :39 +0000                                       •
   •
        +1 (985) 377-6257

          Yep! I'll put it together when I get home tonight




                                                                                                -- •
                                                  2019-05-08 20:31 :55 +0000




                                                                                              Thank you, sir

                                                  2019-05-09 14:44:52 +0000
        Storms
        +1 (985) 377-6257




   •      Redoing one of the spec sheets for the newer Whatsminer
          models then emailing over to you

                                                  2019-05-09 14:49:50 +0000




                                                                                              Great - thanks




                                                                                                                   •
                                                  2019-05-0915:51:01 +0000

                                                         Also, have you ever looked at building a GPU box?

                                                  2019-05-09 15:52:22 +0000
        Storms
        +1 (985) 377-6257




   •      I haven't - but conceptually it's the same . Less electrical
          load density and less CFM exhaust requirements .




CONFIDENTIAL                                                                                               LANCIUM00035257
                                                       Appx12428
                  Case: 23-1922           Document: 39-7          Page: 158        Filed: 01/02/2024




             From: Michael McNamara <michael.mcnamara@lancium.com>
                To: Justin Nolan <justinhnolan@gmail.com>
               Cc: Jon Cohen <jon.cohen@lancium.com>, jamie@cormint.com
           Subject: Re: Meeting tomorrow
              Date: Mon, 6 May 2019 14:47:12 -0400
      Attachments: Lancium_Standard_Mutual_NDA_.doc; Lancium_Introduction_and_Overview_-
                    _April_2019.pdf


   Jamie,

   Looking forward to meeting later today. Attached is our standard NDA and a background pack on us.

   Cheers,
   Michael

   On Fri, May 3, 2019 at 9:44 AM Justin Nolan <justinhnolan@gmail.com> wrote:
    Great meeting you. I look forward to connecting after this weekend to figure out how we can move this
    project forward. Thanks
    Justin

     On May 3, 2019, at 9:16 AM, Michael McNamara <michael.mcnamara@lancium.com> wrote:


     Great lunch yesterday. I think there are a number of ways to work together. Jamie, we’ll see you soon.

     On Wed, May 1, 2019 at 6:56 PM Justin Nolan <justinhnolan@gmail.com> wrote:
      Jon
      Jamie is driving and I don’t know the coordinates but the land is located in ward county

          On May 1, 2019, at 5:26 PM, Jon Cohen <jon.cohen@lancium.com> wrote:


          Great. We’ll see you then. We don’t have a reservation, so if any trouble getting a table we’ll cal an
          audible.

          In the meantime if you can send me location/ coordinates of site, I can take a look at historical LMPs
          and see which service territory and tariff rates apply.

          On Wed, May 1, 2019 at 2:40 PM Justin Nolan <justinhnolan@gmail.com> wrote:
           That works for both of us

            > On May 1, 2019, at 1:40 PM, Jon Cohen <jon.cohen@lancium.com> wrote:
            >
            > Would you both be able to meet tomorrow at 12:45 tomorrow?
            > Michael suggested lunch at Hillstone (27th), but not sure if you have other plans
            >
            >
            >

     --


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                                                                                                               Bearbox v Lancium
                                                                                                                   Trial Exhibit
                                                                                                                     TX748


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                                                      Appx12431
                  Case: 23-1922   Document: 39-7   Page: 159   Filed: 01/02/2024



        (917) 833-2720



   --

   (917) 833-2720




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                                          Appx12432
                                                                                                                Case: 23-1922




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                                                                                                                Document: 39-7




Appx12433
                                                  POWERING THE FUTURE OF COMPUTING
                                                                                                                Page: 160
                                                                                                                Filed: 01/02/2024




                                                                                            Bearbox v Lancium
                                                                                             Trial Exhibit
                                                                                                TX749


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                                                                                        D
Case: 23-1922                                                       Document: 39-7                                         Page: 161   Filed: 01/02/2024




                                                                                                                                                                                                    LANCIUM00035307
                                                                                                                                                                                                2
TOO MUCH GREEN POWER IS OVERWHELMING THE GRID
                                                                                      -
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                                                Incidences of Negative Priced Power




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                                                                                                                                          Source: National Renewable Energy Laboratory (NREL)




                                                                                                                                                                                                    CONFIDENTIAL - ATTORNEY'S EYES ONLY




                                                                                                Appx12434
                                                                                                       Case: 23-1922




                                                  DISTRIBUTED COMPUTING CAN FIX IT
                                                                                                       Document: 39-7




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                                                                                                       Page: 162
                                                                                                       Filed: 01/02/2024




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                       INTRODUCTION
                                                                  Renewable                Data Center
                                                                   Energy                 Power Demand
                                                                                                                       Case: 23-1922




                         Lancium is a new company that sits at
                          the confluence of mega trends
                          involving computing and energy


                         Lancium’s proprietary solution allows
                                                                                                                       Document: 39-7




                          specialized data centers to consume
                          power directly from renewable energy




Appx12436
                          facilities
                                                                                                                       Page: 163




                         Lancium’s innovations (30+ patents in
                          process) position the company as the
                          lowest cost provider of distributed
                          computing
                                                                               Parallel
                                                                              Computing
                                                                                                                       Filed: 01/02/2024




                                                                                                             4
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                       CURRENT MEGA TRENDS IN POWER AND COMPUTING
                                                                                                                                                Case: 23-1922
                                                                                                                                                Document: 39-7




Appx12437
                              MOVE TO 100% RENEWABLE             GROWTH OF PARALLEL               DATA CENTER POWER
                                       GRID                         COMPUTING                          DEMAND
                                                                                                                                                Page: 164




                               Renewable generation’s          Exploding demand for           Steadily increasing demand
                                share of the power grid will     perfectly parallel              for more power at ever
                                continue to grow                 applications                    increasing power densities
                               Zero variable cost leads to     These applications (ML, AI     The End of Moore’s Law
                                increasing frequency of          and simulations) are            makes electricity the key
                                negative priced electricity      unaffected by interruptions     cost driver
                                                                                                                                                Filed: 01/02/2024




                                                                                                                                      5
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                       BIOGRAPHIES
                                                                                                                                                                                                Case: 23-1922




                                                           ~
                                                           SJi
                                                                                                                               Joining June, 2019

                   Michael
                   Mk~~cel McNamara
                           M«::N~m~rn              Raymond        Cline,1 Ph.D.
                                                   IR~ymlOJllildl Ci!llilce IP~oDo             (O)lli) (:(O)~(elli)
                                                                                             JJon      Cohen            Allildlrcew
                                                                                                                        Andrew Gr!m§~~w       IP~JD\
                                                                                                                                    Grimshaw, Ph.D. 1           Eric
                                                                                                                                                                !Erk Kutscha
                                                                                                                                                                     K~t§«::~~
                                                                                                                                                                                                Document: 39-7




                     Co-Founder and Chief             Co-Founder and Chief              Chief Financial Officer            Chief Software Architect            EVP - Operations
                       Executive Officer               Computing Officer




Appx12438
                    Entrepreneur and private       Dr. Cline has over 38 years of      Highly experienced power             Professor of Computer        Eric has more than 30 years’
                 investor with deep experience            experience in high          and utilities expert with over    Science, UVA (on leave). He is   experience leading electrical
                    in the power, energy and          performance computing,           twenty years experience in           the chief designer and          engineering and project
                                                                                                                                                                                                Page: 165




                      technology industries.         distributed computing, and      the financial services industry.      architect of Mentat and         management of electrical
                   Previously, Michael covered      information technology. He            Jon was previously an             Legion. In 1999 he co-       power and control projects.
                    energy and resources at a      has held research and senior       Investment Banker at Credit        founded Avaki Corporation,        Eric was most recently at
                  number of multi-billion dollar   management level positions at        Suisse. Jon most recently         and served as its Chairman         Rockwell Automation
                  buy side institutions. Michael   Sandia National Laboratories,         covered the Power and           and Chief Technical Officer,     Intelligent Packaged Power
                  graduated from Georgetown        SAIC, EDS, HP, University of       Utilities sector at Millennium     until 2005 when Avaki was       after completing more than
                  University magna cum laude        Houston, and CGI. Dr. Cline                Management.                   acquired by Sybase.           35 years in various sales,
                  with degrees in Finance and          has a PhD in Chemical                                                                             engineering, and leadership
                           Accounting.                         Physics.                                                                                         roles at Siemens.
                                                                                                                                                                                                Filed: 01/02/2024




                                                                                                                                                                                         6
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                       COMPANY HISTORY AND TIMELINE

                                         Files Initial PCT for                   Successful ramping and
                                                                                                                                                                      Case: 23-1922




                                          Specialized Data                       thermal stress tests on                        Begins construction on
                                                Centers                           Bitcoin mining ASICS                            first data centers
                     Company                                                                                                          (projected)
                     Founded                                      Opens Houston                                 Awarded first
                                                                 Technical Facility                               patent
                                                                                                                                                                      Document: 39-7




Appx12439
                              Q4 2017                               Q2 2018                           Q4 2018                    Q2 2019
                                                                                                                                                                      Page: 166




                                                             Raises $10mm Series A                 Successful migration of
                            Raises $2mm Seed
                                                            Capital from SBI Holdings              Biomolecular modelling
                                  Capital
                                                                  (Nikkei: 8473)                        applications
                                                                                                                                                                      Filed: 01/02/2024




                                                                                                                                                            7
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                       THE PROBLEM
                                                                                                                                                                                                                                                                    Case: 23-1922




                                                                                                         Percentage of Annual Prices that are below $0/MWh
                                       9%                                                                                                                                                                                            18%
                                                                   9                                                                          0                                                 -     Negative Price Fre quency RT
                                       8%                                                                                                                                                                                            16%
                                                                                                                                                                                                -     Negative Price Frequency DA
                                       7%                                                                0                                                                                                                           14%
                                                                                                                                                                                                • • O• • VRE Penetration
                                                               0                                                                          p
                                 cu
                                 ; 6%                                                                                                                                                                                                12% C
                                 .c                                                                                                   p                                                                                                    0
                                 Ill                                                                !)                                                                                                                                   ·.;::;
                                                           9                                                                      0
                                 -~ 5%                                                                                                                                                                                               10% ~
                                                                                                                                                                                                                                                                    Document: 39-7




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                                 n.                                                        d                                                                                                                                                 C
                                 ~ 4%                  0                            o ·d                                                                                                                                             8% ~
                                                                                                                              0                                                                                                             w
                                 i                                             ci                                                                                               0                                                           a:




Appx12440
                                 r 3%                                                                                                                                      ci                                                        6%     >
                                 z                                                                                        9                                          r:P
                                                                           9
                                                                                                                     .o                                          p
                                       2%                              p                                         0                                                                                                                   4%
                                                                                                                                                             d
                                                                                                                                                                                                                                                                    Page: 167




                                       1%                                                                                                                                                                                            2%

                                       0%                                                                                                                                                                                            0%



                                                  CAISO                     ERCOT                                  SPP                            I         MISO                      PJM            NYISO                 ISO-NE
                                                  (SPlS)                   (North)                           (OKGE/South Hub)                         (Cinergy/Indiana)             (Western)       (Zone G)               (Mass)



                                   Source: UC Berkeley
                                                                                                                                                                                                                                                                    Filed: 01/02/2024




                                                                                                                                                                                                                                                          8
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                       DISTRIBUTED COMPUTING IS THE ANSWER
                        Bring the solution directly to the problem
                                                                                                                                                                                             Case: 23-1922
                                                                                                                                                                                             Document: 39-7




Appx12441
                                                                                                                     F
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                                                                                                                                                                 ll:!b!I




                                 MORE TRANSMISSION?                  BATTERY OR STORAGE?               COMPUTE AT THE SOURCE
                                                                                                                                                                                             Page: 168




                                • Too expensive                      • Currently too expensive         • Consumes excess power directly
                                • Cannot get permitted               • Shifts availability but not       from the facility

                                • No near term projects on horizon     incremental demand              • Ramps up and down based on
                                  in major renewable regions         • Price spread in wind corridor     power availability and price
                                                                       does not support construction   • Perfectly suited for parallel
                                                                                                         computing applications
                                                                                                                                                                                             Filed: 01/02/2024




                                                                                                                                                                                   9
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                       HOW CAN DISTRIBUTED COMPUTING WORK USING
                       ONLY WIND POWER?
                                                                                                                                                                Case: 23-1922




                       Uptime?
                       Uptime?                        Target specific applications and control server power rapidly (utilize intermittent power
                                                      availability)


                       Lost Work?
                       Lost Work?                     Checkpoint application status and move jobs as needed (no redundancy required)
                                                                                                                                                                Document: 39-7




                       Power Surges?
                       Power Surges?              _   Use software to dynamically control servers (no UPS needed)




Appx12442
                       Temperature Control?
                       Temperature Control?           Only run when power is available and inexpensive (no HVAC required)
                                                                                                                                                                Page: 169




                       Backup
                       Backup Power?
                              Power?                  Not necessary - Lancium computing does not require grid power so no Transmission &
                                                      Distribution charges
                                                                                                                                                                Filed: 01/02/2024




                                                                                                                                                     10
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                            LANCIUM’S BENEFIT TO THE OPERATOR AND THE GRID
                              LANCIUM’S BENEFIT TO THE OPERATOR AND THE GRID
                                                                                                                                                                                                   Case: 23-1922




                                         Lancium Typical Day - 5 MW Initial Phase (Illustrative)                          Lancium power consumption follows the generation
                            180                                                            -    Pilot Main Power (5 MW)
                                                                                                                          profile of wind projects
                            160                          -   Auxiliary Power (SMW Pilot)

                            140
                      ~ 120
                      l!:
                      --:- 100                                                                                            Data centers spin up and down rapidly to match load
                      0
                       "
                       :I 80
                      0.
                             60                                                                                           with power availability and price
                             40
                             20
                                                                                                                                                                                                   Document: 39-7




                              0
                                  0                            10      12       14         16      18      20       22    Lancium will spin down during periods of high priced
                                                             Hour Beginning




Appx12443
                                                                                                                          power to enable:
                                      Lancium Typical Day - 50 MW Example Full Build (Illustrative)
                            200
                            180
                                                               - - • Full Build Main Power (50 MW)• Example
                                                                                                                                                                                                   Page: 170




                            160                                 - - • Auxiliary Power (SO MW Full Build)• Example          Generator to maximize profit
                            140
                     ~ 120
                      l!:
                     -:- 100

                      ~"     80                                                                                            Stronger, more resilient Grid
                             60
                             40
                             20

                             0 ~-------------------------------------------                                                Reduced data center thermal stress
                                                              10       12       14         16     18       20       22
                                                             Hour Beginning
                                                                                                                                                                                                   Filed: 01/02/2024




                                                                                                                                                                                        11
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                       CHALLENGES ADDRESSED: LANCIUM MOAT
                        Multi-disciplined engineering approach
                                                                 • Fundamental rethinking of data center design, power
                                                                                                                                           Case: 23-1922




                                                                   market structure and computing paradigms

                                                                 • Addressed via engineering advancements and in-house
                                                                   innovations


                                                                    Regulatory and transaction structure
                                                                                                                                           Document: 39-7




                                                                    Electrical engineering including power




Appx12444
                                                                    factor and harmonics management
                                                                                                                                           Page: 171




                                                                    Software development and individual server
                                                                    control

                                                                    Thermal control and heat resistance insights
                                                                                                                                           Filed: 01/02/2024




                                                                                                                                12
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                                                                                                                                                               Case: 23-1922




                    LANCIUM COST ADVANTAGES
                                                                                                                                                               Document: 39-7




Appx12445
                              CAPITAL  COSil§:
                              CAIP!lAl COSTS:                                       OIPIEIRAl!NG COSil§:
                                                                                    OPERATING COSTS:
                              • Very inexpensive to site and build                  • World’s cheapest power with no transmission and
                                                                                                                                                               Page: 172




                              • Minimal real estate value in Wind Corridor            distribution charges

                              • Entirely air cooled with no expensive HVAC system   • Excellent Power Use Effectiveness (PUE) with limited
                                                                                      parasitic loss
                              • No redundant systems required
                                                                                    • Flexible clocking ability
                                                                                                                                                               Filed: 01/02/2024




                                                                                                                                                    13
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                                                                                                                        Case: 23-1922




                                                  •Exclusive ability to utilize exceptionally cheap
                          LANCIUM                  but intermittent renewable power
                                                                                                                        Document: 39-7




                       COMPETITIVE                •In excess of 30 patents filed or in process




Appx12446
                       ADVANTAGES                 •Enables more renewable generation
                                                                                                                        Page: 173
                                                                                                                        Filed: 01/02/2024




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                                                                    Case: 23-1922




                          GO TO MARKET
                          STRATGEY
                                                                    Document: 39-7




Appx12447
                                                                    Page: 174
                                                                    Filed: 01/02/2024




                                                         15
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                                                                                                                  Case: 23-1922




                                         1
                                         'Free power
                                        “Free  power is
                                                     is here, it's just
                                                        here, it’s just unevenly distributed"
                                                                        unevenly distributed”
                                                                                                                  Document: 39-7




Appx12448
                                                                                                                  Page: 175
                                                                                                                  Filed: 01/02/2024




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                       CORPORATE STRATEGY
                                                        CORPORATE STRATEGY
                                                                                                                                                                Case: 23-1922




                       Capture the Potential
                       Capture the Potential         Lancium has executed term sheets with four of the world’s largest power producers
                       Market
                       Market                        covering 100MW+ of power


                       Move Fast.. .
                       Move Fast…                    The company is proceeding with pilot stage projects at each power producer to solidify
                                                     first mover and power price advantage
                                                                                                                                                                Document: 39-7




                       …but
                       ... but in
                               in aa Staged
                                     Staged Manner
                                            Manner   Pilot stage projects require limited capital with Lancium retaining option to commence
                                                     commercial stage expansion




Appx12449
                       Up-Sell
                       Up-Sell Rack
                               Rack Space
                                    Space            The data centers will initially be filled with Crypto mining ASICs and backfilled with High
                                                                                                                                                                Page: 176




                                                     Value distributed computing over time


                       Target Long-Term
                       Target Long-Term Deals
                                        Deals        Lancium plans on signing long term deals for distributed computing with customers in
                                                     Industry, Government and Academia
                                                                                                                                                                Filed: 01/02/2024




                                                                                                                                                     17
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                       STAGED GROWTH: DATA CENTER LEVEL
                       Grow footprint to match demand and financing availability
                                                                                                                              Case: 23-1922




                                             PILOT STAGE: 6MW                      COMMERCIAL STAGE: 35MW
                                                                                                                              Document: 39-7




Appx12450
                                                                                                                              Page: 177
                                                                                                                              Filed: 01/02/2024




                                                                                                                   18
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                       STAGED GROWTH: RACK LEVEL
                       Distributed computing hardware will displace Crypto ASICs over time
                                                                                                               Case: 23-1922
                                                                                                               Document: 39-7




Appx12451
                                                                                                               Page: 178
                                                                                                               Filed: 01/02/2024




                                                                                                    19
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                                                                                                                      Case: 23-1922




                    LEAD WITH CRYPTOCURRENCY MINING
                                                                                                                      Document: 39-7




                       Requires
                       Requires no
                                no sales team and
                                   sales team and provides
                                                  provides immediate
                                                           immediate revenue
                                                                     revenue




Appx12452
                       Extremely
                       Extremely cheap to install
                                 cheap to install on
                                                  on per
                                                     per KW
                                                         KW basis
                                                            basis
                                                                                                                      Page: 179




                       Crypto
                       Crypto ASICs are durable
                              ASICs are durable and
                                                and heat
                                                    heat resistant
                                                         resistant

                       Requires
                       Requires limited
                                limited data
                                        data center
                                             center fabric and network
                                                    fabric and network

                       Bitcoin
                       Bitcoin mining
                               mining provides
                                      provides steady
                                               steady margin
                                                      margin for
                                                             for those
                                                                 those with very low
                                                                       with very low priced
                                                                                     priced power
                                                                                            power
                                                                                                                      Filed: 01/02/2024




                                                                                                           20
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                       MARKET STRATEGY FOR CRYPTO RACK SPACE
                                                                                                                                             Case: 23-1922




                                                  BULL MARKET                            BEAR MARKET
                                  (high ratio of block reward to hash rate)     (low ratio of block reward to hash rate)
                                                                                                                                             Document: 39-7




                                Enter into multi-year hosting                 Purchase machines at very low or
                                 arrangements on existing or new                scrap value to capitalize on Lancium




Appx12453
                                 build rack space                               energy price advantage
                                                                                                                                             Page: 180




                                Run legacy merchant machines or               Enter into Vendor Finance
                                 bring machines “out of retirement”             arrangements with OEMs
                                                                                                                                             Filed: 01/02/2024




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                                BITCOIN MINING ECONOMIC CONSIDERATIONS
                                       70,000                                                                    12,000
                                                                                                                                           Extremely rational commodity business
                                                                                                                                                                                                         Case: 23-1922




                                       60,000
                                                                                                                 10,000
                                                                                                                                           Due to the End of Moore’s Law, limited
                                       50,000
                                                                                                                                           availability to improve ASICs
                                                                                                                 8,000

                                       40,000                                                                                              Operating cost (electricity) is now the key
                                                                                                                 6,000                     major variable
                                                                                                                                                                                                         Document: 39-7




                                       30,000




                     Hashrate (PH/s)
                                                                                                                         BTC Price (USD)




Appx12454
                                                                                                                 4,000                     Bitcoin mining profitability is driven by
                                       20,000
                                                                                                                                           Bitcoin price, Hash Rate and electricity
                                                                                                                 2,000
                                                                                                                                                                                                         Page: 181




                                       10,000
                                                                                                     Hashrate                              Recently, hash rate has been extremely


                                                                                               I I
                                                                                                     BTC Price                             responsive to Bitcoin price moves which
                                                                                                                0
                                          03/08/18 04/27/18 06/16/18 08/05/18 09/24/18 11/13/18 01/02/19 02/21/19                          creates embedded margin if one has access to
                                                                                                                                           very cheap electricity
                                                                                                                                                                                                         Filed: 01/02/2024




                                                                                                                                                                                              22
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                            BTC MINING REVENUE (S9): EMBEDDED MARGIN
                                350
                                                                                                                                                 Case: 23-1922




                                300
                                                                                                          BTC Rev/MWh
                                                                                                          Lancium Cost
                                250



                                200
                                                                                                                                                 Document: 39-7




                    $ per MWh



Appx12455
                                150
                                                                                                                                                 Page: 182




                                100



                                 50



                                 0
                                03/08/18          04/27/18   06/16/18   08/05/18   09/24/18   11/13/18   01/02/19   02/21/19
                                                                                                                                                 Filed: 01/02/2024




                                                                                                                                      23
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                       AFTER BITCOIN MINING? THE NEXT APPLICATIONS
                                                                                                                                             Case: 23-1922




                                                                 D~~(CIF~!P)it~©lril
                                                                 Description                         ~aim!P)i(e;~
                                                                                                     Examples


                         High Throughput Computing,
                         High Throughput Computing,     Highest value computing for        Fluid Dynamics, Large Machine
                               (Tightly Coupled)        major Government, Industrial         Learning Studies, Weather
                         High
                         High Performance
                              Performance Computing
                                           Computing      and Academic research                      Modelling
                                                                                                                                             Document: 39-7




                                                       Parallel computing that does not    Monte Carlo Modelling, Small




Appx12456
                         High Throughput Computing,
                         High Throughput Computing,
                                 (Loosely Coupled)
                                                        require expensive and complex       Machine Learning Studies,
                                                                  networking                    Image Rendering
                                                                                                                                             Page: 183




                                                       Bitcoin mining will be deployed
                            Low
                            Low Value Computing
                                Value Computing        first due to ease and low capital          Proof-of-Work
                                                                      cost
                                                                                                                                             Filed: 01/02/2024




                                                                                                                                  24
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                       TOTAL ADDRESSABLE MARKET
                                                                                                                                                  Case: 23-1922




                                                                  Total Addressable   Highly Suited to   Highly
                                                                                                         H~g~!y Su.D~t~rdl
                                                                                                                 Suited t© to
                                                                    Market (USD)        Lancium %        Lancium    (USD)
                                                                                                         l©Jwudu.Dm (USD)


                        High
                        High Performance
                             Performance Computing
                                         Computing                     $10 B               30%+                 $3
                                                                                                                $3 B
                                                                                                                   B
                                                                                                                                                  Document: 39-7




                      Cloud and Computing
                      Cloud and Computing Industries
                                          Industries                   $20 B               25%+                 $5
                                                                                                                $5 B
                                                                                                                   B




Appx12457
                        Hyperscale
                        Hyperscale and
                                   and Consumer
                                       Consumer
                                                                       $20 B               25%+                 $5
                                                                                                                $5 B
                                                                                                                   B
                                                                                                                                                  Page: 184




                                Internet
                                Internet


                           Low Value Computing
                           Low Value Computing                          $3 B              100%+                 $3
                                                                                                                $3 B
                                                                                                                   B


                     Source: NVIDIA, Lancium internal estimates
                                                                                                                                                  Filed: 01/02/2024




                                                                                                                                       25
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                                       WHY WIND? THE DISTRIBUTION OF POWER GENERATION
                                                                                                                                                                                                               Case: 23-1922




                                                                POWER DURATION CURVE
                                  100.0%                                                                                                             Wind production distribution allows for a
                                                        Phase I: 5 MW @ ~89%
                                       90.0%                                                                                                         tiered data center installation
                                                               utilization

                                       80.0%

                                                                            Up to 35 MW FLEX @                                                       Lancium deal arrangements call for “first
                                       70.0%
                                                                              ~75% utilization
                                                                                                                                                     call” on power with high priced hours
                                       60.0%
                                                                                                                                                                                                               Document: 39-7




                                                                                                                                                     retained by the generator
                                       50.0%




Appx12458
                                       40.0%




                     % of Hours > MW
                                                                                                                                                     Some power is nearly always available to
                                       30.0%
                                                                                                                                                     Lancium data centers
                                                                                                                                                                                                               Page: 185




                                       20.0%


                                       10.0%
                                                                                                                                                     Available power is routed to most valuable
                                        0.0%




                                               0
                                                                                                                                                     computing hardware first




                                                   10
                                                           20
                                                                 30
                                                                       40
                                                                               50
                                                                                    60
                                                                                          70
                                                                                                 80
                                                                                                      90
                                                                                                           100
                                                                                                                 110
                                                                                                                       120
                                                                                                                             130
                                                                                                                                   140
                                                                                                                                         150
                                                                                                                                               160




                                                                                               MW Output
                                                                                                                                                                                                               Filed: 01/02/2024




                                                                                                                                                                                                    26
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                        WHY WIND? THE DISTRIBUTION OF POWER GENERATION
                                                                                                                                                                 Case: 23-1922




                        160


                        140
                                                                                                            Low value computing (light blue) will
                                                                                                            serve as a buffer and absorb the
                        120
                                                                                                            majority of wind power variability
                        100


                         80                                                                                 Lancium has proven the resiliency of
                                                                                                                                                                 Document: 39-7




                   MW
                                                                                                            bitcoin mining hardware to constant and
                         60
                                                                                                            fast ramping




Appx12459
                         40


                         20                                                                                 Higher value computing (gray) will
                                                                                                                                                                 Page: 186




                                                                                                            receive nearly constant power and will
                          0
                           9/30    10/1     10/2   10/3   10/4   10/5   10/6   10/7   10/8   10/9   10/10   see rare and short periods of downtime
                        -20
                                                                                                                                                                 Filed: 01/02/2024




                                                                                                                                                      27
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                       WIND ENGINEERING CONSIDERATIONS
                       Lancium has developed several interconnection options to fit the needs of its wind partners
                                                                                                                                                                                               Case: 23-1922




                            Lancium has worked on two potential                              1. Feeder Direct-Connect
                                                                                                                                                           Dimblltion CfOI
                                                                                                                                                                HVAC)
                             options: (1) Feeder Direct-Connect or (2)                                                             ~nsformor               -/

                             Main Transformer Connect                                         Junct,on box ,             swit~           r-.
                                                                                                                   ·f "- - - ' :,~ o
                                                                                                                             brca kor]   ,                      ter
                            Regardless of approach, Server Facility                                                                         Dat a cen
                                                                                                         To Substation
                                                                                                                                                                                               Document: 39-7




                             would be behind a breaker-switch and/or
                             other equipment to enable isolation




Appx12460
                                                                                              2 . Main,Transformer Connect
                            Isolation equipment to be in complete                                                                             Subs ta tlon/
                                                                                      Dif.l!ihu tion LIJ"1"e tfa, _·1
                                                                                              HVAC)
                                                                                                                                             I_Main Transforrn er
                                                                                                                                                                                               Page: 187




                             control of wind project (except in cases of                                                                               {

                             curtailment for safety purposes by Lancium)                             \
                                                                                                         \               ~
                                                                                                   D                    '~~M
                                                                                                Data ce nter
                                                                                                                                                                                               Filed: 01/02/2024




                                                                                                                                                                                    28
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                       ILLUSTRATIVE SINGLE LINE DIAGRAM
                       Conceptual SLD for substation interconnect
                                                                                                  Case: 23-1922
                                                                                                  Document: 39-7




                                                                        l
                                                                            i
                                                                        I




Appx12461
                                                                    I

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            CONFIDENTIAL - ATTORNEY'S EYES ONLY                                 LANCIUM00035334
                                                                                                                  Case: 23-1922




                                                  The World’s Only Truly Green Computing
                                                                                                                  Document: 39-7




                                            “Run cycles at Lancium and help save the planet.”




Appx12462
                                                                                                                  Page: 189
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                                             CONFIDENTIALITY AGREEMENT

              This Confidentiality Agreement (this "Agreement") is delivered this ____ day of __________, 201__, by
      and between Lancium, LLC, for itself and on behalf of its affiliates, successors and assigns ("Lancium") and
      ______________, for itself and on behalf of its affiliates, successors and assigns ("____________"). Any party
      receiving information in connection with the Matter shall, together with its affiliates, be considered a "Receiving
      Party" with respect to such information, and any party disclosing information in connection with the Matter shall,
      together with its affiliates, be considered as a "Disclosing Party" with respect to such information. In connection
      with the [SUBJECT MATTER] (the "Matter"), each Receiving Party has requested access to certain information
      which is either non-public or proprietary in nature. In consideration for and as a condition to a Disclosing Party
      furnishing such information, each Receiving Party agrees to treat any Confidential Material in accordance with the
      provisions set forth below, acknowledging the confidential and proprietary nature of such Confidential Material.

               As used herein, the term "Confidential Material" means any and all information concerning a Disclosing
      Party, its affiliates and subsidiaries and its customers which is furnished to a Receiving Party or its Representatives
      by or on behalf of a Disclosing Party (including any information containing, reflecting or generated from such
      information), whether furnished before or after the date of this Agreement and regardless of the manner in which it
      is furnished, including but not limited to, information regarding a Disclosing Party’s inventions, products, software,
      trade secrets, know-how, technical information, specifications, original works of authorship, developments, concepts,
      improvements, designs, discoveries, ideas, processes, techniques, formulas, trademarks, data and other intellectual
      property, business plans and strategies, existing or proposed bids, technical or engineering developments, existing
      or proposed research projects, knowledge gained through observation of or access to facilities, financial or business
      information or projections, employees, investments, marketing plans and strategies, pricing and cost information,
      negotiation strategies, training information and materials, information, identities, usages or requirements of existing or
      potential suppliers and customers, and in each case shall include all notes, analyses, memoranda or other writings
      containing Confidential Material prepared by or on behalf of Receiving Party or its employees, affiliated entities
      (including officers or directors of such entities), representatives, joint venturers, business partners or agents
      (collectively the "Representatives").

               Nothing contained herein shall be construed as restricting disclosure or use of the following information:
      (a) information which, prior to the time of disclosure by a Disclosing Party, was known to a Receiving Party as
      evidenced by its written records; (b) information which, at the time of disclosure to a Receiving Party, was in the
      public domain; (c) information which, after disclosure to a Receiving Party, becomes part of the public domain
      other than through the fault or negligence of a Receiving Party or its Representatives, or as a result of a breach of
      this Agreement by the Receiving Party or its Representatives; or (d) information which is disclosed to a Receiving
      Party in good faith by a third party who was not, nor is not, under any obligation of confidence to Disclosing Party
      at the time the third party discloses the information to Receiving Party.

              It is understood that the Receiving Party may disclose any of the Confidential Material to those
      Representatives who require such material for the purpose of the Matter (provided that such Representatives shall
      be informed of the confidential nature of the Confidential Material and shall be bound by the terms and conditions
      hereof as if they were a party hereto). In any event, each Receiving Party will be responsible for any breach of this
      Agreement by its Representatives. Each Receiving Party agrees that the Confidential Material will be kept
      confidential by it and its Representatives and, except with the specific prior written consent of a Disclosing Party or
      as expressly otherwise permitted by the terms hereof, will not be disclosed by a Receiving Party or its
      Representatives. Each Receiving Party further agrees that such Receiving Party and its Representatives will not use
      any of the Confidential Material for any reason or purpose other than for the Matter and that the Confidential
      Material shall not be used in any way detrimental to a Disclosing Party. Each Receiving Party also agrees to be
      responsible for enforcing the confidentiality of the Confidential Material and agrees to take such action, legal or
      otherwise, to the extent necessary to prevent any disclosure of the Confidential Material by any of its
      Representatives.




                                                                                                                        D
      10101345v1 11/28/2018 10:48 AM                                                                         7816.001     Bearbox v Lancium
                                                                                                                           Trial Exhibit
                                                                                                                              TX750

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                                                          Appx12463
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               Without the prior written consent of a Disclosing Party, neither a Receiving Party nor its Representatives
      will disclose to any person (i) the fact that the Confidential Material has been made available to it or that a
      Receiving Party has inspected any portion of the Confidential Material, or (ii) the fact that any discussions are
      taking place in connection with the Matter, or relating to a possible relationship with a Receiving Party, including
      the status thereof.

               In the event that a Receiving Party or any of its Representatives become legally compelled (by oral
      questions, interrogatories, requests for information or documents, subpoena, civil investigative demand or similar
      process) to make any disclosure which is prohibited or otherwise constrained by this Agreement, such Receiving
      Party or such Representative, as the case may be, will (i) provide the Disclosing Party with prompt notice of such
      request(s) so that it may seek an appropriate protective order or other appropriate remedy and/or waive the
      Receiving Party's or such Representative's compliance with the provisions of this Agreement and (ii) cooperate
      with the Disclosing Party (at the Disclosing Party's expense) in its efforts to decline, resist or narrow such requests.
      In the event that such protective order or other remedy is not obtained and a Receiving Party or any its
      Representatives is compelled to disclose any of the Confidential Material, (i) only that portion of the Confidential
      Material that is legally required to be disclosed shall be furnished by the Receiving Party and (ii) the Receiving
      Party shall use its best efforts to obtain (or to cooperate with the Disclosing Party in its efforts to obtain) an order or
      other reliable assurance that confidential treatment will be accorded any Confidential Material so disclosed.

              If a Receiving Party determines that it does not wish to proceed with a relationship or transaction related to
      the Matter, it shall promptly notify the Disclosing Party of such decision. At such time, or at any time upon the
      written request of a Disclosing Party, the Receiving Party shall (a) promptly destroy all copies of the Disclosing
      Party's written Confidential Material in the Receiving Party's possession and direct its Representatives to destroy
      any written Confidential Material in its possession, (b) cause the deletion from all immediately accessible computer
      storage systems of any electronic versions of the Confidential Material, and (c) promptly destroy all analyses,
      compilations, summaries, studies and other material prepared by the Receiving Party or its Representatives which
      are based in whole or in part on, or otherwise containing or reflecting any of, the Confidential Material. An officer
      of the Receiving Party shall certify any such destruction to the Disclosing Party in writing. Notwithstanding the
      foregoing, a Receiving Party shall be permitted to retain an electronic copy of any Confidential Material in
      compliance with any bona fide, preexisting records retention policy solely for archival purposes. Any Confidential
      Material that is not so destroyed, including without limitation any oral Confidential Material, shall remain subject to
      the confidentiality and other obligations set forth in this Agreement.

                Each Receiving Party understands that neither a Disclosing Party nor its Representatives or agents make
      any representation or warranty (express or implied) as to the accuracy or completeness of the Confidential Material.
       Each Receiving Party agrees that neither a Disclosing Party nor its Representatives or agents shall have any
      liability to a Receiving Party or any of its Representatives resulting from the use of the Confidential Material by the
      Receiving Party or such Representatives. The agreements set forth in this paragraph may be modified or waived
      only by a separate writing signed by the Disclosing Party and the Receiving Party expressly so modifying or
      waiving such agreements.

               Each Receiving Party acknowledges that money damages would be both incalculable and an insufficient
      remedy for any breach of this Agreement by it or its Representatives and that any such breach would cause the
      Disclosing Party irreparable harm. Accordingly, each Receiving Party agrees that in the event of any breach or
      threatened breach of this Agreement, the Disclosing Party shall be entitled, without the requirement of posting a
      bond or other security, to equitable relief, including injunctive relief and specific performance. Such remedy shall
      not be the exclusive remedy for any breach of this Agreement but shall be in addition to all other remedies available
      at law or equity to a Disclosing Party.

              The confidentiality restrictions imposed hereby shall continue for a period of two (2) years from the date of
      this Agreement. This Agreement shall be governed by and construed in accordance with the laws of the State of
      Delaware.
                                                                 -2-


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                                                           Appx12464
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               It is understood and agreed that no failure or delay by a Disclosing Party in exercising any right, power or
      privilege hereunder shall operate as a waiver thereof, nor shall any single or partial exercise thereof preclude any
      other or further exercise thereof or the exercise of any right, power or privilege hereunder. If at any time the
      duration, scope, area or restrictions in this Agreement are found to be invalid, unreasonable or unenforceable under
      circumstances then existing, the parties agree that the maximum duration, scope, area or restrictions which are
      valid, reasonable and enforceable under such circumstances shall be substituted for the stated duration, scope, area
      or restrictions and that a court shall be allowed and directed to revise the terms contained herein to cover the
      maximum duration, scope, area and restriction permitted by law. If a court declines to amend this Agreement as
      provided herein, the invalidity of any one or more of the words, phrases, sentences, clauses or sections contained in
      this Agreement shall not affect the enforceability of the remaining portions of this Agreement or any part thereof,
      all of which are separate and independent and inserted conditionally on their being valid in law, and, in the event
      that any one or more of the words, phrases, sentences, clauses, paragraphs or sections contained in this Agreement
      shall be declared invalid, this Agreement shall be construed as if such invalid word or words, phrase or phrases,
      sentence or sentences, clause or clauses, paragraph or paragraphs, or section or sections had not been inserted.

              This Agreement may be executed in counterparts, each of which shall be deemed an original and both of
      which, taken together, shall constitute one and the same instrument. Signatures for the parties transmitted by
      facsimile or other electronic means shall be deemed to be their original signatures for any purpose whatsoever.

               IN WITNESS WHEREOF, each of the undersigned hereby executes this Confidentiality Agreement as of
      the date set forth above.

                                                   LANCIUM, LLC


                                                   By: __________________________________________
                                                   Print Name:____________________________________
                                                   Its: ___________________________________________


                                                   [NAME OF ENTITY]


                                                   By: __________________________________________
                                                   Print Name: ___________________________________
                                                   Its: __________________________________________




                                                              -3-


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                                                        Appx12465
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              From: Michael McNamara <michael.mcnamara@lancium.com>
                 To: Ian Rock <ian.rock@lancium.com>, Raymond Cline <recline@lancium.com>
            Subject: Fwd: FW: ERCOT Energy Curves Have Been Updated
               Date: Wed, 14 Aug 2019 11:48:54 -0500
        Importance: Normal
       Attachments: Lancium_August_2019_Renewal_-_24_months.docx


   We can fix our power price at 34.62 for 1.3 mw for 24 months. This would allow us to capture all that
   revenue above that level once we spin down.

   Any objections or thoughts?

   ---------- Forwarded message ---------
   From: Todd Wilson <Todd.Wilson@calpinesolutions.com>
   Date: Wed, Aug 14, 2019 at 11:45 AM
   Subject: RE: FW: ERCOT Energy Curves Have Been Updated
   To: Michael McNamara <michael.mcnamara@lancium.com>
   CC: Joe Nesser <Joe.Nesser@calpinesolutions.com>



   Michael,



   Attached is a contract for the fixed price of $34.62, 24 months, 1.3 MW ATC.



   Best Regards,



   Todd


   Todd Wilson
   Cell: (919) 414-7986




   From: Michael McNamara [mailto:michael.mcnamara@lancium.com]
   Sent: Wednesday, August 14, 2019 11:29 AM
   To: Todd Wilson <Todd.Wilson@calpinesolutions.com>
   Subject: Re: FW: ERCOT Energy Curves Have Been Updated



   External Sender: Use caution with links/attachments.

   Let’s do 24 month please



   On Wed, Aug 14, 2019 at 11:24 AM Todd Wilson <Todd.Wilson@calpinesolutions.com> wrote:

      Pricing just came in for our desk: pricing is fixed price energy only, all other costs pass-through at
      cost. Due to your historical usage the most we can fix in terms of volume is 1.3 MW’s for now,
      we can add to that as your load increases.




                                                                                                                     D
                                                                                                                     Bearbox v Lancium
                                                                                                                      Trial Exhibit
                                                                                                                         TX756

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                                                               Appx12466
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     Pricing is for start date of August 16th.



     1.3 MW fixed price round the clock for 24 months = $ 34.62 per Mwhr.



     1.3 MW fixed price round the clock for 36 months = $ 34.53 per Mwhr.



     Let me know what you think.



     Best Regards,



     Todd


     Todd Wilson
     Cell: (919) 414-7986




     From: Michael McNamara [mailto:michael.mcnamara@lancium.com]
     Sent: Wednesday, August 14, 2019 8:45 AM
     To: Todd Wilson <Todd.Wilson@calpinesolutions.com>
     Subject: Re: FW: ERCOT Energy Curves Have Been Updated



     External Sender: Use caution with links/attachments.

     Ok



     On Wed, Aug 14, 2019 at 7:38 AM Todd Wilson <Todd.Wilson@calpinesolutions.com> wrote:

        Will have pricing for you today but as you can see pricing has gone up $1.00 for the 24 month
        term. I will speak with the wholesale desk to see how the market is shaping up for later today.



        Best Regards,



        Todd


        Todd Wilson
        Cell: (919) 414-7986




        From: Mark Ruggles
        Sent: Wednesday, August 14, 2019 7:32 AM
        To: CS ERCOT Desk <CSERCOTDesk@calpinesolutions.com>; CS ERCOT Sales Team




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                                                             Appx12467
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             <CSERCOTSalesTeam@CalpineSolutions.com>; Ercot_desk@champion.energy; CES.Dept_DL-
             C&I@calpine.com; Marcus Dotson <MDotson@cavallotspp.com>; Jattkisson@cavallotspp.com;
             tdortch@cavallotspp.com; LuAnn Morgan <lmorgan@cavallotspp.com>; Byron Gannaway
              - - - - - - - - - - - - - Patricia Young <pyoung@cavallotspp.com>
             <BGannaway@cavallotspp.com>;
             Subject: ERCOT Energy Curves Have Been Updated




                        Price Change Since Last Upload $/MWh                                         Day-over-Day Price Change $/MWh
                   between Tue, Aug 13, 2019 5:35 PM          (Pacific)                      between Tue, Aug 13, 2019 12:00 AM          (Pacific)
                       and Wed, Aug 14, 2019 7:31 AM          (Pacific)                          and Wed, Aug 14, 2019 7:31 AM           (Pacific)
                   Term    North Hub Hous Hub South Hub West Hub                             Term     North Hub Hous Hub South Hub West Hub
                   3 Mo        0.48        0.48        0.48       0.48                       3 Mo        0.48        0.48         0.48       0.48
                   6 Mo        0.41        0.41        0.41       0.41                       6 Mo        0.41        0.41         0.41       0.41
                   12 Mo       1.36        1.36        1.36       1.36                       12 Mo       1.36        1.36         1.36       1.36
                   24 Mo       1.00        1.00        1.00       1.00                       24 Mo       1.00        1.00         1.00       1.00
                   36 Mo       0.88        0.88        0.88       0.88                       36 Mo       0.88        0.88         0.88       0.88
                   48 Mo       0.78        0.78        0.78       0.78                       48 Mo       0.78        0.78         0.78       0.78
                   60 Mo       0.72        0.72        0.72       0.72                       60 Mo       0.72        0.72         0.72       0.72




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   error, please immediately notify the sender by return e-mail and delete this e-mail from your computer
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                                                                          Appx12468
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                                     ADDENDUM FOR FIXED PRICE, FIXED VOLUME ELECTRICITY
                                           with Settlement Interval Balancing (ERCOT)
                                                            Reference:
                                        ELECTRICITY SALES AND PURCHASE AGREEMENT
                                          Between Calpine Energy Solutions, LLC ("Seller")
                                                    And LANCIUM LLC ("Buyer")
                                               As of June 18, 2018 (“Effective Date”)
                                                 Addendum Date: August 14, 2019


           This Addendum (the “Addendum”) supplements the Electricity Sales and Purchase Agreement referred to above (the
           “Agreement”). The Parties hereby agree to the terms and conditions set forth herein for Buyer’s Facilities served at the
           Delivery Point. Capitalized terms not otherwise defined in this Addendum shall have their meanings set forth elsewhere
           in the Agreement, including its Appendices.

      1.   PRODUCT:
           Contract Prices for Electricity set forth in this Addendum include each component identified in the table set forth below
           that is indicated by an [X], which are referred to collectively in this Addendum as “Electricity.”

                                                              ELECTRICITY:
                           ~          Electric Energy
                           □          Ancillary Services (Reg-Up, Reg-Down, Responsive Reserve, and Non-Spin)
                           □          ISO QSE/SC Charges and Fees
                           □          RUC Make-Whole Uplift, RUC Clawback, and RUC Decommitment
                           □          Distribution/Transmission Losses/UFE (collectively, “Line Losses”)
                           □          Locational Basis

      2.   DELIVERY PERIOD:
           This Addendum shall be in full force and effect as of the Addendum Date. The terms set forth herein shall apply from the
           Start Date through the End Date:


                                                   Start Date:                  End Date:
                                                 August 16, 2019               July 31, 2021

      3.   DELIVERY POINT:

                                   Market Area                    Supply Point               Delivery Point
                                     ERCOT                     Houston Trading Hub         Houston Load Zone

      4.   PRICING:
           4.1 Contract Price. For each settlement interval, Buyer shall pay the following Contract Price per MWh for the Contract
               Quantity of Electricity set forth in the table below:

                                                           Contract Price (in US$/MWh)
                                                                    $34.62
               The Contract Price set forth above includes only the components set forth in Section One of this Addendum that are
               marked with an [X]. All other charges shall be passed through directly to Buyer. The Contract Price reflects the
               value related to Congestion Revenue Rights.

           4.2 Monthly Settlement. Buyer’s invoice shall reflect charges based on Buyer’s usage as set forth below. If Line Losses
               are not included in Section 1, Buyer’s metered usage shall be adjusted for Line Losses. If Line Losses are included
               in Section 1, the Excess Quantity shall be adjusted for Line Losses.

               4.2.1     During any settlement interval, if Buyer’s usage exceeds the Contract Quantity set forth below (“Excess
               Quantity”), Buyer shall pay Seller the real-time price for energy and all related delivery charges, as determined by
               ERCOT at the Delivery Point, plus $1.00 per MWh for the Excess Quantity. Buyer shall also pay RUC capacity short
               charges on the Excess Quantity. For the purpose of determining RUC capacity short charges, Buyer acknowledges
               that the ERCOT real time market will be considered the source for all of the Excess Quantity.

               4.2.2     During any settlement interval, if Buyer’s usage is less than the Contract Quantity as set forth below (“Deficit
               Quantity”), Seller shall credit Buyer’s account by an amount equal to the Deficit Quantity multiplied by the real-time
               price for energy as determined by ERCOT at the Delivery Point.

           4.3 Locational Basis. Locational Basis shall be calculated each settlement interval as an amount equal to the real time
               settlement point price at the Delivery Point less the real time settlement point price at the Supply Point. If the
               Locational Basis component is not marked as included in Section 1 above, Locational Basis shall be added to the




                                                                                                 D
                                                                                                     Bearbox v Lancium
      Addendum for Fixed Price, Fixed Volume Electricity                                              Trial Exhibit      Rev 12.01.16

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                                                                 Appx12469
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               Contract Price. If the Locational Basis component is not marked as included and Line Losses are marked as included
               in Section 1, Locational Basis shall be adjusted by the appropriate loss factor.

           4.4 Changes in Circumstances

               4.4.1    The Contract Price and all other terms and conditions of this Addendum are established in reliance on the
               accuracy of information provided to Seller concerning Buyer’s load requirements. Any incremental costs incurred by
               Seller as a result of inaccuracies in any such information provided to Seller may be passed through to Buyer.

               4.4.2    The Contract Price and all other terms and conditions of this Addendum are established in reliance on the
               existing Laws, rates, charges, independent system operator processes, market structure, congestion zone design
               and protocols that are in effect as of the Addendum Date. In the event of changes in the above that cause additional
               costs to Seller, Seller may pass through such costs to Buyer.

      5.   CONTRACT QUANTITY:
           Seller shall service 100% of Buyer’s Electricity requirements at Buyer’s Facilities. The Contract Quantities for this
           Transaction are set forth below:

                                The Contract Price relates to the Contract Quantities at (choose one)
                                              ~ the Delivery Point □ Buyer’s Meter
                                                         Contract Quantity*
                                                                            2x16                    7x8
                                                5x16 Contract
                             Month                                   Contract Quantity       Contract Quantity
                                                Quantity (MW)
                                                                            (MW)                   (MW)
                             8/2019                  1.30                    1.30                  1.30
                             9/2019                  1.30                    1.30                  1.30
                            10/2019                  1.30                    1.30                  1.30
                            11/2019                  1.30                    1.30                  1.30
                            12/2019                  1.30                    1.30                  1.30
                             1/2020                  1.30                    1.30                  1.30
                             2/2020                  1.30                    1.30                  1.30
                             3/2020                  1.30                    1.30                  1.30
                             4/2020                  1.30                    1.30                  1.30
                             5/2020                  1.30                    1.30                  1.30
                             6/2020                  1.30                    1.30                  1.30
                             7/2020                  1.30                    1.30                  1.30
                             8/2020                  1.30                    1.30                  1.30
                             9/2020                  1.30                    1.30                  1.30
                            10/2020                  1.30                    1.30                  1.30
                            11/2020                  1.30                    1.30                  1.30
                            12/2020                  1.30                    1.30                  1.30
                             1/2021                  1.30                    1.30                  1.30
                            2/2021                    1.30                    1.30                      1.30
                            3/2021                    1.30                    1.30                      1.30
                            4/2021                    1.30                    1.30                      1.30
                            5/2021                    1.30                    1.30                      1.30
                            6/2021                    1.30                    1.30                      1.30
                            7/2021                    1.30                    1.30                      1.30

           *As used in the table above, (i) “5x16” means hours ending (“HE”) HE 7:00 through HE 22:00 CPT Monday through
           Friday, excluding NERC holidays, (ii) “2x16” means HE 7:00 through HE 22:00 CPT Saturday, Sunday and NERC
           holidays, and (iii) “7x8” means HE 1:00 through HE 6:00 and HE 23:00 through HE 24:00 CPT Monday through
           Sunday.

      6.   CUSTOMER PROTECTION RULES:
           To the extent permitted by law, Buyer hereby waives its rights set forth in the Customer Protection Rules enacted by the
           Public Utility Commission of Texas (Texas Substantive Rules, Section 25.471, et seq.).


      As supplemented by this Addendum including its Schedules, if any, all other Terms and Conditions contained in the Agreement
      remain in full force and effect.



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                                                             Appx12470
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                               This Addendum is subject to the Schedule(s) identified below:



       CALPINE ENERGY SOLUTIONS, LLC                            LANCIUM LLC


       Sign: __________________________________                 Sign: __________________________________

       Print: __________________________________                Print: __________________________________

       Title: __________________________________                Title: __________________________________




                                                          -3-

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                                                    Appx12471
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                   From: Todd Wilson <Todd.Wilson@calpinesolutions.com>
                      To: Michael McNamara <michael.mcnamara@lancium.com>, Raymond Cline
                          <recline@lancium.com>
                     CC: Rachel Arndt <rachel.arndt@lancium.com>, ian.rock <ian.rock@lancium.com>
                 Subject: RE: Calpine forecast for CP days
                    Date: Mon, 5 Aug 2019 22:04:12 +0000
          Inline-Images: image001.png



   Michael,

   Your contract is currently on month to month, which is index pricing. Jon wanted to look at a 2 year
   fixed pricing for your load given how close we are to all time historical lows in ERCOT South.
   Pricing below is for 2 years starting August 1.

   I was arranging Jon to speak with our credit department to get an update on our original credit
   approval….need to take care of this if you want to look at locking in this low price for 24 months.
   Current pricing is $32.08. Let me know what you would like to do.




                                                                            Trend Analysis
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          $SO




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                                                                                          Price Date


                                                             -   ER.COT_.SouUI_Hub_ATC (Aug 2019 -Aug 2021)




   Best Regards,

   Todd

                                                                                                                                                   D
                                                                                                                                                   Bearbox v Lancium
                                                                                                                                                     Trial Exhibit
                                                                                                                                                        TX758

HIGHLY CONFIDENTIAL - ATTORNEY'S EYES ONLY                                                                                               LANCIUM00036367
                                                                             Appx12472
                     Case: 23-1922        Document: 39-7          Page: 200        Filed: 01/02/2024




   Todd Wilson
   Cell: (919) 414-7986


   From: Michael McNamara [mailto:michael.mcnamara@lancium.com]
   Sent: Monday, August 5, 2019 4:17 PM
   To: Raymond Cline <recline@lancium.com>
   Cc: Rachel Arndt <rachel.arndt@lancium.com>; ian.rock <ian.rock@lancium.com>; Todd Wilson
   <Todd.Wilson@calpinesolutions.com>
   Subject: Re: Calpine forecast for CP days

   External Sender: Use caution with links/attachments.

   Hello Todd,

   Jon Cohen is no longer with Lancium. Could you please be sure to send all relevant information to everyone
   on this email instead?

   Feel free to give me a call anytime.

   Best Regards,
   Michael

   On Mon, Aug 5, 2019 at 5:15 PM Raymond Cline <recline@lancium.com> wrote:

        All,

        Has anyone received the Calpine forecast for CP days for this week? If so, could you please forward it?
        We are trying to manage power usage appropriately, but I'd like to know if we are looking at higher
        demands later in the week.

        Cheers,
        Ray

        Raymond E. Cline Jr., PhD
        Chief Computing Officer



   --

   (917) 833-2720
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                                                      Appx12473
                      Case: 23-1922           Document: 39-7      Page: 201        Filed: 01/02/2024




               From: Todd Wilson <Todd.Wilson@calpinesolutions.com>
                  To: "Michael McNamara " <michael.mcnamara@lancium.com>
             Subject: Weighted Average Cost of Energy (WACOE) - if you fix power at $33 and sell back at
                      any price over $100.
                Date: Tue, 6 Aug 2019 19:51:10 +0000
       Attachments: Lancium_Sellback_Sensitivity_Analysis.xlsx
      Inline-Images: image001.png



   Michael,

   Results of the look-back are impressive…reduce your WACOE by $10.53 per megawatt hour

   Best Regards,

   Todd

   Todd R. Wilson, CEM
   Sales Director, Calpine Energy Solutions

   Cell: 919-414-7986
   E-Mail: todd.wilson@calpinesolutions.com

      1
    1 CALPINE
    , 1• ERGY 5 LIJT10M5



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                                                                                                               Bearbox v Lancium
                                                                                                                Trial Exhibit
                                                                                                                     TX763

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                                                      Appx12474
               Case: 23-1922        Document: 39-7        Page: 202   Filed: 01/02/2024

Lancium Hypothetical Invoice


          $       33.00 Contract Price
                  2,928 Contract MWh - June - July 2019
          $      96,624 Original Invoice


                       86 Sellback MWh
          $      (32,761) Sellback Value

          $      63,863 Revised Invoice
          $       22.47 Revised WACOE

          $       10.53 WACOE improvement (detriment)




HIGHLY CONFIDENTIAL - ATTORNEY'S EYES ONLY     Summary                             LANCIUM00036384
                                             Appx12475
                  A          B           C         D          E          F         G         H         I         J         K         L         M        N        O        P         Q         R         S         T         U         V         W         X         Y       Z
            1 $ 100.00 RT threshold
            2      2,000 Contract Size (KW)
            3
            4                  100         200       300        400        500       600       700       800       900      1000      1100      1200     1300     1400     1500      1600       1700     1800      1900      2000      2100      2200      2300      2400       43
            5   8/1/2019 $ 14.44 $ 12.79 $         12.35 $    11.51 $    11.87 $   13.26 $   13.82 $   14.52 $   16.85 $   18.18 $   19.34 $   26.44 $ 37.99 $ 44.56 $ 88.23 $      58.74 $    33.36 $ 26.19 $    24.30 $   23.85 $   22.24 $   19.73 $   18.22 $   16.57        0
            6   8/2/2019 $ 15.51 $ 14.52 $         14.01 $    13.91 $    14.12 $   11.89 $   11.99 $   15.13 $   17.69 $   18.37 $   20.72 $   26.58 $ 31.26 $ 57.69 $ 371.77 $ 788.97 $ 732.11 $ 162.25 $        31.10 $   28.58 $   25.68 $   23.55 $   19.36 $   18.62        4
            7   8/3/2019 $ 17.17 $ 15.35 $         14.53 $    14.36 $    15.44 $   15.97 $   16.45 $   16.10 $   17.62 $   18.36 $   19.83 $   21.07 $ 22.08 $ 24.96 $ 24.64 $      28.10 $    32.25 $ 40.59 $    27.18 $   34.57 $   27.90 $   24.02 $   21.27 $   19.82        0
            8   8/4/2019 $ 20.08 $ 19.47 $         18.76 $    18.70 $    18.88 $   18.12 $   17.83 $   17.32 $   18.55 $   19.11 $   20.65 $   23.44 $ 25.87 $ 26.80 $ 33.37 $      54.78 $ 106.23 $ 108.00 $     48.82 $   36.52 $   42.69 $   27.64 $   20.94 $   18.45        2
            9   8/5/2019 $ 16.81 $ 15.72 $         14.79 $    14.36 $    14.64 $   15.77 $   17.12 $   17.98 $   20.40 $   22.56 $   28.91 $   54.73 $ 56.61 $ 139.04 $ 693.59 $ 2,029.85 $ 1,385.38 $ 370.90 $   56.80 $   31.72 $   27.04 $   20.88 $   18.97 $   17.85        5
            10  6/6/2019 $ 17.72 $ 16.83 $         16.83 $    16.24 $    16.36 $   16.84 $   17.46 $   16.78 $   17.71 $   19.04 $   20.52 $   25.20 $ 27.80 $ 33.98 $ 37.27 $      69.75 $    39.81 $ 28.91 $    23.44 $   25.99 $   25.13 $   21.51 $   22.31 $   19.49        0
            11  6/7/2019 $ 17.69 $ 16.69 $         16.06 $    15.74 $    15.72 $   16.31 $   16.92 $   18.04 $   18.84 $   19.73 $   22.44 $   25.09 $ 27.51 $ 41.88 $ 203.28 $ 397.48 $ 313.69 $ 206.13 $        48.46 $   36.33 $   34.55 $   30.90 $   21.45 $   18.23        4
            12  6/8/2019 $ 16.55 $ 14.77 $         13.95 $    13.57 $    14.30 $   14.45 $   14.31 $   15.22 $   16.26 $   17.28 $   19.35 $   21.62 $ 25.05 $ 27.25 $ 35.11 $      38.93 $    42.89 $ 33.99 $    29.72 $   26.14 $   26.53 $   21.35 $   19.77 $   16.52        0
            13  6/9/2019 $ 16.12 $ 14.34 $         13.55 $    13.78 $    14.76 $   14.43 $   12.48 $   13.25 $   15.18 $   17.05 $   19.39 $   20.27 $ 19.92 $ 19.36 $ 13.23 $      13.75 $    14.23 $ 12.88 $    12.49 $   13.26 $   15.08 $   13.15 $   14.03 $   12.56        0
            14 6/10/2019 $ 13.80 $ 13.27 $         13.82 $    13.98 $    14.29 $   14.99 $   15.31 $   16.22 $   16.32 $   17.51 $   17.86 $   18.64 $ 19.58 $ 29.40 $ 24.01 $      37.61 $    28.03 $ 27.39 $    26.92 $   23.17 $   23.34 $   23.26 $   25.24 $   20.99        0
            15 6/11/2019 $ 21.10 $ 19.57 $         18.17 $    19.04 $    18.88 $   19.05 $   19.27 $   18.44 $   18.83 $   18.93 $   19.47 $   19.52 $ 19.66 $ 21.20 $ 22.12 $      22.56 $    22.03 $ 19.90 $    19.59 $   19.00 $   19.50 $   19.01 $   16.27 $   15.40        0
            16 6/12/2019 $ 13.00 $ 11.29 $         10.16 $     8.88 $    11.14 $   13.26 $   15.77 $   16.27 $   16.37 $   16.78 $   18.10 $   18.00 $ 18.29 $ 19.07 $ 20.98 $      27.97 $    32.37 $ 82.73 $    29.78 $   30.19 $   27.96 $   23.36 $   20.62 $   19.34        0
            17 6/13/2019 $ 17.81 $ 16.29 $         15.93 $    15.75 $    15.75 $   16.22 $   16.87 $   17.64 $   18.80 $   18.60 $   19.20 $   20.81 $ 34.40 $ 33.53 $ 28.24 $      31.63 $    34.92 $ 23.26 $    19.17 $   24.05 $   19.42 $   16.89 $   17.20 $   15.99        0
            18 6/14/2019 $ 17.49 $ 15.00 $         13.41 $    12.91 $    14.06 $   15.61 $   16.45 $   16.27 $   15.58 $   13.95 $   15.24 $   16.93 $ 18.67 $ 23.58 $ 21.24 $      25.57 $    28.23 $ 24.06 $    18.73 $   19.06 $   17.92 $   18.18 $   17.46 $   16.41        0
            19 6/15/2019 $ 15.03 $ 12.92 $         11.07 $     9.81 $     8.10 $    9.94 $   11.72 $   13.31 $   14.40 $   11.93 $   14.57 $   20.89 $ 32.89 $ 20.62 $ 22.07 $      23.84 $    24.26 $ 20.03 $    18.72 $   18.34 $   18.67 $   18.38 $   20.73 $   20.03        0
            20 6/16/2019 $ 21.73 $ 18.53 $         18.22 $    17.65 $    17.89 $   18.14 $   18.95 $   18.90 $   18.70 $   18.20 $   18.85 $   18.80 $ 19.44 $ 19.27 $ 19.80 $      19.55 $    19.22 $ 19.07 $    18.74 $   18.61 $   18.92 $   18.45 $   18.52 $   17.55        0
            21 6/17/2019 $ 16.30 $ 15.56 $         15.59 $    16.10 $    16.42 $   17.00 $   17.65 $   17.36 $   17.29 $   17.32 $   17.75 $   18.39 $ 19.99 $ 22.67 $ 27.65 $      44.89 $    29.05 $ 45.46 $    29.94 $   24.73 $   23.14 $   23.26 $   21.35 $   18.67        0
            22 6/18/2019 $ 16.89 $ 16.39 $         16.00 $    16.11 $    14.71 $   15.13 $   15.78 $   16.73 $   18.38 $   19.05 $   19.81 $   20.30 $ 20.52 $ 21.83 $ 28.79 $      45.53 $    48.47 $ 38.11 $    32.87 $   23.47 $   24.70 $   22.48 $   19.90 $   18.87        0
                                                                                                                                                                                                                                                                                              Case: 23-1922




            23 6/19/2019 $ 17.33 $ 16.63 $         17.74 $    17.34 $    16.70 $   15.92 $   17.58 $   17.63 $   18.68 $   18.87 $   20.85 $   27.10 $ 32.75 $ 41.90 $ 38.67 $      48.31 $    70.80 $ 57.94 $    36.96 $   93.29 $   33.17 $   31.95 $   22.26 $   19.45        0
            24 6/20/2019 $ 18.01 $ 16.08 $         13.83 $    11.87 $    11.90 $   12.51 $   14.28 $   15.09 $   16.79 $   17.80 $   18.87 $   20.11 $ 25.31 $ 25.66 $ 26.43 $      25.45 $    26.04 $ 24.71 $    24.21 $   22.05 $   21.12 $   20.61 $   20.62 $   20.17        0
            25 6/21/2019 $ 18.21 $ 15.42 $         14.70 $    14.14 $    14.00 $   14.89 $   15.88 $   15.96 $   17.11 $   17.49 $   19.00 $   19.35 $ 22.31 $ 29.95 $ 23.33 $      21.71 $    21.44 $ 22.35 $    21.33 $   19.97 $   19.42 $   19.41 $   20.57 $   19.94        0
            26 6/22/2019 $ 18.65 $ 17.55 $         17.46 $    17.39 $    16.68 $   17.81 $   17.45 $   16.81 $   16.88 $   15.53 $   17.28 $   20.10 $ 28.68 $ 36.59 $ 20.57 $      22.88 $    20.03 $ 19.96 $    18.74 $   18.52 $   19.26 $   18.90 $   17.19 $   17.08        0
            27 6/23/2019 $ 15.08 $ 15.44 $         15.44 $    14.45 $    13.88 $   13.81 $   15.22 $   17.42 $   17.67 $   17.86 $   19.20 $   20.74 $ 47.41 $ 50.70 $ 154.46 $ 393.19 $ 1,132.85 $ 190.49 $      24.29 $   26.53 $   37.26 $   21.00 $   20.51 $   19.98        4
            28 6/24/2019 $ 18.38 $ 17.67 $         17.50 $    17.08 $    16.86 $   16.87 $   16.45 $   16.91 $   16.79 $   16.35 $   17.12 $   17.95 $ 18.77 $ 20.04 $ 20.23 $      20.24 $    19.61 $ 19.09 $    18.59 $   17.30 $   16.89 $   15.66 $   11.93 $   11.86        0
            29 6/25/2019 $    9.59 $ 0.50 $        (0.75) $    6.08 $    11.42 $   14.28 $   14.98 $   16.21 $   17.70 $   18.07 $   22.73 $   28.76 $ 36.42 $ 26.53 $ 25.72 $      33.94 $    27.28 $ 20.12 $    18.64 $   17.80 $   18.31 $   18.08 $   16.84 $   17.22        0
            30 6/26/2019 $ 15.08 $ 14.54 $         11.38 $     8.82 $    10.60 $   13.04 $   16.46 $   17.25 $   18.33 $   17.88 $   18.77 $   21.11 $ 20.89 $ 21.92 $ 21.05 $      22.75 $    23.27 $ 21.78 $    20.72 $   20.31 $   21.78 $   19.50 $   17.98 $   16.83        0
            31 6/27/2019 $ 15.89 $ 14.24 $         13.85 $    14.61 $    15.57 $   16.58 $   16.61 $   16.87 $   16.95 $   14.29 $   16.61 $   24.71 $ 21.82 $ 20.05 $ 21.47 $      21.54 $    25.09 $ 21.78 $    19.85 $   19.08 $   19.59 $   18.91 $   18.07 $   16.86        0
            32 6/28/2019 $ 15.88 $ 14.49 $         13.04 $    11.13 $    11.76 $   13.09 $   15.00 $   15.80 $   15.18 $   14.38 $   16.47 $   20.00 $ 24.13 $ 25.34 $ 26.80 $      27.50 $    25.52 $ 23.85 $    22.44 $   20.95 $   20.57 $   18.61 $   17.52 $   16.96        0
            33 6/29/2019 $ 16.07 $ 15.25 $         14.56 $    13.82 $    13.56 $   14.16 $   14.38 $   15.29 $   17.76 $   18.42 $   21.94 $   33.49 $ 59.89 $ 28.80 $ 25.32 $      25.45 $    25.36 $ 25.31 $    23.66 $   22.57 $   21.34 $   19.54 $   17.17 $   15.62        0
            34 6/30/2019 $ 14.97 $ 12.98 $         11.07 $     9.66 $    10.41 $   12.09 $   13.41 $   13.99 $   15.81 $   16.85 $   17.47 $   18.64 $ 19.96 $ 22.05 $ 23.15 $      24.68 $    24.53 $ 24.40 $    24.69 $   20.67 $   19.66 $   18.52 $   17.54 $   16.01        0
            35  7/1/2019 $ 15.42 $ 14.45 $         13.84 $    12.97 $    13.40 $   14.47 $   15.21 $   16.25 $   18.12 $   18.42 $   21.01 $   27.88 $ 38.02 $ 25.58 $ 34.59 $      51.33 $    42.93 $ 26.20 $    20.62 $   20.15 $   19.42 $   18.77 $   16.88 $   16.76        0
            36  7/2/2019 $ 16.23 $ 15.99 $         15.79 $    16.19 $    16.52 $   16.84 $   17.12 $   18.51 $   18.09 $   17.34 $   25.20 $   33.29 $ 173.62 $ 39.48 $ 55.64 $     62.68 $    34.70 $ 24.97 $    22.71 $   21.71 $   21.88 $   19.91 $   18.05 $   16.71        1
            37  7/3/2019 $ 15.51 $ 13.22 $         12.86 $    10.59 $    12.03 $   14.12 $   13.87 $   15.61 $   16.12 $   16.38 $   17.94 $   18.76 $ 19.35 $ 20.07 $ 20.42 $      22.41 $    21.81 $ 20.65 $    19.25 $   17.95 $   17.39 $   16.68 $   17.54 $   16.03        0
                                                                                                                                                                                                                                                                                              Document: 39-7




            38  7/4/2019 $ 14.45 $ 12.96 $         12.49 $    11.75 $    11.56 $   13.12 $   13.41 $   15.10 $   16.32 $   16.49 $   17.14 $   18.80 $ 20.23 $ 21.26 $ 21.50 $      21.45 $    21.42 $ 20.42 $    19.32 $   18.23 $   17.42 $   16.68 $   16.77 $   15.51        0
            39  7/5/2019 $ 14.74 $ 14.67 $         14.24 $    13.60 $    13.86 $   14.19 $   12.93 $   13.80 $   14.00 $   13.80 $   16.98 $   19.92 $ 25.07 $ 26.33 $ 25.54 $      30.31 $    31.01 $ 26.78 $    24.74 $   22.60 $   23.22 $   20.24 $   18.33 $   16.86        0
            40  7/6/2019 $ 16.97 $ 15.09 $         14.75 $    14.08 $    13.49 $   13.30 $   13.55 $   14.77 $   17.01 $   18.90 $   23.25 $   25.34 $ 29.81 $ 29.21 $ 32.03 $ 141.11 $        64.64 $ 30.62 $    23.82 $   22.08 $   23.38 $   23.21 $   20.21 $   19.12        1
            41  7/7/2019 $ 19.63 $ 18.47 $         17.25 $    16.25 $    15.74 $   15.26 $   15.38 $   16.11 $   17.88 $   19.53 $   23.57 $   29.58 $ 104.94 $ 37.63 $ 50.32 $     47.12 $    25.82 $ 25.73 $    24.97 $   25.19 $   32.98 $   27.24 $   23.98 $   23.29        1
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            42  7/8/2019 $ 20.92 $ 18.54 $         17.04 $    15.91 $    15.87 $   16.00 $   16.70 $   18.28 $   19.05 $   20.58 $   24.60 $   26.63 $ 36.37 $ 27.78 $ 30.25 $      27.12 $    24.05 $ 22.31 $    19.80 $   20.34 $   19.97 $   18.21 $   15.48 $   12.84        0
            43  7/9/2019 $ 12.03 $ 8.37 $           2.49 $     2.49 $     3.23 $    9.89 $   11.71 $   13.97 $   15.38 $   16.87 $   19.68 $   23.88 $ 27.99 $ 36.91 $ 87.84 $ 264.21 $ 434.26 $ 108.17 $         32.49 $   27.98 $   26.30 $   23.31 $   20.34 $   18.33        3
            44 7/10/2019 $ 18.21 $ 17.94 $         17.50 $    16.54 $    16.03 $   16.13 $   16.73 $   17.72 $   19.36 $   21.62 $   27.81 $   27.79 $ 34.99 $ 105.03 $ 228.32 $ 223.90 $ 325.87 $ 85.55 $        26.85 $   24.96 $   23.71 $   19.28 $   19.95 $   17.78        4
            45 7/11/2019 $ 16.66 $ 15.52 $         15.49 $    15.66 $    15.45 $   15.76 $   16.31 $   16.51 $   17.42 $   18.85 $   23.10 $   28.63 $ 29.40 $ 38.21 $ 174.55 $ 276.76 $ 566.24 $ 188.13 $        54.24 $   43.54 $   34.54 $   28.44 $   28.02 $   23.70        4
            46 7/12/2019 $ 22.49 $ 20.14 $         18.94 $    18.23 $    18.07 $   18.17 $   18.30 $   18.73 $   19.76 $   23.85 $   26.68 $   31.77 $ 31.31 $ 36.84 $ 32.40 $      70.87 $    59.87 $ 45.63 $    39.57 $   42.98 $   30.71 $   26.74 $   23.31 $   20.21        0
            47 7/13/2019 $ 19.10 $ 18.36 $         17.58 $    17.10 $    17.37 $   18.06 $   18.31 $   18.60 $   21.27 $   26.35 $   29.34 $   28.66 $ 27.84 $ 27.53 $ 27.59 $      28.54 $    29.31 $ 29.16 $    29.92 $   28.41 $   27.93 $   28.56 $   25.15 $   22.35        0
                                                                                                                                                                                                                                                                                              Page: 203




            48 7/14/2019 $ 20.83 $ 19.26 $         18.65 $    18.58 $    18.46 $   18.44 $   18.32 $   18.34 $   18.96 $   20.86 $   23.16 $   24.64 $ 25.09 $ 26.54 $ 26.73 $      27.25 $    28.23 $ 27.68 $    27.12 $   26.50 $   30.05 $   25.58 $   23.24 $   20.47        0
            49 7/15/2019 $ 18.73 $ 17.39 $         16.62 $    16.72 $    17.11 $   18.01 $   18.79 $   18.97 $   20.24 $   23.28 $   29.06 $   39.38 $ 30.81 $ 30.26 $ 42.64 $      66.56 $    94.93 $ 240.61 $   32.55 $   36.47 $   29.52 $   23.20 $   20.17 $   18.92        1
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            50 7/16/2019 $ 18.77 $ 18.01 $         17.62 $    17.15 $    17.01 $   17.43 $   17.95 $   18.29 $   19.72 $   19.51 $   22.86 $   31.56 $ 200.94 $ 32.21 $ 39.15 $     36.65 $    29.98 $ 27.69 $    27.07 $   25.92 $   25.59 $   22.14 $   20.40 $   18.82        1
            51 7/17/2019 $ 17.91 $ 17.89 $
            52 7/18/2019 $ 17.30 $ 14.41 $
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            55 7/21/2019 $ 17.79 $ 16.08 $         14.57 $    13.42 $    13.60 $   14.16 $   14.74 $   15.11 $   16.89 $   16.69 $   18.53 $   21.00 $ 24.32 $ 26.66 $ 26.77 $      28.35 $    30.83 $ 33.01 $    36.37 $   26.52 $   25.09 $   21.78 $   19.32 $   18.69        0
            56 7/22/2019 $ 18.64 $ 17.43 $         16.78 $    16.96 $    17.48 $   18.43 $   18.66 $   19.61 $   20.20 $   21.07 $   28.14 $   24.37 $ 24.02 $ 25.26 $ 26.63 $      27.08 $    25.06 $ 22.25 $    21.22 $   20.62 $   23.78 $   25.70 $   20.97 $   18.33        0
            57 7/23/2019 $ 20.15 $ 18.15 $         17.68 $    17.33 $    17.46 $   18.32 $   19.38 $   18.93 $   19.50 $   20.81 $   22.42 $   24.41 $ 22.89 $ 22.54 $ 25.65 $      25.92 $    25.85 $ 26.02 $    25.49 $   24.80 $   26.76 $   23.78 $   20.36 $   18.52        0
            58 7/24/2019 $ 17.69 $ 17.27 $         16.41 $    16.25 $    16.44 $   17.03 $   17.49 $   17.88 $   18.52 $   18.69 $   20.30 $   22.21 $ 23.13 $ 25.16 $ 26.60 $      31.46 $    50.18 $ 44.78 $    28.52 $   28.32 $   23.30 $   19.71 $   17.46 $   15.14        0
            59 7/25/2019 $ 13.45 $        9.26 $    2.32 $    (0.05) $    0.13 $    6.26 $   10.67 $   11.67 $   15.31 $   15.77 $   17.81 $   20.01 $ 24.31 $ 26.52 $ 31.34 $      51.24 $    67.04 $ 29.84 $    24.83 $   22.95 $   21.87 $   19.02 $   16.89 $   14.78        0
            60 7/26/2019 $ 14.95 $ 12.99 $         11.11 $    10.59 $    12.48 $   12.82 $   13.00 $   14.71 $   16.50 $   16.43 $   17.69 $   23.16 $ 102.28 $ 42.57 $ 27.20 $     52.50 $    53.91 $ 26.26 $    23.85 $   22.80 $   21.87 $   18.12 $   16.16 $   15.82        1
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            61 7/27/2019 $ 16.99 $ 15.53 $         14.70 $    14.38 $    14.66 $   15.56 $   14.40 $   12.96 $   15.09 $   14.23 $   15.71 $   21.64 $ 30.96 $ 27.40 $ 30.98 $      33.65 $    26.53 $ 25.00 $    24.34 $   23.08 $   22.51 $   19.65 $   17.81 $   17.67        0
            62 7/28/2019 $ 17.60 $ 16.46 $         15.53 $    14.56 $    14.00 $   14.06 $   13.42 $   13.57 $   15.75 $   15.52 $   15.37 $   16.85 $ 19.34 $ 20.11 $ 22.60 $      25.20 $    37.11 $ 48.76 $    27.25 $   24.69 $   24.92 $   21.68 $   21.02 $   18.76        0
                                                                                                                                                                                                                                                                                              Filed: 01/02/2024




            63 7/29/2019 $ 17.69 $ 15.73 $         14.52 $    14.14 $    15.00 $   17.03 $   17.91 $   18.50 $   20.00 $   19.89 $   22.86 $   23.16 $ 24.90 $ 28.97 $ 28.57 $      26.91 $    25.29 $ 25.03 $    25.41 $   29.10 $   31.88 $   22.46 $   20.88 $   19.29        0
            64 7/30/2019 $ 18.31 $ 17.91 $         17.32 $    17.00 $    17.11 $   17.99 $   18.94 $   19.20 $   19.69 $   21.00 $   33.66 $   38.30 $ 109.51 $ 602.69 $ 392.12 $ 695.61 $ 409.26 $ 42.63 $       25.23 $   27.31 $   22.06 $   19.79 $   17.88 $   16.01        5
            65 7/31/2019 $ 15.81 $ 14.93 $         14.89 $    14.74 $    15.01 $   16.27 $   16.65 $   17.06 $   18.32 $   19.58 $   21.34 $   25.07 $ 28.89 $ 71.14 $ 259.12 $ 173.68 $       88.13 $ 33.47 $    28.34 $   27.47 $   22.99 $   19.68 $   17.04 $   14.87        2




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            4                               100      200        300      400      500      600      700      800      900    1000     1100    1200      1300    1400    1500     1600     1700     1800     1900    2000    2100    2200     2300     2400




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            5              8/1/2019      2,000    2,000      2,000    2,000    2,000    2,000    2,000    2,000    2,000    2,000    2,000   2,000     2,000   2,000   2,000    2,000    2,000    2,000    2,000   2,000   2,000   2,000    2,000    2,000




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            7              8/3/2019      2,000    2,000      2,000    2,000    2,000    2,000    2,000    2,000    2,000    2,000    2,000   2,000     2,000   2,000   2,000    2,000    2,000    2,000    2,000   2,000   2,000   2,000    2,000    2,000




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            8              8/4/2019      2,000    2,000      2,000    2,000    2,000    2,000    2,000    2,000    2,000    2,000    2,000   2,000     2,000   2,000   2,000    2,000    2,000    2,000    2,000   2,000   2,000   2,000    2,000    2,000




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            9              8/5/2019      2,000    2,000      2,000    2,000    2,000    2,000    2,000    2,000    2,000    2,000    2,000   2,000     2,000   2,000   2,000    2,000    2,000    2,000    2,000   2,000   2,000   2,000    2,000    2,000




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            10             6/6/2019      2,000    2,000      2,000    2,000    2,000    2,000    2,000    2,000    2,000    2,000    2,000   2,000     2,000   2,000   2,000    2,000    2,000    2,000    2,000   2,000   2,000   2,000    2,000    2,000




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            11             6/7/2019      2,000    2,000      2,000    2,000    2,000    2,000    2,000    2,000    2,000    2,000    2,000   2,000     2,000   2,000   2,000    2,000    2,000    2,000    2,000   2,000   2,000   2,000    2,000    2,000




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            12             6/8/2019      2,000    2,000      2,000    2,000    2,000    2,000    2,000    2,000    2,000    2,000    2,000   2,000     2,000   2,000   2,000    2,000    2,000    2,000    2,000   2,000   2,000   2,000    2,000    2,000




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            13             6/9/2019      2,000    2,000      2,000    2,000    2,000    2,000    2,000    2,000    2,000    2,000    2,000   2,000     2,000   2,000   2,000    2,000    2,000    2,000    2,000   2,000   2,000   2,000    2,000    2,000




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            14            6/10/2019      2,000    2,000      2,000    2,000    2,000    2,000    2,000    2,000    2,000    2,000    2,000   2,000     2,000   2,000   2,000    2,000    2,000    2,000    2,000   2,000   2,000   2,000    2,000    2,000




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            15            6/11/2019      2,000    2,000      2,000    2,000    2,000    2,000    2,000    2,000    2,000    2,000    2,000   2,000     2,000   2,000   2,000    2,000    2,000    2,000    2,000   2,000   2,000   2,000    2,000    2,000




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            16            6/12/2019      2,000    2,000      2,000    2,000    2,000    2,000    2,000    2,000    2,000    2,000    2,000   2,000     2,000   2,000   2,000    2,000    2,000    2,000    2,000   2,000   2,000   2,000    2,000    2,000




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            17            6/13/2019      2,000    2,000      2,000    2,000    2,000    2,000    2,000    2,000    2,000    2,000    2,000   2,000     2,000   2,000   2,000    2,000    2,000    2,000    2,000   2,000   2,000   2,000    2,000    2,000




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            18            6/14/2019      2,000    2,000      2,000    2,000    2,000    2,000    2,000    2,000    2,000    2,000    2,000   2,000     2,000   2,000   2,000    2,000    2,000    2,000    2,000   2,000   2,000   2,000    2,000    2,000




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            19            6/15/2019      2,000    2,000      2,000    2,000    2,000    2,000    2,000    2,000    2,000    2,000    2,000   2,000     2,000   2,000   2,000    2,000    2,000    2,000    2,000   2,000   2,000   2,000    2,000    2,000




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            20            6/16/2019      2,000    2,000      2,000    2,000    2,000    2,000    2,000    2,000    2,000    2,000    2,000   2,000     2,000   2,000   2,000    2,000    2,000    2,000    2,000   2,000   2,000   2,000    2,000    2,000




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            21            6/17/2019      2,000    2,000      2,000    2,000    2,000    2,000    2,000    2,000    2,000    2,000    2,000   2,000     2,000   2,000   2,000    2,000    2,000    2,000    2,000   2,000   2,000   2,000    2,000    2,000




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            22            6/18/2019      2,000    2,000      2,000    2,000    2,000    2,000    2,000    2,000    2,000    2,000    2,000   2,000     2,000   2,000   2,000    2,000    2,000    2,000    2,000   2,000   2,000   2,000    2,000    2,000




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            23            6/19/2019      2,000    2,000      2,000    2,000    2,000    2,000    2,000    2,000    2,000    2,000    2,000   2,000     2,000   2,000   2,000    2,000    2,000    2,000    2,000   2,000   2,000   2,000    2,000    2,000




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            24            6/20/2019      2,000    2,000      2,000    2,000    2,000    2,000    2,000    2,000    2,000    2,000    2,000   2,000     2,000   2,000   2,000    2,000    2,000    2,000    2,000   2,000   2,000   2,000    2,000    2,000




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            25            6/21/2019      2,000    2,000      2,000    2,000    2,000    2,000    2,000    2,000    2,000    2,000    2,000   2,000     2,000   2,000   2,000    2,000    2,000    2,000    2,000   2,000   2,000   2,000    2,000    2,000




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            26            6/22/2019      2,000    2,000      2,000    2,000    2,000    2,000    2,000    2,000    2,000    2,000    2,000   2,000     2,000   2,000   2,000    2,000    2,000    2,000    2,000   2,000   2,000   2,000    2,000    2,000




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            27            6/23/2019      2,000    2,000      2,000    2,000    2,000    2,000    2,000    2,000    2,000    2,000    2,000   2,000     2,000   2,000   2,000    2,000    2,000    2,000    2,000   2,000   2,000   2,000    2,000    2,000




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            28            6/24/2019      2,000    2,000      2,000    2,000    2,000    2,000    2,000    2,000    2,000    2,000    2,000   2,000     2,000   2,000   2,000    2,000    2,000    2,000    2,000   2,000   2,000   2,000    2,000    2,000




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            29            6/25/2019      2,000    2,000      2,000    2,000    2,000    2,000    2,000    2,000    2,000    2,000    2,000   2,000     2,000   2,000   2,000    2,000    2,000    2,000    2,000   2,000   2,000   2,000    2,000    2,000




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            30            6/26/2019      2,000    2,000      2,000    2,000    2,000    2,000    2,000    2,000    2,000    2,000    2,000   2,000     2,000   2,000   2,000    2,000    2,000    2,000    2,000   2,000   2,000   2,000    2,000    2,000




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            31            6/27/2019      2,000    2,000      2,000    2,000    2,000    2,000    2,000    2,000    2,000    2,000    2,000   2,000     2,000   2,000   2,000    2,000    2,000    2,000    2,000   2,000   2,000   2,000    2,000    2,000




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            32            6/28/2019      2,000    2,000      2,000    2,000    2,000    2,000    2,000    2,000    2,000    2,000    2,000   2,000     2,000   2,000   2,000    2,000    2,000    2,000    2,000   2,000   2,000   2,000    2,000    2,000




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            33            6/29/2019      2,000    2,000      2,000    2,000    2,000    2,000    2,000    2,000    2,000    2,000    2,000   2,000     2,000   2,000   2,000    2,000    2,000    2,000    2,000   2,000   2,000   2,000    2,000    2,000




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            34            6/30/2019      2,000    2,000      2,000    2,000    2,000    2,000    2,000    2,000    2,000    2,000    2,000   2,000     2,000   2,000   2,000    2,000    2,000    2,000    2,000   2,000   2,000   2,000    2,000    2,000




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            35             7/1/2019      2,000    2,000      2,000    2,000    2,000    2,000    2,000    2,000    2,000    2,000    2,000   2,000     2,000   2,000   2,000    2,000    2,000    2,000    2,000   2,000   2,000   2,000    2,000    2,000




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            36             7/2/2019      2,000    2,000      2,000    2,000    2,000    2,000    2,000    2,000    2,000    2,000    2,000   2,000     2,000   2,000   2,000    2,000    2,000    2,000    2,000   2,000   2,000   2,000    2,000    2,000




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            37             7/3/2019      2,000    2,000      2,000    2,000    2,000    2,000    2,000    2,000    2,000    2,000    2,000   2,000     2,000   2,000   2,000    2,000    2,000    2,000    2,000   2,000   2,000   2,000    2,000    2,000




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            38             7/4/2019      2,000    2,000      2,000    2,000    2,000    2,000    2,000    2,000    2,000    2,000    2,000   2,000     2,000   2,000   2,000    2,000    2,000    2,000    2,000   2,000   2,000   2,000    2,000    2,000




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            39             7/5/2019      2,000    2,000      2,000    2,000    2,000    2,000    2,000    2,000    2,000    2,000    2,000   2,000     2,000   2,000   2,000    2,000    2,000    2,000    2,000   2,000   2,000   2,000    2,000    2,000




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            40             7/6/2019      2,000    2,000      2,000    2,000    2,000    2,000    2,000    2,000    2,000    2,000    2,000   2,000     2,000   2,000   2,000    2,000    2,000    2,000    2,000   2,000   2,000   2,000    2,000    2,000




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            41             7/7/2019      2,000    2,000      2,000    2,000    2,000    2,000    2,000    2,000    2,000    2,000    2,000   2,000     2,000   2,000   2,000    2,000    2,000    2,000    2,000   2,000   2,000   2,000    2,000    2,000




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            42             7/8/2019      2,000    2,000      2,000    2,000    2,000    2,000    2,000    2,000    2,000    2,000    2,000   2,000     2,000   2,000   2,000    2,000    2,000    2,000    2,000   2,000   2,000   2,000    2,000    2,000




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            43             7/9/2019      2,000    2,000      2,000    2,000    2,000    2,000    2,000    2,000    2,000    2,000    2,000   2,000     2,000   2,000   2,000    2,000    2,000    2,000    2,000   2,000   2,000   2,000    2,000    2,000




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            44            7/10/2019      2,000    2,000      2,000    2,000    2,000    2,000    2,000    2,000    2,000    2,000    2,000   2,000     2,000   2,000   2,000    2,000    2,000    2,000    2,000   2,000   2,000   2,000    2,000    2,000




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            45            7/11/2019      2,000    2,000      2,000    2,000    2,000    2,000    2,000    2,000    2,000    2,000    2,000   2,000     2,000   2,000   2,000    2,000    2,000    2,000    2,000   2,000   2,000   2,000    2,000    2,000




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            46            7/12/2019      2,000    2,000      2,000    2,000    2,000    2,000    2,000    2,000    2,000    2,000    2,000   2,000     2,000   2,000   2,000    2,000    2,000    2,000    2,000   2,000   2,000   2,000    2,000    2,000




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            47            7/13/2019      2,000    2,000      2,000    2,000    2,000    2,000    2,000    2,000    2,000    2,000    2,000   2,000     2,000   2,000   2,000    2,000    2,000    2,000    2,000   2,000   2,000   2,000    2,000    2,000




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            48            7/14/2019      2,000    2,000      2,000    2,000    2,000    2,000    2,000    2,000    2,000    2,000    2,000   2,000     2,000   2,000   2,000    2,000    2,000    2,000    2,000   2,000   2,000   2,000    2,000    2,000




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            49            7/15/2019      2,000    2,000      2,000    2,000    2,000    2,000    2,000    2,000    2,000    2,000    2,000   2,000     2,000   2,000   2,000    2,000    2,000    2,000    2,000   2,000   2,000   2,000    2,000    2,000




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            50            7/16/2019      2,000    2,000      2,000    2,000    2,000    2,000    2,000    2,000    2,000    2,000    2,000   2,000     2,000   2,000   2,000    2,000    2,000    2,000    2,000   2,000   2,000   2,000    2,000    2,000




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            51            7/17/2019      2,000    2,000      2,000    2,000    2,000    2,000    2,000    2,000    2,000    2,000    2,000   2,000     2,000   2,000   2,000    2,000    2,000    2,000    2,000   2,000   2,000   2,000    2,000    2,000




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            52            7/18/2019      2,000    2,000      2,000    2,000    2,000    2,000    2,000    2,000    2,000    2,000    2,000   2,000     2,000   2,000   2,000    2,000    2,000    2,000    2,000   2,000   2,000   2,000    2,000    2,000




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            53            7/19/2019      2,000    2,000      2,000    2,000    2,000    2,000    2,000    2,000    2,000    2,000    2,000   2,000     2,000   2,000   2,000    2,000    2,000    2,000    2,000   2,000   2,000   2,000    2,000    2,000




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            54            7/20/2019      2,000    2,000      2,000    2,000    2,000    2,000    2,000    2,000    2,000    2,000    2,000   2,000     2,000   2,000   2,000    2,000    2,000    2,000    2,000   2,000   2,000   2,000    2,000    2,000




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            55            7/21/2019      2,000    2,000      2,000    2,000    2,000    2,000    2,000    2,000    2,000    2,000    2,000   2,000     2,000   2,000   2,000    2,000    2,000    2,000    2,000   2,000   2,000   2,000    2,000    2,000




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            56            7/22/2019      2,000    2,000      2,000    2,000    2,000    2,000    2,000    2,000    2,000    2,000    2,000   2,000     2,000   2,000   2,000    2,000    2,000    2,000    2,000   2,000   2,000   2,000    2,000    2,000




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            57            7/23/2019      2,000    2,000      2,000    2,000    2,000    2,000    2,000    2,000    2,000    2,000    2,000   2,000     2,000   2,000   2,000    2,000    2,000    2,000    2,000   2,000   2,000   2,000    2,000    2,000




            I
            58            7/24/2019      2,000    2,000      2,000    2,000    2,000    2,000    2,000    2,000    2,000    2,000    2,000   2,000     2,000   2,000   2,000    2,000    2,000    2,000    2,000   2,000   2,000   2,000    2,000    2,000




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            59            7/25/2019      2,000    2,000      2,000    2,000    2,000    2,000    2,000    2,000    2,000    2,000    2,000   2,000     2,000   2,000   2,000    2,000    2,000    2,000    2,000   2,000   2,000   2,000    2,000    2,000




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            60            7/26/2019      2,000    2,000      2,000    2,000    2,000    2,000    2,000    2,000    2,000    2,000    2,000   2,000     2,000   2,000   2,000    2,000    2,000    2,000    2,000   2,000   2,000   2,000    2,000    2,000




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            61            7/27/2019      2,000    2,000      2,000    2,000    2,000    2,000    2,000    2,000    2,000    2,000    2,000   2,000     2,000   2,000   2,000    2,000    2,000    2,000    2,000   2,000   2,000   2,000    2,000    2,000




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            62            7/28/2019      2,000    2,000      2,000    2,000    2,000    2,000    2,000    2,000    2,000    2,000    2,000   2,000     2,000   2,000   2,000    2,000    2,000    2,000    2,000   2,000   2,000   2,000    2,000    2,000




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            63            7/29/2019      2,000    2,000      2,000    2,000    2,000    2,000    2,000    2,000    2,000    2,000    2,000   2,000     2,000   2,000   2,000    2,000    2,000    2,000    2,000   2,000   2,000   2,000    2,000    2,000




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            64            7/30/2019      2,000    2,000      2,000    2,000    2,000    2,000    2,000    2,000    2,000    2,000    2,000   2,000     2,000   2,000   2,000    2,000    2,000    2,000    2,000   2,000   2,000   2,000    2,000    2,000




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            65            7/31/2019      2,000    2,000      2,000    2,000    2,000    2,000    2,000    2,000    2,000    2,000    2,000   2,000     2,000   2,000   2,000    2,000    2,000    2,000    2,000   2,000   2,000   2,000    2,000    2,000




            HIGHLY CONFIDENTIAL - ATTORNEY'S EYES ONLY                                                                                            Volumes                                                                                                    LANCIUM00036384
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                   BA        BB         BC       BD       BE       BF       BG       BH       BI       BJ       BK       BL       BM       BN        BO             BP             BQ             BR              BS             BT        BU     BV     BW      BX     BY     BZ




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            4                            100      200      300      400      500      600      700      800      900     1000     1100     1200          1300            1400          1500            1600            1700          1800    1900   2000   2100   2200   2300   2400




            I
            5              8/1/2019 $    -   $    -   $    -   $    -   $    -   $    -   $    -   $    -   $    -   $    -   $    -   $    -   $         -    $          -    $        -    $          -    $          -    $        -    $ -    $ -    $ -    $ -    $ -    $ -




            I
            6              8/2/2019 $    -   $    -   $    -   $    -   $    -   $    -   $    -   $    -   $    -   $    -   $    -   $    -   $         -    $          -    $   (743,530) $   (1,577,935) $   (1,464,215) $   (324,505) $ -    $ -    $ -    $ -    $ -    $ -




            I
            7              8/3/2019 $    -   $    -   $    -   $    -   $    -   $    -   $    -   $    -   $    -   $    -   $    -   $    -   $         -    $          -    $        -    $          -    $          -    $        -    $ -    $ -    $ -    $ -    $ -    $ -




            I
            8              8/4/2019 $    -   $    -   $    -   $    -   $    -   $    -   $    -   $    -   $    -   $    -   $    -   $    -   $         -    $          -    $        -    $          -    $     (212,460) $   (215,995) $ -    $ -    $ -    $ -    $ -    $ -




            I
            9              8/5/2019 $    -   $    -   $    -   $    -   $    -   $    -   $    -   $    -   $    -   $    -   $    -   $    -   $         -    $     (278,080) $ (1,387,185) $   (4,059,690) $   (2,770,750) $   (741,795) $ -    $ -    $ -    $ -    $ -    $ -




            I
            10             6/6/2019 $    -   $    -   $    -   $    -   $    -   $    -   $    -   $    -   $    -   $    -   $    -   $    -   $         -    $          -    $        -    $          -    $          -    $        -    $ -    $ -    $ -    $ -    $ -    $ -




            I
            11             6/7/2019 $    -   $    -   $    -   $    -   $    -   $    -   $    -   $    -   $    -   $    -   $    -   $    -   $         -    $          -    $   (406,555) $     (794,965) $     (627,375) $   (412,265) $ -    $ -    $ -    $ -    $ -    $ -




            I
            12             6/8/2019 $    -   $    -   $    -   $    -   $    -   $    -   $    -   $    -   $    -   $    -   $    -   $    -   $         -    $          -    $        -    $          -    $          -    $        -    $ -    $ -    $ -    $ -    $ -    $ -




            I
            13             6/9/2019 $    -   $    -   $    -   $    -   $    -   $    -   $    -   $    -   $    -   $    -   $    -   $    -   $         -    $          -    $        -    $          -    $          -    $        -    $ -    $ -    $ -    $ -    $ -    $ -




            I
            14            6/10/2019 $    -   $    -   $    -   $    -   $    -   $    -   $    -   $    -   $    -   $    -   $    -   $    -   $         -    $          -    $        -    $          -    $          -    $        -    $ -    $ -    $ -    $ -    $ -    $ -




            I
            15            6/11/2019 $    -   $    -   $    -   $    -   $    -   $    -   $    -   $    -   $    -   $    -   $    -   $    -   $         -    $          -    $        -    $          -    $          -    $        -    $ -    $ -    $ -    $ -    $ -    $ -




            I
            16            6/12/2019 $    -   $    -   $    -   $    -   $    -   $    -   $    -   $    -   $    -   $    -   $    -   $    -   $         -    $          -    $        -    $          -    $          -    $        -    $ -    $ -    $ -    $ -    $ -    $ -




            I
            17            6/13/2019 $    -   $    -   $    -   $    -   $    -   $    -   $    -   $    -   $    -   $    -   $    -   $    -   $         -    $          -    $        -    $          -    $          -    $        -    $ -    $ -    $ -    $ -    $ -    $ -




            I
            18            6/14/2019 $    -   $    -   $    -   $    -   $    -   $    -   $    -   $    -   $    -   $    -   $    -   $    -   $         -    $          -    $        -    $          -    $          -    $        -    $ -    $ -    $ -    $ -    $ -    $ -




            I
            19            6/15/2019 $    -   $    -   $    -   $    -   $    -   $    -   $    -   $    -   $    -   $    -   $    -   $    -   $         -    $          -    $        -    $          -    $          -    $        -    $ -    $ -    $ -    $ -    $ -    $ -




            I
            20            6/16/2019 $    -   $    -   $    -   $    -   $    -   $    -   $    -   $    -   $    -   $    -   $    -   $    -   $         -    $          -    $        -    $          -    $          -    $        -    $ -    $ -    $ -    $ -    $ -    $ -




            I
            21            6/17/2019 $    -   $    -   $    -   $    -   $    -   $    -   $    -   $    -   $    -   $    -   $    -   $    -   $         -    $          -    $        -    $          -    $          -    $        -    $ -    $ -    $ -    $ -    $ -    $ -




            I
            22            6/18/2019 $    -   $    -   $    -   $    -   $    -   $    -   $    -   $    -   $    -   $    -   $    -   $    -   $         -    $          -    $        -    $          -    $          -    $        -    $ -    $ -    $ -    $ -    $ -    $ -




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            23            6/19/2019 $    -   $    -   $    -   $    -   $    -   $    -   $    -   $    -   $    -   $    -   $    -   $    -   $         -    $          -    $        -    $          -    $          -    $        -    $ -    $ -    $ -    $ -    $ -    $ -




            I
            24            6/20/2019 $    -   $    -   $    -   $    -   $    -   $    -   $    -   $    -   $    -   $    -   $    -   $    -   $         -    $          -    $        -    $          -    $          -    $        -    $ -    $ -    $ -    $ -    $ -    $ -




            I
            25            6/21/2019 $    -   $    -   $    -   $    -   $    -   $    -   $    -   $    -   $    -   $    -   $    -   $    -   $         -    $          -    $        -    $          -    $          -    $        -    $ -    $ -    $ -    $ -    $ -    $ -




            I
            26            6/22/2019 $    -   $    -   $    -   $    -   $    -   $    -   $    -   $    -   $    -   $    -   $    -   $    -   $         -    $          -    $        -    $          -    $          -    $        -    $ -    $ -    $ -    $ -    $ -    $ -




            I
            27            6/23/2019 $    -   $    -   $    -   $    -   $    -   $    -   $    -   $    -   $    -   $    -   $    -   $    -   $         -    $          -    $   (308,925) $     (786,370) $   (2,265,705) $   (380,970) $ -    $ -    $ -    $ -    $ -    $ -




            I
            28            6/24/2019 $    -   $    -   $    -   $    -   $    -   $    -   $    -   $    -   $    -   $    -   $    -   $    -   $         -    $          -    $        -    $          -    $          -    $        -    $ -    $ -    $ -    $ -    $ -    $ -




            I
            29            6/25/2019 $    -   $    -   $    -   $    -   $    -   $    -   $    -   $    -   $    -   $    -   $    -   $    -   $         -    $          -    $        -    $          -    $          -    $        -    $ -    $ -    $ -    $ -    $ -    $ -




            I
            30            6/26/2019 $    -   $    -   $    -   $    -   $    -   $    -   $    -   $    -   $    -   $    -   $    -   $    -   $         -    $          -    $        -    $          -    $          -    $        -    $ -    $ -    $ -    $ -    $ -    $ -




            I
            31            6/27/2019 $    -   $    -   $    -   $    -   $    -   $    -   $    -   $    -   $    -   $    -   $    -   $    -   $         -    $          -    $        -    $          -    $          -    $        -    $ -    $ -    $ -    $ -    $ -    $ -




            I
            32            6/28/2019 $    -   $    -   $    -   $    -   $    -   $    -   $    -   $    -   $    -   $    -   $    -   $    -   $         -    $          -    $        -    $          -    $          -    $        -    $ -    $ -    $ -    $ -    $ -    $ -




            I
            33            6/29/2019 $    -   $    -   $    -   $    -   $    -   $    -   $    -   $    -   $    -   $    -   $    -   $    -   $         -    $          -    $        -    $          -    $          -    $        -    $ -    $ -    $ -    $ -    $ -    $ -




            I
            34            6/30/2019 $    -   $    -   $    -   $    -   $    -   $    -   $    -   $    -   $    -   $    -   $    -   $    -   $         -    $          -    $        -    $          -    $          -    $        -    $ -    $ -    $ -    $ -    $ -    $ -




            I
            35             7/1/2019 $    -   $    -   $    -   $    -   $    -   $    -   $    -   $    -   $    -   $    -   $    -   $    -   $         -    $          -    $        -    $          -    $          -    $        -    $ -    $ -    $ -    $ -    $ -    $ -




            I
            36             7/2/2019 $    -   $    -   $    -   $    -   $    -   $    -   $    -   $    -   $    -   $    -   $    -   $    -   $    (347,230) $          -    $        -    $          -    $          -    $        -    $ -    $ -    $ -    $ -    $ -    $ -




            I
            37             7/3/2019 $    -   $    -   $    -   $    -   $    -   $    -   $    -   $    -   $    -   $    -   $    -   $    -   $         -    $          -    $        -    $          -    $          -    $        -    $ -    $ -    $ -    $ -    $ -    $ -




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            38             7/4/2019 $    -   $    -   $    -   $    -   $    -   $    -   $    -   $    -   $    -   $    -   $    -   $    -   $         -    $          -    $        -    $          -    $          -    $        -    $ -    $ -    $ -    $ -    $ -    $ -




            I
            39             7/5/2019 $    -   $    -   $    -   $    -   $    -   $    -   $    -   $    -   $    -   $    -   $    -   $    -   $         -    $          -    $        -    $          -    $          -    $        -    $ -    $ -    $ -    $ -    $ -    $ -




            I
            40             7/6/2019 $    -   $    -   $    -   $    -   $    -   $    -   $    -   $    -   $    -   $    -   $    -   $    -   $         -    $          -    $        -    $     (282,210) $          -    $        -    $ -    $ -    $ -    $ -    $ -    $ -




            I
            41             7/7/2019 $    -   $    -   $    -   $    -   $    -   $    -   $    -   $    -   $    -   $    -   $    -   $    -   $    (209,870) $          -    $        -    $          -    $          -    $        -    $ -    $ -    $ -    $ -    $ -    $ -




            I


Appx12478
            42             7/8/2019 $    -   $    -   $    -   $    -   $    -   $    -   $    -   $    -   $    -   $    -   $    -   $    -   $         -    $          -    $        -    $          -    $          -    $        -    $ -    $ -    $ -    $ -    $ -    $ -




            I
            43             7/9/2019 $    -   $    -   $    -   $    -   $    -   $    -   $    -   $    -   $    -   $    -   $    -   $    -   $         -    $          -    $        -    $     (528,420) $     (868,520) $   (216,345) $ -    $ -    $ -    $ -    $ -    $ -




            I
            44            7/10/2019 $    -   $    -   $    -   $    -   $    -   $    -   $    -   $    -   $    -   $    -   $    -   $    -   $         -    $     (210,055) $   (456,640) $     (447,795) $     (651,740) $        -    $ -    $ -    $ -    $ -    $ -    $ -




            I
            45            7/11/2019 $    -   $    -   $    -   $    -   $    -   $    -   $    -   $    -   $    -   $    -   $    -   $    -   $         -    $          -    $   (349,095) $     (553,515) $   (1,132,480) $   (376,260) $ -    $ -    $ -    $ -    $ -    $ -




            I
            46            7/12/2019 $    -   $    -   $    -   $    -   $    -   $    -   $    -   $    -   $    -   $    -   $    -   $    -   $         -    $          -    $        -    $          -    $          -    $        -    $ -    $ -    $ -    $ -    $ -    $ -




            I
            47            7/13/2019 $    -   $    -   $    -   $    -   $    -   $    -   $    -   $    -   $    -   $    -   $    -   $    -   $         -    $          -    $        -    $          -    $          -    $        -    $ -    $ -    $ -    $ -    $ -    $ -




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                                                                                                                                                                                                                                                                                           Page: 205




            48            7/14/2019 $    -   $    -   $    -   $    -   $    -   $    -   $    -   $    -   $    -   $    -   $    -   $    -   $         -    $          -    $        -    $          -    $          -    $        -    $ -    $ -    $ -    $ -    $ -    $ -




            I
            49            7/15/2019 $    -   $    -   $    -   $    -   $    -   $    -   $    -   $    -   $    -   $    -   $    -   $    -   $         -    $          -    $        -    $          -    $          -    $   (481,215) $ -    $ -    $ -    $ -    $ -    $ -




            I
            50            7/16/2019 $    -   $    -   $    -   $    -   $    -   $    -   $    -   $    -   $    -   $    -   $    -   $    -   $    (401,870) $          -    $        -    $          -    $          -    $        -    $ -    $ -    $ -    $ -    $ -    $ -




            I
            51            7/17/2019 $    -   $    -   $    -   $    -   $    -   $    -   $    -   $    -   $    -   $    -   $    -   $    -   $         -    $          -    $        -    $          -    $          -    $        -    $ -    $ -    $ -    $ -    $ -    $ -




            I
            52            7/18/2019 $    -   $    -   $    -   $    -   $    -   $    -   $    -   $    -   $    -   $    -   $    -   $    -   $         -    $          -    $        -    $          -    $          -    $        -    $ -    $ -    $ -    $ -    $ -    $ -




            I
            53            7/19/2019 $    -   $    -   $    -   $    -   $    -   $    -   $    -   $    -   $    -   $    -   $    -   $    -   $         -    $          -    $        -    $          -    $          -    $        -    $ -    $ -    $ -    $ -    $ -    $ -




            I
            54            7/20/2019 $    -   $    -   $    -   $    -   $    -   $    -   $    -   $    -   $    -   $    -   $    -   $    -   $         -    $          -    $        -    $          -    $          -    $        -    $ -    $ -    $ -    $ -    $ -    $ -




            I
            55            7/21/2019 $    -   $    -   $    -   $    -   $    -   $    -   $    -   $    -   $    -   $    -   $    -   $    -   $         -    $          -    $        -    $          -    $          -    $        -    $ -    $ -    $ -    $ -    $ -    $ -




            I
            56            7/22/2019 $    -   $    -   $    -   $    -   $    -   $    -   $    -   $    -   $    -   $    -   $    -   $    -   $         -    $          -    $        -    $          -    $          -    $        -    $ -    $ -    $ -    $ -    $ -    $ -




            I
            57            7/23/2019 $    -   $    -   $    -   $    -   $    -   $    -   $    -   $    -   $    -   $    -   $    -   $    -   $         -    $          -    $        -    $          -    $          -    $        -    $ -    $ -    $ -    $ -    $ -    $ -




            I
            58            7/24/2019 $    -   $    -   $    -   $    -   $    -   $    -   $    -   $    -   $    -   $    -   $    -   $    -   $         -    $          -    $        -    $          -    $          -    $        -    $ -    $ -    $ -    $ -    $ -    $ -




            I
            59            7/25/2019 $    -   $    -   $    -   $    -   $    -   $    -   $    -   $    -   $    -   $    -   $    -   $    -   $         -    $          -    $        -    $          -    $          -    $        -    $ -    $ -    $ -    $ -    $ -    $ -




            I
            60            7/26/2019 $    -   $    -   $    -   $    -   $    -   $    -   $    -   $    -   $    -   $    -   $    -   $    -   $    (204,560) $          -    $        -    $          -    $          -    $        -    $ -    $ -    $ -    $ -    $ -    $ -




            I
            61            7/27/2019 $    -   $    -   $    -   $    -   $    -   $    -   $    -   $    -   $    -   $    -   $    -   $    -   $         -    $          -    $        -    $          -    $          -    $        -    $ -    $ -    $ -    $ -    $ -    $ -




            I
            62            7/28/2019 $    -   $    -   $    -   $    -   $    -   $    -   $    -   $    -   $    -   $    -   $    -   $    -   $         -    $          -    $        -    $          -    $          -    $        -    $ -    $ -    $ -    $ -    $ -    $ -




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            63            7/29/2019 $    -   $    -   $    -   $    -   $    -   $    -   $    -   $    -   $    -   $    -   $    -   $    -   $         -    $          -    $        -    $          -    $          -    $        -    $ -    $ -    $ -    $ -    $ -    $ -




            I
            64            7/30/2019 $    -   $    -   $    -   $    -   $    -   $    -   $    -   $    -   $    -   $    -   $    -   $    -   $    (219,015) $   (1,205,385) $   (784,245) $   (1,391,210) $     (818,510) $        -    $ -    $ -    $ -    $ -    $ -    $ -




            I
            65            7/31/2019 $    -   $    -   $    -   $    -   $    -   $    -   $    -   $    -   $    -   $    -   $    -   $    -   $         -    $          -    $   (518,230) $     (347,350) $          -    $        -    $ -    $ -    $ -    $ -    $ -    $ -




            HIGHLY CONFIDENTIAL - ATTORNEY'S EYES ONLY                                                                                              Volumes                                                                                                              LANCIUM00036384
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BearBox 20' product details and supporting documentation

From:            Austin Storms <austin@bearbox.io>
To:              michael .mcnamara@lancium.com
Date:            Thu , 09 May 2019 11 :32:01 -0500
Attachments:     BearBox Product Details Summary v1 .pdf (708.12 kB); Permatron_Spec_Sheet.pdf (1 .23 MB);
                 CamFil_Spec_Sheet. pdf (379.28 kB); JandD_Spec_Sheet.pdf (2 .11 MB);
                 exelon4_modeling_05092019.xlsx (92.14 kB)


Hey Michael,

See attached for the 20' BearBox product details and some supporting docs. I've also attached some recent modeling
data from one of the Exelon wind sites (based on publicly available marketplace data) - I can model for any pricing node
you guys might be interested in reviewing.

Let me know if you have any questions!

Talk soon,

A

Austin M. Storms
BearBox, LLC
611 O' Keefe Avenue
New Orleans, LA 70113
austin@bearbox.io

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BearBox
Product details - BearBox V20S (Bitmain S9j, Dragonmint Tl, or similar)

•   Physical Dimensions
        o     Exterior: 20'L x 8' W x 8'6"H
        o     Interior: 19'4"L x 7'8"W x 7'9"H
        o     Door Opening: 7'8"W x 7'5"H
        o    Weight: 4,900 lbs. + installed equipment
•   Electrical System
        o    3-Phase, 4-Wire 415V/240v
        o     Remote dual-outlet control PDUs (64.8kW total)
        o    All network infrastructure on UPS/battery backup
        o   ~373kW max load
•   Physical Rack System
        o    Custom laser cut aluminum frame with stainless wire deck shelving
        o    Adjustable in 1" increments
•   Cooling System
        0    Convection air cooled
        0     (8) 10,100 CFM direct-drive, single-phase exhaust fans (see attached
        o   Temperature controlled/software automation, remote on/off
•   Air Filtration System
        0    Option 1: Permatron Model U2 (see attached)
        0    Option 2: Camfil V-Bank Glide/Pack (see attached)
        o     Intake-side adjustable pitch weather shield
•   Total Designed Hashrate
        o    272 miners @ 14.5 TH/s each
        o    3.9 PH/s total
•   Network
        o    Cat5e ethernet
        o    48-port unmanaged switches (CISCO, TP-Link, or other)
        o    On-site WAN or satellite (varies by location)
•   Software Management
        o     Local cgminer watchdog
        o     PostgreSQL database miner logging
        o     POU/relay mapping (full automation)
        o    Optional real-time breakeven monitoring (renewable marketplace data)
        o   SMTP email alerts (restart, reboot, and maintenance required)
•   Summary
        o     BearBox V20S (3.9 PH/s @ ~373kw max load)
        o     Does NOT include miners or exterior electrical infrastructure (transformer)
        o     Price - $86,791.51 ($94,766.33 after 9.2% sales tax)




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BearBox
Product details - BearBox V20S (Bitmain S9j, Dragonmint Tl, or similar) - cont.




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Pre Vent® Model U/BHA
Flexible Frame Air Intake Filter
Acts as a primary pre-filtration defense to help
prevent the damage and extensive maintenance that
large volumes of dirt and debris can cause. Model U
and BHA are custom designed and manufactured to           MODEL#Ul
fit any sized air intake.                                 MODEL#U2

Model U filter is constructed of washable three-dimensional                  Plastic mount
                                                                         clips available for
electrostatic polypropylene media and encased in a l -1 / 4" sewn         easy installation. L--======...:11
vinyl edge with single or double stitching. Model Ul contains
one layer of media or Model U2 contains two layers of media
depending on the application's environmental particle size.

Model BHA filter is constructed of black PVC coated polyester
high abrasion media and encased in a 1-1 /4" sewn vinyl edge
with single or double stitching. Model BHA contains one layer
of media.

   • Can be affixed to unit with hook/loop stripping, grommets
     with mount clips, elastic bungee hooks or magnetic
     stripping
   • Fits any equipment, specify size                                                            MODEL#BHA
                                                                    Magnetic stripping inside vinyl edge
   • Sewn 2.5" vinyl edge (folded to 1-1 /4") is standard for       available for easy installation.
     flexible filters 0-2000 square inches
   • Sonic welded edges also available as frame option
   • UV protected black media
   • U/L Classified as to Flammability Only
   • 5 Year Warranty




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      Filter Frames & Housings

      Housings (ASHRAE)


      V-Bank Glide/Pack®

                                                                       Advantages
                                                                        • V-bank design reduces filter                         • Increases life of filters up to
                                                                          velocity and filter pressure                           four times
                                                                          drop by up to 60%, saving
                                                                          energy



                                                                       Typical applications: Single-stage V-bank filter housing for commercial, industrial,
                                                                       manufacturing or medical facilities .
                                                                       Construction: 16-gauge galvanized steel with pre-drilled standing flanges, dual access doors,
                                                                       UV-resistant door knobs, door and filter sealing gasketing.
                                                                       Filters: Any 2" deep filter.
                                                                       Performance: Less than 1/2 of 1% leakage guaranteed. Rated airflow 500 fpm, may be
                                                                       operated to 625 fpm . Standard model operational to ± 6.0" w.g.
                                                                       Additional data: Sizes available from 4 filters high to 6 filters wide. Housing is weatherproof for
                                                                       outside installation without modification. Includes pneumatic fitting for static pressure gauge.

                                                                       See Literature 2421 for more details.




      Dimensions and Airflow Capacity (cfm)

      Number of           Height       ½         1          1-½         2       2-½          3       3-½          4        4-½          5       5-½          6
      filters wide       (inches)     Filter   Filter      Filters   Filters   Filters    Filters   Filters    Filters    Filters   Filters    Filters    Filters
                                      wide     wide         wide      wide      wide       wide      wide       wide       wide      wide       wide      wide
      ½                  15.25                 2,000                 4,000                6,000                8,000                10,000               12,000
                         27.25        2,000    4 ,000      6,000     8,000     10,000    12,000     14,000     16,000    18,000     20,000     22,000    24,000
      1-½                39.50                 6,000                 12,000              18 ,000               24,000               30,000               36,000
                         51.50        4 ,000   8,000      12,000     16,000    20,000    24 ,000    28,000     32,000    36,000     40,000     44,000    48 ,000
                                                                                                                                                                     28.00
      2-½                63.75                 10,000                20,000              30,000                40,000               50,000               60,000
                         75.75        6,000    12,000     18,000     24,000    30,000    36 ,000    42,000     48,000    54,000     60 ,000    66,000    72 ,000
      3-½                88.00                 14,000                28,000              42 ,000               54,000               70,000               84,000
      4                  100.00       8,000    16,000     24,000     32,000    40,000    48 ,000    56,000     60,000    72,000     80 ,000    88,000    96,000
                     Width (inches)    12       24          36         48        60        72         84         96        108       120        132        144




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                                                        United States Tel : (866) 422-6345, Canada Tel : (800) 976-9382
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Total System Solutions

Wall Master Exhaust Fan
J&D Manufacturing's Wall Master exhaust fan offers high volume output and smooth, efficient operation. The heavy duty 18 gauge
galvanized housing is strong, compact, and easy to install. J&D's Wall Master is a dependable fan suited for nearly any application
including agricultural buildings, greenhouses, and warehouses.


  When installing any J&O Manufacturing
  exhaust fan, you must provide a proper
  inlet. Call us today to help you choose
  the appropriate inlet and design an
  efficient ventilation system.




Features
• Available in 36" and 50" models
• Heavy duty 18 gauge galvanized housing
• Rugged X-frame for added stability on belt drive models
• Aluminum shutters with tie bar to prevent flapping and locking open
• 1" x 2" removable wire mesh guards are hot dip galvanized after welding
• Poly guard clips to reduce vibration for quiet performance
• 3, 4 or 6 blade galvanized propeller is balanced for smooth operation
• Lifetime Warranty on 3 blade cast aluminum props, available
  on select 50" models
• Bearings are eccentric locking, pre-lubricated, permanently sealed and rubber
  mounted for smooth operation and reduced blade fatigue, and are covered by
  a Three Year Warranty
• Spring belt tensioning system reduces bounce at startup on all belt driven models
• Optional weather hood available for protection from severe wind and weather
• Totally enclosed, maintenance-free, high-efficiency motors have completely
  sealed ball bearings, and are covered by a Two Year Warranty

      &WARNING: This product can expose you to chemicals including lead, which is known to the State of California to cause cancer
                and birth defects or other reproductive harm. For more information go to www.P65Warnings.ca.gov/product.
Due to our continual effort to provide the best products available and adhere to market conditions; literature, products, prices and availability are subject to change without notice.




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Wall Master Exhaust Fan




                                                                                                                           Removable 12 Gauge 1"x 2" wire mesh guards
                                                                                                                           are hot dip galvanized after welding. The guard is
                                                                                                                           attached to the housing with poly guard clips to
                                                                                                                           reduce noise and vibration.




                                                                                                                           Belt drive models include a heavy duty spring belt
                                                                                                                           tensioner to reduce bounce at startup and provide
                                                                                                                           uniform loading to increase the life of the belt and
                                                                                                                           maintain high efficiency.
                     Heavy-duty X-frame • (Shown without rear guard for illustration purposes only)

                                       @0.0S"SP
                                           :CFM/
Part#              Size Phs Spd        CFM : Watt Drive Prop                                                     Optional Weather Hood
 ..........
VF36DM             36"     1     1    10,100 : 19.5 Direct 3-Glv                                                If Wall Master is mounted with the
VF36GG             36"     1     1     9,ooo : 18.1 Belt 4-Glv                                                  shutter side of the fan flush to an
VF36GG1            36"     1     1    11 500 : 15.2 Belt 4-Glv                                                  exterior wall a weather hood may
VF36GG2            36"     1     2    11,400 : 15.3 Belt 4-Glv                                                  be used on the exterior shutter
VF50GG             50"     1     1    21 000 : 18.9 Belt 3-Glv                                                  side of the Wall Master to
VF50GG6            50"     1     1    21 300 : 20.0 Belt 6-Glv                                                  further protect the fan and
VF50GGCA           50"     1     1    20,900 : 18.8 Belt 3-CA                                                   shutter from severe winds
   ...
                                                                                                                and harsh weather.
VF36DM3CF 36" 3 1 10,000 : 19.6 Direct 3-Glv
VF36GG3       36" 3 1 11 400 : 15.1 Belt 4-Glv                                                                     Wall   Weather
VF503GG       50" 3 1 21,000 : 18.9 Belt 3-Glv                                 Fan      Rough                     Master   Hood
VF503GG6      50" 3 1 21,200 : 20.2 Belt 6-Glv                                 Size    Opening                   Fan Size Part#
VF503GGCA 50" 3 1 20,900 : 18.8 Belt 3-CA                                      36 " 41"W x 41 "H                   36"   VFT140860
OSHA requires these fans to be mounted 7' above the floor                      50 " 54¾"W x 54¾"H                  50 " VFT140861


       &WARNING: This product can expose you to chemicals including lead, which is known to the State of California to cause cancer
                 and birth defects or other reproductive harm. For more information go to www.P65Warnings.ca.gov/product.
Due to our continual effort to provide the best products available and adhere to market conditions; literature, products, prices and availability are subject to change without notice.



                www.jdmfg.com                I jdmfg@jdmfg.com I P:1-800-998-2398 I F:1-888-972-4454                                                                              28

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1 BTC_price block_height  breakeven_mining_cost     datetime      day_ahead_LMP      day_ahead_LMP_rev est_network_hashrate     mining_rev  network_diff  real_time_LMP     real_time_LMP_rev      realized_rev
2    5698.24       574867                0.0883609 5/6/19 11:37            0.0292715           0.9056602           4.81358E+13 2.6928794 6.70217E+12              0.0283682             0.8777121      2.6928794
3    5704.01       574867                0.0884504 5/6/19 11:42            0.0292715           0.9056602           4.81358E+13 2.6956062 6.70217E+12              0.0256247             0.7928282      2.6956062
4    5721.16       574868                0.0878003 5/6/19 11:47            0.0292715           0.9056602           4.86381E+13 2.6757929 6.70217E+12              0.0266466             0.8244458      2.6757929
5    5712.77       574868                0.0876715 5/6/19 11:52            0.0292715           0.9056602           4.86381E+13 2.6718689 6.70217E+12              0.0294184             0.9102053      2.6718689
6    5702.98       574868                0.0875213 5/6/19 11:57            0.0292715           0.9056602           4.86381E+13 2.6672901 6.70217E+12              0.2156316             6.6716417      6.6716417
7    5711.53       574868                0.0876525 5/6/19 12:02            0.0319112           0.9873325           4.86381E+13     2.671289 6.70217E+12           0.4257598            13.1730082 13.1730082
8    5719.99       574868                0.0877823 5/6/19 12:08            0.0319112           0.9873325           4.86381E+13 2.6752457 6.70217E+12              0.2947237             9.1187513      9.1187513
9    5711.93       574869                0.0870193 5/6/19 12:13            0.0319112           0.9873325           4.89954E+13 2.6519913 6.70217E+12              0.1560219             4.8273176      4.8273176
10   5708.01       574871                0.0868646 5/6/19 12:18            0.0319112           0.9873325             4.9049E+13 2.6472769 6.70217E+12             0.0253548             0.7844775      2.6472769
11    5701.9       574871                0.0867716 5/6/19 12:23            0.0319112           0.9873325             4.9049E+13 2.6444432 6.70217E+12              0.027036             0.8364938      2.6444432
12   5698.51       574871                   0.08672 5/6/19 12:28           0.0319112           0.9873325             4.9049E+13    2.642871 6.70217E+12            0.026636             0.8241178        2.642871
13   5705.99       574875                0.0875317 5/6/19 13:07            0.0316965           0.9806897           4.86579E+13 2.6676082 6.70217E+12              0.0297482             0.9204093      2.6676082
14   5706.72       574875                0.0875429 5/6/19 13:11            0.0316965           0.9806897           4.86579E+13 2.6679495 6.70217E+12              0.0283545             0.8772882      2.6679495
15   5702.01       574875                0.0874707 5/6/19 13:16            0.0316965           0.9806897           4.86579E+13 2.6657475 6.70217E+12              0.0263671             0.8157981      2.6657475
16   5703.44       574876                0.0881359 5/6/19 13:21            0.0316965           0.9806897           4.83028E+13 2.6860221 6.70217E+12               0.027458             0.8495505      2.6860221
17   5705.99       574876                0.0881753 5/6/19 13:26            0.0316965           0.9806897           4.83028E+13     2.687223 6.70217E+12           0.0295297             0.9136489        2.687223
18   5706.85       574876                0.0881886 5/6/19 13:31            0.0316965           0.9806897           4.83028E+13     2.687628 6.70217E+12            0.029437             0.9107808        2.687628
19   5726.52       574876                0.0884926 5/6/19 13:36            0.0316965           0.9806897           4.83028E+13 2.6968915 6.70217E+12              0.0294468              0.911084      2.6968915
20   5727.41       574876                0.0885064 5/6/19 13:41            0.0316965           0.9806897           4.83028E+13 2.6973107 6.70217E+12              0.0291977             0.9033768      2.6973107
21   5742.95       574876                0.0887465 5/6/19 13:46            0.0316965           0.9806897           4.83028E+13 2.7046292 6.70217E+12              0.0461903             1.4291279      2.7046292
22   5734.03       574876                0.0886086 5/6/19 13:51            0.0316965           0.9806897           4.83028E+13 2.7004284 6.70217E+12              0.0300478             0.9296789      2.7004284
23   5731.45       574876                0.0885688 5/6/19 13:56            0.0316965           0.9806897           4.83028E+13 2.6992133 6.70217E+12               0.023358             0.7226965      2.6992133
24   5739.99       574877                0.0901743 5/6/19 14:01            0.0292446           0.9048279           4.75135E+13 2.7481417 6.70217E+12              0.0252541             0.7813619      2.7481417
25    5749.1       574877                0.0903174 5/6/19 14:06            0.0292446           0.9048279           4.75135E+13 2.7525033 6.70217E+12               0.022385             0.6925919      2.7525033
26   5732.99       574877                0.0900643 5/6/19 14:11            0.0292446           0.9048279           4.75135E+13 2.7447903 6.70217E+12              0.0278815             0.8626536      2.7447903
27   5722.65       574878                0.0904991 5/6/19 14:16            0.0292446           0.9048279           4.71999E+13 2.7580421 6.70217E+12              0.0276273             0.8547887      2.7580421
28   5719.43       574878                0.0904482 5/6/19 14:21            0.0292446           0.9048279           4.71999E+13 2.7564902 6.70217E+12              0.0401146             1.2411457      2.7564902
29   5727.52       574878                0.0905761 5/6/19 14:26            0.0292446           0.9048279           4.71999E+13 2.7603892 6.70217E+12              0.0357633             1.1065165      2.7603892
30   5719.12       574878                0.0904433 5/6/19 14:31            0.0292446           0.9048279           4.71999E+13 2.7563408 6.70217E+12              0.0216376             0.6694673      2.7563408
31   5720.06       574880                0.0904384 5/6/19 14:37            0.0292446           0.9048279           4.72102E+13 2.7561911 6.70217E+12              0.0206897             0.6401393      2.7561911
32   5730.64       574880                0.0906057 5/6/19 14:42            0.0292446           0.9048279           4.72102E+13 2.7612891 6.70217E+12              0.0212322             0.6569243      2.7612891
33   5734.69       574880                0.0906697 5/6/19 14:47            0.0292446           0.9048279           4.72102E+13 2.7632406 6.70217E+12              0.0214839             0.6647119      2.7632406
34   5739.31       574881                 0.090775 5/6/19 14:52            0.0292446           0.9048279           4.71935E+13 2.7664494 6.70217E+12              0.0212921             0.6587776      2.7664494
35   5736.72       574882                0.0910352 5/6/19 14:57            0.0292446           0.9048279           4.70373E+13 2.7743811 6.70217E+12               0.020696             0.6403342      2.7743811
36   5741.99       574883                0.0905084 5/6/19 15:02            0.0212846           0.6585455           4.73545E+13 2.7583257 6.70217E+12              0.0203623             0.6300096      2.7583257
37   5733.24       574885                0.0890821 5/6/19 15:07            0.0212846           0.6585455           4.80395E+13 2.7148565 6.70217E+12              0.0198016             0.6126615      2.7148565
38   5724.73       574886                0.0885552 5/6/19 15:12            0.0212846           0.6585455           4.82535E+13 2.6988006 6.70217E+12              0.0190006             0.5878786      2.6988006
39   5709.73       574886                0.0883232 5/6/19 15:17            0.0212846           0.6585455           4.82535E+13 2.6917292 6.70217E+12              0.0184907             0.5721023      2.6917292
40   5678.11       574887                 0.088385 5/6/19 15:22            0.0212846           0.6585455           4.79528E+13 2.6936119 6.70217E+12               0.023136             0.7158278      2.6936119
41   5683.73       574888                0.0873487 5/6/19 15:27            0.0212846           0.6585455           4.85697E+13 2.6620299 6.70217E+12              0.0165815             0.5130316      2.6620299
42   5681.84       574891                0.0832705 5/6/19 15:32            0.0212846           0.6585455           5.09315E+13 2.5377429 6.70217E+12              0.0157946             0.4886849      2.5377429
43   5697.16       574891                 0.083495 5/6/19 15:37            0.0212846           0.6585455           5.09315E+13 2.5445855 6.70217E+12              0.0722406             2.2351242      2.5445855
44   5684.36       574892                0.0835678 5/6/19 15:42            0.0212846           0.6585455           5.07728E+13 2.5468044 6.70217E+12               0.025128             0.7774603      2.5468044
45   5683.95       574894                0.0819393 5/6/19 15:47            0.0212846           0.6585455           5.17781E+13 2.4971743 6.70217E+12              0.0141482             0.4377453      2.4971743
46   5700.28       574894                0.0821747 5/6/19 15:52            0.0212846           0.6585455           5.17781E+13 2.5043487 6.70217E+12              0.0158794             0.4913086      2.5043487
47   5700.01       574895                0.0825354 5/6/19 15:57            0.0212846           0.6585455           5.15494E+13     2.515341 6.70217E+12           0.0142467             0.4407929        2.515341
48   5696.94       574897                0.0824036 5/6/19 16:02            0.0282033           0.8726101           5.16041E+13 2.5113225 6.70217E+12              0.0193804             0.5996296      2.5113225
49   5700.76       574897                0.0824588 5/6/19 16:07            0.0282033           0.8726101           5.16041E+13 2.5130065 6.70217E+12              0.0145181                0.44919     2.5130065
50   5684.53       574897                0.0822241 5/6/19 16:12            0.0282033           0.8726101           5.16041E+13     2.505852 6.70217E+12           0.0157287              0.486646        2.505852
51   5689.74       574897                0.0822994 5/6/19 16:18            0.0282033           0.8726101           5.16041E+13 2.5081486 6.70217E+12              0.0162324             0.5022305      2.5081486
52   5682.26       574897                0.0821912 5/6/19 16:23            0.0282033           0.8726101           5.16041E+13 2.5048513 6.70217E+12              0.0157041             0.4858849      2.5048513
53   5686.59       574898                0.0828228 5/6/19 16:28            0.0282033           0.8726101           5.12496E+13 2.5240987 6.70217E+12              0.0148626             0.4598488      2.5240987
54   5681.45       574899                0.0829971 5/6/19 16:33            0.0282033           0.8726101           5.10957E+13 2.5294123 6.70217E+12              0.0141661             0.4382991      2.5294123
55   5684.86       574899                0.0830469 5/6/19 16:38            0.0282033           0.8726101           5.10957E+13 2.5309305 6.70217E+12              0.0039202              0.121291      2.5309305
56    5679.5       574899                0.0829686 5/6/19 16:43            0.0282033           0.8726101           5.10957E+13 2.5285442 6.70217E+12              0.0059038             0.1826636      2.5285442
57   5681.53       574901                0.0836257 5/6/19 16:48            0.0282033           0.8726101           5.07124E+13 2.5485671 6.70217E+12              0.0056964             0.1762466      2.5485671
58   5689.99       574902                0.0837969 5/6/19 16:53            0.0282033           0.8726101           5.06841E+13 2.5537859 6.70217E+12              0.0098804             0.3056996      2.5537859
59   5691.01       574903                0.0831196 5/6/19 16:58            0.0282033           0.8726101           5.11063E+13 2.5331438 6.70217E+12              0.0072672             0.2248472      2.5331438
60   5699.02       574904                0.0827156 5/6/19 17:03            0.0245371           0.7591779           5.14281E+13 2.5208339 6.70217E+12              0.0100674             0.3114854      2.5208339
61   5700.57       574905                0.0827554 5/6/19 17:08            0.0245371           0.7591779           5.14174E+13 2.5220451 6.70217E+12              0.0086099             0.2663903      2.5220451
62   5695.51       574906                0.0812506 5/6/19 17:13            0.0245371           0.7591779           5.23232E+13 2.4761856 6.70217E+12              0.0053846             0.1665995      2.4761856
63    5694.8       574907                0.0809439 5/6/19 17:18            0.0245371           0.7591779           5.25149E+13 2.4668388 6.70217E+12              0.0017196             0.0532044      2.4668388
64   5695.29       574907                0.0809509 5/6/19 17:23            0.0245371           0.7591779           5.25149E+13     2.467051 6.70217E+12           0.0048459             0.1499321        2.467051
65   5711.94       574907                0.0811875 5/6/19 17:28            0.0245371           0.7591779           5.25149E+13 2.4742634 6.70217E+12              0.0072046             0.2229103      2.4742634
66   5717.52       574908                0.0815164 5/6/19 17:33            0.0245371           0.7591779           5.23541E+13 2.4842862 6.70217E+12              0.0173188             0.5358437      2.4842862
67   5717.19       574908                0.0815117 5/6/19 17:38            0.0245371           0.7591779           5.23541E+13 2.4841428 6.70217E+12              0.0107967             0.3340499      2.4841428
68   5709.94       574908                0.0814083   5/6/19 17:43          0.0245371           0.7591779           5.23541E+13    2.4809927   6.70217E+12         0.0175668             0.5435168      2.4809927
69   5706.05       574908                0.0813529 5/6/19 17:48            0.0245371           0.7591779           5.23541E+13 2.4793025 6.70217E+12              0.0040943             0.1266776      2.4793025
70   5698.01       574909                0.0821371 5/6/19 17:53            0.0245371           0.7591779           5.17812E+13 2.5032013 6.70217E+12              0.0062052             0.1919889      2.5032013
71   5704.79       574909                0.0822348 5/6/19 17:59            0.0245371           0.7591779           5.17812E+13 2.5061798 6.70217E+12              0.0060673             0.1877223      2.5061798
72   5706.81       574909                0.0822639 5/6/19 18:04            0.0188872              0.58437          5.17812E+13 2.5070672 6.70217E+12               0.004964             0.1535862      2.5070672
73   5699.44       574910                0.0819668 5/6/19 18:09            0.0188872              0.58437          5.19018E+13 2.4980119 6.70217E+12              0.0096617              0.298933      2.4980119
74   5697.53       574910                0.0819393 5/6/19 18:14            0.0188872              0.58437          5.19018E+13 2.4971748 6.70217E+12              0.0094749             0.2931534      2.4971748
75   5693.01       574910                0.0818743 5/6/19 18:19            0.0188872              0.58437          5.19018E+13 2.4951937 6.70217E+12              0.0097717             0.3023364      2.4951937
76   5693.01       574910                0.0818743 5/6/19 18:24            0.0188872              0.58437          5.19018E+13 2.4951937 6.70217E+12              0.0113155             0.3501016      2.4951937
77   5693.94       574911                0.0828462 5/6/19 18:29            0.0188872              0.58437          5.13013E+13 2.5248113 6.70217E+12             -0.0060949            -0.1885762      2.5248113
78   5699.57       574911                0.0829281 5/6/19 18:34            0.0188872              0.58437          5.13013E+13 2.5273078 6.70217E+12              0.0003233             0.0100029      2.5273078
79   5698.15       574912                0.0833531 5/6/19 18:39            0.0188872              0.58437            5.1027E+13    2.540262 6.70217E+12           0.0028852             0.0892681        2.540262
80   5693.81       574913                0.0834471 5/6/19 18:44            0.0188872              0.58437          5.09307E+13 2.5431267 6.70217E+12              0.0066411             0.2054756      2.5431267
81   5686.01       574914                0.0818977 5/6/19 18:49            0.0188872              0.58437          5.18232E+13 2.4959076 6.70217E+12              0.0059357             0.1836506      2.4959076
82   5685.94       574915                0.0814507 5/6/19 18:54            0.0188872              0.58437          5.21069E+13 2.4822846 6.70217E+12             -0.0011344            -0.0350983      2.4822846
83    5683.4       574915                0.0814144 5/6/19 18:59            0.0188872              0.58437          5.21069E+13 2.4811757 6.70217E+12              0.0001905             0.0058941      2.4811757
84   5694.85       574915                0.0815784 5/6/19 19:04            0.0193163           0.5976463           5.21069E+13 2.4861744 6.70217E+12              0.0002833             0.0087653      2.4861744
85   5721.14       574915                 0.081955 5/6/19 19:09            0.0193163           0.5976463           5.21069E+13 2.4976517 6.70217E+12              0.0025406             0.0786062      2.4976517
86   5732.53       574915                0.0821181 5/6/19 19:14            0.0193163           0.5976463           5.21069E+13 2.5026242 6.70217E+12              0.0016449             0.0508932      2.5026242
87   5732.74       574915                0.0821211 5/6/19 19:19            0.0193163           0.5976463           5.21069E+13 2.5027159 6.70217E+12              0.0041178             0.1274047      2.5027159
88    5730.2       574915                0.0820848 5/6/19 19:24            0.0193163           0.5976463           5.21069E+13     2.501607 6.70217E+12           -0.000019            -0.0005879        2.501607
89   5737.27       574915                 0.082186 5/6/19 19:29            0.0193163           0.5976463           5.21069E+13 2.5046935 6.70217E+12             -0.0002028            -0.0062746      2.5046935
90   5731.74       574915                0.0821068 5/6/19 19:34            0.0193163           0.5976463           5.21069E+13 2.5022793 6.70217E+12              0.0002309              0.007144      2.5022793
91   5727.94       574915                0.0820524 5/6/19 19:40            0.0193163           0.5976463           5.21069E+13 2.5006204 6.70217E+12              0.0130869             0.4049087      2.5006204
92   5741.23       574915                0.0822428 5/6/19 19:45            0.0193163           0.5976463           5.21069E+13 2.5064223 6.70217E+12              0.0122933             0.3803547      2.5064223
93   5740.52       574915                0.0822326 5/6/19 19:50            0.0193163           0.5976463           5.21069E+13 2.5061123 6.70217E+12              0.0089193             0.2759631      2.5061123
94   5749.19       574916                   0.08668 5/6/19 19:55           0.0193163           0.5976463             4.9508E+13 2.6416525 6.70217E+12             0.0021355             0.0660724      2.6416525
95   5745.01       574916                 0.086617 5/6/19 20:00            0.0241251           0.7464306             4.9508E+13 2.6397319 6.70217E+12             -0.001813            -0.0560942      2.6397319




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       A        B            C                  D           E                F                 G                  H             I           J          K               L
96    5763.99   574916           0.0869032 5/6/19 20:05     0.0241251        0.7464306           4.9508E+13    2.6484528    6.70217E+12   -0.0003708   -0.0114726    2.6484528
97    5769.68   574916            0.086989 5/6/19 20:10     0.0241251        0.7464306           4.9508E+13    2.6510673    6.70217E+12    0.0062241    0.1925737    2.6510673
98    5769.14   574917           0.0882187 5/6/19 20:15     0.0241251        0.7464306          4.88133E+13    2.6885453    6.70217E+12    0.0116013    0.3589442    2.6885453
99    5755.39   574917           0.0880085 5/6/19 20:20     0.0241251        0.7464306          4.88133E+13    2.6821375    6.70217E+12    0.0009813    0.0303614    2.6821375
100    5754.1   574917           0.0879887 5/6/19 20:25     0.0241251        0.7464306          4.88133E+13    2.6815363    6.70217E+12   -0.0161407   -0.4993933    2.6815363
101    5771.1   574917           0.0882487 5/6/19 20:30     0.0241251        0.7464306          4.88133E+13    2.6894587    6.70217E+12   -0.0174708   -0.5405466    2.6894587
102   5764.05   574918           0.0890788 5/6/19 20:35     0.0241251        0.7464306          4.82994E+13     2.714756    6.70217E+12   -0.0175085    -0.541713     2.714756
103    5752.2   574918           0.0888956 5/6/19 20:40     0.0241251        0.7464306          4.82994E+13    2.7091749    6.70217E+12   -0.0038463   -0.1190045    2.7091749
104   5755.49   574918           0.0889465 5/6/19 20:45     0.0241251        0.7464306          4.82994E+13    2.7107244    6.70217E+12   -0.0004318   -0.0133599    2.7107244
105   5762.02   574919           0.0902091 5/6/19 20:50     0.0241251        0.7464306          4.76774E+13    2.7492027    6.70217E+12    0.0004104    0.0126978    2.7492027
106    5760.7   574919           0.0901884 5/6/19 20:55     0.0241251        0.7464306          4.76774E+13    2.7485729    6.70217E+12   -0.0009508   -0.0294178    2.7485729
107   5762.49                    0.0902164 5/6/19 21:02     0.0175071        0.5416697          4.76774E+13     2.749427                   0.0007073    0.0218839     2.749427
108   5774.99   574920           0.1001885 5/6/19 21:19     0.0175071        0.5242793          4.74463E+13    2.9553058    6.70217E+12   -0.0013119    -0.039287    2.9553058
109   5844.99   574922           0.1031216 5/6/19 21:44     0.0175071        0.5242793          4.66555E+13    3.0418256    6.70217E+12   -0.0118157   -0.3538408    3.0418256
110   5844.99   574922           0.1031216 5/6/19 21:44     0.0175071        0.5242793          4.66555E+13    3.0418256    6.70217E+12   -0.0118157   -0.3538408    3.0418256
111   5844.99   574922           0.1031216 5/6/19 21:45     0.0175071        0.5242793          4.66555E+13    3.0418256    6.70217E+12   -0.0118157   -0.3538408    3.0418256
112   5844.99   574922           0.1031216 5/6/19 21:45     0.0175071        0.5242793          4.66555E+13    3.0418256    6.70217E+12   -0.0118157   -0.3538408    3.0418256
113   5843.89   574923           0.1041911 5/6/19 21:52     0.0175071        0.5242793          4.61679E+13    3.0733748    6.70217E+12    0.0001052    0.0031504    3.0733748
114   5889.14   574923           0.1049979 5/6/19 21:57     0.0175071        0.5242793          4.61679E+13    3.0971724    6.70217E+12    0.0047856    0.1433128    3.0971724
115   5938.96   574925           0.1060149 5/6/19 22:02     0.0137884        0.4129166          4.61118E+13    3.1271721    6.70217E+12    0.0012328    0.0369183    3.1271721
116   5924.06   574925            0.105749 5/6/19 22:07     0.0137884        0.4129166          4.61118E+13    3.1193265    6.70217E+12   -0.0183554    -0.549683    3.1193265
117    5904.4   574925            0.105398 5/6/19 22:15     0.0137884        0.4129166          4.61118E+13    3.1089744    6.70217E+12   -0.0038279   -0.1146328    3.1089744
118    5904.4   574925            0.105398 5/6/19 22:16     0.0137884        0.4129166          4.61118E+13    3.1089744    6.70217E+12   -0.0038279   -0.1146328    3.1089744
119   5906.55   574925           0.1054364 5/6/19 22:16     0.0137884        0.4129166          4.61118E+13    3.1101065    6.70217E+12   -0.0038279   -0.1146328    3.1101065
120   5906.55   574925           0.1054364 5/6/19 22:16     0.0137884        0.4129166          4.61118E+13    3.1101065    6.70217E+12   -0.0038279   -0.1146328    3.1101065
121   5906.55   574925           0.1054364 5/6/19 22:16     0.0137884        0.4129166          4.61118E+13    3.1101065    6.70217E+12   -0.0038279   -0.1146328    3.1101065
122   5906.55   574925           0.1054364 5/6/19 22:16     0.0137884        0.4129166          4.61118E+13    3.1101065    6.70217E+12   -0.0038279   -0.1146328    3.1101065
123   5900.68   574927           0.1057464 5/6/19 22:23     0.0137884        0.4129166          4.59309E+13     3.119251    6.70217E+12    0.0035913    0.1075475     3.119251
124   5904.02   574929           0.1030516 5/6/19 22:30     0.0137884        0.4129166          4.71587E+13    3.0397615    6.70217E+12   -0.0015977   -0.0478458    3.0397615
125   5904.02   574929           0.1030516 5/6/19 22:30     0.0137884        0.4129166          4.71587E+13    3.0397615    6.70217E+12   -0.0015977   -0.0478458    3.0397615
126    5898.4   574930           0.1031447 5/6/19 22:35     0.0137884        0.4129166          4.70713E+13    3.0425064    6.70217E+12   -0.0289922   -0.8682197    3.0425064
127   5893.05   574930           0.1030511 5/6/19 22:37     0.0137884        0.4129166          4.70713E+13    3.0397468    6.70217E+12   -0.0289922   -0.8682197    3.0397468
128   5897.36   574930           0.1031265 5/6/19 22:42     0.0137884        0.4129166          4.70713E+13       3.04197   6.70217E+12   -0.0236925   -0.7095114       3.04197
129   5899.22   574931           0.1032757 5/6/19 22:47     0.0137884        0.4129166          4.70181E+13     3.046371    6.70217E+12   -0.0155618    -0.466024     3.046371
130    5901.5   574931           0.1033156 5/6/19 22:52     0.0137884        0.4129166          4.70181E+13    3.0475484    6.70217E+12   -0.0215767   -0.6461502    3.0475484
131   5895.01   574932           0.1028817 5/6/19 22:57     0.0137884        0.4129166          4.71645E+13    3.0347496    6.70217E+12   -0.0188905   -0.5657075    3.0347496
132   5882.85   574943           0.1003326 5/7/19 0:02      0.0098383        0.2946243           4.8263E+13    2.9595589    6.70217E+12    -0.002652   -0.0794186    2.9595589
133   5891.99   574943           0.1004885 5/7/19 0:07      0.0098383        0.2946243           4.8263E+13    2.9641571    6.70217E+12    0.0003922    0.0117451    2.9641571
134    5896.7   574944           0.1020246 5/7/19 0:12      0.0098383        0.2946243          4.75743E+13    3.0094662    6.70217E+12    0.0109642    0.3283412    3.0094662
135   5903.84   574944           0.1021481 5/7/19 0:17      0.0098383        0.2946243          4.75743E+13    3.0131102    6.70217E+12    0.0001877     0.005621    3.0131102
136   5911.06   574944            0.102273 5/7/19 0:22      0.0098383        0.2946243          4.75743E+13    3.0167951    6.70217E+12   -0.0190565   -0.5706787    3.0167951
137   5885.39   574945           0.1028414 5/7/19 0:27      0.0098383        0.2946243          4.71059E+13    3.0335618    6.70217E+12    -0.005721   -0.1713249    3.0335618
138   5895.99   574945           0.1030267 5/7/19 0:32      0.0098383        0.2946243          4.71059E+13    3.0390254    6.70217E+12     0.005387    0.1613227    3.0390254
139   5897.07   574945           0.1030455 5/7/19 0:37      0.0098383        0.2946243          4.71059E+13    3.0395821    6.70217E+12    0.0090961    0.2723979    3.0395821
140   5898.51   574945           0.1030707 5/7/19 0:42      0.0098383        0.2946243          4.71059E+13    3.0403243    6.70217E+12    0.0000416    0.0012458    3.0403243
141   5901.99   574945           0.1031315 5/7/19 0:47      0.0098383        0.2946243          4.71059E+13    3.0421181    6.70217E+12    0.0002217    0.0066392    3.0421181
142   5889.59   574946           0.1043197 5/7/19 0:52      0.0098383        0.2946243          4.64716E+13    3.0771656    6.70217E+12   -0.0026672   -0.0798737    3.0771656
143   5889.01   574947           0.1040736 5/7/19 0:57      0.0098383        0.2946243          4.65768E+13    3.0699085    6.70217E+12   -0.0003307   -0.0099034    3.0699085
144   5877.69   574947           0.1038736 5/7/19 1:02      0.0105202        0.3150449          4.65768E+13    3.0640074    6.70217E+12   -0.0003011   -0.0090169    3.0640074
145   5889.43   574948           0.1042298 5/7/19 1:07      0.0105202        0.3150449          4.65104E+13    3.0745154    6.70217E+12   -0.0001362   -0.0040787    3.0745154
146   5887.99   574948           0.1042043 5/7/19 1:12      0.0105202        0.3150449          4.65104E+13    3.0737637    6.70217E+12    0.0091898    0.2752039    3.0737637
147    5867.4   574948           0.1038399 5/7/19 1:17      0.0105202        0.3150449          4.65104E+13    3.0630149    6.70217E+12    0.0091883     0.275159    3.0630149
148   5883.85   574950           0.1044213 5/7/19 1:22      0.0105202        0.3150449          4.63811E+13    3.0801634    6.70217E+12    0.0098517    0.2950256    3.0801634
149   5871.24   574950           0.1041975 5/7/19 1:27      0.0105202        0.3150449          4.63811E+13    3.0735621    6.70217E+12    0.0110652    0.3313659    3.0735621
150   5870.35   574950           0.1041817 5/7/19 1:32      0.0105202        0.3150449          4.63811E+13    3.0730962    6.70217E+12    0.0117356    0.3514421    3.0730962
151   5880.51   574950            0.104362 5/7/19 1:37      0.0105202        0.3150449          4.63811E+13    3.0784149    6.70217E+12    0.0114298    0.3422844    3.0784149
152   5887.56   574951           0.1056193 5/7/19 1:42      0.0105202        0.3150449          4.58839E+13    3.1155019    6.70217E+12    0.0158031    0.4732502    3.1155019
153   5888.94   574951           0.1056441 5/7/19 1:47      0.0105202        0.3150449          4.58839E+13    3.1162321    6.70217E+12    0.0139082    0.4165042    3.1162321
154   5890.07   574951           0.1056643 5/7/19 1:52      0.0105202        0.3150449          4.58839E+13    3.1168301    6.70217E+12    0.0141407    0.4234668    3.1168301
155   5887.93   574952           0.1061226 5/7/19 1:57      0.0105202        0.3150449          4.56692E+13    3.1303483    6.70217E+12    0.0129154    0.3867732    3.1303483
156   5879.77   574953           0.1056897 5/7/19 2:02       0.011378        0.3407332          4.57927E+13     3.117579    6.70217E+12    0.0142018    0.4252966     3.117579
157   5880.52   574954           0.1043159 5/7/19 2:07       0.011378        0.3407332          4.64017E+13    3.0770561    6.70217E+12    0.0139436    0.4175643    3.0770561
158   5875.01   574954           0.1042182 5/7/19 2:12       0.011378        0.3407332          4.64017E+13     3.074173    6.70217E+12    0.0105143    0.3148682     3.074173
159    5873.6   574954           0.1041932 5/7/19 2:17       0.011378        0.3407332          4.64017E+13    3.0734352    6.70217E+12    0.0094361    0.2825797    3.0734352
160   5871.85   574955           0.1044686 5/7/19 2:22       0.011378        0.3407332          4.62656E+13    3.0815582    6.70217E+12    0.0088951    0.2663786    3.0815582
161   5871.01   574956            0.103617 5/7/19 2:27       0.011378        0.3407332          4.66391E+13    3.0564397    6.70217E+12    0.0093072    0.2787196    3.0564397
162   5859.85   574956           0.1034201 5/7/19 2:32       0.011378        0.3407332          4.66391E+13    3.0506298    6.70217E+12    0.0120542    0.3609831    3.0506298
163   5865.94   574956           0.1035275 5/7/19 2:37       0.011378        0.3407332          4.66391E+13    3.0538003    6.70217E+12    0.0128926    0.3860904    3.0538003
164    5869.1   574956           0.1035833 5/7/19 2:42       0.011378        0.3407332          4.66391E+13    3.0554454    6.70217E+12    0.0141064    0.4224397    3.0554454
165    5877.6   574956           0.1037333 5/7/19 2:47       0.011378        0.3407332          4.66391E+13    3.0598705    6.70217E+12    0.0141304    0.4231584    3.0598705
166   5877.18   574957           0.1057538 5/7/19 2:52       0.011378        0.3407332          4.57448E+13    3.1194692    6.70217E+12    0.0141067    0.4224486    3.1194692
167   5885.01   574958           0.1054291 5/7/19 2:57       0.011378        0.3407332          4.59468E+13    3.1098919    6.70217E+12    0.0188926    0.5657704    3.1098919
168   5882.93   574959           0.1056834 5/7/19 3:02      0.0110606        0.3312281             4.582E+13   3.1173937    6.70217E+12    0.0159616    0.4779967    3.1173937
169   5880.11   574959           0.1056328 5/7/19 3:07      0.0110606        0.3312281             4.582E+13   3.1158994    6.70217E+12    0.0162983    0.4880798    3.1158994
170   5876.76   574959           0.1055726 5/7/19 3:12      0.0110606        0.3312281             4.582E+13   3.1141242    6.70217E+12    0.0123771    0.3706529    3.1141242
171   5875.44   574959           0.1055489 5/7/19 3:17      0.0110606        0.3312281             4.582E+13   3.1134247    6.70217E+12    0.0104838    0.3139549    3.1134247
172   5868.65   574959           0.1054269 5/7/19 3:22      0.0110606        0.3312281             4.582E+13   3.1098266    6.70217E+12    0.0135372     0.405394    3.1098266
173    5871.6   574959           0.1054799 5/7/19 3:27      0.0110606        0.3312281             4.582E+13   3.1113899    6.70217E+12    0.0142273    0.4260602    3.1113899
174    5871.6   574959           0.1054799 5/7/19 3:32      0.0110606        0.3312281             4.582E+13   3.1113899    6.70217E+12    0.0143862    0.4308187    3.1113899
175   5877.57   574959           0.1055871 5/7/19 3:37      0.0110606        0.3312281             4.582E+13   3.1145534    6.70217E+12    0.0142716    0.4273868    3.1145534
176   5876.48   574959           0.1055676 5/7/19 3:42      0.0110606        0.3312281             4.582E+13   3.1139758    6.70217E+12    0.0142134     0.425644    3.1139758
177   5868.98   574960            0.109055 5/7/19 3:47      0.0110606        0.3312281          4.42981E+13    3.2168461    6.70217E+12    0.0124885    0.3739889    3.2168461
178   5865.34   574960           0.1089874 5/7/19 3:52      0.0110606        0.3312281          4.42981E+13    3.2148509    6.70217E+12    0.0128153    0.3837755    3.2148509
179   5869.73   574961           0.1097753 5/7/19 3:57      0.0110606        0.3312281          4.40131E+13    3.2380924    6.70217E+12    0.0125425    0.3756061    3.2380924
180   5876.57   574962           0.1082718 5/7/19 4:02      0.0132424        0.3965657          4.46763E+13    3.1937442    6.70217E+12     0.012019     0.359929    3.1937442
181   5864.77   574962           0.1080544 5/7/19 4:07      0.0132424        0.3965657          4.46763E+13    3.1873313    6.70217E+12    0.0116681    0.3494207    3.1873313
182   5870.49   574963           0.1086102 5/7/19 4:12      0.0132424        0.3965657           4.4491E+13    3.2037267    6.70217E+12     0.012883    0.3858029    3.2037267
183   5892.85   574964           0.1086378 5/7/19 4:17      0.0132424        0.3965657          4.46491E+13    3.2045387    6.70217E+12    0.0113387    0.3395563    3.2045387
184   5893.36   574964           0.1086472 5/7/19 4:22      0.0132424        0.3965657          4.46491E+13     3.204816    6.70217E+12    0.0115719    0.3465398     3.204816
185   5890.81   574964           0.1086002 5/7/19 4:27      0.0132424        0.3965657          4.46491E+13    3.2034293    6.70217E+12    0.0118547    0.3550087    3.2034293
186   5894.23   574965           0.1080396 5/7/19 4:32      0.0132424        0.3965657          4.49069E+13    3.1868941    6.70217E+12    0.0122344    0.3663795    3.1868941
187   5898.56   574965            0.108119 5/7/19 4:37      0.0132424        0.3965657          4.49069E+13    3.1892353    6.70217E+12    0.0138738    0.4154741    3.1892353
188   5908.64   574965           0.1083037 5/7/19 4:42      0.0132424        0.3965657          4.49069E+13    3.1946853    6.70217E+12     0.014388    0.4308726    3.1946853
189   5915.11   574965           0.1084223 5/7/19 4:47      0.0132424        0.3965657          4.49069E+13    3.1981835    6.70217E+12    0.0166224    0.4977855    3.1981835
190    5909.7   574965           0.1083231 5/7/19 4:52      0.0132424        0.3965657          4.49069E+13    3.1952584    6.70217E+12    0.0144629    0.4331156    3.1952584




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       A        B            C                  D           E                F                 G                 H             I          J           K               L
191   5906.81   574966           0.1085559 5/7/19 4:57      0.0132424        0.3965657          4.47887E+13    3.2021242   6.70217E+12    0.014704     0.4403358    3.2021242
192   5914.74   574966           0.1087016 5/7/19 5:02      0.0163996        0.4911134          4.47887E+13    3.2064231   6.70217E+12   0.0082133      0.245961    3.2064231
193    5917.1   574967            0.109481 5/7/19 5:07      0.0163996        0.4911134          4.44875E+13    3.2294129   6.70217E+12   0.0137796     0.4126531    3.2294129
194   5912.39   574967           0.1093939 5/7/19 5:12      0.0163996        0.4911134          4.44875E+13    3.2268423   6.70217E+12   0.0156701     0.4692673    3.2268423
195   5894.35   574968           0.1094478 5/7/19 5:17      0.0163996        0.4911134             4.433E+13   3.2284315   6.70217E+12   0.0146488     0.4386827    3.2284315
196   5898.35   574968            0.109522 5/7/19 5:22      0.0163996        0.4911134             4.433E+13   3.2306223   6.70217E+12   0.0145908     0.4369458    3.2306223
197   5902.16   574969           0.1079698 5/7/19 5:27      0.0163996        0.4911134          4.49963E+13    3.1848344   6.70217E+12   0.0155564     0.4658623    3.1848344
198   5900.85   574969           0.1079458 5/7/19 5:32      0.0163996        0.4911134          4.49963E+13    3.1841275   6.70217E+12   0.0134736     0.4034894    3.1841275
199   5900.34   574969           0.1079365 5/7/19 5:37      0.0163996        0.4911134          4.49963E+13    3.1838523   6.70217E+12   0.0130804     0.3917144    3.1838523
200   5898.32   574969           0.1078995 5/7/19 5:42      0.0163996        0.4911134          4.49963E+13    3.1827623   6.70217E+12   0.0152049     0.4553361    3.1827623
201   5896.02   574970           0.1092694 5/7/19 5:47      0.0163996        0.4911134          4.44149E+13    3.2231712   6.70217E+12   0.0153738     0.4603941    3.2231712
202   5901.06   574971           0.1070272 5/7/19 5:52      0.0163996        0.4911134          4.53842E+13    3.1570311   6.70217E+12   0.0162384      0.486286    3.1570311
203   5889.23   574971           0.1068126 5/7/19 5:57      0.0163996        0.4911134          4.53842E+13    3.1507021   6.70217E+12   0.0142726     0.4274168    3.1507021
204   5888.81   574971            0.106805 5/7/19 6:02      0.0219988        0.6587907          4.53842E+13    3.1504774   6.70217E+12   0.0140196     0.4198403    3.1504774
205   5888.88   574971           0.1068063 5/7/19 6:07      0.0219988        0.6587907          4.53842E+13    3.1505149   6.70217E+12   0.0128572     0.3850303    3.1505149
206   5894.99   574971           0.1069171 5/7/19 6:12      0.0219988        0.6587907          4.53842E+13    3.1537837   6.70217E+12   0.0139901     0.4189569    3.1537837
207   5888.93   574973           0.1083283 5/7/19 6:17      0.0219988        0.6587907          4.47469E+13    3.1954116   6.70217E+12   0.0169327     0.5070779    3.1954116
208   5883.23   574973           0.1082235 5/7/19 6:22      0.0219988        0.6587907          4.47469E+13    3.1923187   6.70217E+12   0.0161834     0.4846389    3.1923187
209   5874.07   574973            0.108055 5/7/19 6:27      0.0219988        0.6587907          4.47469E+13    3.1873483   6.70217E+12   0.0160255     0.4799103    3.1873483
210   5873.01   574975           0.1081041 5/7/19 6:32      0.0219988        0.6587907          4.47185E+13    3.1887959   6.70217E+12   0.0161849     0.4846838    3.1887959
211    5877.1   574977           0.1051264 5/7/19 6:37      0.0219988        0.6587907          4.60172E+13    3.1009613   6.70217E+12   0.0160886     0.4817999    3.1009613
212   5883.19   574977           0.1052353 5/7/19 6:42      0.0219988        0.6587907          4.60172E+13    3.1041746   6.70217E+12      0.01829    0.5477245    3.1041746
213   5883.91   574979           0.1039877 5/7/19 6:47      0.0219988        0.6587907           4.6575E+13    3.0673739   6.70217E+12   0.0197193     0.5905273    3.0673739
214   5887.01   574980           0.1024096 5/7/19 6:52      0.0219988        0.6587907          4.73176E+13    3.0208243   6.70217E+12   0.0172624     0.5169513    3.0208243
215   5890.93   574981           0.1023627 5/7/19 6:57      0.0219988        0.6587907          4.73708E+13    3.0194404   6.70217E+12   0.0219934      0.658629    3.0194404
216   5891.99   574981           0.1023811 5/7/19 7:02      0.0252156        0.7551232          4.73708E+13    3.0199837   6.70217E+12   0.0190854     0.5715441    3.0199837
217    5901.6   574981           0.1025481 5/7/19 7:07      0.0252156        0.7551232          4.73708E+13    3.0249094   6.70217E+12    0.022021     0.6594555    3.0249094
218   5900.12   574982           0.1027094 5/7/19 7:12      0.0252156        0.7551232          4.72845E+13    3.0296666   6.70217E+12    0.019538      0.585098    3.0296666
219   5902.76   574983           0.1021815 5/7/19 7:17      0.0252156        0.7551232          4.75501E+13    3.0140942   6.70217E+12   0.0208005     0.6229056    3.0140942
220   5901.94   574985           0.1025203 5/7/19 7:22      0.0252156        0.7551232          4.73864E+13    3.0240881   6.70217E+12   0.0333844     0.9997515    3.0240881
221   5902.21   574986           0.1024856 5/7/19 7:27      0.0252156        0.7551232          4.74046E+13    3.0230648   6.70217E+12   0.0226755     0.6790556    3.0230648
222   5897.09   574987           0.1012514 5/7/19 7:32      0.0252156        0.7551232          4.79408E+13    2.9866604   6.70217E+12   0.0258656     0.7745885    2.9866604
223   5891.39   574988           0.1001624 5/7/19 7:37      0.0252156        0.7551232          4.84152E+13    2.9545379   6.70217E+12   0.0217027     0.6499235    2.9545379
224   5896.98   574988           0.1002575 5/7/19 7:42      0.0252156        0.7551232          4.84152E+13    2.9573413   6.70217E+12   0.0181457     0.5434032    2.9573413
225   5915.01   574989           0.0992602 5/7/19 7:47      0.0252156        0.7551232          4.90511E+13    2.9279253   6.70217E+12   0.0175618     0.5259174    2.9279253
226   5909.89   574989           0.0991743 5/7/19 7:52      0.0252156        0.7551232          4.90511E+13    2.9253909   6.70217E+12   0.0176235     0.5277651    2.9253909
227   5907.41   574990           0.0997661 5/7/19 7:57      0.0252156        0.7551232          4.87396E+13    2.9428486   6.70217E+12   0.2076065     6.2171227    6.2171227
228   5909.98   574990           0.0998095 5/7/19 8:02      0.0276548        0.8281691          4.87396E+13    2.9441289   6.70217E+12   0.3509108    10.5086088   10.5086088
229    5885.9   574991           0.1001084 5/7/19 8:07      0.0276548        0.8281691          4.83962E+13    2.9529431   6.70217E+12   1.0618156    31.7978378   31.7978378
230   5894.01   574991           0.1002463 5/7/19 8:12      0.0276548        0.8281691          4.83962E+13    2.9570118   6.70217E+12   0.3477068    10.4126596   10.4126596
231   5901.61   574991           0.1003756 5/7/19 8:17      0.0276548        0.8281691          4.83962E+13    2.9608247   6.70217E+12   0.2233212     6.6877255    6.6877255
232   5901.01   574993           0.0990295 5/7/19 8:22      0.0276548        0.8281691           4.9049E+13    2.9211197   6.70217E+12   0.1839307     5.5081114    5.5081114
233   5896.99   574993            0.098962 5/7/19 8:27      0.0276548        0.8281691           4.9049E+13    2.9191298   6.70217E+12   0.2097637     6.2817236    6.2817236
234   5903.12   574994           0.0985656 5/7/19 8:32      0.0276548        0.8281691          4.92975E+13    2.9074343   6.70217E+12   0.0304959     0.9132506    2.9074343
235   5904.99   574994           0.0985968 5/7/19 8:37      0.0276548        0.8281691          4.92975E+13    2.9083554   6.70217E+12   0.0229099     0.6860751    2.9083554
236   5928.02   574994           0.0989813 5/7/19 8:42      0.0276548        0.8281691          4.92975E+13    2.9196982   6.70217E+12    0.023268      0.696799    2.9196982
237   5918.93   574994           0.0988295 5/7/19 8:47      0.0276548        0.8281691          4.92975E+13    2.9152212   6.70217E+12   0.0200853     0.6014878    2.9152212
238   5920.48   574994           0.0988554 5/7/19 8:52      0.0276548        0.8281691          4.92975E+13    2.9159846   6.70217E+12      0.02447    0.7327949    2.9159846
239   5927.27   574996           0.1000578 5/7/19 8:57      0.0276548        0.8281691           4.8761E+13    2.9514506   6.70217E+12   0.0185494     0.5554927    2.9514506
240   5970.03   574997           0.0973284 5/7/19 9:02      0.0268411        0.8038015             5.049E+13   2.8709404   6.70217E+12   0.0182697     0.5471166    2.8709404
241   5896.92   574997           0.0961365 5/7/19 9:07      0.0268411        0.8038015             5.049E+13   2.8357824   6.70217E+12   0.0189375      0.567115    2.8357824
242   5876.01   574998           0.0954385 5/7/19 9:12      0.0268411        0.8038015          5.06789E+13    2.8151949   6.70217E+12   0.0203296     0.6088038    2.8151949
243   5818.78   574999           0.0935121 5/7/19 9:17      0.0268411        0.8038015          5.12192E+13     2.758369   6.70217E+12   0.0194987     0.5839211     2.758369
244   5836.61   574999           0.0937986 5/7/19 9:22      0.0268411        0.8038015          5.12192E+13    2.7668213   6.70217E+12   0.0190273     0.5698042    2.7668213
245   5852.94   574999            0.094061 5/7/19 9:27      0.0268411        0.8038015          5.12192E+13    2.7745624   6.70217E+12   0.0201623     0.6037937    2.7745624
246   5843.39   575000           0.0949282 5/7/19 9:32      0.0268411        0.8038015          5.06685E+13    2.8001417   6.70217E+12   0.0195915     0.5867001    2.8001417
247    5840.9   575000           0.0948878 5/7/19 9:37      0.0268411        0.8038015          5.06685E+13    2.7989485   6.70217E+12   0.0208798     0.6252804    2.7989485
248   5844.44   575000           0.0949453 5/7/19 9:42      0.0268411        0.8038015          5.06685E+13    2.8006448   6.70217E+12   0.0199536     0.5975438    2.8006448
249   5831.94   575001           0.0948603 5/7/19 9:47      0.0268411        0.8038015          5.06054E+13    2.7981392   6.70217E+12   0.0196606     0.5887694    2.7981392
250   5840.78   575003           0.0941941 5/7/19 9:52      0.0268411        0.8038015          5.10406E+13    2.7784869   6.70217E+12   0.0187964     0.5628895    2.7784869
251   5839.47   575003            0.094173 5/7/19 9:57      0.0268411        0.8038015          5.10406E+13    2.7778637   6.70217E+12   0.0188057      0.563168    2.7778637
252   5836.55   575003           0.0941259 5/7/19 9:58      0.0268411        0.8038015          5.10406E+13    2.7764747   6.70217E+12   0.0188057      0.563168    2.7764747
253   5843.59   575003           0.0942394 5/7/19 10:03     0.0287164        0.8599605          5.10406E+13    2.7798236   6.70217E+12   0.0202762     0.6072046    2.7798236
254   5851.93   575003           0.0943739 5/7/19 10:08     0.0287164        0.8599605          5.10406E+13     2.783791   6.70217E+12   0.0195808     0.5863797     2.783791
255    5840.6   575003           0.0941912 5/7/19 10:13     0.0287164        0.8599605          5.10406E+13    2.7784013   6.70217E+12   0.0202654     0.6068812    2.7784013
256   5841.73   575003           0.0942094 5/7/19 10:18     0.0287164        0.8599605          5.10406E+13    2.7789388   6.70217E+12    0.020167     0.6039344    2.7789388
257   5837.26   575004           0.0966021 5/7/19 10:23     0.0287164        0.8599605          4.97383E+13    2.8495172   6.70217E+12   0.0196567     0.5886526    2.8495172
258    5843.1   575004           0.0966987 5/7/19 10:28     0.0287164        0.8599605          4.97383E+13     2.852368   6.70217E+12   0.0207215     0.6205399     2.852368
259   5843.45   575005           0.0974035 5/7/19 10:35     0.0287164        0.8599605          4.93814E+13    2.8731576   6.70217E+12   0.0201838     0.6044375    2.8731576
260   5841.01   575005           0.0973629 5/7/19 10:35     0.0287164        0.8599605          4.93814E+13    2.8719579   6.70217E+12   0.0198071     0.5931566    2.8719579
261   5844.02   575005            0.097413 5/7/19 10:42     0.0287164        0.8599605          4.93814E+13    2.8734379   6.70217E+12   0.0200159     0.5994095    2.8734379
262   5844.02   575005            0.097413 5/7/19 10:43     0.0287164        0.8599605          4.93814E+13    2.8734379   6.70217E+12   0.0200159     0.5994095    2.8734379
263   5843.32   575005           0.0974014 5/7/19 10:43     0.0287164        0.8599605          4.93814E+13    2.8730937   6.70217E+12   0.0200159     0.5994095    2.8730937
264   5843.32   575005           0.0974014 5/7/19 10:44     0.0287164        0.8599605          4.93814E+13    2.8730937   6.70217E+12   0.0200159     0.5994095    2.8730937
265   5843.18   575005            0.097399 5/7/19 10:45     0.0287164        0.8599605          4.93814E+13    2.8730249   6.70217E+12   0.0201643     0.6038536    2.8730249
266   5843.18   575005            0.097399 5/7/19 10:46     0.0287164        0.8599605          4.93814E+13    2.8730249   6.70217E+12   0.0201643     0.6038536    2.8730249
267   5843.81   575005           0.0974095 5/7/19 10:48     0.0287164        0.8599605          4.93814E+13    2.8733347   6.70217E+12   0.0201643     0.6038536    2.8733347
268   5855.01   575005           0.0975962 5/7/19 10:51     0.0287164        0.8599605          4.93814E+13    2.8788416   6.70217E+12   0.0202597     0.6067105    2.8788416
269   5853.18   575005           0.0975657 5/7/19 10:52     0.0287164        0.8599605          4.93814E+13    2.8779418   6.70217E+12   0.0202597     0.6067105    2.8779418
270   5853.18   575005           0.0975657 5/7/19 10:53     0.0287164        0.8599605          4.93814E+13    2.8779418   6.70217E+12   0.0202597     0.6067105    2.8779418
271   5854.99   575005           0.0975959 5/7/19 10:58     0.0287164        0.8599605          4.93814E+13    2.8788317   6.70217E+12   0.0204901     0.6136102    2.8788317
272   5855.01   575005           0.0975962 5/7/19 11:03     0.0273473        0.8189605          4.93814E+13    2.8788416   6.70217E+12    0.019272     0.5771322    2.8788416
273   5862.23   575005           0.0977166 5/7/19 11:08     0.0273473        0.8189605          4.93814E+13    2.8823916   6.70217E+12   0.0185107     0.5543338    2.8823916
274   5868.68   575005           0.0978241 5/7/19 11:13     0.0273473        0.8189605          4.93814E+13     2.885563   6.70217E+12   0.0182389     0.5461943     2.885563
275    5877.1   575005           0.0979644 5/7/19 11:18     0.0273473        0.8189605          4.93814E+13     2.889703   6.70217E+12   0.0175485     0.5255191     2.889703
276   5880.82   575006           0.1020763 5/7/19 11:23     0.0273473        0.8189605          4.74222E+13    3.0109929   6.70217E+12   0.0171425     0.5133607    3.0109929
277   5885.64   575007           0.1017322 5/7/19 11:28     0.0273473        0.8189605          4.76216E+13     3.000843   6.70217E+12   0.0161012     0.4821773     3.000843
278   5888.81   575007            0.101787 5/7/19 11:33     0.0273473        0.8189605          4.76216E+13    3.0024592   6.70217E+12   0.0167836     0.5026129    3.0024592
279   5887.01   575007           0.1017559 5/7/19 11:38     0.0273473        0.8189605          4.76216E+13    3.0015415   6.70217E+12    0.017405     0.5212217    3.0015415
280   5885.87   575009           0.1022383 5/7/19 11:43     0.0273473        0.8189605          4.73877E+13    3.0157712   6.70217E+12   0.0181379     0.5431696    3.0157712
281   5882.45   575010           0.1025602 5/7/19 11:48     0.0273473        0.8189605          4.72115E+13    3.0252654   6.70217E+12   0.0188967     0.5658932    3.0252654
282   5889.31   575010           0.1026798 5/7/19 11:53     0.0273473        0.8189605          4.72115E+13    3.0287934   6.70217E+12   0.0191234     0.5726821    3.0287934
283   5888.74   575011           0.1032466 5/7/19 11:58     0.0273473        0.8189605          4.69478E+13    3.0455122   6.70217E+12   0.0189953     0.5688459    3.0455122
284   5894.74   575011           0.1033518 5/7/19 12:03     0.0270574        0.8102789          4.69478E+13    3.0486153   6.70217E+12   0.0201972     0.6048388    3.0486153
285   5895.72   575011           0.1033689 5/7/19 12:08     0.0270574        0.8102789          4.69478E+13    3.0491221   6.70217E+12   0.0246114     0.7370294    3.0491221




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       A        B            C                  D           E                F                 G                 H             I          J           K               L
286   5907.12   575011           0.1035688 5/7/19 12:13     0.0270574        0.8102789          4.69478E+13   3.0550179    6.70217E+12   0.0195085     0.5842145    3.0550179
287   5908.19   575013           0.1040015 5/7/19 12:18     0.0270574        0.8102789          4.67609E+13   3.0677806    6.70217E+12   0.0177224     0.5307268    3.0677806
288   5895.99   575013           0.1037867 5/7/19 12:23     0.0270574        0.8102789          4.67609E+13   3.0614459    6.70217E+12   0.0163821     0.4905893    3.0614459
289   5898.02   575014           0.1043706 5/7/19 12:27     0.0270574        0.8102789          4.65154E+13   3.0786681    6.70217E+12   0.0162962     0.4880169    3.0786681
290    5895.6   575014           0.1043278 5/7/19 12:32     0.0270574        0.8102789          4.65154E+13   3.0774049    6.70217E+12   0.0164602     0.4929281    3.0774049
291   5887.34   575016           0.1041844 5/7/19 12:37     0.0270574        0.8102789          4.65141E+13   3.0731761    6.70217E+12   0.0200409     0.6001582    3.0731761
292    5889.4   575016           0.1042209 5/7/19 12:42     0.0270574        0.8102789          4.65141E+13   3.0742514    6.70217E+12   0.0215114     0.6441947    3.0742514
293   5893.65   575016           0.1042961 5/7/19 12:47     0.0270574        0.8102789          4.65141E+13   3.0764699    6.70217E+12    0.020945     0.6272329    3.0764699
294   5893.83   575018           0.1033386 5/7/19 12:52     0.0270574        0.8102789          4.69465E+13   3.0482275    6.70217E+12   0.0215906     0.6465665    3.0482275
295   5890.09   575018            0.103273 5/7/19 12:57     0.0270574        0.8102789          4.69465E+13   3.0462932    6.70217E+12   0.0199465     0.5973312    3.0462932
296   5887.86   575018           0.1032339 5/7/19 13:02     0.0260477        0.7800418          4.69465E+13   3.0451399    6.70217E+12   0.0182097     0.5453198    3.0451399
297   5877.45   575018           0.1030514 5/7/19 13:07     0.0260477        0.7800418          4.69465E+13   3.0397559    6.70217E+12   0.0171154     0.5125492    3.0397559
298   5880.76   575018           0.1031095 5/7/19 13:12     0.0260477        0.7800418          4.69465E+13   3.0414678    6.70217E+12   0.0158291     0.4740288    3.0414678
299   5885.01   575018            0.103184 5/7/19 13:17     0.0260477        0.7800418          4.69465E+13   3.0436659    6.70217E+12   0.0156969     0.4700698    3.0436659
300   5886.65   575019            0.105185 5/7/19 13:22     0.0260477        0.7800418          4.60663E+13      3.10269   6.70217E+12   0.0194576     0.5826903       3.10269
301   5886.81   575019           0.1051878 5/7/19 13:27     0.0260477        0.7800418          4.60663E+13   3.1027744    6.70217E+12   0.0237637     0.7116436    3.1027744
302   5886.02   575019           0.1051737 5/7/19 13:32     0.0260477        0.7800418          4.60663E+13    3.102358    6.70217E+12    0.034183     1.0236669     3.102358
303   5878.86   575019           0.1050458 5/7/19 13:37     0.0260477        0.7800418          4.60663E+13   3.0985841    6.70217E+12   0.4823059     14.443454    14.443454
304   5879.94   575019           0.1050651 5/7/19 13:42     0.0260477        0.7800418          4.60663E+13   3.0991534    6.70217E+12   0.1343145     4.0222716    4.0222716
305   5872.78   575020           0.1055767 5/7/19 13:47     0.0260477        0.7800418          4.57872E+13   3.1142442    6.70217E+12   0.0287544     0.8610984    3.1142442
306   5868.57   575020            0.105501 5/7/19 13:52     0.0260477        0.7800418          4.57872E+13   3.1120117    6.70217E+12   0.0442637     1.3255503    3.1120117
307    5877.6   575020           0.1056633 5/7/19 13:57     0.0260477        0.7800418          4.57872E+13   3.1168002    6.70217E+12   0.0156508     0.4686893    3.1168002
308    5880.3   575021           0.1070192 5/7/19 14:02      0.025584        0.7661555          4.52279E+13    3.156795    6.70217E+12   0.0212368     0.6359714     3.156795
309    5873.1   575021           0.1068882 5/7/19 14:07      0.025584        0.7661555          4.52279E+13   3.1529297    6.70217E+12   0.0135226     0.4049568    3.1529297
310   5856.76   575021           0.1065908 5/7/19 14:12      0.025584        0.7661555          4.52279E+13   3.1441577    6.70217E+12   0.0161145     0.4825756    3.1441577
311   5835.32   575021           0.1062006 5/7/19 14:17      0.025584        0.7661555          4.52279E+13   3.1326478    6.70217E+12    0.021294     0.6376843    3.1326478
312    5823.7   575021           0.1059891 5/7/19 14:22      0.025584        0.7661555          4.52279E+13   3.1264097    6.70217E+12   0.0232619     0.6966164    3.1264097
313    5823.9   575021           0.1059927 5/7/19 14:27      0.025584        0.7661555          4.52279E+13   3.1265171    6.70217E+12   0.0186602     0.5588108    3.1265171
314   5844.51   575021           0.1063678 5/7/19 14:32      0.025584        0.7661555          4.52279E+13   3.1375814    6.70217E+12   0.0221179     0.6623574    3.1375814
315   5852.73   575022           0.1090264 5/7/19 14:37      0.025584        0.7661555          4.41871E+13   3.2160024    6.70217E+12   0.0160534     0.4807458    3.2160024
316   5842.59   575022           0.1088375 5/7/19 14:42      0.025584        0.7661555          4.41871E+13   3.2104306    6.70217E+12   0.0139152     0.4167139    3.2104306
317   5844.51   575023           0.1093454 5/7/19 14:47      0.025584        0.7661555          4.39963E+13    3.225412    6.70217E+12   0.0096897     0.2901742     3.225412
318   5842.77   575023           0.1093128 5/7/19 14:52      0.025584        0.7661555          4.39963E+13   3.2244517    6.70217E+12   0.0082441     0.2468833    3.2244517
319   5843.27   575023           0.1093222 5/7/19 14:57      0.025584        0.7661555          4.39963E+13   3.2247277    6.70217E+12   0.0080116     0.2399207    3.2247277
320   5849.85   575023           0.1094453 5/7/19 15:02     0.0200751        0.6011823          4.39963E+13    3.228359    6.70217E+12    0.004172     0.1249375     3.228359
321   5844.11   575023           0.1093379 5/7/19 15:07     0.0200751        0.6011823          4.39963E+13   3.2251913    6.70217E+12   0.0063173     0.1891821    3.2251913
322   5838.69   575023           0.1092365 5/7/19 15:12     0.0200751        0.6011823          4.39963E+13   3.2222001    6.70217E+12   0.0074128     0.2219887    3.2222001
323   5843.57   575023           0.1093278 5/7/19 15:17     0.0200751        0.6011823          4.39963E+13   3.2248932    6.70217E+12   0.0068169     0.2041434    3.2248932
324   5844.59   575023           0.1093469 5/7/19 15:22     0.0200751        0.6011823          4.39963E+13   3.2254562    6.70217E+12   0.0173942     0.5208983    3.2254562
325   5849.99   575023           0.1094479 5/7/19 15:27     0.0200751        0.6011823          4.39963E+13   3.2284363    6.70217E+12   0.0160868      0.481746    3.2284363
326   5849.99   575023           0.1094479 5/7/19 15:32     0.0200751        0.6011823          4.39963E+13   3.2284363    6.70217E+12   0.0179579     0.5377792    3.2284363
327   5862.15   575023           0.1096754 5/7/19 15:37     0.0200751        0.6011823          4.39963E+13    3.235147    6.70217E+12   0.0185996      0.556996     3.235147
328    5861.7   575023            0.109667 5/7/19 15:42     0.0200751        0.6011823          4.39963E+13   3.2348987    6.70217E+12   0.0164337     0.4921345    3.2348987
329   5871.48   575024           0.1144475 5/7/19 15:47     0.0200751        0.6011823          4.22289E+13   3.3759101    6.70217E+12   0.0172669     0.5170861    3.3759101
330    5859.1   575024           0.1142061 5/7/19 15:52     0.0200751        0.6011823          4.22289E+13    3.368792    6.70217E+12   0.0085437     0.2558553     3.368792
331    5854.1   575025           0.1144044 5/7/19 15:57     0.0200751        0.6011823          4.21197E+13   3.3746406    6.70217E+12   0.0200752     0.6011853    3.3746406
332   5843.22   575026           0.1144995 5/7/19 16:02     0.0216225        0.6475218          4.20066E+13   3.3774456    6.70217E+12   0.0220984     0.6617734    3.3774456
333   5853.43   575026           0.1146996 5/7/19 16:07     0.0216225        0.6475218          4.20066E+13   3.3833471    6.70217E+12   0.0156725     0.4693391    3.3833471
334   5856.16   575026           0.1147531 5/7/19 16:12     0.0216225        0.6475218          4.20066E+13    3.384925    6.70217E+12   0.0214597     0.6426465     3.384925
335   5854.02   575026           0.1147111 5/7/19 16:17     0.0216225        0.6475218          4.20066E+13   3.3836881    6.70217E+12   0.0239835     0.7182259    3.3836881
336   5850.81   575026           0.1146482 5/7/19 16:22     0.0216225        0.6475218          4.20066E+13   3.3818327    6.70217E+12   0.0167074     0.5003309    3.3818327
337   5854.62   575027           0.1163454 5/7/19 16:27     0.0216225        0.6475218          4.14207E+13   3.4318944    6.70217E+12   0.0156102     0.4674735    3.4318944
338    5855.8   575028           0.1157465 5/7/19 16:32     0.0216225        0.6475218          4.16435E+13   3.4142287    6.70217E+12   0.0163249     0.4888763    3.4142287
339   5856.74   575029           0.1142802 5/7/19 16:37     0.0216225        0.6475218          4.21846E+13   3.3709755    6.70217E+12   0.0175314      0.525007    3.3709755
340   5868.02   575029           0.1145003 5/7/19 16:42     0.0216225        0.6475218          4.21846E+13   3.3774679    6.70217E+12   0.0151098     0.4524881    3.3774679
341   5872.51   575029           0.1145879 5/7/19 16:47     0.0216225        0.6475218          4.21846E+13   3.3800522    6.70217E+12   0.0146534     0.4388205    3.3800522
342   5871.99   575029           0.1145777 5/7/19 16:52     0.0216225        0.6475218          4.21846E+13   3.3797529    6.70217E+12   0.0175759     0.5263396    3.3797529
343   5880.77   575029           0.1147491 5/7/19 16:57     0.0216225        0.6475218          4.21846E+13   3.3848064    6.70217E+12   0.0063504     0.1901733    3.3848064
344   5886.53   575029           0.1148614 5/7/19 17:02     0.0204922        0.6136731          4.21846E+13   3.3881217    6.70217E+12   0.0061338     0.1836869    3.3881217
345   5889.98   575029           0.1149288 5/7/19 17:07     0.0204922        0.6136731          4.21846E+13   3.3901075    6.70217E+12   0.0028472     0.0852641    3.3901075
346    5885.6   575031           0.1147437 5/7/19 17:12     0.0204922        0.6136731          4.22212E+13   3.3846492    6.70217E+12   0.0111196      0.332995    3.3846492
347   5883.88   575032           0.1144564 5/7/19 17:17     0.0204922        0.6136731          4.23148E+13   3.3761744    6.70217E+12   0.0197231     0.5906411    3.3761744
348   5871.02   575033            0.114058 5/7/19 17:22     0.0204922        0.6136731          4.23698E+13    3.364421    6.70217E+12    0.013771     0.4123955     3.364421
349   5872.05   575033            0.114078 5/7/19 17:27     0.0204922        0.6136731          4.23698E+13   3.3650113    6.70217E+12   0.0099314     0.2974123    3.3650113
350   5878.77   575034           0.1147072 5/7/19 17:32     0.0204922        0.6136731          4.21856E+13   3.3835727    6.70217E+12   0.0135307     0.4051994    3.3835727
351    5877.4   575034           0.1146805 5/7/19 17:37     0.0204922        0.6136731          4.21856E+13   3.3827841    6.70217E+12   0.0143791     0.4306061    3.3827841
352   5880.39   575034           0.1147388 5/7/19 17:42     0.0204922        0.6136731          4.21856E+13   3.3845051    6.70217E+12   0.0171643     0.5140136    3.3845051
353   5871.98   575034           0.1145747 5/7/19 17:47     0.0204922        0.6136731          4.21856E+13   3.3796646    6.70217E+12   0.0179472     0.5374588    3.3796646
354    5878.4   575035           0.1155377 5/7/19 17:52     0.0204922        0.6136731          4.18797E+13   3.4080684    6.70217E+12   0.0182428     0.5463111    3.4080684
355   5886.62   575035           0.1156992 5/7/19 17:57     0.0204922        0.6136731          4.18797E+13   3.4128341    6.70217E+12   0.0280718     0.8406568    3.4128341
356   5896.23   575036           0.1119906 5/7/19 18:02     0.0194272        0.5817799          4.33372E+13   3.3034392    6.70217E+12   0.4423178    13.2459437   13.2459437
357    5898.4   575036           0.1120318 5/7/19 18:08     0.0194272        0.5817799          4.33372E+13    3.304655    6.70217E+12      0.19554    5.8557712    5.8557712
358   5899.98   575036           0.1120618 5/7/19 18:13     0.0194272        0.5817799          4.33372E+13   3.3055402    6.70217E+12   0.0183816     0.5504676    3.3055402
359   5899.98   575037           0.1118805 5/7/19 18:18     0.0194272        0.5817799          4.34075E+13   3.3001905    6.70217E+12   0.0124839     0.3738512    3.3001905
360   5901.99   575039           0.1087922 5/7/19 18:23     0.0194272        0.5817799          4.46549E+13   3.2090942    6.70217E+12   0.0063404     0.1898738    3.2090942
361   5898.01   575040           0.1082466 5/7/19 18:28     0.0194272        0.5817799          4.48497E+13   3.1930006    6.70217E+12   0.0069752      0.208884    3.1930006
362   5899.19   575041           0.1069708 5/7/19 18:33     0.0194272        0.5817799          4.53937E+13   3.1553672    6.70217E+12   0.0117867     0.3529724    3.1553672
363   5858.01   575041           0.1062241 5/7/19 18:38     0.0194272        0.5817799          4.53937E+13   3.1333408    6.70217E+12   0.0008215     0.0246012    3.1333408
364   5832.84   575041           0.1057677 5/7/19 18:43     0.0194272        0.5817799          4.53937E+13   3.1198778    6.70217E+12    0.007936     0.2376567    3.1198778
365   5825.57   575042           0.1062064 5/7/19 18:48     0.0194272        0.5817799          4.51499E+13   3.1328187    6.70217E+12   0.0131193     0.3928793    3.1328187
366   5730.23   575042           0.1044682 5/7/19 18:53     0.0194272        0.5817799          4.51499E+13   3.0815477    6.70217E+12   0.0147234     0.4409168    3.0815477
367   5765.61   575042           0.1051132 5/7/19 18:58     0.0194272        0.5817799          4.51499E+13    3.100574    6.70217E+12    0.015851     0.4746846     3.100574
368   5698.35   575042            0.103887 5/7/19 19:03     0.0208363        0.6239777          4.51499E+13   3.0644036    6.70217E+12   0.0143949     0.4310793    3.0644036
369   5728.93   575043            0.104596 5/7/19 19:08     0.0208363        0.6239777          4.50844E+13   3.0853184    6.70217E+12   0.0085453     0.2559033    3.0853184
370   5726.34   575044           0.1042417 5/7/19 19:13     0.0208363        0.6239777          4.52172E+13   3.0748672    6.70217E+12   0.0131066      0.392499    3.0748672
371   5721.68   575044           0.1041569 5/7/19 19:18     0.0208363        0.6239777          4.52172E+13    3.072365    6.70217E+12   0.0074483     0.2230518     3.072365
372   5740.89   575044           0.1045066 5/7/19 19:23     0.0208363        0.6239777          4.52172E+13   3.0826801    6.70217E+12   0.0220669     0.6608301    3.0826801
373   5739.97   575047           0.1037772 5/7/19 19:28     0.0208363        0.6239777          4.55277E+13   3.0611659    6.70217E+12   0.0206216     0.6175482    3.0611659
374   5762.15   575047           0.1041783 5/7/19 19:33     0.0208363        0.6239777          4.55277E+13   3.0729946    6.70217E+12   0.0227412     0.6810231    3.0729946
375   5772.32   575048           0.1046881 5/7/19 19:38     0.0208363        0.6239777           4.5386E+13   3.0880343    6.70217E+12   0.0213669     0.6398674    3.0880343
376   5757.52   575048           0.1044197 5/7/19 19:43     0.0208363        0.6239777           4.5386E+13   3.0801167    6.70217E+12   0.0192512     0.5765093    3.0801167
377   5780.76   575048           0.1048412 5/7/19 19:48     0.0208363        0.6239777           4.5386E+13   3.0925494    6.70217E+12   0.0184615     0.5528604    3.0925494
378   5772.27   575049           0.1062044 5/7/19 19:53     0.0208363        0.6239777          4.47376E+13   3.1327595    6.70217E+12   0.0170593     0.5108692    3.1327595
379   5763.53   575049           0.1060435 5/7/19 19:58     0.0208363        0.6239777          4.47376E+13    3.128016    6.70217E+12   0.0193825     0.5804413     3.128016
380   5774.99   575049           0.1062544 5/7/19 20:03     0.0214057        0.6410294          4.47376E+13   3.1342357    6.70217E+12   0.0225229     0.6744858    3.1342357




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       A        B            C                  D           E                F                 G                 H             I          J           K              L
381   5785.64   575050           0.1067275 5/7/19 20:08     0.0214057        0.6410294          4.46214E+13   3.1481898    6.70217E+12   0.0200782    0.6012752    3.1481898
382   5794.65   575051           0.1065264 5/7/19 20:13     0.0214057        0.6410294          4.47753E+13   3.1422582    6.70217E+12   0.0189119    0.5663484    3.1422582
383   5794.99   575052            0.105856 5/7/19 20:18     0.0214057        0.6410294          4.50615E+13   3.1224836    6.70217E+12   0.0168789    0.5054668    3.1224836
384   5777.32   575052           0.1055332 5/7/19 20:23     0.0214057        0.6410294          4.50615E+13   3.1129625    6.70217E+12   0.0188787    0.5653541    3.1129625
385   5779.44   575052           0.1055719 5/7/19 20:28     0.0214057        0.6410294          4.50615E+13   3.1141049    6.70217E+12   0.0185028    0.5540972    3.1141049
386   5784.49   575053           0.1069047 5/7/19 20:33     0.0214057        0.6410294          4.45386E+13   3.1534189    6.70217E+12   0.0168679    0.5051374    3.1534189
387   5792.26   575054           0.1071284 5/7/19 20:38     0.0214057        0.6410294          4.45053E+13   3.1600161    6.70217E+12   0.0100913    0.3022008    3.1600161
388   5794.99   575055           0.1078127 5/7/19 20:43     0.0214057        0.6410294          4.42437E+13   3.1802017    6.70217E+12   0.0159387    0.4773109    3.1802017
389   5798.99   575056           0.1065136 5/7/19 20:48     0.0214057        0.6410294          4.48142E+13   3.1418807    6.70217E+12   0.0155694    0.4662516    3.1418807
390   5799.99   575056           0.1065319 5/7/19 20:53     0.0214057        0.6410294          4.48142E+13   3.1424225    6.70217E+12   0.0120816    0.3618036    3.1424225
391   5792.47   575056           0.1063938 5/7/19 20:58     0.0214057        0.6410294          4.48142E+13   3.1383482    6.70217E+12   0.0121052    0.3625104    3.1383482
392   5783.99   575057           0.1071229 5/7/19 21:03     0.0187353        0.5610598           4.4444E+13   3.1598544    6.70217E+12   0.0062082    0.1859149    3.1598544
393   5798.01   575060           0.1064196 5/7/19 21:08     0.0187353        0.5610598          4.48462E+13   3.1391083    6.70217E+12   0.0101617     0.304309    3.1391083
394   5804.99   575060           0.1065477 5/7/19 21:13     0.0187353        0.5610598          4.48462E+13   3.1428873    6.70217E+12   0.0147359    0.4412911    3.1428873
395   5804.47   575060           0.1065382 5/7/19 21:18     0.0187353        0.5610598          4.48462E+13   3.1426058    6.70217E+12   0.0161425    0.4834141    3.1426058
396   5797.19   575061           0.1077196 5/7/19 21:23     0.0187353        0.5610598          4.42987E+13   3.1774565    6.70217E+12   0.0166747    0.4993517    3.1774565
397   5796.01   575062           0.1073179 5/7/19 21:28     0.0187353        0.5610598          4.44555E+13   3.1656063    6.70217E+12   0.0162576    0.4868609    3.1656063
398   5796.91   575062           0.1073346 5/7/19 21:33     0.0187353        0.5610598          4.44555E+13   3.1660978    6.70217E+12   0.0154972    0.4640895    3.1660978
399   5804.49   575063           0.1082426 5/7/19 21:38     0.0187353        0.5610598          4.41402E+13   3.1928815    6.70217E+12   0.0140195    0.4198373    3.1928815
400   5807.51   575063           0.1082989 5/7/19 21:43     0.0187353        0.5610598          4.41402E+13   3.1945427    6.70217E+12   0.0138085    0.4135185    3.1945427
401   5806.56   575064            0.107581 5/7/19 21:48     0.0187353        0.5610598          4.44275E+13   3.1733683    6.70217E+12   0.0123646    0.3702786    3.1733683
402   5797.78   575064           0.1074184 5/7/19 21:53     0.0187353        0.5610598          4.44275E+13   3.1685699    6.70217E+12   0.0135325    0.4052533    3.1685699
403   5793.65   575064           0.1073419 5/7/19 21:58     0.0187353        0.5610598          4.44275E+13   3.1663128    6.70217E+12   0.0143717    0.4303845    3.1663128
404   5778.02   575065           0.1070536 5/7/19 22:03     0.0092857        0.2780758          4.44269E+13   3.1578114    6.70217E+12   0.0159167    0.4766521    3.1578114
405   5773.43   575066           0.1052104 5/7/19 22:08     0.0092857        0.2780758          4.51693E+13   3.1034402    6.70217E+12   0.0153253    0.4589417    3.1034402
406   5779.39   575067           0.1054664 5/7/19 22:13     0.0092857        0.2780758          4.51062E+13   3.1109906    6.70217E+12   0.0139439    0.4175733    3.1109906
407   5791.59   575067            0.105689 5/7/19 22:18     0.0092857        0.2780758          4.51062E+13   3.1175577    6.70217E+12   0.0131096    0.3925888    3.1175577
408   5790.02   575067           0.1056603 5/7/19 22:23     0.0092857        0.2780758          4.51062E+13   3.1167126    6.70217E+12   0.0122573    0.3670653    3.1167126
409   5782.94   575067           0.1055311 5/7/19 22:28     0.0092857        0.2780758          4.51062E+13   3.1129015    6.70217E+12   0.0136306     0.408191    3.1129015
410   5775.43   575067           0.1053941 5/7/19 22:33     0.0092857        0.2780758          4.51062E+13   3.1088589    6.70217E+12   0.0135185     0.404834    3.1088589
411   5779.99   575068           0.1067775 5/7/19 22:38     0.0092857        0.2780758           4.4557E+13   3.1496656    6.70217E+12   0.0130395    0.3904896    3.1496656
412   5785.55   575068           0.1068802 5/7/19 22:43     0.0092857        0.2780758           4.4557E+13   3.1526954    6.70217E+12   0.0132167    0.3957961    3.1526954
413    5776.9   575070           0.1064823 5/7/19 22:48     0.0092857        0.2780758          4.46566E+13   3.1409571    6.70217E+12   0.0151927    0.4549707    3.1409571
414   5782.35   575070           0.1065827 5/7/19 22:53     0.0092857        0.2780758          4.46566E+13   3.1439203    6.70217E+12   0.0127496     0.381808    3.1439203
415   5778.56   575070           0.1065129 5/7/19 22:58     0.0092857        0.2780758          4.46566E+13   3.1418596    6.70217E+12      0.01094   0.3276165    3.1418596
416   5807.88   575077           0.1057164 5/8/19 0:03       0.010744         0.321747          4.52214E+13   3.1183659    6.70217E+12   0.0116913    0.3501155    3.1183659
417   5804.11   575077           0.1056478 5/8/19 0:08       0.010744         0.321747          4.52214E+13   3.1163417    6.70217E+12   0.0120928    0.3621391    3.1163417
418   5801.23   575078           0.1058179 5/8/19 0:13       0.010744         0.321747          4.51263E+13   3.1213604    6.70217E+12   0.0121536    0.3639598    3.1213604
419   5791.66   575078           0.1056434 5/8/19 0:18       0.010744         0.321747          4.51263E+13   3.1162113    6.70217E+12   0.0124538    0.3729498    3.1162113
420    5795.5   575078           0.1057134 5/8/19 0:23       0.010744         0.321747          4.51263E+13   3.1182774    6.70217E+12   0.0132227    0.3959758    3.1182774
421   5795.98   575079           0.1065412 5/8/19 0:28       0.010744         0.321747          4.47794E+13   3.1426942    6.70217E+12   0.0133711    0.4004199    3.1426942
422   5799.99   575081            0.102499 5/8/19 0:33       0.010744         0.321747          4.65775E+13   3.0234621    6.70217E+12   0.0173409    0.5193022    3.0234621
423   5804.41   575082           0.1023697 5/8/19 0:38       0.010744         0.321747          4.66719E+13   3.0196463    6.70217E+12   0.0172819    0.5175353    3.0196463
424   5804.82   575084           0.1015622 5/8/19 0:43       0.010744         0.321747          4.70463E+13   2.9958274    6.70217E+12   0.0175389    0.5252316    2.9958274
425   5802.49   575086           0.0989662 5/8/19 0:48       0.010744         0.321747          4.82609E+13   2.9192535    6.70217E+12   0.0173835    0.5205779    2.9192535
426   5795.31   575086           0.0988438 5/8/19 0:53       0.010744         0.321747          4.82609E+13   2.9156412    6.70217E+12   0.0147548    0.4418571    2.9156412
427   5799.55   575087           0.0990391 5/8/19 0:58       0.010744         0.321747           4.8201E+13   2.9214025    6.70217E+12   0.0135535    0.4058821    2.9214025
428   5810.52   575087           0.0992264 5/8/19 1:03      0.0116366        0.3484774           4.8201E+13   2.9269284    6.70217E+12   0.0126685    0.3793793    2.9269284
429   5818.01   575087           0.0993543 5/8/19 1:08      0.0116366        0.3484774           4.8201E+13   2.9307013    6.70217E+12   0.0083531    0.2501475    2.9307013
430   5819.24   575089           0.0985572 5/8/19 1:13      0.0116366        0.3484774          4.86011E+13   2.9071881    6.70217E+12   0.0126493    0.3788044    2.9071881
431   5817.19   575090           0.0973429 5/8/19 1:18      0.0116366        0.3484774          4.91901E+13   2.8713676    6.70217E+12   0.0126278    0.3781605    2.8713676
432   5820.91   575090           0.0974051 5/8/19 1:23      0.0116366        0.3484774          4.91901E+13   2.8732038    6.70217E+12   0.0125071     0.374546    2.8732038
433   5831.99   575090           0.0975905 5/8/19 1:28      0.0116366        0.3484774          4.91901E+13   2.8786729    6.70217E+12   0.0125147    0.3747735    2.8786729
434   5837.72   575090           0.0976864 5/8/19 1:33      0.0116366        0.3484774          4.91901E+13   2.8815012    6.70217E+12   0.0030723    0.0920051    2.8815012
435   5825.57   575090           0.0974831 5/8/19 1:38      0.0116366        0.3484774          4.91901E+13    2.875504    6.70217E+12   0.0007008    0.0209866     2.875504
436    5834.9   575090           0.0976392 5/8/19 1:43      0.0116366        0.3484774          4.91901E+13   2.8801093    6.70217E+12    0.002842    0.0851084    2.8801093
437   5839.94   575090           0.0977235 5/8/19 1:49      0.0116366        0.3484774          4.91901E+13    2.882597    6.70217E+12   0.0029206    0.0874622     2.882597
438   5834.68   575090           0.0976355 5/8/19 1:54      0.0116366        0.3484774          4.91901E+13   2.8800007    6.70217E+12   0.0037273    0.1116202    2.8800007
439   5827.66   575090           0.0975181 5/8/19 1:59      0.0116366        0.3484774          4.91901E+13   2.8765356    6.70217E+12   0.0045235    0.1354637    2.8765356
440   5833.57   575090            0.097617 5/8/19 2:04      0.0119665        0.3583568          4.91901E+13   2.8794528    6.70217E+12    0.005794     0.173511    2.8794528
441   5837.02   575090           0.0976747 5/8/19 2:09      0.0119665        0.3583568          4.91901E+13   2.8811557    6.70217E+12   0.0120927    0.3621361    2.8811557
442   5834.82   575091           0.1021121 5/8/19 2:14      0.0119665        0.3583568          4.70347E+13   3.0120484    6.70217E+12   0.0138694    0.4153423    3.0120484
443   5832.01   575091           0.1020629 5/8/19 2:19      0.0119665        0.3583568          4.70347E+13   3.0105978    6.70217E+12   0.0243003     0.727713    3.0105978
444   5827.28   575091           0.1019802 5/8/19 2:24      0.0119665        0.3583568          4.70347E+13   3.0081561    6.70217E+12   0.0146496    0.4387067    3.0081561
445    5814.3   575091            0.101753 5/8/19 2:29      0.0119665        0.3583568          4.70347E+13   3.0014556    6.70217E+12    0.013417    0.4017944    3.0014556
446   5822.06   575092           0.1015212 5/8/19 2:34      0.0119665        0.3583568          4.72051E+13   2.9946169    6.70217E+12    0.013794    0.4130843    2.9946169
447   5827.69   575092           0.1016193 5/8/19 2:39      0.0119665        0.3583568          4.72051E+13   2.9975127    6.70217E+12   0.0134243     0.402013    2.9975127
448   5825.01   575094           0.1011451 5/8/19 2:44      0.0119665        0.3583568          4.74046E+13   2.9835236    6.70217E+12   0.0173396    0.5192632    2.9835236
449   5825.01   575094           0.1011451 5/8/19 2:49      0.0119665        0.3583568          4.74046E+13   2.9835236    6.70217E+12   0.0160878     0.481776    2.9835236
450   5827.65   575094           0.1011909 5/8/19 2:54      0.0119665        0.3583568          4.74046E+13   2.9848758    6.70217E+12   0.0135423    0.4055467    2.9848758
451   5828.98   575094            0.101214 5/8/19 2:59      0.0119665        0.3583568          4.74046E+13    2.985557    6.70217E+12   0.0119787    0.3587221     2.985557
452   5816.75   575095           0.1023933 5/8/19 3:04      0.0120924        0.3621271          4.67603E+13    3.020342    6.70217E+12    0.007941    0.2378065     3.020342
453   5816.32   575095           0.1023857 5/8/19 3:09      0.0120924        0.3621271          4.67603E+13   3.0201187    6.70217E+12    0.011828    0.3542092    3.0201187
454   5822.73   575095           0.1024985 5/8/19 3:14      0.0120924        0.3621271          4.67603E+13   3.0234471    6.70217E+12   0.0145702    0.4363289    3.0234471
455    5828.4   575095           0.1025983 5/8/19 3:19      0.0120924        0.3621271          4.67603E+13   3.0263913    6.70217E+12   0.0152655    0.4571508    3.0263913
456   5829.18   575097           0.1038705 5/8/19 3:24      0.0120924        0.3621271          4.61938E+13   3.0639178    6.70217E+12   0.0169161    0.5065808    3.0639178
457   5837.98   575097           0.1040273 5/8/19 3:29      0.0120924        0.3621271          4.61938E+13   3.0685432    6.70217E+12   0.0230203    0.6893813    3.0685432
458   5838.98   575098           0.1040229 5/8/19 3:34      0.0120924        0.3621271          4.62037E+13   3.0684122    6.70217E+12   0.0845618     2.532344    3.0684122
459   5828.52   575098           0.1038366 5/8/19 3:39      0.0120924        0.3621271          4.62037E+13   3.0629154    6.70217E+12   0.0234107    0.7010724    3.0629154
460   5822.59   575099           0.1046272 5/8/19 3:44      0.0120924        0.3621271          4.58079E+13   3.0862378    6.70217E+12   0.0168116    0.5034514    3.0862378
461   5803.44   575099           0.1042831 5/8/19 3:49      0.0120924        0.3621271          4.58079E+13   3.0760874    6.70217E+12   0.0140409    0.4204782    3.0760874
462   5796.56   575099           0.1041595 5/8/19 3:54      0.0120924        0.3621271          4.58079E+13   3.0724407    6.70217E+12   0.0144936     0.434035    3.0724407
463   5807.05   575101           0.1050426 5/8/19 3:59      0.0120924        0.3621271          4.55049E+13   3.0984912    6.70217E+12   0.0119057     0.356536    3.0984912
464   5809.78   575101            0.105092 5/8/19 4:04      0.0137229        0.4109551          4.55049E+13   3.0999478    6.70217E+12   0.0125622     0.376196    3.0999478
465   5812.68   575101           0.1051445 5/8/19 4:09      0.0137229        0.4109551          4.55049E+13   3.1014952    6.70217E+12   0.0142995    0.4282224    3.1014952
466   5815.61   575102           0.1048815 5/8/19 4:14      0.0137229        0.4109551           4.5642E+13   3.0937385    6.70217E+12   0.0193516    0.5795159    3.0937385
467   5808.55   575103           0.1046033 5/8/19 4:19      0.0137229        0.4109551          4.57078E+13   3.0855325    6.70217E+12   0.0200764    0.6012213    3.0855325
468   5820.01   575104           0.1050843 5/8/19 4:24      0.0137229        0.4109551          4.55884E+13      3.09972   6.70217E+12   0.0189938     0.568801       3.09972
469   5816.06   575105           0.1052763 5/8/19 4:29      0.0137229        0.4109551          4.54744E+13   3.1053836    6.70217E+12   0.0230152    0.6892285    3.1053836
470   5808.82   575106           0.1053792 5/8/19 4:34      0.0137229        0.4109551          4.53734E+13   3.1084182    6.70217E+12   0.0197229    0.5906351    3.1084182
471   5815.31   575106           0.1054969 5/8/19 4:39      0.0137229        0.4109551          4.53734E+13   3.1118911    6.70217E+12   0.0184185    0.5515727    3.1118911
472   5818.61   575108           0.1056718 5/8/19 4:44      0.0137229        0.4109551           4.5324E+13   3.1170516    6.70217E+12   0.0141625    0.4241197    3.1170516
473   5810.51   575108           0.1055247 5/8/19 4:49      0.0137229        0.4109551           4.5324E+13   3.1127124    6.70217E+12   0.0159072    0.4763676    3.1127124
474   5815.11   575108           0.1056083 5/8/19 4:54      0.0137229        0.4109551           4.5324E+13   3.1151766    6.70217E+12   0.0160139    0.4795629    3.1151766
475   5808.22   575109           0.1054956 5/8/19 4:59      0.0137229        0.4109551          4.53187E+13   3.1118531    6.70217E+12   0.0129169    0.3868181    3.1118531




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       A        B            C                  D           E                F                 G                 H             I          J          K              L
476   5821.06   575109           0.1057288 5/8/19 5:04      0.0172785        0.5174335          4.53187E+13   3.1187323    6.70217E+12   0.0087613   0.2623717    3.1187323
477   5830.24   575109           0.1058956 5/8/19 5:09      0.0172785        0.5174335          4.53187E+13   3.1236507    6.70217E+12   0.0125147   0.3747735    3.1236507
478   5816.12   575110           0.1063653 5/8/19 5:14      0.0172785        0.5174335          4.50092E+13   3.1375074    6.70217E+12   0.0158514   0.4746966    3.1375074
479   5816.12   575110           0.1063653 5/8/19 5:19      0.0172785        0.5174335          4.50092E+13   3.1375074    6.70217E+12   0.0145818   0.4366763    3.1375074
480   5811.28   575111           0.1058572 5/8/19 5:24      0.0172785        0.5174335          4.51877E+13   3.1225197    6.70217E+12   0.0159657   0.4781195    3.1225197
481   5814.19   575113           0.1054793 5/8/19 5:29      0.0172785        0.5174335          4.53722E+13   3.1113735    6.70217E+12   0.0189354   0.5670521    3.1113735
482   5822.89   575113           0.1056372 5/8/19 5:34      0.0172785        0.5174335          4.53722E+13   3.1160292    6.70217E+12   0.0168377    0.504233    3.1160292
483    5825.6   575113           0.1056863 5/8/19 5:39      0.0172785        0.5174335          4.53722E+13   3.1174794    6.70217E+12   0.0142709   0.4273659    3.1174794
484   5825.47   575114           0.1057728 5/8/19 5:44      0.0172785        0.5174335          4.53341E+13   3.1200304    6.70217E+12   0.0162737   0.4873431    3.1200304
485   5830.59   575114           0.1058658 5/8/19 5:49      0.0172785        0.5174335          4.53341E+13   3.1227726    6.70217E+12    0.016296   0.4880109    3.1227726
486   5839.34   575114           0.1060247 5/8/19 5:54      0.0172785        0.5174335          4.53341E+13    3.127459    6.70217E+12   0.0078999   0.2365757     3.127459
487   5838.51   575115           0.1055129 5/8/19 5:59      0.0172785        0.5174335          4.55475E+13   3.1123637    6.70217E+12   0.0157437   0.4714713    3.1123637
488   5829.09   575117           0.1054774 5/8/19 6:04      0.0211899        0.6345669          4.54893E+13   3.1113164    6.70217E+12    0.015334   0.4592022    3.1113164
489   5826.85   575117           0.1054369 5/8/19 6:09      0.0211899        0.6345669          4.54893E+13   3.1101208    6.70217E+12   0.0095667   0.2864908    3.1101208
490   5838.53   575118            0.105587 5/8/19 6:14      0.0211899        0.6345669          4.55157E+13   3.1145494    6.70217E+12   0.0126575   0.3790499    3.1145494
491   5843.74   575119           0.1054459 5/8/19 6:19      0.0211899        0.6345669          4.56173E+13   3.1103869    6.70217E+12   0.0159603   0.4779578    3.1103869
492   5843.03   575119           0.1054331 5/8/19 6:24      0.0211899        0.6345669          4.56173E+13    3.110009    6.70217E+12   0.0169939   0.5089107     3.110009
493   5842.51   575119           0.1054237 5/8/19 6:29      0.0211899        0.6345669          4.56173E+13   3.1097323    6.70217E+12   0.0176305   0.5279747    3.1097323
494   5859.77   575120           0.1055662 5/8/19 6:34      0.0211899        0.6345669          4.56903E+13   3.1139353    6.70217E+12   0.0182108   0.5453528    3.1139353
495   5849.16   575120           0.1053751 5/8/19 6:39      0.0211899        0.6345669          4.56903E+13   3.1082971    6.70217E+12   0.0222873   0.6674303    3.1082971
496   5859.91   575120           0.1055687 5/8/19 6:44      0.0211899        0.6345669          4.56903E+13   3.1140097    6.70217E+12   0.0240313   0.7196573    3.1140097
497   5874.94   575120           0.1058395 5/8/19 6:49      0.0211899        0.6345669          4.56903E+13   3.1219968    6.70217E+12   0.0247785   0.7420335    3.1219968
498   5849.77   575122           0.1058251 5/8/19 6:54      0.0211899        0.6345669          4.55007E+13   3.1215733    6.70217E+12    0.035146   1.0525055    3.1215733
499   5847.52   575123           0.1059851 5/8/19 6:59      0.0211899        0.6345669          4.54146E+13   3.1262913    6.70217E+12   0.0331317    0.992184    3.1262913
500   5858.74   575123           0.1061884 5/8/19 7:04      0.0245969        0.7365952          4.54146E+13   3.1322899    6.70217E+12   0.0225584   0.6755489    3.1322899
501   5868.24   575124           0.1046351 5/8/19 7:09      0.0245969        0.7365952          4.61635E+13   3.0864695    6.70217E+12   0.0227738   0.6819994    3.0864695
502   5860.28   575124           0.1044931 5/8/19 7:14      0.0245969        0.7365952          4.61635E+13   3.0822829    6.70217E+12   0.0189208   0.5666149    3.0822829
503   5864.03   575124              0.10456 5/8/19 7:19     0.0245969        0.7365952          4.61635E+13   3.0842552    6.70217E+12   0.0206953   0.6197553    3.0842552
504   5860.24   575125           0.1049602 5/8/19 7:24      0.0245969        0.7365952          4.59578E+13   3.0960609    6.70217E+12   0.0230157   0.6892435    3.0960609
505   5855.35   575125           0.1048726 5/8/19 7:29      0.0245969        0.7365952          4.59578E+13   3.0934774    6.70217E+12   0.0225888   0.6764593    3.0934774
506   5861.24   575125           0.1049781 5/8/19 7:34      0.0245969        0.7365952          4.59578E+13   3.0965892    6.70217E+12   0.0205788   0.6162665    3.0965892
507   5864.22   575125           0.1050315 5/8/19 7:39      0.0245969        0.7365952          4.59578E+13   3.0981636    6.70217E+12   0.0197214   0.5905902    3.0981636
508    5855.4   575125           0.1048735 5/8/19 7:44      0.0245969        0.7365952          4.59578E+13   3.0935039    6.70217E+12   0.0198359   0.5940191    3.0935039
509   5848.68   575126            0.102448 5/8/19 7:49      0.0245969        0.7365952          4.69919E+13   3.0219576    6.70217E+12   0.0296779   0.8887542    3.0219576
510   5843.55   575127           0.1024751 5/8/19 7:54      0.0245969        0.7365952          4.69382E+13   3.0227572    6.70217E+12   0.0208223   0.6235585    3.0227572
511   5851.77   575127           0.1026193 5/8/19 7:59      0.0245969        0.7365952          4.69382E+13   3.0270092    6.70217E+12   0.0230156   0.6892405    3.0270092
512   5849.49   575127           0.1025793 5/8/19 8:04      0.0242095        0.7249938          4.69382E+13   3.0258298    6.70217E+12   0.0232039   0.6948795    3.0258298
513   5849.48   575129           0.1024537 5/8/19 8:09      0.0242095        0.7249938          4.69957E+13   3.0221242    6.70217E+12   0.0199092   0.5962142    3.0221242
514    5848.2   575130           0.1023337 5/8/19 8:14      0.0242095        0.7249938          4.70405E+13   3.0185855    6.70217E+12   0.0193885   0.5806209    3.0185855
515   5833.78   575131           0.1018159 5/8/19 8:19      0.0242095        0.7249938          4.71632E+13   3.0033105    6.70217E+12   0.0228642   0.6847066    3.0033105
516   5845.68   575131           0.1020236 5/8/19 8:24      0.0242095        0.7249938          4.71632E+13   3.0094368    6.70217E+12   0.0197323   0.5909166    3.0094368
517   5850.11   575133            0.101054 5/8/19 8:29      0.0242095        0.7249938          4.76518E+13   2.9808362    6.70217E+12   0.0210194    0.629461    2.9808362
518   5849.94   575134            0.101143 5/8/19 8:34      0.0242095        0.7249938          4.76084E+13   2.9834634    6.70217E+12   0.0253845   0.7601812    2.9834634
519   5844.18   575135           0.1003625 5/8/19 8:39      0.0242095        0.7249938          4.79315E+13   2.9604385    6.70217E+12   0.0187378   0.5611347    2.9604385
520   5844.99   575136           0.1007176 5/8/19 8:45      0.0242095        0.7249938          4.77691E+13   2.9709144    6.70217E+12   0.0201853   0.6044825    2.9709144
521   5856.45   575136           0.1009151 5/8/19 8:50      0.0242095        0.7249938          4.77691E+13   2.9767393    6.70217E+12   0.0212258    0.635642    2.9767393
522   5861.07   575136           0.1009947 5/8/19 8:55      0.0242095        0.7249938          4.77691E+13   2.9790876    6.70217E+12   0.0203371   0.6090284    2.9790876
523   5859.02   575136           0.1009594 5/8/19 9:00      0.0244939        0.7335107          4.77691E+13   2.9780456    6.70217E+12   0.0193291   0.5788421    2.9780456
524   5865.61   575136           0.1010729 5/8/19 9:05      0.0244939        0.7335107          4.77691E+13   2.9813952    6.70217E+12   0.0272511   0.8160796    2.9813952
525   5854.26   575136           0.1008773 5/8/19 9:10      0.0244939        0.7335107          4.77691E+13   2.9756262    6.70217E+12   0.0236817    0.709188    2.9756262
526    5831.3   575137           0.1018101 5/8/19 9:15      0.0244939        0.7335107          4.71458E+13   3.0031404    6.70217E+12   0.2149698   6.4376289    6.4376289
527   5839.16   575137           0.1019473 5/8/19 9:20      0.0244939        0.7335107          4.71458E+13   3.0071883    6.70217E+12   0.2149291   6.4364101    6.4364101
528    5843.2   575137           0.1020179 5/8/19 9:25      0.0244939        0.7335107          4.71458E+13   3.0092689    6.70217E+12   0.0275293   0.8244108    3.0092689
529   5841.15   575137           0.1019821 5/8/19 9:30      0.0244939        0.7335107          4.71458E+13   3.0082132    6.70217E+12   0.0429576   1.2864369    3.0082132
530   5849.05   575139           0.1011946 5/8/19 9:35      0.0244939        0.7335107           4.7577E+13   2.9849829    6.70217E+12   0.0232529   0.6963468    2.9849829
531   5857.36   575140           0.0999202 5/8/19 9:40      0.0244939        0.7335107          4.82522E+13    2.947394    6.70217E+12   0.0229391   0.6869496     2.947394
532   5857.91   575140           0.0999296 5/8/19 9:45      0.0244939        0.7335107          4.82522E+13   2.9476708    6.70217E+12   0.0235124    0.704118    2.9476708
533   5864.03   575140            0.100034 5/8/19 9:50      0.0244939        0.7335107          4.82522E+13   2.9507504    6.70217E+12   0.0259313    0.776556    2.9507504
534   5868.53   575142           0.0972217 5/8/19 9:55      0.0244939        0.7335107          4.96861E+13   2.8677931    6.70217E+12   0.0202099   0.6052191    2.8677931
535   5857.64   575143           0.0964425 5/8/19 10:00     0.0273545        0.8191761          4.99946E+13   2.8448083    6.70217E+12    0.018816   0.5634765    2.8448083
536    5866.7   575143           0.0965916 5/8/19 10:05     0.0273545        0.8191761          4.99946E+13   2.8492083    6.70217E+12   0.0166105   0.4974291    2.8492083
537   5863.82   575143           0.0965442 5/8/19 10:10     0.0273545        0.8191761          4.99946E+13   2.8478096    6.70217E+12   0.0189675   0.5680134    2.8478096
538   5866.01   575143           0.0965803 5/8/19 10:15     0.0273545        0.8191761          4.99946E+13   2.8488732    6.70217E+12   0.0207265   0.6206896    2.8488732
539   5864.99   575144           0.0934511 5/8/19 10:20     0.0273545        0.8191761          5.16596E+13   2.7565705    6.70217E+12   0.0230154   0.6892345    2.7565705
540    5879.4   575144           0.0936807 5/8/19 10:25     0.0273545        0.8191761          5.16596E+13   2.7633433    6.70217E+12    0.022665   0.6787412    2.7633433
541   5893.62   575144           0.0939073 5/8/19 10:30     0.0273545        0.8191761          5.16596E+13   2.7700267    6.70217E+12    0.026083   0.7810989    2.7700267
542   5896.01   575144           0.0939454 5/8/19 10:35     0.0273545        0.8191761          5.16596E+13      2.77115   6.70217E+12   0.0230839   0.6912859       2.77115
543   5888.01   575145           0.0946022 5/8/19 10:40     0.0273545        0.8191761          5.12313E+13    2.790525    6.70217E+12   0.0287548   0.8611104     2.790525
544   5881.26   575145           0.0944937 5/8/19 10:45     0.0273545        0.8191761          5.12313E+13    2.787326    6.70217E+12   0.0290496   0.8699387     2.787326
545   5890.78   575145           0.0946467 5/8/19 10:50     0.0273545        0.8191761          5.12313E+13   2.7918378    6.70217E+12    0.031648   0.9477521    2.7918378
546   5902.32   575145           0.0948321 5/8/19 10:55     0.0273545        0.8191761          5.12313E+13    2.797307    6.70217E+12   0.0386126   1.1563187     2.797307
547   5892.56   575146           0.0957691 5/8/19 11:01     0.0256602        0.7684375          5.06462E+13   2.8249464    6.70217E+12   0.1850845   5.5426638    5.5426638
548    5892.8   575146            0.095773 5/8/19 11:06     0.0256602        0.7684375          5.06462E+13   2.8250615    6.70217E+12   0.1223436    3.663783     3.663783
549   5886.97   575146           0.0956783 5/8/19 11:11     0.0256602        0.7684375          5.06462E+13   2.8222665    6.70217E+12   0.0289788   0.8678185    2.8222665
550   5886.09   575147            0.095016 5/8/19 11:16     0.0256602        0.7684375          5.09916E+13   2.8027303    6.70217E+12   0.0293671   0.8794468    2.8027303
551   5892.15   575147           0.0951138 5/8/19 11:21     0.0256602        0.7684375          5.09916E+13   2.8056159    6.70217E+12   0.0222423   0.6660827    2.8056159
552   5876.44   575148           0.0951515 5/8/19 11:26     0.0256602        0.7684375          5.08355E+13   2.8067268    6.70217E+12   0.0207227   0.6205758    2.8067268
553   5884.06   575149           0.0955244 5/8/19 11:31     0.0256602        0.7684375          5.07027E+13   2.8177282    6.70217E+12   0.0191584   0.5737302    2.8177282
554   5888.27   575149           0.0955928 5/8/19 11:36     0.0256602        0.7684375          5.07027E+13   2.8197442    6.70217E+12   0.0213724   0.6400321    2.8197442
555   5886.01   575149           0.0955561 5/8/19 11:41     0.0256602        0.7684375          5.07027E+13    2.818662    6.70217E+12   0.0222172   0.6653311     2.818662
556   5884.57   575150           0.0935906 5/8/19 11:46     0.0256602        0.7684375          5.17548E+13   2.7606856    6.70217E+12   0.0230647   0.6907109    2.7606856
557   5889.82   575150           0.0936741 5/8/19 11:51     0.0256602        0.7684375          5.17548E+13   2.7631486    6.70217E+12   0.0228225   0.6834578    2.7631486
558   5888.19   575151           0.0945307 5/8/19 11:56     0.0256602        0.7684375          5.12716E+13   2.7884168    6.70217E+12   0.0233477   0.6991858    2.7884168
559   5872.61   575151           0.0942806 5/8/19 12:01      0.026371        0.7897235          5.12716E+13   2.7810387    6.70217E+12   0.0224703   0.6729106    2.7810387
560   5867.29   575152           0.0946705 5/8/19 12:06      0.026371        0.7897235          5.10142E+13   2.7925413    6.70217E+12   0.0217427   0.6511214    2.7925413
561   5863.69   575152           0.0946125 5/8/19 12:11      0.026371        0.7897235          5.10142E+13   2.7908278    6.70217E+12   0.0206502   0.6184047    2.7908278
562   5866.61   575153           0.0947421 5/8/19 12:16      0.026371        0.7897235          5.09698E+13   2.7946505    6.70217E+12   0.0211696    0.633959    2.7946505
563   5868.73   575154           0.0943442 5/8/19 12:21      0.026371        0.7897235          5.12032E+13   2.7829139    6.70217E+12   0.0227271   0.6806009    2.7829139
564   5877.65   575154           0.0944876 5/8/19 12:26      0.026371        0.7897235          5.12032E+13   2.7871437    6.70217E+12   0.0262613   0.7864384    2.7871437
565   5886.52   575156           0.0934827 5/8/19 12:31      0.026371        0.7897235          5.18317E+13   2.7575042    6.70217E+12   0.0246938    0.739497    2.7575042
566   5883.25   575156           0.0934308 5/8/19 12:36      0.026371        0.7897235          5.18317E+13   2.7559724    6.70217E+12   0.0239477   0.7171538    2.7559724
567    5880.8   575156           0.0933919 5/8/19 12:41      0.026371        0.7897235          5.18317E+13   2.7548247    6.70217E+12   0.0215346   0.6448895    2.7548247
568   5886.84   575157           0.0931778 5/8/19 12:46      0.026371        0.7897235          5.20042E+13   2.7485095    6.70217E+12   0.0215175   0.6443774    2.7485095
569   5887.77   575157           0.0931925 5/8/19 12:51      0.026371        0.7897235          5.20042E+13   2.7489437    6.70217E+12   0.0210953   0.6317339    2.7489437
570   5886.14   575159           0.0936745 5/8/19 12:56      0.026371        0.7897235          5.17223E+13   2.7631598    6.70217E+12   0.0221968   0.6647202    2.7631598




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       A        B            C                  D           E                F                 G                 H             I          J          K               L
571   5880.23   575159           0.0935804 5/8/19 13:01     0.0224056         0.670973          5.17223E+13   2.7603855    6.70217E+12   0.0220558   0.6604977     2.7603855
572   5884.79   575159            0.093653 5/8/19 13:06     0.0224056         0.670973          5.17223E+13   2.7625261    6.70217E+12   0.0232481   0.6962031     2.7625261
573   5887.12   575159           0.0936901 5/8/19 13:11     0.0224056         0.670973          5.17223E+13   2.7636199    6.70217E+12   0.0228614   0.6846227     2.7636199
574   5882.83   575159           0.0936218 5/8/19 13:16     0.0224056         0.670973          5.17223E+13    2.761606    6.70217E+12   0.0286842   0.8589962      2.761606
575   5887.05   575160            0.095298 5/8/19 13:21     0.0224056         0.670973           5.0849E+13   2.8110496    6.70217E+12   0.0210217   0.6295298     2.8110496
576   5885.01   575161           0.0954767 5/8/19 13:26     0.0224056         0.670973          5.07362E+13   2.8163217    6.70217E+12   0.0209618    0.627736     2.8163217
577   5877.03   575161           0.0953473 5/8/19 13:31     0.0224056         0.670973          5.07362E+13   2.8125028    6.70217E+12    0.019652   0.5885119     2.8125028
578    5864.5   575163           0.0928787 5/8/19 13:36     0.0224056         0.670973          5.19737E+13   2.7396868    6.70217E+12   0.0197032   0.5900452     2.7396868
579   5878.37   575163           0.0930984 5/8/19 13:41     0.0224056         0.670973          5.19737E+13   2.7461664    6.70217E+12   0.0229336   0.6867849     2.7461664
580   5884.42   575163           0.0931942 5/8/19 13:46     0.0224056         0.670973          5.19737E+13   2.7489927    6.70217E+12    0.027902   0.8355719     2.7489927
581   5882.28   575163           0.0931603 5/8/19 13:51     0.0224056         0.670973          5.19737E+13    2.747993    6.70217E+12   0.0286405   0.8576875      2.747993
582   5884.83   575163           0.0932007 5/8/19 13:56     0.0224056         0.670973          5.19737E+13   2.7491843    6.70217E+12   0.0262751   0.7868517     2.7491843
583   5884.52   575164           0.0946934 5/8/19 14:01     0.0200678        0.6009637          5.11517E+13    2.793214    6.70217E+12    0.027166   0.8135311      2.793214
584   5879.67   575164           0.0946153 5/8/19 14:06     0.0200678        0.6009637          5.11517E+13   2.7909119    6.70217E+12   0.0243166   0.7282011     2.7909119
585   5877.49   575164           0.0945802 5/8/19 14:11     0.0200678        0.6009637          5.11517E+13   2.7898771    6.70217E+12   0.0208701   0.6249899     2.7898771
586   5887.28   575166           0.0950829 5/8/19 14:16     0.0200678        0.6009637           5.0966E+13   2.8047039    6.70217E+12   0.0218292   0.6537118     2.8047039
587   5884.05   575166           0.0950307 5/8/19 14:21     0.0200678        0.6009637           5.0966E+13   2.8031651    6.70217E+12   0.0217633   0.6517383     2.8031651
588   5885.12   575166            0.095048 5/8/19 14:26     0.0200678        0.6009637           5.0966E+13   2.8036749    6.70217E+12   0.0217781   0.6521815     2.8036749
589   5902.91   575167           0.0961455 5/8/19 14:31     0.0200678        0.6009637          5.05365E+13    2.836049    6.70217E+12    0.021451   0.6423859      2.836049
590   5902.72   575167           0.0961424 5/8/19 14:36     0.0200678        0.6009637          5.05365E+13   2.8359577    6.70217E+12   0.1801174   5.3939157     5.3939157
591   5906.61   575167           0.0962058 5/8/19 14:41     0.0200678        0.6009637          5.05365E+13   2.8378267    6.70217E+12   0.0426523   1.2772942     2.8378267
592   5912.28   575167           0.0962981 5/8/19 14:46     0.0200678        0.6009637          5.05365E+13   2.8405508    6.70217E+12   0.1999116    5.986686      5.986686
593   5908.65   575170            0.095031 5/8/19 14:51     0.0200678        0.6009637           5.1179E+13   2.8031727    6.70217E+12   0.2670565    7.997452      7.997452
594   5900.02   575170           0.0948922 5/8/19 14:56     0.0200678        0.6009637           5.1179E+13   2.7990785    6.70217E+12   0.0299601   0.8972051     2.7990785
595   5884.23   575171           0.0950701 5/8/19 15:01     0.0170556        0.5107584          5.09465E+13   2.8043263    6.70217E+12   0.0297971   0.8923238     2.8043263
596   5890.02   575171           0.0951636 5/8/19 15:06     0.0170556        0.5107584          5.09465E+13   2.8070857    6.70217E+12   0.0254303   0.7615527     2.8070857
597   5890.65   575171           0.0951738 5/8/19 15:11     0.0170556        0.5107584          5.09465E+13   2.8073859    6.70217E+12   0.0264722   0.7927541     2.8073859
598   5868.34   575171           0.0948133 5/8/19 15:16     0.0170556        0.5107584          5.09465E+13   2.7967533    6.70217E+12   0.0232906   0.6974758     2.7967533
599   5883.01   575172           0.0962041 5/8/19 15:21     0.0170556        0.5107584          5.03355E+13    2.837777    6.70217E+12   0.0222239   0.6655317      2.837777
600   5877.22   575172           0.0961094 5/8/19 15:26     0.0170556        0.5107584          5.03355E+13   2.8349841    6.70217E+12    0.021497   0.6437635     2.8349841
601   5882.35   575173           0.0955836 5/8/19 15:31     0.0170556        0.5107584          5.06566E+13   2.8194728    6.70217E+12   0.0233908   0.7004765     2.8194728
602   5895.23   575174           0.0960485 5/8/19 15:36     0.0170556        0.5107584          5.05218E+13   2.8331879    6.70217E+12   0.0260191   0.7791853     2.8331879
603   5891.02   575174           0.0959799 5/8/19 15:41     0.0170556        0.5107584          5.05218E+13   2.8311646    6.70217E+12   0.0204508   0.6124333     2.8311646
604    5895.3   575174           0.0960497 5/8/19 15:46     0.0170556        0.5107584          5.05218E+13   2.8332215    6.70217E+12   0.0203869   0.6105197     2.8332215
605   5898.69   575174           0.0961049 5/8/19 15:51     0.0170556        0.5107584          5.05218E+13   2.8348507    6.70217E+12   0.0210614   0.6307187     2.8348507
606   5898.34   575175           0.0970802 5/8/19 15:56     0.0170556        0.5107584          5.00112E+13    2.863621    6.70217E+12   0.0209194   0.6264663      2.863621
607   5900.14   575176           0.0971661 5/8/19 16:01     0.0174326        0.5220483          4.99823E+13   2.8661537    6.70217E+12   0.0209977   0.6288111     2.8661537
608   5891.31   575176           0.0970207 5/8/19 16:06     0.0174326        0.5220483          4.99823E+13   2.8618643    6.70217E+12   0.0203367   0.6090164     2.8618643
609   5893.65   575176           0.0970592 5/8/19 16:11     0.0174326        0.5220483          4.99823E+13    2.863001    6.70217E+12   0.0213506   0.6393793      2.863001
610   5892.53   575177           0.0969298 5/8/19 16:16     0.0174326        0.5220483          5.00395E+13   2.8591849    6.70217E+12   0.0261533   0.7832042     2.8591849
611   5894.16   575177           0.0969567 5/8/19 16:21     0.0174326        0.5220483          5.00395E+13   2.8599758    6.70217E+12   0.0258626   0.7744987     2.8599758
612   5895.84   575178            0.097646 5/8/19 16:26     0.0174326        0.5220483          4.97004E+13      2.88031   6.70217E+12   0.0215949   0.6466953        2.88031
613   5896.89   575179           0.0980892 5/8/19 16:31     0.0174326        0.5220483          4.94846E+13   2.8933819    6.70217E+12   0.0198411   0.5941748     2.8933819
614   5902.19   575180           0.0983841 5/8/19 16:36     0.0174326        0.5220483          4.93807E+13   2.9020809    6.70217E+12   0.0207134   0.6202973     2.9020809
615    5905.9   575181            0.097534 5/8/19 16:41     0.0174326        0.5220483          4.98424E+13   2.8770052    6.70217E+12   0.0223016   0.6678586     2.8770052
616   5906.84   575181           0.0975495 5/8/19 16:46     0.0174326        0.5220483          4.98424E+13   2.8774631    6.70217E+12   0.0254538   0.7622565     2.8774631
617   5904.42   575181           0.0975095 5/8/19 16:51     0.0174326        0.5220483          4.98424E+13   2.8762842    6.70217E+12    0.025079   0.7510325     2.8762842
618   5903.02   575181           0.0974864 5/8/19 16:56     0.0174326        0.5220483          4.98424E+13   2.8756022    6.70217E+12   0.0246071   0.7369006     2.8756022
619   5894.63   575182           0.0989154 5/8/19 17:01     0.0174032        0.5211678          4.90525E+13   2.9177544    6.70217E+12   0.0226389   0.6779596     2.9177544
620   5898.06   575182            0.098973 5/8/19 17:06     0.0174032        0.5211678          4.90525E+13   2.9194522    6.70217E+12   0.0256642   0.7685572     2.9194522
621   5891.22   575182           0.0988582 5/8/19 17:11     0.0174032        0.5211678          4.90525E+13   2.9160665    6.70217E+12   0.0384273   1.1507695     2.9160665
622   5888.49   575182           0.0988124 5/8/19 17:16     0.0174032        0.5211678          4.90525E+13   2.9147151    6.70217E+12   0.0364449   1.0914033     2.9147151
623   5895.57   575183           0.0996828 5/8/19 17:21     0.0174032        0.5211678          4.86826E+13   2.9403898    6.70217E+12   0.0191003   0.5719903     2.9403898
624   5896.91   575183           0.0997054 5/8/19 17:26     0.0174032        0.5211678          4.86826E+13   2.9410582    6.70217E+12   0.0230176   0.6893004     2.9410582
625   5918.72   575183           0.1000742 5/8/19 17:31     0.0174032        0.5211678          4.86826E+13   2.9519358    6.70217E+12   0.0030289   0.0907055     2.9519358
626   5926.18   575183           0.1002003 5/8/19 17:36     0.0174032        0.5211678          4.86826E+13   2.9556564    6.70217E+12   0.0439309    1.315584     2.9556564
627   5934.97   575183            0.100349 5/8/19 17:41     0.0174032        0.5211678          4.86826E+13   2.9600404    6.70217E+12   0.0408583   1.2235699     2.9600404
628   5944.99   575185            0.100551 5/8/19 17:46     0.0174032        0.5211678          4.86669E+13   2.9659989    6.70217E+12   0.0170991    0.512061     2.9659989
629   5940.01   575185           0.1004667 5/8/19 17:51     0.0174032        0.5211678          4.86669E+13   2.9635144    6.70217E+12   0.0183967   0.5509198     2.9635144
630   5931.52   575186           0.1008871 5/8/19 17:56     0.0174032        0.5211678          4.83948E+13   2.9759139    6.70217E+12   0.0163528   0.4897119     2.9759139
631    5938.6   575188           0.0986457 5/8/19 18:01     0.0165475        0.4955425          4.95535E+13   2.9097985    6.70217E+12   0.0185884   0.5566606     2.9097985
632   5931.02   575189           0.0980181 5/8/19 18:06     0.0165475        0.4955425          4.98071E+13   2.8912849    6.70217E+12   0.0173413   0.5193141     2.8912849
633   5928.19   575189           0.0979713 5/8/19 18:12     0.0165475        0.4955425          4.98071E+13   2.8899053    6.70217E+12   0.0187899   0.5626949     2.8899053
634   5932.23   575189           0.0980381 5/8/19 18:17     0.0165475        0.4955425          4.98071E+13   2.8918748    6.70217E+12   0.0180684   0.5410884     2.8918748
635   5931.78   575189           0.0980306 5/8/19 18:22     0.0165475        0.4955425          4.98071E+13   2.8916554    6.70217E+12   0.0164812    0.493557     2.8916554
636   5964.15   575189           0.0985656 5/8/19 18:27     0.0165475        0.4955425          4.98071E+13   2.9074353    6.70217E+12   0.0180238   0.5397527     2.9074353
637   5899.89   575189           0.0975036 5/8/19 18:32     0.0165475        0.4955425          4.98071E+13   2.8761095    6.70217E+12   0.0168118   0.5034574     2.8761095
638   5931.45   575190           0.1008336 5/8/19 18:37     0.0165475        0.4955425          4.84199E+13   2.9743362    6.70217E+12   0.0122315   0.3662927     2.9743362
639   5929.97   575190           0.1008085 5/8/19 18:42     0.0165475        0.4955425          4.84199E+13    2.973594    6.70217E+12   0.0162317   0.4860853      2.973594
640    5923.2   575191           0.0994527 5/8/19 18:47     0.0165475        0.4955425          4.90239E+13   2.9336031    6.70217E+12   0.0090855   0.2720804     2.9336031
641   5934.99   575192           0.0992547 5/8/19 18:52     0.0165475        0.4955425          4.92195E+13   2.9277617    6.70217E+12   0.0122121   0.3657117     2.9277617
642   5940.66   575194           0.0989022 5/8/19 18:57     0.0165475        0.4955425          4.94421E+13   2.9173636    6.70217E+12   0.0091815   0.2749553     2.9173636
643   5948.18   575194           0.0990274 5/8/19 19:02     0.0158704        0.4752656          4.94421E+13   2.9210566    6.70217E+12   0.0137605   0.4120811     2.9210566
644   5964.98   575194           0.0993071 5/8/19 19:07     0.0158704        0.4752656          4.94421E+13   2.9293068    6.70217E+12   0.0152734   0.4573874     2.9293068
645    5960.1   575194           0.0992258 5/8/19 19:12     0.0158704        0.4752656          4.94421E+13   2.9269103    6.70217E+12   0.0109359   0.3274938     2.9269103
646   5946.01   575194           0.0989912 5/8/19 19:17     0.0158704        0.4752656          4.94421E+13   2.9199909    6.70217E+12   0.0150092   0.4494755     2.9199909
647   5937.16   575194           0.0988439 5/8/19 19:22     0.0158704        0.4752656          4.94421E+13   2.9156448    6.70217E+12   0.0154969   0.4640805     2.9156448
648   5955.08   575194           0.0991422 5/8/19 19:27     0.0158704        0.4752656          4.94421E+13   2.9244451    6.70217E+12   0.0152611   0.4570191     2.9244451
649   5957.98   575195           0.1010248 5/8/19 19:32     0.0158704        0.4752656          4.85444E+13    2.979976    6.70217E+12   0.0228461   0.6841645      2.979976
650   5962.91   575195           0.1011084 5/8/19 19:37     0.0158704        0.4752656          4.85444E+13   2.9824418    6.70217E+12   0.0165428   0.4954017     2.9824418
651   5956.59   575195           0.1010012 5/8/19 19:42     0.0158704        0.4752656          4.85444E+13   2.9792807    6.70217E+12   0.0163774   0.4904485     2.9792807
652    5957.7   575195           0.1010201 5/8/19 19:47     0.0158704        0.4752656          4.85444E+13   2.9798359    6.70217E+12   0.0147872   0.4428273     2.9798359
653   5969.98   575195           0.1012283 5/8/19 19:52     0.0158704        0.4752656          4.85444E+13    2.985978    6.70217E+12   0.0161979   0.4850731      2.985978
654   5987.65   575195           0.1015279 5/8/19 19:57     0.0158704        0.4752656          4.85444E+13   2.9948159    6.70217E+12   0.0140256      0.42002    2.9948159
655    6036.6   575195           0.1023579 5/8/19 20:02      0.013261        0.3971227          4.85444E+13    3.019299    6.70217E+12   0.0154454   0.4625382      3.019299
656   6037.49   575196           0.1050403 5/8/19 20:07      0.013261        0.3971227          4.73117E+13   3.0984226    6.70217E+12   0.0157078   0.4703963     3.0984226
657   6092.47   575196           0.1059968 5/8/19 20:12      0.013261        0.3971227          4.73117E+13   3.1266382    6.70217E+12   0.0215321   0.6448146     3.1266382
658   6052.38   575196           0.1052994 5/8/19 20:17      0.013261        0.3971227          4.73117E+13   3.1060641    6.70217E+12    0.018557   0.5557203     3.1060641
659   6053.32   575199           0.1035905 5/8/19 20:22      0.013261        0.3971227          4.80997E+13   3.0556586    6.70217E+12   0.0163585   0.4898825     3.0556586
660   6041.03   575200           0.1032464 5/8/19 20:27      0.013261        0.3971227           4.8162E+13   3.0455058    6.70217E+12   0.0188459   0.5643719     3.0455058
661   6030.66   575202           0.1032473 5/8/19 20:32      0.013261        0.3971227          4.80789E+13   3.0455341    6.70217E+12   0.0134602   0.4030881     3.0455341
662   6043.34   575204           0.1032455 5/8/19 20:37      0.013261        0.3971227          4.81808E+13   3.0454809    6.70217E+12   0.0164743   0.4933504     3.0454809
663   6042.19   575204           0.1032259 5/8/19 20:42      0.013261        0.3971227          4.81808E+13   3.0449014    6.70217E+12   0.0147002    0.440222     3.0449014
664   6049.96   575204           0.1033586 5/8/19 20:47      0.013261        0.3971227          4.81808E+13    3.048817    6.70217E+12   0.0148678   0.4452411      3.048817
665   6051.76   575205           0.1040715 5/8/19 20:52      0.013261        0.3971227           4.7865E+13   3.0698443    6.70217E+12   0.0130545   0.3909388     3.0698443




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       A        B            C                  D           E                 F                 G                 H             I           J           K                L
666   6054.77   575206           0.1045618 5/8/19 20:57       0.013261         0.3971227         4.76643E+13    3.084309    6.70217E+12    0.0122348     0.3663915      3.084309
667   6045.31   575206           0.1043985 5/8/19 21:02      0.0057558          0.172367         4.76643E+13   3.0794901    6.70217E+12    0.0113115     0.3387417     3.0794901
668   6042.99   575207           0.1043195 5/8/19 21:07      0.0057558          0.172367          4.7682E+13   3.0771614    6.70217E+12    0.0064092     0.1919342     3.0771614
669   6038.47   575207           0.1042415 5/8/19 21:12      0.0057558          0.172367          4.7682E+13   3.0748598    6.70217E+12    0.0050076     0.1499609     3.0748598
670   6046.62   575207           0.1043822 5/8/19 21:17      0.0057558          0.172367          4.7682E+13   3.0790099    6.70217E+12   -0.0026668    -0.0798618     3.0790099
671    6044.8   575207           0.1043508 5/8/19 21:22      0.0057558          0.172367          4.7682E+13   3.0780831    6.70217E+12    0.0105849     0.3169825     3.0780831
672   6048.33   575207           0.1044117 5/8/19 21:27      0.0057558          0.172367          4.7682E+13   3.0798806    6.70217E+12    0.0086089     0.2578079     3.0798806
673   6052.87   575208           0.1057954 5/8/19 21:32      0.0057558          0.172367         4.70937E+13   3.1206959    6.70217E+12        0.0018     0.053904     3.1206959
674   6056.61   575210           0.1055202 5/8/19 21:37      0.0057558          0.172367         4.72457E+13   3.1125773    6.70217E+12   -0.0021614    -0.0647267     3.1125773
675   6059.99   575212           0.0995054 5/8/19 21:42      0.0057558          0.172367         5.01295E+13   2.9351584    6.70217E+12   -0.0034416    -0.1030644     2.9351584
676   6049.69   575213           0.0988159 5/8/19 21:47      0.0057558          0.172367         5.03935E+13   2.9148188    6.70217E+12   -0.0015146    -0.0453572     2.9148188
677   6056.42   575214           0.0996142 5/8/19 21:52      0.0057558          0.172367         5.00453E+13   2.9383674    6.70217E+12   -0.0023178    -0.0694104     2.9383674
678   6045.27   575214           0.0994308 5/8/19 21:57      0.0057558          0.172367         5.00453E+13   2.9329578    6.70217E+12    0.0029429        0.08813    2.9329578
679   6041.19   575214           0.0993637 5/8/19 22:02     -0.0039885        -0.1194423         5.00453E+13   2.9309783    6.70217E+12    0.0028846     0.0863842     2.9309783
680   6033.23   575215           0.0986577 5/8/19 22:07     -0.0039885        -0.1194423          5.0337E+13   2.9101535    6.70217E+12   -0.0021717    -0.0650352     2.9101535
681   6034.99   575215           0.0986865 5/8/19 22:12     -0.0039885        -0.1194423          5.0337E+13   2.9110025    6.70217E+12    0.0094236     0.2822054     2.9110025
682   6042.83   575215           0.0988147 5/8/19 22:17     -0.0039885        -0.1194423          5.0337E+13   2.9147841    6.70217E+12   -0.0117128    -0.3507593     2.9147841
683   6033.48   575216           0.0981874 5/8/19 22:22     -0.0039885        -0.1194423         5.05802E+13   2.8962791    6.70217E+12   -0.0071632     -0.214514     2.8962791
684   6028.01   575217           0.0985494 5/8/19 22:27     -0.0039885        -0.1194423         5.03487E+13   2.9069577    6.70217E+12   -0.0043047    -0.1289114     2.9069577
685   6027.43   575217           0.0985399 5/8/19 22:32     -0.0039885        -0.1194423         5.03487E+13    2.906678    6.70217E+12   -0.0026014    -0.0779033      2.906678
686   6029.94   575217            0.098581 5/8/19 22:37     -0.0039885        -0.1194423         5.03487E+13   2.9078884    6.70217E+12   -0.0017683    -0.0529547     2.9078884
687   6039.16   575219           0.0983331 5/8/19 22:42     -0.0039885        -0.1194423         5.05528E+13   2.9005763    6.70217E+12   -0.0018002       -0.05391    2.9005763
688   6039.06   575221           0.0975716 5/8/19 22:47     -0.0039885        -0.1194423         5.09465E+13   2.8781157    6.70217E+12    0.0035525     0.1063855     2.8781157
689   6035.97   575221           0.0975217 5/8/19 22:52     -0.0039885        -0.1194423         5.09465E+13    2.876643    6.70217E+12   -0.0028608    -0.0856714      2.876643
690   6041.91   575222           0.0971742 5/8/19 22:57     -0.0039885        -0.1194423          5.1179E+13   2.8663937    6.70217E+12   -0.0044334    -0.1327656     2.8663937
691   6066.64   575224           0.1014592 5/9/19 0:02      -0.0060127        -0.1800603         4.92181E+13   2.9927906    6.70217E+12   -0.0145142    -0.4346519     2.9927906
692   6072.36   575225           0.1021048 5/9/19 0:07      -0.0060127        -0.1800603         4.89531E+13   3.0118316    6.70217E+12   -0.0130235    -0.3900104     3.0118316
693   6068.07   575225           0.1020326 5/9/19 0:12      -0.0060127        -0.1800603         4.89531E+13   3.0097038    6.70217E+12   -0.0286682     -0.858517     3.0097038
694   6076.08   575225           0.1021673 5/9/19 0:17      -0.0060127        -0.1800603         4.89531E+13   3.0136767    6.70217E+12   -0.0231556     -0.693433     3.0136767
695   6077.05   575225           0.1021836 5/9/19 0:22      -0.0060127        -0.1800603         4.89531E+13   3.0141578    6.70217E+12   -0.0015472    -0.0463335     3.0141578
696   6056.56   575225           0.1018391 5/9/19 0:27      -0.0060127        -0.1800603         4.89531E+13    3.003995    6.70217E+12   -0.0012057    -0.0361067      3.003995
697   6053.34   575225           0.1017849 5/9/19 0:37      -0.0060127        -0.1800603         4.89531E+13   3.0023979    6.70217E+12   -0.0181456    -0.5434002     3.0023979
698   6047.02   575227           0.1035951 5/9/19 0:42      -0.0060127        -0.1800603         4.80475E+13   3.0557938    6.70217E+12   -0.0191353    -0.5730385     3.0557938
699   6061.52   575227           0.1038435 5/9/19 0:47      -0.0060127        -0.1800603         4.80475E+13   3.0631212    6.70217E+12   -0.0107209    -0.3210552     3.0631212
700   6050.01   575229            0.103384 5/9/19 0:52      -0.0060127        -0.1800603         4.81694E+13   3.0495651    6.70217E+12    0.0010001     0.0299497     3.0495651
701   6044.15   575229           0.1032838 5/9/19 0:57      -0.0060127        -0.1800603         4.81694E+13   3.0466114    6.70217E+12   -0.0040798    -0.1221764     3.0466114
702   6044.76   575229           0.1032943 5/9/19 1:02      -0.0084514        -0.2530913         4.81694E+13   3.0469188    6.70217E+12   -0.0033111    -0.0991564     3.0469188
703   6039.56   575229           0.1032054 5/9/19 1:07      -0.0084514        -0.2530913         4.81694E+13   3.0442977    6.70217E+12   -0.0031204    -0.0934456     3.0442977
704    6042.9   575231           0.1030119 5/9/19 1:12      -0.0084514        -0.2530913         4.82866E+13   3.0385906    6.70217E+12   -0.0012951    -0.0387839     3.0385906
705   6042.77   575232           0.1030817 5/9/19 1:17      -0.0084514        -0.2530913         4.82528E+13   3.0406489    6.70217E+12   -0.0005672    -0.0169857     3.0406489
706   6053.94   575233           0.1033545 5/9/19 1:22      -0.0084514        -0.2530913         4.82145E+13   3.0486951    6.70217E+12   -0.0121807    -0.3647714     3.0486951
707   6056.93   575233           0.1034055 5/9/19 1:27      -0.0084514        -0.2530913         4.82145E+13   3.0502008    6.70217E+12   -0.0149888    -0.4488646     3.0502008
708   6055.69   575233           0.1033843 5/9/19 1:32      -0.0084514        -0.2530913         4.82145E+13   3.0495763    6.70217E+12   -0.0147726    -0.4423901     3.0495763
709   6058.16   575233           0.1034265 5/9/19 1:37      -0.0084514        -0.2530913         4.82145E+13   3.0508202    6.70217E+12   -0.0157309     -0.471088     3.0508202
710    6059.3   575234           0.1038084 5/9/19 1:42      -0.0084514        -0.2530913         4.80461E+13   3.0620845    6.70217E+12   -0.0227758    -0.6820593     3.0620845
711   6061.34   575235           0.1031342 5/9/19 1:47      -0.0084514        -0.2530913         4.83765E+13   3.0421965    6.70217E+12   -0.0265233    -0.7942844     3.0421965
712   6073.89   575235           0.1033477 5/9/19 1:52      -0.0084514        -0.2530913         4.83765E+13   3.0484953    6.70217E+12   -0.0258125    -0.7729983     3.0484953
713    6070.6   575236           0.1036534 5/9/19 1:57      -0.0084514        -0.2530913         4.82077E+13   3.0575115    6.70217E+12   -0.0270166    -0.8090571     3.0575115
714   6070.34   575237           0.1039744 5/9/19 2:02       -0.009959        -0.2982389         4.80568E+13   3.0669809    6.70217E+12   -0.0241909    -0.7244368     3.0669809
715   6070.64   575238           0.1033994 5/9/19 2:07       -0.009959        -0.2982389         4.83264E+13   3.0500217    6.70217E+12   -0.0192845    -0.5775065     3.0500217
716    6066.1   575238           0.1033221 5/9/19 2:12       -0.009959        -0.2982389         4.83264E+13   3.0477407    6.70217E+12   -0.0253576    -0.7593756     3.0477407
717   6051.34   575238           0.1030707 5/9/19 2:17       -0.009959        -0.2982389         4.83264E+13    3.040325    6.70217E+12   -0.0277084    -0.8297742      3.040325
718   6061.78   575239           0.1040791 5/9/19 2:22       -0.009959        -0.2982389         4.79408E+13   3.0700698    6.70217E+12   -0.0259793    -0.7779934     3.0700698
719   6063.51   575239           0.1041088 5/9/19 2:27       -0.009959        -0.2982389         4.79408E+13    3.070946    6.70217E+12   -0.0268247    -0.8033103      3.070946
720   6069.07   575240           0.1042563 5/9/19 2:32       -0.009959        -0.2982389         4.79168E+13   3.0752977    6.70217E+12   -0.0240329    -0.7197052     3.0752977
721   6065.45   575242           0.1026794 5/9/19 2:37       -0.009959        -0.2982389         4.86237E+13   3.0287832    6.70217E+12   -0.0250565    -0.7503587     3.0287832
722   6056.78   575242           0.1025327 5/9/19 2:43       -0.009959        -0.2982389         4.86237E+13   3.0244539    6.70217E+12   -0.0183811    -0.5504527     3.0244539
723   6054.89   575242           0.1025007 5/9/19 2:48       -0.009959        -0.2982389         4.86237E+13   3.0235101    6.70217E+12   -0.0211004    -0.6318866     3.0235101
724   6052.82   575243           0.1032503 5/9/19 2:53       -0.009959        -0.2982389         4.82542E+13   3.0456209    6.70217E+12   -0.0280966    -0.8413995     3.0456209
725   6054.43   575243           0.1032777 5/9/19 2:58       -0.009959        -0.2982389         4.82542E+13    3.046431    6.70217E+12   -0.0255341    -0.7646612      3.046431
726   6054.32   575244           0.1033884 5/9/19 3:03      -0.0077595        -0.2323712         4.82017E+13    3.049695    6.70217E+12   -0.0035264    -0.1056039      3.049695
727   6068.65   575246           0.1006368 5/9/19 3:08      -0.0077595        -0.2323712         4.96368E+13   2.9685297    6.70217E+12   -0.0237767    -0.7120329     2.9685297
728   6068.33   575249           0.0992317 5/9/19 3:13      -0.0077595        -0.2323712          5.0337E+13   2.9270841    6.70217E+12   -0.0227655    -0.6817508     2.9270841
729   6063.73   575250           0.0992085 5/9/19 3:18      -0.0077595        -0.2323712         5.03106E+13   2.9263997    6.70217E+12   -0.0241747    -0.7239517     2.9263997
730   6046.71   575250              0.09893 5/9/19 3:23     -0.0077595        -0.2323712         5.03106E+13   2.9181857    6.70217E+12   -0.0246606    -0.7385028     2.9181857
731   6046.74   575251            0.099455 5/9/19 3:28      -0.0077595        -0.2323712         5.00453E+13    2.933671    6.70217E+12   -0.0228565     -0.684476      2.933671
732   6058.26   575252           0.0992865 5/9/19 3:33      -0.0077595        -0.2323712         5.02257E+13   2.9286995    6.70217E+12   -0.0237663    -0.7117215     2.9286995
733   6064.08   575252           0.0993819 5/9/19 3:38      -0.0077595        -0.2323712         5.02257E+13    2.931513    6.70217E+12   -0.0229553    -0.6874347      2.931513
734   6061.98   575252           0.0993474 5/9/19 3:43      -0.0077595        -0.2323712         5.02257E+13   2.9304978    6.70217E+12   -0.0218107    -0.6531578     2.9304978
735   6061.61   575252           0.0993414 5/9/19 3:48      -0.0077595        -0.2323712         5.02257E+13   2.9303189    6.70217E+12   -0.0228651    -0.6847335     2.9303189
736   6055.44   575252           0.0992403 5/9/19 3:53      -0.0077595        -0.2323712         5.02257E+13   2.9273362    6.70217E+12   -0.0258057    -0.7727947     2.9273362
737   6048.17   575253           0.1013391 5/9/19 3:58      -0.0077595        -0.2323712         4.91264E+13   2.9892481    6.70217E+12   -0.0222549    -0.6664601     2.9892481
738   6036.54   575253           0.1011443 5/9/19 4:03      -0.0064119         -0.192015         4.91264E+13   2.9835001    6.70217E+12   -0.0201096    -0.6022155     2.9835001
739   6032.68   575254           0.1009675 5/9/19 4:08      -0.0064119         -0.192015          4.9181E+13   2.9782848    6.70217E+12   -0.0220837    -0.6613332     2.9782848
740   6036.52   575254           0.1010317 5/9/19 4:13      -0.0064119         -0.192015          4.9181E+13   2.9801806    6.70217E+12   -0.0189611    -0.5678217     2.9801806
741   6048.03   575254           0.1012244 5/9/19 4:18      -0.0064119         -0.192015          4.9181E+13    2.985863    6.70217E+12   -0.0284786    -0.8528391      2.985863
742   6049.12   575254           0.1012426 5/9/19 4:23      -0.0064119         -0.192015          4.9181E+13   2.9864011    6.70217E+12   -0.0265276    -0.7944132     2.9864011
743    6047.1   575255            0.102742 5/9/19 4:28      -0.0064119         -0.192015         4.84471E+13   3.0306289    6.70217E+12   -0.0220302    -0.6597311     3.0306289
744   6040.01   575255           0.1026215 5/9/19 4:33      -0.0064119         -0.192015         4.84471E+13   3.0270756    6.70217E+12   -0.0249572    -0.7473849     3.0270756
745   6039.32   575256           0.1033913 5/9/19 4:38      -0.0064119         -0.192015         4.80809E+13   3.0497802    6.70217E+12   -0.0273476    -0.8189695     3.0497802
746   6037.47   575256           0.1033596 5/9/19 4:43      -0.0064119         -0.192015         4.80809E+13   3.0488459    6.70217E+12   -0.0285916    -0.8562231     3.0488459
747   6046.95   575256           0.1035219 5/9/19 4:48      -0.0064119         -0.192015         4.80809E+13   3.0536332    6.70217E+12   -0.0276954    -0.8293849     3.0536332
748   6051.57   575256            0.103601 5/9/19 4:53      -0.0064119         -0.192015         4.80809E+13   3.0559662    6.70217E+12   -0.0189461    -0.5673725     3.0559662
749   6052.41   575257           0.1025409 5/9/19 4:58      -0.0064119         -0.192015         4.85847E+13   3.0246966    6.70217E+12   -0.0213883    -0.6405083     3.0246966
750   6058.73   575257            0.102648 5/9/19 5:03       -0.001004        -0.0300665         4.85847E+13    3.027855    6.70217E+12   -0.0284985    -0.8534351      3.027855
751    6054.8   575258           0.1018989 5/9/19 5:08       -0.001004        -0.0300665         4.89101E+13   3.0057607    6.70217E+12   -0.0254371    -0.7617564     3.0057607
752   6051.38   575258           0.1018414 5/9/19 5:13       -0.001004        -0.0300665         4.89101E+13   3.0040629    6.70217E+12   -0.0222254    -0.6655766     3.0040629
753    6048.3   575258           0.1017896 5/9/19 5:18       -0.001004        -0.0300665         4.89101E+13   3.0025339    6.70217E+12   -0.0245437     -0.735002     3.0025339
754   6051.14   575258           0.1018373 5/9/19 5:23       -0.001004        -0.0300665         4.89101E+13   3.0039438    6.70217E+12   -0.0272051    -0.8147021     3.0039438
755   6057.19   575258           0.1019392 5/9/19 5:28       -0.001004        -0.0300665         4.89101E+13   3.0069471    6.70217E+12    -0.026005    -0.7787631     3.0069471
756   6059.15   575259           0.1040181 5/9/19 5:33       -0.001004        -0.0300665         4.79481E+13   3.0682693    6.70217E+12   -0.0148258    -0.4439833     3.0682693
757   6061.72   575260           0.1037848 5/9/19 5:38       -0.001004        -0.0300665         4.80762E+13   3.0613901    6.70217E+12   -0.0244808    -0.7331184     3.0613901
758   6057.72   575260           0.1037164 5/9/19 5:43       -0.001004        -0.0300665         4.80762E+13      3.05937   6.70217E+12   -0.0243887    -0.7303603        3.05937
759    6057.7   575260            0.103716 5/9/19 5:48       -0.001004        -0.0300665         4.80762E+13   3.0593599    6.70217E+12   -0.0198852    -0.5954955     3.0593599
760   6047.35   575260           0.1035388 5/9/19 5:53       -0.001004        -0.0300665         4.80762E+13   3.0541327    6.70217E+12   -0.0198875    -0.5955643     3.0541327




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       A        B            C                  D           E                F                 G                 H             I           J           K               L
761   6044.98   575261           0.1039808 5/9/19 5:58      -0.001004        -0.0300665         4.78531E+13   3.0671699    6.70217E+12   -0.0198792    -0.5953158    3.0671699
762   6040.28   575262           0.1043375 5/9/19 6:03      0.0099891         0.2991402         4.76524E+13    3.077692    6.70217E+12   -0.0173633     -0.519973     3.077692
763   6034.01   575263           0.1041918 5/9/19 6:08      0.0099891         0.2991402         4.76695E+13   3.0733946    6.70217E+12    -0.018275    -0.5472753    3.0733946
764   6034.26   575263           0.1041961 5/9/19 6:13      0.0099891         0.2991402         4.76695E+13   3.0735219    6.70217E+12   -0.0079803    -0.2389834    3.0735219
765   6037.47   575263           0.1042516 5/9/19 6:18      0.0099891         0.2991402         4.76695E+13   3.0751569    6.70217E+12   -0.0028126     -0.084228    3.0751569
766   6035.61   575264           0.1036859 5/9/19 6:23      0.0099891         0.2991402         4.79148E+13   3.0584702    6.70217E+12   -0.0009188     -0.027515    3.0584702
767   6032.26   575264           0.1036283 5/9/19 6:28      0.0099891         0.2991402         4.79148E+13   3.0567726    6.70217E+12   -0.0017763    -0.0531943    3.0567726
768   6035.08   575266           0.1012996 5/9/19 6:33      0.0099891         0.2991402         4.90392E+13    2.988081    6.70217E+12   -0.0029613    -0.0886811     2.988081
769   6038.27   575266           0.1013531 5/9/19 6:38      0.0099891         0.2991402         4.90392E+13   2.9896604    6.70217E+12   -0.0017698    -0.0529996    2.9896604
770   6038.35   575267           0.1004336 5/9/19 6:43      0.0099891         0.2991402         4.94889E+13   2.9625364    6.70217E+12   -0.0040978    -0.1227155    2.9625364
771   6041.06   575267           0.1004787 5/9/19 6:48      0.0099891         0.2991402         4.94889E+13    2.963866    6.70217E+12   -0.0041121    -0.1231437     2.963866
772    6032.6   575269           0.1003466 5/9/19 6:53      0.0099891         0.2991402         4.94846E+13   2.9599697    6.70217E+12   -0.0017941    -0.0537273    2.9599697
773   6038.62   575269           0.1004467 5/9/19 6:58      0.0099891         0.2991402         4.94846E+13   2.9629235    6.70217E+12   -0.0169009    -0.5061256    2.9629235
774   6023.18   575269           0.1001899 5/9/19 7:03       0.015734         0.4711809         4.94846E+13   2.9553477    6.70217E+12   -0.0127165    -0.3808168    2.9553477
775   6018.06   575270            0.100393 5/9/19 7:08       0.015734         0.4711809         4.93426E+13   2.9613379    6.70217E+12   -0.0057831    -0.1731846    2.9613379
776   6028.56   575270           0.1005681 5/9/19 7:13       0.015734         0.4711809         4.93426E+13   2.9665047    6.70217E+12   -0.0011814     -0.035379    2.9665047
777   6023.05   575271           0.1000255 5/9/19 7:18       0.015734         0.4711809         4.95649E+13       2.9505   6.70217E+12   -0.0018878    -0.0565333        2.9505
778    6002.6   575271           0.0996859 5/9/19 7:23       0.015734         0.4711809         4.95649E+13   2.9404822    6.70217E+12   -0.0019315     -0.057842    2.9404822
779   6004.55   575271           0.0997183 5/9/19 7:28       0.015734         0.4711809         4.95649E+13   2.9414374    6.70217E+12   -0.0032781    -0.0981682    2.9414374
780   6023.65   575271           0.1000355 5/9/19 7:33       0.015734         0.4711809         4.95649E+13   2.9507939    6.70217E+12   -0.0044118    -0.1321187    2.9507939
781   6022.52   575272           0.1006869 5/9/19 7:38       0.015734         0.4711809          4.9235E+13   2.9700094    6.70217E+12   -0.0183056    -0.5481917    2.9700094
782   6016.76   575272           0.1005906 5/9/19 7:43       0.015734         0.4711809          4.9235E+13   2.9671688    6.70217E+12    -0.004465    -0.1337119    2.9671688
783   6007.87   575272            0.100442 5/9/19 7:48       0.015734         0.4711809          4.9235E+13   2.9627847    6.70217E+12   -0.0011594    -0.0347202    2.9627847
784   5998.51   575272           0.1002855 5/9/19 7:53       0.015734         0.4711809          4.9235E+13   2.9581688    6.70217E+12   -0.0019525    -0.0584709    2.9581688
785   6004.67   575273            0.101848 5/9/19 7:58       0.015734         0.4711809         4.85294E+13   3.0042572    6.70217E+12    -0.016446    -0.4925029    3.0042572
786   5986.82   575273           0.1015452 5/9/19 8:03      0.0212738         0.6370794         4.85294E+13   2.9953265    6.70217E+12   -0.0226577    -0.6785226    2.9953265
787   5966.01   575273           0.1011922 5/9/19 8:08      0.0212738         0.6370794         4.85294E+13   2.9849149    6.70217E+12   -0.0040549    -0.1214307    2.9849149
788   5975.72   575273           0.1013569 5/9/19 8:13      0.0212738         0.6370794         4.85294E+13    2.989773    6.70217E+12    0.0088876      0.266154     2.989773
789   5974.19   575273            0.101331 5/9/19 8:18      0.0212738         0.6370794         4.85294E+13   2.9890075    6.70217E+12    0.0059397     0.1778742    2.9890075
790   5989.16   575275           0.1021458 5/9/19 8:23      0.0212738         0.6370794          4.8263E+13   3.0130416    6.70217E+12     0.005809     0.1739602    3.0130416
791    5989.1   575275           0.1021448 5/9/19 8:28      0.0212738         0.6370794          4.8263E+13   3.0130114    6.70217E+12    0.0001868      0.005594    3.0130114
792   5990.38   575275           0.1021666 5/9/19 8:33      0.0212738         0.6370794          4.8263E+13   3.0136553    6.70217E+12    0.0010001     0.0299497    3.0136553
793   5999.35   575275           0.1023196 5/9/19 8:38      0.0212738         0.6370794          4.8263E+13    3.018168    6.70217E+12   -0.0026113    -0.0781997     3.018168
794   6009.99   575276           0.1040749 5/9/19 8:43      0.0212738         0.6370794         4.75331E+13   3.0699468    6.70217E+12    0.0003791     0.0113528    3.0699468
795   6015.23   575276           0.1041657 5/9/19 8:48      0.0212738         0.6370794         4.75331E+13   3.0726234    6.70217E+12    0.0045541     0.1363801    3.0726234
796   6006.59   575276           0.1040161 5/9/19 8:53      0.0212738         0.6370794         4.75331E+13   3.0682101    6.70217E+12    0.0020439      0.061208    3.0682101
797   6012.06   575276           0.1041108 5/9/19 8:58      0.0212738         0.6370794         4.75331E+13   3.0710042    6.70217E+12    0.0057903     0.1734002    3.0710042
798   5997.24   575276           0.1038541 5/9/19 9:03       0.021087         0.6314854         4.75331E+13    3.063434    6.70217E+12    0.0154138     0.4615919     3.063434
799   6009.31   575277           0.1048522 5/9/19 9:08       0.021087         0.6314854         4.71754E+13   3.0928732    6.70217E+12     0.007881     0.2360097    3.0928732
800   6014.99   575277           0.1049513 5/9/19 9:13       0.021087         0.6314854         4.71754E+13   3.0957966    6.70217E+12    0.0015859     0.0474924    3.0957966
801   6015.14   575277           0.1049539 5/9/19 9:18       0.021087         0.6314854         4.71754E+13   3.0958738    6.70217E+12    0.0110437      0.330722    3.0958738
802   6010.98   575277           0.1048813 5/9/19 9:23       0.021087         0.6314854         4.71754E+13   3.0937327    6.70217E+12    0.0082541     0.2471828    3.0937327
803    6015.8   575279           0.1061867 5/9/19 9:28       0.021087         0.6314854         4.66328E+13      3.13224   6.70217E+12    0.0098213     0.2941152       3.13224
804   6008.98   575281           0.1036694 5/9/19 9:33       0.021087         0.6314854          4.7711E+13   3.0579847    6.70217E+12    0.0137284     0.4111198    3.0579847
805   6005.02   575281           0.1036011 5/9/19 9:38       0.021087         0.6314854          4.7711E+13   3.0559695    6.70217E+12    0.0148862     0.4457921    3.0559695
806   5992.86   575281           0.1033913 5/9/19 9:43       0.021087         0.6314854          4.7711E+13   3.0497812    6.70217E+12     0.019156     0.5736583    3.0497812
807    6001.7   575281           0.1035438 5/9/19 9:48       0.021087         0.6314854          4.7711E+13   3.0542799    6.70217E+12    0.0155476     0.4655988    3.0542799
808   5996.77   575281           0.1034587 5/9/19 9:53       0.021087         0.6314854          4.7711E+13    3.051771    6.70217E+12    0.0127646     0.3822572     3.051771
809   5997.26   575281           0.1034672 5/9/19 9:58       0.021087         0.6314854          4.7711E+13   3.0520204    6.70217E+12       0.01036    0.3102475    3.0520204
810   5995.19   575281           0.1034315 5/9/19 10:03     0.0217322         0.6508069          4.7711E+13    3.050967    6.70217E+12   -0.0001443    -0.0043213     3.050967
811   5995.19   575281           0.1034315 5/9/19 10:08     0.0217322         0.6508069          4.7711E+13    3.050967    6.70217E+12    0.0134747     0.4035223     3.050967
812   5978.15   575281           0.1031375 5/9/19 10:13     0.0217322         0.6508069          4.7711E+13   3.0422953    6.70217E+12    0.0153319     0.4591393    3.0422953
813   5989.44   575281           0.1033323 5/9/19 10:18     0.0217322         0.6508069          4.7711E+13   3.0480408    6.70217E+12     0.016155     0.4837884    3.0480408
814   6001.74   575282           0.1070813 5/9/19 10:23     0.0217322         0.6508069         4.61352E+13    3.158626    6.70217E+12    0.0174376      0.522198     3.158626
815   6010.06   575282           0.1072297 5/9/19 10:28     0.0217322         0.6508069         4.61352E+13   3.1630047    6.70217E+12    0.0234385     0.7019049    3.1630047
816   6009.71   575283           0.1079065 5/9/19 10:33     0.0217322         0.6508069         4.58431E+13   3.1829698    6.70217E+12    0.0203173     0.6084354    3.1829698
817   5995.73   575283           0.1076555 5/9/19 10:38     0.0217322         0.6508069         4.58431E+13   3.1755655    6.70217E+12     0.019624     0.5876734    3.1755655
818   6000.73   575284           0.1065399 5/9/19 10:43     0.0217322         0.6508069         4.63618E+13    3.142657    6.70217E+12    0.0143614     0.4300761     3.142657
819   6007.62   575284           0.1066622 5/9/19 10:48     0.0217322         0.6508069         4.63618E+13   3.1462654    6.70217E+12    0.0184275     0.5518422    3.1462654
820   6006.48   575284            0.106642 5/9/19 10:53     0.0217322         0.6508069         4.63618E+13   3.1456683    6.70217E+12    0.0226632     0.6786873    3.1456683
821   5999.23   575284           0.1065133 5/9/19 10:58     0.0217322         0.6508069         4.63618E+13   3.1418714    6.70217E+12    0.2007318     6.0112483    6.0112483
822   6004.02   575284           0.1065983 5/9/19 11:03     0.0217961         0.6527205         4.63618E+13      3.14438   6.70217E+12    0.0307427     0.9206414       3.14438
823   6000.99   575284           0.1065445 5/9/19 11:08     0.0217961         0.6527205         4.63618E+13   3.1427931    6.70217E+12    0.0293874     0.8800547    3.1427931
824   6003.38   575284           0.1065869 5/9/19 11:13     0.0217961         0.6527205         4.63618E+13   3.1440448    6.70217E+12    0.0349274     1.0459592    3.1440448
825   6014.88   575284           0.1067911 5/9/19 11:18     0.0217961         0.6527205         4.63618E+13   3.1500675    6.70217E+12    0.0260766     0.7809072    3.1500675
826   6026.81   575284           0.1070029 5/9/19 11:24     0.0217961         0.6527205         4.63618E+13   3.1563154    6.70217E+12    0.0118225     0.3540445    3.1563154




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Pr~V'f~.nt® fVlode.l                u/BHtt
Flexlble Fran1e Air ln1-al<.e Filter
Acts at a prll'fl',lrV pre-nltratior1.d,::f<?M~ IC IH lp
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                                                   Advantages
                                                    , V-bank design reduces filter                        , Increases life of filters up to
                                                      velocity and filter pressure                          four times
                                                      drop by up to 60%, saving
                                                      energy



                                                   Typical applications: Single-stage V-bank filter housing for commercial, industrial,
                                                   manufactu ring or medical facilities.
                                                   Construction: 16-gauge galvanized steel with pre-drilled standing flanges, dual access doors,
                                                   UV-resistant door knobs , door and filter sealing gasketing.
                                                   Filters: Any 2" deep filter.
                                                   Performance: Less than 1/2 of I% leakage guaranteed. Rat ed airflow 500 fpm, may be
                                                   operated to 625 fpm. Standard model operational to ± 6.0" w.g.
                                                   Additional data: Sizes available from 4 filters high to 6 filters wide. Housing is weatherproof for
                                                   outside installati on without modification. Includes pneumatic fitting fo r static pressure gauge.

                                                   See Lit erature 2421 for more details.




     Dimensions and Airflow Capacity (cfm)



     ½      15.25            2,000                4,000               6,000                 8,000               10,000               12,000
            27.25    2,000   4 ,000      6,000    8,000    10,000    12,000     14,000      16,000   18,000     20,000    22,000     24,000
     1-½    39.50            6,000               12,000              18,000                 24,000              30,000               36,000
            51.50    4,000   8,000      12,000   16,000    20,000    24 ,000    28,000      32,000   36,000     40,000    44,000     48,000
                                                                                                                                                 28.00
     2-½    63.75            10,000              20,000              30,000                 40,000              50,000               60,000
            75.75    6,000   12,000     18,000   24,000    30,000    36,000     42 ,000     48,000   54,000     60 ,000   66,000     72,000
     3-½    88.00            14,000              28,000              42,000                 54,000              70,000               84,000
     4      100.00   8,000   16,000     24,000   32,000    40,000    48,000     56 ,000     60,000   72,000     80 ,000   88,000     96,000




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                                                      Washington NC , Concord Ontario
                                      Un ited States Tel: (866) 422-6345, Canada Te l: (800) 976-9382
                                                               www. camfil. com
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    Total System Solutions

I                 II               aster Exhaust fan
    J&D Manufacturing's Wall Master exhaust fan offers high volume output and smooth, efficient operation. The heavy duty 18 gauge
    galvanized housing is strong, compact, and easy to install. J&D's Wall Master is a dependable fan suited for nearly any application
    including agricultural buildings, greenhouses, and warehouses.




    • Available in 36" and 50" models
    • Heavy duty 18 gauge galvanized housing
    • Rugged X-frame for added stability on belt drive models
    • Aluminum shutters with tie bar to prevent flapping and locking open
    • 1" x 2" removable wire mesh guards are hot dip galvanized after welding
    • Poly guard clips to reduce vibration for quiet performance
    • 3, 4 or 6 blade galvanized propeller is balanced for smooth operation
    • Lifetime Warranty on 3 blade cast aluminum props, available
      on select 50" models
    • Bearings are eccentric locking, pre-lubricated, permanently sealed and rubber
      mounted for smooth operation and reduced blade fatigue, and are covered by
      a Three Vear Warranty
    • Spring belt tensioning system reduces bounce at startup on all belt driven models
    • Optional weather hood available for protection from severe wind and weather
    • Totally enclosed, maintenance-free, high-efficiency motors have completely
      sealed ball bearings, and are covered by a Tw@ Vear Warr.!u1ty

          &WARNING: This product can expose you to chemicals including lead, which is known to the State of California to cause cancer
                              and birth defects or other reproductive harm. For more information go to www.P65Wamings.ca.gov/product.
    Due to our continual effort to provide the best products available and adhere to market conditions; literature, products, prices and availability are subject to change without notice.




                                                                                                                                                                                8B10000012
                                                                                   Appx13378
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                                 aster Exhaust Fan                                                                                                                                        I

                                                                                                                                                     r
                                                                                                                          Removable 12 Gauge x 2" wire mesh guards
                                                                                                                          are hot dip galvanized after welding. The guard is
                                                                                                                          attached to the housing with poly guard clips to
                                                                                                                          reduce noise afld vibration.




                                                                                                                          Belt drive models include a heavy duty spring belt
                                                                                                                          tensioner to reduce bounce at startup and provide
                                                                                                                          uniform !oadiflg to iflcrease the life of the belt and
                                                                                                                          maintain high efficiency.
                       Heavy-duty )(.frame· (Shown without rear guard for illustration purposes only}

                                    @0.0S"SP
                                        :CFM/
 Part#                Sizi='Phs Spd CFM :watt Drive Prop                                                        Optional Weather Hood
L ""1 hff    -   ~


VF36DM                36"    1    1   10,100:     19.5 Direct 3-Glv                                             If Wall Master is mounted with the
VF36GG                3611
                             1    1    9 ooo:     18.1 Belt 4-Glv                                               shutter side of the fan flush to an
VF36GG1               36"    1    1   11,500:     15.2 Belt 4-Glv                                               exterior wall a weather hood may
VF36GG2               36"    1    2   11,400:     15.3 Belt 4-Glv                                               be used on the exterior shutter
VF50GG                5011
                             1    1   21,000:     18.9 Belt 3-Glv                                               side of the Wall Master to
VF50GG6               50"    1    1   21,300:     20.0 Belt 6-Glv                                               further protect the fan and
VF50GGCA              50"    1    1   20 900:     18.8 Belt 3-CA                                                shutter from severe winds
        .. '
                                                                                                                and harsh weather.
VF36DM3CF             36" ! 3     1   10,000:     19.6 Direct 3-Glv
VF36GG3                 11
                      36 ! 3      1   11,400:     15.1 Belt 4-Glv                                                  Wall   Weather
VF503GG               50" i 3     1   21,000:     18.9 Belt 3-Glv              Fan     Rough                      Master   Hood
VF503GG6              50" ! 3     1   21,200:     20.2 Belt 6-Glv              Size   Opening                    Fan Size Part#
VF503GGCA
                        11
                      50 ! 3      1   20 900:     18.8 Belt 3-C.A.             36" 41 W x 41"H
                                                                                            11
                                                                                                                   36" VFT140860
OSHA requires these fans to be mounted 7' above the floor                      50" 54% W x 54314 H
                                                                                            11          11
                                                                                                                   50" VFT140861


            &WARNING: This product can expose you to chemicals including lead, which is known to the State of California to cause cancer
                      and birth defects or other reproductive harm. For more information go to www.P65Wamings.ca.gov/product.
Due to our continual effort ta provide the best products available and adhere ta market conditions; literature, products, prices and availability are subject to change without notice.



                     www;jdmlg.com           I jdmigljdmig.oom I R: Ml QIMUI IH!H B I F: 1·88 B·H2·1HI                                                                            18
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                   A           B                 C                    D              E              F                   G                 H           I               J              K               L
             1 BTC_price block_height breakeven_mining_cost     datetime     day_ahead_LMP day_ahead_LMP_rev est_network_hashrate    mining_rev network_diff real_time_LMP real_time_LMP_rev realized_rev
             2    5698.24       574867               0.0883609 5/6/19 11:37         0.0292715         0.9056602         4.81358E+13 2.6928794 6.70217E+12           0.0283682         0.8777121  2.6928794
             3    5704.01       574867               0.0884504 5/6/19 11:42         0.0292715         0.9056602         4.81358E+13 2.6956062 6.70217E+12           0.0256247         0.7928282  2.6956062
             4    5721.16       574868               0.0878003 5/6/19 11:47         0.0292715         0.9056602         4.86381E+13 2.6757929 6.70217E+12           0.0266466         0.8244458  2.6757929
             5    5712.77       574868               0.0876715 5/6/19 11:52         0.0292715         0.9056602         4.86381E+13 2.6718689 6.70217E+12           0.0294184         0.9102053  2.6718689
             6    5702.98       574868               0.0875213 5/6/19 11:57         0.0292715         0.9056602         4.86381E+13 2.6672901 6.70217E+12           0.2156316         6.6716417  6.6716417
             7    5711.53       574868               0.0876525 5/6/19 12:02         0.0319112         0.9873325         4.86381E+13     2.671289 6.70217E+12        0.4257598        13.1730082 13.1730082
             8    5719.99       574868               0.0877823 5/6/19 12:08         0.0319112         0.9873325         4.86381E+13 2.6752457 6.70217E+12           0.2947237         9.1187513  9.1187513
             9    5711.93       574869               0.0870193 5/6/19 12:13         0.0319112         0.9873325         4.89954E+13 2.6519913 6.70217E+12           0.1560219         4.8273176  4.8273176
            10    5708.01       574871               0.0868646 5/6/19 12:18         0.0319112         0.9873325           4.9049E+13 2.6472769 6.70217E+12          0.0253548         0.7844775  2.6472769
            11     5701.9       574871               0.0867716 5/6/19 12:23         0.0319112         0.9873325           4.9049E+13 2.6444432 6.70217E+12           0.027036         0.8364938  2.6444432
            12    5698.51       574871                  0.08672 5/6/19 12:28        0.0319112         0.9873325           4.9049E+13    2.642871 6.70217E+12         0.026636         0.8241178    2.642871
            13    5705.99       574875               0.0875317 5/6/19 13:07         0.0316965         0.9806897         4.86579E+13 2.6676082 6.70217E+12           0.0297482         0.9204093  2.6676082
            14    5706.72       574875               0.0875429 5/6/19 13:11         0.0316965         0.9806897         4.86579E+13 2.6679495 6.70217E+12           0.0283545         0.8772882  2.6679495
            15    5702.01       574875               0.0874707 5/6/19 13:16         0.0316965         0.9806897         4.86579E+13 2.6657475 6.70217E+12           0.0263671         0.8157981  2.6657475
            16    5703.44       574876               0.0881359 5/6/19 13:21         0.0316965         0.9806897         4.83028E+13 2.6860221 6.70217E+12            0.027458         0.8495505  2.6860221
                                                                                                                                                                                                              Case: 23-1922




            17    5705.99       574876               0.0881753 5/6/19 13:26         0.0316965         0.9806897         4.83028E+13     2.687223 6.70217E+12        0.0295297         0.9136489    2.687223
            18    5706.85       574876               0.0881886 5/6/19 13:31         0.0316965         0.9806897         4.83028E+13     2.687628 6.70217E+12         0.029437         0.9107808    2.687628
            19    5726.52       574876               0.0884926 5/6/19 13:36         0.0316965         0.9806897         4.83028E+13 2.6968915 6.70217E+12           0.0294468          0.911084  2.6968915
            20    5727.41       574876               0.0885064 5/6/19 13:41         0.0316965         0.9806897         4.83028E+13 2.6973107 6.70217E+12           0.0291977         0.9033768  2.6973107
            21    5742.95       574876               0.0887465 5/6/19 13:46         0.0316965         0.9806897         4.83028E+13 2.7046292 6.70217E+12           0.0461903         1.4291279  2.7046292
            22    5734.03       574876               0.0886086 5/6/19 13:51         0.0316965         0.9806897         4.83028E+13 2.7004284 6.70217E+12           0.0300478         0.9296789  2.7004284
            23    5731.45       574876               0.0885688 5/6/19 13:56         0.0316965         0.9806897         4.83028E+13 2.6992133 6.70217E+12            0.023358         0.7226965  2.6992133
            24    5739.99       574877               0.0901743 5/6/19 14:01         0.0292446         0.9048279         4.75135E+13 2.7481417 6.70217E+12           0.0252541         0.7813619  2.7481417
            25     5749.1       574877               0.0903174 5/6/19 14:06         0.0292446         0.9048279         4.75135E+13 2.7525033 6.70217E+12            0.022385         0.6925919  2.7525033
            26    5732.99       574877               0.0900643 5/6/19 14:11         0.0292446         0.9048279         4.75135E+13 2.7447903 6.70217E+12           0.0278815         0.8626536  2.7447903
            27    5722.65       574878               0.0904991 5/6/19 14:16         0.0292446         0.9048279         4.71999E+13 2.7580421 6.70217E+12           0.0276273         0.8547887  2.7580421
                                                                                                                                                                                                              Document: 39-7




            28    5719.43       574878               0.0904482 5/6/19 14:21         0.0292446         0.9048279         4.71999E+13 2.7564902 6.70217E+12           0.0401146         1.2411457  2.7564902
            29    5727.52       574878               0.0905761 5/6/19 14:26         0.0292446         0.9048279         4.71999E+13 2.7603892 6.70217E+12           0.0357633         1.1065165  2.7603892
            30    5719.12       574878               0.0904433 5/6/19 14:31         0.0292446         0.9048279         4.71999E+13 2.7563408 6.70217E+12           0.0216376         0.6694673  2.7563408




Appx13380
            31    5720.06       574880               0.0904384 5/6/19 14:37         0.0292446         0.9048279         4.72102E+13 2.7561911 6.70217E+12           0.0206897         0.6401393  2.7561911
            32    5730.64       574880               0.0906057 5/6/19 14:42         0.0292446         0.9048279         4.72102E+13 2.7612891 6.70217E+12           0.0212322         0.6569243  2.7612891
            33    5734.69       574880               0.0906697 5/6/19 14:47         0.0292446         0.9048279         4.72102E+13 2.7632406 6.70217E+12           0.0214839         0.6647119  2.7632406
            34    5739.31       574881                0.090775 5/6/19 14:52         0.0292446         0.9048279         4.71935E+13 2.7664494 6.70217E+12           0.0212921         0.6587776  2.7664494
                                                                                                                                                                                                              Page: 235




            35    5736.72       574882               0.0910352 5/6/19 14:57         0.0292446         0.9048279         4.70373E+13 2.7743811 6.70217E+12            0.020696         0.6403342  2.7743811
            36    5741.99       574883               0.0905084 5/6/19 15:02         0.0212846         0.6585455         4.73545E+13 2.7583257 6.70217E+12           0.0203623         0.6300096  2.7583257
            37    5733.24       574885               0.0890821 5/6/19 15:07         0.0212846         0.6585455         4.80395E+13 2.7148565 6.70217E+12           0.0198016         0.6126615  2.7148565
            38    5724.73       574886               0.0885552 5/6/19 15:12         0.0212846         0.6585455         4.82535E+13 2.6988006 6.70217E+12           0.0190006         0.5878786  2.6988006
            39    5709.73       574886               0.0883232 5/6/19 15:17         0.0212846         0.6585455         4.82535E+13 2.6917292 6.70217E+12           0.0184907         0.5721023  2.6917292
            40    5678.11       574887                0.088385 5/6/19 15:22         0.0212846         0.6585455         4.79528E+13 2.6936119 6.70217E+12            0.023136         0.7158278  2.6936119
            41    5683.73       574888               0.0873487 5/6/19 15:27         0.0212846         0.6585455         4.85697E+13 2.6620299 6.70217E+12           0.0165815         0.5130316  2.6620299
            42    5681.84       574891               0.0832705 5/6/19 15:32         0.0212846         0.6585455         5.09315E+13 2.5377429 6.70217E+12           0.0157946         0.4886849  2.5377429
            43    5697.16       574891                0.083495 5/6/19 15:37         0.0212846         0.6585455         5.09315E+13 2.5445855 6.70217E+12           0.0722406         2.2351242  2.5445855
            44    5684.36       574892               0.0835678 5/6/19 15:42         0.0212846         0.6585455         5.07728E+13 2.5468044 6.70217E+12            0.025128         0.7774603  2.5468044
            45    5683.95       574894               0.0819393 5/6/19 15:47         0.0212846         0.6585455         5.17781E+13 2.4971743 6.70217E+12           0.0141482         0.4377453  2.4971743
            46    5700.28       574894               0.0821747 5/6/19 15:52         0.0212846         0.6585455         5.17781E+13 2.5043487 6.70217E+12           0.0158794         0.4913086  2.5043487
                                                                                                                                                                                                              Filed: 01/02/2024




            47    5700.01       574895               0.0825354 5/6/19 15:57         0.0212846         0.6585455         5.15494E+13     2.515341 6.70217E+12        0.0142467         0.4407929    2.515341
            48    5696.94       574897               0.0824036 5/6/19 16:02         0.0282033         0.8726101         5.16041E+13 2.5113225 6.70217E+12           0.0193804         0.5996296  2.5113225
            49    5700.76       574897               0.0824588 5/6/19 16:07         0.0282033         0.8726101         5.16041E+13 2.5130065 6.70217E+12           0.0145181            0.44919 2.5130065
            50    5684.53       574897               0.0822241 5/6/19 16:12         0.0282033         0.8726101         5.16041E+13     2.505852 6.70217E+12        0.0157287          0.486646    2.505852
            51    5689.74       574897               0.0822994 5/6/19 16:18         0.0282033         0.8726101         5.16041E+13 2.5081486 6.70217E+12           0.0162324         0.5022305  2.5081486
            52    5682.26       574897               0.0821912 5/6/19 16:23         0.0282033         0.8726101         5.16041E+13 2.5048513 6.70217E+12           0.0157041         0.4858849  2.5048513



            CONFIDENTIAL                                                                       exelon4_modeling_05092019                                                                        BB100000014
                    A           B                 C                   D               E              F                   G                 H           I               J              K               L
              1 BTC_price block_height breakeven_mining_cost    datetime      day_ahead_LMP day_ahead_LMP_rev est_network_hashrate    mining_rev network_diff real_time_LMP real_time_LMP_rev realized_rev
             53    5686.59       574898               0.0828228 5/6/19 16:28         0.0282033         0.8726101         5.12496E+13 2.5240987 6.70217E+12           0.0148626         0.4598488  2.5240987
             54    5681.45       574899               0.0829971 5/6/19 16:33         0.0282033         0.8726101         5.10957E+13 2.5294123 6.70217E+12           0.0141661         0.4382991  2.5294123
             55    5684.86       574899               0.0830469 5/6/19 16:38         0.0282033         0.8726101         5.10957E+13 2.5309305 6.70217E+12           0.0039202           0.121291 2.5309305
             56     5679.5       574899               0.0829686 5/6/19 16:43         0.0282033         0.8726101         5.10957E+13 2.5285442 6.70217E+12           0.0059038         0.1826636  2.5285442
             57    5681.53       574901               0.0836257 5/6/19 16:48         0.0282033         0.8726101         5.07124E+13 2.5485671 6.70217E+12           0.0056964         0.1762466  2.5485671
             58    5689.99       574902               0.0837969 5/6/19 16:53         0.0282033         0.8726101         5.06841E+13 2.5537859 6.70217E+12           0.0098804         0.3056996  2.5537859
             59    5691.01       574903               0.0831196 5/6/19 16:58         0.0282033         0.8726101         5.11063E+13 2.5331438 6.70217E+12           0.0072672         0.2248472  2.5331438
             60    5699.02       574904               0.0827156 5/6/19 17:03         0.0245371         0.7591779         5.14281E+13 2.5208339 6.70217E+12           0.0100674         0.3114854  2.5208339
             61    5700.57       574905               0.0827554 5/6/19 17:08         0.0245371         0.7591779         5.14174E+13 2.5220451 6.70217E+12           0.0086099         0.2663903  2.5220451
             62    5695.51       574906               0.0812506 5/6/19 17:13         0.0245371         0.7591779         5.23232E+13 2.4761856 6.70217E+12           0.0053846         0.1665995  2.4761856
             63     5694.8       574907               0.0809439 5/6/19 17:18         0.0245371         0.7591779         5.25149E+13 2.4668388 6.70217E+12           0.0017196         0.0532044  2.4668388
             64    5695.29       574907               0.0809509 5/6/19 17:23         0.0245371         0.7591779         5.25149E+13     2.467051 6.70217E+12        0.0048459         0.1499321    2.467051
             65    5711.94       574907               0.0811875 5/6/19 17:28         0.0245371         0.7591779         5.25149E+13 2.4742634 6.70217E+12           0.0072046         0.2229103  2.4742634
             66    5717.52       574908               0.0815164 5/6/19 17:33         0.0245371         0.7591779         5.23541E+13 2.4842862 6.70217E+12           0.0173188         0.5358437  2.4842862
             67    5717.19       574908               0.0815117 5/6/19 17:38         0.0245371         0.7591779         5.23541E+13 2.4841428 6.70217E+12           0.0107967         0.3340499  2.4841428
                                                                                                                                                                                                               Case: 23-1922




             68    5709.94       574908               0.0814083 5/6/19 17:43         0.0245371         0.7591779         5.23541E+13 2.4809927 6.70217E+12           0.0175668         0.5435168  2.4809927
             69    5706.05       574908               0.0813529 5/6/19 17:48         0.0245371         0.7591779         5.23541E+13 2.4793025 6.70217E+12           0.0040943         0.1266776  2.4793025
             70    5698.01       574909               0.0821371 5/6/19 17:53         0.0245371         0.7591779         5.17812E+13 2.5032013 6.70217E+12           0.0062052         0.1919889  2.5032013
             71    5704.79       574909               0.0822348 5/6/19 17:59         0.0245371         0.7591779         5.17812E+13 2.5061798 6.70217E+12           0.0060673         0.1877223  2.5061798
             72    5706.81       574909               0.0822639 5/6/19 18:04         0.0188872            0.58437        5.17812E+13 2.5070672 6.70217E+12            0.004964         0.1535862  2.5070672
             73    5699.44       574910               0.0819668 5/6/19 18:09         0.0188872            0.58437        5.19018E+13 2.4980119 6.70217E+12           0.0096617           0.298933 2.4980119
             74    5697.53       574910               0.0819393 5/6/19 18:14         0.0188872            0.58437        5.19018E+13 2.4971748 6.70217E+12           0.0094749         0.2931534  2.4971748
             75    5693.01       574910               0.0818743 5/6/19 18:19         0.0188872            0.58437        5.19018E+13 2.4951937 6.70217E+12           0.0097717         0.3023364  2.4951937
             76    5693.01       574910               0.0818743 5/6/19 18:24         0.0188872            0.58437        5.19018E+13 2.4951937 6.70217E+12           0.0113155         0.3501016  2.4951937
             77    5693.94       574911               0.0828462 5/6/19 18:29         0.0188872            0.58437        5.13013E+13 2.5248113 6.70217E+12          -0.0060949        -0.1885762  2.5248113
             78    5699.57       574911               0.0829281 5/6/19 18:34         0.0188872            0.58437        5.13013E+13 2.5273078 6.70217E+12           0.0003233         0.0100029  2.5273078
                                                                                                                                                                                                               Document: 39-7




             79    5698.15       574912               0.0833531 5/6/19 18:39         0.0188872            0.58437          5.1027E+13    2.540262 6.70217E+12        0.0028852         0.0892681    2.540262
             80    5693.81       574913               0.0834471 5/6/19 18:44         0.0188872            0.58437        5.09307E+13 2.5431267 6.70217E+12           0.0066411         0.2054756  2.5431267
             81    5686.01       574914               0.0818977 5/6/19 18:49         0.0188872            0.58437        5.18232E+13 2.4959076 6.70217E+12           0.0059357         0.1836506  2.4959076




Appx13381
             82    5685.94       574915               0.0814507 5/6/19 18:54         0.0188872            0.58437        5.21069E+13 2.4822846 6.70217E+12          -0.0011344        -0.0350983  2.4822846
             83     5683.4       574915               0.0814144 5/6/19 18:59         0.0188872            0.58437        5.21069E+13 2.4811757 6.70217E+12           0.0001905         0.0058941  2.4811757
             84    5694.85       574915               0.0815784 5/6/19 19:04         0.0193163         0.5976463         5.21069E+13 2.4861744 6.70217E+12           0.0002833         0.0087653  2.4861744
             85    5721.14       574915                0.081955 5/6/19 19:09         0.0193163         0.5976463         5.21069E+13 2.4976517 6.70217E+12           0.0025406         0.0786062  2.4976517
                                                                                                                                                                                                               Page: 236




             86    5732.53       574915               0.0821181 5/6/19 19:14         0.0193163         0.5976463         5.21069E+13 2.5026242 6.70217E+12           0.0016449         0.0508932  2.5026242
             87    5732.74       574915               0.0821211 5/6/19 19:19         0.0193163         0.5976463         5.21069E+13 2.5027159 6.70217E+12           0.0041178         0.1274047  2.5027159
             88     5730.2       574915               0.0820848 5/6/19 19:24         0.0193163         0.5976463         5.21069E+13     2.501607 6.70217E+12        -0.000019        -0.0005879    2.501607
             89    5737.27       574915                0.082186 5/6/19 19:29         0.0193163         0.5976463         5.21069E+13 2.5046935 6.70217E+12          -0.0002028        -0.0062746  2.5046935
             90    5731.74       574915               0.0821068 5/6/19 19:34         0.0193163         0.5976463         5.21069E+13 2.5022793 6.70217E+12           0.0002309           0.007144 2.5022793
             91    5727.94       574915               0.0820524 5/6/19 19:40         0.0193163         0.5976463         5.21069E+13 2.5006204 6.70217E+12           0.0130869         0.4049087  2.5006204
             92    5741.23       574915               0.0822428 5/6/19 19:45         0.0193163         0.5976463         5.21069E+13 2.5064223 6.70217E+12           0.0122933         0.3803547  2.5064223
             93    5740.52       574915               0.0822326 5/6/19 19:50         0.0193163         0.5976463         5.21069E+13 2.5061123 6.70217E+12           0.0089193         0.2759631  2.5061123
             94    5749.19       574916                  0.08668 5/6/19 19:55        0.0193163         0.5976463           4.9508E+13 2.6416525 6.70217E+12          0.0021355         0.0660724  2.6416525
             95    5745.01       574916                0.086617 5/6/19 20:00         0.0241251         0.7464306           4.9508E+13 2.6397319 6.70217E+12          -0.001813        -0.0560942  2.6397319
             96    5763.99       574916               0.0869032 5/6/19 20:05         0.0241251         0.7464306           4.9508E+13 2.6484528 6.70217E+12         -0.0003708        -0.0114726  2.6484528
             97    5769.68       574916                0.086989 5/6/19 20:10         0.0241251         0.7464306           4.9508E+13 2.6510673 6.70217E+12          0.0062241         0.1925737  2.6510673
                                                                                                                                                                                                               Filed: 01/02/2024




             98    5769.14       574917               0.0882187 5/6/19 20:15         0.0241251         0.7464306         4.88133E+13 2.6885453 6.70217E+12           0.0116013         0.3589442  2.6885453
             99    5755.39       574917               0.0880085 5/6/19 20:20         0.0241251         0.7464306         4.88133E+13 2.6821375 6.70217E+12           0.0009813         0.0303614  2.6821375
            100     5754.1       574917               0.0879887 5/6/19 20:25         0.0241251         0.7464306         4.88133E+13 2.6815363 6.70217E+12          -0.0161407        -0.4993933  2.6815363
            101     5771.1       574917               0.0882487 5/6/19 20:30         0.0241251         0.7464306         4.88133E+13 2.6894587 6.70217E+12          -0.0174708        -0.5405466  2.6894587
            102    5764.05       574918               0.0890788 5/6/19 20:35         0.0241251         0.7464306         4.82994E+13     2.714756 6.70217E+12       -0.0175085          -0.541713   2.714756
            103     5752.2       574918               0.0888956 5/6/19 20:40         0.0241251         0.7464306         4.82994E+13 2.7091749 6.70217E+12          -0.0038463        -0.1190045  2.7091749



            CONFIDENTIAL                                                                       exelon4_modeling_05092019                                                                         BB100000014
                    A          B                 C                   D              E              F                   G                H           I               J              K               L
             1 BTC_price block_height breakeven_mining_cost    datetime     day_ahead_LMP day_ahead_LMP_rev est_network_hashrate   mining_rev network_diff real_time_LMP real_time_LMP_rev realized_rev
            104   5755.49       574918               0.0889465 5/6/19 20:45        0.0241251         0.7464306         4.82994E+13 2.7107244 6.70217E+12         -0.0004318        -0.0133599  2.7107244
            105   5762.02       574919               0.0902091 5/6/19 20:50        0.0241251         0.7464306         4.76774E+13 2.7492027 6.70217E+12          0.0004104         0.0126978  2.7492027
            106    5760.7       574919               0.0901884 5/6/19 20:55        0.0241251         0.7464306         4.76774E+13 2.7485729 6.70217E+12         -0.0009508        -0.0294178  2.7485729
            107   5762.49                            0.0902164 5/6/19 21:02        0.0175071         0.5416697         4.76774E+13    2.749427                    0.0007073         0.0218839    2.749427
            108   5774.99       574920               0.1001885 5/6/19 21:19        0.0175071         0.5242793         4.74463E+13 2.9553058 6.70217E+12         -0.0013119          -0.039287 2.9553058
            109   5844.99       574922               0.1031216 5/6/19 21:44        0.0175071         0.5242793         4.66555E+13 3.0418256 6.70217E+12         -0.0118157        -0.3538408  3.0418256
            110   5844.99       574922               0.1031216 5/6/19 21:44        0.0175071         0.5242793         4.66555E+13 3.0418256 6.70217E+12         -0.0118157        -0.3538408  3.0418256
            111   5844.99       574922               0.1031216 5/6/19 21:45        0.0175071         0.5242793         4.66555E+13 3.0418256 6.70217E+12         -0.0118157        -0.3538408  3.0418256
            112   5844.99       574922               0.1031216 5/6/19 21:45        0.0175071         0.5242793         4.66555E+13 3.0418256 6.70217E+12         -0.0118157        -0.3538408  3.0418256
            113   5843.89       574923               0.1041911 5/6/19 21:52        0.0175071         0.5242793         4.61679E+13 3.0733748 6.70217E+12          0.0001052         0.0031504  3.0733748
            114   5889.14       574923               0.1049979 5/6/19 21:57        0.0175071         0.5242793         4.61679E+13 3.0971724 6.70217E+12          0.0047856         0.1433128  3.0971724
            115   5938.96       574925              0.1060149 5/6/19 22:02         0.0137884         0.4129166         4.61118E+13 3.1271721 6.70217E+12          0.0012328         0.0369183  3.1271721
            116  5924.06        574925                0.105749 5/6/19 22:07        0.0137884         0.4129166         4.61118E+13 3.1193265 6.70217E+12         -0.0183554          -0.549683 3.1193265
            117    5904.4       574925                0.105398 5/6/19 22:15        0.0137884         0.4129166         4.61118E+13 3.1089744 6.70217E+12         -0.0038279        -0.1146328  3.1089744
            118    5904.4       574925                0.105398 5/6/19 22:16        0.0137884         0.4129166         4.61118E+13 3.1089744 6.70217E+12         -0.0038279        -0.1146328  3.1089744
                                                                                                                                                                                                            Case: 23-1922




            119  5906.55        574925              0.1054364 5/6/19 22:16         0.0137884         0.4129166         4.61118E+13 3.1101065 6.70217E+12         -0.0038279        -0.1146328  3.1101065
            120  5906.55        574925              0.1054364 5/6/19 22:16         0.0137884         0.4129166         4.61118E+13 3.1101065 6.70217E+12         -0.0038279        -0.1146328  3.1101065
            121  5906.55        574925              0.1054364 5/6/19 22:16        0.0137884          0.4129166         4.61118E+13 3.1101065 6.70217E+12         -0.0038279        -0.1146328  3.1101065
            122  5906.55        574925              0.1054364 5/6/19 22:16        0.0137884          0.4129166         4.61118E+13 3.1101065 6.70217E+12         -0.0038279        -0.1146328  3.1101065
            123  5900.68        574927              0.1057464 5/6/19 22:23         0.0137884         0.4129166         4.59309E+13    3.119251 6.70217E+12        0.0035913         0.1075475    3.119251
            124  5904.02        574929              0.1030516 5/6/19 22:30        0.0137884          0.4129166         4.71587E+13 3.0397615 6.70217E+12         -0.0015977        -0.0478458  3.0397615
            125  5904.02        574929              0.1030516 5/6/19 22:30        0.0137884          0.4129166         4.71587E+13 3.0397615 6.70217E+12         -0.0015977        -0.0478458  3.0397615
            126    5898.4       574930              0.1031447 5/6/19 22:35        0.0137884          0.4129166         4.70713E+13 3.0425064 6.70217E+12         -0.0289922        -0.8682197  3.0425064
            127  5893.05        574930              0.1030511 5/6/19 22:37        0.0137884          0.4129166         4.70713E+13 3.0397468 6.70217E+12         -0.0289922        -0.8682197  3.0397468
            128  5897.36        574930              0.1031265 5/6/19 22:42        0.0137884          0.4129166         4.70713E+13     3.04197 6.70217E+12       -0.0236925        -0.7095114     3.04197
            129  5899.22        574931              0.1032757 5/6/19 22:47        0.0137884          0.4129166         4.70181E+13    3.046371 6.70217E+12       -0.0155618          -0.466024  3.046371
                                                                                                                                                                                                            Document: 39-7




            130    5901.5       574931              0.1033156 5/6/19 22:52        0.0137884          0.4129166         4.70181E+13 3.0475484 6.70217E+12         -0.0215767        -0.6461502  3.0475484
            131  5895.01        574932              0.1028817 5/6/19 22:57        0.0137884          0.4129166         4.71645E+13 3.0347496 6.70217E+12         -0.0188905        -0.5657075  3.0347496
            132  5882.85        574943              0.1003326 5/7/19 0:02         0.0098383          0.2946243           4.8263E+13 2.9595589 6.70217E+12         -0.002652        -0.0794186  2.9595589




Appx13382
            133  5891.99        574943              0.1004885 5/7/19 0:07         0.0098383          0.2946243           4.8263E+13 2.9641571 6.70217E+12         0.0003922         0.0117451  2.9641571
            134    5896.7       574944              0.1020246 5/7/19 0:12         0.0098383          0.2946243         4.75743E+13 3.0094662 6.70217E+12          0.0109642         0.3283412  3.0094662
            135  5903.84        574944              0.1021481 5/7/19 0:17         0.0098383          0.2946243         4.75743E+13 3.0131102 6.70217E+12          0.0001877           0.005621 3.0131102
            136  5911.06        574944                0.102273 5/7/19 0:22        0.0098383          0.2946243         4.75743E+13 3.0167951 6.70217E+12         -0.0190565        -0.5706787  3.0167951
                                                                                                                                                                                                            Page: 237




            137  5885.39        574945              0.1028414 5/7/19 0:27         0.0098383          0.2946243         4.71059E+13 3.0335618 6.70217E+12          -0.005721        -0.1713249  3.0335618
            138  5895.99        574945              0.1030267 5/7/19 0:32         0.0098383          0.2946243         4.71059E+13 3.0390254 6.70217E+12           0.005387         0.1613227  3.0390254
            139  5897.07        574945              0.1030455 5/7/19 0:37         0.0098383          0.2946243         4.71059E+13 3.0395821 6.70217E+12          0.0090961         0.2723979  3.0395821
            140  5898.51        574945              0.1030707 5/7/19 0:42         0.0098383          0.2946243         4.71059E+13 3.0403243 6.70217E+12          0.0000416         0.0012458  3.0403243
            141  5901.99        574945              0.1031315 5/7/19 0:47         0.0098383          0.2946243         4.71059E+13 3.0421181 6.70217E+12          0.0002217         0.0066392  3.0421181
            142  5889.59        574946              0.1043197 5/7/19 0:52         0.0098383          0.2946243         4.64716E+13 3.0771656 6.70217E+12         -0.0026672        -0.0798737  3.0771656
            143  5889.01        574947              0.1040736 5/7/19 0:57         0.0098383          0.2946243         4.65768E+13 3.0699085 6.70217E+12         -0.0003307        -0.0099034  3.0699085
            144  5877.69        574947              0.1038736 5/7/19 1:02         0.0105202          0.3150449         4.65768E+13 3.0640074 6.70217E+12         -0.0003011        -0.0090169  3.0640074
            145  5889.43        574948              0.1042298 5/7/19 1:07         0.0105202          0.3150449         4.65104E+13 3.0745154 6.70217E+12         -0.0001362        -0.0040787  3.0745154
            146  5887.99        574948              0.1042043 5/7/19 1:12         0.0105202          0.3150449         4.65104E+13 3.0737637 6.70217E+12          0.0091898         0.2752039  3.0737637
            147    5867.4       574948              0.1038399 5/7/19 1:17         0.0105202          0.3150449         4.65104E+13 3.0630149 6.70217E+12          0.0091883           0.275159 3.0630149
            148  5883.85        574950              0.1044213 5/7/19 1:22         0.0105202          0.3150449         4.63811E+13 3.0801634 6.70217E+12          0.0098517         0.2950256  3.0801634
                                                                                                                                                                                                            Filed: 01/02/2024




            149  5871.24        574950              0.1041975 5/7/19 1:27         0.0105202          0.3150449         4.63811E+13 3.0735621 6.70217E+12          0.0110652         0.3313659  3.0735621
            150  5870.35        574950              0.1041817 5/7/19 1:32         0.0105202          0.3150449         4.63811E+13 3.0730962 6.70217E+12          0.0117356         0.3514421  3.0730962
            151  5880.51       574950                 0.104362 5/7/19 1:37        0.0105202          0.3150449         4.63811E+13 3.0784149 6.70217E+12          0.0114298         0.3422844  3.0784149
            152  5887.56       574951               0.1056193 5/7/19 1:42         0.0105202          0.3150449         4.58839E+13 3.1155019 6.70217E+12          0.0158031         0.4732502  3.1155019
            153  5888.94       574951               0.1056441 5/7/19 1:47         0.0105202          0.3150449         4.58839E+13 3.1162321 6.70217E+12          0.0139082         0.4165042  3.1162321
            154  5890.07       574951               0.1056643 5/7/19 1:52         0.0105202          0.3150449         4.58839E+13 3.1168301 6.70217E+12          0.0141407         0.4234668  3.1168301



            CONFIDENTIAL                                                                      exelon4_modeling_05092019                                                                       BB100000014
                   A           B                 C                  D              E              F                   G                H           I               J              K               L
             1 BTC_price block_height breakeven_mining_cost   datetime     day_ahead_LMP day_ahead_LMP_rev est_network_hashrate   mining_rev network_diff real_time_LMP real_time_LMP_rev realized_rev
            155   5887.93       574952               0.1061226 5/7/19 1:57        0.0105202         0.3150449         4.56692E+13 3.1303483 6.70217E+12          0.0129154         0.3867732  3.1303483
            156   5879.77       574953               0.1056897 5/7/19 2:02         0.011378         0.3407332         4.57927E+13    3.117579 6.70217E+12        0.0142018         0.4252966    3.117579
            157   5880.52       574954               0.1043159 5/7/19 2:07         0.011378         0.3407332         4.64017E+13 3.0770561 6.70217E+12          0.0139436         0.4175643  3.0770561
            158   5875.01       574954               0.1042182 5/7/19 2:12         0.011378         0.3407332         4.64017E+13    3.074173 6.70217E+12        0.0105143         0.3148682    3.074173
            159    5873.6       574954               0.1041932 5/7/19 2:17         0.011378         0.3407332         4.64017E+13 3.0734352 6.70217E+12          0.0094361         0.2825797  3.0734352
            160   5871.85       574955               0.1044686 5/7/19 2:22         0.011378         0.3407332         4.62656E+13 3.0815582 6.70217E+12          0.0088951         0.2663786  3.0815582
            161   5871.01       574956                0.103617 5/7/19 2:27         0.011378         0.3407332         4.66391E+13 3.0564397 6.70217E+12          0.0093072         0.2787196  3.0564397
            162   5859.85       574956               0.1034201 5/7/19 2:32         0.011378         0.3407332         4.66391E+13 3.0506298 6.70217E+12          0.0120542         0.3609831  3.0506298
            163   5865.94       574956               0.1035275 5/7/19 2:37         0.011378         0.3407332         4.66391E+13 3.0538003 6.70217E+12          0.0128926         0.3860904  3.0538003
            164    5869.1       574956               0.1035833 5/7/19 2:42         0.011378         0.3407332         4.66391E+13 3.0554454 6.70217E+12          0.0141064         0.4224397  3.0554454
            165    5877.6       574956               0.1037333 5/7/19 2:47         0.011378         0.3407332         4.66391E+13 3.0598705 6.70217E+12          0.0141304         0.4231584  3.0598705
            166   5877.18       574957               0.1057538 5/7/19 2:52         0.011378         0.3407332         4.57448E+13 3.1194692 6.70217E+12          0.0141067         0.4224486  3.1194692
            167   5885.01       574958               0.1054291 5/7/19 2:57         0.011378         0.3407332         4.59468E+13 3.1098919 6.70217E+12          0.0188926         0.5657704  3.1098919
            168   5882.93       574959               0.1056834 5/7/19 3:02        0.0110606         0.3312281            4.582E+13 3.1173937 6.70217E+12         0.0159616         0.4779967  3.1173937
            169   5880.11       574959               0.1056328 5/7/19 3:07        0.0110606         0.3312281            4.582E+13 3.1158994 6.70217E+12         0.0162983         0.4880798  3.1158994
                                                                                                                                                                                                           Case: 23-1922




            170   5876.76       574959               0.1055726 5/7/19 3:12        0.0110606         0.3312281            4.582E+13 3.1141242 6.70217E+12         0.0123771         0.3706529  3.1141242
            171   5875.44       574959               0.1055489 5/7/19 3:17        0.0110606         0.3312281            4.582E+13 3.1134247 6.70217E+12         0.0104838         0.3139549  3.1134247
            172   5868.65       574959               0.1054269 5/7/19 3:22        0.0110606         0.3312281            4.582E+13 3.1098266 6.70217E+12         0.0135372          0.405394  3.1098266
            173    5871.6       574959               0.1054799 5/7/19 3:27        0.0110606         0.3312281            4.582E+13 3.1113899 6.70217E+12         0.0142273         0.4260602  3.1113899
            174    5871.6       574959               0.1054799 5/7/19 3:32        0.0110606         0.3312281            4.582E+13 3.1113899 6.70217E+12         0.0143862         0.4308187  3.1113899
            175   5877.57       574959               0.1055871 5/7/19 3:37        0.0110606         0.3312281            4.582E+13 3.1145534 6.70217E+12         0.0142716         0.4273868  3.1145534
            176   5876.48       574959               0.1055676 5/7/19 3:42        0.0110606         0.3312281            4.582E+13 3.1139758 6.70217E+12         0.0142134          0.425644  3.1139758
            177   5868.98       574960                0.109055 5/7/19 3:47        0.0110606         0.3312281         4.42981E+13 3.2168461 6.70217E+12          0.0124885         0.3739889  3.2168461
            178   5865.34       574960               0.1089874 5/7/19 3:52        0.0110606         0.3312281         4.42981E+13 3.2148509 6.70217E+12          0.0128153         0.3837755  3.2148509
            179   5869.73       574961               0.1097753 5/7/19 3:57        0.0110606         0.3312281         4.40131E+13 3.2380924 6.70217E+12          0.0125425         0.3756061  3.2380924
            180   5876.57       574962               0.1082718 5/7/19 4:02        0.0132424         0.3965657         4.46763E+13 3.1937442 6.70217E+12           0.012019          0.359929  3.1937442
                                                                                                                                                                                                           Document: 39-7




            181   5864.77       574962               0.1080544 5/7/19 4:07        0.0132424         0.3965657         4.46763E+13 3.1873313 6.70217E+12          0.0116681         0.3494207  3.1873313
            182   5870.49       574963               0.1086102 5/7/19 4:12        0.0132424         0.3965657           4.4491E+13 3.2037267 6.70217E+12          0.012883         0.3858029  3.2037267
            183   5892.85       574964               0.1086378 5/7/19 4:17        0.0132424         0.3965657         4.46491E+13 3.2045387 6.70217E+12          0.0113387         0.3395563  3.2045387




Appx13383
            184   5893.36       574964               0.1086472 5/7/19 4:22        0.0132424         0.3965657         4.46491E+13    3.204816 6.70217E+12        0.0115719         0.3465398    3.204816
            185   5890.81       574964               0.1086002 5/7/19 4:27        0.0132424         0.3965657         4.46491E+13 3.2034293 6.70217E+12          0.0118547         0.3550087  3.2034293
            186   5894.23       574965               0.1080396 5/7/19 4:32        0.0132424         0.3965657         4.49069E+13 3.1868941 6.70217E+12          0.0122344         0.3663795  3.1868941
            187   5898.56       574965                0.108119 5/7/19 4:37        0.0132424         0.3965657         4.49069E+13 3.1892353 6.70217E+12          0.0138738         0.4154741  3.1892353
                                                                                                                                                                                                           Page: 238




            188   5908.64       574965               0.1083037 5/7/19 4:42        0.0132424         0.3965657         4.49069E+13 3.1946853 6.70217E+12           0.014388         0.4308726  3.1946853
            189   5915.11       574965               0.1084223 5/7/19 4:47        0.0132424         0.3965657         4.49069E+13 3.1981835 6.70217E+12          0.0166224         0.4977855  3.1981835
            190    5909.7       574965               0.1083231 5/7/19 4:52        0.0132424         0.3965657         4.49069E+13 3.1952584 6.70217E+12          0.0144629         0.4331156  3.1952584
            191   5906.81       574966               0.1085559 5/7/19 4:57        0.0132424         0.3965657         4.47887E+13 3.2021242 6.70217E+12           0.014704         0.4403358  3.2021242
            192   5914.74       574966               0.1087016 5/7/19 5:02        0.0163996         0.4911134         4.47887E+13 3.2064231 6.70217E+12          0.0082133          0.245961  3.2064231
            193    5917.1       574967                0.109481 5/7/19 5:07        0.0163996         0.4911134         4.44875E+13 3.2294129 6.70217E+12          0.0137796         0.4126531  3.2294129
            194   5912.39       574967               0.1093939 5/7/19 5:12        0.0163996         0.4911134         4.44875E+13 3.2268423 6.70217E+12          0.0156701         0.4692673  3.2268423
            195   5894.35       574968               0.1094478 5/7/19 5:17        0.0163996         0.4911134            4.433E+13 3.2284315 6.70217E+12         0.0146488         0.4386827  3.2284315
            196   5898.35       574968                0.109522 5/7/19 5:22        0.0163996         0.4911134            4.433E+13 3.2306223 6.70217E+12         0.0145908         0.4369458  3.2306223
            197   5902.16       574969               0.1079698 5/7/19 5:27        0.0163996         0.4911134         4.49963E+13 3.1848344 6.70217E+12          0.0155564         0.4658623  3.1848344
            198   5900.85       574969               0.1079458 5/7/19 5:32        0.0163996         0.4911134         4.49963E+13 3.1841275 6.70217E+12          0.0134736         0.4034894  3.1841275
            199   5900.34       574969               0.1079365 5/7/19 5:37        0.0163996         0.4911134         4.49963E+13 3.1838523 6.70217E+12          0.0130804         0.3917144  3.1838523
                                                                                                                                                                                                           Filed: 01/02/2024




            200   5898.32       574969               0.1078995 5/7/19 5:42        0.0163996         0.4911134         4.49963E+13 3.1827623 6.70217E+12          0.0152049         0.4553361  3.1827623
            201   5896.02       574970               0.1092694 5/7/19 5:47        0.0163996         0.4911134         4.44149E+13 3.2231712 6.70217E+12          0.0153738         0.4603941  3.2231712
            202   5901.06       574971               0.1070272 5/7/19 5:52        0.0163996         0.4911134         4.53842E+13 3.1570311 6.70217E+12          0.0162384          0.486286  3.1570311
            203   5889.23       574971               0.1068126 5/7/19 5:57        0.0163996         0.4911134         4.53842E+13 3.1507021 6.70217E+12          0.0142726         0.4274168  3.1507021
            204   5888.81       574971                0.106805 5/7/19 6:02        0.0219988         0.6587907         4.53842E+13 3.1504774 6.70217E+12          0.0140196         0.4198403  3.1504774
            205   5888.88       574971               0.1068063 5/7/19 6:07        0.0219988         0.6587907         4.53842E+13 3.1505149 6.70217E+12          0.0128572         0.3850303  3.1505149



            CONFIDENTIAL                                                                      exelon4_modeling_05092019                                                                      BB100000014
                   A           B                 C                   D              E              F                   G                H           I               J              K               L
             1 BTC_price block_height breakeven_mining_cost    datetime     day_ahead_LMP day_ahead_LMP_rev est_network_hashrate   mining_rev network_diff real_time_LMP real_time_LMP_rev realized_rev
            206   5894.99       574971               0.1069171 5/7/19 6:12         0.0219988         0.6587907         4.53842E+13 3.1537837 6.70217E+12          0.0139901         0.4189569  3.1537837
            207   5888.93       574973               0.1083283 5/7/19 6:17         0.0219988         0.6587907         4.47469E+13 3.1954116 6.70217E+12          0.0169327         0.5070779  3.1954116
            208   5883.23       574973               0.1082235 5/7/19 6:22         0.0219988         0.6587907         4.47469E+13 3.1923187 6.70217E+12          0.0161834         0.4846389  3.1923187
            209   5874.07       574973                0.108055 5/7/19 6:27         0.0219988         0.6587907         4.47469E+13 3.1873483 6.70217E+12          0.0160255         0.4799103  3.1873483
            210   5873.01       574975               0.1081041 5/7/19 6:32         0.0219988         0.6587907         4.47185E+13 3.1887959 6.70217E+12          0.0161849         0.4846838  3.1887959
            211    5877.1       574977               0.1051264 5/7/19 6:37         0.0219988         0.6587907         4.60172E+13 3.1009613 6.70217E+12          0.0160886         0.4817999  3.1009613
            212   5883.19       574977               0.1052353 5/7/19 6:42         0.0219988         0.6587907         4.60172E+13 3.1041746 6.70217E+12              0.01829       0.5477245  3.1041746
            213   5883.91       574979               0.1039877 5/7/19 6:47         0.0219988         0.6587907           4.6575E+13 3.0673739 6.70217E+12         0.0197193         0.5905273  3.0673739
            214   5887.01       574980               0.1024096 5/7/19 6:52         0.0219988         0.6587907         4.73176E+13 3.0208243 6.70217E+12          0.0172624         0.5169513  3.0208243
            215   5890.93       574981               0.1023627 5/7/19 6:57         0.0219988         0.6587907         4.73708E+13 3.0194404 6.70217E+12          0.0219934          0.658629  3.0194404
            216   5891.99       574981               0.1023811 5/7/19 7:02         0.0252156         0.7551232         4.73708E+13 3.0199837 6.70217E+12          0.0190854         0.5715441  3.0199837
            217    5901.6       574981               0.1025481 5/7/19 7:07         0.0252156         0.7551232         4.73708E+13 3.0249094 6.70217E+12           0.022021         0.6594555  3.0249094
            218   5900.12       574982               0.1027094 5/7/19 7:12         0.0252156         0.7551232         4.72845E+13 3.0296666 6.70217E+12           0.019538          0.585098  3.0296666
            219   5902.76       574983               0.1021815 5/7/19 7:17         0.0252156         0.7551232         4.75501E+13 3.0140942 6.70217E+12          0.0208005         0.6229056  3.0140942
            220   5901.94       574985               0.1025203 5/7/19 7:22         0.0252156         0.7551232         4.73864E+13 3.0240881 6.70217E+12          0.0333844         0.9997515  3.0240881
                                                                                                                                                                                                            Case: 23-1922




            221   5902.21       574986               0.1024856 5/7/19 7:27         0.0252156         0.7551232         4.74046E+13 3.0230648 6.70217E+12          0.0226755         0.6790556  3.0230648
            222   5897.09       574987               0.1012514 5/7/19 7:32         0.0252156         0.7551232         4.79408E+13 2.9866604 6.70217E+12          0.0258656         0.7745885  2.9866604
            223   5891.39       574988               0.1001624 5/7/19 7:37         0.0252156         0.7551232         4.84152E+13 2.9545379 6.70217E+12          0.0217027         0.6499235  2.9545379
            224   5896.98       574988               0.1002575 5/7/19 7:42         0.0252156         0.7551232         4.84152E+13 2.9573413 6.70217E+12          0.0181457         0.5434032  2.9573413
            225   5915.01       574989               0.0992602 5/7/19 7:47         0.0252156         0.7551232         4.90511E+13 2.9279253 6.70217E+12          0.0175618         0.5259174  2.9279253
            226   5909.89       574989               0.0991743 5/7/19 7:52         0.0252156         0.7551232         4.90511E+13 2.9253909 6.70217E+12          0.0176235         0.5277651  2.9253909
            227   5907.41       574990               0.0997661 5/7/19 7:57         0.0252156         0.7551232         4.87396E+13 2.9428486 6.70217E+12          0.2076065         6.2171227  6.2171227
            228   5909.98       574990               0.0998095 5/7/19 8:02         0.0276548         0.8281691         4.87396E+13 2.9441289 6.70217E+12          0.3509108        10.5086088 10.5086088
            229    5885.9       574991               0.1001084 5/7/19 8:07         0.0276548         0.8281691         4.83962E+13 2.9529431 6.70217E+12          1.0618156        31.7978378 31.7978378
            230   5894.01       574991               0.1002463 5/7/19 8:12         0.0276548         0.8281691         4.83962E+13 2.9570118 6.70217E+12          0.3477068        10.4126596 10.4126596
            231   5901.61       574991               0.1003756 5/7/19 8:17         0.0276548         0.8281691         4.83962E+13 2.9608247 6.70217E+12          0.2233212         6.6877255  6.6877255
                                                                                                                                                                                                            Document: 39-7




            232   5901.01       574993               0.0990295 5/7/19 8:22         0.0276548         0.8281691           4.9049E+13 2.9211197 6.70217E+12         0.1839307         5.5081114  5.5081114
            233   5896.99       574993                0.098962 5/7/19 8:27         0.0276548         0.8281691           4.9049E+13 2.9191298 6.70217E+12         0.2097637         6.2817236  6.2817236
            234   5903.12       574994               0.0985656 5/7/19 8:32         0.0276548         0.8281691         4.92975E+13 2.9074343 6.70217E+12          0.0304959         0.9132506  2.9074343




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            235   5904.99       574994               0.0985968 5/7/19 8:37         0.0276548         0.8281691         4.92975E+13 2.9083554 6.70217E+12          0.0229099         0.6860751  2.9083554
            236   5928.02       574994               0.0989813 5/7/19 8:42         0.0276548         0.8281691         4.92975E+13 2.9196982 6.70217E+12           0.023268          0.696799  2.9196982
            237   5918.93       574994               0.0988295 5/7/19 8:47         0.0276548         0.8281691         4.92975E+13 2.9152212 6.70217E+12          0.0200853         0.6014878  2.9152212
            238   5920.48       574994               0.0988554 5/7/19 8:52         0.0276548         0.8281691         4.92975E+13 2.9159846 6.70217E+12              0.02447       0.7327949  2.9159846
                                                                                                                                                                                                            Page: 239




            239   5927.27       574996               0.1000578 5/7/19 8:57         0.0276548         0.8281691           4.8761E+13 2.9514506 6.70217E+12         0.0185494         0.5554927  2.9514506
            240   5970.03       574997               0.0973284 5/7/19 9:02         0.0268411         0.8038015            5.049E+13 2.8709404 6.70217E+12         0.0182697         0.5471166  2.8709404
            241   5896.92       574997               0.0961365 5/7/19 9:07         0.0268411         0.8038015            5.049E+13 2.8357824 6.70217E+12         0.0189375          0.567115  2.8357824
            242   5876.01       574998               0.0954385 5/7/19 9:12         0.0268411         0.8038015         5.06789E+13 2.8151949 6.70217E+12          0.0203296         0.6088038  2.8151949
            243   5818.78       574999               0.0935121 5/7/19 9:17         0.0268411         0.8038015         5.12192E+13    2.758369 6.70217E+12        0.0194987         0.5839211    2.758369
            244   5836.61       574999               0.0937986 5/7/19 9:22         0.0268411         0.8038015         5.12192E+13 2.7668213 6.70217E+12          0.0190273         0.5698042  2.7668213
            245   5852.94       574999                0.094061 5/7/19 9:27         0.0268411         0.8038015         5.12192E+13 2.7745624 6.70217E+12          0.0201623         0.6037937  2.7745624
            246   5843.39       575000               0.0949282 5/7/19 9:32         0.0268411         0.8038015         5.06685E+13 2.8001417 6.70217E+12          0.0195915         0.5867001  2.8001417
            247    5840.9       575000               0.0948878 5/7/19 9:37         0.0268411         0.8038015         5.06685E+13 2.7989485 6.70217E+12          0.0208798         0.6252804  2.7989485
            248   5844.44       575000               0.0949453 5/7/19 9:42         0.0268411         0.8038015         5.06685E+13 2.8006448 6.70217E+12          0.0199536         0.5975438  2.8006448
            249   5831.94       575001               0.0948603 5/7/19 9:47         0.0268411         0.8038015         5.06054E+13 2.7981392 6.70217E+12          0.0196606         0.5887694  2.7981392
            250   5840.78       575003               0.0941941 5/7/19 9:52         0.0268411         0.8038015         5.10406E+13 2.7784869 6.70217E+12          0.0187964         0.5628895  2.7784869
                                                                                                                                                                                                            Filed: 01/02/2024




            251   5839.47       575003                0.094173 5/7/19 9:57         0.0268411         0.8038015         5.10406E+13 2.7778637 6.70217E+12          0.0188057          0.563168  2.7778637
            252   5836.55       575003               0.0941259 5/7/19 9:58         0.0268411         0.8038015         5.10406E+13 2.7764747 6.70217E+12          0.0188057          0.563168  2.7764747
            253   5843.59       575003               0.0942394 5/7/19 10:03        0.0287164         0.8599605         5.10406E+13 2.7798236 6.70217E+12          0.0202762         0.6072046  2.7798236
            254   5851.93       575003               0.0943739 5/7/19 10:08        0.0287164         0.8599605         5.10406E+13    2.783791 6.70217E+12        0.0195808         0.5863797    2.783791
            255    5840.6       575003               0.0941912 5/7/19 10:13        0.0287164         0.8599605         5.10406E+13 2.7784013 6.70217E+12          0.0202654         0.6068812  2.7784013
            256   5841.73       575003               0.0942094 5/7/19 10:18        0.0287164         0.8599605         5.10406E+13 2.7789388 6.70217E+12           0.020167         0.6039344  2.7789388



            CONFIDENTIAL                                                                      exelon4_modeling_05092019                                                                       BB100000014
                   A           B                 C                   D              E              F                   G                H           I               J              K               L
             1 BTC_price block_height breakeven_mining_cost    datetime     day_ahead_LMP day_ahead_LMP_rev est_network_hashrate   mining_rev network_diff real_time_LMP real_time_LMP_rev realized_rev
            257   5837.26       575004               0.0966021 5/7/19 10:23        0.0287164         0.8599605         4.97383E+13 2.8495172 6.70217E+12          0.0196567         0.5886526  2.8495172
            258    5843.1       575004               0.0966987 5/7/19 10:28        0.0287164         0.8599605         4.97383E+13    2.852368 6.70217E+12        0.0207215         0.6205399    2.852368
            259   5843.45       575005               0.0974035 5/7/19 10:35        0.0287164         0.8599605         4.93814E+13 2.8731576 6.70217E+12          0.0201838         0.6044375  2.8731576
            260   5841.01       575005               0.0973629 5/7/19 10:35        0.0287164         0.8599605         4.93814E+13 2.8719579 6.70217E+12          0.0198071         0.5931566  2.8719579
            261   5844.02       575005                0.097413 5/7/19 10:42        0.0287164         0.8599605         4.93814E+13 2.8734379 6.70217E+12          0.0200159         0.5994095  2.8734379
            262   5844.02       575005                0.097413 5/7/19 10:43        0.0287164         0.8599605         4.93814E+13 2.8734379 6.70217E+12          0.0200159         0.5994095  2.8734379
            263   5843.32       575005               0.0974014 5/7/19 10:43        0.0287164         0.8599605         4.93814E+13 2.8730937 6.70217E+12          0.0200159         0.5994095  2.8730937
            264   5843.32       575005               0.0974014 5/7/19 10:44        0.0287164         0.8599605         4.93814E+13 2.8730937 6.70217E+12          0.0200159         0.5994095  2.8730937
            265   5843.18       575005                0.097399 5/7/19 10:45        0.0287164         0.8599605         4.93814E+13 2.8730249 6.70217E+12          0.0201643         0.6038536  2.8730249
            266   5843.18       575005                0.097399 5/7/19 10:46        0.0287164         0.8599605         4.93814E+13 2.8730249 6.70217E+12          0.0201643         0.6038536  2.8730249
            267   5843.81       575005               0.0974095 5/7/19 10:48        0.0287164         0.8599605         4.93814E+13 2.8733347 6.70217E+12          0.0201643         0.6038536  2.8733347
            268   5855.01       575005               0.0975962 5/7/19 10:51        0.0287164         0.8599605         4.93814E+13 2.8788416 6.70217E+12          0.0202597         0.6067105  2.8788416
            269   5853.18       575005               0.0975657 5/7/19 10:52        0.0287164         0.8599605         4.93814E+13 2.8779418 6.70217E+12          0.0202597         0.6067105  2.8779418
            270   5853.18       575005               0.0975657 5/7/19 10:53        0.0287164         0.8599605         4.93814E+13 2.8779418 6.70217E+12          0.0202597         0.6067105  2.8779418
            271   5854.99       575005               0.0975959 5/7/19 10:58        0.0287164         0.8599605         4.93814E+13 2.8788317 6.70217E+12          0.0204901         0.6136102  2.8788317
                                                                                                                                                                                                            Case: 23-1922




            272   5855.01       575005               0.0975962 5/7/19 11:03        0.0273473         0.8189605         4.93814E+13 2.8788416 6.70217E+12           0.019272         0.5771322  2.8788416
            273   5862.23       575005               0.0977166 5/7/19 11:08        0.0273473         0.8189605         4.93814E+13 2.8823916 6.70217E+12          0.0185107         0.5543338  2.8823916
            274   5868.68       575005               0.0978241 5/7/19 11:13        0.0273473         0.8189605         4.93814E+13    2.885563 6.70217E+12        0.0182389         0.5461943    2.885563
            275    5877.1       575005               0.0979644 5/7/19 11:18        0.0273473         0.8189605         4.93814E+13    2.889703 6.70217E+12        0.0175485         0.5255191    2.889703
            276   5880.82       575006               0.1020763 5/7/19 11:23        0.0273473         0.8189605         4.74222E+13 3.0109929 6.70217E+12          0.0171425         0.5133607  3.0109929
            277   5885.64       575007               0.1017322 5/7/19 11:28        0.0273473         0.8189605         4.76216E+13    3.000843 6.70217E+12        0.0161012         0.4821773    3.000843
            278   5888.81       575007                0.101787 5/7/19 11:33        0.0273473         0.8189605         4.76216E+13 3.0024592 6.70217E+12          0.0167836         0.5026129  3.0024592
            279   5887.01       575007               0.1017559 5/7/19 11:38        0.0273473         0.8189605         4.76216E+13 3.0015415 6.70217E+12           0.017405         0.5212217  3.0015415
            280   5885.87       575009               0.1022383 5/7/19 11:43        0.0273473         0.8189605         4.73877E+13 3.0157712 6.70217E+12          0.0181379         0.5431696  3.0157712
            281   5882.45       575010               0.1025602 5/7/19 11:48        0.0273473         0.8189605         4.72115E+13 3.0252654 6.70217E+12          0.0188967         0.5658932  3.0252654
            282   5889.31       575010               0.1026798 5/7/19 11:53        0.0273473         0.8189605         4.72115E+13 3.0287934 6.70217E+12          0.0191234         0.5726821  3.0287934
                                                                                                                                                                                                            Document: 39-7




            283   5888.74       575011               0.1032466 5/7/19 11:58        0.0273473         0.8189605         4.69478E+13 3.0455122 6.70217E+12          0.0189953         0.5688459  3.0455122
            284   5894.74       575011               0.1033518 5/7/19 12:03        0.0270574         0.8102789         4.69478E+13 3.0486153 6.70217E+12          0.0201972         0.6048388  3.0486153
            285   5895.72       575011               0.1033689 5/7/19 12:08        0.0270574         0.8102789         4.69478E+13 3.0491221 6.70217E+12          0.0246114         0.7370294  3.0491221




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            286   5907.12       575011               0.1035688 5/7/19 12:13        0.0270574         0.8102789         4.69478E+13 3.0550179 6.70217E+12          0.0195085         0.5842145  3.0550179
            287   5908.19       575013               0.1040015 5/7/19 12:18        0.0270574         0.8102789         4.67609E+13 3.0677806 6.70217E+12          0.0177224         0.5307268  3.0677806
            288   5895.99       575013               0.1037867 5/7/19 12:23        0.0270574         0.8102789         4.67609E+13 3.0614459 6.70217E+12          0.0163821         0.4905893  3.0614459
            289   5898.02       575014               0.1043706 5/7/19 12:27        0.0270574         0.8102789         4.65154E+13 3.0786681 6.70217E+12          0.0162962         0.4880169  3.0786681
                                                                                                                                                                                                            Page: 240




            290    5895.6       575014               0.1043278 5/7/19 12:32        0.0270574         0.8102789         4.65154E+13 3.0774049 6.70217E+12          0.0164602         0.4929281  3.0774049
            291   5887.34       575016               0.1041844 5/7/19 12:37        0.0270574         0.8102789         4.65141E+13 3.0731761 6.70217E+12          0.0200409         0.6001582  3.0731761
            292    5889.4       575016               0.1042209 5/7/19 12:42        0.0270574         0.8102789         4.65141E+13 3.0742514 6.70217E+12          0.0215114         0.6441947  3.0742514
            293   5893.65       575016               0.1042961 5/7/19 12:47        0.0270574         0.8102789         4.65141E+13 3.0764699 6.70217E+12           0.020945         0.6272329  3.0764699
            294   5893.83       575018               0.1033386 5/7/19 12:52        0.0270574         0.8102789         4.69465E+13 3.0482275 6.70217E+12          0.0215906         0.6465665  3.0482275
            295   5890.09       575018                0.103273 5/7/19 12:57        0.0270574         0.8102789         4.69465E+13 3.0462932 6.70217E+12          0.0199465         0.5973312  3.0462932
            296   5887.86       575018               0.1032339 5/7/19 13:02        0.0260477         0.7800418         4.69465E+13 3.0451399 6.70217E+12          0.0182097         0.5453198  3.0451399
            297   5877.45       575018               0.1030514 5/7/19 13:07        0.0260477         0.7800418         4.69465E+13 3.0397559 6.70217E+12          0.0171154         0.5125492  3.0397559
            298   5880.76       575018               0.1031095 5/7/19 13:12        0.0260477         0.7800418         4.69465E+13 3.0414678 6.70217E+12          0.0158291         0.4740288  3.0414678
            299   5885.01       575018                0.103184 5/7/19 13:17        0.0260477         0.7800418         4.69465E+13 3.0436659 6.70217E+12          0.0156969         0.4700698  3.0436659
            300   5886.65       575019                0.105185 5/7/19 13:22        0.0260477         0.7800418         4.60663E+13     3.10269 6.70217E+12        0.0194576         0.5826903     3.10269
            301   5886.81       575019               0.1051878 5/7/19 13:27        0.0260477         0.7800418         4.60663E+13 3.1027744 6.70217E+12          0.0237637         0.7116436  3.1027744
                                                                                                                                                                                                            Filed: 01/02/2024




            302   5886.02       575019               0.1051737 5/7/19 13:32        0.0260477         0.7800418         4.60663E+13    3.102358 6.70217E+12         0.034183         1.0236669    3.102358
            303   5878.86       575019               0.1050458 5/7/19 13:37        0.0260477         0.7800418         4.60663E+13 3.0985841 6.70217E+12          0.4823059         14.443454  14.443454
            304   5879.94       575019               0.1050651 5/7/19 13:42        0.0260477         0.7800418         4.60663E+13 3.0991534 6.70217E+12          0.1343145         4.0222716  4.0222716
            305   5872.78       575020               0.1055767 5/7/19 13:47        0.0260477         0.7800418         4.57872E+13 3.1142442 6.70217E+12          0.0287544         0.8610984  3.1142442
            306   5868.57       575020                0.105501 5/7/19 13:52        0.0260477         0.7800418         4.57872E+13 3.1120117 6.70217E+12          0.0442637         1.3255503  3.1120117
            307    5877.6       575020               0.1056633 5/7/19 13:57        0.0260477         0.7800418         4.57872E+13 3.1168002 6.70217E+12          0.0156508         0.4686893  3.1168002



            CONFIDENTIAL                                                                      exelon4_modeling_05092019                                                                       BB100000014
                   A           B                 C                   D              E              F                   G                H           I               J              K               L
             1 BTC_price block_height breakeven_mining_cost    datetime     day_ahead_LMP day_ahead_LMP_rev est_network_hashrate   mining_rev network_diff real_time_LMP real_time_LMP_rev realized_rev
            308    5880.3       575021               0.1070192 5/7/19 14:02         0.025584         0.7661555         4.52279E+13    3.156795 6.70217E+12        0.0212368         0.6359714    3.156795
            309    5873.1       575021               0.1068882 5/7/19 14:07         0.025584         0.7661555         4.52279E+13 3.1529297 6.70217E+12          0.0135226         0.4049568  3.1529297
            310   5856.76       575021               0.1065908 5/7/19 14:12         0.025584         0.7661555         4.52279E+13 3.1441577 6.70217E+12          0.0161145         0.4825756  3.1441577
            311   5835.32       575021               0.1062006 5/7/19 14:17         0.025584         0.7661555         4.52279E+13 3.1326478 6.70217E+12           0.021294         0.6376843  3.1326478
            312    5823.7       575021               0.1059891 5/7/19 14:22         0.025584         0.7661555         4.52279E+13 3.1264097 6.70217E+12          0.0232619         0.6966164  3.1264097
            313    5823.9       575021               0.1059927 5/7/19 14:27         0.025584         0.7661555         4.52279E+13 3.1265171 6.70217E+12          0.0186602         0.5588108  3.1265171
            314   5844.51       575021               0.1063678 5/7/19 14:32         0.025584         0.7661555         4.52279E+13 3.1375814 6.70217E+12          0.0221179         0.6623574  3.1375814
            315   5852.73       575022               0.1090264 5/7/19 14:37         0.025584         0.7661555         4.41871E+13 3.2160024 6.70217E+12          0.0160534         0.4807458  3.2160024
            316   5842.59       575022               0.1088375 5/7/19 14:42         0.025584         0.7661555         4.41871E+13 3.2104306 6.70217E+12          0.0139152         0.4167139  3.2104306
            317   5844.51       575023               0.1093454 5/7/19 14:47         0.025584         0.7661555         4.39963E+13    3.225412 6.70217E+12        0.0096897         0.2901742    3.225412
            318   5842.77       575023               0.1093128 5/7/19 14:52         0.025584         0.7661555         4.39963E+13 3.2244517 6.70217E+12          0.0082441         0.2468833  3.2244517
            319   5843.27       575023               0.1093222 5/7/19 14:57         0.025584         0.7661555         4.39963E+13 3.2247277 6.70217E+12          0.0080116         0.2399207  3.2247277
            320   5849.85       575023               0.1094453 5/7/19 15:02        0.0200751         0.6011823         4.39963E+13    3.228359 6.70217E+12         0.004172         0.1249375    3.228359
            321   5844.11       575023               0.1093379 5/7/19 15:07        0.0200751         0.6011823         4.39963E+13 3.2251913 6.70217E+12          0.0063173         0.1891821  3.2251913
            322   5838.69       575023               0.1092365 5/7/19 15:12        0.0200751         0.6011823         4.39963E+13 3.2222001 6.70217E+12          0.0074128         0.2219887  3.2222001
                                                                                                                                                                                                            Case: 23-1922




            323   5843.57       575023               0.1093278 5/7/19 15:17        0.0200751         0.6011823         4.39963E+13 3.2248932 6.70217E+12          0.0068169         0.2041434  3.2248932
            324   5844.59       575023               0.1093469 5/7/19 15:22        0.0200751         0.6011823         4.39963E+13 3.2254562 6.70217E+12          0.0173942         0.5208983  3.2254562
            325   5849.99       575023               0.1094479 5/7/19 15:27        0.0200751         0.6011823         4.39963E+13 3.2284363 6.70217E+12          0.0160868          0.481746  3.2284363
            326   5849.99       575023               0.1094479 5/7/19 15:32        0.0200751         0.6011823         4.39963E+13 3.2284363 6.70217E+12          0.0179579         0.5377792  3.2284363
            327   5862.15       575023               0.1096754 5/7/19 15:37        0.0200751         0.6011823         4.39963E+13    3.235147 6.70217E+12        0.0185996          0.556996    3.235147
            328    5861.7       575023                0.109667 5/7/19 15:42        0.0200751         0.6011823         4.39963E+13 3.2348987 6.70217E+12          0.0164337         0.4921345  3.2348987
            329   5871.48       575024               0.1144475 5/7/19 15:47        0.0200751         0.6011823         4.22289E+13 3.3759101 6.70217E+12          0.0172669         0.5170861  3.3759101
            330    5859.1       575024               0.1142061 5/7/19 15:52        0.0200751         0.6011823         4.22289E+13    3.368792 6.70217E+12        0.0085437         0.2558553    3.368792
            331    5854.1       575025               0.1144044 5/7/19 15:57        0.0200751         0.6011823         4.21197E+13 3.3746406 6.70217E+12          0.0200752         0.6011853  3.3746406
            332   5843.22       575026               0.1144995 5/7/19 16:02        0.0216225         0.6475218         4.20066E+13 3.3774456 6.70217E+12          0.0220984         0.6617734  3.3774456
            333   5853.43       575026               0.1146996 5/7/19 16:07        0.0216225         0.6475218         4.20066E+13 3.3833471 6.70217E+12          0.0156725         0.4693391  3.3833471
                                                                                                                                                                                                            Document: 39-7




            334   5856.16       575026               0.1147531 5/7/19 16:12        0.0216225         0.6475218         4.20066E+13    3.384925 6.70217E+12        0.0214597         0.6426465    3.384925
            335   5854.02       575026               0.1147111 5/7/19 16:17        0.0216225         0.6475218         4.20066E+13 3.3836881 6.70217E+12          0.0239835         0.7182259  3.3836881
            336   5850.81       575026               0.1146482 5/7/19 16:22        0.0216225         0.6475218         4.20066E+13 3.3818327 6.70217E+12          0.0167074         0.5003309  3.3818327




Appx13386
            337   5854.62       575027               0.1163454 5/7/19 16:27        0.0216225         0.6475218         4.14207E+13 3.4318944 6.70217E+12          0.0156102         0.4674735  3.4318944
            338    5855.8       575028               0.1157465 5/7/19 16:32        0.0216225         0.6475218         4.16435E+13 3.4142287 6.70217E+12          0.0163249         0.4888763  3.4142287
            339   5856.74       575029               0.1142802 5/7/19 16:37        0.0216225         0.6475218         4.21846E+13 3.3709755 6.70217E+12          0.0175314          0.525007  3.3709755
            340   5868.02       575029               0.1145003 5/7/19 16:42        0.0216225         0.6475218         4.21846E+13 3.3774679 6.70217E+12          0.0151098         0.4524881  3.3774679
                                                                                                                                                                                                            Page: 241




            341   5872.51       575029               0.1145879 5/7/19 16:47        0.0216225         0.6475218         4.21846E+13 3.3800522 6.70217E+12          0.0146534         0.4388205  3.3800522
            342   5871.99       575029               0.1145777 5/7/19 16:52        0.0216225         0.6475218         4.21846E+13 3.3797529 6.70217E+12          0.0175759         0.5263396  3.3797529
            343   5880.77       575029               0.1147491 5/7/19 16:57        0.0216225         0.6475218         4.21846E+13 3.3848064 6.70217E+12          0.0063504         0.1901733  3.3848064
            344   5886.53       575029               0.1148614 5/7/19 17:02        0.0204922         0.6136731         4.21846E+13 3.3881217 6.70217E+12          0.0061338         0.1836869  3.3881217
            345   5889.98       575029               0.1149288 5/7/19 17:07        0.0204922         0.6136731         4.21846E+13 3.3901075 6.70217E+12          0.0028472         0.0852641  3.3901075
            346    5885.6       575031               0.1147437 5/7/19 17:12        0.0204922         0.6136731         4.22212E+13 3.3846492 6.70217E+12          0.0111196          0.332995  3.3846492
            347   5883.88       575032               0.1144564 5/7/19 17:17        0.0204922         0.6136731         4.23148E+13 3.3761744 6.70217E+12          0.0197231         0.5906411  3.3761744
            348   5871.02       575033                0.114058 5/7/19 17:22        0.0204922         0.6136731         4.23698E+13    3.364421 6.70217E+12         0.013771         0.4123955    3.364421
            349   5872.05       575033                0.114078 5/7/19 17:27        0.0204922         0.6136731         4.23698E+13 3.3650113 6.70217E+12          0.0099314         0.2974123  3.3650113
            350   5878.77       575034               0.1147072 5/7/19 17:32        0.0204922         0.6136731         4.21856E+13 3.3835727 6.70217E+12          0.0135307         0.4051994  3.3835727
            351    5877.4       575034               0.1146805 5/7/19 17:37        0.0204922         0.6136731         4.21856E+13 3.3827841 6.70217E+12          0.0143791         0.4306061  3.3827841
            352   5880.39       575034               0.1147388 5/7/19 17:42        0.0204922         0.6136731         4.21856E+13 3.3845051 6.70217E+12          0.0171643         0.5140136  3.3845051
                                                                                                                                                                                                            Filed: 01/02/2024




            353   5871.98       575034               0.1145747 5/7/19 17:47        0.0204922         0.6136731         4.21856E+13 3.3796646 6.70217E+12          0.0179472         0.5374588  3.3796646
            354    5878.4       575035               0.1155377 5/7/19 17:52        0.0204922         0.6136731         4.18797E+13 3.4080684 6.70217E+12          0.0182428         0.5463111  3.4080684
            355   5886.62       575035               0.1156992 5/7/19 17:57        0.0204922         0.6136731         4.18797E+13 3.4128341 6.70217E+12          0.0280718         0.8406568  3.4128341
            356   5896.23       575036               0.1119906 5/7/19 18:02        0.0194272         0.5817799         4.33372E+13 3.3034392 6.70217E+12          0.4423178        13.2459437 13.2459437
            357    5898.4       575036               0.1120318 5/7/19 18:08        0.0194272         0.5817799         4.33372E+13    3.304655 6.70217E+12            0.19554       5.8557712  5.8557712
            358   5899.98       575036               0.1120618 5/7/19 18:13        0.0194272         0.5817799         4.33372E+13 3.3055402 6.70217E+12          0.0183816         0.5504676  3.3055402



            CONFIDENTIAL                                                                      exelon4_modeling_05092019                                                                       BB100000014
                   A           B                 C                   D              E              F                   G                H           I               J              K               L
             1 BTC_price block_height breakeven_mining_cost    datetime     day_ahead_LMP day_ahead_LMP_rev est_network_hashrate   mining_rev network_diff real_time_LMP real_time_LMP_rev realized_rev
            359   5899.98       575037               0.1118805 5/7/19 18:18        0.0194272         0.5817799         4.34075E+13 3.3001905 6.70217E+12          0.0124839         0.3738512  3.3001905
            360   5901.99       575039               0.1087922 5/7/19 18:23        0.0194272         0.5817799         4.46549E+13 3.2090942 6.70217E+12          0.0063404         0.1898738  3.2090942
            361   5898.01       575040               0.1082466 5/7/19 18:28        0.0194272         0.5817799         4.48497E+13 3.1930006 6.70217E+12          0.0069752          0.208884  3.1930006
            362   5899.19       575041               0.1069708 5/7/19 18:33        0.0194272         0.5817799         4.53937E+13 3.1553672 6.70217E+12          0.0117867         0.3529724  3.1553672
            363   5858.01       575041               0.1062241 5/7/19 18:38        0.0194272         0.5817799         4.53937E+13 3.1333408 6.70217E+12          0.0008215         0.0246012  3.1333408
            364   5832.84       575041               0.1057677 5/7/19 18:43        0.0194272         0.5817799         4.53937E+13 3.1198778 6.70217E+12           0.007936         0.2376567  3.1198778
            365   5825.57       575042               0.1062064 5/7/19 18:48        0.0194272         0.5817799         4.51499E+13 3.1328187 6.70217E+12          0.0131193         0.3928793  3.1328187
            366   5730.23       575042               0.1044682 5/7/19 18:53        0.0194272         0.5817799         4.51499E+13 3.0815477 6.70217E+12          0.0147234         0.4409168  3.0815477
            367   5765.61       575042               0.1051132 5/7/19 18:58        0.0194272         0.5817799         4.51499E+13    3.100574 6.70217E+12         0.015851         0.4746846    3.100574
            368   5698.35       575042                0.103887 5/7/19 19:03        0.0208363         0.6239777         4.51499E+13 3.0644036 6.70217E+12          0.0143949         0.4310793  3.0644036
            369   5728.93       575043                0.104596 5/7/19 19:08        0.0208363         0.6239777         4.50844E+13 3.0853184 6.70217E+12          0.0085453         0.2559033  3.0853184
            370   5726.34       575044               0.1042417 5/7/19 19:13        0.0208363         0.6239777         4.52172E+13 3.0748672 6.70217E+12          0.0131066          0.392499  3.0748672
            371   5721.68       575044               0.1041569 5/7/19 19:18        0.0208363         0.6239777         4.52172E+13    3.072365 6.70217E+12        0.0074483         0.2230518    3.072365
            372   5740.89       575044               0.1045066 5/7/19 19:23        0.0208363         0.6239777         4.52172E+13 3.0826801 6.70217E+12          0.0220669         0.6608301  3.0826801
            373   5739.97       575047               0.1037772 5/7/19 19:28        0.0208363         0.6239777         4.55277E+13 3.0611659 6.70217E+12          0.0206216         0.6175482  3.0611659
                                                                                                                                                                                                            Case: 23-1922




            374   5762.15       575047               0.1041783 5/7/19 19:33        0.0208363         0.6239777         4.55277E+13 3.0729946 6.70217E+12          0.0227412         0.6810231  3.0729946
            375   5772.32       575048               0.1046881 5/7/19 19:38        0.0208363         0.6239777           4.5386E+13 3.0880343 6.70217E+12         0.0213669         0.6398674  3.0880343
            376   5757.52       575048               0.1044197 5/7/19 19:43        0.0208363         0.6239777           4.5386E+13 3.0801167 6.70217E+12         0.0192512         0.5765093  3.0801167
            377   5780.76       575048               0.1048412 5/7/19 19:48        0.0208363         0.6239777           4.5386E+13 3.0925494 6.70217E+12         0.0184615         0.5528604  3.0925494
            378   5772.27       575049               0.1062044 5/7/19 19:53        0.0208363         0.6239777         4.47376E+13 3.1327595 6.70217E+12          0.0170593         0.5108692  3.1327595
            379   5763.53       575049               0.1060435 5/7/19 19:58        0.0208363         0.6239777         4.47376E+13    3.128016 6.70217E+12        0.0193825         0.5804413    3.128016
            380   5774.99       575049               0.1062544 5/7/19 20:03        0.0214057         0.6410294         4.47376E+13 3.1342357 6.70217E+12          0.0225229         0.6744858  3.1342357
            381   5785.64       575050               0.1067275 5/7/19 20:08        0.0214057         0.6410294         4.46214E+13 3.1481898 6.70217E+12          0.0200782         0.6012752  3.1481898
            382   5794.65       575051               0.1065264 5/7/19 20:13        0.0214057         0.6410294         4.47753E+13 3.1422582 6.70217E+12          0.0189119         0.5663484  3.1422582
            383   5794.99       575052                0.105856 5/7/19 20:18        0.0214057         0.6410294         4.50615E+13 3.1224836 6.70217E+12          0.0168789         0.5054668  3.1224836
            384   5777.32       575052               0.1055332 5/7/19 20:23        0.0214057         0.6410294         4.50615E+13 3.1129625 6.70217E+12          0.0188787         0.5653541  3.1129625
                                                                                                                                                                                                            Document: 39-7




            385   5779.44       575052               0.1055719 5/7/19 20:28        0.0214057         0.6410294         4.50615E+13 3.1141049 6.70217E+12          0.0185028         0.5540972  3.1141049
            386   5784.49       575053               0.1069047 5/7/19 20:33        0.0214057         0.6410294         4.45386E+13 3.1534189 6.70217E+12          0.0168679         0.5051374  3.1534189
            387   5792.26       575054               0.1071284 5/7/19 20:38        0.0214057         0.6410294         4.45053E+13 3.1600161 6.70217E+12          0.0100913         0.3022008  3.1600161




Appx13387
            388   5794.99       575055               0.1078127 5/7/19 20:43        0.0214057         0.6410294         4.42437E+13 3.1802017 6.70217E+12          0.0159387         0.4773109  3.1802017
            389   5798.99       575056               0.1065136 5/7/19 20:48        0.0214057         0.6410294         4.48142E+13 3.1418807 6.70217E+12          0.0155694         0.4662516  3.1418807
            390   5799.99       575056               0.1065319 5/7/19 20:53        0.0214057         0.6410294         4.48142E+13 3.1424225 6.70217E+12          0.0120816         0.3618036  3.1424225
            391   5792.47       575056               0.1063938 5/7/19 20:58        0.0214057         0.6410294         4.48142E+13 3.1383482 6.70217E+12          0.0121052         0.3625104  3.1383482
                                                                                                                                                                                                            Page: 242




            392   5783.99       575057               0.1071229 5/7/19 21:03        0.0187353         0.5610598           4.4444E+13 3.1598544 6.70217E+12         0.0062082         0.1859149  3.1598544
            393   5798.01       575060               0.1064196 5/7/19 21:08        0.0187353         0.5610598         4.48462E+13 3.1391083 6.70217E+12          0.0101617          0.304309  3.1391083
            394   5804.99       575060               0.1065477 5/7/19 21:13        0.0187353         0.5610598         4.48462E+13 3.1428873 6.70217E+12          0.0147359         0.4412911  3.1428873
            395   5804.47       575060               0.1065382 5/7/19 21:18        0.0187353         0.5610598         4.48462E+13 3.1426058 6.70217E+12          0.0161425         0.4834141  3.1426058
            396   5797.19       575061               0.1077196 5/7/19 21:23        0.0187353         0.5610598         4.42987E+13 3.1774565 6.70217E+12          0.0166747         0.4993517  3.1774565
            397   5796.01       575062               0.1073179 5/7/19 21:28        0.0187353         0.5610598         4.44555E+13 3.1656063 6.70217E+12          0.0162576         0.4868609  3.1656063
            398   5796.91       575062               0.1073346 5/7/19 21:33        0.0187353         0.5610598         4.44555E+13 3.1660978 6.70217E+12          0.0154972         0.4640895  3.1660978
            399   5804.49       575063               0.1082426 5/7/19 21:38        0.0187353         0.5610598         4.41402E+13 3.1928815 6.70217E+12          0.0140195         0.4198373  3.1928815
            400   5807.51       575063               0.1082989 5/7/19 21:43        0.0187353         0.5610598         4.41402E+13 3.1945427 6.70217E+12          0.0138085         0.4135185  3.1945427
            401   5806.56       575064                0.107581 5/7/19 21:48        0.0187353         0.5610598         4.44275E+13 3.1733683 6.70217E+12          0.0123646         0.3702786  3.1733683
            402   5797.78       575064               0.1074184 5/7/19 21:53        0.0187353         0.5610598         4.44275E+13 3.1685699 6.70217E+12          0.0135325         0.4052533  3.1685699
            403   5793.65       575064               0.1073419 5/7/19 21:58        0.0187353         0.5610598         4.44275E+13 3.1663128 6.70217E+12          0.0143717         0.4303845  3.1663128
                                                                                                                                                                                                            Filed: 01/02/2024




            404   5778.02       575065               0.1070536 5/7/19 22:03        0.0092857         0.2780758         4.44269E+13 3.1578114 6.70217E+12          0.0159167         0.4766521  3.1578114
            405   5773.43       575066               0.1052104 5/7/19 22:08        0.0092857         0.2780758         4.51693E+13 3.1034402 6.70217E+12          0.0153253         0.4589417  3.1034402
            406   5779.39       575067               0.1054664 5/7/19 22:13        0.0092857         0.2780758         4.51062E+13 3.1109906 6.70217E+12          0.0139439         0.4175733  3.1109906
            407   5791.59       575067                0.105689 5/7/19 22:18        0.0092857         0.2780758         4.51062E+13 3.1175577 6.70217E+12          0.0131096         0.3925888  3.1175577
            408   5790.02       575067               0.1056603 5/7/19 22:23        0.0092857         0.2780758         4.51062E+13 3.1167126 6.70217E+12          0.0122573         0.3670653  3.1167126
            409   5782.94       575067               0.1055311 5/7/19 22:28        0.0092857         0.2780758         4.51062E+13 3.1129015 6.70217E+12          0.0136306          0.408191  3.1129015



            CONFIDENTIAL                                                                      exelon4_modeling_05092019                                                                       BB100000014
                   A           B                 C                   D              E              F                   G                H           I               J              K               L
             1 BTC_price block_height breakeven_mining_cost    datetime     day_ahead_LMP day_ahead_LMP_rev est_network_hashrate   mining_rev network_diff real_time_LMP real_time_LMP_rev realized_rev
            410   5775.43       575067               0.1053941 5/7/19 22:33        0.0092857         0.2780758         4.51062E+13 3.1088589 6.70217E+12          0.0135185          0.404834  3.1088589
            411   5779.99       575068               0.1067775 5/7/19 22:38        0.0092857         0.2780758           4.4557E+13 3.1496656 6.70217E+12         0.0130395         0.3904896  3.1496656
            412   5785.55       575068               0.1068802 5/7/19 22:43        0.0092857         0.2780758           4.4557E+13 3.1526954 6.70217E+12         0.0132167         0.3957961  3.1526954
            413    5776.9       575070               0.1064823 5/7/19 22:48        0.0092857         0.2780758         4.46566E+13 3.1409571 6.70217E+12          0.0151927         0.4549707  3.1409571
            414   5782.35       575070               0.1065827 5/7/19 22:53        0.0092857         0.2780758         4.46566E+13 3.1439203 6.70217E+12          0.0127496          0.381808  3.1439203
            415   5778.56       575070               0.1065129 5/7/19 22:58        0.0092857         0.2780758         4.46566E+13 3.1418596 6.70217E+12              0.01094       0.3276165  3.1418596
            416   5807.88       575077               0.1057164 5/8/19 0:03          0.010744          0.321747         4.52214E+13 3.1183659 6.70217E+12          0.0116913         0.3501155  3.1183659
            417   5804.11       575077               0.1056478 5/8/19 0:08          0.010744          0.321747         4.52214E+13 3.1163417 6.70217E+12          0.0120928         0.3621391  3.1163417
            418   5801.23       575078               0.1058179 5/8/19 0:13          0.010744          0.321747         4.51263E+13 3.1213604 6.70217E+12          0.0121536         0.3639598  3.1213604
            419   5791.66       575078               0.1056434 5/8/19 0:18          0.010744          0.321747         4.51263E+13 3.1162113 6.70217E+12          0.0124538         0.3729498  3.1162113
            420    5795.5       575078               0.1057134 5/8/19 0:23          0.010744          0.321747         4.51263E+13 3.1182774 6.70217E+12          0.0132227         0.3959758  3.1182774
            421   5795.98       575079               0.1065412 5/8/19 0:28          0.010744          0.321747         4.47794E+13 3.1426942 6.70217E+12          0.0133711         0.4004199  3.1426942
            422   5799.99       575081                0.102499 5/8/19 0:33          0.010744          0.321747         4.65775E+13 3.0234621 6.70217E+12          0.0173409         0.5193022  3.0234621
            423   5804.41       575082               0.1023697 5/8/19 0:38          0.010744          0.321747         4.66719E+13 3.0196463 6.70217E+12          0.0172819         0.5175353  3.0196463
            424   5804.82       575084               0.1015622 5/8/19 0:43          0.010744          0.321747         4.70463E+13 2.9958274 6.70217E+12          0.0175389         0.5252316  2.9958274
                                                                                                                                                                                                            Case: 23-1922




            425   5802.49       575086               0.0989662 5/8/19 0:48          0.010744          0.321747         4.82609E+13 2.9192535 6.70217E+12          0.0173835         0.5205779  2.9192535
            426   5795.31       575086               0.0988438 5/8/19 0:53          0.010744          0.321747         4.82609E+13 2.9156412 6.70217E+12          0.0147548         0.4418571  2.9156412
            427   5799.55       575087               0.0990391 5/8/19 0:58          0.010744          0.321747           4.8201E+13 2.9214025 6.70217E+12         0.0135535         0.4058821  2.9214025
            428   5810.52       575087               0.0992264 5/8/19 1:03         0.0116366         0.3484774           4.8201E+13 2.9269284 6.70217E+12         0.0126685         0.3793793  2.9269284
            429   5818.01       575087               0.0993543 5/8/19 1:08         0.0116366         0.3484774           4.8201E+13 2.9307013 6.70217E+12         0.0083531         0.2501475  2.9307013
            430   5819.24       575089               0.0985572 5/8/19 1:13         0.0116366         0.3484774         4.86011E+13 2.9071881 6.70217E+12          0.0126493         0.3788044  2.9071881
            431   5817.19       575090               0.0973429 5/8/19 1:18         0.0116366         0.3484774         4.91901E+13 2.8713676 6.70217E+12          0.0126278         0.3781605  2.8713676
            432   5820.91       575090               0.0974051 5/8/19 1:23         0.0116366         0.3484774         4.91901E+13 2.8732038 6.70217E+12          0.0125071          0.374546  2.8732038
            433   5831.99       575090               0.0975905 5/8/19 1:28         0.0116366         0.3484774         4.91901E+13 2.8786729 6.70217E+12          0.0125147         0.3747735  2.8786729
            434   5837.72       575090               0.0976864 5/8/19 1:33         0.0116366         0.3484774         4.91901E+13 2.8815012 6.70217E+12          0.0030723         0.0920051  2.8815012
            435   5825.57       575090               0.0974831 5/8/19 1:38         0.0116366         0.3484774         4.91901E+13    2.875504 6.70217E+12        0.0007008         0.0209866    2.875504
                                                                                                                                                                                                            Document: 39-7




            436    5834.9       575090               0.0976392 5/8/19 1:43         0.0116366         0.3484774         4.91901E+13 2.8801093 6.70217E+12           0.002842         0.0851084  2.8801093
            437   5839.94       575090               0.0977235 5/8/19 1:49         0.0116366         0.3484774         4.91901E+13    2.882597 6.70217E+12        0.0029206         0.0874622    2.882597
            438   5834.68       575090               0.0976355 5/8/19 1:54         0.0116366         0.3484774         4.91901E+13 2.8800007 6.70217E+12          0.0037273         0.1116202  2.8800007




Appx13388
            439   5827.66       575090               0.0975181 5/8/19 1:59         0.0116366         0.3484774         4.91901E+13 2.8765356 6.70217E+12          0.0045235         0.1354637  2.8765356
            440   5833.57       575090                0.097617 5/8/19 2:04         0.0119665         0.3583568         4.91901E+13 2.8794528 6.70217E+12           0.005794          0.173511  2.8794528
            441   5837.02       575090               0.0976747 5/8/19 2:09         0.0119665         0.3583568         4.91901E+13 2.8811557 6.70217E+12          0.0120927         0.3621361  2.8811557
            442   5834.82       575091               0.1021121 5/8/19 2:14         0.0119665         0.3583568         4.70347E+13 3.0120484 6.70217E+12          0.0138694         0.4153423  3.0120484
                                                                                                                                                                                                            Page: 243




            443   5832.01       575091               0.1020629 5/8/19 2:19         0.0119665         0.3583568         4.70347E+13 3.0105978 6.70217E+12          0.0243003          0.727713  3.0105978
            444   5827.28       575091               0.1019802 5/8/19 2:24         0.0119665         0.3583568         4.70347E+13 3.0081561 6.70217E+12          0.0146496         0.4387067  3.0081561
            445    5814.3       575091                0.101753 5/8/19 2:29         0.0119665         0.3583568         4.70347E+13 3.0014556 6.70217E+12           0.013417         0.4017944  3.0014556
            446   5822.06       575092               0.1015212 5/8/19 2:34         0.0119665         0.3583568         4.72051E+13 2.9946169 6.70217E+12           0.013794         0.4130843  2.9946169
            447   5827.69       575092               0.1016193 5/8/19 2:39         0.0119665         0.3583568         4.72051E+13 2.9975127 6.70217E+12          0.0134243          0.402013  2.9975127
            448   5825.01       575094               0.1011451 5/8/19 2:44         0.0119665         0.3583568         4.74046E+13 2.9835236 6.70217E+12          0.0173396         0.5192632  2.9835236
            449   5825.01       575094               0.1011451 5/8/19 2:49         0.0119665         0.3583568         4.74046E+13 2.9835236 6.70217E+12          0.0160878          0.481776  2.9835236
            450   5827.65       575094               0.1011909 5/8/19 2:54         0.0119665         0.3583568         4.74046E+13 2.9848758 6.70217E+12          0.0135423         0.4055467  2.9848758
            451   5828.98       575094                0.101214 5/8/19 2:59         0.0119665         0.3583568         4.74046E+13    2.985557 6.70217E+12        0.0119787         0.3587221    2.985557
            452   5816.75       575095               0.1023933 5/8/19 3:04         0.0120924         0.3621271         4.67603E+13    3.020342 6.70217E+12         0.007941         0.2378065    3.020342
            453   5816.32       575095               0.1023857 5/8/19 3:09         0.0120924         0.3621271         4.67603E+13 3.0201187 6.70217E+12           0.011828         0.3542092  3.0201187
            454   5822.73       575095               0.1024985 5/8/19 3:14         0.0120924         0.3621271         4.67603E+13 3.0234471 6.70217E+12          0.0145702         0.4363289  3.0234471
                                                                                                                                                                                                            Filed: 01/02/2024




            455    5828.4       575095               0.1025983 5/8/19 3:19         0.0120924         0.3621271         4.67603E+13 3.0263913 6.70217E+12          0.0152655         0.4571508  3.0263913
            456   5829.18       575097               0.1038705 5/8/19 3:24         0.0120924         0.3621271         4.61938E+13 3.0639178 6.70217E+12          0.0169161         0.5065808  3.0639178
            457   5837.98       575097               0.1040273 5/8/19 3:29         0.0120924         0.3621271         4.61938E+13 3.0685432 6.70217E+12          0.0230203         0.6893813  3.0685432
            458   5838.98       575098               0.1040229 5/8/19 3:34         0.0120924         0.3621271         4.62037E+13 3.0684122 6.70217E+12          0.0845618          2.532344  3.0684122
            459   5828.52       575098               0.1038366 5/8/19 3:39         0.0120924         0.3621271         4.62037E+13 3.0629154 6.70217E+12          0.0234107         0.7010724  3.0629154
            460   5822.59       575099               0.1046272 5/8/19 3:44         0.0120924         0.3621271         4.58079E+13 3.0862378 6.70217E+12          0.0168116         0.5034514  3.0862378



            CONFIDENTIAL                                                                      exelon4_modeling_05092019                                                                       BB100000014
                   A           B                 C                   D              E              F                   G                H           I               J              K               L
             1 BTC_price block_height breakeven_mining_cost    datetime     day_ahead_LMP day_ahead_LMP_rev est_network_hashrate   mining_rev network_diff real_time_LMP real_time_LMP_rev realized_rev
            461   5803.44       575099               0.1042831 5/8/19 3:49         0.0120924         0.3621271         4.58079E+13 3.0760874 6.70217E+12          0.0140409         0.4204782  3.0760874
            462   5796.56       575099               0.1041595 5/8/19 3:54         0.0120924         0.3621271         4.58079E+13 3.0724407 6.70217E+12          0.0144936          0.434035  3.0724407
            463   5807.05       575101               0.1050426 5/8/19 3:59         0.0120924         0.3621271         4.55049E+13 3.0984912 6.70217E+12          0.0119057          0.356536  3.0984912
            464   5809.78       575101                0.105092 5/8/19 4:04         0.0137229         0.4109551         4.55049E+13 3.0999478 6.70217E+12          0.0125622          0.376196  3.0999478
            465   5812.68       575101               0.1051445 5/8/19 4:09         0.0137229         0.4109551         4.55049E+13 3.1014952 6.70217E+12          0.0142995         0.4282224  3.1014952
            466   5815.61       575102               0.1048815 5/8/19 4:14         0.0137229         0.4109551           4.5642E+13 3.0937385 6.70217E+12         0.0193516         0.5795159  3.0937385
            467   5808.55       575103               0.1046033 5/8/19 4:19         0.0137229         0.4109551         4.57078E+13 3.0855325 6.70217E+12          0.0200764         0.6012213  3.0855325
            468   5820.01       575104               0.1050843 5/8/19 4:24         0.0137229         0.4109551         4.55884E+13     3.09972 6.70217E+12        0.0189938          0.568801     3.09972
            469   5816.06       575105               0.1052763 5/8/19 4:29         0.0137229         0.4109551         4.54744E+13 3.1053836 6.70217E+12          0.0230152         0.6892285  3.1053836
            470   5808.82       575106               0.1053792 5/8/19 4:34         0.0137229         0.4109551         4.53734E+13 3.1084182 6.70217E+12          0.0197229         0.5906351  3.1084182
            471   5815.31       575106               0.1054969 5/8/19 4:39         0.0137229         0.4109551         4.53734E+13 3.1118911 6.70217E+12          0.0184185         0.5515727  3.1118911
            472   5818.61       575108               0.1056718 5/8/19 4:44         0.0137229         0.4109551           4.5324E+13 3.1170516 6.70217E+12         0.0141625         0.4241197  3.1170516
            473   5810.51       575108               0.1055247 5/8/19 4:49         0.0137229         0.4109551           4.5324E+13 3.1127124 6.70217E+12         0.0159072         0.4763676  3.1127124
            474   5815.11       575108               0.1056083 5/8/19 4:54         0.0137229         0.4109551           4.5324E+13 3.1151766 6.70217E+12         0.0160139         0.4795629  3.1151766
            475   5808.22       575109               0.1054956 5/8/19 4:59         0.0137229         0.4109551         4.53187E+13 3.1118531 6.70217E+12          0.0129169         0.3868181  3.1118531
                                                                                                                                                                                                            Case: 23-1922




            476   5821.06       575109               0.1057288 5/8/19 5:04         0.0172785         0.5174335         4.53187E+13 3.1187323 6.70217E+12          0.0087613         0.2623717  3.1187323
            477   5830.24       575109               0.1058956 5/8/19 5:09         0.0172785         0.5174335         4.53187E+13 3.1236507 6.70217E+12          0.0125147         0.3747735  3.1236507
            478   5816.12       575110               0.1063653 5/8/19 5:14         0.0172785         0.5174335         4.50092E+13 3.1375074 6.70217E+12          0.0158514         0.4746966  3.1375074
            479   5816.12       575110               0.1063653 5/8/19 5:19         0.0172785         0.5174335         4.50092E+13 3.1375074 6.70217E+12          0.0145818         0.4366763  3.1375074
            480   5811.28       575111               0.1058572 5/8/19 5:24         0.0172785         0.5174335         4.51877E+13 3.1225197 6.70217E+12          0.0159657         0.4781195  3.1225197
            481   5814.19       575113               0.1054793 5/8/19 5:29         0.0172785         0.5174335         4.53722E+13 3.1113735 6.70217E+12          0.0189354         0.5670521  3.1113735
            482   5822.89       575113               0.1056372 5/8/19 5:34         0.0172785         0.5174335         4.53722E+13 3.1160292 6.70217E+12          0.0168377          0.504233  3.1160292
            483    5825.6       575113               0.1056863 5/8/19 5:39         0.0172785         0.5174335         4.53722E+13 3.1174794 6.70217E+12          0.0142709         0.4273659  3.1174794
            484   5825.47       575114               0.1057728 5/8/19 5:44         0.0172785         0.5174335         4.53341E+13 3.1200304 6.70217E+12          0.0162737         0.4873431  3.1200304
            485   5830.59       575114               0.1058658 5/8/19 5:49         0.0172785         0.5174335         4.53341E+13 3.1227726 6.70217E+12           0.016296         0.4880109  3.1227726
            486   5839.34       575114               0.1060247 5/8/19 5:54         0.0172785         0.5174335         4.53341E+13    3.127459 6.70217E+12        0.0078999         0.2365757    3.127459
                                                                                                                                                                                                            Document: 39-7




            487   5838.51       575115               0.1055129 5/8/19 5:59         0.0172785         0.5174335         4.55475E+13 3.1123637 6.70217E+12          0.0157437         0.4714713  3.1123637
            488   5829.09       575117               0.1054774 5/8/19 6:04         0.0211899         0.6345669         4.54893E+13 3.1113164 6.70217E+12           0.015334         0.4592022  3.1113164
            489   5826.85       575117               0.1054369 5/8/19 6:09         0.0211899         0.6345669         4.54893E+13 3.1101208 6.70217E+12          0.0095667         0.2864908  3.1101208




Appx13389
            490   5838.53       575118                0.105587 5/8/19 6:14         0.0211899         0.6345669         4.55157E+13 3.1145494 6.70217E+12          0.0126575         0.3790499  3.1145494
            491   5843.74       575119               0.1054459 5/8/19 6:19         0.0211899         0.6345669         4.56173E+13 3.1103869 6.70217E+12          0.0159603         0.4779578  3.1103869
            492   5843.03       575119               0.1054331 5/8/19 6:24         0.0211899         0.6345669         4.56173E+13    3.110009 6.70217E+12        0.0169939         0.5089107    3.110009
            493   5842.51       575119               0.1054237 5/8/19 6:29         0.0211899         0.6345669         4.56173E+13 3.1097323 6.70217E+12          0.0176305         0.5279747  3.1097323
                                                                                                                                                                                                            Page: 244




            494   5859.77       575120               0.1055662 5/8/19 6:34         0.0211899         0.6345669         4.56903E+13 3.1139353 6.70217E+12          0.0182108         0.5453528  3.1139353
            495   5849.16       575120               0.1053751 5/8/19 6:39         0.0211899         0.6345669         4.56903E+13 3.1082971 6.70217E+12          0.0222873         0.6674303  3.1082971
            496   5859.91       575120               0.1055687 5/8/19 6:44         0.0211899         0.6345669         4.56903E+13 3.1140097 6.70217E+12          0.0240313         0.7196573  3.1140097
            497   5874.94       575120               0.1058395 5/8/19 6:49         0.0211899         0.6345669         4.56903E+13 3.1219968 6.70217E+12          0.0247785         0.7420335  3.1219968
            498   5849.77       575122               0.1058251 5/8/19 6:54         0.0211899         0.6345669         4.55007E+13 3.1215733 6.70217E+12           0.035146         1.0525055  3.1215733
            499   5847.52       575123               0.1059851 5/8/19 6:59         0.0211899         0.6345669         4.54146E+13 3.1262913 6.70217E+12          0.0331317          0.992184  3.1262913
            500   5858.74       575123               0.1061884 5/8/19 7:04         0.0245969         0.7365952         4.54146E+13 3.1322899 6.70217E+12          0.0225584         0.6755489  3.1322899
            501   5868.24       575124               0.1046351 5/8/19 7:09         0.0245969         0.7365952         4.61635E+13 3.0864695 6.70217E+12          0.0227738         0.6819994  3.0864695
            502   5860.28       575124               0.1044931 5/8/19 7:14         0.0245969         0.7365952         4.61635E+13 3.0822829 6.70217E+12          0.0189208         0.5666149  3.0822829
            503   5864.03       575124                  0.10456 5/8/19 7:19        0.0245969         0.7365952         4.61635E+13 3.0842552 6.70217E+12          0.0206953         0.6197553  3.0842552
            504   5860.24       575125               0.1049602 5/8/19 7:24         0.0245969         0.7365952         4.59578E+13 3.0960609 6.70217E+12          0.0230157         0.6892435  3.0960609
            505   5855.35       575125               0.1048726 5/8/19 7:29         0.0245969         0.7365952         4.59578E+13 3.0934774 6.70217E+12          0.0225888         0.6764593  3.0934774
                                                                                                                                                                                                            Filed: 01/02/2024




            506   5861.24       575125               0.1049781 5/8/19 7:34         0.0245969         0.7365952         4.59578E+13 3.0965892 6.70217E+12          0.0205788         0.6162665  3.0965892
            507   5864.22       575125               0.1050315 5/8/19 7:39         0.0245969         0.7365952         4.59578E+13 3.0981636 6.70217E+12          0.0197214         0.5905902  3.0981636
            508    5855.4       575125               0.1048735 5/8/19 7:44         0.0245969         0.7365952         4.59578E+13 3.0935039 6.70217E+12          0.0198359         0.5940191  3.0935039
            509   5848.68       575126                0.102448 5/8/19 7:49         0.0245969         0.7365952         4.69919E+13 3.0219576 6.70217E+12          0.0296779         0.8887542  3.0219576
            510   5843.55       575127               0.1024751 5/8/19 7:54         0.0245969         0.7365952         4.69382E+13 3.0227572 6.70217E+12          0.0208223         0.6235585  3.0227572
            511   5851.77       575127               0.1026193 5/8/19 7:59         0.0245969         0.7365952         4.69382E+13 3.0270092 6.70217E+12          0.0230156         0.6892405  3.0270092



            CONFIDENTIAL                                                                      exelon4_modeling_05092019                                                                       BB100000014
                   A           B                 C                   D              E              F                   G                H           I               J              K               L
             1 BTC_price block_height breakeven_mining_cost    datetime     day_ahead_LMP day_ahead_LMP_rev est_network_hashrate   mining_rev network_diff real_time_LMP real_time_LMP_rev realized_rev
            512   5849.49       575127               0.1025793 5/8/19 8:04         0.0242095         0.7249938         4.69382E+13 3.0258298 6.70217E+12          0.0232039         0.6948795  3.0258298
            513   5849.48       575129               0.1024537 5/8/19 8:09         0.0242095         0.7249938         4.69957E+13 3.0221242 6.70217E+12          0.0199092         0.5962142  3.0221242
            514    5848.2       575130               0.1023337 5/8/19 8:14         0.0242095         0.7249938         4.70405E+13 3.0185855 6.70217E+12          0.0193885         0.5806209  3.0185855
            515   5833.78       575131               0.1018159 5/8/19 8:19         0.0242095         0.7249938         4.71632E+13 3.0033105 6.70217E+12          0.0228642         0.6847066  3.0033105
            516   5845.68       575131               0.1020236 5/8/19 8:24         0.0242095         0.7249938         4.71632E+13 3.0094368 6.70217E+12          0.0197323         0.5909166  3.0094368
            517   5850.11       575133                0.101054 5/8/19 8:29         0.0242095         0.7249938         4.76518E+13 2.9808362 6.70217E+12          0.0210194          0.629461  2.9808362
            518   5849.94       575134                0.101143 5/8/19 8:34         0.0242095         0.7249938         4.76084E+13 2.9834634 6.70217E+12          0.0253845         0.7601812  2.9834634
            519   5844.18       575135               0.1003625 5/8/19 8:39         0.0242095         0.7249938         4.79315E+13 2.9604385 6.70217E+12          0.0187378         0.5611347  2.9604385
            520   5844.99       575136               0.1007176 5/8/19 8:45         0.0242095         0.7249938         4.77691E+13 2.9709144 6.70217E+12          0.0201853         0.6044825  2.9709144
            521   5856.45       575136               0.1009151 5/8/19 8:50         0.0242095         0.7249938         4.77691E+13 2.9767393 6.70217E+12          0.0212258          0.635642  2.9767393
            522   5861.07       575136               0.1009947 5/8/19 8:55         0.0242095         0.7249938         4.77691E+13 2.9790876 6.70217E+12          0.0203371         0.6090284  2.9790876
            523   5859.02       575136               0.1009594 5/8/19 9:00         0.0244939         0.7335107         4.77691E+13 2.9780456 6.70217E+12          0.0193291         0.5788421  2.9780456
            524   5865.61       575136               0.1010729 5/8/19 9:05         0.0244939         0.7335107         4.77691E+13 2.9813952 6.70217E+12          0.0272511         0.8160796  2.9813952
            525   5854.26       575136               0.1008773 5/8/19 9:10         0.0244939         0.7335107         4.77691E+13 2.9756262 6.70217E+12          0.0236817          0.709188  2.9756262
            526    5831.3       575137               0.1018101 5/8/19 9:15         0.0244939         0.7335107         4.71458E+13 3.0031404 6.70217E+12          0.2149698         6.4376289  6.4376289
                                                                                                                                                                                                            Case: 23-1922




            527   5839.16       575137               0.1019473 5/8/19 9:20         0.0244939         0.7335107         4.71458E+13 3.0071883 6.70217E+12          0.2149291         6.4364101  6.4364101
            528    5843.2       575137               0.1020179 5/8/19 9:25         0.0244939         0.7335107         4.71458E+13 3.0092689 6.70217E+12          0.0275293         0.8244108  3.0092689
            529   5841.15       575137               0.1019821 5/8/19 9:30         0.0244939         0.7335107         4.71458E+13 3.0082132 6.70217E+12          0.0429576         1.2864369  3.0082132
            530   5849.05       575139               0.1011946 5/8/19 9:35         0.0244939         0.7335107           4.7577E+13 2.9849829 6.70217E+12         0.0232529         0.6963468  2.9849829
            531   5857.36       575140               0.0999202 5/8/19 9:40         0.0244939         0.7335107         4.82522E+13    2.947394 6.70217E+12        0.0229391         0.6869496    2.947394
            532   5857.91       575140               0.0999296 5/8/19 9:45         0.0244939         0.7335107         4.82522E+13 2.9476708 6.70217E+12          0.0235124          0.704118  2.9476708
            533   5864.03       575140                0.100034 5/8/19 9:50         0.0244939         0.7335107         4.82522E+13 2.9507504 6.70217E+12          0.0259313          0.776556  2.9507504
            534   5868.53       575142               0.0972217 5/8/19 9:55         0.0244939         0.7335107         4.96861E+13 2.8677931 6.70217E+12          0.0202099         0.6052191  2.8677931
            535   5857.64       575143               0.0964425 5/8/19 10:00        0.0273545         0.8191761         4.99946E+13 2.8448083 6.70217E+12           0.018816         0.5634765  2.8448083
            536    5866.7       575143               0.0965916 5/8/19 10:05        0.0273545         0.8191761         4.99946E+13 2.8492083 6.70217E+12          0.0166105         0.4974291  2.8492083
            537   5863.82       575143               0.0965442 5/8/19 10:10        0.0273545         0.8191761         4.99946E+13 2.8478096 6.70217E+12          0.0189675         0.5680134  2.8478096
                                                                                                                                                                                                            Document: 39-7




            538   5866.01       575143               0.0965803 5/8/19 10:15        0.0273545         0.8191761         4.99946E+13 2.8488732 6.70217E+12          0.0207265         0.6206896  2.8488732
            539   5864.99       575144               0.0934511 5/8/19 10:20        0.0273545         0.8191761         5.16596E+13 2.7565705 6.70217E+12          0.0230154         0.6892345  2.7565705
            540    5879.4       575144               0.0936807 5/8/19 10:25        0.0273545         0.8191761         5.16596E+13 2.7633433 6.70217E+12           0.022665         0.6787412  2.7633433




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            541   5893.62       575144               0.0939073 5/8/19 10:30        0.0273545         0.8191761         5.16596E+13 2.7700267 6.70217E+12           0.026083         0.7810989  2.7700267
            542   5896.01       575144               0.0939454 5/8/19 10:35        0.0273545         0.8191761         5.16596E+13     2.77115 6.70217E+12        0.0230839         0.6912859     2.77115
            543   5888.01       575145               0.0946022 5/8/19 10:40        0.0273545         0.8191761         5.12313E+13    2.790525 6.70217E+12        0.0287548         0.8611104    2.790525
            544   5881.26       575145               0.0944937 5/8/19 10:45        0.0273545         0.8191761         5.12313E+13    2.787326 6.70217E+12        0.0290496         0.8699387    2.787326
                                                                                                                                                                                                            Page: 245




            545   5890.78       575145               0.0946467 5/8/19 10:50        0.0273545         0.8191761         5.12313E+13 2.7918378 6.70217E+12           0.031648         0.9477521  2.7918378
            546   5902.32       575145               0.0948321 5/8/19 10:55        0.0273545         0.8191761         5.12313E+13    2.797307 6.70217E+12        0.0386126         1.1563187    2.797307
            547   5892.56       575146               0.0957691 5/8/19 11:01        0.0256602         0.7684375         5.06462E+13 2.8249464 6.70217E+12          0.1850845         5.5426638  5.5426638
            548    5892.8       575146                0.095773 5/8/19 11:06        0.0256602         0.7684375         5.06462E+13 2.8250615 6.70217E+12          0.1223436          3.663783    3.663783
            549   5886.97       575146               0.0956783 5/8/19 11:11        0.0256602         0.7684375         5.06462E+13 2.8222665 6.70217E+12          0.0289788         0.8678185  2.8222665
            550   5886.09       575147                0.095016 5/8/19 11:16        0.0256602         0.7684375         5.09916E+13 2.8027303 6.70217E+12          0.0293671         0.8794468  2.8027303
            551   5892.15       575147               0.0951138 5/8/19 11:21        0.0256602         0.7684375         5.09916E+13 2.8056159 6.70217E+12          0.0222423         0.6660827  2.8056159
            552   5876.44       575148               0.0951515 5/8/19 11:26        0.0256602         0.7684375         5.08355E+13 2.8067268 6.70217E+12          0.0207227         0.6205758  2.8067268
            553   5884.06       575149               0.0955244 5/8/19 11:31        0.0256602         0.7684375         5.07027E+13 2.8177282 6.70217E+12          0.0191584         0.5737302  2.8177282
            554   5888.27       575149               0.0955928 5/8/19 11:36        0.0256602         0.7684375         5.07027E+13 2.8197442 6.70217E+12          0.0213724         0.6400321  2.8197442
            555   5886.01       575149               0.0955561 5/8/19 11:41        0.0256602         0.7684375         5.07027E+13    2.818662 6.70217E+12        0.0222172         0.6653311    2.818662
            556   5884.57       575150               0.0935906 5/8/19 11:46        0.0256602         0.7684375         5.17548E+13 2.7606856 6.70217E+12          0.0230647         0.6907109  2.7606856
                                                                                                                                                                                                            Filed: 01/02/2024




            557   5889.82       575150               0.0936741 5/8/19 11:51        0.0256602         0.7684375         5.17548E+13 2.7631486 6.70217E+12          0.0228225         0.6834578  2.7631486
            558   5888.19       575151               0.0945307 5/8/19 11:56        0.0256602         0.7684375         5.12716E+13 2.7884168 6.70217E+12          0.0233477         0.6991858  2.7884168
            559   5872.61       575151               0.0942806 5/8/19 12:01         0.026371         0.7897235         5.12716E+13 2.7810387 6.70217E+12          0.0224703         0.6729106  2.7810387
            560   5867.29       575152               0.0946705 5/8/19 12:06         0.026371         0.7897235         5.10142E+13 2.7925413 6.70217E+12          0.0217427         0.6511214  2.7925413
            561   5863.69       575152               0.0946125 5/8/19 12:11         0.026371         0.7897235         5.10142E+13 2.7908278 6.70217E+12          0.0206502         0.6184047  2.7908278
            562   5866.61       575153               0.0947421 5/8/19 12:16         0.026371         0.7897235         5.09698E+13 2.7946505 6.70217E+12          0.0211696          0.633959  2.7946505



            CONFIDENTIAL                                                                      exelon4_modeling_05092019                                                                       BB100000014
                   A           B                 C                   D              E              F                   G                H           I               J              K               L
             1 BTC_price block_height breakeven_mining_cost    datetime     day_ahead_LMP day_ahead_LMP_rev est_network_hashrate   mining_rev network_diff real_time_LMP real_time_LMP_rev realized_rev
            563   5868.73       575154               0.0943442 5/8/19 12:21         0.026371         0.7897235         5.12032E+13 2.7829139 6.70217E+12          0.0227271         0.6806009  2.7829139
            564   5877.65       575154               0.0944876 5/8/19 12:26         0.026371         0.7897235         5.12032E+13 2.7871437 6.70217E+12          0.0262613         0.7864384  2.7871437
            565   5886.52       575156               0.0934827 5/8/19 12:31         0.026371         0.7897235         5.18317E+13 2.7575042 6.70217E+12          0.0246938          0.739497  2.7575042
            566   5883.25       575156               0.0934308 5/8/19 12:36         0.026371         0.7897235         5.18317E+13 2.7559724 6.70217E+12          0.0239477         0.7171538  2.7559724
            567    5880.8       575156               0.0933919 5/8/19 12:41         0.026371         0.7897235         5.18317E+13 2.7548247 6.70217E+12          0.0215346         0.6448895  2.7548247
            568   5886.84       575157               0.0931778 5/8/19 12:46         0.026371         0.7897235         5.20042E+13 2.7485095 6.70217E+12          0.0215175         0.6443774  2.7485095
            569   5887.77       575157               0.0931925 5/8/19 12:51         0.026371         0.7897235         5.20042E+13 2.7489437 6.70217E+12          0.0210953         0.6317339  2.7489437
            570   5886.14       575159               0.0936745 5/8/19 12:56         0.026371         0.7897235         5.17223E+13 2.7631598 6.70217E+12          0.0221968         0.6647202  2.7631598
            571   5880.23       575159               0.0935804 5/8/19 13:01        0.0224056          0.670973         5.17223E+13 2.7603855 6.70217E+12          0.0220558         0.6604977  2.7603855
            572   5884.79       575159                0.093653 5/8/19 13:06        0.0224056          0.670973         5.17223E+13 2.7625261 6.70217E+12          0.0232481         0.6962031  2.7625261
            573   5887.12       575159               0.0936901 5/8/19 13:11        0.0224056          0.670973         5.17223E+13 2.7636199 6.70217E+12          0.0228614         0.6846227  2.7636199
            574   5882.83       575159               0.0936218 5/8/19 13:16        0.0224056          0.670973         5.17223E+13    2.761606 6.70217E+12        0.0286842         0.8589962    2.761606
            575   5887.05       575160                0.095298 5/8/19 13:21        0.0224056          0.670973           5.0849E+13 2.8110496 6.70217E+12         0.0210217         0.6295298  2.8110496
            576   5885.01       575161               0.0954767 5/8/19 13:26        0.0224056          0.670973         5.07362E+13 2.8163217 6.70217E+12          0.0209618          0.627736  2.8163217
            577   5877.03       575161               0.0953473 5/8/19 13:31        0.0224056          0.670973         5.07362E+13 2.8125028 6.70217E+12           0.019652         0.5885119  2.8125028
                                                                                                                                                                                                            Case: 23-1922




            578    5864.5       575163               0.0928787 5/8/19 13:36        0.0224056          0.670973         5.19737E+13 2.7396868 6.70217E+12          0.0197032         0.5900452  2.7396868
            579   5878.37       575163               0.0930984 5/8/19 13:41        0.0224056          0.670973         5.19737E+13 2.7461664 6.70217E+12          0.0229336         0.6867849  2.7461664
            580   5884.42       575163               0.0931942 5/8/19 13:46        0.0224056          0.670973         5.19737E+13 2.7489927 6.70217E+12           0.027902         0.8355719  2.7489927
            581   5882.28       575163               0.0931603 5/8/19 13:51        0.0224056          0.670973         5.19737E+13    2.747993 6.70217E+12        0.0286405         0.8576875    2.747993
            582   5884.83       575163               0.0932007 5/8/19 13:56        0.0224056          0.670973         5.19737E+13 2.7491843 6.70217E+12          0.0262751         0.7868517  2.7491843
            583   5884.52       575164               0.0946934 5/8/19 14:01        0.0200678         0.6009637         5.11517E+13    2.793214 6.70217E+12         0.027166         0.8135311    2.793214
            584   5879.67       575164               0.0946153 5/8/19 14:06        0.0200678         0.6009637         5.11517E+13 2.7909119 6.70217E+12          0.0243166         0.7282011  2.7909119
            585   5877.49       575164               0.0945802 5/8/19 14:11        0.0200678         0.6009637         5.11517E+13 2.7898771 6.70217E+12          0.0208701         0.6249899  2.7898771
            586   5887.28       575166               0.0950829 5/8/19 14:16        0.0200678         0.6009637           5.0966E+13 2.8047039 6.70217E+12         0.0218292         0.6537118  2.8047039
            587   5884.05       575166               0.0950307 5/8/19 14:21        0.0200678         0.6009637           5.0966E+13 2.8031651 6.70217E+12         0.0217633         0.6517383  2.8031651
            588   5885.12       575166                0.095048 5/8/19 14:26        0.0200678         0.6009637           5.0966E+13 2.8036749 6.70217E+12         0.0217781         0.6521815  2.8036749
                                                                                                                                                                                                            Document: 39-7




            589   5902.91       575167               0.0961455 5/8/19 14:31        0.0200678         0.6009637         5.05365E+13    2.836049 6.70217E+12         0.021451         0.6423859    2.836049
            590   5902.72       575167               0.0961424 5/8/19 14:36        0.0200678         0.6009637         5.05365E+13 2.8359577 6.70217E+12          0.1801174         5.3939157  5.3939157
            591   5906.61       575167               0.0962058 5/8/19 14:41        0.0200678         0.6009637         5.05365E+13 2.8378267 6.70217E+12          0.0426523         1.2772942  2.8378267




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            592   5912.28       575167               0.0962981 5/8/19 14:46        0.0200678         0.6009637         5.05365E+13 2.8405508 6.70217E+12          0.1999116          5.986686    5.986686
            593   5908.65       575170                0.095031 5/8/19 14:51        0.0200678         0.6009637           5.1179E+13 2.8031727 6.70217E+12         0.2670565          7.997452    7.997452
            594   5900.02       575170               0.0948922 5/8/19 14:56        0.0200678         0.6009637           5.1179E+13 2.7990785 6.70217E+12         0.0299601         0.8972051  2.7990785
            595   5884.23       575171               0.0950701 5/8/19 15:01        0.0170556         0.5107584         5.09465E+13 2.8043263 6.70217E+12          0.0297971         0.8923238  2.8043263
                                                                                                                                                                                                            Page: 246




            596   5890.02       575171               0.0951636 5/8/19 15:06        0.0170556         0.5107584         5.09465E+13 2.8070857 6.70217E+12          0.0254303         0.7615527  2.8070857
            597   5890.65       575171               0.0951738 5/8/19 15:11        0.0170556         0.5107584         5.09465E+13 2.8073859 6.70217E+12          0.0264722         0.7927541  2.8073859
            598   5868.34       575171               0.0948133 5/8/19 15:16        0.0170556         0.5107584         5.09465E+13 2.7967533 6.70217E+12          0.0232906         0.6974758  2.7967533
            599   5883.01       575172               0.0962041 5/8/19 15:21        0.0170556         0.5107584         5.03355E+13    2.837777 6.70217E+12        0.0222239         0.6655317    2.837777
            600   5877.22       575172               0.0961094 5/8/19 15:26        0.0170556         0.5107584         5.03355E+13 2.8349841 6.70217E+12           0.021497         0.6437635  2.8349841
            601   5882.35       575173               0.0955836 5/8/19 15:31        0.0170556         0.5107584         5.06566E+13 2.8194728 6.70217E+12          0.0233908         0.7004765  2.8194728
            602   5895.23       575174               0.0960485 5/8/19 15:36        0.0170556         0.5107584         5.05218E+13 2.8331879 6.70217E+12          0.0260191         0.7791853  2.8331879
            603   5891.02       575174               0.0959799 5/8/19 15:41        0.0170556         0.5107584         5.05218E+13 2.8311646 6.70217E+12          0.0204508         0.6124333  2.8311646
            604    5895.3       575174               0.0960497 5/8/19 15:46        0.0170556         0.5107584         5.05218E+13 2.8332215 6.70217E+12          0.0203869         0.6105197  2.8332215
            605   5898.69       575174               0.0961049 5/8/19 15:51        0.0170556         0.5107584         5.05218E+13 2.8348507 6.70217E+12          0.0210614         0.6307187  2.8348507
            606   5898.34       575175               0.0970802 5/8/19 15:56        0.0170556         0.5107584         5.00112E+13    2.863621 6.70217E+12        0.0209194         0.6264663    2.863621
            607   5900.14       575176               0.0971661 5/8/19 16:01        0.0174326         0.5220483         4.99823E+13 2.8661537 6.70217E+12          0.0209977         0.6288111  2.8661537
                                                                                                                                                                                                            Filed: 01/02/2024




            608   5891.31       575176               0.0970207 5/8/19 16:06        0.0174326         0.5220483         4.99823E+13 2.8618643 6.70217E+12          0.0203367         0.6090164  2.8618643
            609   5893.65       575176               0.0970592 5/8/19 16:11        0.0174326         0.5220483         4.99823E+13    2.863001 6.70217E+12        0.0213506         0.6393793    2.863001
            610   5892.53       575177               0.0969298 5/8/19 16:16        0.0174326         0.5220483         5.00395E+13 2.8591849 6.70217E+12          0.0261533         0.7832042  2.8591849
            611   5894.16       575177               0.0969567 5/8/19 16:21        0.0174326         0.5220483         5.00395E+13 2.8599758 6.70217E+12          0.0258626         0.7744987  2.8599758
            612   5895.84       575178                0.097646 5/8/19 16:26        0.0174326         0.5220483         4.97004E+13     2.88031 6.70217E+12        0.0215949         0.6466953     2.88031
            613   5896.89       575179               0.0980892 5/8/19 16:31        0.0174326         0.5220483         4.94846E+13 2.8933819 6.70217E+12          0.0198411         0.5941748  2.8933819



            CONFIDENTIAL                                                                      exelon4_modeling_05092019                                                                       BB100000014
                   A           B                 C                   D              E              F                   G                H           I               J              K               L
             1 BTC_price block_height breakeven_mining_cost    datetime     day_ahead_LMP day_ahead_LMP_rev est_network_hashrate   mining_rev network_diff real_time_LMP real_time_LMP_rev realized_rev
            614   5902.19       575180               0.0983841 5/8/19 16:36        0.0174326         0.5220483         4.93807E+13 2.9020809 6.70217E+12          0.0207134         0.6202973  2.9020809
            615    5905.9       575181                0.097534 5/8/19 16:41        0.0174326         0.5220483         4.98424E+13 2.8770052 6.70217E+12          0.0223016         0.6678586  2.8770052
            616   5906.84       575181               0.0975495 5/8/19 16:46        0.0174326         0.5220483         4.98424E+13 2.8774631 6.70217E+12          0.0254538         0.7622565  2.8774631
            617   5904.42       575181               0.0975095 5/8/19 16:51        0.0174326         0.5220483         4.98424E+13 2.8762842 6.70217E+12           0.025079         0.7510325  2.8762842
            618   5903.02       575181               0.0974864 5/8/19 16:56        0.0174326         0.5220483         4.98424E+13 2.8756022 6.70217E+12          0.0246071         0.7369006  2.8756022
            619   5894.63       575182               0.0989154 5/8/19 17:01        0.0174032         0.5211678         4.90525E+13 2.9177544 6.70217E+12          0.0226389         0.6779596  2.9177544
            620   5898.06       575182                0.098973 5/8/19 17:06        0.0174032         0.5211678         4.90525E+13 2.9194522 6.70217E+12          0.0256642         0.7685572  2.9194522
            621   5891.22       575182               0.0988582 5/8/19 17:11        0.0174032         0.5211678         4.90525E+13 2.9160665 6.70217E+12          0.0384273         1.1507695  2.9160665
            622   5888.49       575182               0.0988124 5/8/19 17:16        0.0174032         0.5211678         4.90525E+13 2.9147151 6.70217E+12          0.0364449         1.0914033  2.9147151
            623   5895.57       575183               0.0996828 5/8/19 17:21        0.0174032         0.5211678         4.86826E+13 2.9403898 6.70217E+12          0.0191003         0.5719903  2.9403898
            624   5896.91       575183               0.0997054 5/8/19 17:26        0.0174032         0.5211678         4.86826E+13 2.9410582 6.70217E+12          0.0230176         0.6893004  2.9410582
            625   5918.72       575183               0.1000742 5/8/19 17:31        0.0174032         0.5211678         4.86826E+13 2.9519358 6.70217E+12          0.0030289         0.0907055  2.9519358
            626   5926.18       575183               0.1002003 5/8/19 17:36        0.0174032         0.5211678         4.86826E+13 2.9556564 6.70217E+12          0.0439309          1.315584  2.9556564
            627   5934.97       575183                0.100349 5/8/19 17:41        0.0174032         0.5211678         4.86826E+13 2.9600404 6.70217E+12          0.0408583         1.2235699  2.9600404
            628   5944.99       575185                0.100551 5/8/19 17:46        0.0174032         0.5211678         4.86669E+13 2.9659989 6.70217E+12          0.0170991          0.512061  2.9659989
                                                                                                                                                                                                            Case: 23-1922




            629   5940.01       575185               0.1004667 5/8/19 17:51        0.0174032         0.5211678         4.86669E+13 2.9635144 6.70217E+12          0.0183967         0.5509198  2.9635144
            630   5931.52       575186               0.1008871 5/8/19 17:56        0.0174032         0.5211678         4.83948E+13 2.9759139 6.70217E+12          0.0163528         0.4897119  2.9759139
            631    5938.6       575188               0.0986457 5/8/19 18:01        0.0165475         0.4955425         4.95535E+13 2.9097985 6.70217E+12          0.0185884         0.5566606  2.9097985
            632   5931.02       575189               0.0980181 5/8/19 18:06        0.0165475         0.4955425         4.98071E+13 2.8912849 6.70217E+12          0.0173413         0.5193141  2.8912849
            633   5928.19       575189               0.0979713 5/8/19 18:12        0.0165475         0.4955425         4.98071E+13 2.8899053 6.70217E+12          0.0187899         0.5626949  2.8899053
            634   5932.23       575189               0.0980381 5/8/19 18:17        0.0165475         0.4955425         4.98071E+13 2.8918748 6.70217E+12          0.0180684         0.5410884  2.8918748
            635   5931.78       575189               0.0980306 5/8/19 18:22        0.0165475         0.4955425         4.98071E+13 2.8916554 6.70217E+12          0.0164812          0.493557  2.8916554
            636   5964.15       575189               0.0985656 5/8/19 18:27        0.0165475         0.4955425         4.98071E+13 2.9074353 6.70217E+12          0.0180238         0.5397527  2.9074353
            637   5899.89       575189               0.0975036 5/8/19 18:32        0.0165475         0.4955425         4.98071E+13 2.8761095 6.70217E+12          0.0168118         0.5034574  2.8761095
            638   5931.45       575190               0.1008336 5/8/19 18:37        0.0165475         0.4955425         4.84199E+13 2.9743362 6.70217E+12          0.0122315         0.3662927  2.9743362
            639   5929.97       575190               0.1008085 5/8/19 18:42        0.0165475         0.4955425         4.84199E+13    2.973594 6.70217E+12        0.0162317         0.4860853    2.973594
                                                                                                                                                                                                            Document: 39-7




            640    5923.2       575191               0.0994527 5/8/19 18:47        0.0165475         0.4955425         4.90239E+13 2.9336031 6.70217E+12          0.0090855         0.2720804  2.9336031
            641   5934.99       575192               0.0992547 5/8/19 18:52        0.0165475         0.4955425         4.92195E+13 2.9277617 6.70217E+12          0.0122121         0.3657117  2.9277617
            642   5940.66       575194               0.0989022 5/8/19 18:57        0.0165475         0.4955425         4.94421E+13 2.9173636 6.70217E+12          0.0091815         0.2749553  2.9173636




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            643   5948.18       575194               0.0990274 5/8/19 19:02        0.0158704         0.4752656         4.94421E+13 2.9210566 6.70217E+12          0.0137605         0.4120811  2.9210566
            644   5964.98       575194               0.0993071 5/8/19 19:07        0.0158704         0.4752656         4.94421E+13 2.9293068 6.70217E+12          0.0152734         0.4573874  2.9293068
            645    5960.1       575194               0.0992258 5/8/19 19:12        0.0158704         0.4752656         4.94421E+13 2.9269103 6.70217E+12          0.0109359         0.3274938  2.9269103
            646   5946.01       575194               0.0989912 5/8/19 19:17        0.0158704         0.4752656         4.94421E+13 2.9199909 6.70217E+12          0.0150092         0.4494755  2.9199909
                                                                                                                                                                                                            Page: 247




            647   5937.16       575194               0.0988439 5/8/19 19:22        0.0158704         0.4752656         4.94421E+13 2.9156448 6.70217E+12          0.0154969         0.4640805  2.9156448
            648   5955.08       575194               0.0991422 5/8/19 19:27        0.0158704         0.4752656         4.94421E+13 2.9244451 6.70217E+12          0.0152611         0.4570191  2.9244451
            649   5957.98       575195               0.1010248 5/8/19 19:32        0.0158704         0.4752656         4.85444E+13    2.979976 6.70217E+12        0.0228461         0.6841645    2.979976
            650   5962.91       575195               0.1011084 5/8/19 19:37        0.0158704         0.4752656         4.85444E+13 2.9824418 6.70217E+12          0.0165428         0.4954017  2.9824418
            651   5956.59       575195               0.1010012 5/8/19 19:42        0.0158704         0.4752656         4.85444E+13 2.9792807 6.70217E+12          0.0163774         0.4904485  2.9792807
            652    5957.7       575195               0.1010201 5/8/19 19:47        0.0158704         0.4752656         4.85444E+13 2.9798359 6.70217E+12          0.0147872         0.4428273  2.9798359
            653   5969.98       575195               0.1012283 5/8/19 19:52        0.0158704         0.4752656         4.85444E+13    2.985978 6.70217E+12        0.0161979         0.4850731    2.985978
            654   5987.65       575195               0.1015279 5/8/19 19:57        0.0158704         0.4752656         4.85444E+13 2.9948159 6.70217E+12          0.0140256            0.42002 2.9948159
            655    6036.6       575195               0.1023579 5/8/19 20:02         0.013261         0.3971227         4.85444E+13    3.019299 6.70217E+12        0.0154454         0.4625382    3.019299
            656   6037.49       575196               0.1050403 5/8/19 20:07         0.013261         0.3971227         4.73117E+13 3.0984226 6.70217E+12          0.0157078         0.4703963  3.0984226
            657   6092.47       575196               0.1059968 5/8/19 20:12         0.013261         0.3971227         4.73117E+13 3.1266382 6.70217E+12          0.0215321         0.6448146  3.1266382
            658   6052.38       575196               0.1052994 5/8/19 20:17         0.013261         0.3971227         4.73117E+13 3.1060641 6.70217E+12           0.018557         0.5557203  3.1060641
                                                                                                                                                                                                            Filed: 01/02/2024




            659   6053.32       575199               0.1035905 5/8/19 20:22         0.013261         0.3971227         4.80997E+13 3.0556586 6.70217E+12          0.0163585         0.4898825  3.0556586
            660   6041.03       575200               0.1032464 5/8/19 20:27         0.013261         0.3971227           4.8162E+13 3.0455058 6.70217E+12         0.0188459         0.5643719  3.0455058
            661   6030.66       575202               0.1032473 5/8/19 20:32         0.013261         0.3971227         4.80789E+13 3.0455341 6.70217E+12          0.0134602         0.4030881  3.0455341
            662   6043.34       575204               0.1032455 5/8/19 20:37         0.013261         0.3971227         4.81808E+13 3.0454809 6.70217E+12          0.0164743         0.4933504  3.0454809
            663   6042.19       575204               0.1032259 5/8/19 20:42         0.013261         0.3971227         4.81808E+13 3.0449014 6.70217E+12          0.0147002          0.440222  3.0449014
            664   6049.96       575204               0.1033586 5/8/19 20:47         0.013261         0.3971227         4.81808E+13    3.048817 6.70217E+12        0.0148678         0.4452411    3.048817



            CONFIDENTIAL                                                                      exelon4_modeling_05092019                                                                       BB100000014
                   A           B                 C                   D              E              F                   G                H           I               J              K               L
             1 BTC_price block_height breakeven_mining_cost    datetime     day_ahead_LMP day_ahead_LMP_rev est_network_hashrate   mining_rev network_diff real_time_LMP real_time_LMP_rev realized_rev
            665   6051.76       575205               0.1040715 5/8/19 20:52         0.013261         0.3971227           4.7865E+13 3.0698443 6.70217E+12         0.0130545         0.3909388  3.0698443
            666   6054.77       575206               0.1045618 5/8/19 20:57         0.013261         0.3971227         4.76643E+13    3.084309 6.70217E+12        0.0122348         0.3663915    3.084309
            667   6045.31       575206               0.1043985 5/8/19 21:02        0.0057558          0.172367         4.76643E+13 3.0794901 6.70217E+12          0.0113115         0.3387417  3.0794901
            668   6042.99       575207               0.1043195 5/8/19 21:07        0.0057558          0.172367           4.7682E+13 3.0771614 6.70217E+12         0.0064092         0.1919342  3.0771614
            669   6038.47       575207               0.1042415 5/8/19 21:12        0.0057558          0.172367           4.7682E+13 3.0748598 6.70217E+12         0.0050076         0.1499609  3.0748598
            670   6046.62       575207               0.1043822 5/8/19 21:17        0.0057558          0.172367           4.7682E+13 3.0790099 6.70217E+12        -0.0026668        -0.0798618  3.0790099
            671    6044.8       575207               0.1043508 5/8/19 21:22        0.0057558          0.172367           4.7682E+13 3.0780831 6.70217E+12         0.0105849         0.3169825  3.0780831
            672   6048.33       575207               0.1044117 5/8/19 21:27        0.0057558          0.172367           4.7682E+13 3.0798806 6.70217E+12         0.0086089         0.2578079  3.0798806
            673   6052.87       575208               0.1057954 5/8/19 21:32        0.0057558          0.172367         4.70937E+13 3.1206959 6.70217E+12              0.0018          0.053904 3.1206959
            674   6056.61       575210               0.1055202 5/8/19 21:37        0.0057558          0.172367         4.72457E+13 3.1125773 6.70217E+12         -0.0021614        -0.0647267  3.1125773
            675   6059.99       575212               0.0995054 5/8/19 21:42        0.0057558          0.172367         5.01295E+13 2.9351584 6.70217E+12         -0.0034416        -0.1030644  2.9351584
            676   6049.69       575213               0.0988159 5/8/19 21:47        0.0057558          0.172367         5.03935E+13 2.9148188 6.70217E+12         -0.0015146        -0.0453572  2.9148188
            677   6056.42       575214               0.0996142 5/8/19 21:52        0.0057558          0.172367         5.00453E+13 2.9383674 6.70217E+12         -0.0023178        -0.0694104  2.9383674
            678   6045.27       575214               0.0994308 5/8/19 21:57        0.0057558          0.172367         5.00453E+13 2.9329578 6.70217E+12          0.0029429            0.08813 2.9329578
            679   6041.19       575214               0.0993637 5/8/19 22:02       -0.0039885        -0.1194423         5.00453E+13 2.9309783 6.70217E+12          0.0028846         0.0863842  2.9309783
                                                                                                                                                                                                            Case: 23-1922




            680   6033.23       575215               0.0986577 5/8/19 22:07       -0.0039885        -0.1194423           5.0337E+13 2.9101535 6.70217E+12        -0.0021717        -0.0650352  2.9101535
            681   6034.99       575215               0.0986865 5/8/19 22:12       -0.0039885        -0.1194423           5.0337E+13 2.9110025 6.70217E+12         0.0094236         0.2822054  2.9110025
            682   6042.83       575215               0.0988147 5/8/19 22:17       -0.0039885        -0.1194423           5.0337E+13 2.9147841 6.70217E+12        -0.0117128        -0.3507593  2.9147841
            683   6033.48       575216               0.0981874 5/8/19 22:22       -0.0039885        -0.1194423         5.05802E+13 2.8962791 6.70217E+12         -0.0071632          -0.214514 2.8962791
            684   6028.01       575217               0.0985494 5/8/19 22:27       -0.0039885        -0.1194423         5.03487E+13 2.9069577 6.70217E+12         -0.0043047        -0.1289114  2.9069577
            685   6027.43       575217               0.0985399 5/8/19 22:32       -0.0039885        -0.1194423         5.03487E+13    2.906678 6.70217E+12       -0.0026014        -0.0779033    2.906678
            686   6029.94       575217                0.098581 5/8/19 22:37       -0.0039885        -0.1194423         5.03487E+13 2.9078884 6.70217E+12         -0.0017683        -0.0529547  2.9078884
            687   6039.16       575219               0.0983331 5/8/19 22:42       -0.0039885        -0.1194423         5.05528E+13 2.9005763 6.70217E+12         -0.0018002           -0.05391 2.9005763
            688   6039.06       575221               0.0975716 5/8/19 22:47       -0.0039885        -0.1194423         5.09465E+13 2.8781157 6.70217E+12          0.0035525         0.1063855  2.8781157
            689   6035.97       575221               0.0975217 5/8/19 22:52       -0.0039885        -0.1194423         5.09465E+13    2.876643 6.70217E+12       -0.0028608        -0.0856714    2.876643
            690   6041.91       575222               0.0971742 5/8/19 22:57       -0.0039885        -0.1194423           5.1179E+13 2.8663937 6.70217E+12        -0.0044334        -0.1327656  2.8663937
                                                                                                                                                                                                            Document: 39-7




            691   6066.64       575224               0.1014592 5/9/19 0:02        -0.0060127        -0.1800603         4.92181E+13 2.9927906 6.70217E+12         -0.0145142        -0.4346519  2.9927906
            692   6072.36       575225               0.1021048 5/9/19 0:07        -0.0060127        -0.1800603         4.89531E+13 3.0118316 6.70217E+12         -0.0130235        -0.3900104  3.0118316
            693   6068.07       575225               0.1020326 5/9/19 0:12        -0.0060127        -0.1800603         4.89531E+13 3.0097038 6.70217E+12         -0.0286682          -0.858517 3.0097038




Appx13393
            694   6076.08       575225               0.1021673 5/9/19 0:17        -0.0060127        -0.1800603         4.89531E+13 3.0136767 6.70217E+12         -0.0231556          -0.693433 3.0136767
            695   6077.05       575225               0.1021836 5/9/19 0:22        -0.0060127        -0.1800603         4.89531E+13 3.0141578 6.70217E+12         -0.0015472        -0.0463335  3.0141578
            696   6056.56       575225               0.1018391 5/9/19 0:27        -0.0060127        -0.1800603         4.89531E+13    3.003995 6.70217E+12       -0.0012057        -0.0361067    3.003995
            697   6053.34       575225               0.1017849 5/9/19 0:37        -0.0060127        -0.1800603         4.89531E+13 3.0023979 6.70217E+12         -0.0181456        -0.5434002  3.0023979
                                                                                                                                                                                                            Page: 248




            698   6047.02       575227               0.1035951 5/9/19 0:42        -0.0060127        -0.1800603         4.80475E+13 3.0557938 6.70217E+12         -0.0191353        -0.5730385  3.0557938
            699   6061.52       575227               0.1038435 5/9/19 0:47        -0.0060127        -0.1800603         4.80475E+13 3.0631212 6.70217E+12         -0.0107209        -0.3210552  3.0631212
            700   6050.01       575229                0.103384 5/9/19 0:52        -0.0060127        -0.1800603         4.81694E+13 3.0495651 6.70217E+12          0.0010001         0.0299497  3.0495651
            701   6044.15       575229               0.1032838 5/9/19 0:57        -0.0060127        -0.1800603         4.81694E+13 3.0466114 6.70217E+12         -0.0040798        -0.1221764  3.0466114
            702   6044.76       575229               0.1032943 5/9/19 1:02        -0.0084514        -0.2530913         4.81694E+13 3.0469188 6.70217E+12         -0.0033111        -0.0991564  3.0469188
            703   6039.56       575229               0.1032054 5/9/19 1:07        -0.0084514        -0.2530913         4.81694E+13 3.0442977 6.70217E+12         -0.0031204        -0.0934456  3.0442977
            704    6042.9       575231               0.1030119 5/9/19 1:12        -0.0084514        -0.2530913         4.82866E+13 3.0385906 6.70217E+12         -0.0012951        -0.0387839  3.0385906
            705   6042.77       575232               0.1030817 5/9/19 1:17        -0.0084514        -0.2530913         4.82528E+13 3.0406489 6.70217E+12         -0.0005672        -0.0169857  3.0406489
            706   6053.94       575233               0.1033545 5/9/19 1:22        -0.0084514        -0.2530913         4.82145E+13 3.0486951 6.70217E+12         -0.0121807        -0.3647714  3.0486951
            707   6056.93       575233               0.1034055 5/9/19 1:27        -0.0084514        -0.2530913         4.82145E+13 3.0502008 6.70217E+12         -0.0149888        -0.4488646  3.0502008
            708   6055.69       575233               0.1033843 5/9/19 1:32        -0.0084514        -0.2530913         4.82145E+13 3.0495763 6.70217E+12         -0.0147726        -0.4423901  3.0495763
            709   6058.16       575233               0.1034265 5/9/19 1:37        -0.0084514        -0.2530913         4.82145E+13 3.0508202 6.70217E+12         -0.0157309          -0.471088 3.0508202
                                                                                                                                                                                                            Filed: 01/02/2024




            710    6059.3       575234               0.1038084 5/9/19 1:42        -0.0084514        -0.2530913         4.80461E+13 3.0620845 6.70217E+12         -0.0227758        -0.6820593  3.0620845
            711   6061.34       575235               0.1031342 5/9/19 1:47        -0.0084514        -0.2530913         4.83765E+13 3.0421965 6.70217E+12         -0.0265233        -0.7942844  3.0421965
            712   6073.89       575235               0.1033477 5/9/19 1:52        -0.0084514        -0.2530913         4.83765E+13 3.0484953 6.70217E+12         -0.0258125        -0.7729983  3.0484953
            713    6070.6       575236               0.1036534 5/9/19 1:57        -0.0084514        -0.2530913         4.82077E+13 3.0575115 6.70217E+12         -0.0270166        -0.8090571  3.0575115
            714   6070.34       575237               0.1039744 5/9/19 2:02         -0.009959        -0.2982389         4.80568E+13 3.0669809 6.70217E+12         -0.0241909        -0.7244368  3.0669809
            715   6070.64       575238               0.1033994 5/9/19 2:07         -0.009959        -0.2982389         4.83264E+13 3.0500217 6.70217E+12         -0.0192845        -0.5775065  3.0500217



            CONFIDENTIAL                                                                      exelon4_modeling_05092019                                                                       BB100000014
                   A           B                 C                   D              E              F                   G                 H           I               J              K               L
             1 BTC_price block_height breakeven_mining_cost    datetime     day_ahead_LMP day_ahead_LMP_rev est_network_hashrate    mining_rev network_diff real_time_LMP real_time_LMP_rev realized_rev
            716    6066.1       575238               0.1033221 5/9/19 2:12         -0.009959        -0.2982389         4.83264E+13 3.0477407 6.70217E+12          -0.0253576        -0.7593756  3.0477407
            717   6051.34       575238               0.1030707 5/9/19 2:17         -0.009959        -0.2982389         4.83264E+13     3.040325 6.70217E+12       -0.0277084        -0.8297742    3.040325
            718   6061.78       575239               0.1040791 5/9/19 2:22         -0.009959        -0.2982389         4.79408E+13 3.0700698 6.70217E+12          -0.0259793        -0.7779934  3.0700698
            719   6063.51       575239               0.1041088 5/9/19 2:27         -0.009959        -0.2982389         4.79408E+13     3.070946 6.70217E+12       -0.0268247        -0.8033103    3.070946
            720   6069.07       575240               0.1042563 5/9/19 2:32         -0.009959        -0.2982389         4.79168E+13 3.0752977 6.70217E+12          -0.0240329        -0.7197052  3.0752977
            721   6065.45       575242               0.1026794 5/9/19 2:37         -0.009959        -0.2982389         4.86237E+13 3.0287832 6.70217E+12          -0.0250565        -0.7503587  3.0287832
            722   6056.78       575242               0.1025327 5/9/19 2:43         -0.009959        -0.2982389         4.86237E+13 3.0244539 6.70217E+12          -0.0183811        -0.5504527  3.0244539
            723   6054.89       575242               0.1025007 5/9/19 2:48         -0.009959        -0.2982389         4.86237E+13 3.0235101 6.70217E+12          -0.0211004        -0.6318866  3.0235101
            724   6052.82       575243               0.1032503 5/9/19 2:53         -0.009959        -0.2982389         4.82542E+13 3.0456209 6.70217E+12          -0.0280966        -0.8413995  3.0456209
            725   6054.43       575243               0.1032777 5/9/19 2:58         -0.009959        -0.2982389         4.82542E+13     3.046431 6.70217E+12       -0.0255341        -0.7646612    3.046431
            726   6054.32       575244               0.1033884 5/9/19 3:03        -0.0077595        -0.2323712         4.82017E+13     3.049695 6.70217E+12       -0.0035264        -0.1056039    3.049695
            727   6068.65       575246               0.1006368 5/9/19 3:08        -0.0077595        -0.2323712         4.96368E+13 2.9685297 6.70217E+12          -0.0237767        -0.7120329  2.9685297
            728   6068.33       575249               0.0992317 5/9/19 3:13        -0.0077595        -0.2323712           5.0337E+13 2.9270841 6.70217E+12         -0.0227655        -0.6817508  2.9270841
            729   6063.73       575250               0.0992085 5/9/19 3:18        -0.0077595        -0.2323712         5.03106E+13 2.9263997 6.70217E+12          -0.0241747        -0.7239517  2.9263997
            730   6046.71       575250                  0.09893 5/9/19 3:23       -0.0077595        -0.2323712         5.03106E+13 2.9181857 6.70217E+12          -0.0246606        -0.7385028  2.9181857
                                                                                                                                                                                                             Case: 23-1922




            731   6046.74       575251                0.099455 5/9/19 3:28        -0.0077595        -0.2323712         5.00453E+13     2.933671 6.70217E+12       -0.0228565          -0.684476   2.933671
            732   6058.26       575252               0.0992865 5/9/19 3:33        -0.0077595        -0.2323712         5.02257E+13 2.9286995 6.70217E+12          -0.0237663        -0.7117215  2.9286995
            733   6064.08       575252               0.0993819 5/9/19 3:38        -0.0077595        -0.2323712         5.02257E+13     2.931513 6.70217E+12       -0.0229553        -0.6874347    2.931513
            734   6061.98       575252               0.0993474 5/9/19 3:43        -0.0077595        -0.2323712         5.02257E+13 2.9304978 6.70217E+12          -0.0218107        -0.6531578  2.9304978
            735   6061.61       575252               0.0993414 5/9/19 3:48        -0.0077595        -0.2323712         5.02257E+13 2.9303189 6.70217E+12          -0.0228651        -0.6847335  2.9303189
            736   6055.44       575252               0.0992403 5/9/19 3:53        -0.0077595        -0.2323712         5.02257E+13 2.9273362 6.70217E+12          -0.0258057        -0.7727947  2.9273362
            737   6048.17       575253               0.1013391 5/9/19 3:58        -0.0077595        -0.2323712         4.91264E+13 2.9892481 6.70217E+12          -0.0222549        -0.6664601  2.9892481
            738   6036.54       575253               0.1011443 5/9/19 4:03        -0.0064119         -0.192015         4.91264E+13 2.9835001 6.70217E+12          -0.0201096        -0.6022155  2.9835001
            739   6032.68       575254               0.1009675 5/9/19 4:08        -0.0064119         -0.192015           4.9181E+13 2.9782848 6.70217E+12         -0.0220837        -0.6613332  2.9782848
            740   6036.52       575254               0.1010317 5/9/19 4:13        -0.0064119         -0.192015           4.9181E+13 2.9801806 6.70217E+12         -0.0189611        -0.5678217  2.9801806
            741   6048.03       575254               0.1012244 5/9/19 4:18        -0.0064119         -0.192015           4.9181E+13    2.985863 6.70217E+12       -0.0284786        -0.8528391    2.985863
                                                                                                                                                                                                             Document: 39-7




            742   6049.12       575254               0.1012426 5/9/19 4:23        -0.0064119         -0.192015           4.9181E+13 2.9864011 6.70217E+12         -0.0265276        -0.7944132  2.9864011
            743    6047.1       575255                0.102742 5/9/19 4:28        -0.0064119         -0.192015         4.84471E+13 3.0306289 6.70217E+12          -0.0220302        -0.6597311  3.0306289
            744   6040.01       575255               0.1026215 5/9/19 4:33        -0.0064119         -0.192015         4.84471E+13 3.0270756 6.70217E+12          -0.0249572        -0.7473849  3.0270756




Appx13394
            745   6039.32       575256               0.1033913 5/9/19 4:38        -0.0064119         -0.192015         4.80809E+13 3.0497802 6.70217E+12          -0.0273476        -0.8189695  3.0497802
            746   6037.47       575256               0.1033596 5/9/19 4:43        -0.0064119         -0.192015         4.80809E+13 3.0488459 6.70217E+12          -0.0285916        -0.8562231  3.0488459
            747   6046.95       575256               0.1035219 5/9/19 4:48        -0.0064119         -0.192015         4.80809E+13 3.0536332 6.70217E+12          -0.0276954        -0.8293849  3.0536332
            748   6051.57       575256                0.103601 5/9/19 4:53        -0.0064119         -0.192015         4.80809E+13 3.0559662 6.70217E+12          -0.0189461        -0.5673725  3.0559662
                                                                                                                                                                                                             Page: 249




            749   6052.41       575257               0.1025409 5/9/19 4:58        -0.0064119         -0.192015         4.85847E+13 3.0246966 6.70217E+12          -0.0213883        -0.6405083  3.0246966
            750   6058.73       575257                0.102648 5/9/19 5:03         -0.001004        -0.0300665         4.85847E+13     3.027855 6.70217E+12       -0.0284985        -0.8534351    3.027855
            751    6054.8       575258               0.1018989 5/9/19 5:08         -0.001004        -0.0300665         4.89101E+13 3.0057607 6.70217E+12          -0.0254371        -0.7617564  3.0057607
            752   6051.38       575258               0.1018414 5/9/19 5:13         -0.001004        -0.0300665         4.89101E+13 3.0040629 6.70217E+12          -0.0222254        -0.6655766  3.0040629
            753    6048.3       575258               0.1017896 5/9/19 5:18         -0.001004        -0.0300665         4.89101E+13 3.0025339 6.70217E+12          -0.0245437          -0.735002 3.0025339
            754   6051.14       575258               0.1018373 5/9/19 5:23         -0.001004        -0.0300665         4.89101E+13 3.0039438 6.70217E+12          -0.0272051        -0.8147021  3.0039438
            755   6057.19       575258               0.1019392 5/9/19 5:28         -0.001004        -0.0300665         4.89101E+13 3.0069471 6.70217E+12           -0.026005        -0.7787631  3.0069471
            756   6059.15       575259               0.1040181 5/9/19 5:33         -0.001004        -0.0300665         4.79481E+13 3.0682693 6.70217E+12          -0.0148258        -0.4439833  3.0682693
            757   6061.72       575260               0.1037848 5/9/19 5:38         -0.001004        -0.0300665         4.80762E+13 3.0613901 6.70217E+12          -0.0244808        -0.7331184  3.0613901
            758   6057.72       575260               0.1037164 5/9/19 5:43         -0.001004        -0.0300665         4.80762E+13      3.05937 6.70217E+12       -0.0243887        -0.7303603     3.05937
            759    6057.7       575260                0.103716 5/9/19 5:48         -0.001004        -0.0300665         4.80762E+13 3.0593599 6.70217E+12          -0.0198852        -0.5954955  3.0593599
            760   6047.35       575260               0.1035388 5/9/19 5:53         -0.001004        -0.0300665         4.80762E+13 3.0541327 6.70217E+12          -0.0198875        -0.5955643  3.0541327
                                                                                                                                                                                                             Filed: 01/02/2024




            761   6044.98       575261               0.1039808 5/9/19 5:58         -0.001004        -0.0300665         4.78531E+13 3.0671699 6.70217E+12          -0.0198792        -0.5953158  3.0671699
            762   6040.28       575262               0.1043375 5/9/19 6:03         0.0099891         0.2991402         4.76524E+13     3.077692 6.70217E+12       -0.0173633          -0.519973   3.077692
            763   6034.01       575263               0.1041918 5/9/19 6:08         0.0099891         0.2991402         4.76695E+13 3.0733946 6.70217E+12           -0.018275        -0.5472753  3.0733946
            764   6034.26       575263               0.1041961 5/9/19 6:13         0.0099891         0.2991402         4.76695E+13 3.0735219 6.70217E+12          -0.0079803        -0.2389834  3.0735219
            765   6037.47       575263               0.1042516 5/9/19 6:18         0.0099891         0.2991402         4.76695E+13 3.0751569 6.70217E+12          -0.0028126          -0.084228 3.0751569
            766   6035.61       575264               0.1036859 5/9/19 6:23         0.0099891         0.2991402         4.79148E+13 3.0584702 6.70217E+12          -0.0009188          -0.027515 3.0584702



            CONFIDENTIAL                                                                       exelon4_modeling_05092019                                                                       BB100000014
                   A           B                 C                  D              E              F                   G                 H            I              J              K               L
             1 BTC_price block_height breakeven_mining_cost   datetime     day_ahead_LMP day_ahead_LMP_rev est_network_hashrate    mining_rev network_diff real_time_LMP real_time_LMP_rev realized_rev
            767   6032.26       575264               0.1036283 5/9/19 6:28        0.0099891         0.2991402         4.79148E+13 3.0567726 6.70217E+12          -0.0017763        -0.0531943  3.0567726
            768   6035.08       575266               0.1012996 5/9/19 6:33        0.0099891         0.2991402         4.90392E+13     2.988081 6.70217E+12       -0.0029613        -0.0886811    2.988081
            769   6038.27       575266               0.1013531 5/9/19 6:38        0.0099891         0.2991402         4.90392E+13 2.9896604 6.70217E+12          -0.0017698        -0.0529996  2.9896604
            770   6038.35       575267               0.1004336 5/9/19 6:43        0.0099891         0.2991402         4.94889E+13 2.9625364 6.70217E+12          -0.0040978        -0.1227155  2.9625364
            771   6041.06       575267               0.1004787 5/9/19 6:48        0.0099891         0.2991402         4.94889E+13     2.963866 6.70217E+12       -0.0041121        -0.1231437    2.963866
            772    6032.6       575269               0.1003466 5/9/19 6:53        0.0099891         0.2991402         4.94846E+13 2.9599697 6.70217E+12          -0.0017941        -0.0537273  2.9599697
            773   6038.62       575269               0.1004467 5/9/19 6:58        0.0099891         0.2991402         4.94846E+13 2.9629235 6.70217E+12          -0.0169009        -0.5061256  2.9629235
            774   6023.18       575269               0.1001899 5/9/19 7:03         0.015734         0.4711809         4.94846E+13 2.9553477 6.70217E+12          -0.0127165        -0.3808168  2.9553477
            775   6018.06       575270                0.100393 5/9/19 7:08         0.015734         0.4711809         4.93426E+13 2.9613379 6.70217E+12          -0.0057831        -0.1731846  2.9613379
            776   6028.56       575270               0.1005681 5/9/19 7:13         0.015734         0.4711809         4.93426E+13 2.9665047 6.70217E+12          -0.0011814          -0.035379 2.9665047
            777   6023.05       575271               0.1000255 5/9/19 7:18         0.015734         0.4711809         4.95649E+13        2.9505 6.70217E+12      -0.0018878        -0.0565333       2.9505
            778    6002.6       575271               0.0996859 5/9/19 7:23         0.015734         0.4711809         4.95649E+13 2.9404822 6.70217E+12          -0.0019315          -0.057842 2.9404822
            779   6004.55       575271               0.0997183 5/9/19 7:28         0.015734         0.4711809         4.95649E+13 2.9414374 6.70217E+12          -0.0032781        -0.0981682  2.9414374
            780   6023.65       575271               0.1000355 5/9/19 7:33         0.015734         0.4711809         4.95649E+13 2.9507939 6.70217E+12          -0.0044118        -0.1321187  2.9507939
            781   6022.52       575272               0.1006869 5/9/19 7:38         0.015734         0.4711809           4.9235E+13 2.9700094 6.70217E+12         -0.0183056        -0.5481917  2.9700094
                                                                                                                                                                                                             Case: 23-1922




            782   6016.76       575272               0.1005906 5/9/19 7:43         0.015734         0.4711809           4.9235E+13 2.9671688 6.70217E+12          -0.004465        -0.1337119  2.9671688
            783   6007.87       575272                0.100442 5/9/19 7:48         0.015734         0.4711809           4.9235E+13 2.9627847 6.70217E+12         -0.0011594        -0.0347202  2.9627847
            784   5998.51       575272               0.1002855 5/9/19 7:53         0.015734         0.4711809           4.9235E+13 2.9581688 6.70217E+12         -0.0019525        -0.0584709  2.9581688
            785   6004.67       575273                0.101848 5/9/19 7:58         0.015734         0.4711809         4.85294E+13 3.0042572 6.70217E+12           -0.016446        -0.4925029  3.0042572
            786   5986.82       575273               0.1015452 5/9/19 8:03        0.0212738         0.6370794         4.85294E+13 2.9953265 6.70217E+12          -0.0226577        -0.6785226  2.9953265
            787   5966.01       575273               0.1011922 5/9/19 8:08        0.0212738         0.6370794         4.85294E+13 2.9849149 6.70217E+12          -0.0040549        -0.1214307  2.9849149
            788   5975.72       575273               0.1013569 5/9/19 8:13        0.0212738         0.6370794         4.85294E+13     2.989773 6.70217E+12        0.0088876           0.266154   2.989773
            789   5974.19       575273                0.101331 5/9/19 8:18        0.0212738         0.6370794         4.85294E+13 2.9890075 6.70217E+12           0.0059397         0.1778742  2.9890075
            790   5989.16       575275               0.1021458 5/9/19 8:23        0.0212738         0.6370794           4.8263E+13 3.0130416 6.70217E+12           0.005809         0.1739602  3.0130416
            791    5989.1       575275               0.1021448 5/9/19 8:28        0.0212738         0.6370794           4.8263E+13 3.0130114 6.70217E+12          0.0001868           0.005594 3.0130114
            792   5990.38       575275               0.1021666 5/9/19 8:33        0.0212738         0.6370794           4.8263E+13 3.0136553 6.70217E+12          0.0010001         0.0299497  3.0136553
                                                                                                                                                                                                             Document: 39-7




            793   5999.35       575275               0.1023196 5/9/19 8:38        0.0212738         0.6370794           4.8263E+13    3.018168 6.70217E+12       -0.0026113        -0.0781997    3.018168
            794   6009.99       575276               0.1040749 5/9/19 8:43        0.0212738         0.6370794         4.75331E+13 3.0699468 6.70217E+12           0.0003791         0.0113528  3.0699468
            795   6015.23       575276               0.1041657 5/9/19 8:48        0.0212738         0.6370794         4.75331E+13 3.0726234 6.70217E+12           0.0045541         0.1363801  3.0726234




Appx13395
            796   6006.59       575276              0.1040161 5/9/19 8:53         0.0212738         0.6370794         4.75331E+13 3.0682101 6.70217E+12           0.0020439           0.061208 3.0682101
            797  6012.06        575276              0.1041108 5/9/19 8:58         0.0212738         0.6370794         4.75331E+13 3.0710042 6.70217E+12           0.0057903         0.1734002  3.0710042
            798  5997.24        575276              0.1038541 5/9/19 9:03          0.021087         0.6314854         4.75331E+13     3.063434 6.70217E+12        0.0154138         0.4615919    3.063434
            799  6009.31        575277              0.1048522 5/9/19 9:08          0.021087         0.6314854         4.71754E+13 3.0928732 6.70217E+12            0.007881         0.2360097  3.0928732
                                                                                                                                                                                                             Page: 250




            800  6014.99        575277              0.1049513 5/9/19 9:13          0.021087         0.6314854         4.71754E+13 3.0957966 6.70217E+12           0.0015859         0.0474924  3.0957966
            801  6015.14        575277              0.1049539 5/9/19 9:18          0.021087         0.6314854         4.71754E+13 3.0958738 6.70217E+12           0.0110437           0.330722 3.0958738
            802  6010.98        575277              0.1048813 5/9/19 9:23          0.021087         0.6314854         4.71754E+13 3.0937327 6.70217E+12           0.0082541         0.2471828  3.0937327
            803    6015.8       575279              0.1061867 5/9/19 9:28          0.021087         0.6314854         4.66328E+13      3.13224 6.70217E+12        0.0098213         0.2941152     3.13224
            804  6008.98        575281              0.1036694 5/9/19 9:33          0.021087         0.6314854           4.7711E+13 3.0579847 6.70217E+12          0.0137284         0.4111198  3.0579847
            805  6005.02        575281              0.1036011 5/9/19 9:38          0.021087         0.6314854           4.7711E+13 3.0559695 6.70217E+12          0.0148862         0.4457921  3.0559695
            806  5992.86        575281              0.1033913 5/9/19 9:43          0.021087         0.6314854           4.7711E+13 3.0497812 6.70217E+12           0.019156         0.5736583  3.0497812
            807    6001.7       575281              0.1035438 5/9/19 9:48          0.021087         0.6314854           4.7711E+13 3.0542799 6.70217E+12          0.0155476         0.4655988  3.0542799
            808  5996.77        575281              0.1034587 5/9/19 9:53          0.021087         0.6314854           4.7711E+13    3.051771 6.70217E+12        0.0127646         0.3822572    3.051771
            809  5997.26        575281              0.1034672 5/9/19 9:58          0.021087         0.6314854           4.7711E+13 3.0520204 6.70217E+12              0.01036       0.3102475  3.0520204
            810  5995.19        575281              0.1034315 5/9/19 10:03       0.0217322          0.6508069           4.7711E+13    3.050967 6.70217E+12       -0.0001443        -0.0043213   3.050967
            811  5995.19        575281              0.1034315 5/9/19 10:08        0.0217322         0.6508069           4.7711E+13    3.050967 6.70217E+12        0.0134747         0.4035223    3.050967
                                                                                                                                                                                                             Filed: 01/02/2024




            812  5978.15        575281              0.1031375 5/9/19 10:13        0.0217322         0.6508069           4.7711E+13 3.0422953 6.70217E+12          0.0153319         0.4591393  3.0422953
            813  5989.44        575281              0.1033323 5/9/19 10:18        0.0217322         0.6508069           4.7711E+13 3.0480408 6.70217E+12           0.016155         0.4837884  3.0480408
            814  6001.74        575282              0.1070813 5/9/19 10:23        0.0217322         0.6508069         4.61352E+13     3.158626 6.70217E+12        0.0174376           0.522198   3.158626
            815  6010.06        575282              0.1072297 5/9/19 10:28        0.0217322         0.6508069         4.61352E+13 3.1630047 6.70217E+12           0.0234385         0.7019049  3.1630047
            816  6009.71        575283              0.1079065 5/9/19 10:33        0.0217322         0.6508069         4.58431E+13 3.1829698 6.70217E+12           0.0203173         0.6084354  3.1829698
            817  5995.73        575283              0.1076555 5/9/19 10:38        0.0217322         0.6508069         4.58431E+13 3.1755655 6.70217E+12            0.019624         0.5876734  3.1755655



            CONFIDENTIAL                                                                       exelon4_modeling_05092019                                                                       BB100000014
                   A           B                 C                   D              E              F                   G                H           I               J              K               L
             1 BTC_price block_height breakeven_mining_cost    datetime     day_ahead_LMP day_ahead_LMP_rev est_network_hashrate   mining_rev network_diff real_time_LMP real_time_LMP_rev realized_rev
            818   6000.73       575284               0.1065399 5/9/19 10:43        0.0217322         0.6508069         4.63618E+13    3.142657 6.70217E+12        0.0143614         0.4300761    3.142657
            819   6007.62       575284               0.1066622 5/9/19 10:48        0.0217322         0.6508069         4.63618E+13 3.1462654 6.70217E+12          0.0184275         0.5518422  3.1462654
            820   6006.48       575284                0.106642 5/9/19 10:53        0.0217322         0.6508069         4.63618E+13 3.1456683 6.70217E+12          0.0226632         0.6786873  3.1456683
            821   5999.23       575284               0.1065133 5/9/19 10:58        0.0217322         0.6508069         4.63618E+13 3.1418714 6.70217E+12          0.2007318         6.0112483  6.0112483
            822   6004.02       575284               0.1065983 5/9/19 11:03        0.0217961         0.6527205         4.63618E+13     3.14438 6.70217E+12        0.0307427         0.9206414     3.14438
            823   6000.99       575284               0.1065445 5/9/19 11:08        0.0217961         0.6527205         4.63618E+13 3.1427931 6.70217E+12          0.0293874         0.8800547  3.1427931
            824   6003.38       575284               0.1065869 5/9/19 11:13        0.0217961         0.6527205         4.63618E+13 3.1440448 6.70217E+12          0.0349274         1.0459592  3.1440448
            825   6014.88       575284               0.1067911 5/9/19 11:18        0.0217961         0.6527205         4.63618E+13 3.1500675 6.70217E+12          0.0260766         0.7809072  3.1500675
            826   6026.81       575284               0.1070029 5/9/19 11:24        0.0217961         0.6527205         4.63618E+13 3.1563154 6.70217E+12          0.0118225         0.3540445  3.1563154
                                                                                                                                                                                                            Case: 23-1922
                                                                                                                                                                                                            Document: 39-7




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                                                                                                                                                                                                            Filed: 01/02/2024




            CONFIDENTIAL                                                                      exelon4_modeling_05092019                                                                       BB100000014
                 Case: 23-1922            Document: 39-7            Page: 252    Filed: 01/02/2024



  Message
  From :         Austin Storms [austin@bearbox.io]
  on behalf of   Austin Storms <austin@bearbox.io> [austin@bearbox.io]
  Sent:          5/6/2019 4:51:10 PM
  To:            Todd Garland [todd@buysellads.com]
  Subject:       Re : Fwd : EXELON DATA MODELING DUMP 2


  Hey Todd,

  Same! Great talking to you as well and thanks for the advice on not selling myself short - I've been thinking
  about it since out conversation.

  I've got two different models for breakeven - the sheet I sent you is just the breakeven cost to turn_ off your
  miners (where mining_revenue = electricity_cost_opex) in 5-min increments (see below).




  There's another model that amortizes the cost of the miners (S9s or equivalent generation) over a 12-month
  useful life with $0 resale value - but it wasn't done by the time I got to Boston. I just finished converting the
  scripts from local SQLite3 dbs to postgreSQL this morning and will send over some data when it's run for a day
  or two if you're interested.




  So I'm not sure that I need to get the PDUs UL certified themselves - they aren't manufactured, they're simply
  assembled out of existing components. I'm waiting to hear back from them on field-testing requirements and
  will let you know when I do.

  Talk soon!

  A

  Austin M. Storms
  BearBox, LLC


                                                                                                          D
                                                                                                             Bearbox v Lancium
  611 O' Keefe Avenue
                                                                                                              Trial Exhibit
                                                                                                                 TX919


HIGHLY CONFIDENTIAL -ATTORNEYS' EYES ONLY                                                                    8810000908
                                                        Appx13408
                   Case: 23-1922        Document: 39-7           Page: 253        Filed: 01/02/2024



  New Orleans, LA 70113
  austin@bearbox.io

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  requirements related to privacy and confidentiality of such information.


  On Mon, May 6, 2019 at 3:17 PM Todd Garland <todd@buysellads.com> wrote:
   Hi Austin,

   I hope you had a nice time in Boston last week. It was great to put a face to the name and meet in person.

   Question about the sheets .. . what do you factor into the "breakeven_mining_cost"? Is it _all_ of the costs
   (hardware, labor, etc etc) or something else with less subjectivity to it (e.g. the amortization period of the
   hardware is definitely subjective)?

   Do you have a sense what it would take cost wise to get your PDU's certified?

   -Todd

   Austin Storms wrote on 5/3/19 3:51 PM:

   See attached.


   Begin forwarded message:

   From: Austin Storms <austin@bearbox.io>
   Date: May 3, 2019 at 12: 15 :58 PM EDT
   To: Austin Storms <austin@bearbox.io>
   Cc: Ben Hakes <ben@paretoadvisors.com>
   Subject: EXELON DATA MODELING DUMP 2

   See attached.


   Austin M. Storms
   BearBox, LLC
   611 O' Keefe Avenue
   New Orleans, LA 70113
   austin@bearbox.io

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                                                     Appx13409
                  Case: 23-1922           Document: 39-7           Page: 254         Filed: 01/02/2024



  Message
  From :          Austin Storms [austin@bearbox.io]
  on behalf of    Austin Storms <austin@bearbox.io> [austin@bearbox.io]
  Sent:           5/3/2019 2:51:35 PM
  To:             todd@buysellads.com
  Subject:        Fwd: EXELON DATA MODELING DUMP 2
  Attachments:    EXELON4.csv; ATT00002.bin; EXELON7_8.csv; ATT00004.bin; EXELON5_6.csv; ATT00006.bin; EXELON_HPWl.csv;
                  ATT00008.bin; EXELONlO_ll.csv; ATT000lO.bin; EXELON9.csv; ATT00012.bin


  See attached.


  Begin forwarded message:

  From: Austin Storms <austin@bearbox.io>
  Date: May 3, 2019 at 12: 15:58 PM EDT
  To: Austin Storms <austin@bearbox.io>
  Cc: Ben Hakes <ben@paretoadvisors.com>
  Subject: EXELON DATA MODELING DUMP 2

  See attached.


  Austin M. Storms
  BearBox, LLC
  611 O' Keefe Avenue
  New Orleans, LA 70113
  austin@bearbox.io

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                                                                                                                D
                                                                                                                   Bearbox v Lancium
                                                                                                                    Trial Exhibit
                                                                                                                       TX920

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                                                       Appx13411
                           Case: 23-1922                        Document: 39-7                        Page: 255                  Filed: 01/02/2024

       A          B            C                 D                E             F             G                H                      I                  J                K         L
 1 datetime block_height network_diff est_network_hashrate    BTC_price day_ahead_LMP real_time_LMP breakeven_mining_cost    day_ahead_LMP_rev real_time_LMP_rev mining_rev realized_rev
 2    17:54.4      574204 6.35303E+12            5.38327E+13    5320.85        0.0051274     0.0037112             0.0737773            0.1586418          0.1148245 2.2484294   2.2484294
 3    22:57.3      574204 6.35303E+12            5.38327E+13    5320.01        0.0051274     0.0047409             0.0737656            0.1586418          0.1466834 2.2480744   2.2480744
 4    28:00.5      574204 6.35303E+12            5.38327E+13    5319.51        0.0051274     0.0044381             0.0737587            0.1586418          0.1373148 2.2478631   2.2478631
 5    33:03.6      574204 6.35303E+12            5.38327E+13    5321.94        0.0051274     0.0035711             0.0737924            0.1586418          0.1104898     2.24889    2.24889
 6    38:06.6      574205 6.35303E+12            5.30839E+13    5321.95        0.0051274     0.0020195             0.0748335            0.1586418          0.0624833 2.2806172   2.2806172
 7    43:09.6      574205 6.35303E+12            5.30839E+13    5326.19        0.0051274     0.0006489             0.0748931            0.1586418           0.020077 2.2824342   2.2824342
 8    48:12.6      574206 6.35303E+12            5.44532E+13    5326.23        0.0051274     0.0036433             0.0730105            0.1586418          0.1127237 2.2250598   2.2250598
 9    53:15.7      574206 6.35303E+12            5.44532E+13    5327.84        0.0051274     0.0056932             0.0730325            0.1586418          0.1761476 2.2257324   2.2257324
10    58:18.9      574207 6.35303E+12            5.39845E+13     5327.8        0.0051274    -0.0005791              0.073666            0.1586418        -0.0179174 2.2450369    2.2450369
11    03:21.8      574207 6.35303E+12            5.39845E+13     5327.2        0.0003049     0.0011538             0.0736577            0.0094336          0.0356986   2.244784   2.244784
12    08:24.9      574208 6.35303E+12            5.34662E+13    5325.01        0.0003049    -0.0046871             0.0743412            0.0094336        -0.1450189 2.2656139    2.2656139
13    13:28.6      574209 6.35303E+12            5.33477E+13    5325.01        0.0003049     -0.009641             0.0745063            0.0094336        -0.2982925 2.2706452    2.2706452
14    18:31.5      574209 6.35303E+12            5.33477E+13    5321.01        0.0003049    -0.0003526             0.0744503            0.0094336        -0.0109094 2.2689395    2.2689395
15    23:35.0      574210 6.35303E+12            5.36221E+13    5327.95        0.0003049    -0.0001515              0.074166            0.0094336        -0.0046874 2.2602762    2.2602762
16    28:38.3      574212 6.35303E+12            5.54528E+13    5325.19        0.0003049    -0.0193232             0.0716803            0.0094336        -0.5978598    2.184522   2.184522
17    33:41.4      574212 6.35303E+12            5.54528E+13    5323.36        0.0003049    -0.0316161             0.0716557            0.0094336        -0.9782021 2.1837713    2.1837713
18    38:44.4      574215 6.35303E+12            5.58834E+13     5323.1        0.0003049    -0.0307121             0.0711001            0.0094336        -0.9502324 2.1668382    2.1668382
19    43:47.3      574215 6.35303E+12            5.58834E+13     5323.1        0.0003049    -0.0298462             0.0711001            0.0094336        -0.9234414 2.1668382    2.1668382
20    48:50.3      574215 6.35303E+12            5.58834E+13    5325.88        0.0003049    -0.0268598             0.0711372            0.0094336        -0.8310422 2.1679698    2.1679698
21    53:53.3      574215 6.35303E+12            5.58834E+13    5326.72        0.0003049    -0.0306503             0.0711484            0.0094336        -0.9483203 2.1683117    2.1683117
22    58:56.4      574216 6.35303E+12            5.54406E+13    5326.69        0.0003049    -0.0316255             0.0717163            0.0094336          -0.978493 2.1856184   2.1856184
23    03:59.3      574216 6.35303E+12            5.54406E+13    5330.34       -0.0001867    -0.0309598             0.0717654           -0.0057765        -0.9578962    2.187116   2.187116
24    09:02.8      574219 6.35303E+12            5.59245E+13    5330.78       -0.0001867    -0.0034559             0.0711504           -0.0057765        -0.1069255 2.1683719    2.1683719
25    14:05.9      574220 6.35303E+12            5.59914E+13    5329.45       -0.0001867    -0.0195392             0.0710476           -0.0057765        -0.6045428 2.1652392    2.1652392
26    19:08.9      574220 6.35303E+12            5.59914E+13    5343.74       -0.0001867    -0.0179458             0.0712381           -0.0057765        -0.5552431 2.1710449    2.1710449
27    24:11.9      574223 6.35303E+12            5.60912E+13     5334.1       -0.0001867     -0.027899             0.0709831           -0.0057765        -0.8631951 2.1632744    2.1632744
28    29:14.9      574226 6.35303E+12            5.60441E+13     5330.7       -0.0001867     -0.030306             0.0709974           -0.0057765        -0.9376676 2.1637101    2.1637101
29    34:17.9      574226 6.35303E+12            5.60441E+13    5333.77       -0.0001867    -0.0264455             0.0710383           -0.0057765        -0.8182238 2.1649562    2.1649562
30    39:21.0      574227 6.35303E+12            5.56725E+13    5332.07       -0.0001867    -0.0197591             0.0714897           -0.0057765        -0.6113466 2.1787132    2.1787132
31    44:24.0      574227 6.35303E+12            5.56725E+13    5339.99       -0.0001867    -0.0202167             0.0715959           -0.0057765        -0.6255047 2.1819493    2.1819493
32    49:27.4      574228 6.35303E+12            5.52451E+13    5343.15       -0.0001867    -0.0198226             0.0721925           -0.0057765        -0.6133112 2.2001303    2.2001303
33    54:30.5      574229 6.35303E+12              5.5892E+13   5338.61       -0.0001867    -0.0294808             0.0712963           -0.0057765          -0.912136 2.1728179   2.1728179
34    59:33.7      574229 6.35303E+12              5.5892E+13    5336.4       -0.0001867    -0.0238324             0.0712668           -0.0057765        -0.7373745 2.1719184    2.1719184
35    04:36.7      574229 6.35303E+12              5.5892E+13   5340.73       -0.0002365    -0.0191566             0.0713246           -0.0073173        -0.5927052 2.1736808    2.1736808
36    09:39.8      574229 6.35303E+12              5.5892E+13   5341.69       -0.0002365    -0.0309356             0.0713374           -0.0073173        -0.9571475 2.1740715    2.1740715
37    14:43.1      574230 6.35303E+12            5.53347E+13    5347.99       -0.0002365     -0.030382             0.0721408           -0.0073173        -0.9400191 2.1985565    2.1985565
38    19:46.4      574230 6.35303E+12            5.53347E+13    5348.14       -0.0002365    -0.0302146             0.0721428           -0.0073173        -0.9348397 2.1986182    2.1986182
39    24:49.4      574231 6.35303E+12            5.49411E+13    5341.24       -0.0002365    -0.0278795              0.072566           -0.0073173        -0.8625917    2.211515   2.211515
40    29:53.0      574231 6.35303E+12            5.49411E+13    5342.72       -0.0002365    -0.0280598             0.0725861           -0.0073173        -0.8681702 2.2121278    2.2121278
41    34:56.1      574232 6.35303E+12            5.47061E+13    5349.99       -0.0002365    -0.0264476             0.0729971           -0.0073173        -0.8182887 2.2246529    2.2246529
42    39:59.3      574232 6.35303E+12            5.47061E+13    5346.06       -0.0002365    -0.0271937             0.0729435           -0.0073173        -0.8413731 2.2230187    2.2230187
43    45:02.9      574232 6.35303E+12            5.47061E+13    5350.69       -0.0002365    -0.0271939             0.0730067           -0.0073173        -0.8413793    2.224944   2.224944
44    50:06.0      574232 6.35303E+12            5.47061E+13    5358.36       -0.0002365    -0.0287285             0.0731113           -0.0073173        -0.8888598 2.2281334    2.2281334
45    55:09.1      574232 6.35303E+12            5.47061E+13    5358.38       -0.0002365    -0.0279997             0.0731116           -0.0073173        -0.8663107 2.2281417    2.2281417
46    00:12.7      574232 6.35303E+12            5.47061E+13    5374.99        0.0021778    -0.0258886             0.0733382            0.0673811        -0.8009933 2.2350485    2.2350485
47    05:15.7      574233 6.35303E+12            5.35475E+13    5380.56        0.0021778    -0.0030487             0.0750026            0.0673811        -0.0943268 2.2857722    2.2857722
48    10:18.8      574233 6.35303E+12            5.35475E+13    5358.81        0.0021778    -0.0011696             0.0746994            0.0673811        -0.0361874 2.2765324    2.2765324
49    15:21.8      574233 6.35303E+12            5.35475E+13    5362.05        0.0021778    -0.0011696             0.0747446            0.0673811        -0.0361874 2.2779088    2.2779088
50    20:24.8      574233 6.35303E+12            5.35475E+13    5360.02        0.0021778    -0.0182287             0.0747163            0.0673811          -0.563996 2.2770464   2.2770464
51    25:28.4      574234 6.35303E+12            5.31615E+13    5359.43        0.0021778    -0.0150284             0.0752505            0.0673811        -0.4649787 2.2933275    2.2933275
52    30:31.4      574234 6.35303E+12            5.31615E+13    5349.43        0.0021778    -0.0150284             0.0751101            0.0673811        -0.4649787 2.2890484    2.2890484
53    35:34.9      574234 6.35303E+12            5.31615E+13    5344.78        0.0021778    -0.0164614             0.0750448            0.0673811        -0.5093157 2.2870587    2.2870587
54    40:37.9      574236 6.35303E+12            5.29706E+13     5350.2        0.0021778    -0.0316425             0.0753917            0.0673811        -0.9790189 2.2976295    2.2976295
55    45:40.9      574237 6.35303E+12            5.26741E+13    5349.03        0.0021778    -0.0303346             0.0757995            0.0673811        -0.9385525 2.3100592    2.3100592
56    50:43.9      574238 6.35303E+12              5.2719E+13   5355.31        0.0021778    -0.0059234             0.0758238            0.0673811            -0.18327 2.3107995  2.3107995
57    55:46.8      574238 6.35303E+12              5.2719E+13   5349.01        0.0021778    -0.0018265             0.0757346            0.0673811        -0.0565119    2.308081   2.308081
58    00:49.8      574239 6.35303E+12            5.28168E+13    5350.18         0.011704    -0.0315837             0.0756109            0.3621218        -0.9771997 2.3043114    2.3043114
59    05:52.7      574239 6.35303E+12            5.28168E+13    5349.09         0.011704    -0.0304342             0.0755955            0.3621218        -0.9416341    2.303842   2.303842
60    10:55.6      574240 6.35303E+12            5.25658E+13    5348.27         0.011704    -0.0002699             0.0759448            0.3621218        -0.0083507    2.314487   2.314487
61    15:58.4      574243 6.35303E+12            5.35108E+13    5354.35         0.011704     0.0001733             0.0746885            0.3621218          0.0053619      2.2762     2.2762
62    21:01.3      574245 6.35303E+12            5.38531E+13    5358.66         0.011704     0.0007385             0.0742735            0.3621218          0.0228492 2.2635505   2.2635505
63    26:04.2      574246 6.35303E+12            5.41667E+13    5357.51         0.011704    -0.0035407             0.0738276            0.3621218        -0.1095493 2.2499632    2.2499632
64    31:07.4      574246 6.35303E+12            5.41667E+13    5361.77         0.011704    -0.0018346             0.0738863            0.3621218        -0.0567625 2.2517522    2.2517522
65    36:10.5      574246 6.35303E+12            5.41667E+13    5361.98         0.011704     0.0045642             0.0738892            0.3621218          0.1412163 2.2518404   2.2518404
66    41:13.6      574246 6.35303E+12            5.41667E+13    5366.22         0.011704    -0.0158533             0.0739476            0.3621218        -0.4905011 2.2536211    2.2536211
67    46:16.7      574248 6.35303E+12            5.41479E+13    5365.01         0.011704    -0.0018765             0.0739567            0.3621218        -0.0580589 2.2538956    2.2538956
68    51:19.6      574251 6.35303E+12            5.52479E+13    5360.99         0.011704      0.001301             0.0724298            0.3621218          0.0402529 2.2073645   2.2073645
69    56:22.6      574251 6.35303E+12            5.52479E+13     5356.1         0.011704     0.0012559             0.0723638            0.3621218          0.0388575 2.2053511   2.2053511
70    01:25.7      574252 6.35303E+12            5.50584E+13    5358.27        0.0165726     0.0046048             0.0726423            0.5127562          0.1424725 2.2138386   2.2138386
71    06:29.7      574252 6.35303E+12            5.50584E+13    5360.85        0.0165726      0.157986             0.0726772            0.5127562          4.8880868 2.2149045   4.8880868
72    11:34.4      574254 6.35303E+12            5.55733E+13    5360.76        0.0165726     0.0130504             0.0720027            0.5127562          0.4037794 2.1943466   2.1943466
73    16:37.5      574255 6.35303E+12              5.5978E+13   5358.19        0.0165726     0.0094017             0.0714478            0.5127562          0.2908886 2.1774367   2.1774367
74    21:40.6      574256 6.35303E+12            5.57331E+13    5364.52        0.0165726     0.0100556             0.0718465            0.5127562          0.3111203 2.1895872   2.1895872
75    26:43.8      574257 6.35303E+12            5.59531E+13    5368.93        0.0165726     0.0078173             0.0716229            0.5127562          0.2418673   2.182771   2.182771
76    31:46.9      574257 6.35303E+12            5.59531E+13    5369.94        0.0165726     0.0063222             0.0716363            0.5127562          0.1956089 2.1831816   2.1831816
77    36:49.8      574257 6.35303E+12            5.59531E+13    5368.01        0.0165726     0.0062178             0.0716106            0.5127562          0.1923787   2.182397   2.182397
78    41:53.7      574258 6.35303E+12            5.61961E+13    5363.48        0.0165726      0.007283             0.0712408            0.5127562           0.225336 2.1711281   2.1711281
79    46:56.9      574258 6.35303E+12            5.61961E+13    5363.48        0.0165726     0.0070341             0.0712408            0.5127562          0.2176351 2.1711281   2.1711281
80    52:00.0      574258 6.35303E+12            5.61961E+13    5367.12        0.0165726     0.0072728             0.0712892            0.5127562          0.2250204 2.1726015   2.1726015
81    57:06.7      574258 6.35303E+12            5.61961E+13    5368.74        0.0165726     0.0087738             0.0713107            0.5127562          0.2714614 2.1732573   2.1732573
82    02:09.6      574258 6.35303E+12            5.61961E+13    5363.48        0.0168443      0.009364             0.0712408            0.5211626          0.2897222 2.1711281   2.1711281
83    07:12.8      574258 6.35303E+12            5.61961E+13    5360.86        0.0168443      0.013432              0.071206            0.5211626          0.4155861 2.1700675   2.1700675
84    12:16.3      574260 6.35303E+12            5.46276E+13    5360.85        0.0168443     0.0108808             0.0732504            0.5211626           0.336652 2.2323717   2.2323717
85    17:19.2      574260 6.35303E+12            5.46276E+13    5368.73        0.0168443     0.0083528             0.0733581            0.5211626          0.2584356 2.2356531   2.2356531
86    22:22.2      574260 6.35303E+12            5.46276E+13     5367.1        0.0168443     0.0079968             0.0733358            0.5211626           0.247421 2.2349743   2.2349743
87    27:25.3      574260 6.35303E+12            5.46276E+13    5367.89        0.0168443     0.0067041             0.0733466            0.5211626          0.2074249 2.2353033   2.2353033
88    32:28.2      574261 6.35303E+12            5.36607E+13    5369.99        0.0168443     0.0077119             0.0746974            0.5211626          0.2386062 2.2764693   2.2764693
89    37:31.2      574261 6.35303E+12            5.36607E+13    5367.41        0.0168443      0.007023             0.0746615            0.5211626          0.2172916 2.2753756   2.2753756
90    42:34.3      574261 6.35303E+12            5.36607E+13    5361.03        0.0168443     0.0080277             0.0745727            0.5211626           0.248377 2.2726709   2.2726709
91    47:37.2      574261 6.35303E+12            5.36607E+13    5361.94        0.0168443     0.0080701             0.0745854            0.5211626          0.2496889 2.2730567   2.2730567
92    52:40.2      574261 6.35303E+12            5.36607E+13    5373.41        0.0168443     0.0102078             0.0747449            0.5211626          0.3158293 2.2779191   2.2779191
93    57:43.1      574263 6.35303E+12            5.26165E+13    5380.52        0.0168443     0.0081298             0.0763292            0.5211626           0.251536 2.3262005   2.3262005
94    02:46.1      574266 6.35303E+12            5.51716E+13    5372.23        0.0186731     0.0076622             0.0726821            0.5777457          0.2370685   2.215053   2.215053
95    07:49.0      574268 6.35303E+12            5.60115E+13    5366.01        0.0186731     0.0072848             0.0715093            0.5777457          0.2253917  2.1793098  2.1793098




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        A          B            C                 D                 E            F             G                H                       I                  J               K          L
  1 datetime block_height network_diff est_network_hashrate    BTC_price day_ahead_LMP real_time_LMP breakeven_mining_cost     day_ahead_LMP_rev real_time_LMP_rev mining_rev realized_rev
 96    12:51.9      574269 6.35303E+12            5.58958E+13    5350.76       0.0186731       0.008065             0.0714536             0.5777457          0.2495311 2.1776143  2.1776143
 97    17:54.9      574270 6.35303E+12              5.6144E+13   5352.52       0.0186731      0.0075466             0.0711611             0.5777457          0.2334918 2.1686995  2.1686995
 98    22:57.9      574271 6.35303E+12              5.6095E+13   5356.14       0.0186731       0.007405             0.0712715             0.5777457          0.2291107  2.172064   2.172064
 99    28:01.0      574271 6.35303E+12              5.6095E+13   5350.02       0.0186731      0.0072809             0.0711901             0.5777457           0.225271 2.1695821  2.1695821
100    33:04.1      574271 6.35303E+12              5.6095E+13     5354.6      0.0186731      0.0074885              0.071251             0.5777457          0.2316942 2.1714394  2.1714394
101    38:07.2      574273 6.35303E+12            5.53104E+13    5354.48       0.0186731      0.0079015             0.0722601             0.5777457          0.2444724 2.2021917  2.2021917
102    43:10.6      574274 6.35303E+12            5.53441E+13    5355.03       0.0186731      0.0099941             0.0722236             0.5777457          0.3092175 2.2010786  2.2010786
103    48:13.7      574274 6.35303E+12            5.53441E+13    5354.14       0.0186731      0.0113173             0.0722116             0.5777457          0.3501573 2.2007128  2.2007128
104    53:17.4      574274 6.35303E+12            5.53441E+13    5355.18       0.0186731      0.0164817             0.0722256             0.5777457          0.5099438 2.2011403  2.2011403
105    58:20.3      574274 6.35303E+12            5.53441E+13    5369.19       0.0186731      0.0138726             0.0724146             0.5777457          0.4292182 2.2068988  2.2068988
106    03:23.5      574274 6.35303E+12            5.53441E+13     5370.66      0.0212675      0.0091036             0.0724344             0.6580165          0.2816654  2.207503   2.207503
107    08:26.5      574274 6.35303E+12            5.53441E+13     5369.11       0.0212675     0.0082747             0.0724135             0.6580165          0.2560192 2.2068659  2.2068659
108    13:29.7      574274 6.35303E+12            5.53441E+13     5363.09       0.0212675     0.0151147             0.0723323             0.6580165          0.4676488 2.2043915  2.2043915
109    18:32.7      574275 6.35303E+12            5.36343E+13     5365.75       0.0212675     0.0155968             0.0746751             0.6580165           0.482565 2.2757902  2.2757902
110    23:35.6      574275 6.35303E+12            5.36343E+13     5369.99       0.0212675     0.0157182             0.0747341             0.6580165          0.4863211 2.2775885  2.2775885
111    28:38.4      574275 6.35303E+12            5.36343E+13     5367.99       0.0212675     0.0155447             0.0747063             0.6580165           0.480953 2.2767402  2.2767402
112    33:41.8      574277 6.35303E+12            5.50501E+13     5371.77       0.0212675     0.0198338             0.0728363             0.6580165          0.6136578 2.2197521  2.2197521
113    38:45.1      574279 6.35303E+12            5.54528E+13     5384.78       0.0212675     0.0190493             0.0724824             0.6580165          0.5893853 2.2089672  2.2089672
114    43:48.1      574281 6.35303E+12            5.67946E+13     5379.99       0.0212675     0.0170259             0.0707071             0.6580165          0.5267813 2.1548622  2.1548622
115    48:51.0      574281 6.35303E+12            5.67946E+13     5377.85       0.0212675     0.0169016              0.070679             0.6580165          0.5229355  2.154005   2.154005
116    53:54.3      574282 6.35303E+12              5.6096E+13    5375.53       0.0212675     0.0131463             0.0715283             0.6580165          0.4067465 2.1798898  2.1798898
117    58:57.4      574282 6.35303E+12              5.6096E+13    5379.99       0.0212675     0.0178311             0.0715877             0.6580165          0.5516942 2.1816984  2.1816984
118    04:00.6      574283 6.35303E+12            5.56063E+13     5387.53       0.0232187     0.0178063             0.0723193             0.7183866          0.5509269 2.2039945  2.2039945
119    09:05.0      574283 6.35303E+12            5.56063E+13     5405.85       0.0232187     0.0198195             0.0725652             0.7183866          0.6132153  2.211489    2.211489
120    14:08.3      574283 6.35303E+12            5.56063E+13     5409.86       0.0232187      0.019659              0.072619             0.7183866          0.6082495 2.2131295  2.2131295
121    19:11.6      574284 6.35303E+12            5.64188E+13     5401.19       0.0232187      0.020979             0.0714585             0.7183866          0.6490903 2.1777626  2.1777626
122    24:14.7      574284 6.35303E+12            5.64188E+13      5401.3       0.0232187     0.0205583                0.07146            0.7183866          0.6360738 2.1778069  2.1778069
123    29:17.8      574285 6.35303E+12            5.57835E+13     5408.19       0.0232187     0.0200525              0.072366             0.7183866          0.6204244 2.2054203  2.2054203
124    34:20.7      574285 6.35303E+12            5.57835E+13     5406.02       0.0232187     0.0204614              0.072337             0.7183866          0.6330757 2.2045354  2.2045354
125    39:23.6      574285 6.35303E+12            5.57835E+13     5400.59       0.0232187     0.0195542             0.0722643             0.7183866          0.6050069  2.202321    2.202321
126    44:26.7      574285 6.35303E+12            5.57835E+13     5401.93       0.0232187     0.0203561             0.0722823             0.7183866          0.6298177 2.2028675  2.2028675
127    49:29.7      574285 6.35303E+12            5.57835E+13     5404.01       0.0232187     0.0200873             0.0723101             0.7183866          0.6215011 2.2037157  2.2037157
128    54:32.7      574285 6.35303E+12            5.57835E+13     5401.27       0.0232187     0.0203132             0.0722734             0.7183866          0.6284904 2.2025983  2.2025983
129    59:36.0      574285 6.35303E+12            5.57835E+13     5405.56       0.0232187     0.0202868             0.0723309             0.7183866          0.6276736 2.2043478  2.2043478
130    04:39.2      574285 6.35303E+12            5.57835E+13     5407.94       0.0243161     0.0203594             0.0723627             0.7523401          0.6299198 2.2053183  2.2053183
131    09:42.2      574286 6.35303E+12            5.36818E+13     5415.78       0.0243161     0.0205197             0.0753047             0.7523401          0.6348795 2.2949778  2.2949778
132    14:45.4      574287 6.35303E+12            5.50908E+13     5406.57       0.0243161     0.0204524             0.0732539             0.7523401          0.6327973 2.2324797  2.2324797
133    19:48.6      574287 6.35303E+12            5.50908E+13     5390.94       0.0243161     0.0204571             0.0730422             0.7523401          0.6329427 2.2260258  2.2260258
134    24:51.7      574288 6.35303E+12              5.6446E+13    5374.99       0.0243161     0.0204895             0.0710776             0.7523401          0.6339451 2.1661531  2.1661531
135    29:54.9      574288 6.35303E+12              5.6446E+13    5391.07       0.0243161      0.020504             0.0712902             0.7523401          0.6343938 2.1726335  2.1726335
136    34:58.3      574289 6.35303E+12            5.61643E+13     5386.28       0.0243161     0.0215335             0.0715842             0.7523401          0.6662465 2.1815923  2.1815923
137    40:02.0      574289 6.35303E+12            5.61643E+13     5381.99       0.0243161     0.0216111             0.0715272             0.7523401          0.6686474 2.1798548  2.1798548
138    45:05.1      574289 6.35303E+12            5.61643E+13     5375.06       0.0243161     0.0210446             0.0714351             0.7523401          0.6511199 2.1770479  2.1770479
139    50:08.2      574290 6.35303E+12            5.56905E+13     5379.99       0.0243161     0.0216184             0.0721089             0.7523401          0.6688733 2.1975834  2.1975834
140    55:11.2      574292 6.35303E+12            5.59818E+13     5380.89       0.0243161      0.021687             0.0717456             0.7523401          0.6709958 2.1865119  2.1865119
141    00:14.3      574294 6.35303E+12            5.66874E+13     5378.02       0.0257744     0.0216429             0.0708148             0.7974599          0.6696313 2.1581456  2.1581456
142    05:17.2      574295 6.35303E+12            5.71185E+13     5388.44       0.0257744     0.0212776             0.0704165             0.7974599          0.6583289 2.1460054  2.1460054
143    10:20.9      574296 6.35303E+12            5.69506E+13     5391.26       0.0257744     0.0214204              0.070661             0.7974599          0.6627472 2.1534583  2.1534583
144    15:24.1      574298 6.35303E+12            5.77593E+13     5389.31       0.0257744     0.0214204             0.0696465             0.7974599          0.6627472 2.1225393  2.1225393
145    20:27.3      574298 6.35303E+12            5.77593E+13     5388.39       0.0257744     0.0220102             0.0696346             0.7974599          0.6809956  2.122177    2.122177
146    25:31.0      574298 6.35303E+12            5.77593E+13     5393.64       0.0257744      0.025403             0.0697024             0.7974599          0.7859688 2.1242446  2.1242446
147    30:34.5      574299 6.35303E+12            5.69012E+13      5395.3       0.0257744     0.0261091             0.0707755             0.7974599          0.8078156 2.1569462  2.1569462
148    35:39.5      574301 6.35303E+12              5.7613E+13    5391.27       0.0257744     0.0834465             0.0698488             0.7974599          2.5818347 2.1287047  2.5818347
149    40:44.8      574301 6.35303E+12              5.7613E+13    5390.99       0.0257744     0.2182033             0.0698452             0.7974599          6.7512101 2.1285942  6.7512101
150    45:49.0      574302 6.35303E+12            5.77583E+13     5394.98       0.0257744        0.15508             0.069721             0.7974599          4.7981752 2.1248099  4.7981752
151    50:52.9      574302 6.35303E+12            5.77583E+13      5395.4       0.0257744     0.1766657             0.0697264             0.7974599          5.4660368 2.1249753  5.4660368
152    55:56.9      574304 6.35303E+12              5.7411E+13    5395.01       0.0257744      0.174439             0.0701432             0.7974599          5.3971427 2.1376776  5.3971427
153    01:01.0      574305 6.35303E+12              5.8471E+13    5392.45       0.0279426     0.2174554             0.0688389              0.864544          6.7280701 2.0979265  6.7280701
154    06:05.1      574305 6.35303E+12              5.8471E+13     5393.6       0.0279426     0.0374936             0.0688536              0.864544           1.160052 2.0983739  2.0983739
155    11:09.9      574305 6.35303E+12              5.8471E+13    5393.59       0.0279426     0.0279332             0.0688534              0.864544          0.8642532    2.09837    2.09837
156    16:13.3      574307 6.35303E+12            5.89967E+13      5393.1       0.0279426     0.0249637             0.0682337              0.864544          0.7723769 2.0794831  2.0794831
157    21:16.3      574309 6.35303E+12            6.00748E+13     5397.01       0.0279426      0.025771             0.0670578              0.864544          0.7973547 2.0436461  2.0436461
158    26:19.2      574310 6.35303E+12            6.02983E+13     5396.18       0.0279426      0.025585              0.066799              0.864544          0.7915999  2.035759    2.035759
159    31:22.5      574311 6.35303E+12            6.01255E+13     5399.99       0.0279426     0.0297997             0.0670382              0.864544          0.9220027 2.0430488  2.0430488
160    36:25.4      574311 6.35303E+12            6.01255E+13     5402.65       0.0279426     0.0297908             0.0670712              0.864544          0.9217274 2.0440552  2.0440552
161    41:28.4      574312 6.35303E+12            5.99055E+13     5397.01       0.0279426     0.0298367             0.0672472              0.864544          0.9231475 2.0494202  2.0494202
162    46:31.4      574312 6.35303E+12            5.99055E+13     5395.01       0.0279426     0.0256849             0.0672223              0.864544          0.7946908 2.0486608  2.0486608
163    51:34.4      574315 6.35303E+12            5.97623E+13     5393.25       0.0279426     0.0284134             0.0673615              0.864544          0.8791106 2.0529008  2.0529008
164    56:37.4      574315 6.35303E+12            5.97623E+13     5390.48       0.0279426      0.025946             0.0673269              0.864544          0.8027692 2.0518464  2.0518464
165    01:41.6      574315 6.35303E+12            5.97623E+13      5386.7       0.0296022      0.210997             0.0672796             0.9158921          6.5282472 2.0504076  6.5282472
166    06:46.0      574317 6.35303E+12            6.04051E+13     5387.76       0.0296022     0.0271557             0.0665768             0.9158921          0.8401974 2.0289892  2.0289892
167    11:50.0      574319 6.35303E+12              6.0775E+13    5392.75       0.0296022     0.2243785             0.0662328             0.9158921          6.9422708 2.0185049  6.9422708
168    16:54.3      574320 6.35303E+12            6.21737E+13     5393.01       0.0296022     0.0486987              0.064746             0.9158921          1.5067378 1.9731924  1.9731924
169    21:59.4      574320 6.35303E+12            6.21737E+13     5399.78       0.0296022     0.0370626             0.0648273             0.9158921          1.1467168 1.9756694  1.9756694
170    27:02.3      574320 6.35303E+12            6.21737E+13     5404.34       0.0296022     0.0303724              0.064882             0.9158921          0.9397221 1.9773378  1.9773378
171    32:05.3      574321 6.35303E+12            6.17749E+13     5403.12       0.0296022     0.0280097             0.0652861             0.9158921          0.8666201  1.989654    1.989654
172    37:08.3      574321 6.35303E+12            6.17749E+13     5402.68       0.0296022     0.0278751             0.0652808             0.9158921          0.8624556  1.989492    1.989492
173    42:11.3      574321 6.35303E+12            6.17749E+13     5409.99       0.0296022        0.02741            0.0653692             0.9158921          0.8480654 1.9921839  1.9921839
174    47:14.3      574321 6.35303E+12            6.17749E+13     5409.99       0.0296022      0.027605             0.0653692             0.9158921          0.8540987 1.9921839  1.9921839
175    52:17.2      574321 6.35303E+12            6.17749E+13      5413.5       0.0296022     0.0276334             0.0654116             0.9158921          0.8549774 1.9934764  1.9934764
176    57:20.0      574321 6.35303E+12            6.17749E+13     5407.13       0.0296022     0.0265193             0.0653346             0.9158921          0.8205071 1.9911307  1.9911307
177    02:23.3      574321 6.35303E+12            6.17749E+13     5393.15       0.0289028     0.0265406             0.0651657             0.8942526          0.8211662 1.9859827  1.9859827
178    07:26.3      574321 6.35303E+12            6.17749E+13      5395.3       0.0289028      0.026646             0.0651917             0.8942526          0.8244272 1.9867744  1.9867744
179    12:29.4      574321 6.35303E+12            6.17749E+13     5397.72       0.0289028     0.0263766             0.0652209             0.8942526           0.816092 1.9876655  1.9876655
180    17:32.5      574321 6.35303E+12            6.17749E+13     5399.98       0.0289028     0.0264515             0.0652482             0.8942526          0.8184094 1.9884978  1.9884978
181    22:35.6      574321 6.35303E+12            6.17749E+13     5394.06       0.0289028     0.0265902             0.0651767             0.8942526          0.8227008 1.9863178  1.9863178
182    27:38.6      574321 6.35303E+12            6.17749E+13      5393.9       0.0289028      0.026498             0.0651747             0.8942526          0.8198481 1.9862589  1.9862589
183    32:41.7      574322 6.35303E+12              5.8824E+13    5396.06       0.0289028     0.0264345             0.0684716             0.8942526          0.8178834  2.086735    2.086735
184    37:45.1      574322 6.35303E+12              5.8824E+13    5392.94       0.0289028     0.0257328             0.0684321             0.8942526          0.7961728 2.0855284  2.0855284
185    42:48.3      574322 6.35303E+12              5.8824E+13    5392.23       0.0289028     0.0270329              0.068423             0.8942526          0.8363979 2.0852539  2.0852539
186    47:51.7      574323 6.35303E+12            5.85421E+13     5397.35       0.0289028      0.026317             0.0688178             0.8942526           0.814248  2.097283    2.097283
187    52:54.6      574323 6.35303E+12            5.85421E+13     5406.09       0.0289028        0.02719            0.0689292             0.8942526          0.8412586 2.1006792  2.1006792
188    57:58.1      574326 6.35303E+12            5.98016E+13     5402.76       0.0289028     0.0299238             0.0674359             0.8942526          0.9258424 2.0551695  2.0551695
189    03:01.0      574326 6.35303E+12            5.98016E+13     5405.16       0.0298595     0.0354935             0.0674658             0.9238529          1.0981689 2.0560824  2.0560824




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       A          B            C                 D                 E            F             G                H                      I                  J               K          L
 1 datetime block_height network_diff est_network_hashrate    BTC_price day_ahead_LMP real_time_LMP breakeven_mining_cost    day_ahead_LMP_rev real_time_LMP_rev mining_rev realized_rev
190   08:04.2      574326 6.35303E+12            5.98016E+13    5400.27       0.0298595      0.0283365             0.0674048            0.9238529          0.8767313 2.0542223  2.0542223
191   13:10.1      574327 6.35303E+12            5.96067E+13    5403.01       0.0298595      0.0272184             0.0676595            0.9238529          0.8421373 2.0619836  2.0619836
192   18:13.1      574327 6.35303E+12            5.96067E+13    5402.55       0.0298595      0.0254796             0.0676537            0.9238529          0.7883388  2.061808   2.061808
193   23:16.5      574328 6.35303E+12            5.96752E+13    5405.49       0.0298595       0.026922             0.0676129            0.9238529          0.8329667 2.0605642  2.0605642
194   28:19.6      574328 6.35303E+12            5.96752E+13    5407.99       0.0298595      0.0266884             0.0676442            0.9238529          0.8257391 2.0615172  2.0615172
195   33:22.8      574329 6.35303E+12            5.94855E+13    5414.16       0.0298595      0.0268196             0.0679373            0.9238529          0.8297984 2.0704516  2.0704516
196   38:26.4      574330 6.35303E+12            5.97035E+13    5414.16       0.0298595      0.0268326             0.0676893            0.9238529          0.8302006 2.0628912  2.0628912
197   43:29.6      574331 6.35303E+12            5.96567E+13    5411.77       0.0298595      0.0255719             0.0677124            0.9238529          0.7911946 2.0635973  2.0635973
198   48:32.6      574332 6.35303E+12            5.93593E+13    5409.61       0.0298595      0.0266704             0.0680245            0.9238529          0.8251822 2.0731087  2.0731087
199   53:36.1      574333 6.35303E+12              5.9734E+13    5404.43      0.0298595      0.0266612             0.0675331            0.9238529          0.8248975 2.0581326  2.0581326
200   58:39.0      574334 6.35303E+12            5.92562E+13     5401.16       0.0298595     0.0269553             0.0680365            0.9238529           0.833997 2.0734727  2.0734727
201   03:42.1      574335 6.35303E+12              5.9018E+13     5401.4        0.028602     0.0279105             0.0683141            0.8849459          0.8635509 2.0819329  2.0819329
202   08:45.2      574335 6.35303E+12              5.9018E+13    5400.05        0.028602     0.0267242              0.068297            0.8849459          0.8268467 2.0814126  2.0814126
203   13:48.8      574337 6.35303E+12            6.04407E+13     5403.81        0.028602     0.0267657             0.0667358            0.8849459          0.8281308 2.0338321  2.0338321
204   18:51.7      574338 6.35303E+12            6.00814E+13      5403.9        0.028602      0.026525              0.067136            0.8849459          0.8206835 2.0460298  2.0460298
205   23:55.0      574341 6.35303E+12            6.05704E+13     5404.02        0.028602      0.026048             0.0665954            0.8849459          0.8059251 2.0295562  2.0295562
206   28:58.6      574342 6.35303E+12              6.0482E+13    5406.89        0.028602     0.0265109             0.0667282            0.8849459          0.8202472 2.0336015  2.0336015
207   34:01.7      574343 6.35303E+12            5.99395E+13     5402.19        0.028602     0.0255512             0.0672736            0.8849459          0.7905541 2.0502238  2.0502238
208   39:04.8      574343 6.35303E+12            5.99395E+13     5399.98        0.028602     0.0262086             0.0672461            0.8849459          0.8108941 2.0493851  2.0493851
209   44:07.8      574344 6.35303E+12            5.95861E+13     5399.01        0.028602     0.0260242             0.0676328            0.8849459          0.8051887 2.0611697  2.0611697
210   49:11.2      574344 6.35303E+12            5.95861E+13     5394.85        0.028602     0.0266401             0.0675807            0.8849459          0.8242447 2.0595816  2.0595816
211   54:14.4      574344 6.35303E+12            5.95861E+13     5401.23        0.028602     0.0260209             0.0676606            0.8849459          0.8050866 2.0620172  2.0620172
212   59:17.3      574344 6.35303E+12            5.95861E+13     5398.44        0.028602     0.0262469             0.0676256            0.8849459          0.8120791 2.0609521  2.0609521
213   04:21.4      574346 6.35303E+12            5.84022E+13     5394.51       0.0275993     0.2233023             0.0689463            0.8539223          6.9089732 2.1012014  6.9089732
214   09:27.4      574347 6.35303E+12            5.86008E+13      5390.6       0.0275993     0.0264187             0.0686629            0.8539223          0.8173946 2.0925629  2.0925629
215   14:30.5      574347 6.35303E+12            5.86008E+13     5397.94       0.0275993     0.0265111             0.0687564            0.8539223          0.8202534 2.0954122  2.0954122
216   19:33.5      574348 6.35303E+12            5.87322E+13     5396.99       0.0275993     0.0266306             0.0685905            0.8539223          0.8239508 2.0903567  2.0903567
217   24:36.5      574348 6.35303E+12            5.87322E+13     5396.21       0.0275993      0.026318             0.0685806            0.8539223          0.8142789 2.0900545  2.0900545
218   29:41.0      574349 6.35303E+12            5.84595E+13     5396.31       0.0275993     0.2222834             0.0689017            0.8539223          6.8774484 2.0998406  6.8774484
219   34:45.8      574350 6.35303E+12            5.91267E+13     5395.07       0.0275993     0.0360184             0.0681086            0.8539223          1.1144093    2.07567    2.07567
220   39:49.9      574350 6.35303E+12            5.91267E+13     5395.47       0.0275993      0.026792             0.0681136            0.8539223          0.8289445 2.0758239  2.0758239
221   44:54.1      574351 6.35303E+12            5.92508E+13     5395.05       0.0275993     0.0245607             0.0679657            0.8539223          0.7599081 2.0713145  2.0713145
222   49:58.3      574351 6.35303E+12            5.92508E+13     5393.06       0.0275993     0.0251914             0.0679406            0.8539223          0.7794219 2.0705505  2.0705505
223   55:03.7      574351 6.35303E+12            5.92508E+13     5391.73       0.0275993     0.0244349             0.0679238            0.8539223          0.7560158 2.0700399  2.0700399
224   00:06.8      574351 6.35303E+12            5.92508E+13     5391.02       0.0287438     0.0246767             0.0679149            0.8893332          0.7634971 2.0697673  2.0697673
225   05:09.8      574351 6.35303E+12            5.92508E+13     5365.12       0.0287438     0.0247456             0.0675886            0.8893332          0.7656289 2.0598235  2.0598235
226   10:12.8      574351 6.35303E+12            5.92508E+13     5371.89       0.0287438     0.0222708             0.0676739            0.8893332          0.6890586 2.0624227  2.0624227
227   15:16.2      574351 6.35303E+12            5.92508E+13      5379.7       0.0287438     0.0239242             0.0677723            0.8893332          0.7402147 2.0654212  2.0654212
228   20:19.5      574353 6.35303E+12            5.95341E+13      5378.3       0.0287438     0.0226519             0.0674322            0.8893332          0.7008498 2.0550568  2.0550568
229   25:22.4      574353 6.35303E+12            5.95341E+13     5381.03       0.0287438     0.0245188             0.0674664            0.8893332          0.7586117 2.0560999  2.0560999
230   30:25.5      574353 6.35303E+12            5.95341E+13     5392.25       0.0287438      0.024939             0.0676071            0.8893332          0.7716127 2.0603871  2.0603871
231   35:29.0      574353 6.35303E+12            5.95341E+13     5394.16       0.0287438     0.0248882              0.067631            0.8893332          0.7700409 2.0611169  2.0611169
232   40:32.2      574353 6.35303E+12            5.95341E+13     5399.99       0.0287438     0.0245715             0.0677041            0.8893332          0.7602422 2.0633446  2.0633446
233   45:35.1      574355 6.35303E+12            6.01266E+13     5396.88       0.0287438     0.0230276             0.0669983            0.8893332          0.7124739 2.0418346  2.0418346
234   50:38.3      574356 6.35303E+12            6.01278E+13     5394.77       0.0287438     0.0244562             0.0669709            0.8893332          0.7566748 2.0409989  2.0409989
235   55:42.0      574356 6.35303E+12            6.01278E+13      5402.4       0.0287438     0.0216672             0.0670656            0.8893332          0.6703832 2.0438855  2.0438855
236   00:45.1      574357 6.35303E+12            5.98782E+13     5408.98       0.0349099     0.0215159             0.0674272            1.0801123          0.6657019 2.0549051  2.0549051
237   05:48.5      574357 6.35303E+12            5.98782E+13     5415.88       0.0349099      0.021311             0.0675132            1.0801123          0.6593623 2.0575264  2.0575264
238   10:51.8      574359 6.35303E+12            5.99023E+13     5413.47       0.0349099     0.0215195              0.067456            1.0801123          0.6658133 2.0557835  2.0557835
239   15:54.9      574359 6.35303E+12            5.99023E+13     5409.99       0.0349099     0.0216145             0.0674127            1.0801123          0.6687526 2.0544619  2.0544619
240   20:57.9      574360 6.35303E+12              6.0023E+13    5408.83       0.0349099     0.0224358             0.0672626            1.0801123          0.6941637  2.049888    2.049888
241   26:01.1      574360 6.35303E+12              6.0023E+13    5402.81       0.0349099     0.0221931             0.0671877            1.0801123          0.6866545 2.0476064  2.0476064
242   31:04.4      574361 6.35303E+12            5.95038E+13     5407.93       0.0349099      0.024178             0.0678382            1.0801123          0.7480673 2.0674304  2.0674304
243   36:08.0      574361 6.35303E+12            5.95038E+13     5411.14       0.0349099     0.0353979             0.0678785            1.0801123           1.095211 2.0686576  2.0686576
244   41:11.6      574362 6.35303E+12            5.87448E+13     5422.09       0.0349099     0.0235493             0.0688946            1.0801123          0.7286153 2.0996263  2.0996263
245   46:14.8      574362 6.35303E+12            5.87448E+13     5435.74       0.0349099     0.0221814             0.0690681            1.0801123          0.6862925 2.1049121  2.1049121
246   51:17.9      574362 6.35303E+12            5.87448E+13     5435.55       0.0349099     0.0237741             0.0690657            1.0801123          0.7355707 2.1048385  2.1048385
247   56:21.6      574363 6.35303E+12            5.80502E+13     5427.15       0.0349099      0.032206             0.0697841            1.0801123          0.9964536 2.1267343  2.1267343
248   01:24.7      574363 6.35303E+12            5.80502E+13      5428.1       0.0262015     0.0475413             0.0697964            0.8106744          1.4709278 2.1271066  2.1271066
249   06:27.9      574364 6.35303E+12            5.78645E+13     5441.31       0.0262015     0.0428348             0.0701907            0.8106744          1.3253087 2.1391255  2.1391255
250   11:31.0      574364 6.35303E+12            5.78645E+13     5428.95       0.0262015     0.0240965             0.0700313            0.8106744          0.7455457 2.1342664  2.1342664
251   16:33.9      574367 6.35303E+12            5.84533E+13     5433.35       0.0262015     0.0244572              0.069382            0.8106744          0.7567058 2.1144803  2.1144803
252   21:38.4      574367 6.35303E+12            5.84533E+13     5439.23       0.0262015      0.022965             0.0694571            0.8106744          0.7105371 2.1167686  2.1167686
253   26:41.8      574368 6.35303E+12            5.81378E+13     5433.99       0.0262015     0.0212901             0.0697668            0.8106744          0.6587157 2.1262058  2.1262058
254   31:45.4      574368 6.35303E+12            5.81378E+13     5446.09       0.0262015     0.0209848             0.0699221            0.8106744          0.6492697 2.1309403  2.1309403
255   36:48.4      574369 6.35303E+12              5.7527E+13    5440.51       0.0262015     0.0204925             0.0705922            0.8106744           0.634038 2.1513595  2.1513595
256   41:51.9      574370 6.35303E+12            5.73316E+13     5442.44       0.0262015     0.0198587             0.0708579            0.8106744          0.6144282 2.1594579  2.1594579
257   46:55.1      574370 6.35303E+12            5.73316E+13     5449.99       0.0262015     0.0197845             0.0709562            0.8106744          0.6121324 2.1624536  2.1624536
258   51:58.4      574370 6.35303E+12            5.73316E+13     5458.76       0.0262015     0.0194401             0.0710704            0.8106744          0.6014767 2.1659334  2.1659334
259   57:01.5      574373 6.35303E+12            5.75391E+13     5466.97       0.0262015     0.0197032             0.0709205            0.8106744           0.609617 2.1613669  2.1613669
260   02:05.0      574373 6.35303E+12            5.75391E+13     5466.18       0.0202338     0.0193913             0.0709103            0.6260338          0.5999668 2.1610546  2.1610546
261   07:08.3      574373 6.35303E+12            5.75391E+13      5468.2       0.0202338     0.0191518             0.0709365            0.6260338          0.5925567 2.1618532  2.1618532
262   12:11.9      574374 6.35303E+12            5.70787E+13     5462.25       0.0202338     0.0195416             0.0714308            0.6260338          0.6046171 2.1769189  2.1769189
263   17:14.8      574375 6.35303E+12            5.67247E+13     5457.72       0.0202338     0.0192754              0.071817            0.6260338          0.5963809 2.1886876  2.1886876
264   22:17.9      574376 6.35303E+12            5.68162E+13     5459.27       0.0202338     0.0212199             0.0717217            0.6260338          0.6565437  2.185782    2.185782
265   27:21.2      574376 6.35303E+12            5.68162E+13     5455.91       0.0202338     0.0193854             0.0716775            0.6260338          0.5997843 2.1844367  2.1844367
266   32:24.1      574377 6.35303E+12            5.63276E+13     5454.55       0.0202338     0.0196209             0.0722814            0.6260338          0.6070706 2.2028394  2.2028394
267   37:27.2      574377 6.35303E+12            5.63276E+13     5461.19       0.0202338     0.0218394             0.0723693            0.6260338           0.675711  2.205521    2.205521
268   42:30.2      574377 6.35303E+12            5.63276E+13      5464.3       0.0202338     0.0211972             0.0724106            0.6260338          0.6558414  2.206777    2.206777
269   47:33.3      574378 6.35303E+12            5.65074E+13     5471.12       0.0202338     0.0212136             0.0722702            0.6260338          0.6563488 2.2024995  2.2024995
270   52:36.4      574378 6.35303E+12            5.65074E+13      5465.8       0.0202338     0.0207927             0.0721999            0.6260338          0.6433261 2.2003578  2.2003578
271   57:39.3      574378 6.35303E+12            5.65074E+13     5467.45       0.0202338     0.0196864             0.0722217            0.6260338          0.6090972 2.2010221  2.2010221
272   03:12.6      574383 6.35303E+12            5.72964E+13     5476.66       0.0174418     0.0187668             0.0713471            0.5396493          0.5806448 2.1743674  2.1743674
273   08:16.0      574384 6.35303E+12            5.65611E+13     5472.78       0.0174418     0.0187175             0.0722235            0.5396493          0.5791195 2.2010766  2.2010766
274   13:19.1      574384 6.35303E+12            5.65611E+13     5477.51       0.0174418     0.0187832             0.0722859            0.5396493          0.5811522 2.2029789  2.2029789
275   18:22.2      574384 6.35303E+12            5.65611E+13     5475.27       0.0174418     0.0184439             0.0722564            0.5396493          0.5706543  2.202078    2.202078
276   23:25.4      574384 6.35303E+12            5.65611E+13     5485.01       0.0174418     0.0182748             0.0723849            0.5396493          0.5654223 2.2059953  2.2059953
277   28:28.7      574385 6.35303E+12            5.52675E+13     5483.01       0.0174418     0.0178749             0.0740521            0.5396493          0.5530494 2.2568058  2.2568058
278   33:31.7      574386 6.35303E+12              5.5002E+13    5486.59       0.0174418     0.0182033             0.0744582            0.5396493          0.5632101 2.2691808  2.2691808
279   38:35.5      574386 6.35303E+12              5.5002E+13     5489.7       0.0174418     0.0186322             0.0745004            0.5396493          0.5764803  2.270467    2.270467
280   43:38.3      574387 6.35303E+12              5.4816E+13    5485.01       0.0174418     0.0182313             0.0746893            0.5396493          0.5640764 2.2762247  2.2762247
281   48:41.2      574387 6.35303E+12              5.4816E+13    5494.56       0.0174418     0.0183895             0.0748194            0.5396493          0.5689711 2.2801879  2.2801879
282   53:45.0      574387 6.35303E+12              5.4816E+13    5496.86       0.0174418     0.0183358             0.0748507            0.5396493          0.5673097 2.2811424  2.2811424
283   58:48.0      574388  6.35303E+12           5.41076E+13     5491.71       0.0174418     0.0183548             0.0757595            0.5396493          0.5678975 2.3088405  2.3088405




                                                                                                                                                                                   BB10000912
                                                                                             3                                                       HIGHLY CONFIDENTIAL - ATTORNEYS' EYES ONLY


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       A          B            C                 D                 E            F             G                H                      I                  J               K          L
 1 datetime block_height network_diff est_network_hashrate    BTC_price day_ahead_LMP real_time_LMP breakeven_mining_cost    day_ahead_LMP_rev real_time_LMP_rev mining_rev realized_rev
284   03:51.1      574388 6.35303E+12            5.41076E+13    5493.27       0.0165491      0.0183691             0.0757811            0.5120292            0.56834 2.3094963  2.3094963
285   08:54.1      574388 6.35303E+12            5.41076E+13    5497.61       0.0165491      0.0183647             0.0758409            0.5120292          0.5682038  2.311321   2.311321
286   13:57.4      574390 6.35303E+12            5.36713E+13    5491.93       0.0165491      0.0183673             0.0763785            0.5120292          0.5682843 2.3277048  2.3277048
287   19:00.7      574393 6.35303E+12              5.4543E+13   5502.77       0.0165491      0.0188417             0.0753062            0.5120292          0.5829622 2.2950255  2.2950255
288   24:04.5      574393 6.35303E+12              5.4543E+13   5525.72       0.0165491      0.0193995             0.0756203            0.5120292          0.6002205 2.3045972  2.3045972
289   29:07.6      574393 6.35303E+12              5.4543E+13   5538.58       0.0165491      0.0193609             0.0757963            0.5120292          0.5990262 2.3099607  2.3099607
290   34:10.9      574393 6.35303E+12              5.4543E+13   5548.77       0.0165491       0.019547             0.0759358            0.5120292          0.6047842 2.3142106  2.3142106
291   39:14.1      574394 6.35303E+12            5.38779E+13    5544.99       0.0165491      0.0195134             0.0768207            0.5120292          0.6037446 2.3411795  2.3411795
292   44:17.1      574395 6.35303E+12            5.53825E+13    5512.91       0.0165491      0.0198083             0.0743014            0.5120292          0.6128688 2.2644017  2.2644017
293   49:20.1      574395 6.35303E+12            5.53825E+13    5524.53       0.0165491      0.0195319              0.074458            0.5120292           0.604317 2.2691746  2.2691746
294   54:23.3      574395 6.35303E+12            5.53825E+13      5525.3      0.0165491         0.01959            0.0744684            0.5120292          0.6061146 2.2694909  2.2694909
295   59:26.3      574395 6.35303E+12            5.53825E+13    5519.06       0.0165491      0.0192502             0.0743843            0.5120292          0.5956012 2.2669278  2.2669278
296   04:29.4      574395 6.35303E+12            5.53825E+13      5533.7      0.0172292      0.0192508             0.0745816            0.5330714          0.5956198 2.2729411  2.2729411
297   09:32.4      574395 6.35303E+12            5.53825E+13     5530.29      0.0172292      0.0191812             0.0745356            0.5330714          0.5934663 2.2715405  2.2715405
298   14:35.9      574396 6.35303E+12            5.44713E+13     5534.64       0.0172292     0.0190064             0.0758421            0.5330714           0.588058 2.3113551  2.3113551
299   19:39.0      574396 6.35303E+12            5.44713E+13     5544.31       0.0172292     0.0189667             0.0759746            0.5330714          0.5868297 2.3153934  2.3153934
300   24:42.5      574396 6.35303E+12            5.44713E+13     5549.76       0.0172292     0.0190067             0.0760493            0.5330714          0.5880673 2.3176694  2.3176694
301   29:46.0      574397 6.35303E+12            5.38389E+13     5535.92       0.0172292     0.0190806             0.0767506            0.5330714          0.5903538 2.3390422  2.3390422
302   34:48.9      574397 6.35303E+12            5.38389E+13     5548.11       0.0172292     0.0187167             0.0769196            0.5330714          0.5790947 2.3441927  2.3441927
303   39:52.5      574397 6.35303E+12            5.38389E+13     5576.84       0.0172292     0.0189742             0.0773179            0.5330714          0.5870617 2.3563317  2.3563317
304   44:55.6      574397 6.35303E+12            5.38389E+13     5588.49       0.0172292     0.0188554             0.0774794            0.5330714          0.5833861 2.3612541  2.3612541
305   49:58.8      574397 6.35303E+12            5.38389E+13     5580.14       0.0172292     0.0189482             0.0773636            0.5330714          0.5862573 2.3577261  2.3577261
306   55:01.8      574397 6.35303E+12            5.38389E+13     5586.36       0.0172292     0.0194129             0.0774499            0.5330714          0.6006351 2.3603541  2.3603541
307   00:05.2      574398 6.35303E+12            5.24135E+13     5582.24       0.0174125     0.0194554             0.0794975            0.5387428          0.6019501  2.422758   2.422758
308   05:09.1      574399 6.35303E+12            5.22154E+13     5575.01       0.0174125     0.0197929             0.0796957            0.5387428          0.6123923 2.4287994  2.4287994
309   10:12.1      574400 6.35303E+12            5.19602E+13     5555.62       0.0174125     0.0199592             0.0798086            0.5387428          0.6175376 2.4322397  2.4322397
310   15:15.6      574400 6.35303E+12            5.19602E+13     5578.34       0.0174125     0.0198711              0.080135            0.5387428          0.6148118 2.4421865  2.4421865
311   20:18.5      574400 6.35303E+12            5.19602E+13     5579.19       0.0174125     0.0198617             0.0801472            0.5387428           0.614521 2.4425586  2.4425586
312   25:21.5      574401 6.35303E+12            5.14241E+13     5571.72       0.0174125     0.0200228             0.0808744            0.5387428          0.6195054 2.4647197  2.4647197
313   30:24.5      574401 6.35303E+12            5.14241E+13     5570.27       0.0174125     0.0199827             0.0808533            0.5387428          0.6182647 2.4640783  2.4640783
314   35:27.4      574402 6.35303E+12            5.15991E+13     5586.79       0.0174125     0.0207606              0.080818            0.5387428           0.642333 2.4630024  2.4630024
315   40:30.4      574403 6.35303E+12            5.16659E+13     5618.48       0.0174125     0.0202218             0.0811714            0.5387428          0.6256625 2.4737726  2.4737726
316   45:33.7      574404 6.35303E+12            5.22163E+13     5610.56       0.0174125     0.0221828             0.0802027            0.5387428          0.6863358  2.444248    2.444248
317   50:36.6      574405 6.35303E+12            5.26766E+13     5659.03       0.0174125     0.0202739             0.0801886            0.5387428          0.6272745 2.4438195  2.4438195
318   55:39.5      574406 6.35303E+12            5.44332E+13     5660.39       0.0174125     0.0201747             0.0776194            0.5387428          0.6242052  2.365522    2.365522
319   00:42.4      574407 6.35303E+12            5.44179E+13     5674.28       0.0182174     0.0190667             0.0778319            0.5636464          0.5899237 2.3719968  2.3719968
320   05:45.2      574408 6.35303E+12            5.43366E+13     5665.31       0.0182174     0.0196886             0.0778251            0.5636464          0.6091653 2.3717894  2.3717894
321   10:47.9      574408 6.35303E+12            5.43366E+13     5669.02       0.0182174     0.0199558              0.077876            0.5636464          0.6174325 2.3733426  2.3733426
322   15:50.8      574409 6.35303E+12            5.45039E+13     5707.81       0.0182174     0.0201714             0.0781682            0.5636464          0.6241031 2.3822461  2.3822461
323   20:53.8      574409 6.35303E+12            5.45039E+13     5687.02       0.0182174     0.0225138             0.0778835            0.5636464           0.696577 2.3735691  2.3735691
324   25:56.9      574410 6.35303E+12              5.4739E+13     5681.9       0.0182174     0.0207126             0.0774792            0.5636464          0.6408478 2.3612479  2.3612479
325   36:03.0      574410 6.35303E+12              5.4739E+13    5722.07       0.0182174     0.0216808             0.0780269            0.5636464           0.670804 2.3779415  2.3779415
326   41:06.3      574410 6.35303E+12              5.4739E+13    5722.31       0.0182174     0.0214058             0.0780302            0.5636464          0.6622955 2.3780413  2.3780413
327   46:09.6      574410 6.35303E+12              5.4739E+13    5758.38       0.0182174     0.0229584             0.0785221            0.5636464          0.7103329  2.393031    2.393031
328   51:12.9      574410 6.35303E+12              5.4739E+13    5752.53       0.0182174     0.0234792             0.0784423            0.5636464          0.7264464 2.3905999  2.3905999
329   01:18.1      574412 6.35303E+12            5.33495E+13     5778.34       0.0231716      0.024996             0.0808465            0.7169293          0.7733762    2.46387    2.46387
330   06:21.2      574412 6.35303E+12            5.33495E+13     5720.48       0.0231716     0.0224302              0.080037            0.7169293          0.6939904 2.4391986  2.4391986
331   11:24.7      574412 6.35303E+12            5.33495E+13     5706.21       0.0231716     0.0232405             0.0798373            0.7169293          0.7190611 2.4331139  2.4331139
332   16:27.6      574413 6.35303E+12            5.25253E+13     5710.17       0.0231716     0.0234349             0.0811462            0.7169293          0.7250758 2.4730049  2.4730049
333   21:30.3      574413 6.35303E+12            5.25253E+13      5738.9       0.0231716     0.0220916             0.0815545            0.7169293          0.6835141 2.4854476  2.4854476
334   26:33.4      574413 6.35303E+12            5.25253E+13     5729.99       0.0231716     0.0254117             0.0814279            0.7169293           0.786238 2.4815887  2.4815887
335   31:36.2      574414 6.35303E+12            5.19701E+13     5734.45       0.0231716     0.0252112             0.0823619            0.7169293          0.7800345 2.5100531  2.5100531
336   36:39.1      574414 6.35303E+12            5.19701E+13     5744.82       0.0231716      0.025471             0.0825108            0.7169293          0.7880727 2.5145922  2.5145922
337   41:41.9      574416 6.35303E+12            5.19215E+13     5727.38       0.0231716     0.0253676             0.0823374            0.7169293          0.7848735  2.509306    2.509306
338   46:44.7      574418 6.35303E+12            5.19586E+13     5734.35       0.0231716        0.02236            0.0823788            0.7169293          0.6918184  2.510567    2.510567
339   51:47.4      574420 6.35303E+12            5.25895E+13      5719.9       0.0231716     0.0361412             0.0811854            0.7169293          1.1182087 2.4741988  2.4741988
340   56:50.2      574421 6.35303E+12            5.25734E+13     5661.86       0.0231716     0.0233862             0.0803862            0.7169293           0.723569 2.4498404  2.4498404
341   01:53.1      574421 6.35303E+12            5.25734E+13     5685.95       0.0265606     0.0218135             0.0807282             0.821785          0.6749097 2.4602639  2.4602639
342   06:56.0      574423 6.35303E+12            5.29406E+13     5678.18       0.0265606     0.0217023             0.0800587             0.821785          0.6714692 2.4398604  2.4398604
343   11:59.2      574424 6.35303E+12            5.28202E+13     5698.16       0.0265606     0.0217781             0.0805235             0.821785          0.6738144 2.4540273  2.4540273
344   17:02.4      574424 6.35303E+12            5.28202E+13     5677.65       0.0265606      0.028073             0.0802337             0.821785          0.8685786 2.4451943  2.4451943
345   22:05.3      574426 6.35303E+12            5.30049E+13     5685.84       0.0265606     0.0482239             0.0800695             0.821785          1.4920475 2.4401892  2.4401892
346   27:09.9      574426 6.35303E+12            5.30049E+13     5681.85       0.0265606     0.2355911             0.0800133             0.821785          7.2891886 2.4384768  7.2891886
347   32:14.0      574427 6.35303E+12            5.28466E+13     5686.85       0.0265606     0.2281308             0.0803235             0.821785           7.058367 2.4479317    7.058367
348   37:18.6      574427 6.35303E+12            5.28466E+13     5693.47       0.0265606     0.0487972              0.080417             0.821785          1.5097854 2.4507813  2.4507813
349   42:21.3      574428 6.35303E+12              5.2354E+13     5717.6       0.0265606     0.0277079             0.0815177             0.821785          0.8572824 2.4843261  2.4843261
350   47:24.0      574428 6.35303E+12              5.2354E+13    5722.32       0.0265606     0.0280138              0.081585             0.821785           0.866747 2.4863769  2.4863769
351   52:27.1      574428 6.35303E+12              5.2354E+13    5715.88       0.0265606      0.028221             0.0814932             0.821785          0.8731577 2.4835787  2.4835787
352   57:29.7      574429 6.35303E+12            5.15634E+13     5701.89       0.0265606      0.023821             0.0825403             0.821785          0.7370217 2.5154886  2.5154886
353   02:32.4      574429 6.35303E+12            5.15634E+13     5701.69       0.0272743     0.0223137             0.0825374            0.8438668          0.6903859 2.5154004  2.5154004
354   07:35.2      574429 6.35303E+12            5.15634E+13     5712.55       0.0272743     0.0230727             0.0826946            0.8438668          0.7138693 2.5201914  2.5201914
355   12:38.1      574430 6.35303E+12            5.12815E+13     5715.02       0.0272743     0.0232288              0.083185            0.8438668          0.7186991 2.5351378  2.5351378
356   17:41.8      574430 6.35303E+12            5.12815E+13      5703.4       0.0272743     0.0235449             0.0830159            0.8438668          0.7284792 2.5299833  2.5299833
357   22:44.7      574430 6.35303E+12            5.12815E+13     5712.82       0.0272743     0.0235528              0.083153            0.8438668          0.7287236 2.5341619  2.5341619
358   27:47.6      574430 6.35303E+12            5.12815E+13     5729.59       0.0272743     0.0236272             0.0833971            0.8438668          0.7310256  2.541601    2.541601
359   32:50.4      574430 6.35303E+12            5.12815E+13     5736.47       0.0272743     0.0244433             0.0834972            0.8438668          0.7562757 2.5446529  2.5446529
360   37:53.2      574430 6.35303E+12            5.12815E+13      5731.9       0.0272743     0.0241428             0.0834307            0.8438668          0.7469782 2.5426257  2.5426257
361   42:56.3      574430 6.35303E+12            5.12815E+13     5735.01       0.0272743     0.0245142              0.083476            0.8438668          0.7584693 2.5440052  2.5440052
362   47:59.3      574430 6.35303E+12            5.12815E+13     5723.33       0.0272743     0.0472294              0.083306            0.8438668          1.4612776 2.5388241  2.5388241
363   53:02.1      574432 6.35303E+12            4.99455E+13     5721.98       0.0272743     0.0283038             0.0855142            0.8438668          0.8757196 2.6061222  2.6061222
364   58:05.1      574432 6.35303E+12            4.99455E+13     5706.12       0.0272743      0.047005             0.0852772            0.8438668          1.4543347 2.5988986  2.5988986
365   03:08.1      574433 6.35303E+12            4.98413E+13     5717.92       0.0273348     0.0264519             0.0856321            0.8457387          0.8184218 2.6097152  2.6097152
366   08:11.2      574435 6.35303E+12            4.97656E+13     5722.49       0.0273348     0.0235867              0.085831            0.8457387          0.7297725 2.6157766  2.6157766
367   13:14.2      574435 6.35303E+12            4.97656E+13     5731.99       0.0273348      0.024523             0.0859735            0.8457387          0.7587416 2.6201191  2.6201191
368   18:17.4      574437 6.35303E+12            4.98823E+13     5729.41       0.0273348      0.027012             0.0857336            0.8457387          0.8357513    2.61281    2.61281
369   23:20.3      574438 6.35303E+12              4.9928E+13    5727.98       0.0273348     0.0259483             0.0856339            0.8457387          0.8028404 2.6097702  2.6097702
370   28:23.3      574438 6.35303E+12              4.9928E+13    5745.01       0.0273348     0.0476807             0.0858885            0.8457387          1.4752409 2.6175294  2.6175294
371   33:26.3      574441 6.35303E+12            5.04581E+13      5733.7       0.0273348     0.0268104             0.0848189            0.8457387          0.8295138 2.5849309  2.5849309
372   38:29.1      574441 6.35303E+12            5.04581E+13     5748.11       0.0273348     0.0266035              0.085032            0.8457387          0.8231123 2.5914274  2.5914274
373   43:31.9      574442 6.35303E+12            5.28842E+13     5748.47       0.0273348     0.0478517             0.0811362            0.8457387          1.4805316 2.4726991  2.4726991
374   48:35.1      574442 6.35303E+12            5.28842E+13     5745.69       0.0273348     0.0342983              0.081097            0.8457387          1.0611894 2.4715033  2.4715033
375   53:37.9      574442 6.35303E+12            5.28842E+13     5748.13       0.0273348     0.0264623             0.0811314            0.8457387          0.8187436 2.4725529  2.4725529
376   58:40.9      574443 6.35303E+12            5.28228E+13     5739.99       0.0273348     0.0253293             0.0811107            0.8457387          0.7836885 2.4719226  2.4719226
377   03:44.2      574443  6.35303E+12           5.28228E+13     5735.16       0.0298497     0.0255622             0.0810425            0.9235497          0.7908945 2.4698426  2.4698426




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       A          B            C                 D                E            F             G                H                      I                  J              K          L
 1 datetime block_height network_diff est_network_hashrate   BTC_price day_ahead_LMP real_time_LMP breakeven_mining_cost    day_ahead_LMP_rev real_time_LMP_rev mining_rev realized_rev
378   08:47.3      574443 6.35303E+12            5.28228E+13   5746.65       0.0298497      0.0244251             0.0812048            0.9235497          0.7557126 2.4747908  2.4747908
379   13:50.5      574443 6.35303E+12            5.28228E+13   5760.39       0.0298497      0.0246582              0.081399            0.9235497          0.7629247 2.4807079  2.4807079
380   18:53.5      574443 6.35303E+12            5.28228E+13     5759.7      0.0298497      0.0249722             0.0813893            0.9235497          0.7726399 2.4804107  2.4804107
381   23:57.3      574444 6.35303E+12            5.21447E+13   5763.19       0.0298497      0.0248231             0.0824975            0.9235497          0.7680267 2.5141848  2.5141848
382   29:00.1      574445 6.35303E+12            5.19166E+13   5756.99       0.0298497      0.0277305             0.0827709            0.9235497          0.8579817 2.5225189  2.5225189
383   34:03.0      574446 6.35303E+12            5.17083E+13   5752.55       0.0298497      0.0341344             0.0830402            0.9235497          1.0561183 2.5307244  2.5307244
384   44:08.1      574446 6.35303E+12            5.17083E+13   5759.01       0.0298497       0.026299             0.0831334            0.9235497          0.8136911 2.5335664  2.5335664
385   49:11.1      574447 6.35303E+12            5.14685E+13   5756.94       0.0298497      0.0264755             0.0834907            0.9235497           0.819152 2.5444543  2.5444543
386   54:14.3      574448 6.35303E+12            5.19511E+13   5733.43       0.0298497      0.0263969             0.0823773            0.9235497          0.8167201 2.5105227  2.5105227
387   59:17.3      574448 6.35303E+12            5.19511E+13   5719.45       0.0298497      0.0296594             0.0821764            0.9235497          0.9176618 2.5044012  2.5044012
388   04:20.5      574448 6.35303E+12            5.19511E+13   5694.51       0.0289776      0.0266675             0.0818181            0.8965669          0.8250925 2.4934806  2.4934806
389   09:23.7      574449 6.35303E+12            5.17328E+13    5699.65      0.0289776      0.0248567             0.0822376            0.8965669          0.7690663 2.5062642  2.5062642
390   14:27.2      574450 6.35303E+12            5.16724E+13    5715.01       0.0289776     0.0254265             0.0825556            0.8965669          0.7866959 2.5159564  2.5159564
391   19:30.0      574450 6.35303E+12            5.16724E+13    5715.01       0.0289776     0.0257899             0.0825556            0.8965669          0.7979395 2.5159564  2.5159564
392   24:33.5      574450 6.35303E+12            5.16724E+13    5711.26       0.0289776     0.0254494             0.0825014            0.8965669          0.7874044 2.5143055  2.5143055
393   29:36.5      574450 6.35303E+12            5.16724E+13    5720.49       0.0289776     0.0255463             0.0826348            0.8965669          0.7904025 2.5183689  2.5183689
394   34:39.6      574450 6.35303E+12            5.16724E+13    5725.31       0.0289776     0.0252955             0.0827044            0.8965669          0.7826428 2.5204908  2.5204908
395   39:42.4      574452 6.35303E+12            5.09821E+13    5725.01       0.0289776     0.0258846             0.0838198            0.8965669          0.8008695 2.5544843  2.5544843
396   44:46.8      574454 6.35303E+12            5.11925E+13    5714.05       0.0289776     0.0259942             0.0833155            0.8965669          0.8042605 2.5391139  2.5391139
397   49:49.8      574454 6.35303E+12            5.11925E+13    5706.05       0.0289776     0.0248507             0.0831988            0.8965669          0.7688807  2.535559   2.535559
398   54:52.5      574454 6.35303E+12            5.11925E+13    5709.99       0.0289776     0.0240952             0.0832563            0.8965669          0.7455055 2.5373098  2.5373098
399   59:55.4      574454 6.35303E+12            5.11925E+13    5714.98       0.0289776     0.0237491              0.083329            0.8965669          0.7347972 2.5395272  2.5395272
400   04:58.3      574454 6.35303E+12            5.11925E+13    5715.01       0.0314491     0.0249024             0.0833295            0.9730352          0.7704803 2.5395405  2.5395405
401   10:01.4      574454 6.35303E+12            5.11925E+13    5705.02       0.0314491     0.0238843             0.0831838            0.9730352          0.7389802 2.5351013  2.5351013




                                                                                                                                                                                  BB10000912
                                                                                            5                                                       HIGHLY CONFIDENTIAL - ATTORNEYS' EYES ONLY


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                                                                                    Bearbox v Lancium
                                                                                     Trial Exhibit
                                                                                      TX920-2

HIGHLY CONFIDENTIAL - ATTORNEYS' EYES ONLY                                            6B10000913
                                             Appx13417
                          Case: 23-1922                        Document: 39-7                        Page: 261                 Filed: 01/02/2024

       A          B            C                 D                E            F              G                H                      I                  J              K          L
 1 datetime block_height network_diff est_network_hashrate    BTC_price day_ahead_LMP real_time_LMP breakeven_mining_cost    day_ahead_LMP_rev real_time_LMP_rev mining_rev realized_rev
 2    20:03.1      574204 6.35303E+12            5.38327E+13    5320.02       0.0062116      0.0053108             0.0737658            0.1921869          0.1643162 2.2480786  2.2480786
 3    25:07.0      574204 6.35303E+12            5.38327E+13    5320.01       0.0062116      0.0063954             0.0737656            0.1921869          0.1978737 2.2480744  2.2480744
 4    30:10.6      574204 6.35303E+12            5.38327E+13    5319.98       0.0062116      0.0064769             0.0737652            0.1921869          0.2003953 2.2480617  2.2480617
 5    35:13.6      574205 6.35303E+12            5.30839E+13    5325.25       0.0062116      0.0050178             0.0748799            0.1921869          0.1552507 2.2820313  2.2820313
 6    40:16.4      574205 6.35303E+12            5.30839E+13    5321.94       0.0062116      0.0038182             0.0748333            0.1921869          0.1181351 2.2806129  2.2806129
 7    45:19.2      574206 6.35303E+12            5.44532E+13    5326.51       0.0062116      0.0054266             0.0730143            0.1921869           0.167899 2.2251767  2.2251767
 8    50:22.3      574206 6.35303E+12            5.44532E+13    5326.54       0.0062116      0.0076717             0.0730147            0.1921869          0.2373624 2.2251893  2.2251893
 9    55:26.0      574207 6.35303E+12            5.39845E+13    5328.24       0.0062116      0.0011776             0.0736721            0.1921869          0.0364349 2.2452223  2.2452223
10    00:29.0      574207 6.35303E+12            5.39845E+13    5325.77       0.0011643      0.0027475             0.0736379            0.0360234          0.0850077 2.2441815  2.2441815
11    05:31.8      574208 6.35303E+12            5.34662E+13    5325.77       0.0011643     -0.0033173             0.0743518            0.0360234        -0.1026373 2.2659373   2.2659373
12    10:34.6      574208 6.35303E+12            5.34662E+13    5325.01       0.0011643      -0.008352             0.0743412            0.0360234        -0.2584109 2.2656139   2.2656139
13    15:37.4      574209 6.35303E+12            5.33477E+13    5321.01       0.0011643      0.0010002             0.0744503            0.0360234          0.0309462 2.2689395  2.2689395
14    20:40.3      574209 6.35303E+12            5.33477E+13    5321.01       0.0011643       0.001291             0.0744503            0.0360234          0.0399435 2.2689395  2.2689395
15    25:43.5      574210 6.35303E+12            5.36221E+13    5326.26       0.0011643     -0.0191129             0.0741425            0.0360234        -0.5913531 2.2595592   2.2595592
16    30:46.5      574212 6.35303E+12            5.54528E+13    5327.73       0.0011643     -0.0318014             0.0717145            0.0360234        -0.9839353 2.1855639   2.1855639
17    35:49.4      574213 6.35303E+12            5.51131E+13    5321.02       0.0011643     -0.0309552             0.0720657            0.0360234        -0.9577539 2.1962672   2.1962672
18    40:52.8      574215 6.35303E+12            5.58834E+13     5323.1       0.0011643     -0.0303368             0.0711001            0.0360234        -0.9386206 2.1668382   2.1668382
19    45:56.2      574215 6.35303E+12            5.58834E+13     5323.1       0.0011643     -0.0268603             0.0711001            0.0360234        -0.8310577 2.1668382   2.1668382
20    50:59.1      574215 6.35303E+12            5.58834E+13    5326.69       0.0011643     -0.0314096              0.071148            0.0360234          -0.971813 2.1682995  2.1682995
21    56:02.0      574215 6.35303E+12            5.58834E+13    5326.69       0.0011643     -0.0323434              0.071148            0.0360234        -1.0007048 2.1682995   2.1682995
22    01:05.0      574216 6.35303E+12            5.54406E+13    5328.81       0.0005329     -0.0313858             0.0717448            0.0164879        -0.9710767 2.1864882   2.1864882
23    06:08.0      574216 6.35303E+12            5.54406E+13    5330.34       0.0005329     -0.0029529             0.0717654            0.0164879        -0.0913627   2.187116   2.187116
24    11:11.1      574219 6.35303E+12            5.59245E+13    5326.73       0.0005329     -0.0191457             0.0710963            0.0164879          -0.592368 2.1667245  2.1667245
25    16:14.0      574220 6.35303E+12            5.59914E+13    5332.99       0.0005329      -0.017496             0.0710948            0.0164879        -0.5413262 2.1666774   2.1666774
26    21:16.9      574220 6.35303E+12            5.59914E+13    5343.69       0.0005329     -0.0277353             0.0712374            0.0164879        -0.8581302 2.1710246   2.1710246
27    26:20.3      574225 6.35303E+12            5.59876E+13     5336.9       0.0005329     -0.0303035             0.0711518            0.0164879        -0.9375903 2.1684142   2.1684142
28    31:23.1      574226 6.35303E+12            5.60441E+13    5333.74       0.0005329     -0.0262667             0.0710379            0.0164879        -0.8126917 2.1649441   2.1649441
29    36:26.0      574227 6.35303E+12            5.56725E+13    5331.57       0.0005329     -0.0192771              0.071483            0.0164879        -0.5964335 2.1785089   2.1785089
30    41:28.9      574227 6.35303E+12            5.56725E+13    5332.07       0.0005329     -0.0198472             0.0714897            0.0164879        -0.6140724 2.1787132   2.1787132
31    46:31.8      574227 6.35303E+12            5.56725E+13    5343.43       0.0005329     -0.0195084              0.071642            0.0164879        -0.6035899 2.1833549   2.1833549
32    51:34.6      574228 6.35303E+12            5.52451E+13    5343.99       0.0005329     -0.0293344             0.0722038            0.0164879        -0.9076063 2.2004762   2.2004762
33    56:37.6      574229 6.35303E+12              5.5892E+13   5328.81       0.0005329     -0.0236519             0.0711654            0.0164879        -0.7317898 2.1688293   2.1688293
34    01:40.7      574229 6.35303E+12              5.5892E+13   5339.09       0.0004335     -0.0187133             0.0713027            0.0134125        -0.5789895 2.1730133   2.1730133
35    06:43.9      574229 6.35303E+12              5.5892E+13   5341.16       0.0004335     -0.0309148             0.0713303            0.0134125        -0.9565039 2.1738558   2.1738558
36    11:46.8      574230 6.35303E+12            5.53347E+13    5346.19       0.0004335     -0.0303946             0.0721165            0.0134125        -0.9404089 2.1978165   2.1978165
37    16:50.5      574230 6.35303E+12            5.53347E+13    5351.52       0.0004335     -0.0303078             0.0721884            0.0134125        -0.9377233 2.2000077   2.2000077
38    21:53.4      574231 6.35303E+12            5.49411E+13    5346.91       0.0004335     -0.0281596             0.0726431            0.0134125          -0.871258 2.2138627  2.2138627
39    26:56.3      574231 6.35303E+12            5.49411E+13    5345.36       0.0004335     -0.0283143              0.072622            0.0134125        -0.8760444 2.2132209   2.2132209
40    31:59.3      574231 6.35303E+12            5.49411E+13    5345.35       0.0004335     -0.0270691             0.0726219            0.0134125          -0.837518 2.2132168  2.2132168
41    37:02.5      574232 6.35303E+12            5.47061E+13    5343.98       0.0004335     -0.0275323             0.0729151            0.0134125        -0.8518494 2.2221538   2.2221538
42    42:05.7      574232 6.35303E+12            5.47061E+13    5350.73       0.0004335     -0.0275121             0.0730072            0.0134125        -0.8512244 2.2249606   2.2249606
43    47:08.6      574232 6.35303E+12            5.47061E+13    5364.94       0.0004335     -0.0290109             0.0732011            0.0134125        -0.8975972 2.2308695   2.2308695
44    52:11.5      574232 6.35303E+12            5.47061E+13    5358.68       0.0004335     -0.0282604             0.0731157            0.0134125        -0.8743768 2.2282664   2.2282664
45    57:14.5      574232 6.35303E+12            5.47061E+13    5363.38       0.0004335     -0.0265346             0.0731798            0.0134125        -0.8209805 2.2302208   2.2302208
46    02:17.5      574233 6.35303E+12            5.35475E+13    5374.99       0.0030406        -0.02651             0.074925            0.0940762        -0.8202194   2.283406   2.283406
47    07:20.4      574233 6.35303E+12            5.35475E+13    5371.65       0.0030406     -0.0027186             0.0748784            0.0940762        -0.0841135 2.2819871   2.2819871
48    12:23.4      574233 6.35303E+12            5.35475E+13     5364.6       0.0030406     -0.0006889             0.0747801            0.0940762        -0.0213146 2.2789921   2.2789921
49    17:26.7      574233 6.35303E+12            5.35475E+13    5366.68       0.0030406     -0.0182862             0.0748091            0.0940762          -0.565775 2.2798757  2.2798757
50    22:29.5      574234 6.35303E+12            5.31615E+13    5358.76       0.0030406     -0.0018507             0.0752411            0.0940762        -0.0572607 2.2930408   2.2930408
51    27:32.4      574234 6.35303E+12            5.31615E+13    5358.18       0.0030406     -0.0146632              0.075233            0.0940762        -0.4536794 2.2927926   2.2927926
52    32:35.2      574234 6.35303E+12            5.31615E+13    5349.69       0.0030406     -0.0031882             0.0751138            0.0940762        -0.0986429 2.2891597   2.2891597
53    37:38.0      574235 6.35303E+12            5.26774E+13    5347.97       0.0030406     -0.0160738             0.0757796            0.0940762        -0.4973234 2.3094528   2.3094528
54    42:41.4      574236 6.35303E+12            5.29706E+13    5347.88       0.0030406     -0.0316489              0.075359            0.0940762          -0.979217 2.2966332  2.2966332
55    47:44.2      574237 6.35303E+12            5.26741E+13    5352.24       0.0030406     -0.0302898              0.075845            0.0940762        -0.9371664 2.3114455   2.3114455
56    52:47.1      574238 6.35303E+12              5.2719E+13   5350.15       0.0030406     -0.0052788             0.0757508            0.0940762        -0.1633261   2.308573   2.308573
57    57:50.1      574238 6.35303E+12              5.2719E+13   5357.76       0.0030406     -0.0014966             0.0758585            0.0940762        -0.0463048 2.3118566   2.3118566
58    02:52.9      574239 6.35303E+12            5.28168E+13    5351.07       0.0126546     -0.0319016             0.0756235            0.3915333        -0.9870355 2.3046947   2.3046947
59    07:55.6      574240 6.35303E+12            5.25658E+13    5350.11       0.0126546     -0.0306567              0.075971            0.3915333        -0.9485183 2.3152833   2.3152833
60    12:58.4      574243 6.35303E+12            5.35108E+13    5352.35       0.0126546      0.0001377             0.0746606            0.3915333          0.0042604 2.2753498  2.2753498
61    18:01.2      574243 6.35303E+12            5.35108E+13    5353.74       0.0126546      0.0004942               0.07468            0.3915333          0.0152905 2.2759407  2.2759407
62    23:04.0      574245 6.35303E+12            5.38531E+13     5358.7       0.0126546      0.0010492              0.074274            0.3915333          0.0324622 2.2635674  2.2635674
63    28:07.3      574246 6.35303E+12            5.41667E+13    5358.74       0.0126546     -0.0032429             0.0738446            0.3915333        -0.1003353 2.2504797   2.2504797
64    33:10.6      574246 6.35303E+12            5.41667E+13    5361.99       0.0126546     -0.0011916             0.0738894            0.3915333        -0.0368681 2.2518446   2.2518446
65    38:13.3      574246 6.35303E+12            5.41667E+13    5364.93       0.0126546      0.0049583             0.0739299            0.3915333          0.1534098 2.2530793  2.2530793
66    43:16.3      574247 6.35303E+12            5.37144E+13    5365.93       0.0126546      -0.015444             0.0745663            0.3915333        -0.4778374 2.2724742   2.2724742
67    48:19.5      574249 6.35303E+12            5.43573E+13    5360.33       0.0126546     -0.0011564             0.0736074            0.3915333          -0.035779 2.2432526  2.2432526
68    53:23.3      574251 6.35303E+12            5.52479E+13    5359.19       0.0126546      0.0020084             0.0724055            0.3915333          0.0621399 2.2066234  2.2066234
69    58:26.4      574252 6.35303E+12            5.50584E+13    5358.28       0.0126546      0.0019878             0.0726424            0.3915333          0.0615025 2.2138427  2.2138427
70    03:29.4      574252 6.35303E+12            5.50584E+13    5362.38         0.017578     0.0053492              0.072698            0.5438633          0.1655042 2.2155367  2.2155367
71    08:33.3      574253 6.35303E+12            5.55506E+13    5362.51         0.017578     0.1607356             0.0720555            0.5438633          4.9731595  2.195957  4.9731595
72    13:36.3      574254 6.35303E+12            5.55733E+13    5360.24         0.017578     0.0139422             0.0719957            0.5438633          0.4313717 2.1941337  2.1941337
73    18:39.2      574255 6.35303E+12              5.5978E+13   5358.19         0.017578     0.0102406             0.0714478            0.5438633          0.3168442 2.1774367  2.1774367
74    23:42.2      574257 6.35303E+12            5.59531E+13    5367.35         0.017578     0.0108684             0.0716018            0.5438633          0.3362683 2.1821286  2.1821286
75    28:45.1      574257 6.35303E+12            5.59531E+13    5368.93         0.017578     0.0086102             0.0716229            0.5438633          0.2663996  2.182771   2.182771
76    33:48.1      574257 6.35303E+12            5.59531E+13    5368.01         0.017578     0.0070868             0.0716106            0.5438633          0.2192656  2.182397   2.182397
77    38:50.8      574258 6.35303E+12            5.61961E+13    5368.01         0.017578     0.0070146              0.071301            0.5438633          0.2170317 2.1729618  2.1729618
78    43:53.8      574258 6.35303E+12            5.61961E+13    5363.48         0.017578     0.0081289             0.0712408            0.5438633          0.2515082 2.1711281  2.1711281
79    48:56.8      574258 6.35303E+12            5.61961E+13    5363.48         0.017578     0.0078774             0.0712408            0.5438633          0.2437268 2.1711281  2.1711281
80    54:03.4      574258 6.35303E+12            5.61961E+13    5369.24         0.017578     0.0081243             0.0713173            0.5438633          0.2513658 2.1734597  2.1734597
81    59:06.3      574258 6.35303E+12            5.61961E+13     5368.9         0.017578     0.0096472             0.0713128            0.5438633          0.2984844 2.1733221  2.1733221
82    04:09.1      574258 6.35303E+12            5.61961E+13    5360.85       0.0179993      0.0101763             0.0712059            0.5568983          0.3148547 2.1700634  2.1700634
83    09:12.1      574258 6.35303E+12            5.61961E+13    5360.96       0.0179993      0.0142381             0.0712073            0.5568983          0.4405268  2.170108   2.170108
84    14:15.0      574260 6.35303E+12            5.46276E+13    5364.69       0.0179993      0.0117745             0.0733029            0.5568983           0.364303 2.2339708  2.2339708
85    19:18.4      574260 6.35303E+12            5.46276E+13    5368.72       0.0179993      0.0091782             0.0733579            0.5568983          0.2839735 2.2356489  2.2356489
86    24:21.3      574260 6.35303E+12            5.46276E+13    5366.48       0.0179993       0.008879             0.0733273            0.5568983          0.2747163 2.2347162  2.2347162
87    29:24.2      574260 6.35303E+12            5.46276E+13    5367.76       0.0179993      0.0077838             0.0733448            0.5568983          0.2408308 2.2352492  2.2352492
88    34:27.1      574261 6.35303E+12            5.36607E+13    5366.92       0.0179993      0.0086752             0.0746547            0.5568983          0.2684107 2.2751678  2.2751678
89    39:30.1      574261 6.35303E+12            5.36607E+13    5366.01       0.0179993      0.0080915              0.074642            0.5568983           0.250351 2.2747821  2.2747821
90    44:33.0      574261 6.35303E+12            5.36607E+13    5364.41       0.0179993      0.0090579             0.0746197            0.5568983          0.2802514 2.2741038  2.2741038
91    49:35.8      574261 6.35303E+12            5.36607E+13     5364.3       0.0179993      0.0089835             0.0746182            0.5568983          0.2779495 2.2740572  2.2740572
92    54:38.7      574261 6.35303E+12            5.36607E+13    5377.85       0.0179993      0.0111079             0.0748067            0.5568983          0.3436784 2.2798013  2.2798013
93    59:41.4      574264 6.35303E+12            5.43564E+13    5373.51       0.0179993      0.0091005             0.0737896            0.5568983          0.2815695 2.2488057  2.2488057
94    04:44.3      574267 6.35303E+12            5.54387E+13    5366.58       0.0197454      0.0086523             0.0722558            0.6109227          0.2677022 2.2020604  2.2020604
95    09:47.0      574268 6.35303E+12            5.60115E+13    5357.31       0.0197454       0.008352             0.0713933            0.6109227          0.2584109 2.1757765  2.1757765




                                                                                                                                                                                   BB10000914
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        A          B            C                 D                 E            F             G                H                       I                  J               K          L
  1 datetime block_height network_diff est_network_hashrate    BTC_price day_ahead_LMP real_time_LMP breakeven_mining_cost     day_ahead_LMP_rev real_time_LMP_rev mining_rev realized_rev
 96    14:50.2      574269 6.35303E+12            5.58958E+13    5342.94       0.0197454      0.0091438             0.0713492             0.6109227          0.2829092 2.1744317  2.1744317
 97    19:53.4      574270 6.35303E+12              5.6144E+13   5354.22       0.0197454      0.0085778             0.0711837             0.6109227          0.2653971 2.1693883  2.1693883
 98    24:56.4      574271 6.35303E+12              5.6095E+13   5356.83       0.0197454      0.0083666             0.0712807             0.6109227          0.2588626 2.1723438  2.1723438
 99    29:59.3      574271 6.35303E+12              5.6095E+13   5351.83       0.0197454      0.0082673             0.0712142             0.6109227          0.2557903 2.1703161  2.1703161
100    35:02.8      574272 6.35303E+12            5.54087E+13    5355.01       0.0197454      0.0084139             0.0721391             0.6109227          0.2603261 2.1985034  2.1985034
101    40:06.4      574273 6.35303E+12            5.53104E+13    5355.83       0.0197454      0.0088342             0.0722783             0.6109227          0.2733301 2.2027469  2.2027469
102    45:09.3      574274 6.35303E+12            5.53441E+13    5354.54       0.0197454      0.0108837              0.072217             0.6109227          0.3367417 2.2008772  2.2008772
103    50:12.2      574274 6.35303E+12            5.53441E+13    5352.64       0.0197454      0.0122486             0.0721913             0.6109227          0.3789717 2.2000962  2.2000962
104    55:15.6      574274 6.35303E+12            5.53441E+13    5355.99       0.0197454      0.0149968             0.0722365             0.6109227           0.464001 2.2014732  2.2014732
105    00:19.1      574274 6.35303E+12            5.53441E+13    5375.12       0.0222325      0.0101231             0.0724945             0.6878735          0.3132087 2.2093362  2.2093362
106    05:21.9      574274 6.35303E+12            5.53441E+13     5371.63      0.0222325      0.0092988             0.0724475             0.6878735          0.2877049 2.2079017  2.2079017
107    10:25.1      574274 6.35303E+12            5.53441E+13     5367.35       0.0222325     0.0159435             0.0723897             0.6878735          0.4932919 2.2061425  2.2061425
108    15:27.9      574274 6.35303E+12            5.53441E+13     5362.88       0.0222325     0.0163429             0.0723295             0.6878735          0.5056493 2.2043052  2.2043052
109    20:30.7      574275 6.35303E+12            5.36343E+13         5367      0.0222325     0.0162985             0.0746925             0.6878735          0.5042756 2.2763203  2.2763203
110    25:33.4      574275 6.35303E+12            5.36343E+13     5371.56       0.0222325     0.0160846             0.0747559             0.6878735          0.4976575 2.2782544  2.2782544
111    30:36.1      574276 6.35303E+12               5.309E+13    5370.52       0.0222325     0.0202582             0.0755079             0.6878735          0.6267887 2.3011697  2.3011697
112    35:39.0      574278 6.35303E+12            5.49235E+13     5373.23       0.0222325     0.0194913             0.0730239             0.6878735          0.6030608 2.2254696  2.2254696
113    40:41.9      574281 6.35303E+12            5.67946E+13     5385.74       0.0222325     0.0175595             0.0707827             0.6878735          0.5432909 2.1571652  2.1571652
114    45:45.1      574281 6.35303E+12            5.67946E+13     5380.67       0.0222325     0.0174214              0.070716             0.6878735          0.5390181 2.1551345  2.1551345
115    50:48.4      574281 6.35303E+12            5.67946E+13     5377.85       0.0222325     0.0137409              0.070679             0.6878735          0.4251434  2.154005   2.154005
116    55:51.4      574282 6.35303E+12              5.6096E+13    5376.85       0.0222325     0.0182958             0.0715459             0.6878735          0.5660721 2.1804251  2.1804251
117    00:54.6      574282 6.35303E+12              5.6096E+13    5379.99       0.0242054     0.0181581             0.0715877             0.7489151          0.5618116 2.1816984  2.1816984
118    05:57.8      574283 6.35303E+12            5.56063E+13     5400.03       0.0242054     0.0202376             0.0724871             0.7489151          0.6261513 2.2091081  2.2091081
119    11:00.8      574283 6.35303E+12            5.56063E+13     5401.02       0.0242054     0.0201139             0.0725003             0.7489151          0.6223241 2.2095131  2.2095131
120    16:04.4      574283 6.35303E+12            5.56063E+13     5410.51       0.0242054     0.0214443             0.0726277             0.7489151          0.6634866 2.2133954  2.2133954
121    21:08.0      574284 6.35303E+12            5.64188E+13     5401.01       0.0242054     0.0210331             0.0714561             0.7489151          0.6507641    2.17769    2.17769
122    26:11.4      574284 6.35303E+12            5.64188E+13     5401.31       0.0242054     0.0205184             0.0714601             0.7489151          0.6348393 2.1778109  2.1778109
123    31:14.5      574285 6.35303E+12            5.57835E+13     5409.35       0.0242054     0.0209267             0.0723816             0.7489151          0.6474721 2.2058933  2.2058933
124    36:17.4      574285 6.35303E+12            5.57835E+13      5396.6       0.0242054     0.0200056              0.072211             0.7489151          0.6189733 2.2006939  2.2006939
125    41:20.3      574285 6.35303E+12            5.57835E+13     5405.56       0.0242054     0.0208363             0.0723309             0.7489151          0.6446751 2.2043478  2.2043478
126    46:23.1      574285 6.35303E+12            5.57835E+13      5401.1       0.0242054      0.020561             0.0722712             0.7489151          0.6361573  2.202529    2.202529
127    51:26.0      574285 6.35303E+12            5.57835E+13     5400.14       0.0242054     0.0208137             0.0722583             0.7489151          0.6439759 2.2021375  2.2021375
128    56:29.0      574285 6.35303E+12            5.57835E+13     5401.59       0.0242054      0.020787             0.0722777             0.7489151          0.6431498 2.2027288  2.2027288
129    01:32.2      574285 6.35303E+12            5.57835E+13     5405.56       0.0252561      0.020855             0.0723309             0.7814237          0.6452537 2.2043478  2.2043478
130    06:35.5      574285 6.35303E+12            5.57835E+13     5409.65       0.0252561     0.0210312             0.0723856             0.7814237          0.6507053 2.2060156  2.2060156
131    11:38.4      574286 6.35303E+12            5.36818E+13     5410.84       0.0252561     0.0209883              0.075236             0.7814237           0.649378 2.2928844  2.2928844
132    16:41.6      574287 6.35303E+12            5.50908E+13     5403.01       0.0252561     0.0209925             0.0732057             0.7814237           0.649508 2.2310097  2.2310097
133    21:44.7      574288 6.35303E+12              5.6446E+13    5380.86       0.0252561     0.0210373             0.0711552             0.7814237          0.6508941 2.1685188  2.1685188
134    26:47.7      574288 6.35303E+12              5.6446E+13    5384.99       0.0252561     0.0210425             0.0712098             0.7814237           0.651055 2.1701832  2.1701832
135    31:50.7      574289 6.35303E+12            5.61643E+13     5388.52       0.0252561      0.022109              0.071614             0.7814237          0.6840525 2.1824996  2.1824996
136    36:53.9      574289 6.35303E+12            5.61643E+13     5385.01       0.0252561     0.0221868             0.0715673             0.7814237          0.6864596 2.1810779  2.1810779
137    41:57.0      574289 6.35303E+12            5.61643E+13     5382.53       0.0252561     0.0216043             0.0715343             0.7814237           0.668437 2.1800735  2.1800735
138    47:00.1      574289 6.35303E+12            5.61643E+13     5379.16       0.0252561     0.0221915             0.0714896             0.7814237           0.686605 2.1787085  2.1787085
139    52:03.4      574292 6.35303E+12            5.59818E+13     5379.99       0.0252561     0.0222715             0.0717336             0.7814237          0.6890802 2.1861462  2.1861462
140    57:06.3      574293 6.35303E+12            5.63654E+13     5381.68       0.0252561     0.0222386             0.0712679             0.7814237          0.6880623 2.1719525  2.1719525
141    02:09.5      574294 6.35303E+12            5.66874E+13     5378.04       0.0264225     0.0216911             0.0708151             0.8175122          0.6711226 2.1581537  2.1581537
142    07:12.4      574295 6.35303E+12            5.71185E+13     5388.44       0.0264225     0.0218905             0.0704165             0.8175122          0.6772921 2.1460054  2.1460054
143    12:15.4      574296 6.35303E+12            5.69506E+13     5391.26       0.0264225     0.0220556              0.070661             0.8175122          0.6824003 2.1534583  2.1534583
144    17:18.3      574298 6.35303E+12            5.77593E+13     5388.44       0.0264225     0.0244837             0.0696352             0.8175122          0.7575257 2.1221966  2.1221966
145    22:21.3      574298 6.35303E+12            5.77593E+13     5392.01       0.0264225     0.0226768             0.0696814             0.8175122          0.7016202 2.1236027  2.1236027
146    27:24.6      574298 6.35303E+12            5.77593E+13     5397.27       0.0264225     0.0261908             0.0697494             0.8175122          0.8103434 2.1256743  2.1256743
147    32:27.7      574300 6.35303E+12            5.74492E+13      5392.2       0.0264225     0.0269438                0.07006            0.8175122          0.8336412 2.1351406  2.1351406
148    37:31.8      574301 6.35303E+12              5.7613E+13    5391.27       0.0264225     0.0860346             0.0698488             0.8175122          2.6619105 2.1287047  2.6619105
149    42:35.9      574301 6.35303E+12              5.7613E+13    5391.55       0.0264225     0.2246863             0.0698524             0.8175122          6.9517941 2.1288153  6.9517941
150    47:40.3      574302 6.35303E+12            5.77583E+13     5397.52       0.0264225     0.1597185             0.0697538             0.8175122          4.9416904 2.1258102  4.9416904
151    52:44.3      574302 6.35303E+12            5.77583E+13     5396.44       0.0264225     0.1817049             0.0697399             0.8175122          5.6219496 2.1253849  5.6219496
152    57:48.1      574305 6.35303E+12              5.8471E+13    5390.94       0.0264225     0.1794976             0.0688196             0.8175122          5.5536557  2.097339  5.5536557
153    02:52.0      574305 6.35303E+12              5.8471E+13    5391.58       0.0287826     0.2238323             0.0688278             0.8905336          6.9253714  2.097588  6.9253714
154    07:55.1      574305 6.35303E+12              5.8471E+13    5393.02       0.0287826     0.0385992             0.0688461             0.8905336          1.1942592 2.0981483  2.0981483
155    12:58.1      574306 6.35303E+12            5.85526E+13     5393.03       0.0287826     0.0287708             0.0687504             0.8905336          0.8901686 2.0952297  2.0952297
156    18:01.0      574309 6.35303E+12            6.00748E+13     5395.99       0.0287826     0.0257429             0.0670451             0.8905336          0.7964853 2.0432598  2.0432598
157    23:03.8      574309 6.35303E+12            6.00748E+13     5395.98       0.0287826        0.02657             0.067045             0.8905336          0.8220758  2.043256    2.043256
158    28:06.6      574310 6.35303E+12            6.02983E+13     5397.49       0.0287826     0.0264104             0.0668152             0.8905336          0.8171378 2.0362532  2.0362532
159    33:09.8      574311 6.35303E+12            6.01255E+13     5398.95       0.0287826     0.0307645             0.0670253             0.8905336          0.9518536 2.0426553  2.0426553
160    38:13.1      574312 6.35303E+12            5.99055E+13     5397.51       0.0287826     0.0307598             0.0672535             0.8905336          0.9517082 2.0496101  2.0496101
161    43:15.9      574312 6.35303E+12            5.99055E+13     5396.26       0.0287826     0.0308105             0.0672379             0.8905336          0.9532769 2.0491354  2.0491354
162    48:18.6      574314 6.35303E+12            5.98595E+13      5395.6       0.0287826     0.0265074             0.0672813             0.8905336           0.820139 2.0504592  2.0504592
163    53:21.7      574315 6.35303E+12            5.97623E+13     5391.83       0.0287826      0.029322             0.0673437             0.8905336          0.9072227 2.0523603  2.0523603
164    58:24.3      574315 6.35303E+12            5.97623E+13     5389.24       0.0287826     0.0267833             0.0673114             0.8905336          0.8286753 2.0513744  2.0513744
165    03:28.3      574317 6.35303E+12            6.04051E+13     5387.74       0.0305043     0.2178286             0.0665766              0.943803          6.7396169 2.0289816  6.7396169
166    08:31.2      574317 6.35303E+12            6.04051E+13     5389.07       0.0305043     0.0280361              0.066593              0.943803          0.8674369 2.0294825  2.0294825
167    13:35.6      574320 6.35303E+12            6.21737E+13     5394.18       0.0305043      0.231619                0.06476             0.943803          7.1662919 1.9736205  7.1662919
168    18:38.5      574320 6.35303E+12            6.21737E+13     5398.38       0.0305043     0.0502744             0.0648105              0.943803          1.5554899 1.9751572  1.9751572
169    23:41.4      574320 6.35303E+12            6.21737E+13      5403.1       0.0305043     0.0382162             0.0648671              0.943803          1.1824092 1.9768841  1.9768841
170    28:44.2      574320 6.35303E+12            6.21737E+13     5406.31       0.0305043     0.0313252             0.0649057              0.943803          0.9692017 1.9780586  1.9780586
171    33:47.2      574321 6.35303E+12            6.17749E+13     5402.68       0.0305043     0.0288967             0.0652808              0.943803          0.8940639  1.989492    1.989492
172    38:49.7      574321 6.35303E+12            6.17749E+13     5407.64       0.0305043     0.0287713             0.0653408              0.943803           0.890184 1.9913185  1.9913185
173    43:52.5      574321 6.35303E+12            6.17749E+13      5407.6       0.0305043     0.0282878             0.0653403              0.943803          0.8752245 1.9913038  1.9913038
174    48:55.3      574321 6.35303E+12            6.17749E+13     5409.48       0.0305043     0.0284715              0.065363              0.943803          0.8809082 1.9919961  1.9919961
175    53:58.0      574321 6.35303E+12            6.17749E+13     5414.01       0.0305043     0.0284908             0.0654177              0.943803          0.8815054 1.9936642  1.9936642
176    59:00.7      574321 6.35303E+12            6.17749E+13     5398.73       0.0305043     0.0273469             0.0652331              0.943803          0.8461131 1.9880375  1.9880375
177    04:04.0      574321 6.35303E+12            6.17749E+13     5392.99       0.0297972     0.0273754             0.0651637             0.9219254          0.8469949 1.9859238  1.9859238
178    09:06.9      574321 6.35303E+12            6.17749E+13     5391.48       0.0297972     0.0274988             0.0651455             0.9219254          0.8508129 1.9853677  1.9853677
179    14:10.1      574321 6.35303E+12            6.17749E+13     5395.84       0.0297972     0.0272488             0.0651982             0.9219254          0.8430779 1.9869732  1.9869732
180    19:13.1      574321 6.35303E+12            6.17749E+13     5394.88       0.0297972     0.0273184             0.0651866             0.9219254          0.8452313 1.9866197  1.9866197
181    24:16.0      574321 6.35303E+12            6.17749E+13     5394.01       0.0297972     0.0274422             0.0651761             0.9219254          0.8490617 1.9862994  1.9862994
182    29:18.8      574321 6.35303E+12            6.17749E+13     5393.45       0.0297972     0.0273455             0.0651693             0.9219254          0.8460698 1.9860931  1.9860931
183    34:22.0      574322 6.35303E+12              5.8824E+13    5392.88       0.0297972     0.0272903             0.0684313             0.9219254          0.8443619 2.0855052  2.0855052
184    39:25.3      574322 6.35303E+12              5.8824E+13    5394.38       0.0297972     0.0265887             0.0684503             0.9219254          0.8226544 2.0860853  2.0860853
185    44:28.3      574323 6.35303E+12            5.85421E+13     5392.66       0.0297972      0.027943              0.068758             0.9219254          0.8645564 2.0954606  2.0954606
186    49:31.3      574323 6.35303E+12            5.85421E+13     5399.52       0.0297972     0.0271998             0.0688454             0.9219254          0.8415618 2.0981263  2.0981263
187    54:34.1      574324 6.35303E+12            5.81584E+13     5403.19       0.0297972     0.0281051             0.0693467             0.9219254          0.8695718 2.1134037  2.1134037
188    59:37.0      574326 6.35303E+12            5.98016E+13     5404.52       0.0297972     0.0309303             0.0674579             0.9219254          0.9569835  2.055839    2.055839
189    04:39.8      574326  6.35303E+12           5.98016E+13     5400.73       0.0307976     0.0366302             0.0674106             0.9528777          1.1333384 2.0543973  2.0543973




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       A          B            C                 D                 E            F             G                H                      I                  J               K          L
 1 datetime block_height network_diff est_network_hashrate    BTC_price day_ahead_LMP real_time_LMP breakeven_mining_cost    day_ahead_LMP_rev real_time_LMP_rev mining_rev realized_rev
190   14:45.4      574327 6.35303E+12            5.96067E+13    5402.51       0.0307976      0.0281076             0.0676532            0.9528777          0.8696491 2.0617928  2.0617928
191   19:48.1      574328 6.35303E+12            5.96752E+13    5405.01       0.0307976      0.0263111             0.0676069            0.9528777          0.8140654 2.0603812  2.0603812
192   24:52.0      574328 6.35303E+12            5.96752E+13    5405.56       0.0307976      0.0278043             0.0676138            0.9528777           0.860265 2.0605909  2.0605909
193   29:55.2      574328 6.35303E+12            5.96752E+13    5413.98       0.0307976      0.0275948             0.0677191            0.9528777          0.8537831 2.0638005  2.0638005
194   34:58.7      574329 6.35303E+12            5.94855E+13    5414.16       0.0307976      0.0277464             0.0679373            0.9528777          0.8584736 2.0704516  2.0704516
195   40:01.7      574330 6.35303E+12            5.97035E+13    5414.01       0.0307976      0.0277264             0.0676874            0.9528777          0.8578548 2.0628341  2.0628341
196   50:08.1      574333 6.35303E+12              5.9734E+13   5408.31       0.0307976      0.0275529             0.0675816            0.9528777          0.8524867 2.0596102  2.0596102
197   55:11.1      574333 6.35303E+12              5.9734E+13   5400.01       0.0307976      0.0275835             0.0674779            0.9528777          0.8534335 2.0564494  2.0564494
198   00:14.4      574334 6.35303E+12            5.92562E+13    5403.11       0.0296508      0.0278574              0.068061            0.9173958           0.861908 2.0742213  2.0742213
199   05:17.4      574335 6.35303E+12              5.9018E+13   5400.72       0.0296508      0.0288549             0.0683055            0.9173958          0.8927706 2.0816708  2.0816708
200   10:20.4      574337 6.35303E+12            6.04407E+13     5401.43      0.0296508      0.0276696             0.0667064            0.9173958          0.8560974 2.0329364  2.0329364
201   15:23.6      574337 6.35303E+12            6.04407E+13     5403.84       0.0296508     0.0274339             0.0667361            0.9173958          0.8488049 2.0338434  2.0338434
202   20:26.4      574340 6.35303E+12            6.01388E+13     5404.02       0.0296508     0.0269979             0.0670734            0.9173958           0.835315   2.044123  2.044123
203   25:29.5      574342 6.35303E+12              6.0482E+13    5407.99       0.0296508     0.0274831             0.0667418            0.9173958          0.8503271 2.0340152  2.0340152
204   30:32.3      574342 6.35303E+12              6.0482E+13    5405.55       0.0296508     0.0264784             0.0667116            0.9173958          0.8192417 2.0330975  2.0330975
205   35:35.1      574343 6.35303E+12            5.99395E+13     5400.01       0.0296508     0.0271096             0.0672465            0.9173958           0.838771 2.0493965  2.0493965
206   40:37.9      574343 6.35303E+12            5.99395E+13     5399.02       0.0296508     0.0269728             0.0672341            0.9173958          0.8345384 2.0490207  2.0490207
207   50:43.2      574344 6.35303E+12            5.95861E+13     5394.85       0.0296508     0.0269754             0.0675807            0.9173958          0.8346189 2.0595816  2.0595816
208   55:45.9      574344 6.35303E+12            5.95861E+13     5398.35       0.0296508      0.027175             0.0676245            0.9173958          0.8407945 2.0609177  2.0609177
209   00:50.4      574345 6.35303E+12            5.83668E+13     5398.44       0.0287107     0.2314886             0.0690384            0.8883091          7.1622573 2.1040074  7.1622573
210   05:53.3      574346 6.35303E+12            5.84022E+13     5394.51       0.0287107     0.0273792             0.0689463            0.8883091          0.8471124 2.1012014  2.1012014
211   10:57.2      574347 6.35303E+12            5.86008E+13     5396.65       0.0287107     0.0274463             0.0687399            0.8883091          0.8491885 2.0949115  2.0949115
212   16:00.2      574347 6.35303E+12            5.86008E+13     5399.98       0.0287107     0.0276066             0.0687824            0.8883091          0.8541482 2.0962041  2.0962041
213   21:03.3      574348 6.35303E+12            5.87322E+13      5397.6       0.0287107     0.0272933             0.0685982            0.8883091          0.8444547 2.0905929  2.0905929
214   26:08.2      574348 6.35303E+12            5.87322E+13     5396.94       0.0287107     0.2304047             0.0685898            0.8883091          7.1287214 2.0903373  7.1287214
215   31:11.2      574349 6.35303E+12            5.84595E+13     5395.06       0.0287107     0.0373191             0.0688857            0.8883091           1.154653 2.0993542  2.0993542
216   36:14.1      574350 6.35303E+12            5.91267E+13      5395.1       0.0287107     0.0277184             0.0681089            0.8883091          0.8576073 2.0756815  2.0756815
217   41:17.0      574350 6.35303E+12            5.91267E+13     5395.85       0.0287107     0.0254041             0.0681184            0.8883091          0.7860029 2.0759701  2.0759701
218   46:19.8      574351 6.35303E+12            5.92508E+13     5395.02       0.0287107     0.0261363             0.0679653            0.8883091          0.8086571   2.071303   2.071303
219   51:22.9      574351 6.35303E+12            5.92508E+13     5393.06       0.0287107     0.0253255             0.0679406            0.8883091           0.783571 2.0705505  2.0705505
220   01:28.4      574351 6.35303E+12            5.92508E+13     5390.01       0.0299929        0.02562            0.0679022            0.9279803          0.7926828 2.0693795  2.0693795
221   06:31.2      574351 6.35303E+12            5.92508E+13     5374.44       0.0299929     0.0230599              0.067706            0.9279803          0.7134733 2.0634017  2.0634017
222   11:34.1      574351 6.35303E+12            5.92508E+13     5371.81       0.0299929     0.0231322             0.0676729            0.9279803          0.7157103   2.062392   2.062392
223   16:37.1      574352 6.35303E+12            5.79249E+13      5372.6       0.0299929     0.0247667             0.0692321            0.9279803          0.7662817 2.1099115  2.1099115
224   26:42.4      574353 6.35303E+12            5.95341E+13     5384.99       0.0299929     0.0253659             0.0675161            0.9279803          0.7848209 2.0576131  2.0576131
225   31:45.3      574353 6.35303E+12            5.95341E+13     5393.61       0.0299929      0.025794             0.0676241            0.9279803          0.7980664 2.0609068  2.0609068
226   41:50.8      574353 6.35303E+12            5.95341E+13     5401.49       0.0299929     0.0254275             0.0677229            0.9279803          0.7867268 2.0639177  2.0639177
227   46:53.9      574356 6.35303E+12            6.01278E+13     5393.39       0.0299929      0.023825             0.0669538            0.9279803          0.7371455 2.0404768  2.0404768
228   51:57.5      574356 6.35303E+12            6.01278E+13      5401.9       0.0299929     0.0253189             0.0670594            0.9279803          0.7833668 2.0436963  2.0436963
229   57:00.7      574357 6.35303E+12            5.98782E+13     5404.01       0.0299929     0.0224156             0.0673653            0.9279803          0.6935387 2.0530169  2.0530169
230   02:03.8      574357 6.35303E+12            5.98782E+13     5410.44        0.036492     0.0222551             0.0674454            1.1290625          0.6885728 2.0554597  2.0554597
231   07:07.6      574357 6.35303E+12            5.98782E+13     5413.48        0.036492     0.0220381             0.0674833            1.1290625          0.6818588 2.0566147  2.0566147
232   12:11.1      574359 6.35303E+12            5.99023E+13     5412.99        0.036492     0.0222681             0.0674501            1.1290625           0.688975 2.0556012  2.0556012
233   17:14.5      574360 6.35303E+12              6.0023E+13    5413.64        0.036492     0.0223594             0.0673224            1.1290625          0.6917998 2.0517109  2.0517109
234   22:17.6      574360 6.35303E+12              6.0023E+13    5409.57        0.036492     0.0232117             0.0672718            1.1290625             0.71817 2.0501684 2.0501684
235   27:20.8      574360 6.35303E+12              6.0023E+13     5403.2        0.036492      0.022951             0.0671926            1.1290625          0.7101039 2.0477543  2.0477543
236   32:24.8      574361 6.35303E+12            5.95038E+13     5409.65        0.036492     0.0250046             0.0678598            1.1290625          0.7736423   2.068088   2.068088
237   37:27.9      574361 6.35303E+12            5.95038E+13     5414.99        0.036492     0.0365942             0.0679268            1.1290625          1.1322245 2.0701294  2.0701294
238   42:31.0      574362 6.35303E+12            5.87448E+13     5422.88        0.036492     0.0243161             0.0689047            1.1290625          0.7523401 2.0999322  2.0999322
239   47:34.5      574362 6.35303E+12            5.87448E+13     5432.58        0.036492     0.0229003             0.0690279            1.1290625          0.7085353 2.1036884  2.1036884
240   52:37.7      574362 6.35303E+12            5.87448E+13     5428.01        0.036492     0.0245215             0.0689699            1.1290625          0.7586952 2.1019188  2.1019188
241   57:42.1      574363 6.35303E+12            5.80502E+13     5427.15        0.036492     0.0332235             0.0697841            1.1290625          1.0279351 2.1267343  2.1267343
242   02:45.1      574364 6.35303E+12            5.78645E+13     5427.23       0.0274366     0.0490236             0.0700091            0.8488884          1.5167902 2.1335902  2.1335902
243   07:48.2      574364 6.35303E+12            5.78645E+13     5441.99       0.0274366     0.0440935             0.0701995            0.8488884          1.3642529 2.1393928  2.1393928
244   12:51.1      574365 6.35303E+12            5.73396E+13     5428.97       0.0274366     0.0247736             0.0706726            0.8488884          0.7664952 2.1538115  2.1538115
245   17:54.2      574367 6.35303E+12            5.84533E+13     5439.06       0.0274366     0.0251483              0.069455            0.8488884          0.7780884 2.1167024  2.1167024
246   22:58.5      574367 6.35303E+12            5.84533E+13     5434.48       0.0274366     0.0235975             0.0693965            0.8488884          0.7301067 2.1149201  2.1149201
247   28:01.7      574368 6.35303E+12            5.81378E+13      5438.3       0.0274366     0.0218651             0.0698221            0.8488884          0.6765062 2.1278923  2.1278923
248   33:04.7      574368 6.35303E+12            5.81378E+13     5439.66       0.0274366     0.0215412             0.0698396            0.8488884          0.6664847 2.1284244  2.1284244
249   38:08.0      574369 6.35303E+12              5.7527E+13    5442.57       0.0274366      0.021035             0.0706189            0.8488884          0.6508229 2.1521741  2.1521741
250   43:11.1      574370 6.35303E+12            5.73316E+13     5444.99       0.0274366     0.0203824             0.0708911            0.8488884          0.6306315 2.1604697  2.1604697
251   48:14.4      574370 6.35303E+12            5.73316E+13     5471.73       0.0274366     0.0203027             0.0712392            0.8488884          0.6281655 2.1710796  2.1710796
252   53:17.3      574370 6.35303E+12            5.73316E+13     5469.28       0.0274366     0.0199351             0.0712073            0.8488884           0.616792 2.1701075  2.1701075
253   58:21.3      574373 6.35303E+12            5.75391E+13     5468.81       0.0274366     0.0202047             0.0709444            0.8488884          0.6251334 2.1620944  2.1620944
254   03:24.3      574373 6.35303E+12            5.75391E+13     5471.06       0.0211425     0.0198863             0.0709736             0.654149          0.6152821 2.1629839  2.1629839
255   08:27.3      574374 6.35303E+12            5.70787E+13     5464.23       0.0211425     0.0196411             0.0714567             0.654149          0.6076956   2.177708   2.177708
256   13:30.2      574374 6.35303E+12            5.70787E+13     5456.01       0.0211425     0.0200366             0.0713492             0.654149          0.6199324 2.1744321  2.1744321
257   18:33.0      574375 6.35303E+12            5.67247E+13     5460.16       0.0211425     0.0197672             0.0718491             0.654149          0.6115972 2.1896661  2.1896661
258   23:35.9      574376 6.35303E+12            5.68162E+13     5459.27       0.0211425     0.0218005             0.0717217             0.654149          0.6745075   2.185782   2.185782
259   28:38.8      574376 6.35303E+12            5.68162E+13     5454.55       0.0211425     0.0198778             0.0716596             0.654149          0.6150191 2.1838922  2.1838922
260   33:41.8      574377 6.35303E+12            5.63276E+13     5458.01       0.0211425     0.0200894             0.0723272             0.654149           0.621566 2.2042367  2.2042367
261   38:44.5      574377 6.35303E+12            5.63276E+13      5466.4       0.0211425     0.0223136             0.0724384             0.654149          0.6903828 2.2076251  2.2076251
262   43:47.4      574377 6.35303E+12            5.63276E+13     5465.31       0.0211425     0.0216094             0.0724239             0.654149          0.6685948 2.2071849  2.2071849
263   53:53.8      574378 6.35303E+12            5.65074E+13      5467.7       0.0211425     0.0211707              0.072225             0.654149          0.6550215 2.2011227  2.2011227
264   58:56.5      574379 6.35303E+12            5.75462E+13      5464.7       0.0211425     0.0200281             0.0708824             0.654149          0.6196694 2.1602037  2.1602037
265   04:31.5      574384 6.35303E+12            5.65611E+13     5475.86       0.0182998     0.0190671             0.0722642            0.5661958          0.5899361 2.2023153  2.2023153
266   09:34.6      574384 6.35303E+12            5.65611E+13     5473.44       0.0182998     0.0190221             0.0722322            0.5661958          0.5885438   2.201342   2.201342
267   19:40.1      574384 6.35303E+12            5.65611E+13     5478.95       0.0182998     0.0187179             0.0723049            0.5661958          0.5791318 2.2035581  2.2035581
268   24:43.3      574384 6.35303E+12            5.65611E+13     5485.86       0.0182998     0.0185384             0.0723961            0.5661958          0.5735781 2.2063372  2.2063372
269   29:46.2      574385 6.35303E+12            5.52675E+13     5483.01       0.0182998     0.0181898             0.0740521            0.5661958          0.5627924 2.2568058  2.2568058
270   34:49.1      574386 6.35303E+12              5.5002E+13    5487.88       0.0182998      0.018495             0.0744757            0.5661958          0.5722353 2.2697143  2.2697143
271   39:52.0      574387 6.35303E+12              5.4816E+13     5489.7       0.0182998     0.0189422             0.0747532            0.5661958          0.5860717   2.278171   2.278171
272   44:54.7      574387 6.35303E+12              5.4816E+13    5485.01       0.0182998     0.0185212             0.0746893            0.5661958          0.5730459 2.2762247  2.2762247
273   49:57.6      574387 6.35303E+12              5.4816E+13     5494.4       0.0182998     0.0186646             0.0748172            0.5661958          0.5774827 2.2801215  2.2801215
274   55:00.6      574387 6.35303E+12              5.4816E+13    5492.41       0.0182998     0.0186275             0.0747901            0.5661958          0.5763349 2.2792957  2.2792957
275   00:04.1      574388 6.35303E+12            5.41076E+13     5491.83       0.0173139      0.018643             0.0757612            0.5356921          0.5768144 2.3088909  2.3088909
276   05:07.1      574388 6.35303E+12            5.41076E+13     5492.55       0.0173139     0.0186361             0.0757711            0.5356921          0.5766009 2.3091936  2.3091936
277   10:10.2      574388 6.35303E+12            5.41076E+13     5499.47       0.0173139     0.0186041             0.0758666            0.5356921          0.5756109 2.3121029  2.3121029
278   15:13.2      574390 6.35303E+12            5.36713E+13     5499.81       0.0173139     0.0185912             0.0764881            0.5356921          0.5752117 2.3310446  2.3310446
279   20:16.0      574393 6.35303E+12              5.4543E+13    5532.69       0.0173139     0.0190842             0.0757157            0.5356921          0.5904651 2.3075042  2.3075042
280   30:21.8      574393 6.35303E+12              5.4543E+13    5536.93       0.0173139     0.0198275             0.0757737            0.5356921          0.6134629 2.3092726  2.3092726
281   35:25.0      574393 6.35303E+12              5.4543E+13    5564.48       0.0173139      0.019795             0.0761508            0.5356921          0.6124573 2.3207628  2.3207628
282   40:28.0      574394 6.35303E+12            5.38779E+13     5538.44       0.0173139      0.020088             0.0767299            0.5356921          0.6215227 2.3384139  2.3384139
283   45:31.1      574395  6.35303E+12           5.53825E+13     5520.08       0.0173139     0.0197988              0.074398            0.5356921          0.6125749  2.2673468 2.2673468




                                                                                                                                                                                   BB10000914
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       A          B            C                 D                 E            F             G                H                      I                  J                K         L
 1 datetime block_height network_diff est_network_hashrate    BTC_price day_ahead_LMP real_time_LMP breakeven_mining_cost    day_ahead_LMP_rev real_time_LMP_rev mining_rev realized_rev
284   50:33.9      574395 6.35303E+12            5.53825E+13    5520.48       0.0173139      0.0198422             0.0744034            0.5356921          0.6139177 2.2675111   2.2675111
285   55:36.8      574395 6.35303E+12            5.53825E+13    5515.98       0.0173139      0.0194883             0.0743428            0.5356921           0.602968 2.2656627   2.2656627
286   00:39.8      574395 6.35303E+12            5.53825E+13    5518.69       0.0179626       0.019462             0.0743793            0.5557628          0.6021543 2.2667759   2.2667759
287   05:43.2      574395 6.35303E+12            5.53825E+13    5531.68       0.0179626      0.0194192             0.0745544            0.5557628             0.60083 2.2721114  2.2721114
288   10:46.2      574395 6.35303E+12            5.53825E+13    5530.89       0.0179626      0.0192349             0.0745437            0.5557628          0.5951278 2.2717869   2.2717869
289   15:49.8      574396 6.35303E+12            5.44713E+13      5541.2      0.0179626      0.0191897              0.075932            0.5557628          0.5937293 2.3140947   2.3140947
290   20:52.7      574396 6.35303E+12            5.44713E+13    5544.69       0.0179626      0.0191963             0.0759798            0.5557628          0.5939335 2.3155521   2.3155521
291   25:55.6      574396 6.35303E+12            5.44713E+13    5552.98       0.0179626      0.0192925             0.0760934            0.5557628             0.59691 2.3190142  2.3190142
292   30:58.6      574397 6.35303E+12            5.38389E+13    5536.99       0.0179626      0.0189288             0.0767654            0.5557628          0.5856571 2.3394943   2.3394943
293   36:02.2      574397 6.35303E+12            5.38389E+13    5549.99       0.0179626      0.0191736             0.0769456            0.5557628          0.5932312 2.3449871   2.3449871
294   41:05.2      574397 6.35303E+12            5.38389E+13    5578.73       0.0179626       0.019072             0.0773441            0.5557628          0.5900877 2.3571303   2.3571303
295   46:08.4      574397 6.35303E+12            5.38389E+13    5587.27       0.0179626      0.0191605             0.0774625            0.5557628          0.5928259 2.3607386   2.3607386
296   51:11.5      574397 6.35303E+12            5.38389E+13     5577.62      0.0179626       0.019671             0.0773287            0.5557628          0.6086207 2.3566613   2.3566613
297   56:14.6      574397 6.35303E+12            5.38389E+13     5578.43       0.0179626      0.019726             0.0773399            0.5557628          0.6103224 2.3570036   2.3570036
298   01:18.0      574398 6.35303E+12            5.24135E+13     5585.77       0.0181708      0.020031             0.0795478            0.5622046          0.6197591     2.42429    2.42429
299   06:21.5      574399 6.35303E+12            5.22154E+13     5570.36       0.0181708     0.0201913             0.0796293            0.5622046          0.6247188 2.4267736   2.4267736
300   11:24.3      574400 6.35303E+12            5.19602E+13      5563.2       0.0181708     0.0200017             0.0799175            0.5622046          0.6188526 2.4355582   2.4355582
301   16:27.3      574400 6.35303E+12            5.19602E+13     5579.23       0.0181708     0.0200965             0.0801478            0.5622046          0.6217857 2.4425761   2.4425761
302   21:30.3      574400 6.35303E+12            5.19602E+13     5571.91       0.0181708     0.0200908             0.0800426            0.5622046          0.6216094 2.4393714   2.4393714
303   26:33.2      574401 6.35303E+12            5.14241E+13     5570.27       0.0181708     0.0202515             0.0808533            0.5622046          0.6265814 2.4640783   2.4640783
304   31:36.5      574402 6.35303E+12            5.15991E+13     5562.53       0.0181708     0.0202163             0.0804671            0.5622046          0.6254923 2.4523071   2.4523071
305   36:39.4      574402 6.35303E+12            5.15991E+13     5598.28       0.0181708     0.0209438             0.0809843            0.5622046          0.6480012 2.4680679   2.4680679
306   41:42.1      574404 6.35303E+12            5.22163E+13     5622.51       0.0181708     0.0204391             0.0803735            0.5622046          0.6323858 2.4494541   2.4494541
307   46:45.3      574405 6.35303E+12            5.26766E+13     5610.46       0.0181708      0.022443             0.0795004            0.5622046          0.6943864 2.4228448   2.4228448
308   51:48.2      574406 6.35303E+12            5.44332E+13     5697.34       0.0181708     0.0205015             0.0781261            0.5622046          0.6343164 2.3809636   2.3809636
309   56:50.9      574407 6.35303E+12            5.44179E+13     5660.07       0.0181708      0.020423              0.077637            0.5622046          0.6318876 2.3660567   2.3660567
310   06:56.4      574408 6.35303E+12            5.43366E+13     5661.93       0.0189944     0.0199466             0.0777787            0.5876867          0.6171478 2.3703744   2.3703744
311   11:59.9      574409 6.35303E+12            5.45039E+13      5688.4       0.0189944     0.0202274             0.0779024            0.5876867          0.6258358 2.3741451   2.3741451
312   17:03.3      574409 6.35303E+12            5.45039E+13     5705.82       0.0189944     0.0204858             0.0781409            0.5876867          0.6338307 2.3814156   2.3814156
313   22:06.7      574409 6.35303E+12            5.45039E+13     5684.26       0.0189944     0.0228673             0.0778457            0.5876867          0.7075143 2.3724172   2.3724172
314   27:09.6      574410 6.35303E+12              5.4739E+13    5675.94       0.0189944     0.0210179             0.0773979            0.5876867          0.6502938 2.3587711   2.3587711
315   32:12.9      574410 6.35303E+12              5.4739E+13     5704.8       0.0189944     0.0219318             0.0777915            0.5876867          0.6785699 2.3707646   2.3707646
316   37:15.9      574410 6.35303E+12              5.4739E+13    5701.98       0.0189944     0.0220176              0.077753            0.5876867          0.6812245 2.3695926   2.3695926
317   42:18.6      574410 6.35303E+12              5.4739E+13    5732.34       0.0189944     0.0217753              0.078167            0.5876867          0.6737278 2.3822095   2.3822095
318   47:21.8      574410 6.35303E+12              5.4739E+13    5753.01       0.0189944     0.0233293             0.0784489            0.5876867          0.7218085 2.3907994   2.3907994
319   52:25.1      574410 6.35303E+12              5.4739E+13    5756.81       0.0189944     0.0238745             0.0785007            0.5876867           0.738677 2.3923786   2.3923786
320   57:27.9      574412 6.35303E+12            5.33495E+13     5791.51       0.0189944     0.0451717             0.0810308            0.5876867          1.3976124 2.4694857   2.4694857
321   02:31.0      574412 6.35303E+12            5.33495E+13     5778.34       0.0239869     0.0254874             0.0808465            0.7421547          0.7885802     2.46387    2.46387
322   07:34.0      574412 6.35303E+12            5.33495E+13      5695.4       0.0239869     0.0228529             0.0796861            0.7421547          0.7070687 2.4285046   2.4285046
323   12:36.8      574412 6.35303E+12            5.33495E+13     5717.23       0.0239869     0.0236822             0.0799915            0.7421547          0.7327273 2.4378128   2.4378128
324   22:41.7      574413 6.35303E+12            5.25253E+13     5730.11       0.0239869     0.0225552             0.0814296            0.7421547          0.6978579 2.4816407   2.4816407
325   27:44.8      574413 6.35303E+12            5.25253E+13     5715.55       0.0239869     0.0259265             0.0812227            0.7421547          0.8021659   2.475335   2.475335
326   32:47.7      574414 6.35303E+12            5.19701E+13     5734.99       0.0239869      0.025733             0.0823697            0.7421547           0.796179 2.5102894   2.5102894
327   37:50.9      574414 6.35303E+12            5.19701E+13     5743.05       0.0239869     0.0260107             0.0824854            0.7421547          0.8047711 2.5138174   2.5138174
328   42:53.7      574416 6.35303E+12            5.19215E+13     5725.93       0.0239869     0.0259129             0.0823165            0.7421547          0.8017451 2.5086707   2.5086707
329   47:56.5      574419 6.35303E+12               5.263E+13    5733.81       0.0239869     0.0228376             0.0813201            0.7421547          0.7065953 2.4783037   2.4783037
330   52:59.1      574420 6.35303E+12            5.25895E+13     5702.24       0.0239869     0.0369356             0.0809348            0.7421547          1.1427875 2.4665598   2.4665598
331   58:01.8      574421 6.35303E+12            5.25734E+13     5674.41       0.0239869     0.0239106             0.0805643            0.7421547           0.739794 2.4552707   2.4552707
332   03:04.8      574422 6.35303E+12              5.2543E+13    5686.55       0.0273845     0.0222843             0.0807834            0.8472764          0.6894762 2.4619458   2.4619458
333   08:08.0      574424 6.35303E+12            5.28202E+13     5686.98       0.0273845      0.022201             0.0803655            0.8472764          0.6868989 2.4492125   2.4492125
334   13:10.8      574424 6.35303E+12            5.28202E+13     5696.24       0.0273845     0.0222756             0.0804964            0.8472764          0.6892071 2.4532005   2.4532005
335   18:13.9      574424 6.35303E+12            5.28202E+13     5678.52       0.0273845     0.0287661              0.080246            0.8472764          0.8900231   2.445569   2.445569
336   23:16.6      574426 6.35303E+12            5.30049E+13     5680.01       0.0273845     0.0495148             0.0799874            0.8472764          1.5319879 2.4376872   2.4376872
337   28:20.7      574427 6.35303E+12            5.28466E+13     5679.28       0.0273845     0.2410973             0.0802166            0.8472764          7.4595505 2.4446732   7.4595505
338   33:24.6      574427 6.35303E+12            5.28466E+13     5698.99       0.0273845     0.2334656              0.080495            0.8472764          7.2234257 2.4531574   7.2234257
339   38:27.3      574427 6.35303E+12            5.28466E+13     5702.85       0.0273845     0.0497981             0.0805495            0.8472764          1.5407532   2.454819   2.454819
340   43:30.1      574428 6.35303E+12              5.2354E+13     5722.4       0.0273845     0.0284052             0.0815862            0.8472764          0.8788569 2.4864117   2.4864117
341   48:33.4      574428 6.35303E+12              5.2354E+13    5723.27       0.0273845     0.0286907             0.0815986            0.8472764          0.8876903 2.4867897   2.4867897
342   53:36.4      574428 6.35303E+12              5.2354E+13    5711.78       0.0273845     0.0289323             0.0814347            0.8472764          0.8951654 2.4817972   2.4817972
343   58:39.1      574429 6.35303E+12            5.15634E+13     5700.85       0.0273845     0.0244206             0.0825252            0.8472764          0.7555734 2.5150298   2.5150298
344   03:41.9      574429 6.35303E+12            5.15634E+13     5699.99       0.0280847      0.022925             0.0825128            0.8689406          0.7092995 2.5146504   2.5146504
345   08:44.7      574429 6.35303E+12            5.15634E+13     5715.88       0.0280847     0.0237192             0.0827428            0.8689406           0.733872 2.5216605   2.5216605
346   13:47.4      574430 6.35303E+12            5.12815E+13      5716.7       0.0280847     0.0238876             0.0832095            0.8689406          0.7390823 2.5358831   2.5358831
347   18:50.2      574430 6.35303E+12            5.12815E+13     5707.94       0.0280847     0.0242522             0.0830819            0.8689406          0.7503631 2.5319972   2.5319972
348   23:53.1      574430 6.35303E+12            5.12815E+13     5728.45       0.0280847      0.024234             0.0833805            0.8689406              0.7498 2.5410953  2.5410953
349   28:55.9      574430 6.35303E+12            5.12815E+13     5736.02       0.0280847     0.0243241             0.0834907            0.8689406          0.7525877 2.5444533   2.5444533
350   33:59.1      574430 6.35303E+12            5.12815E+13     5740.86       0.0280847     0.0252158             0.0835611            0.8689406          0.7801769 2.5466002   2.5466002
351   44:04.4      574430 6.35303E+12            5.12815E+13      5732.1       0.0280847     0.0252418             0.0834336            0.8689406          0.7809813 2.5427144   2.5427144
352   49:07.5      574431 6.35303E+12            4.97074E+13      5725.7       0.0280847     0.0487379             0.0859796            0.8689406          1.5079506 2.6203068   2.6203068
353   54:10.5      574432 6.35303E+12            4.99455E+13     5720.02       0.0280847     0.0292058             0.0854849            0.8689406          0.9036275 2.6052295   2.6052295
354   59:14.1      574432 6.35303E+12            4.99455E+13     5706.01       0.0280847     0.0484988             0.0852755            0.8689406          1.5005529 2.5988485   2.5988485
355   04:17.2      574433 6.35303E+12            4.98413E+13     5720.99          0.02809    0.0273041             0.0856781            0.8691046          0.8447889 2.6111164   2.6111164
356   09:20.1      574435 6.35303E+12            4.97656E+13     5725.87          0.02809    0.0243389             0.0858817            0.8691046          0.7530456 2.6173216   2.6173216
357   14:23.0      574435 6.35303E+12            4.97656E+13     5733.32          0.02809    0.0253075             0.0859934            0.8691046          0.7830141   2.620727   2.620727
358   19:26.3      574437 6.35303E+12            4.98823E+13     5729.99          0.02809    0.0279034             0.0857423            0.8691046          0.8633312 2.6130745   2.6130745
359   24:29.2      574438 6.35303E+12              4.9928E+13    5727.98          0.02809    0.0267925             0.0856339            0.8691046             0.82896 2.6097702  2.6097702
360   29:32.2      574439 6.35303E+12            4.96328E+13     5746.56          0.02809    0.0491793             0.0864226            0.8691046          1.5216075 2.6338056   2.6338056
361   34:35.1      574441 6.35303E+12            5.04581E+13     5735.82          0.02809    0.0276204             0.0848502            0.8691046          0.8545752 2.5858866   2.5858866
362   39:38.1      574441 6.35303E+12            5.04581E+13     5745.02          0.02809    0.0274064             0.0849863            0.8691046           0.847954 2.5900343   2.5900343
363   44:40.9      574442 6.35303E+12            5.28842E+13     5751.06          0.02809    0.0493127             0.0811728            0.8691046          1.5257349 2.4738132   2.4738132
364   49:44.5      574442 6.35303E+12            5.28842E+13     5741.52          0.02809    0.0353384             0.0810381            0.8691046          1.0933701 2.4697096   2.4697096
365   54:47.4      574442 6.35303E+12            5.28842E+13     5741.39          0.02809     0.027241             0.0810363            0.8691046          0.8428365 2.4696537   2.4696537
366   59:50.5      574443 6.35303E+12            5.28228E+13     5739.18          0.02809    0.0260944             0.0810993            0.8691046          0.8073607 2.4715738   2.4715738
367   04:53.3      574443 6.35303E+12            5.28228E+13     5735.16       0.0306575     0.0263345             0.0810425            0.9485431          0.8147894 2.4698426   2.4698426
368   09:56.1      574443 6.35303E+12            5.28228E+13     5753.15       0.0306575     0.0251812             0.0812967            0.9485431          0.7791063     2.47759    2.47759
369   14:59.6      574443 6.35303E+12            5.28228E+13     5760.65       0.0306575     0.0254094             0.0814027            0.9485431          0.7861668 2.4808199   2.4808199
370   20:02.9      574443 6.35303E+12            5.28228E+13     5758.01       0.0306575     0.0257154             0.0813654            0.9485431          0.7956345 2.4796829   2.4796829
371   25:05.9      574444 6.35303E+12            5.21447E+13     5763.51       0.0306575     0.0255742             0.0825021            0.9485431          0.7912657 2.5143244   2.5143244
372   30:08.6      574445 6.35303E+12            5.19166E+13     5760.01       0.0306575     0.0285722             0.0828144            0.9485431          0.8840239 2.5238421   2.5238421
373   35:11.4      574446 6.35303E+12            5.17083E+13      5750.9       0.0306575     0.0351964             0.0830164            0.9485431          1.0889766 2.5299985   2.5299985
374   40:15.1      574446 6.35303E+12            5.17083E+13     5762.47       0.0306575     0.0283874             0.0831834            0.9485431          0.8783062 2.5350885   2.5350885
375   45:17.8      574446 6.35303E+12            5.17083E+13     5753.72       0.0306575      0.027278             0.0830571            0.9485431          0.8439813 2.5312392   2.5312392
376   50:20.6      574448 6.35303E+12            5.19511E+13     5754.06       0.0306575     0.0271803             0.0826737            0.9485431          0.8409585 2.5195561   2.5195561
377   55:23.5      574448  6.35303E+12           5.19511E+13     5719.38       0.0306575      0.030583             0.0821754            0.9485431           0.946238  2.5043706  2.5043706




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       A          B            C                 D                E            F             G                H                      I                  J              K          L
 1 datetime block_height network_diff est_network_hashrate   BTC_price day_ahead_LMP real_time_LMP breakeven_mining_cost    day_ahead_LMP_rev real_time_LMP_rev mining_rev realized_rev
378   00:26.7      574448 6.35303E+12            5.19511E+13   5721.44       0.0298141      0.0274938              0.082205            0.9224483          0.8506582 2.5052726  2.5052726
379   05:29.8      574448 6.35303E+12            5.19511E+13   5706.98       0.0298141       0.025617             0.0819973            0.9224483            0.79259 2.4989409  2.4989409
380   10:32.8      574449 6.35303E+12            5.17328E+13   5701.52       0.0298141      0.0262028             0.0822646            0.9224483          0.8107146 2.5070865  2.5070865
381   15:35.6      574450 6.35303E+12            5.16724E+13   5720.36       0.0298141      0.0265338             0.0826329            0.9224483          0.8209558 2.5183117  2.5183117
382   20:38.2      574450 6.35303E+12            5.16724E+13     5715.9      0.0298141      0.0262195             0.0825685            0.9224483          0.8112313 2.5163482  2.5163482
383   25:41.0      574450 6.35303E+12            5.16724E+13   5710.01       0.0298141      0.0263037             0.0824834            0.9224483          0.8138365 2.5137552  2.5137552
384   30:43.8      574450 6.35303E+12            5.16724E+13   5720.01       0.0298141         0.02601            0.0826278            0.9224483          0.8047494 2.5181576  2.5181576
385   35:46.6      574450 6.35303E+12            5.16724E+13   5725.31       0.0298141       0.026584             0.0827044            0.9224483           0.822509 2.5204908  2.5204908
386   40:49.3      574452 6.35303E+12            5.09821E+13   5714.39       0.0298141      0.0267055             0.0836643            0.9224483          0.8262682 2.5497457  2.5497457
387   45:52.2      574454 6.35303E+12            5.11925E+13   5720.01       0.0298141      0.0254888             0.0834024            0.9224483          0.7886235 2.5417623  2.5417623
388   50:55.0      574454 6.35303E+12            5.11925E+13   5704.48       0.0298141      0.0247314             0.0831759            0.9224483          0.7651895 2.5348614  2.5348614
389   55:58.0      574454 6.35303E+12            5.11925E+13   5713.35       0.0298141      0.0244232             0.0833053            0.9224483          0.7556538 2.5388029  2.5388029
390   01:00.9      574454 6.35303E+12            5.11925E+13    5714.69      0.0322754      0.0256095             0.0833248            0.9986009          0.7923579 2.5393983  2.5393983
391   06:03.7      574454 6.35303E+12            5.11925E+13    5710.33       0.0322754      0.024586             0.0832612            0.9986009          0.7606908 2.5374609  2.5374609
392   11:06.7      574454 6.35303E+12            5.11925E+13    5705.52       0.0322754     0.0249145             0.0831911            0.9986009          0.7708546 2.5353235  2.5353235




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                                                                                    D
                                                                                    Bearbox v Lancium
                                                                                     Trial Exhibit
                                                                                      TX920-4

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                                             Appx13423
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       A          B            C                 D                E            F              G                H                      I                  J               K         L
 1 datetime block_height network_diff est_network_hashrate    BTC_price day_ahead_LMP real_time_LMP breakeven_mining_cost    day_ahead_LMP_rev real_time_LMP_rev mining_rev realized_rev
 2    19:54.2      574204 6.35303E+12            5.38327E+13    5320.43          0.00578      0.004853             0.0737715            0.1788332          0.1501518 2.2482519  2.2482519
 3    24:57.5      574204 6.35303E+12            5.38327E+13    5320.01          0.00578     0.0059132             0.0737656            0.1788332          0.1829544 2.2480744  2.2480744
 4    30:00.6      574204 6.35303E+12            5.38327E+13    5319.98          0.00578     0.0058605             0.0737652            0.1788332          0.1813239 2.2480617  2.2480617
 5    35:04.1      574205 6.35303E+12            5.30839E+13    5323.01          0.00578     0.0046039             0.0748484            0.1788332          0.1424447 2.2810714  2.2810714
 6    40:07.2      574205 6.35303E+12            5.30839E+13    5321.94          0.00578     0.0032873             0.0748333            0.1788332          0.1017091 2.2806129  2.2806129
 7    45:10.6      574206 6.35303E+12            5.44532E+13    5326.51          0.00578     0.0019272             0.0730143            0.1788332          0.0596276 2.2251767  2.2251767
 8    50:13.5      574206 6.35303E+12            5.44532E+13    5326.54          0.00578     0.0070844             0.0730147            0.1788332          0.2191913 2.2251893  2.2251893
 9    55:16.9      574207 6.35303E+12            5.39845E+13    5328.24          0.00578     0.0006523             0.0736721            0.1788332          0.0201822 2.2452223  2.2452223
10    00:20.2      574207 6.35303E+12            5.39845E+13    5325.77       0.0008315      0.0022674             0.0736379            0.0257266          0.0701534 2.2441815  2.2441815
11    05:23.2      574208 6.35303E+12            5.34662E+13    5325.77       0.0008315     -0.0037312             0.0743518            0.0257266        -0.1154433 2.2659373   2.2659373
12    10:26.1      574208 6.35303E+12            5.34662E+13    5325.01       0.0008315     -0.0087112             0.0743412            0.0257266        -0.2695245 2.2656139   2.2656139
13    15:29.1      574209 6.35303E+12            5.33477E+13    5321.31       0.0008315      0.0006042             0.0744545            0.0257266          0.0186939 2.2690675  2.2690675
14    20:32.0      574209 6.35303E+12            5.33477E+13    5321.01       0.0008315      0.0008759             0.0744503            0.0257266          0.0271003 2.2689395  2.2689395
15    25:36.1      574210 6.35303E+12            5.36221E+13    5326.26       0.0008315     -0.0192181             0.0741425            0.0257266          -0.594608 2.2595592  2.2595592
16    30:39.1      574212 6.35303E+12            5.54528E+13    5327.73       0.0008315     -0.0318283             0.0717145            0.0257266        -0.9847676 2.1855639   2.1855639
17    35:42.2      574213 6.35303E+12            5.51131E+13    5321.02       0.0008315     -0.0308899             0.0720657            0.0257266        -0.9557335 2.1962672   2.1962672
18    40:45.0      574215 6.35303E+12            5.58834E+13     5323.1       0.0008315     -0.0302146             0.0711001            0.0257266        -0.9348397 2.1668382   2.1668382
19    45:47.9      574215 6.35303E+12            5.58834E+13     5323.1       0.0008315     -0.0268742             0.0711001            0.0257266        -0.8314877 2.1668382   2.1668382
20    50:51.0      574215 6.35303E+12            5.58834E+13    5326.69       0.0008315     -0.0311753              0.071148            0.0257266        -0.9645638 2.1682995   2.1682995
21    55:53.8      574215 6.35303E+12            5.58834E+13    5326.69       0.0008315     -0.0321213              0.071148            0.0257266          -0.993833 2.1682995  2.1682995
22    00:56.7      574216 6.35303E+12            5.54406E+13    5328.81       0.0002678     -0.0312479             0.0717448            0.0082857            -0.96681 2.1864882 2.1864882
23    06:00.2      574216 6.35303E+12            5.54406E+13    5330.34       0.0002678     -0.0031224             0.0717654            0.0082857        -0.0966071    2.187116  2.187116
24    11:03.3      574219 6.35303E+12            5.59245E+13    5326.73       0.0002678     -0.0192773             0.0710963            0.0082857        -0.5964397 2.1667245   2.1667245
25    16:06.7      574220 6.35303E+12            5.59914E+13    5330.77       0.0002678     -0.0176475             0.0710652            0.0082857        -0.5460137 2.1657754   2.1657754
26    21:09.7      574220 6.35303E+12            5.59914E+13    5343.69       0.0002678     -0.0277873             0.0712374            0.0082857        -0.8597391 2.1710246   2.1710246
27    26:12.7      574225 6.35303E+12            5.59876E+13     5336.9       0.0002678      -0.030291             0.0711518            0.0082857        -0.9372035 2.1684142   2.1684142
28    31:15.7      574226 6.35303E+12            5.60441E+13    5333.74       0.0002678     -0.0263247             0.0710379            0.0082857        -0.8144862 2.1649441   2.1649441
29    36:18.6      574227 6.35303E+12            5.56725E+13    5331.57       0.0002678     -0.0194362              0.071483            0.0082857          -0.601356 2.1785089  2.1785089
30    41:21.5      574227 6.35303E+12            5.56725E+13    5332.07       0.0002678     -0.0199701             0.0714897            0.0082857        -0.6178749 2.1787132   2.1787132
31    46:24.4      574227 6.35303E+12            5.56725E+13    5343.99       0.0002678     -0.0196127             0.0716495            0.0082857        -0.6068169 2.1835838   2.1835838
32    51:27.4      574228 6.35303E+12            5.52451E+13    5343.99       0.0002678     -0.0293809             0.0722038            0.0082857          -0.909045 2.2004762  2.2004762
33    56:30.6      574229 6.35303E+12              5.5892E+13   5328.81       0.0002678     -0.0237092             0.0711654            0.0082857        -0.7335626 2.1688293   2.1688293
34    01:33.6      574229 6.35303E+12              5.5892E+13   5339.09       0.0001906     -0.0188617             0.0713027            0.0058972          -0.583581 2.1730133  2.1730133
35    06:36.6      574229 6.35303E+12              5.5892E+13   5341.16       0.0001906     -0.0309174             0.0713303            0.0058972        -0.9565844 2.1738558   2.1738558
36    11:39.5      574230 6.35303E+12            5.53347E+13    5346.19       0.0001906     -0.0303878             0.0721165            0.0058972        -0.9401985 2.1978165   2.1978165
37    16:43.0      574230 6.35303E+12            5.53347E+13    5351.52       0.0001906     -0.0302747             0.0721884            0.0058972        -0.9366992 2.2000077   2.2000077
38    21:45.9      574231 6.35303E+12            5.49411E+13    5348.15       0.0001906     -0.0280594             0.0726599            0.0058972        -0.8681578 2.2143761   2.2143761
39    26:48.7      574231 6.35303E+12            5.49411E+13    5345.36       0.0001906     -0.0282238              0.072622            0.0058972        -0.8732444 2.2132209   2.2132209
40    31:52.1      574231 6.35303E+12            5.49411E+13    5345.35       0.0001906     -0.0268535             0.0726219            0.0058972        -0.8308473 2.2132168   2.2132168
41    36:55.6      574232 6.35303E+12            5.47061E+13    5345.57       0.0001906     -0.0274178             0.0729368            0.0058972        -0.8483067    2.222815  2.222815
42    41:58.8      574232 6.35303E+12            5.47061E+13    5346.06       0.0001906     -0.0274027             0.0729435            0.0058972        -0.8478395 2.2230187   2.2230187
43    47:01.8      574232 6.35303E+12            5.47061E+13    5364.94       0.0001906      -0.028909             0.0732011            0.0058972        -0.8944445 2.2308695   2.2308695
44    52:04.7      574232 6.35303E+12            5.47061E+13    5358.68       0.0001906      -0.028169             0.0731157            0.0058972        -0.8715489 2.2282664   2.2282664
45    57:07.9      574232 6.35303E+12            5.47061E+13    5363.38       0.0001906     -0.0263077             0.0731798            0.0058972        -0.8139602 2.2302208   2.2302208
46    02:11.0      574233 6.35303E+12            5.35475E+13    5374.99         0.002727    -0.0263014              0.074925            0.0843734        -0.8137653    2.283406  2.283406
47    07:14.0      574233 6.35303E+12            5.35475E+13    5371.65         0.002727    -0.0028313             0.0748784            0.0843734        -0.0876004 2.2819871   2.2819871
48    12:17.0      574233 6.35303E+12            5.35475E+13     5364.6         0.002727    -0.0008554             0.0747801            0.0843734        -0.0264661 2.2789921   2.2789921
49    17:20.3      574233 6.35303E+12            5.35475E+13    5366.68         0.002727    -0.0182652             0.0748091            0.0843734        -0.5651253 2.2798757   2.2798757
50    22:23.4      574234 6.35303E+12            5.31615E+13    5358.76         0.002727    -0.0019519             0.0752411            0.0843734        -0.0603918 2.2930408   2.2930408
51    27:26.4      574234 6.35303E+12            5.31615E+13    5358.18         0.002727    -0.0147848              0.075233            0.0843734        -0.4574417 2.2927926   2.2927926
52    32:29.3      574234 6.35303E+12            5.31615E+13    5349.69         0.002727    -0.0033411             0.0751138            0.0843734        -0.1033736 2.2891597   2.2891597
53    37:32.1      574235 6.35303E+12            5.26774E+13    5347.97         0.002727     -0.016204             0.0757796            0.0843734        -0.5013518 2.3094528   2.3094528
54    42:35.1      574236 6.35303E+12            5.29706E+13    5347.88         0.002727     -0.031637              0.075359            0.0843734        -0.9788488 2.2966332   2.2966332
55    47:38.0      574237 6.35303E+12            5.26741E+13    5352.24         0.002727    -0.0303036              0.075845            0.0843734        -0.9375934 2.3114455   2.3114455
56    52:40.8      574238 6.35303E+12              5.2719E+13   5350.15         0.002727    -0.0054995             0.0757508            0.0843734        -0.1701545    2.308573  2.308573
57    57:43.7      574238 6.35303E+12              5.2719E+13   5357.76         0.002727    -0.0016084             0.0758585            0.0843734        -0.0497639 2.3118566   2.3118566
58    02:46.6      574239 6.35303E+12            5.28168E+13    5351.07       0.0122937     -0.0317924             0.0756235            0.3803671        -0.9836569 2.3046947   2.3046947
59    07:49.3      574240 6.35303E+12            5.25658E+13    5350.11       0.0122937     -0.0305799              0.075971            0.3803671        -0.9461421 2.3152833   2.3152833
60    12:52.7      574242 6.35303E+12            5.34165E+13    5352.35       0.0122937       -2.70E-06            0.0747924            0.3803671           -8.35E-05 2.2793657 2.2793657
61    17:55.6      574243 6.35303E+12            5.35108E+13    5355.51       0.0122937      0.0003845             0.0747047            0.3803671          0.0118964 2.2766932  2.2766932
62    22:58.3      574245 6.35303E+12            5.38531E+13     5358.7       0.0122937       0.000944              0.074274            0.3803671          0.0292074 2.2635674  2.2635674
63    28:01.2      574246 6.35303E+12            5.41667E+13    5358.74       0.0122937     -0.0033438             0.0738446            0.3803671        -0.1034572 2.2504797   2.2504797
64    33:04.2      574246 6.35303E+12            5.41667E+13    5361.99       0.0122937      -0.001393             0.0738894            0.3803671        -0.0430994 2.2518446   2.2518446
65    38:07.1      574246 6.35303E+12            5.41667E+13    5364.93       0.0122937      0.0048462             0.0739299            0.3803671          0.1499414 2.2530793  2.2530793
66    43:10.0      574247 6.35303E+12            5.37144E+13    5365.93       0.0122937     -0.0155818             0.0745663            0.3803671        -0.4821009 2.2724742   2.2724742
67    48:12.9      574249 6.35303E+12            5.43573E+13    5360.33       0.0122937     -0.0014069             0.0736074            0.3803671        -0.0435295 2.2432526   2.2432526
68    53:15.7      574251 6.35303E+12            5.52479E+13    5359.19       0.0122937      0.0018241             0.0724055            0.3803671          0.0564377 2.2066234  2.2066234
69    58:18.7      574252 6.35303E+12            5.50584E+13    5357.99       0.0122937      0.0017661             0.0726385            0.3803671          0.0546431 2.2137229  2.2137229
70    03:21.9      574252 6.35303E+12            5.50584E+13    5360.64       0.0171962      0.0051394             0.0726744            0.5320504           0.159013 2.2148178  2.2148178
71    08:26.1      574253 6.35303E+12            5.55506E+13    5362.51       0.0171962      0.1603687             0.0720555            0.5320504          4.9618076   2.195957 4.9618076
72    13:29.5      574254 6.35303E+12            5.55733E+13    5360.24       0.0171962         0.01377            0.0719957            0.5320504          0.4260438 2.1941337  2.1941337
73    18:32.5      574255 6.35303E+12              5.5978E+13   5358.19       0.0171962      0.0100579             0.0714478            0.5320504          0.3111914 2.1774367  2.1774367
74    23:35.5      574257 6.35303E+12            5.59531E+13    5367.35       0.0171962      0.0107012             0.0716018            0.5320504          0.3310951 2.1821286  2.1821286
75    28:38.4      574257 6.35303E+12            5.59531E+13    5368.93       0.0171962      0.0084507             0.0716229            0.5320504          0.2614647   2.182771  2.182771
76    33:41.3      574257 6.35303E+12            5.59531E+13    5368.01       0.0171962      0.0069194             0.0716106            0.5320504          0.2140862   2.182397  2.182397
77    38:44.2      574258 6.35303E+12            5.61961E+13    5368.01       0.0171962      0.0068217              0.071301            0.5320504          0.2110634 2.1729618  2.1729618
78    43:47.2      574258 6.35303E+12            5.61961E+13    5363.48       0.0171962      0.0079017             0.0712408            0.5320504          0.2444786 2.1711281  2.1711281
79    48:50.1      574258 6.35303E+12            5.61961E+13    5363.48       0.0171962      0.0076457             0.0712408            0.5320504           0.236558 2.1711281  2.1711281
80    53:56.7      574258 6.35303E+12            5.61961E+13    5368.74       0.0171962      0.0078845             0.0713107            0.5320504          0.2439464 2.1732573  2.1732573
81    58:59.6      574258 6.35303E+12            5.61961E+13     5368.9       0.0171962      0.0094093             0.0713128            0.5320504          0.2911237 2.1733221  2.1733221
82    04:02.6      574258 6.35303E+12            5.61961E+13    5360.85       0.0175577      0.0099461             0.0712059            0.5432352          0.3077323 2.1700634  2.1700634
83    09:05.6      574258 6.35303E+12            5.61961E+13    5360.96       0.0175577      0.0140156             0.0712073            0.5432352          0.4336427   2.170108  2.170108
84    14:08.7      574260 6.35303E+12            5.46276E+13    5364.69       0.0175577      0.0115262             0.0733029            0.5432352          0.3566206 2.2339708  2.2339708
85    19:11.6      574260 6.35303E+12            5.46276E+13    5368.72       0.0175577      0.0089289             0.0733579            0.5432352          0.2762602 2.2356489  2.2356489
86    24:14.7      574260 6.35303E+12            5.46276E+13    5366.48       0.0175577      0.0086263             0.0733273            0.5432352          0.2668977 2.2347162  2.2347162
87    29:17.6      574260 6.35303E+12            5.46276E+13    5367.76       0.0175577       0.007468             0.0733448            0.5432352          0.2310599 2.2352492  2.2352492
88    34:20.8      574261 6.35303E+12            5.36607E+13    5366.92       0.0175577      0.0084062             0.0746547            0.5432352          0.2600878 2.2751678  2.2751678
89    39:23.6      574261 6.35303E+12            5.36607E+13    5366.01       0.0175577       0.007763              0.074642            0.5432352          0.2401872 2.2747821  2.2747821
90    44:26.5      574261 6.35303E+12            5.36607E+13    5364.41       0.0175577      0.0087491             0.0746197            0.5432352          0.2706972 2.2741038  2.2741038
91    49:29.5      574261 6.35303E+12            5.36607E+13     5364.3       0.0175577      0.0087159             0.0746182            0.5432352          0.2696699 2.2740572  2.2740572
92    54:32.3      574261 6.35303E+12            5.36607E+13    5377.85       0.0175577      0.0108497             0.0748067            0.5432352          0.3356897 2.2798013  2.2798013
93    59:35.3      574264 6.35303E+12            5.43564E+13    5373.82       0.0175577       0.008836             0.0737939            0.5432352          0.2733858 2.2489354  2.2489354
94    04:38.1      574267 6.35303E+12            5.54387E+13    5366.58       0.0193084      0.0083686             0.0722558            0.5974019          0.2589245 2.2020604  2.2020604
95    09:40.9      574268 6.35303E+12            5.60115E+13    5356.55       0.0193084      0.0080606             0.0713832            0.5974019           0.249395  2.1754678 2.1754678




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        A          B            C                 D                 E            F             G                H                       I                  J               K          L
  1 datetime block_height network_diff est_network_hashrate    BTC_price day_ahead_LMP real_time_LMP breakeven_mining_cost     day_ahead_LMP_rev real_time_LMP_rev mining_rev realized_rev
 96    14:43.6      574269 6.35303E+12            5.58958E+13    5342.94       0.0193084      0.0088646             0.0713492             0.5974019          0.2742707 2.1744317  2.1744317
 97    19:46.6      574270 6.35303E+12              5.6144E+13   5354.22       0.0193084      0.0082941             0.0711837             0.5974019          0.2566195 2.1693883  2.1693883
 98    24:49.9      574271 6.35303E+12              5.6095E+13   5356.83       0.0193084      0.0080762             0.0712807             0.5974019          0.2498776 2.1723438  2.1723438
 99    29:52.8      574271 6.35303E+12              5.6095E+13   5351.83       0.0193084      0.0079524             0.0712142             0.5974019          0.2460473 2.1703161  2.1703161
100    34:55.7      574272 6.35303E+12            5.54087E+13    5355.01       0.0193084      0.0081254             0.0721391             0.5974019          0.2513999 2.1985034  2.1985034
101    39:58.5      574273 6.35303E+12            5.53104E+13    5355.83       0.0193084      0.0085607             0.0722783             0.5974019          0.2648681 2.2027469  2.2027469
102    45:01.9      574274 6.35303E+12            5.53441E+13    5354.54       0.0193084      0.0106324              0.072217             0.5974019          0.3289665 2.2008772  2.2008772
103    50:05.0      574274 6.35303E+12            5.53441E+13    5352.64       0.0193084      0.0119823             0.0721913             0.5974019          0.3707324 2.2000962  2.2000962
104    55:07.9      574274 6.35303E+12            5.53441E+13    5355.99       0.0193084      0.0171955             0.0722365             0.5974019          0.5320288 2.2014732  2.2014732
105    00:10.9      574274 6.35303E+12            5.53441E+13    5375.12         0.021824      0.014679             0.0724945             0.6752346          0.4541683 2.2093362  2.2093362
106    05:13.9      574274 6.35303E+12            5.53441E+13     5371.63        0.021824     0.0098275             0.0724475             0.6752346          0.3040628 2.2079017  2.2079017
107    10:17.8      574274 6.35303E+12            5.53441E+13     5366.65        0.021824     0.0157044             0.0723803             0.6752346          0.4858941 2.2058548  2.2058548
108    15:20.8      574274 6.35303E+12            5.53441E+13     5362.88        0.021824     0.0161219             0.0723295             0.6752346          0.4988116 2.2043052  2.2043052
109    20:23.7      574275 6.35303E+12            5.36343E+13         5367       0.021824      0.016142             0.0746925             0.6752346          0.4994335 2.2763203  2.2763203
110    25:26.5      574275 6.35303E+12            5.36343E+13     5371.56        0.021824     0.0159439             0.0747559             0.6752346          0.4933043 2.2782544  2.2782544
111    30:29.4      574276 6.35303E+12               5.309E+13    5370.52        0.021824     0.0201562             0.0755079             0.6752346          0.6236328 2.3011697  2.3011697
112    35:32.1      574278 6.35303E+12            5.49235E+13     5373.23        0.021824     0.0193584             0.0730239             0.6752346          0.5989489 2.2254696  2.2254696
113    40:35.0      574281 6.35303E+12            5.67946E+13     5385.74        0.021824     0.0173956             0.0707827             0.6752346          0.5382199 2.1571652  2.1571652
114    45:37.8      574281 6.35303E+12            5.67946E+13     5380.67        0.021824     0.0172587              0.070716             0.6752346          0.5339842 2.1551345  2.1551345
115    50:40.6      574281 6.35303E+12            5.67946E+13     5377.85        0.021824     0.0135506              0.070679             0.6752346          0.4192556   2.154005  2.154005
116    55:43.6      574282 6.35303E+12              5.6096E+13    5376.85        0.021824     0.0181589             0.0715459             0.6752346          0.5618364 2.1804251  2.1804251
117    00:46.5      574282 6.35303E+12              5.6096E+13    5379.99       0.0237731     0.0180514             0.0715877             0.7355397          0.5585103 2.1816984  2.1816984
118    05:49.7      574283 6.35303E+12            5.56063E+13     5400.03       0.0237731     0.0201106             0.0724871             0.7355397           0.622222 2.2091081  2.2091081
119    10:52.9      574283 6.35303E+12            5.56063E+13     5401.02       0.0237731     0.0199693             0.0725003             0.7355397          0.6178501 2.2095131  2.2095131
120    15:55.8      574283 6.35303E+12            5.56063E+13     5411.08       0.0237731     0.0212877             0.0726354             0.7355397          0.6586414 2.2136286  2.2136286
121    20:59.8      574284 6.35303E+12            5.64188E+13     5401.02       0.0237731     0.0208648             0.0714563             0.7355397          0.6455569   2.177694   2.177694
122    26:03.1      574284 6.35303E+12            5.64188E+13     5401.31       0.0237731     0.0203588             0.0714601             0.7355397          0.6299013 2.1778109  2.1778109
123    31:06.6      574285 6.35303E+12            5.57835E+13     5409.35       0.0237731     0.0207637             0.0723816             0.7355397          0.6424289 2.2058933  2.2058933
124    36:09.6      574285 6.35303E+12            5.57835E+13      5396.6       0.0237731     0.0198566              0.072211             0.7355397          0.6143632 2.2006939  2.2006939
125    41:12.5      574285 6.35303E+12            5.57835E+13     5405.56       0.0237731     0.0206568             0.0723309             0.7355397          0.6391214 2.2043478  2.2043478
126    46:15.4      574285 6.35303E+12            5.57835E+13      5401.1       0.0237731     0.0203991             0.0722712             0.7355397          0.6311482   2.202529   2.202529
127    51:18.8      574285 6.35303E+12            5.57835E+13     5400.14       0.0237731     0.0206351             0.0722583             0.7355397             0.63845 2.2021375 2.2021375
128    56:21.7      574285 6.35303E+12            5.57835E+13     5401.59       0.0237731     0.0206066             0.0722777             0.7355397          0.6375682 2.2027288  2.2027288
129    01:25.2      574285 6.35303E+12            5.57835E+13     5405.56       0.0248369     0.0206776             0.0723309             0.7684537          0.6397649 2.2043478  2.2043478
130    06:28.3      574285 6.35303E+12            5.57835E+13     5409.65       0.0248369     0.0208352             0.0723856             0.7684537          0.6446411 2.2060156  2.2060156
131    11:31.3      574286 6.35303E+12            5.36818E+13     5410.84       0.0248369     0.0207924              0.075236             0.7684537          0.6433169 2.2928844  2.2928844
132    16:34.7      574287 6.35303E+12            5.50908E+13     5403.01       0.0248369      0.020789             0.0732057             0.7684537          0.6432117 2.2310097  2.2310097
133    21:38.0      574287 6.35303E+12            5.50908E+13     5380.86       0.0248369     0.0208418             0.0729056             0.7684537          0.6448453 2.2218635  2.2218635
134    26:41.1      574288 6.35303E+12              5.6446E+13    5384.99       0.0248369     0.0208444             0.0712098             0.7684537          0.6449257 2.1701832  2.1701832
135    31:44.2      574289 6.35303E+12            5.61643E+13     5388.52       0.0248369     0.0219035              0.071614             0.7684537          0.6776943 2.1824996  2.1824996
136    36:47.6      574289 6.35303E+12            5.61643E+13     5385.01       0.0248369     0.0219719             0.0715673             0.7684537          0.6798106 2.1810779  2.1810779
137    41:50.8      574289 6.35303E+12            5.61643E+13     5382.53       0.0248369     0.0214093             0.0715343             0.7684537          0.6624037 2.1800735  2.1800735
138    46:53.8      574289 6.35303E+12            5.61643E+13     5379.16       0.0248369     0.0219768             0.0714896             0.7684537          0.6799622 2.1787085  2.1787085
139    51:56.9      574292 6.35303E+12            5.59818E+13     5379.99       0.0248369     0.0220687             0.0717336             0.7684537          0.6828056 2.1861462  2.1861462
140    57:00.0      574293 6.35303E+12            5.63654E+13     5381.68       0.0248369     0.0220272             0.0712679             0.7684537          0.6815216 2.1719525  2.1719525
141    02:02.8      574294 6.35303E+12            5.66874E+13     5378.04        0.026102     0.0214717             0.0708151             0.8075959          0.6643344 2.1581537  2.1581537
142    07:05.8      574295 6.35303E+12            5.71185E+13     5388.44        0.026102     0.0216698             0.0704165             0.8075959          0.6704636 2.1460054  2.1460054
143    12:09.0      574296 6.35303E+12            5.69506E+13     5391.26        0.026102     0.0218279              0.070661             0.8075959          0.6753552 2.1534583  2.1534583
144    17:12.0      574298 6.35303E+12            5.77593E+13     5388.44        0.026102     0.0242173             0.0696352             0.8075959          0.7492833 2.1221966  2.1221966
145    22:15.5      574298 6.35303E+12            5.77593E+13     5392.01        0.026102     0.0224338             0.0696814             0.8075959          0.6941018 2.1236027  2.1236027
146    27:18.5      574298 6.35303E+12            5.77593E+13     5397.27        0.026102     0.0259045             0.0697494             0.8075959          0.8014852 2.1256743  2.1256743
147    32:21.8      574300 6.35303E+12            5.74492E+13      5392.2        0.026102     0.0266314                0.07006            0.8075959          0.8239755 2.1351406  2.1351406
148    37:25.9      574301 6.35303E+12              5.7613E+13    5391.27        0.026102     0.0850755             0.0698488             0.8075959           2.632236 2.1287047    2.632236
149    42:30.2      574301 6.35303E+12              5.7613E+13    5391.55        0.026102     0.2222933             0.0698524             0.8075959          6.8777547 2.1288153  6.8777547
150    47:34.8      574302 6.35303E+12            5.77583E+13     5397.52        0.026102     0.1579206             0.0697538             0.8075959          4.8860634 2.1258102  4.8860634
151    52:39.0      574302 6.35303E+12            5.77583E+13     5396.44        0.026102     0.1798101             0.0697399             0.8075959          5.5633245 2.1253849  5.5633245
152    57:42.9      574305 6.35303E+12              5.8471E+13    5390.94        0.026102     0.1776521             0.0688196             0.8075959           5.496556   2.097339   5.496556
153    02:47.4      574305 6.35303E+12              5.8471E+13    5391.58       0.0283817     0.2214449             0.0688278             0.8781298          6.8515052   2.097588 6.8515052
154    07:50.3      574305 6.35303E+12              5.8471E+13    5393.02       0.0283817     0.0381924             0.0688461             0.8781298          1.1816729 2.0981483  2.0981483
155    12:53.3      574306 6.35303E+12            5.85526E+13     5393.03       0.0283817     0.0284554             0.0687504             0.8781298          0.8804101 2.0952297  2.0952297
156    17:56.2      574309 6.35303E+12            6.00748E+13     5395.99       0.0283817     0.0254553             0.0670451             0.8781298           0.787587 2.0432598  2.0432598
157    22:59.6      574309 6.35303E+12            6.00748E+13     5395.98       0.0283817     0.0262791              0.067045             0.8781298          0.8130754   2.043256   2.043256
158    28:03.3      574310 6.35303E+12            6.02983E+13     5397.49       0.0283817     0.0261018             0.0668152             0.8781298          0.8075897 2.0362532  2.0362532
159    33:06.3      574311 6.35303E+12            6.01255E+13     5398.95       0.0283817     0.0304073             0.0670253             0.8781298          0.9408019 2.0426553  2.0426553
160    38:09.3      574312 6.35303E+12            5.99055E+13     5397.51       0.0283817     0.0304044             0.0672535             0.8781298          0.9407121 2.0496101  2.0496101
161    43:12.3      574312 6.35303E+12            5.99055E+13     5396.26       0.0283817     0.0304455             0.0672379             0.8781298          0.9419838 2.0491354  2.0491354
162    48:15.1      574314 6.35303E+12            5.98595E+13      5395.6       0.0283817     0.0262044             0.0672813             0.8781298          0.8107641 2.0504592  2.0504592
163    53:18.0      574315 6.35303E+12            5.97623E+13     5391.83       0.0283817     0.0289928             0.0673437             0.8781298          0.8970372 2.0523603  2.0523603
164    58:21.0      574315 6.35303E+12            5.97623E+13     5389.24       0.0283817     0.0264685             0.0673114             0.8781298          0.8189354 2.0513744  2.0513744
165    03:26.0      574317 6.35303E+12            6.04051E+13     5387.74       0.0300741     0.2152297             0.0665766             0.9304927          6.6592069 2.0289816  6.6592069
166    08:29.4      574317 6.35303E+12            6.04051E+13     5389.07       0.0300741     0.0276958              0.066593             0.9304927          0.8569081 2.0294825  2.0294825
167    13:33.7      574320 6.35303E+12            6.21737E+13     5394.18       0.0300741      0.228944                0.06476            0.9304927          7.0835274 1.9736205  7.0835274
168    18:36.6      574320 6.35303E+12            6.21737E+13     5398.38       0.0300741      0.049694             0.0648105             0.9304927          1.5375324 1.9751572  1.9751572
169    23:39.6      574320 6.35303E+12            6.21737E+13      5403.1       0.0300741     0.0377784             0.0648671             0.9304927          1.1688637 1.9768841  1.9768841
170    28:42.4      574320 6.35303E+12            6.21737E+13     5406.31       0.0300741     0.0309783             0.0649057             0.9304927          0.9584686 1.9780586  1.9780586
171    33:45.1      574321 6.35303E+12            6.17749E+13     5402.68       0.0300741     0.0285783             0.0652808             0.9304927          0.8842126   1.989492   1.989492
172    38:48.0      574321 6.35303E+12            6.17749E+13     5407.64       0.0300741      0.028437             0.0653408             0.9304927          0.8798408 1.9913185  1.9913185
173    43:51.4      574321 6.35303E+12            6.17749E+13      5407.6       0.0300741     0.0279646             0.0653403             0.9304927          0.8652247 1.9913038  1.9913038
174    48:54.4      574321 6.35303E+12            6.17749E+13     5409.48       0.0300741     0.0281608              0.065363             0.9304927          0.8712952 1.9919961  1.9919961
175    53:57.3      574321 6.35303E+12            6.17749E+13     5414.01       0.0300741     0.0281735             0.0654177             0.9304927          0.8716881 1.9936642  1.9936642
176    59:00.1      574321 6.35303E+12            6.17749E+13     5398.73       0.0300741     0.0270448             0.0652331             0.9304927          0.8367661 1.9880375  1.9880375
177    04:03.7      574321 6.35303E+12            6.17749E+13     5392.99       0.0293844     0.0270641             0.0651637             0.9091533          0.8373633 1.9859238  1.9859238
178    09:06.9      574321 6.35303E+12            6.17749E+13     5391.48       0.0293844      0.027187             0.0651455             0.9091533          0.8411658 1.9853677  1.9853677
179    14:10.4      574321 6.35303E+12            6.17749E+13     5395.84       0.0293844     0.0269481             0.0651982             0.9091533          0.8337742 1.9869732  1.9869732
180    19:13.3      574321 6.35303E+12            6.17749E+13     5394.88       0.0293844     0.0270086             0.0651866             0.9091533          0.8356461 1.9866197  1.9866197
181    24:16.5      574321 6.35303E+12            6.17749E+13     5394.01       0.0293844      0.027136             0.0651761             0.9091533          0.8395878 1.9862994  1.9862994
182    29:19.7      574321 6.35303E+12            6.17749E+13     5393.45       0.0293844     0.0270192             0.0651693             0.9091533           0.835974 1.9860931  1.9860931
183    34:22.8      574322 6.35303E+12              5.8824E+13    5392.88       0.0293844     0.0269702             0.0684313             0.9091533           0.834458 2.0855052  2.0855052
184    39:26.1      574322 6.35303E+12              5.8824E+13    5394.38       0.0293844     0.0262735             0.0684503             0.9091533          0.8129021 2.0860853  2.0860853
185    44:29.0      574323 6.35303E+12            5.85421E+13     5392.66       0.0293844     0.0276092              0.068758             0.9091533          0.8542286 2.0954606  2.0954606
186    49:31.9      574323 6.35303E+12            5.85421E+13     5399.52       0.0293844     0.0268734             0.0688454             0.9091533           0.831463 2.0981263  2.0981263
187    54:34.7      574324 6.35303E+12            5.81584E+13     5403.19       0.0293844     0.0277725             0.0693467             0.9091533          0.8592812 2.1134037  2.1134037
188    59:37.5      574326 6.35303E+12            5.98016E+13     5404.52       0.0293844     0.0305521             0.0674579             0.9091533           0.945282   2.055839   2.055839
189    04:40.2      574326  6.35303E+12           5.98016E+13     5400.73       0.0303728     0.0361938             0.0674106             0.9397344          1.1198362  2.0543973 2.0543973




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       A          B            C                 D                 E            F             G                H                       I                  J               K          L
 1 datetime block_height network_diff est_network_hashrate    BTC_price day_ahead_LMP real_time_LMP breakeven_mining_cost     day_ahead_LMP_rev real_time_LMP_rev mining_rev realized_rev
190   09:43.0      574327 6.35303E+12            5.96067E+13    5400.79       0.0303728      0.0289272             0.0676317             0.9397344          0.8950076 2.0611364  2.0611364
191   14:45.8      574327 6.35303E+12            5.96067E+13    5402.51       0.0303728      0.0277593             0.0676532             0.9397344          0.8588727 2.0617928  2.0617928
192   19:48.6      574328 6.35303E+12            5.96752E+13    5405.01       0.0303728      0.0260079             0.0676069             0.9397344          0.8046844 2.0603812  2.0603812
193   24:53.1      574328 6.35303E+12            5.96752E+13    5405.56       0.0303728       0.027473             0.0676138             0.9397344          0.8500146 2.0605909  2.0605909
194   29:56.2      574328 6.35303E+12            5.96752E+13    5413.98       0.0303728      0.0272669             0.0677191             0.9397344          0.8436379 2.0638005  2.0638005
195   34:59.4      574329 6.35303E+12            5.94855E+13    5414.16       0.0303728       0.027398             0.0679373             0.9397344          0.8476941 2.0704516  2.0704516
196   40:02.3      574330 6.35303E+12            5.97035E+13    5414.01       0.0303728      0.0273913             0.0676874             0.9397344          0.8474868 2.0628341  2.0628341
197   45:05.1      574331 6.35303E+12            5.96567E+13    5411.51       0.0303728      0.0260921             0.0677092             0.9397344          0.8072896 2.0634981  2.0634981
198   50:08.5      574333 6.35303E+12              5.9734E+13   5408.31       0.0303728      0.0272287             0.0675816             0.9397344           0.842456 2.0596102  2.0596102
199   55:11.1      574333 6.35303E+12              5.9734E+13    5400.01      0.0303728      0.0272351             0.0674779             0.9397344           0.842654 2.0564494  2.0564494
200   05:16.6      574335 6.35303E+12              5.9018E+13    5400.72       0.0292151     0.0284932             0.0683055             0.9039152          0.8815796 2.0816708  2.0816708
201   10:20.2      574337 6.35303E+12            6.04407E+13     5401.43       0.0292151     0.0273247             0.0667064             0.9039152          0.8454262 2.0329364  2.0329364
202   15:23.2      574337 6.35303E+12            6.04407E+13     5403.84       0.0292151     0.0270874             0.0667361             0.9039152          0.8380842 2.0338434  2.0338434
203   20:26.3      574340 6.35303E+12            6.01388E+13     5404.02       0.0292151     0.0266421             0.0670734             0.9039152          0.8243066   2.044123  2.044123
204   30:31.9      574342 6.35303E+12              6.0482E+13    5405.55       0.0292151     0.0261271             0.0667116             0.9039152          0.8083725 2.0330975  2.0330975
205   35:34.8      574343 6.35303E+12            5.99395E+13     5400.01       0.0292151     0.0267626             0.0672465             0.9039152          0.8280348 2.0493965  2.0493965
206   40:37.9      574343 6.35303E+12            5.99395E+13     5399.02       0.0292151     0.0266166             0.0672341             0.9039152          0.8235176 2.0490207  2.0490207
207   45:41.0      574344 6.35303E+12            5.95861E+13     5399.01       0.0292151     0.0272594             0.0676328             0.9039152          0.8434058 2.0611697  2.0611697
208   50:43.8      574344 6.35303E+12            5.95861E+13     5394.85       0.0292151     0.0266036             0.0675807             0.9039152          0.8231154 2.0595816  2.0595816
209   55:46.5      574344 6.35303E+12            5.95861E+13     5398.35       0.0292151     0.0268144             0.0676245             0.9039152          0.8296375 2.0609177  2.0609177
210   00:51.0      574345 6.35303E+12            5.83668E+13     5398.44       0.0282594     0.2283316             0.0690384             0.8743458          7.0645797 2.1040074  7.0645797
211   05:53.8      574346 6.35303E+12            5.84022E+13     5394.51       0.0282594     0.0270103             0.0689463             0.8743458          0.8356987 2.1012014  2.1012014
212   10:57.1      574347 6.35303E+12            5.86008E+13     5396.65       0.0282594     0.0270877             0.0687399             0.8743458          0.8380934 2.0949115  2.0949115
213   16:00.5      574347 6.35303E+12            5.86008E+13     5399.98       0.0282594     0.0272394             0.0687824             0.8743458           0.842787 2.0962041  2.0962041
214   21:03.5      574348 6.35303E+12            5.87322E+13      5397.6       0.0282594     0.0269131             0.0685982             0.8743458          0.8326913 2.0905929  2.0905929
215   26:07.8      574348 6.35303E+12            5.87322E+13     5396.94       0.0282594     0.2272329             0.0685898             0.8743458          7.0305859 2.0903373  7.0305859
216   31:11.2      574349 6.35303E+12            5.84595E+13     5395.06       0.0282594     0.0368119             0.0688857             0.8743458          1.1389602 2.0993542  2.0993542
217   36:14.2      574350 6.35303E+12            5.91267E+13     5396.77       0.0282594     0.0273647                0.06813            0.8743458          0.8466638 2.0763241  2.0763241
218   41:17.0      574350 6.35303E+12            5.91267E+13     5395.88       0.0282594     0.0250754             0.0681188             0.8743458          0.7758329 2.0759816  2.0759816
219   46:20.3      574351 6.35303E+12            5.92508E+13      5395.8       0.0282594     0.0257701             0.0679751             0.8743458          0.7973269 2.0716025  2.0716025
220   51:23.3      574351 6.35303E+12            5.92508E+13     5393.06       0.0282594     0.0249811             0.0679406             0.8743458          0.7729152 2.0705505  2.0705505
221   56:25.9      574351 6.35303E+12            5.92508E+13     5391.33       0.0282594     0.0252147             0.0679188             0.8743458          0.7801428 2.0698863  2.0698863
222   01:28.7      574351 6.35303E+12            5.92508E+13     5390.01       0.0294875     0.0252863             0.0679022             0.9123433          0.7823581 2.0693795  2.0693795
223   06:31.8      574351 6.35303E+12            5.92508E+13     5374.44       0.0294875     0.0227695              0.067706             0.9123433          0.7044883 2.0634017  2.0634017
224   11:34.6      574351 6.35303E+12            5.92508E+13     5371.81       0.0294875     0.0228204             0.0676729             0.9123433          0.7060632   2.062392   2.062392
225   16:37.4      574352 6.35303E+12            5.79249E+13      5372.6       0.0294875      0.024445             0.0692321             0.9123433          0.7563283 2.1099115  2.1099115
226   21:40.3      574353 6.35303E+12            5.95341E+13     5377.77       0.0294875     0.0231413             0.0674255             0.9123433          0.7159918 2.0548543  2.0548543
227   26:43.1      574353 6.35303E+12            5.95341E+13     5384.99       0.0294875     0.0250495             0.0675161             0.9123433          0.7750315 2.0576131  2.0576131
228   31:45.9      574353 6.35303E+12            5.95341E+13     5393.61       0.0294875     0.0254698             0.0676241             0.9123433          0.7880356 2.0609068  2.0609068
229   36:48.6      574353 6.35303E+12            5.95341E+13     5395.02       0.0294875     0.0254096             0.0676418             0.9123433           0.786173 2.0614455  2.0614455
230   41:51.5      574353 6.35303E+12            5.95341E+13     5401.49       0.0294875     0.0250828             0.0677229             0.9123433          0.7760618 2.0639177  2.0639177
231   46:55.3      574356 6.35303E+12            6.01278E+13     5393.39       0.0294875     0.0235193             0.0669538             0.9123433          0.7276871 2.0404768  2.0404768
232   51:58.7      574356 6.35303E+12            6.01278E+13      5401.9       0.0294875     0.0249891             0.0670594             0.9123433          0.7731628 2.0436963  2.0436963
233   57:01.6      574357 6.35303E+12            5.98782E+13     5404.01       0.0294875     0.0221317             0.0673653             0.9123433          0.6847548 2.0530169  2.0530169
234   02:04.6      574357 6.35303E+12            5.98782E+13     5410.44       0.0358722      0.021966             0.0674454             1.1098859           0.679628 2.0554597  2.0554597
235   07:08.5      574357 6.35303E+12            5.98782E+13     5413.48       0.0358722     0.0217579             0.0674833             1.1098859          0.6731894 2.0566147  2.0566147
236   12:11.9      574359 6.35303E+12            5.99023E+13     5412.99       0.0358722     0.0219837             0.0674501             1.1098859          0.6801757 2.0556012  2.0556012
237   17:15.2      574360 6.35303E+12              6.0023E+13    5413.64       0.0358722     0.0220791             0.0673224             1.1098859          0.6831274 2.0517109  2.0517109
238   22:18.3      574360 6.35303E+12              6.0023E+13    5409.57       0.0358722     0.0229158             0.0672718             1.1098859          0.7090149 2.0501684  2.0501684
239   27:22.6      574360 6.35303E+12              6.0023E+13     5403.2       0.0358722     0.0226755             0.0671926             1.1098859             0.70158 2.0477543 2.0477543
240   32:25.6      574361 6.35303E+12            5.95038E+13     5409.65       0.0358722     0.0247112             0.0678598             1.1098859          0.7645645   2.068088   2.068088
241   37:29.5      574361 6.35303E+12            5.95038E+13     5414.99       0.0358722     0.0361625             0.0679268             1.1098859          1.1188678 2.0701294  2.0701294
242   42:32.7      574362 6.35303E+12            5.87448E+13     5422.88       0.0358722     0.0240264             0.0689047             1.1098859          0.7433768 2.0999322  2.0999322
243   47:36.4      574362 6.35303E+12            5.87448E+13     5432.58       0.0358722     0.0226338             0.0690279             1.1098859          0.7002898 2.1036884  2.1036884
244   52:39.7      574362 6.35303E+12            5.87448E+13     5428.01       0.0358722     0.0242397             0.0689699             1.1098859          0.7499763 2.1019188  2.1019188
245   57:42.7      574363 6.35303E+12            5.80502E+13     5427.15       0.0358722      0.032838             0.0697841             1.1098859          1.0160077 2.1267343  2.1267343
246   02:45.9      574364 6.35303E+12            5.78645E+13     5427.23       0.0269724      0.048486             0.0700091             0.8345261          1.5001568 2.1335902  2.1335902
247   07:49.0      574364 6.35303E+12            5.78645E+13     5441.99       0.0269724     0.0436141             0.0701995             0.8345261          1.3494203 2.1393928  2.1393928
248   12:51.9      574365 6.35303E+12            5.73396E+13     5428.97       0.0269724     0.0245126             0.0706726             0.8345261          0.7584198 2.1538115  2.1538115
249   17:54.9      574367 6.35303E+12            5.84533E+13     5439.06       0.0269724     0.0248829              0.069455             0.8345261          0.7698769 2.1167024  2.1167024
250   22:58.1      574367 6.35303E+12            5.84533E+13     5434.48       0.0269724      0.023353             0.0693965             0.8345261          0.7225418 2.1149201  2.1149201
251   28:01.3      574368 6.35303E+12            5.81378E+13      5438.3       0.0269724     0.0216344             0.0698221             0.8345261          0.6693683 2.1278923  2.1278923
252   33:04.7      574368 6.35303E+12            5.81378E+13     5439.66       0.0269724     0.0213325             0.0698396             0.8345261          0.6600276 2.1284244  2.1284244
253   38:08.1      574369 6.35303E+12              5.7527E+13    5442.57       0.0269724     0.0208171             0.0706189             0.8345261          0.6440811 2.1521741  2.1521741
254   43:11.1      574370 6.35303E+12            5.73316E+13     5444.99       0.0269724     0.0201683             0.0708911             0.8345261          0.6240072 2.1604697  2.1604697
255   48:14.1      574370 6.35303E+12            5.73316E+13     5466.35       0.0269724     0.0200828             0.0711692             0.8345261          0.6213618 2.1689449  2.1689449
256   53:17.4      574370 6.35303E+12            5.73316E+13     5469.28       0.0269724     0.0197299             0.0712073             0.8345261          0.6104431 2.1701075  2.1701075
257   58:20.4      574373 6.35303E+12            5.75391E+13     5468.81       0.0269724     0.0200014             0.0709444             0.8345261          0.6188433 2.1620944  2.1620944
258   03:23.6      574373 6.35303E+12            5.75391E+13     5471.06       0.0207906     0.0196896             0.0709736             0.6432612          0.6091962 2.1629839  2.1629839
259   08:26.7      574374 6.35303E+12            5.70787E+13     5464.23       0.0207906     0.0194455             0.0714567             0.6432612          0.6016438   2.177708   2.177708
260   13:29.7      574374 6.35303E+12            5.70787E+13     5456.01       0.0207906     0.0198243             0.0713492             0.6432612          0.6133638 2.1744321  2.1744321
261   23:35.9      574376 6.35303E+12            5.68162E+13     5459.27       0.0207906     0.0215706             0.0717217             0.6432612          0.6673944   2.185782   2.185782
262   28:38.8      574376 6.35303E+12            5.68162E+13     5454.55       0.0207906     0.0196633             0.0716596             0.6432612          0.6083825 2.1838922  2.1838922
263   38:44.6      574377 6.35303E+12            5.63276E+13      5466.4       0.0207906     0.0221114             0.0724384             0.6432612          0.6841267 2.2076251  2.2076251
264   43:47.3      574377 6.35303E+12            5.63276E+13     5465.31       0.0207906     0.0214445             0.0724239             0.6432612          0.6634928 2.2071849  2.2071849
265   48:50.6      574378 6.35303E+12            5.65074E+13     5471.97       0.0207906     0.0214515             0.0722814             0.6432612          0.6637094 2.2028417  2.2028417
266   53:53.3      574378 6.35303E+12            5.65074E+13      5467.7       0.0207906     0.0210118              0.072225             0.6432612          0.6501051 2.2011227  2.2011227
267   58:56.2      574379 6.35303E+12            5.75462E+13      5464.7       0.0207906      0.019883             0.0708824             0.6432612             0.61518 2.1602037 2.1602037
268   04:31.8      574384 6.35303E+12            5.65611E+13     5475.86          0.01793    0.0189255             0.0722642             0.5547542           0.585555 2.2023153  2.2023153
269   09:34.9      574384 6.35303E+12            5.65611E+13     5473.44          0.01793    0.0188962             0.0722322             0.5547542          0.5846484   2.201342   2.201342
270   14:37.8      574384 6.35303E+12            5.65611E+13     5475.01          0.01793     0.018951             0.0722529             0.5547542          0.5863439 2.2019735  2.2019735
271   19:40.7      574384 6.35303E+12            5.65611E+13     5478.95          0.01793    0.0186057             0.0723049             0.5547542          0.5756604 2.2035581  2.2035581
272   24:43.7      574384 6.35303E+12            5.65611E+13     5485.86          0.01793    0.0184337             0.0723961             0.5547542          0.5703387 2.2063372  2.2063372
273   29:46.4      574385 6.35303E+12            5.52675E+13     5483.01          0.01793    0.0180784             0.0740521             0.5547542          0.5593457 2.2568058  2.2568058
274   34:49.2      574386 6.35303E+12              5.5002E+13    5487.88          0.01793    0.0183673             0.0744757             0.5547542          0.5682843 2.2697143  2.2697143
275   39:52.0      574387 6.35303E+12              5.4816E+13     5489.7          0.01793    0.0188157             0.0747532             0.5547542          0.5821578   2.278171   2.278171
276   44:55.2      574387 6.35303E+12              5.4816E+13    5485.01          0.01793    0.0183954             0.0746893             0.5547542          0.5691537 2.2762247  2.2762247
277   49:58.0      574387 6.35303E+12              5.4816E+13     5494.4          0.01793    0.0185406             0.0748172             0.5547542          0.5736462 2.2801215  2.2801215
278   55:00.7      574387 6.35303E+12              5.4816E+13    5492.41          0.01793     0.018494             0.0747901             0.5547542          0.5722044 2.2792957  2.2792957
279   00:04.0      574388 6.35303E+12            5.41076E+13     5491.83       0.0169796     0.0185045             0.0757612             0.5253488          0.5725292 2.3088909  2.3088909
280   05:07.0      574388 6.35303E+12            5.41076E+13      5492.5       0.0169796     0.0185003             0.0757704             0.5253488          0.5723993 2.3091726  2.3091726
281   10:10.3      574388 6.35303E+12            5.41076E+13     5499.47       0.0169796     0.0184926             0.0758666             0.5253488           0.572161 2.3121029  2.3121029
282   15:13.1      574390 6.35303E+12            5.36713E+13     5499.81       0.0169796     0.0184921             0.0764881             0.5253488          0.5721456 2.3310446  2.3310446
283   20:15.9      574393  6.35303E+12             5.4543E+13    5532.69       0.0169796     0.0189826             0.0757157             0.5253488          0.5873216  2.3075042 2.3075042




                                                                                                                                                                                    BB10000916
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       A          B            C                 D                 E            F             G                H                      I                  J                K         L
 1 datetime block_height network_diff est_network_hashrate    BTC_price day_ahead_LMP real_time_LMP breakeven_mining_cost    day_ahead_LMP_rev real_time_LMP_rev mining_rev realized_rev
284   25:19.0      574393 6.35303E+12              5.4543E+13   5532.49       0.0169796      0.0194997              0.075713            0.5253488          0.6033207 2.3074208   2.3074208
285   30:22.4      574393 6.35303E+12              5.4543E+13   5536.93       0.0169796        0.01969             0.0757737            0.5253488          0.6092086 2.3092726   2.3092726
286   35:25.7      574393 6.35303E+12              5.4543E+13   5564.48       0.0169796      0.0196471             0.0761508            0.5253488          0.6078813 2.3207628   2.3207628
287   40:28.5      574394 6.35303E+12            5.38779E+13    5538.44       0.0169796      0.0199408             0.0767299            0.5253488          0.6169684 2.3384139   2.3384139
288   45:31.4      574395 6.35303E+12            5.53825E+13    5520.08       0.0169796      0.0196539              0.074398            0.5253488          0.6080917 2.2673468   2.2673468
289   50:34.1      574395 6.35303E+12            5.53825E+13    5520.48       0.0169796      0.0197095             0.0744034            0.5253488          0.6098119 2.2675111   2.2675111
290   55:37.0      574395 6.35303E+12            5.53825E+13    5515.98       0.0169796      0.0193539             0.0743428            0.5253488          0.5988097 2.2656627   2.2656627
291   00:39.8      574395 6.35303E+12            5.53825E+13    5518.69       0.0176483      0.0193487             0.0743793            0.5460384          0.5986488 2.2667759   2.2667759
292   05:43.2      574395 6.35303E+12            5.53825E+13    5531.68       0.0176483      0.0192845             0.0745544            0.5460384          0.5966624 2.2721114   2.2721114
293   10:46.2      574395 6.35303E+12            5.53825E+13      5528.2      0.0176483      0.0191026             0.0745075            0.5460384          0.5910344   2.270682   2.270682
294   15:49.5      574396 6.35303E+12            5.44713E+13      5541.2      0.0176483      0.0190542              0.075932            0.5460384          0.5895369 2.3140947   2.3140947
295   20:52.5      574396 6.35303E+12            5.44713E+13    5544.69       0.0176483      0.0190808             0.0759798            0.5460384             0.59036 2.3155521  2.3155521
296   25:55.5      574396 6.35303E+12            5.44713E+13    5552.98       0.0176483       0.019178             0.0760934            0.5460384          0.5933673 2.3190142   2.3190142
297   30:59.2      574397 6.35303E+12            5.38389E+13     5536.99      0.0176483       0.018807             0.0767654            0.5460384          0.5818886 2.3394943   2.3394943
298   41:05.7      574397 6.35303E+12            5.38389E+13     5578.73       0.0176483     0.0189594             0.0773441            0.5460384          0.5866038 2.3571303   2.3571303
299   46:09.1      574397 6.35303E+12            5.38389E+13     5587.27       0.0176483     0.0190541             0.0774625            0.5460384          0.5895339 2.3607386   2.3607386
300   51:12.8      574397 6.35303E+12            5.38389E+13     5577.62       0.0176483     0.0195343             0.0773287            0.5460384          0.6043912 2.3566613   2.3566613
301   56:15.8      574397 6.35303E+12            5.38389E+13     5578.43       0.0176483     0.0195897             0.0773399            0.5460384          0.6061053 2.3570036   2.3570036
302   01:18.8      574398 6.35303E+12            5.24135E+13     5585.77       0.0178528     0.0199086             0.0795478            0.5523656          0.6159721     2.42429    2.42429
303   06:21.7      574399 6.35303E+12            5.22154E+13     5570.36       0.0178528     0.0200685             0.0796293            0.5523656          0.6209194 2.4267736   2.4267736
304   11:24.5      574400 6.35303E+12            5.19602E+13      5563.2       0.0178528     0.0198898             0.0799175            0.5523656          0.6153904 2.4355582   2.4355582
305   16:27.7      574400 6.35303E+12            5.19602E+13     5579.23       0.0178528     0.0199775             0.0801478            0.5523656          0.6181039 2.4425761   2.4425761
306   21:30.9      574400 6.35303E+12            5.19602E+13     5571.91       0.0178528     0.0199738             0.0800426            0.5523656          0.6179894 2.4393714   2.4393714
307   26:33.7      574401 6.35303E+12            5.14241E+13     5570.27       0.0178528     0.0201313             0.0808533            0.5523656          0.6228624 2.4640783   2.4640783
308   31:36.6      574402 6.35303E+12            5.15991E+13     5562.53       0.0178528     0.0200901             0.0804671            0.5523656          0.6215877 2.4523071   2.4523071
309   36:39.5      574402 6.35303E+12            5.15991E+13     5598.28       0.0178528     0.0208431             0.0809843            0.5523656          0.6448855 2.4680679   2.4680679
310   41:42.6      574404 6.35303E+12            5.22163E+13     5622.51       0.0178528     0.0203289             0.0803735            0.5523656          0.6289762 2.4494541   2.4494541
311   46:45.4      574405 6.35303E+12            5.26766E+13     5610.46       0.0178528     0.0223107             0.0795004            0.5523656          0.6902931 2.4228448   2.4228448
312   51:48.0      574406 6.35303E+12            5.44332E+13     5697.34       0.0178528     0.0203729             0.0781261            0.5523656          0.6303375 2.3809636   2.3809636
313   56:51.2      574407 6.35303E+12            5.44179E+13     5660.07       0.0178528     0.0202985              0.077637            0.5523656          0.6280356 2.3660567   2.3660567
314   01:53.8      574407 6.35303E+12            5.44179E+13     5667.78        0.018673      0.019187             0.0777427            0.5777426          0.5936458 2.3692797   2.3692797
315   06:56.8      574408 6.35303E+12            5.43366E+13     5661.93        0.018673     0.0198179             0.0777787            0.5777426          0.6131658 2.3703744   2.3703744
316   11:59.7      574409 6.35303E+12            5.45039E+13      5688.4        0.018673     0.0201109             0.0779024            0.5777426          0.6222312 2.3741451   2.3741451
317   17:02.5      574409 6.35303E+12            5.45039E+13     5705.82        0.018673     0.0203436             0.0781409            0.5777426           0.629431 2.3814156   2.3814156
318   22:05.5      574409 6.35303E+12            5.45039E+13     5684.26        0.018673     0.0227072             0.0778457            0.5777426          0.7025608 2.3724172   2.3724172
319   27:08.6      574410 6.35303E+12              5.4739E+13    5675.94        0.018673      0.020882             0.0773979            0.5777426          0.6460891 2.3587711   2.3587711
320   32:12.0      574410 6.35303E+12              5.4739E+13     5704.8        0.018673     0.0217919             0.0777915            0.5777426          0.6742414 2.3707646   2.3707646
321   37:15.1      574410 6.35303E+12              5.4739E+13    5701.98        0.018673     0.0218761              0.077753            0.5777426          0.6768465 2.3695926   2.3695926
322   42:18.0      574410 6.35303E+12              5.4739E+13    5732.34        0.018673     0.0216156              0.078167            0.5777426          0.6687867 2.3822095   2.3822095
323   47:21.3      574410 6.35303E+12              5.4739E+13    5753.01        0.018673     0.0231724             0.0784489            0.5777426          0.7169541 2.3907994   2.3907994
324   52:24.4      574410 6.35303E+12              5.4739E+13    5756.81        0.018673     0.0236957             0.0785007            0.5777426           0.733145 2.3923786   2.3923786
325   07:33.5      574412 6.35303E+12            5.33495E+13      5695.4       0.0236366     0.0226621             0.0796861            0.7313164          0.7011654 2.4285046   2.4285046
326   12:36.5      574412 6.35303E+12            5.33495E+13     5717.23       0.0236366     0.0234957             0.0799915            0.7313164           0.726957 2.4378128   2.4378128
327   17:39.6      574413 6.35303E+12            5.25253E+13     5714.11       0.0236366     0.0236965             0.0812022            0.7313164          0.7331697 2.4747113   2.4747113
328   22:42.4      574413 6.35303E+12            5.25253E+13     5730.11       0.0236366     0.0223574             0.0814296            0.7313164           0.691738 2.4816407   2.4816407
329   27:45.2      574413 6.35303E+12            5.25253E+13     5715.55       0.0236366     0.0257048             0.0812227            0.7313164          0.7953065   2.475335   2.475335
330   32:48.0      574414 6.35303E+12            5.19701E+13     5734.99       0.0236366     0.0255095             0.0823697            0.7313164          0.7892639 2.5102894   2.5102894
331   37:50.7      574414 6.35303E+12            5.19701E+13     5743.05       0.0236366     0.0257825             0.0824854            0.7313164          0.7977106 2.5138174   2.5138174
332   47:55.8      574419 6.35303E+12               5.263E+13    5733.81       0.0236366     0.0226332             0.0813201            0.7313164          0.7002712 2.4783037   2.4783037
333   52:58.6      574420 6.35303E+12            5.25895E+13     5702.24       0.0236366     0.0365861             0.0809348            0.7313164          1.1319739 2.4665598   2.4665598
334   03:05.1      574422 6.35303E+12              5.2543E+13    5687.09       0.0270381     0.0220677              0.080791            0.8365588          0.6827746 2.4621796   2.4621796
335   08:08.3      574424 6.35303E+12            5.28202E+13     5689.31       0.0270381      0.021979             0.0803985            0.8365588          0.6800303 2.4502159   2.4502159
336   13:11.1      574424 6.35303E+12            5.28202E+13     5696.24       0.0270381     0.0220696             0.0804964            0.8365588          0.6828334 2.4532005   2.4532005
337   18:13.9      574424 6.35303E+12            5.28202E+13     5678.52       0.0270381     0.0284763              0.080246            0.8365588          0.8810567   2.445569   2.445569
338   23:16.6      574426 6.35303E+12            5.30049E+13     5680.01       0.0270381     0.0489843             0.0799874            0.8365588          1.5155742 2.4376872   2.4376872
339   28:21.0      574427 6.35303E+12            5.28466E+13     5679.28       0.0270381     0.2387125             0.0802166            0.8365588          7.3857647 2.4446732   7.3857647
340   33:25.0      574427 6.35303E+12            5.28466E+13     5698.99       0.0270381     0.2311826              0.080495            0.8365588          7.1527896 2.4531574   7.1527896
341   38:27.9      574427 6.35303E+12            5.28466E+13     5702.85       0.0270381     0.0493653             0.0805495            0.8365588          1.5273624   2.454819   2.454819
342   43:31.1      574428 6.35303E+12              5.2354E+13     5722.4       0.0270381     0.0281258             0.0815862            0.8365588          0.8702123 2.4864117   2.4864117
343   48:33.8      574428 6.35303E+12              5.2354E+13    5716.73       0.0270381     0.0284039             0.0815053            0.8365588          0.8788167   2.483948   2.483948
344   53:36.7      574428 6.35303E+12              5.2354E+13    5711.78       0.0270381        0.02865            0.0814347            0.8365588           0.886431 2.4817972   2.4817972
345   58:39.3      574429 6.35303E+12            5.15634E+13     5700.85       0.0270381     0.0241868             0.0825252            0.8365588          0.7483396 2.5150298   2.5150298
346   03:42.5      574429 6.35303E+12            5.15634E+13     5699.99       0.0277604     0.0226736             0.0825128            0.8589068          0.7015212 2.5146504   2.5146504
347   08:45.2      574429 6.35303E+12            5.15634E+13     5715.88       0.0277604     0.0234588             0.0827428            0.8589068          0.7258153 2.5216605   2.5216605
348   13:48.0      574430 6.35303E+12            5.12815E+13      5716.7       0.0277604     0.0236299             0.0832095            0.8589068          0.7311091 2.5358831   2.5358831
349   18:51.3      574430 6.35303E+12            5.12815E+13     5707.94       0.0277604     0.0239638             0.0830819            0.8589068             0.74144 2.5319972  2.5319972
350   23:54.2      574430 6.35303E+12            5.12815E+13     5728.45       0.0277604     0.0239508             0.0833805            0.8589068          0.7410378 2.5410953   2.5410953
351   28:57.1      574430 6.35303E+12            5.12815E+13     5736.02       0.0277604     0.0240308             0.0834907            0.8589068           0.743513 2.5444533   2.5444533
352   33:59.8      574430 6.35303E+12            5.12815E+13     5740.86       0.0277604     0.0248987             0.0835611            0.8589068          0.7703658 2.5466002   2.5466002
353   39:02.8      574430 6.35303E+12            5.12815E+13     5735.65       0.0277604        0.02456            0.0834853            0.8589068          0.7598864 2.5442891   2.5442891
354   44:05.8      574430 6.35303E+12            5.12815E+13      5732.1       0.0277604     0.0249204             0.0834336            0.8589068          0.7710372 2.5427144   2.5427144
355   49:08.6      574431 6.35303E+12            4.97074E+13      5725.7       0.0277604     0.0480883             0.0859796            0.8589068           1.487852 2.6203068   2.6203068
356   54:11.5      574432 6.35303E+12            4.99455E+13     5720.02       0.0277604     0.0288004             0.0854849            0.8589068          0.8910844 2.6052295   2.6052295
357   59:14.4      574432 6.35303E+12            4.99455E+13     5706.01       0.0277604     0.0478212             0.0852755            0.8589068          1.4795879 2.5988485   2.5988485
358   04:17.3      574433 6.35303E+12            4.98413E+13     5720.99        0.027778     0.0269386             0.0856781            0.8594513          0.8334803 2.6111164   2.6111164
359   09:20.0      574435 6.35303E+12            4.97656E+13     5725.87        0.027778     0.0240209             0.0858817            0.8594513          0.7432066 2.6173216   2.6173216
360   14:23.2      574435 6.35303E+12            4.97656E+13     5733.32        0.027778     0.0249794             0.0859934            0.8594513          0.7728626   2.620727   2.620727
361   19:26.0      574437 6.35303E+12            4.98823E+13     5729.99        0.027778     0.0275281             0.0857423            0.8594513          0.8517194 2.6130745   2.6130745
362   29:31.7      574439 6.35303E+12            4.96328E+13     5746.56        0.027778     0.0485069             0.0864226            0.8594513          1.5008035 2.6338056   2.6338056
363   34:35.2      574441 6.35303E+12            5.04581E+13     5735.82        0.027778     0.0272909             0.0848502            0.8594513          0.8443804 2.5858866   2.5858866
364   39:38.2      574441 6.35303E+12            5.04581E+13     5745.02        0.027778     0.0271114             0.0849863            0.8594513          0.8388267 2.5900343   2.5900343
365   44:40.9      574442 6.35303E+12            5.28842E+13     5751.06        0.027778     0.0487904             0.0811728            0.8594513           1.509575 2.4738132   2.4738132
366   54:46.1      574442 6.35303E+12            5.28842E+13     5741.39        0.027778     0.0269661             0.0810363            0.8594513          0.8343311 2.4696537   2.4696537
367   59:49.2      574443 6.35303E+12            5.28228E+13     5739.18        0.027778     0.0258253             0.0810993            0.8594513          0.7990348 2.4715738   2.4715738
368   04:52.0      574443 6.35303E+12            5.28228E+13     5735.16       0.0303126     0.0260635             0.0810425            0.9378718          0.8064047 2.4698426   2.4698426
369   09:54.9      574443 6.35303E+12            5.28228E+13     5753.15       0.0303126     0.0249105             0.0812967            0.9378718          0.7707309     2.47759    2.47759
370   14:57.9      574443 6.35303E+12            5.28228E+13     5760.65       0.0303126     0.0251299             0.0814027            0.9378718          0.7775191 2.4808199   2.4808199
371   20:00.9      574443 6.35303E+12            5.28228E+13     5758.01       0.0303126     0.0254432             0.0813654            0.9378718          0.7872126 2.4796829   2.4796829
372   30:06.6      574445 6.35303E+12            5.19166E+13     5760.01       0.0303126     0.0282726             0.0828144            0.9378718          0.8747542 2.5238421   2.5238421
373   35:09.9      574446 6.35303E+12            5.17083E+13      5750.9       0.0303126     0.0348358             0.0830164            0.9378718          1.0778197 2.5299985   2.5299985
374   40:13.0      574446 6.35303E+12            5.17083E+13     5762.47       0.0303126     0.0280725             0.0831834            0.9378718          0.8685632 2.5350885   2.5350885
375   45:15.9      574446 6.35303E+12            5.17083E+13     5753.72       0.0303126      0.026982             0.0830571            0.9378718          0.8348231 2.5312392   2.5312392
376   50:18.7      574448 6.35303E+12            5.19511E+13     5754.06       0.0303126     0.0268925             0.0826737            0.9378718           0.832054 2.5195561   2.5195561
377   00:24.0      574448  6.35303E+12           5.19511E+13     5721.44       0.0294253     0.0271858              0.082205            0.9104188          0.8411287  2.5052726  2.5052726




                                                                                                                                                                                    BB10000916
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       A          B            C                 D                E            F             G                H                      I                  J              K          L
 1 datetime block_height network_diff est_network_hashrate   BTC_price day_ahead_LMP real_time_LMP breakeven_mining_cost    day_ahead_LMP_rev real_time_LMP_rev mining_rev realized_rev
378   05:27.0      574448 6.35303E+12            5.19511E+13   5706.98       0.0294253      0.0253359             0.0819973            0.9104188          0.7838927 2.4989409  2.4989409
379   10:30.3      574449 6.35303E+12            5.17328E+13   5701.52       0.0294253      0.0259191             0.0822646            0.9104188           0.801937 2.5070865  2.5070865
380   15:33.5      574450 6.35303E+12            5.16724E+13   5720.36       0.0294253      0.0262614             0.0826329            0.9104188          0.8125277 2.5183117  2.5183117
381   20:36.3      574450 6.35303E+12            5.16724E+13     5715.9      0.0294253      0.0259411             0.0825685            0.9104188          0.8026176 2.5163482  2.5163482
382   25:39.3      574450 6.35303E+12            5.16724E+13   5710.01       0.0294253         0.02602            0.0824834            0.9104188          0.8050588 2.5137552  2.5137552
383   30:42.6      574450 6.35303E+12            5.16724E+13   5720.01       0.0294253      0.0257416             0.0826278            0.9104188          0.7964451 2.5181576  2.5181576
384   35:45.4      574450 6.35303E+12            5.16724E+13   5725.31       0.0294253      0.0263149             0.0827044            0.9104188           0.814183 2.5204908  2.5204908
385   40:48.2      574452 6.35303E+12            5.09821E+13   5714.39       0.0294253      0.0264506             0.0836643            0.9104188          0.8183816 2.5497457  2.5497457
386   45:51.1      574454 6.35303E+12            5.11925E+13   5720.01       0.0294253      0.0252602             0.0834024            0.9104188          0.7815506 2.5417623  2.5417623
387   50:54.1      574454 6.35303E+12            5.11925E+13   5704.48       0.0294253      0.0244985             0.0831759            0.9104188          0.7579836 2.5348614  2.5348614
388   55:57.1      574454 6.35303E+12            5.11925E+13    5713.35      0.0294253      0.0241693             0.0833053            0.9104188          0.7477981 2.5388029  2.5388029
389   00:59.9      574454 6.35303E+12            5.11925E+13    5714.69       0.0318592     0.0253433             0.0833248            0.9857236          0.7841217 2.5393983  2.5393983
390   06:03.5      574454 6.35303E+12            5.11925E+13    5710.33       0.0318592     0.0243257             0.0832612            0.9857236          0.7526372 2.5374609  2.5374609
391   11:07.4      574454 6.35303E+12            5.11925E+13    5705.52       0.0318592     0.0246413             0.0831911            0.9857236          0.7624018 2.5353235  2.5353235




                                                                                                                                                                                  BB10000916
                                                                                            5                                                       HIGHLY CONFIDENTIAL - ATTORNEYS' EYES ONLY


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                                                                                    Bearbox v Lancium
                                                                                     Trial Exhibit
                                                                                      TX920-6

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                                             Appx13429
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       A          B            C                 D                E            F              G                H                       I                  J               K         L
 1 datetime block_height network_diff est_network_hashrate    BTC_price day_ahead_LMP real_time_LMP breakeven_mining_cost     day_ahead_LMP_rev real_time_LMP_rev mining_rev realized_rev
 2    22:20.9      574204 6.35303E+12            5.38327E+13    5320.02       0.0054942      0.0058423             0.0737658             0.1699905          0.1807608 2.2480786  2.2480786
 3    27:24.1      574204 6.35303E+12            5.38327E+13    5320.01       0.0054942      0.0062269             0.0737656             0.1699905          0.1926603 2.2480744  2.2480744
 4    32:27.2      574204 6.35303E+12            5.38327E+13    5321.94       0.0054942      0.0045157             0.0737924             0.1699905          0.1397158    2.24889    2.24889
 5    37:30.3      574205 6.35303E+12            5.30839E+13    5321.95       0.0054942      0.0035338             0.0748335             0.1699905          0.1093358 2.2806172  2.2806172
 6    42:33.3      574205 6.35303E+12            5.30839E+13    5326.19       0.0054942       0.002277             0.0748931             0.1699905          0.0704504 2.2824342  2.2824342
 7    47:36.1      574206 6.35303E+12            5.44532E+13    5328.27       0.0054942      0.0051513             0.0730384             0.1699905          0.1593812  2.225912   2.225912
 8    52:39.2      574206 6.35303E+12            5.44532E+13    5328.65       0.0054942      0.0072185             0.0730436             0.1699905          0.2233404 2.2260707  2.2260707
 9    57:42.1      574207 6.35303E+12            5.39845E+13    5327.68       0.0054942      0.0010915             0.0736643             0.1699905           0.033771 2.2449863  2.2449863
10    02:45.4      574207 6.35303E+12            5.39845E+13    5327.22       0.0007072      0.0026959              0.073658             0.0218808          0.0834111 2.2447925  2.2447925
11    07:48.3      574208 6.35303E+12            5.34662E+13    5325.01       0.0007072     -0.0034108             0.0743412             0.0218808        -0.1055302 2.2656139   2.2656139
12    12:51.5      574208 6.35303E+12            5.34662E+13    5325.01       0.0007072     -0.0088288             0.0743412             0.0218808        -0.2731631 2.2656139   2.2656139
13    17:54.3      574209 6.35303E+12            5.33477E+13    5321.01       0.0007072      0.0005301             0.0744503             0.0218808          0.0164013 2.2689395  2.2689395
14    22:57.3      574209 6.35303E+12            5.33477E+13    5327.95       0.0007072      0.0007828             0.0745474             0.0218808          0.0242198 2.2718988  2.2718988
15    28:01.3      574211 6.35303E+12            5.42133E+13    5325.19       0.0007072     -0.0182739             0.0733191             0.0218808        -0.5653945 2.2344662   2.2344662
16    33:04.8      574212 6.35303E+12            5.54528E+13    5323.43       0.0007072     -0.0301375             0.0716566             0.0218808        -0.9324543      2.1838     2.1838
17    38:07.8      574214 6.35303E+12               5.533E+13   5323.35       0.0007072     -0.0305618             0.0718145             0.0218808        -0.9455821 2.1886119   2.1886119
18    43:10.7      574215 6.35303E+12            5.58834E+13     5323.1       0.0007072     -0.0284827             0.0711001             0.0218808        -0.8812547 2.1668382   2.1668382
19    48:13.5      574215 6.35303E+12            5.58834E+13    5326.55       0.0007072     -0.0254853             0.0711461             0.0218808        -0.7885152 2.1682425   2.1682425
20    53:16.6      574215 6.35303E+12            5.58834E+13     5328.3       0.0007072     -0.0291736             0.0711695             0.0218808        -0.9026312 2.1689549   2.1689549
21    58:19.3      574216 6.35303E+12            5.54406E+13    5326.69       0.0007072     -0.0300521             0.0717163             0.0218808          -0.929812 2.1856184  2.1856184
22    03:22.6      574216 6.35303E+12            5.54406E+13    5330.35       0.0001184     -0.0293821             0.0717656             0.0036633        -0.9090822 2.1871201   2.1871201
23    08:25.6      574218 6.35303E+12            5.58377E+13    5330.78       0.0001184     -0.0030017              0.071261             0.0036633        -0.0928726 2.1717421   2.1717421
24    13:28.5      574220 6.35303E+12            5.59914E+13    5329.45       0.0001184     -0.0183569             0.0710476             0.0036633        -0.5679625 2.1652392   2.1652392
25    18:31.4      574220 6.35303E+12            5.59914E+13    5348.41       0.0001184     -0.0168349             0.0713003             0.0036633        -0.5208718 2.1729422   2.1729422
26    23:34.2      574223 6.35303E+12            5.60912E+13    5338.35       0.0001184     -0.0262408             0.0710397             0.0036633        -0.8118904   2.164998   2.164998
27    28:37.1      574226 6.35303E+12            5.60441E+13    5328.39       0.0001184     -0.0286978             0.0709666             0.0036633        -0.8879099 2.1627725   2.1627725
28    33:39.9      574226 6.35303E+12            5.60441E+13     5333.1       0.0001184     -0.0249271             0.0710294             0.0036633        -0.7712445 2.1646843   2.1646843
29    38:43.2      574227 6.35303E+12            5.56725E+13    5332.07       0.0001184     -0.0184168             0.0714897             0.0036633        -0.5698158 2.1787132   2.1787132
30    43:45.9      574227 6.35303E+12            5.56725E+13    5339.02       0.0001184     -0.0190364             0.0715829             0.0036633        -0.5889862   2.181553   2.181553
31    48:49.2      574228 6.35303E+12            5.52451E+13    5343.15       0.0001184     -0.0188272             0.0721925             0.0036633        -0.5825136 2.2001303   2.2001303
32    53:52.1      574229 6.35303E+12              5.5892E+13   5338.61       0.0001184     -0.0278877             0.0712963             0.0036633        -0.8628454 2.1728179   2.1728179
33    58:55.4      574229 6.35303E+12              5.5892E+13   5336.51       0.0001184     -0.0228802             0.0712682             0.0036633        -0.7079134 2.1719632   2.1719632
34    03:58.2      574229 6.35303E+12              5.5892E+13   5340.15         4.90E-06     -0.018324             0.0713168             0.0001516        -0.5669446 2.1734447   2.1734447
35    09:01.3      574229 6.35303E+12              5.5892E+13   5341.69         4.90E-06    -0.0302504             0.0713374             0.0001516        -0.9359474 2.1740715   2.1740715
36    14:04.8      574230 6.35303E+12            5.53347E+13     5346.1         4.90E-06    -0.0297233             0.0721153             0.0001516        -0.9196389 2.1977795   2.1977795
37    19:07.8      574230 6.35303E+12            5.53347E+13    5347.19         4.90E-06    -0.0295915               0.07213             0.0001516          -0.915561 2.1982276  2.1982276
38    24:10.8      574231 6.35303E+12            5.49411E+13    5341.77         4.90E-06    -0.0275611             0.0725732             0.0001516        -0.8527404 2.2117345   2.2117345
39    29:13.7      574231 6.35303E+12            5.49411E+13    5342.48         4.90E-06    -0.0276163             0.0725829             0.0001516        -0.8544483 2.2120284   2.2120284
40    34:16.7      574232 6.35303E+12            5.47061E+13    5349.99         4.90E-06    -0.0261726             0.0729971             0.0001516        -0.8097802 2.2246529   2.2246529
41    39:19.5      574232 6.35303E+12            5.47061E+13    5346.06         4.90E-06    -0.0268168             0.0729435             0.0001516        -0.8297118 2.2230187   2.2230187
42    44:22.9      574232 6.35303E+12            5.47061E+13    5350.69         4.90E-06     -0.027105             0.0730067             0.0001516        -0.8386287   2.224944   2.224944
43    49:25.9      574232 6.35303E+12            5.47061E+13    5361.36         4.90E-06    -0.0282087             0.0731523             0.0001516        -0.8727772 2.2293808   2.2293808
44    54:28.5      574232 6.35303E+12            5.47061E+13    5358.36         4.90E-06    -0.0275544             0.0731113             0.0001516        -0.8525331 2.2281334   2.2281334
45    59:31.3      574232 6.35303E+12            5.47061E+13    5369.47         4.90E-06     -0.025414             0.0732629             0.0001516        -0.7863092 2.2327532   2.2327532
46    04:34.2      574233 6.35303E+12            5.35475E+13    5382.49       0.0022439     -0.0254873             0.0750295             0.0694263        -0.7885771 2.2865921   2.2865921
47    09:37.0      574233 6.35303E+12            5.35475E+13    5358.81       0.0022439     -0.0031512             0.0746994             0.0694263        -0.0974981 2.2765324   2.2765324
48    14:39.6      574233 6.35303E+12            5.35475E+13    5359.15       0.0022439     -0.0011741             0.0747042             0.0694263        -0.0363267 2.2766768   2.2766768
49    19:42.4      574233 6.35303E+12            5.35475E+13    5359.66       0.0022439     -0.0181019             0.0747113             0.0694263        -0.5600728 2.2768935   2.2768935
50    24:45.0      574234 6.35303E+12            5.31615E+13    5358.18       0.0022439     -0.0021049              0.075233             0.0694263        -0.0651256 2.2927926   2.2927926
51    29:47.7      574234 6.35303E+12            5.31615E+13    5351.99       0.0022439     -0.0142703             0.0751461             0.0694263        -0.4415231 2.2901439   2.2901439
52    34:50.4      574234 6.35303E+12            5.31615E+13    5344.84       0.0022439      -0.003526             0.0750457             0.0694263        -0.1090944 2.2870844   2.2870844
53    39:53.2      574236 6.35303E+12            5.29706E+13    5349.94       0.0022439     -0.0156274              0.075388             0.0694263        -0.4835118 2.2975179   2.2975179
54    44:56.5      574237 6.35303E+12            5.26741E+13    5348.56       0.0022439     -0.0298903             0.0757929             0.0694263        -0.9248059 2.3098563   2.3098563
55    49:59.5      574238 6.35303E+12              5.2719E+13   5357.05       0.0022439     -0.0286539             0.0758485             0.0694263        -0.8865517 2.3115503   2.3115503
56    55:02.4      574238 6.35303E+12              5.2719E+13   5351.76       0.0022439        -0.00581            0.0757736             0.0694263        -0.1797614 2.3092677   2.3092677
57    00:05.4      574239 6.35303E+12            5.28168E+13    5350.18       0.0110575     -0.0017958             0.0756109              0.342119        -0.0555621 2.3043114   2.3043114
58    05:08.0      574239 6.35303E+12            5.28168E+13    5347.41       0.0110575     -0.0296719             0.0755718              0.342119        -0.9180486 2.3031184   2.3031184
59    10:10.8      574240 6.35303E+12            5.25658E+13    5348.27       0.0110575     -0.0286608             0.0759448              0.342119        -0.8867652   2.314487   2.314487
60    15:13.5      574243 6.35303E+12            5.35108E+13    5354.34       0.0110575      -0.000324             0.0746884              0.342119        -0.0100246 2.2761958   2.2761958
61    20:16.2      574245 6.35303E+12            5.38531E+13    5358.41       0.0110575      0.0006207                0.07427             0.342119          0.0192045 2.2634449  2.2634449
62    25:18.9      574245 6.35303E+12            5.38531E+13    5356.02       0.0110575     -0.0034312             0.0742369              0.342119        -0.1061613 2.2624353   2.2624353
63    30:21.7      574246 6.35303E+12            5.41667E+13    5359.34       0.0110575      -0.001958             0.0738528              0.342119        -0.0605805 2.2507317   2.2507317
64    35:24.4      574246 6.35303E+12            5.41667E+13    5361.98       0.0110575      0.0041538             0.0738892              0.342119          0.1285186 2.2518404  2.2518404
65    40:27.4      574246 6.35303E+12            5.41667E+13    5366.53       0.0110575     -0.0150598             0.0739519              0.342119        -0.4659502 2.2537513   2.2537513
66    45:30.2      574248 6.35303E+12            5.41479E+13    5365.93       0.0110575     -0.0019635             0.0739693              0.342119        -0.0607507 2.2542821   2.2542821
67    50:33.1      574251 6.35303E+12            5.52479E+13    5359.19       0.0110575      0.0009998             0.0724055              0.342119          0.0309338 2.2066234  2.2066234
68    55:35.9      574251 6.35303E+12            5.52479E+13    5360.66       0.0110575      0.0009997             0.0724254              0.342119          0.0309307 2.2072286  2.2072286
69    00:38.6      574252 6.35303E+12            5.50584E+13    5358.27       0.0155437       0.004066             0.0726423             0.4809221           0.125802 2.2138386  2.2138386
70    05:43.2      574252 6.35303E+12            5.50584E+13    5360.85       0.0155437      0.1479624             0.0726772             0.4809221          4.5779567 2.2149045  4.5779567
71    10:46.3      574253 6.35303E+12            5.55506E+13    5361.66       0.0155437       0.012018             0.0720441             0.4809221          0.3718369 2.1956089  2.1956089
72    15:49.2      574255 6.35303E+12              5.5978E+13   5358.19       0.0155437      0.0085462             0.0714478             0.4809221          0.2644194 2.1774367  2.1774367
73    20:52.2      574256 6.35303E+12            5.57331E+13    5364.52       0.0155437      0.0091729             0.0718465             0.4809221          0.2838095 2.1895872  2.1895872
74    25:55.1      574257 6.35303E+12            5.59531E+13    5368.93       0.0155437      0.0070653             0.0716229             0.4809221          0.2186004  2.182771   2.182771
75    30:57.9      574257 6.35303E+12            5.59531E+13    5369.93       0.0155437      0.0057038             0.0716362             0.4809221          0.1764756 2.1831776  2.1831776
76    36:00.9      574257 6.35303E+12            5.59531E+13    5368.01       0.0155437      0.0056384             0.0716106             0.4809221          0.1744521  2.182397   2.182397
77    41:04.6      574258 6.35303E+12            5.61961E+13    5363.48       0.0155437      0.0066693             0.0712408             0.4809221          0.2063481 2.1711281  2.1711281
78    46:07.7      574258 6.35303E+12            5.61961E+13    5363.48       0.0155437      0.0064452             0.0712408             0.4809221          0.1994145 2.1711281  2.1711281
79    51:10.7      574258 6.35303E+12            5.61961E+13    5363.48       0.0155437       0.006606             0.0712408             0.4809221          0.2043896 2.1711281  2.1711281
80    56:17.1      574258 6.35303E+12            5.61961E+13    5368.91       0.0155437      0.0080226             0.0713129             0.4809221          0.2482192 2.1733261  2.1733261
81    01:19.9      574258 6.35303E+12            5.61961E+13    5365.45       0.0157861      0.0085946              0.071267             0.4884219          0.2659169 2.1719255  2.1719255
82    06:22.6      574258 6.35303E+12            5.61961E+13    5361.34       0.0157861      0.0124213             0.0712124             0.4884219           0.384315 2.1702618  2.1702618
83    11:25.7      574259 6.35303E+12              5.4583E+13   5360.85       0.0157861      0.0100146             0.0733103             0.4884219          0.3098517 2.2341966  2.2341966
84    16:28.4      574260 6.35303E+12            5.46276E+13    5368.73       0.0157861       0.007654             0.0733581             0.4884219          0.2368148 2.2356531  2.2356531
85    21:31.1      574260 6.35303E+12            5.46276E+13    5368.72       0.0157861      0.0073542             0.0733579             0.4884219          0.2275389 2.2356489  2.2356489
86    26:34.2      574260 6.35303E+12            5.46276E+13    5367.86       0.0157861      0.0065783             0.0733462             0.4884219          0.2035326 2.2352908  2.2352908
87    31:37.2      574260 6.35303E+12            5.46276E+13    5369.51       0.0157861      0.0072755             0.0733687             0.4884219           0.225104 2.2359779  2.2359779
88    36:43.9      574261 6.35303E+12            5.36607E+13    5367.41       0.0157861      0.0067775             0.0746615             0.4884219          0.2096959 2.2753756  2.2753756
89    41:47.1      574261 6.35303E+12            5.36607E+13    5361.03       0.0157861      0.0075486             0.0745727             0.4884219          0.2335537 2.2726709  2.2726709
90    46:49.9      574261 6.35303E+12            5.36607E+13    5363.23       0.0157861       0.007421             0.0746033             0.4884219          0.2296057 2.2736036  2.2736036
91    51:52.9      574261 6.35303E+12            5.36607E+13    5367.99       0.0157861      0.0094254             0.0746695             0.4884219          0.2916219 2.2756214  2.2756214
92    56:56.1      574262 6.35303E+12            5.24328E+13    5378.51       0.0157861      0.0074337              0.076568             0.4884219          0.2299987 2.3334773  2.3334773
93    01:58.9      574266 6.35303E+12            5.51716E+13    5368.99       0.0175072      0.0070568             0.0726383             0.5416728          0.2183374 2.2137171  2.2137171
94    07:01.5      574268 6.35303E+12            5.60115E+13    5366.55       0.0175072      0.0067409             0.0715165             0.5416728          0.2085634 2.1795291  2.1795291
95    12:04.4      574269 6.35303E+12            5.58958E+13    5356.64       0.0175072      0.0075027             0.0715322             0.5416728          0.2321335 2.1800073  2.1800073




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        A          B            C                 D                 E            F             G                H                      I                  J                K         L
  1 datetime block_height network_diff est_network_hashrate    BTC_price day_ahead_LMP real_time_LMP breakeven_mining_cost    day_ahead_LMP_rev real_time_LMP_rev mining_rev realized_rev
 96    17:07.9      574270 6.35303E+12              5.6144E+13   5353.05       0.0175072      0.0070444             0.0711682            0.5416728          0.2179537 2.1689142   2.1689142
 97    22:10.7      574271 6.35303E+12              5.6095E+13   5352.41       0.0175072      0.0068769             0.0712219            0.5416728          0.2127713 2.1705513   2.1705513
 98    27:13.7      574271 6.35303E+12              5.6095E+13   5350.73       0.0175072      0.0068185             0.0711995            0.5416728          0.2109644 2.1698701   2.1698701
 99    32:17.1      574271 6.35303E+12              5.6095E+13   5352.02       0.0175072      0.0070024             0.0712167            0.5416728          0.2166543 2.1703932   2.1703932
100    37:20.0      574273 6.35303E+12            5.53104E+13      5353.7      0.0175072      0.0074003             0.0722496            0.5416728          0.2289653 2.2018709   2.2018709
101    42:23.0      574273 6.35303E+12            5.53104E+13      5354.2      0.0175072      0.0093641             0.0722563            0.5416728          0.2897253 2.2020766   2.2020766
102    47:25.7      574274 6.35303E+12            5.53441E+13    5354.14       0.0175072      0.0106524             0.0722116            0.5416728          0.3295853 2.2007128   2.2007128
103    52:29.0      574274 6.35303E+12            5.53441E+13    5355.15       0.0175072      0.0155577             0.0722252            0.5416728          0.4813552 2.2011279   2.2011279
104    57:31.7      574274 6.35303E+12            5.53441E+13    5366.51       0.0175072      0.0134928             0.0723784            0.5416728          0.4174672 2.2057972   2.2057972
105    02:34.7      574274 6.35303E+12            5.53441E+13    5367.34       0.0201513      0.0088181             0.0723896            0.6234812           0.272832 2.2061384   2.2061384
106    07:37.6      574274 6.35303E+12            5.53441E+13    5369.11       0.0201513      0.0080448             0.0724135            0.6234812          0.2489061 2.2068659   2.2068659
107    12:40.5      574274 6.35303E+12            5.53441E+13     5361.12      0.0201513      0.0141938             0.0723057            0.6234812          0.4391562 2.2035818   2.2035818
108    17:43.1      574274 6.35303E+12            5.53441E+13     5366.11       0.0201513     0.0148287              0.072373            0.6234812              0.4588 2.2056328  2.2056328
109    22:45.8      574275 6.35303E+12            5.36343E+13     5369.98       0.0201513     0.0148955             0.0747339            0.6234812          0.4608668 2.2775843   2.2775843
110    27:48.5      574275 6.35303E+12            5.36343E+13     5368.01       0.0201513     0.0147788             0.0747065            0.6234812          0.4572561 2.2767487   2.2767487
111    32:51.2      574277 6.35303E+12            5.50501E+13     5373.94       0.0201513     0.0189124             0.0728657            0.6234812          0.5851497 2.2206488   2.2206488
112    37:54.0      574279 6.35303E+12            5.54528E+13     5377.71       0.0201513     0.0181814             0.0723873            0.6234812          0.5625325 2.2060669   2.2060669
113    42:56.7      574281 6.35303E+12            5.67946E+13     5384.52       0.0201513      0.016267             0.0707666            0.6234812           0.503301 2.1566766   2.1566766
114    47:59.4      574281 6.35303E+12            5.67946E+13     5380.73       0.0201513     0.0160892             0.0707168            0.6234812          0.4977998 2.1551586   2.1551586
115    53:02.7      574282 6.35303E+12              5.6096E+13    5375.54       0.0201513     0.0124623             0.0715284            0.6234812          0.3855836 2.1798939   2.1798939
116    58:06.1      574282 6.35303E+12              5.6096E+13    5378.27       0.0201513     0.0169571             0.0715648            0.6234812          0.5246527 2.1810009   2.1810009
117    03:10.1      574283 6.35303E+12            5.56063E+13      5389.1       0.0221974     0.0169284             0.0723403            0.6867876          0.5237647 2.2046367   2.2046367
118    08:13.3      574283 6.35303E+12            5.56063E+13      5401.6       0.0221974     0.0188882             0.0725081            0.6867876          0.5844009 2.2097504   2.2097504
119    13:16.5      574283 6.35303E+12            5.56063E+13     5411.61       0.0221974     0.0187623             0.0726425            0.6867876          0.5805056 2.2138454   2.2138454
120    18:19.3      574284 6.35303E+12            5.64188E+13     5399.02       0.0221974     0.0199987             0.0714298            0.6867876          0.6187598 2.1768876   2.1768876
121    23:22.1      574284 6.35303E+12            5.64188E+13      5401.6       0.0221974     0.0195923             0.0714639            0.6867876          0.6061858 2.1779279   2.1779279
122    28:25.0      574284 6.35303E+12            5.64188E+13     5405.99       0.0221974     0.0190804              0.071522            0.6867876          0.5903476 2.1796979   2.1796979
123    33:27.8      574285 6.35303E+12            5.57835E+13     5406.94       0.0221974     0.0194306             0.0723493            0.6867876          0.6011828 2.2049105   2.2049105
124    38:30.5      574285 6.35303E+12            5.57835E+13     5401.12       0.0221974     0.0186435             0.0722714            0.6867876          0.5768299 2.2025372   2.2025372
125    43:34.1      574285 6.35303E+12            5.57835E+13     5404.01       0.0221974     0.0194016             0.0723101            0.6867876          0.6002855 2.2037157   2.2037157
126    48:36.8      574285 6.35303E+12            5.57835E+13     5404.26       0.0221974     0.0191729             0.0723135            0.6867876          0.5932095 2.2038176   2.2038176
127    53:39.9      574285 6.35303E+12            5.57835E+13     5400.01       0.0221974     0.0194297             0.0722566            0.6867876          0.6011549 2.2020845   2.2020845
128    03:46.2      574285 6.35303E+12            5.57835E+13      5405.7       0.0234026     0.0195553             0.0723327            0.7240764           0.605041 2.2044049   2.2044049
129    08:49.1      574286 6.35303E+12            5.36818E+13     5416.95       0.0234026     0.0197148             0.0753209            0.7240764          0.6099759 2.2954736   2.2954736
130    13:52.7      574287 6.35303E+12            5.50908E+13      5406.6       0.0234026     0.0197013             0.0732543            0.7240764          0.6095582 2.2324921   2.2324921
131    18:55.9      574287 6.35303E+12            5.50908E+13     5394.62       0.0234026     0.0196918              0.073092            0.7240764          0.6092643 2.2275453   2.2275453
132    23:59.1      574288 6.35303E+12              5.6446E+13    5372.85       0.0234026     0.0197114             0.0710493            0.7240764          0.6098707 2.1652907   2.1652907
133    29:02.3      574288 6.35303E+12              5.6446E+13    5385.99       0.0234026     0.0197446              0.071223            0.7240764          0.6108979 2.1705862   2.1705862
134    34:05.2      574289 6.35303E+12            5.61643E+13     5382.26       0.0234026     0.0207871             0.0715308            0.7240764          0.6431529 2.1799641   2.1799641
135    39:08.3      574289 6.35303E+12            5.61643E+13     5380.01       0.0234026     0.0209181             0.0715009            0.7240764           0.647206 2.1790528   2.1790528
136    44:11.8      574289 6.35303E+12            5.61643E+13     5375.01       0.0234026     0.0204072             0.0714344            0.7240764          0.6313988 2.1770277   2.1770277
137    49:15.0      574290 6.35303E+12            5.56905E+13     5379.99       0.0234026      0.020967             0.0721089            0.7240764           0.648719 2.1975834   2.1975834
138    54:18.0      574292 6.35303E+12            5.59818E+13     5380.19       0.0234026     0.0210779             0.0717363            0.7240764          0.6521502 2.1862275   2.1862275
139    59:20.8      574293 6.35303E+12            5.63654E+13     5377.35       0.0234026     0.0210797             0.0712105            0.7240764          0.6522059 2.1702049   2.1702049
140    09:26.9      574295 6.35303E+12            5.71185E+13     5388.44        0.024677     0.0208048             0.0704165            0.7635064          0.6437005 2.1460054   2.1460054
141    14:29.9      574298 6.35303E+12            5.77593E+13     5389.19        0.024677     0.0209776             0.0696449            0.7635064          0.6490469   2.122492   2.122492
142    19:32.9      574298 6.35303E+12            5.77593E+13     5388.39        0.024677     0.0233134             0.0696346            0.7635064          0.7213166   2.122177   2.122177
143    24:36.5      574298 6.35303E+12            5.77593E+13     5391.23        0.024677     0.0216334             0.0696713            0.7635064          0.6693374 2.1232955   2.1232955
144    29:39.5      574298 6.35303E+12            5.77593E+13     5399.68        0.024677     0.0249963             0.0697805            0.7635064          0.7733855 2.1266234   2.1266234
145    34:42.6      574300 6.35303E+12            5.74492E+13     5391.27        0.024677        0.02573            0.0700479            0.7635064          0.7960862 2.1347724   2.1347724
146    39:48.1      574301 6.35303E+12              5.7613E+13    5391.51        0.024677     0.0821753             0.0698519            0.7635064          2.5425038 2.1287995   2.5425038
147    44:52.1      574302 6.35303E+12            5.77583E+13     5394.15        0.024677     0.2145119             0.0697103            0.7635064          6.6369982   2.124483  6.6369982
148    49:55.9      574302 6.35303E+12            5.77583E+13     5395.41        0.024677     0.1523162             0.0697265            0.7635064          4.7126632 2.1249792   4.7126632
149    54:59.6      574304 6.35303E+12              5.7411E+13    5395.02        0.024677     0.1730318             0.0701433            0.7635064          5.3536039 2.1376815   5.3536039
150    00:04.8      574305 6.35303E+12              5.8471E+13    5392.07       0.0272334     0.1708133              0.068834            0.8426014          5.2849635 2.0977787   5.2849635
151    05:08.7      574305 6.35303E+12              5.8471E+13    5393.61       0.0272334     0.2130182             0.0688537            0.8426014          6.5907831 2.0983778   6.5907831
152    10:11.7      574305 6.35303E+12              5.8471E+13    5393.59       0.0272334        0.03673            0.0688534            0.8426014          1.1364262     2.09837    2.09837
153    20:17.3      574309 6.35303E+12            6.00748E+13     5397.01       0.0272334     0.0252878             0.0670578            0.8426014          0.7824045 2.0436461   2.0436461
154    25:20.4      574309 6.35303E+12            6.00748E+13     5396.19       0.0272334        0.02513            0.0670476            0.8426014          0.7775222 2.0433356   2.0433356
155    30:23.2      574310 6.35303E+12            6.02983E+13     5397.48       0.0272334      0.029264             0.0668151            0.8426014          0.9054282 2.0362495   2.0362495
156    35:25.9      574311 6.35303E+12            6.01255E+13     5402.84       0.0272334     0.0292724             0.0670736            0.8426014          0.9056881   2.044127   2.044127
157    40:29.3      574312 6.35303E+12            5.99055E+13     5397.41       0.0272334     0.0293249             0.0672522            0.8426014          0.9073124 2.0495721   2.0495721
158    45:32.2      574312 6.35303E+12            5.99055E+13     5395.01       0.0272334     0.0252257             0.0672223            0.8426014          0.7804832 2.0486608   2.0486608
159    50:35.3      574314 6.35303E+12            5.98595E+13     5392.41       0.0272334        0.02791            0.0672416            0.8426014          0.8635354 2.0492469   2.0492469
160    55:38.1      574315 6.35303E+12            5.97623E+13     5391.82       0.0272334      0.025482             0.0673436            0.8426014          0.7884131 2.0523565   2.0523565
161    00:42.4      574315 6.35303E+12            5.97623E+13      5387.9       0.0290471     0.2072917             0.0672946            0.8987173          6.4136052 2.0508644   6.4136052
162    05:45.3      574317 6.35303E+12            6.04051E+13     5388.49       0.0290471     0.0266619             0.0665859            0.8987173          0.8249192 2.0292641   2.0292641
163    10:49.2      574319 6.35303E+12              6.0775E+13    5387.98       0.0290471     0.2202776             0.0661742            0.8987173          6.8153889 2.0167195   6.8153889
164    20:54.5      574320 6.35303E+12            6.21737E+13     5399.05       0.0290471     0.0363805             0.0648185            0.8987173          1.1256127 1.9754023   1.9754023
165    25:57.3      574320 6.35303E+12            6.21737E+13     5405.74       0.0290471     0.0298668             0.0648988            0.8987173          0.9240788     1.97785    1.97785
166    31:00.3      574321 6.35303E+12            6.17749E+13     5405.41       0.0290471      0.027565             0.0653138            0.8987173          0.8528611 1.9904973   1.9904973
167    36:03.1      574321 6.35303E+12            6.17749E+13     5401.49       0.0290471     0.0274552             0.0652665            0.8987173          0.8494639 1.9890538   1.9890538
168    41:06.0      574321 6.35303E+12            6.17749E+13     5409.99       0.0290471     0.0270176             0.0653692            0.8987173          0.8359245 1.9921839   1.9921839
169    46:08.7      574321 6.35303E+12            6.17749E+13      5408.8       0.0290471     0.0271924             0.0653548            0.8987173          0.8413329 1.9917457   1.9917457
170    51:11.6      574321 6.35303E+12            6.17749E+13     5412.57       0.0290471     0.0272177             0.0654003            0.8987173          0.8421156 1.9931339   1.9931339
171    56:14.3      574321 6.35303E+12            6.17749E+13     5407.34       0.0290471     0.0261354             0.0653371            0.8987173          0.8086293   1.991208   1.991208
172    01:17.2      574321 6.35303E+12            6.17749E+13     5400.73       0.0285414     0.0261745             0.0652573            0.8830709           0.809839 1.9887739   1.9887739
173    06:20.9      574321 6.35303E+12            6.17749E+13      5395.3       0.0285414     0.0262962             0.0651917            0.8830709          0.8136044 1.9867744   1.9867744
174    11:24.4      574321 6.35303E+12            6.17749E+13     5397.81       0.0285414     0.0260871              0.065222            0.8830709          0.8071349 1.9876987   1.9876987
175    16:27.4      574321 6.35303E+12            6.17749E+13     5397.93       0.0285414      0.026146             0.0652234            0.8830709          0.8089572 1.9877429   1.9877429
176    21:30.3      574321 6.35303E+12            6.17749E+13     5392.62       0.0285414     0.0262574             0.0651593            0.8830709           0.812404 1.9857875   1.9857875
177    26:33.0      574321 6.35303E+12            6.17749E+13     5393.89       0.0285414     0.0261514             0.0651746            0.8830709          0.8091243 1.9862552   1.9862552
178    31:35.8      574322 6.35303E+12              5.8824E+13    5396.27       0.0285414     0.0261091             0.0684743            0.8830709          0.8078156 2.0868162   2.0868162
179    36:38.8      574322 6.35303E+12              5.8824E+13     5393.1       0.0285414     0.0254329             0.0684341            0.8830709          0.7868939 2.0855903   2.0855903
180    41:41.8      574322 6.35303E+12              5.8824E+13     5393.7       0.0285414     0.0267382             0.0684417            0.8830709          0.8272799 2.0858223   2.0858223
181    46:44.7      574323 6.35303E+12            5.85421E+13     5398.48       0.0285414     0.0260142             0.0688322            0.8830709          0.8048793 2.0977221   2.0977221
182    51:47.6      574323 6.35303E+12            5.85421E+13     5406.39       0.0285414     0.0268842              0.068933            0.8830709          0.8317971 2.1007958   2.1007958
183    56:50.6      574324 6.35303E+12            5.81584E+13     5403.98       0.0285414     0.0295804             0.0693569            0.8830709          0.9152176 2.1137127   2.1137127
184    01:53.4      574326 6.35303E+12            5.98016E+13     5406.62        0.029578     0.0350032             0.0674841            0.9151433           1.082999 2.0566378   2.0566378
185    06:56.4      574326 6.35303E+12            5.98016E+13     5402.77        0.029578      0.028005              0.067436            0.9151433          0.8664747 2.0551733   2.0551733
186    11:59.3      574327 6.35303E+12            5.96067E+13     5401.77        0.029578     0.0268725              0.067644            0.9151433          0.8314352 2.0615104   2.0615104
187    17:02.0      574327 6.35303E+12            5.96067E+13     5403.81        0.029578     0.0251518             0.0676695            0.9151433          0.7781967 2.0622889   2.0622889
188    22:04.9      574328 6.35303E+12            5.96752E+13     5405.43        0.029578     0.0265695             0.0676122            0.9151433          0.8220603 2.0605413   2.0605413
189    27:08.1      574328  6.35303E+12           5.96752E+13     5405.62        0.029578     0.0263765             0.0676145            0.9151433          0.8160889  2.0606137  2.0606137




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       A          B            C                 D                 E            F             G                H                      I                  J              K           L
 1 datetime block_height network_diff est_network_hashrate    BTC_price day_ahead_LMP real_time_LMP breakeven_mining_cost    day_ahead_LMP_rev real_time_LMP_rev mining_rev realized_rev
190   32:11.0      574329 6.35303E+12            5.94855E+13    5414.16         0.029578     0.0265315             0.0679373            0.9151433          0.8208846 2.0704516  2.0704516
191   37:14.1      574330 6.35303E+12            5.97035E+13    5414.16         0.029578     0.0264993             0.0676893            0.9151433          0.8198883 2.0628912  2.0628912
192   52:22.4      574333 6.35303E+12              5.9734E+13   5406.27         0.029578     0.0263688             0.0675561            0.9151433          0.8158507 2.0588333  2.0588333
193   02:28.0      574334 6.35303E+12            5.92562E+13    5400.02         0.028458     0.0275794             0.0680221            0.8804905          0.8533066 2.0730351  2.0730351
194   07:31.0      574335 6.35303E+12              5.9018E+13   5400.05         0.028458     0.0264065              0.068297            0.8804905          0.8170171 2.0814126  2.0814126
195   12:34.3      574337 6.35303E+12            6.04407E+13    5403.81         0.028458     0.0264328             0.0667358            0.8804905          0.8178308 2.0338321  2.0338321
196   17:37.3      574338 6.35303E+12            6.00814E+13      5403.9        0.028458     0.0262088              0.067136            0.8804905          0.8109003 2.0460298  2.0460298
197   22:40.4      574340 6.35303E+12            6.01388E+13    5404.53         0.028458     0.0258082             0.0670798            0.8804905          0.7985057 2.0443159  2.0443159
198   27:43.7      574342 6.35303E+12              6.0482E+13   5405.01         0.028458     0.0262698              0.066705            0.8804905          0.8127876 2.0328944  2.0328944
199   32:46.8      574342 6.35303E+12              6.0482E+13   5405.02         0.028458     0.0252935             0.0667051            0.8804905          0.7825809 2.0328982  2.0328982
200   37:49.9      574343 6.35303E+12            5.99395E+13    5399.97         0.028458        0.02589             0.067246            0.8804905          0.8010366 2.0493813  2.0493813
201   42:52.7      574344 6.35303E+12            5.95861E+13    5399.01         0.028458     0.0257766             0.0676328            0.8804905           0.797528 2.0611697  2.0611697
202   47:55.6      574344 6.35303E+12            5.95861E+13     5399.01        0.028458     0.0264346             0.0676328            0.8804905          0.8178865 2.0611697  2.0611697
203   58:00.7      574344 6.35303E+12            5.95861E+13     5398.35        0.028458     0.0259627             0.0676245            0.8804905          0.8032859 2.0609177  2.0609177
204   03:05.1      574346 6.35303E+12            5.84022E+13     5395.14       0.0276119     0.2213191             0.0689544            0.8543122           6.847613 2.1014468   6.847613
205   08:08.7      574347 6.35303E+12            5.86008E+13     5392.22       0.0276119     0.0261815             0.0686835            0.8543122          0.8100556 2.0931918  2.0931918
206   23:17.2      574348 6.35303E+12            5.87322E+13     5396.18       0.0276119     0.0261474             0.0685802            0.8543122          0.8090006 2.0900429  2.0900429
207   28:21.2      574349 6.35303E+12            5.84595E+13     5396.23       0.0276119      0.220695             0.0689007            0.8543122          6.8283033 2.0998095  6.8283033
208   33:24.2      574349 6.35303E+12            5.84595E+13     5395.06       0.0276119     0.0357404             0.0688857            0.8543122           1.105808 2.0993542  2.0993542
209   38:27.1      574350 6.35303E+12            5.91267E+13     5395.03       0.0276119     0.0265231             0.0681081            0.8543122          0.8206247 2.0756546  2.0756546
210   43:30.0      574351 6.35303E+12            5.92508E+13     5395.02       0.0276119      0.024313             0.0679653            0.8543122          0.7522442  2.071303   2.071303
211   48:32.9      574351 6.35303E+12            5.92508E+13     5394.15       0.0276119     0.0250697             0.0679543            0.8543122          0.7756565  2.070969    2.070969
212   53:35.7      574351 6.35303E+12            5.92508E+13     5390.52       0.0276119     0.0242897             0.0679086            0.8543122          0.7515233 2.0695753  2.0695753
213   58:38.6      574351 6.35303E+12            5.92508E+13      5391.4       0.0276119     0.0244875             0.0679197            0.8543122          0.7576432 2.0699132  2.0699132
214   03:41.5      574351 6.35303E+12            5.92508E+13     5383.02       0.0288024     0.0245448             0.0678141            0.8911463          0.7594161 2.0666958  2.0666958
215   08:44.3      574351 6.35303E+12            5.92508E+13     5371.99       0.0288024     0.0220851             0.0676752            0.8911463           0.683313 2.0624611  2.0624611
216   13:47.2      574351 6.35303E+12            5.92508E+13     5376.84       0.0288024     0.0221515             0.0677362            0.8911463          0.6853674 2.0643232  2.0643232
217   18:50.0      574353 6.35303E+12            5.95341E+13     5372.72       0.0288024     0.0237019             0.0673622            0.8911463          0.7333368 2.0529247  2.0529247
218   23:53.2      574353 6.35303E+12            5.95341E+13     5379.06       0.0288024     0.0224086             0.0674417            0.8911463          0.6933221 2.0553472  2.0553472
219   28:56.2      574353 6.35303E+12            5.95341E+13     5386.27       0.0288024     0.0242596             0.0675321            0.8911463           0.750592 2.0581021  2.0581021
220   33:59.0      574353 6.35303E+12            5.95341E+13     5393.51       0.0288024     0.0246517             0.0676229            0.8911463          0.7627236 2.0608686  2.0608686
221   39:01.9      574353 6.35303E+12            5.95341E+13     5397.98       0.0288024      0.024574             0.0676789            0.8911463          0.7603196 2.0625766  2.0625766
222   44:04.8      574354 6.35303E+12            5.92005E+13     5401.73       0.0288024      0.024264             0.0681077            0.8911463          0.7507282 2.0756429  2.0756429
223   49:08.5      574356 6.35303E+12            6.01278E+13     5395.44       0.0288024     0.0227333             0.0669792            0.8911463          0.7033683 2.0412523  2.0412523
224   54:11.6      574356 6.35303E+12            6.01278E+13     5400.19       0.0288024     0.0241575             0.0670382            0.8911463          0.7474331 2.0430494  2.0430494
225   59:14.8      574357 6.35303E+12            5.98782E+13     5407.34       0.0288024     0.0213869             0.0674068            0.8911463          0.6617107  2.054282    2.054282
226   04:17.8      574357 6.35303E+12            5.98782E+13     5412.65       0.0349955     0.0212221              0.067473            1.0827608          0.6566118 2.0562993  2.0562993
227   09:21.0      574358 6.35303E+12            5.94067E+13     5412.99       0.0349955     0.0210166             0.0680127            1.0827608          0.6502536 2.0727494  2.0727494
228   14:24.8      574359 6.35303E+12            5.99023E+13     5410.59       0.0349955     0.0212588             0.0674202            1.0827608          0.6577473 2.0546898  2.0546898
229   24:31.9      574360 6.35303E+12              6.0023E+13    5404.27       0.0349955     0.0221652             0.0672059            1.0827608          0.6857913 2.0481598  2.0481598
230   29:35.1      574361 6.35303E+12            5.95038E+13     5406.99       0.0349955     0.0219022             0.0678264            1.0827608          0.6776541 2.0670711  2.0670711
231   34:38.4      574361 6.35303E+12            5.95038E+13     5410.01       0.0349955     0.0238654             0.0678643            1.0827608          0.7383955 2.0682256  2.0682256
232   39:41.8      574361 6.35303E+12            5.95038E+13     5424.76       0.0349955     0.0349014             0.0680493            1.0827608          1.0798493 2.0738645  2.0738645
233   44:45.3      574362 6.35303E+12            5.87448E+13     5432.99       0.0349955     0.0231509             0.0690331            1.0827608          0.7162888 2.1038472  2.1038472
234   49:48.4      574362 6.35303E+12            5.87448E+13     5431.52       0.0349955     0.0217775             0.0690145            1.0827608          0.6737959  2.103278    2.103278
235   54:51.6      574363 6.35303E+12            5.80502E+13     5426.35       0.0349955     0.0233238             0.0697738            1.0827608          0.7216384 2.1264208  2.1264208
236   59:54.6      574363 6.35303E+12            5.80502E+13     5426.04       0.0349955     0.0316189             0.0697699            1.0827608          0.9782888 2.1262994  2.1262994
237   10:00.2      574364 6.35303E+12            5.78645E+13     5442.45        0.026266     0.0418451             0.0702054               0.81267         1.2946874 2.1395736  2.1395736
238   20:06.7      574367 6.35303E+12            5.84533E+13     5443.24        0.026266     0.0238876             0.0695083               0.81267         0.7390823 2.1183292  2.1183292
239   25:10.0      574368 6.35303E+12            5.81378E+13     5430.99        0.026266     0.0224401             0.0697283               0.81267         0.6942967  2.125032    2.125032
240   30:13.1      574368 6.35303E+12            5.81378E+13     5447.49        0.026266     0.0208024             0.0699401               0.81267         0.6436263 2.1314881  2.1314881
241   35:16.2      574369 6.35303E+12              5.7527E+13    5441.28        0.026266     0.0204883             0.0706021               0.81267          0.633908  2.151664    2.151664
242   40:20.4      574369 6.35303E+12              5.7527E+13    5444.99        0.026266     0.0193386             0.0706503               0.81267         0.5983363  2.153131    2.153131
243   45:23.4      574370 6.35303E+12            5.73316E+13     5445.99        0.026266     0.0193386             0.0709041               0.81267         0.5983363 2.1608665  2.1608665
244   50:26.5      574370 6.35303E+12            5.73316E+13     5466.65        0.026266     0.0188979             0.0711731               0.81267          0.584701  2.169064    2.169064
245   55:29.5      574372 6.35303E+12              5.7029E+13    5473.18        0.026266     0.0188979             0.0716362               0.81267          0.584701 2.1831762  2.1831762
246   00:32.4      574373 6.35303E+12            5.75391E+13      5470.2       0.0201854     0.0187891             0.0709624            0.6245363          0.5813348 2.1626439  2.1626439
247   05:35.4      574373 6.35303E+12            5.75391E+13     5471.01       0.0201854     0.0185387             0.0709729            0.6245363          0.5735874 2.1629641  2.1629641
248   15:40.8      574374 6.35303E+12            5.70787E+13     5460.95       0.0201854     0.0185472             0.0714138            0.6245363          0.5738504 2.1764008  2.1764008
249   25:46.4      574376 6.35303E+12            5.68162E+13      5458.6       0.0201854     0.0186796             0.0717129            0.6245363          0.5779468 2.1855137  2.1855137
250   35:51.9      574377 6.35303E+12            5.63276E+13     5460.02       0.0201854     0.0210142             0.0723538            0.6245363          0.6501793 2.2050485  2.2050485
251   40:54.8      574377 6.35303E+12            5.63276E+13     5466.78       0.0201854     0.0203564             0.0724434            0.6245363           0.629827 2.2077785  2.2077785
252   45:57.7      574378 6.35303E+12            5.65074E+13     5473.24       0.0201854     0.0203336             0.0722982            0.6245363          0.6291216 2.2033529  2.2033529
253   51:01.0      574378 6.35303E+12            5.65074E+13     5471.65       0.0201854     0.0199115             0.0722772            0.6245363          0.6160618 2.2027129  2.2027129
254   56:04.1      574378 6.35303E+12            5.65074E+13     5469.64       0.0201854     0.0188807             0.0722507            0.6245363          0.5841689 2.2019037  2.2019037
255   01:36.7      574383 6.35303E+12            5.72964E+13     5478.36        0.017735     0.0180056             0.0713693            0.5487209          0.5570933 2.1750424  2.1750424
256   06:39.8      574384 6.35303E+12            5.65611E+13     5470.62        0.017735     0.0179751              0.072195            0.5487209          0.5561496 2.2002079  2.2002079
257   11:42.7      574384 6.35303E+12            5.65611E+13     5479.43        0.017735      0.018023             0.0723113            0.5487209          0.5576316 2.2037511  2.2037511
258   16:45.6      574384 6.35303E+12            5.65611E+13     5474.09        0.017735     0.0177163             0.0722408            0.5487209          0.5481423 2.2016035  2.2016035
259   21:48.3      574384 6.35303E+12            5.65611E+13     5484.78        0.017735     0.0175711             0.0723819            0.5487209          0.5436498 2.2059028  2.2059028
260   26:51.4      574384 6.35303E+12            5.65611E+13     5487.23        0.017735     0.0172277             0.0724142            0.5487209           0.533025 2.2068882  2.2068882
261   31:54.2      574385 6.35303E+12            5.52675E+13     5489.21        0.017735     0.0175138             0.0741359            0.5487209           0.541877 2.2593577  2.2593577
262   36:57.2      574386 6.35303E+12              5.5002E+13    5489.86        0.017735     0.0178899             0.0745026            0.5487209          0.5535135 2.2705332  2.2705332
263   47:03.0      574387 6.35303E+12              5.4816E+13    5496.27        0.017735     0.0176629             0.0748427            0.5487209          0.5464901 2.2808975  2.2808975
264   52:06.0      574387 6.35303E+12              5.4816E+13    5491.99        0.017735     0.0176411             0.0747844            0.5487209          0.5458156 2.2791214  2.2791214
265   57:08.7      574388 6.35303E+12            5.41076E+13     5492.11        0.017735     0.0176457             0.0757651            0.5487209           0.545958 2.3090086  2.3090086
266   02:11.8      574388 6.35303E+12            5.41076E+13     5492.89       0.0168293     0.0176283             0.0757758            0.5206985          0.5454196 2.3093366  2.3093366
267   07:15.3      574388 6.35303E+12            5.41076E+13     5495.29       0.0168293     0.0176447             0.0758089            0.5206985           0.545927 2.3103456  2.3103456
268   12:18.3      574389 6.35303E+12            5.34819E+13     5494.94       0.0168293     0.0176619              0.076691            0.5206985          0.5464592 2.3372263  2.3372263
269   17:21.0      574392 6.35303E+12            5.44667E+13     5498.94       0.0168293     0.0181464             0.0753591            0.5206985          0.5614496 2.2966372  2.2966372
270   22:23.8      574393 6.35303E+12              5.4543E+13    5516.61       0.0168293     0.0186975             0.0754956            0.5206985          0.5785006 2.3007978  2.3007978
271   27:27.0      574393 6.35303E+12              5.4543E+13    5541.73       0.0168293     0.0186527             0.0758394            0.5206985          0.5771145 2.3112745  2.3112745
272   32:29.9      574393 6.35303E+12              5.4543E+13    5543.62       0.0168293     0.0188333             0.0758653            0.5206985          0.5827023 2.3120627  2.3120627
273   37:33.5      574394 6.35303E+12            5.38779E+13     5540.34       0.0168293     0.0187852             0.0767563            0.5206985          0.5812141 2.3392162  2.3392162
274   42:36.4      574394 6.35303E+12            5.38779E+13     5499.34       0.0168293     0.0191027             0.0761882            0.5206985          0.5910375 2.3219053  2.3219053
275   47:39.2      574395 6.35303E+12            5.53825E+13     5524.89       0.0168293     0.0188485             0.0744629            0.5206985          0.5831726 2.2693225  2.2693225
276   52:42.0      574395 6.35303E+12            5.53825E+13     5516.19       0.0168293     0.0188647             0.0743456            0.5206985          0.5836738  2.265749    2.265749
277   57:44.9      574395 6.35303E+12            5.53825E+13     5519.38       0.0168293     0.0185184             0.0743886            0.5206985          0.5729593 2.2670593  2.2670593
278   02:47.9      574395 6.35303E+12            5.53825E+13     5528.44       0.0175068     0.0184732             0.0745107            0.5416604          0.5715608 2.2707806  2.2707806
279   07:50.8      574395 6.35303E+12            5.53825E+13     5533.27       0.0175068     0.0184058             0.0745758            0.5416604          0.5694755 2.2727645  2.2727645
280   12:53.8      574396 6.35303E+12            5.44713E+13     5531.02       0.0175068     0.0182413             0.0757925            0.5416604          0.5643858 2.3098433  2.3098433
281   17:56.8      574396 6.35303E+12            5.44713E+13     5545.02       0.0175068     0.0181908             0.0759843            0.5416604          0.5628234 2.3156899  2.3156899
282   22:59.7      574396 6.35303E+12            5.44713E+13     5547.84       0.0175068      0.018208             0.0760229            0.5416604          0.5633555 2.3168676  2.3168676
283   28:03.3      574397  6.35303E+12           5.38389E+13     5554.01       0.0175068     0.0183035             0.0770014            0.5416604          0.5663103 2.3466856  2.3466856




                                                                                                                                                                                   BB10000918
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       A          B            C                 D                 E            F             G                H                       I                  J               K          L
 1 datetime block_height network_diff est_network_hashrate    BTC_price day_ahead_LMP real_time_LMP breakeven_mining_cost     day_ahead_LMP_rev real_time_LMP_rev mining_rev realized_rev
284   33:06.2      574397 6.35303E+12            5.38389E+13    5549.85       0.0175068      0.0179475             0.0769437             0.5416604          0.5552957 2.3449279  2.3449279
285   38:09.0      574397 6.35303E+12            5.38389E+13      5562.7      0.0175068      0.0181763             0.0771218             0.5416604          0.5623747 2.3503573  2.3503573
286   43:11.9      574397 6.35303E+12            5.38389E+13    5576.66       0.0175068      0.0180946             0.0773154             0.5416604          0.5598469 2.3562557  2.3562557
287   48:15.5      574397 6.35303E+12            5.38389E+13    5591.65       0.0175068      0.0182001             0.0775232             0.5416604          0.5631111 2.3625893  2.3625893
288   53:18.6      574397 6.35303E+12            5.38389E+13    5576.07       0.0175068      0.0186904             0.0773072             0.5416604           0.578281 2.3560064  2.3560064
289   58:21.9      574398 6.35303E+12            5.24135E+13    5579.93       0.0175068      0.0187504             0.0794646             0.5416604          0.5801374 2.4217554  2.4217554
290   03:24.7      574399 6.35303E+12            5.22154E+13    5582.01       0.0177324      0.0190536             0.0797958             0.5486405          0.5895184   2.431849  2.431849
291   08:28.1      574399 6.35303E+12            5.22154E+13    5562.69       0.0177324      0.0191988             0.0795196             0.5486405          0.5940109 2.4234321  2.4234321
292   13:30.8      574400 6.35303E+12            5.19602E+13    5575.84       0.0177324      0.0190126             0.0800991             0.5486405          0.5882498   2.441092  2.441092
293   18:33.6      574400 6.35303E+12            5.19602E+13    5579.19       0.0177324       0.019119             0.0801472             0.5486405          0.5915419 2.4425586  2.4425586
294   23:36.6      574401 6.35303E+12            5.14241E+13    5571.19       0.0177324         0.01914            0.0808667             0.5486405          0.5921916 2.4644852  2.4644852
295   28:39.9      574401 6.35303E+12            5.14241E+13    5570.27       0.0177324      0.0192996             0.0808533             0.5486405          0.5971296 2.4640783  2.4640783
296   33:43.3      574402 6.35303E+12            5.15991E+13     5576.77      0.0177324      0.0192744             0.0806731             0.5486405          0.5963499   2.458585  2.458585
297   38:46.1      574403 6.35303E+12            5.16659E+13     5613.91      0.0177324      0.0199884             0.0811054             0.5486405          0.6184411 2.4717605  2.4717605
298   43:49.0      574404 6.35303E+12            5.22163E+13     5628.79       0.0177324     0.0195167             0.0804633             0.5486405          0.6038467    2.45219    2.45219
299   48:51.9      574405 6.35303E+12            5.26766E+13     5629.74       0.0177324     0.0214372             0.0797736             0.5486405           0.663267 2.4311707  2.4311707
300   53:54.6      574406 6.35303E+12            5.44332E+13     5687.49       0.0177324     0.0195852              0.077991             0.5486405          0.6059661 2.3768473  2.3768473
301   58:57.5      574407 6.35303E+12            5.44179E+13     5665.95       0.0177324     0.0195061             0.0777176             0.5486405          0.6035187 2.3685147  2.3685147
302   04:00.3      574407 6.35303E+12            5.44179E+13     5670.39       0.0185341     0.0184448             0.0777785             0.5734451          0.5706821 2.3703707  2.3703707
303   09:03.2      574408 6.35303E+12            5.43366E+13     5671.73       0.0185341     0.0190636             0.0779133             0.5734451          0.5898278 2.3744772  2.3744772
304   14:06.4      574409 6.35303E+12            5.45039E+13     5709.88       0.0185341     0.0193304             0.0781965             0.5734451          0.5980826 2.3831101  2.3831101
305   19:09.3      574409 6.35303E+12            5.45039E+13     5681.29       0.0185341     0.0195839              0.077805             0.5734451          0.6059259 2.3711776  2.3711776
306   24:12.6      574409 6.35303E+12            5.45039E+13      5681.4       0.0185341      0.021853             0.0778065             0.5734451          0.6761318 2.3712235  2.3712235
307   29:16.5      574410 6.35303E+12              5.4739E+13    5706.78       0.0185341     0.0200612             0.0778185             0.5734451          0.6206935 2.3715874  2.3715874
308   34:19.5      574410 6.35303E+12              5.4739E+13    5723.04       0.0185341     0.0209275             0.0780402             0.5734451          0.6474969 2.3783446  2.3783446
309   39:22.8      574410 6.35303E+12              5.4739E+13    5712.44       0.0185341     0.0210112             0.0778956             0.5734451          0.6500865 2.3739395  2.3739395
310   44:26.3      574410 6.35303E+12              5.4739E+13    5766.56       0.0185341     0.0207384             0.0786336             0.5734451          0.6416461 2.3964304  2.3964304
311   49:29.4      574410 6.35303E+12              5.4739E+13    5752.64       0.0185341     0.0222079             0.0784438             0.5734451          0.6871124 2.3906456  2.3906456
312   54:32.5      574411 6.35303E+12            5.33843E+13     5785.23       0.0185341     0.0227025             0.0808902             0.5734451          0.7024153 2.4652002  2.4652002
313   59:35.5      574412 6.35303E+12            5.33495E+13     5778.03       0.0185341     0.0428589             0.0808422             0.5734451          1.3260544 2.4637378  2.4637378
314   04:38.4      574412 6.35303E+12            5.33495E+13     5707.59       0.0231547     0.0241354             0.0798566             0.7164064          0.7467493 2.4337024  2.4337024
315   09:41.5      574412 6.35303E+12            5.33495E+13     5698.98       0.0231547     0.0216243             0.0797362             0.7164064          0.6690558 2.4300311  2.4300311
316   14:44.4      574412 6.35303E+12            5.33495E+13     5716.84       0.0231547     0.0224334              0.079986             0.7164064          0.6940894 2.4376465  2.4376465
317   19:47.4      574413 6.35303E+12            5.25253E+13     5727.04       0.0231547     0.0226368              0.081386             0.7164064          0.7003826 2.4803111  2.4803111
318   24:50.2      574413 6.35303E+12            5.25253E+13     5727.44       0.0231547     0.0213798             0.0813917             0.7164064           0.661491 2.4804844  2.4804844
319   29:53.5      574413 6.35303E+12            5.25253E+13     5735.97       0.0231547     0.0246145             0.0815129             0.7164064          0.7615726 2.4841786  2.4841786
320   34:56.2      574414 6.35303E+12            5.19701E+13     5739.52       0.0231547     0.0244526             0.0824347             0.7164064          0.7565634 2.5122723  2.5122723
321   39:58.9      574415 6.35303E+12            5.18073E+13     5733.01       0.0231547     0.0247503                 0.0826            0.7164064          0.7657743 2.5173089  2.5173089
322   45:02.0      574418 6.35303E+12            5.19586E+13      5730.9       0.0231547     0.0246666             0.0823292             0.7164064          0.7631846 2.5090566  2.5090566
323   50:05.4      574420 6.35303E+12            5.25895E+13     5722.12       0.0231547     0.0217518             0.0812169             0.7164064          0.6730007 2.4751591  2.4751591
324   55:08.3      574421 6.35303E+12            5.25734E+13     5697.57       0.0231547     0.0351625             0.0808932             0.7164064          1.0879278 2.4652918  2.4652918
325   00:11.2      574421 6.35303E+12            5.25734E+13     5674.99       0.0262502     0.0227664             0.0805726             0.8121812          0.7043924 2.4555216  2.4555216
326   05:14.1      574423 6.35303E+12            5.29406E+13     5662.61       0.0262502     0.0211763             0.0798392             0.8121812          0.6551947 2.4331701  2.4331701
327   10:17.1      574424 6.35303E+12            5.28202E+13     5700.01       0.0262502     0.0212464             0.0805497             0.8121812          0.6573636 2.4548241  2.4548241
328   15:20.3      574424 6.35303E+12            5.28202E+13     5679.07       0.0262502     0.0274053             0.0802538             0.8121812             0.84792 2.4458059 2.4458059
329   20:23.5      574425 6.35303E+12            5.23532E+13     5686.98       0.0262502     0.0470867             0.0810825             0.8121812          1.4568625   2.471061   2.471061
330   25:27.5      574426 6.35303E+12            5.30049E+13     5674.69       0.0262502     0.2292147             0.0799125             0.8121812          7.0919028   2.435404 7.0919028
331   30:31.9      574427 6.35303E+12            5.28466E+13     5692.52       0.0262502     0.2216174             0.0804036             0.8121812          6.8568424 2.4503724  6.8568424
332   35:34.7      574427 6.35303E+12            5.28466E+13     5694.01       0.0262502     0.0471417             0.0804247             0.8121812          1.4585642 2.4510138  2.4510138
333   40:37.2      574428 6.35303E+12              5.2354E+13    5713.35       0.0262502      0.026834             0.0814571             0.8121812           0.830244 2.4824794  2.4824794
334   45:39.9      574428 6.35303E+12              5.2354E+13    5716.19       0.0262502     0.0271429             0.0814976             0.8121812          0.8398013 2.4837134  2.4837134
335   50:43.0      574428 6.35303E+12              5.2354E+13    5717.38       0.0262502     0.0274218             0.0815146             0.8121812          0.8484305 2.4842305  2.4842305
336   55:46.3      574429 6.35303E+12            5.15634E+13     5710.01       0.0262502     0.0231901             0.0826578             0.8121812          0.7175017 2.5190709  2.5190709
337   00:48.9      574429 6.35303E+12            5.15634E+13     5698.38        0.026897     0.0217524             0.0824894             0.8321932          0.6730193 2.5139401  2.5139401
338   05:51.7      574429 6.35303E+12            5.15634E+13     5709.41        0.026897     0.0217524             0.0826491             0.8321932          0.6730193 2.5188062  2.5188062
339   10:54.7      574430 6.35303E+12            5.12815E+13     5715.13        0.026897     0.0226581             0.0831866             0.8321932          0.7010416 2.5351866  2.5351866
340   15:57.5      574430 6.35303E+12            5.12815E+13     5712.23        0.026897     0.0229356             0.0831444             0.8321932          0.7096275 2.5339002  2.5339002
341   21:00.5      574430 6.35303E+12            5.12815E+13      5713.4        0.026897     0.0229256             0.0831614             0.8321932          0.7093181 2.5344192  2.5344192
342   26:04.3      574430 6.35303E+12            5.12815E+13     5723.95        0.026897      0.023048              0.083315             0.8321932          0.7131051 2.5390991  2.5390991
343   31:07.1      574430 6.35303E+12            5.12815E+13     5735.36        0.026897     0.0238875             0.0834811             0.8321932          0.7390793 2.5441605  2.5441605
344   36:10.4      574430 6.35303E+12            5.12815E+13     5739.01        0.026897     0.0236472             0.0835342             0.8321932          0.7316444 2.5457796  2.5457796
345   41:13.2      574430 6.35303E+12            5.12815E+13     5741.24        0.026897     0.0239907             0.0835666             0.8321932          0.7422723 2.5467688  2.5467688
346   46:16.4      574430 6.35303E+12            5.12815E+13     5724.65        0.026897     0.0464448             0.0833252             0.8321932          1.4370021 2.5394096  2.5394096
347   56:21.7      574432 6.35303E+12            4.99455E+13     5715.44        0.026897     0.0462722             0.0854165             0.8321932          1.4316619 2.6031435  2.6031435
348   01:25.6      574432 6.35303E+12            4.99455E+13     5710.99        0.026856     0.0260505                0.08535            0.8309246          0.8060025 2.6011167  2.6011167
349   06:28.6      574433 6.35303E+12            4.98413E+13     5720.19        0.026856     0.0232273             0.0856661             0.8309246          0.7186527 2.6107513  2.6107513
350   11:32.0      574435 6.35303E+12            4.97656E+13     5727.69        0.026856     0.0241208              0.085909             0.8309246          0.7462976 2.6181535  2.6181535
351   16:35.1      574435 6.35303E+12            4.97656E+13     5726.31        0.026856     0.0265562             0.0858883             0.8309246          0.8216488 2.6175227  2.6175227
352   21:38.0      574437 6.35303E+12            4.98823E+13     5731.36        0.026856     0.0254804             0.0857628             0.8309246          0.7883636 2.6136992  2.6136992
353   26:41.0      574438 6.35303E+12              4.9928E+13    5735.02        0.026856     0.0467602             0.0857391             0.8309246          1.4467606 2.6129777  2.6129777
354   31:44.0      574440 6.35303E+12            4.96931E+13     5745.06        0.026856     0.0262716             0.0862952             0.8309246          0.8128433 2.6299251  2.6299251
355   36:47.2      574441 6.35303E+12            5.04581E+13     5742.56        0.026856     0.0260607             0.0849499             0.8309246          0.8063181 2.5889252  2.5889252
356   41:49.9      574441 6.35303E+12            5.04581E+13     5743.71        0.026856     0.0469087             0.0849669             0.8309246          1.4513552 2.5894437  2.5894437
357   46:52.8      574442 6.35303E+12            5.28842E+13     5750.85        0.026856     0.0335792             0.0811698             0.8309246          1.0389404 2.4737229  2.4737229
358   51:55.7      574442 6.35303E+12            5.28842E+13     5746.02        0.026856     0.0258719             0.0811016             0.8309246          0.8004766 2.4716453  2.4716453
359   56:59.4      574443 6.35303E+12            5.28228E+13     5737.61        0.026856     0.0247931             0.0810771             0.8309246          0.7670985 2.4708977  2.4708977
360   07:04.8      574443 6.35303E+12            5.28228E+13      5735.1       0.0293057     0.0239244             0.0810416             0.9067184          0.7402209 2.4698168  2.4698168
361   12:08.2      574443 6.35303E+12            5.28228E+13     5755.91       0.0293057     0.0241312             0.0813357             0.9067184          0.7466193 2.4787786  2.4787786
362   17:11.3      574443 6.35303E+12            5.28228E+13     5760.01       0.0293057     0.0244131             0.0813936             0.9067184          0.7553413 2.4805442  2.4805442
363   22:14.8      574444 6.35303E+12            5.21447E+13     5754.45       0.0293057     0.0243054             0.0823724             0.9067184          0.7520091   2.510372   2.510372
364   27:17.9      574444 6.35303E+12            5.21447E+13     5767.44       0.0293057     0.0271808             0.0825583             0.9067184           0.840974 2.5160389  2.5160389
365   32:20.7      574445 6.35303E+12            5.19166E+13     5755.01       0.0293057     0.0334751             0.0827425             0.9067184          1.0357196 2.5216513  2.5216513
366   37:23.8      574446 6.35303E+12            5.17083E+13     5764.68       0.0293057     0.0269796             0.0832153             0.9067184          0.8347488 2.5360608  2.5360608
367   42:26.6      574446 6.35303E+12            5.17083E+13     5756.94       0.0293057     0.0257824             0.0831036             0.9067184          0.7977075 2.5326557  2.5326557
368   47:30.1      574446 6.35303E+12            5.17083E+13     5755.95       0.0293057     0.0259458             0.0830893             0.9067184          0.8027631 2.5322202  2.5322202
369   52:32.9      574448 6.35303E+12            5.19511E+13     5743.01       0.0293057     0.0258671              0.082515             0.9067184          0.8003281 2.5147176  2.5147176
370   57:35.8      574448 6.35303E+12            5.19511E+13     5714.06       0.0293057      0.029113              0.082099             0.9067184          0.9007562 2.5020411  2.5020411
371   02:38.8      574448 6.35303E+12            5.19511E+13     5709.16       0.0285642     0.0261365             0.0820286             0.8837763          0.8086633 2.4998955  2.4998955
372   07:41.8      574449 6.35303E+12            5.17328E+13     5699.99       0.0285642     0.0243494             0.0822425             0.8837763          0.7533704 2.5064137  2.5064137
373   12:45.5      574449 6.35303E+12            5.17328E+13     5715.31       0.0285642     0.0249058             0.0824635             0.8837763          0.7705855 2.5131502  2.5131502
374   17:48.3      574450 6.35303E+12            5.16724E+13     5717.01       0.0285642     0.0252523             0.0825845             0.8837763          0.7813062 2.5168369  2.5168369
375   22:51.1      574450 6.35303E+12            5.16724E+13     5712.98       0.0285642     0.0249495             0.0825263             0.8837763          0.7719375 2.5150627  2.5150627
376   27:54.2      574450 6.35303E+12            5.16724E+13     5722.03       0.0285642     0.0249614              0.082657             0.8837763          0.7723057 2.5190469  2.5190469
377   32:57.1      574450  6.35303E+12           5.16724E+13     5727.15       0.0285642      0.024628              0.082731             0.8837763          0.7619903  2.5213009 2.5213009




                                                                                                                                                                                    BB10000918
                                                                                              4                                                       HIGHLY CONFIDENTIAL - ATTORNEYS' EYES ONLY


                                                                                   Appx13433
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       A          B            C                 D               E            F              G                H                      I                  J              K          L
 1 datetime block_height network_diff est_network_hashrate   BTC_price day_ahead_LMP real_time_LMP breakeven_mining_cost    day_ahead_LMP_rev real_time_LMP_rev mining_rev realized_rev
378   38:00.1      574451 6.35303E+12            5.07309E+13   5728.02       0.0285642      0.0251649             0.0842791            0.8837763           0.778602 2.5684819  2.5684819
379   43:02.9      574453 6.35303E+12            5.08262E+13   5712.01       0.0285642      0.0253148              0.083886            0.8837763          0.7832399 2.5565013  2.5565013
380   48:06.0      574454 6.35303E+12            5.11925E+13   5714.36       0.0285642      0.0241284               0.08332            0.8837763          0.7465327 2.5392517  2.5392517
381   53:08.8      574454 6.35303E+12            5.11925E+13   5702.85       0.0285642      0.0233991             0.0831522            0.8837763          0.7239682 2.5341371  2.5341371
382   58:11.8      574454 6.35303E+12            5.11925E+13   5709.89       0.0285642      0.0231231             0.0832548            0.8837763          0.7154287 2.5372654  2.5372654
383   03:14.8      574454 6.35303E+12            5.11925E+13   5717.23       0.0308666      0.0242656             0.0833618            0.9550126          0.7507777  2.540527   2.540527
384   08:17.7      574454 6.35303E+12            5.11925E+13   5705.48       0.0308666      0.0233018             0.0831905            0.9550126          0.7209577 2.5353057  2.5353057
385   13:21.1      574454 6.35303E+12            5.11925E+13   5717.65       0.0308666      0.0235938              0.083368            0.9550126          0.7299922 2.5407136  2.5407136




                                                                                                                                                                                  BB10000918
                                                                                            5                                                       HIGHLY CONFIDENTIAL - ATTORNEYS' EYES ONLY


                                                                                  Appx13434
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                                                                                    D
                                                                                    Bearbox v Lancium
                                                                                     Trial Exhibit
                                                                                      TX920-8

HIGHLY CONFIDENTIAL - ATTORNEYS' EYES ONLY                                          BB10000919
                                             Appx13435
                           Case: 23-1922                       Document: 39-7                        Page: 279                  Filed: 01/02/2024

       A          B            C                 D                E            F              G                H                      I                  J               K         L
 1 datetime block_height network_diff est_network_hashrate    BTC_price day_ahead_LMP real_time_LMP breakeven_mining_cost    day_ahead_LMP_rev real_time_LMP_rev mining_rev realized_rev
 2    18:57.8      574204 6.35303E+12            5.38327E+13    5320.85       0.0060427       0.005385             0.0737773            0.1869611          0.1666119 2.2484294  2.2484294
 3    24:01.3      574204 6.35303E+12            5.38327E+13    5320.01       0.0060427      0.0064427             0.0737656            0.1869611          0.1993371 2.2480744  2.2480744
 4    29:04.5      574204 6.35303E+12            5.38327E+13    5319.53       0.0060427      0.0066197              0.073759            0.1869611          0.2048135 2.2478716  2.2478716
 5    34:07.5      574204 6.35303E+12            5.38327E+13    5323.01       0.0060427      0.0050811             0.0738072            0.1869611          0.1572092 2.2493421  2.2493421
 6    39:10.8      574205 6.35303E+12            5.30839E+13    5321.95       0.0060427      0.0039673             0.0748335            0.1869611          0.1227483 2.2806172  2.2806172
 7    44:13.7      574205 6.35303E+12            5.30839E+13    5326.49       0.0060427      0.0026429             0.0748973            0.1869611          0.0817713 2.2825627  2.2825627
 8    49:17.3      574206 6.35303E+12            5.44532E+13    5325.49       0.0060427      0.0055617             0.0730003            0.1869611           0.172079 2.2247506  2.2247506
 9    54:21.0      574207 6.35303E+12            5.39845E+13    5329.01       0.0060427      0.0078101             0.0736827            0.1869611          0.2416445 2.2455467  2.2455467
10    59:24.0      574207 6.35303E+12            5.39845E+13    5325.97       0.0060427      0.0013496             0.0736407            0.1869611          0.0417566 2.2442657  2.2442657
11    04:26.9      574208 6.35303E+12            5.34662E+13    5326.24       0.0010725      0.0028982             0.0743583            0.0331832          0.0896703 2.2661373  2.2661373
12    09:29.9      574208 6.35303E+12            5.34662E+13    5325.01       0.0010725     -0.0032033             0.0743412            0.0331832        -0.0991101 2.2656139   2.2656139
13    14:32.8      574209 6.35303E+12            5.33477E+13    5321.61       0.0010725     -0.0082933             0.0744587            0.0331832        -0.2565947 2.2691954   2.2691954
14    19:35.8      574209 6.35303E+12            5.33477E+13    5321.01       0.0010725      0.0010456             0.0744503            0.0331832          0.0323509 2.2689395  2.2689395
15    24:38.8      574210 6.35303E+12            5.36221E+13    5327.95       0.0010725       0.001341              0.074166            0.0331832          0.0414905 2.2602762  2.2602762
16    29:41.7      574212 6.35303E+12            5.54528E+13    5327.05       0.0010725     -0.0189529             0.0717053            0.0331832        -0.5864027    2.185285  2.185285
17    34:44.6      574212 6.35303E+12            5.54528E+13    5323.36       0.0010725     -0.0315616             0.0716557            0.0331832        -0.9765159 2.1837713   2.1837713
18    39:47.5      574215 6.35303E+12            5.58834E+13     5323.1       0.0010725     -0.0309173             0.0711001            0.0331832        -0.9565813 2.1668382   2.1668382
19    44:50.4      574215 6.35303E+12            5.58834E+13     5323.1       0.0010725     -0.0300668             0.0711001            0.0331832        -0.9302668 2.1668382   2.1668382
20    49:53.4      574215 6.35303E+12            5.58834E+13    5326.69       0.0010725     -0.0266166              0.071148            0.0331832        -0.8235176 2.1682995   2.1682995
21    54:56.2      574215 6.35303E+12            5.58834E+13     5326.7       0.0010725      -0.031087             0.0711481            0.0331832        -0.9618318 2.1683036   2.1683036
22    59:59.2      574216 6.35303E+12            5.54406E+13    5326.69       0.0010725     -0.0320125             0.0717163            0.0331832        -0.9904668 2.1856184   2.1856184
23    05:02.6      574216 6.35303E+12            5.54406E+13    5330.34       0.0004616     -0.0310784             0.0717654            0.0142819        -0.9615657    2.187116  2.187116
24    10:05.7      574219 6.35303E+12            5.59245E+13    5326.73       0.0004616     -0.0029138             0.0710963            0.0142819          -0.090153 2.1667245  2.1667245
25    15:08.7      574220 6.35303E+12            5.59914E+13    5330.77       0.0004616     -0.0189733             0.0710652            0.0142819        -0.5870339 2.1657754   2.1657754
26    20:11.5      574220 6.35303E+12            5.59914E+13    5343.74       0.0004616     -0.0173406             0.0712381            0.0142819        -0.5365182 2.1710449   2.1710449
27    25:14.5      574224 6.35303E+12            5.59847E+13    5336.19       0.0004616     -0.0300341              0.071146            0.0142819        -0.9292551    2.168237  2.168237
28    30:17.5      574226 6.35303E+12            5.60441E+13    5332.48       0.0004616     -0.0260257             0.0710211            0.0142819        -0.8052352 2.1644326   2.1644326
29    35:20.7      574227 6.35303E+12            5.56725E+13    5331.92       0.0004616     -0.0190855             0.0714877            0.0142819        -0.5905054 2.1786519   2.1786519
30    40:24.0      574227 6.35303E+12            5.56725E+13    5332.07       0.0004616     -0.0196742             0.0714897            0.0142819        -0.6087197 2.1787132   2.1787132
31    45:26.9      574227 6.35303E+12            5.56725E+13    5339.99       0.0004616     -0.0193638             0.0715959            0.0142819          -0.599116 2.1819493  2.1819493
32    50:29.9      574228 6.35303E+12            5.52451E+13    5343.15       0.0004616     -0.0290785             0.0721925            0.0142819        -0.8996888 2.2001303   2.2001303
33    55:32.9      574229 6.35303E+12              5.5892E+13   5339.93       0.0004616     -0.0235031             0.0713139            0.0142819        -0.7271859 2.1733552   2.1733552
34    00:36.0      574229 6.35303E+12              5.5892E+13   5339.62       0.0003683     -0.0186023             0.0713098            0.0113952        -0.5755552    2.173229  2.173229
35    05:38.8      574229 6.35303E+12              5.5892E+13   5340.81       0.0003683      -0.030799             0.0713256            0.0113952        -0.9529211 2.1737133   2.1737133
36    10:41.7      574229 6.35303E+12              5.5892E+13   5346.19       0.0003683     -0.0302803             0.0713975            0.0113952        -0.9368725    2.175903  2.175903
37    15:45.1      574230 6.35303E+12            5.53347E+13    5351.26       0.0003683      -0.030195             0.0721849            0.0113952        -0.9342333 2.1999008   2.1999008
38    20:48.1      574231 6.35303E+12            5.49411E+13    5348.15       0.0003683     -0.0280841             0.0726599            0.0113952        -0.8689221 2.2143761   2.2143761
39    25:51.1      574231 6.35303E+12            5.49411E+13    5345.35       0.0003683      -0.028219             0.0726219            0.0113952        -0.8730959 2.2132168   2.2132168
40    30:54.2      574231 6.35303E+12            5.49411E+13    5345.27       0.0003683     -0.0269783             0.0726208            0.0113952        -0.8347086 2.2131836   2.2131836
41    35:57.2      574232 6.35303E+12            5.47061E+13    5350.24       0.0003683     -0.0274456             0.0730005            0.0113952        -0.8491669 2.2247569   2.2247569
42    41:00.3      574232 6.35303E+12            5.47061E+13    5346.06       0.0003683     -0.0274731             0.0729435            0.0113952        -0.8500177 2.2230187   2.2230187
43    46:03.7      574232 6.35303E+12            5.47061E+13    5353.06       0.0003683     -0.0289024              0.073039            0.0113952        -0.8942403 2.2259295   2.2259295
44    51:06.6      574232 6.35303E+12            5.47061E+13    5358.68       0.0003683     -0.0281664             0.0731157            0.0113952        -0.8714684 2.2282664   2.2282664
45    56:09.5      574232 6.35303E+12            5.47061E+13    5361.44       0.0003683     -0.0264087             0.0731533            0.0113952        -0.8170852 2.2294141   2.2294141
46    01:12.5      574232 6.35303E+12            5.47061E+13    5374.99       0.0029068     -0.0263978             0.0733382            0.0899364        -0.8167479 2.2350485   2.2350485
47    06:15.5      574233 6.35303E+12            5.35475E+13    5374.51       0.0029068     -0.0027561             0.0749183            0.0899364        -0.0852737 2.2832021   2.2832021
48    11:18.3      574233 6.35303E+12            5.35475E+13    5358.81       0.0029068     -0.0007245             0.0746994            0.0899364          -0.022416 2.2765324  2.2765324
49    16:21.5      574233 6.35303E+12            5.35475E+13     5364.9       0.0029068     -0.0182589             0.0747843            0.0899364        -0.5649304 2.2791195   2.2791195
50    21:24.5      574234 6.35303E+12            5.31615E+13    5359.77       0.0029068     -0.0018612             0.0752553            0.0899364        -0.0575855    2.293473  2.293473
51    26:27.4      574234 6.35303E+12            5.31615E+13    5359.03       0.0029068     -0.0145596             0.0752449            0.0899364          -0.450474 2.2931563  2.2931563
52    31:30.3      574234 6.35303E+12            5.31615E+13    5350.15       0.0029068     -0.0032024             0.0751202            0.0899364        -0.0990823 2.2893565   2.2893565
53    36:33.4      574234 6.35303E+12            5.31615E+13    5341.65       0.0029068     -0.0159588             0.0750009            0.0899364        -0.4937653 2.2857193   2.2857193
54    41:37.6      574236 6.35303E+12            5.29706E+13    5347.88       0.0029068      -0.031347              0.075359            0.0899364        -0.9698762 2.2966332   2.2966332
55    46:40.5      574237 6.35303E+12            5.26741E+13     5351.2       0.0029068     -0.0299955             0.0758303            0.0899364        -0.9280608 2.3109964   2.3109964
56    51:43.8      574238 6.35303E+12              5.2719E+13   5355.44       0.0029068      -0.005314             0.0758257            0.0899364        -0.1644152 2.3108556   2.3108556
57    56:47.1      574238 6.35303E+12              5.2719E+13   5345.98       0.0029068     -0.0015188             0.0756917            0.0899364        -0.0469917 2.3067736   2.3067736
58    01:50.1      574239 6.35303E+12            5.28168E+13    5350.18       0.0123358     -0.0315408             0.0756109            0.3816697        -0.9758724 2.3043114   2.3043114
59    06:52.9      574240 6.35303E+12            5.25658E+13    5350.99       0.0123358     -0.0303257             0.0759835            0.3816697        -0.9382772 2.3156641   2.3156641
60    11:55.9      574242 6.35303E+12            5.34165E+13    5348.27       0.0123358        9.42E-05            0.0747354            0.3816697          0.0029145 2.2776282  2.2776282
61    16:58.9      574243 6.35303E+12            5.35108E+13    5354.48       0.0123358      0.0004518             0.0746903            0.3816697          0.0139787 2.2762553  2.2762553
62    22:01.8      574245 6.35303E+12            5.38531E+13    5359.65       0.0123358      0.0010006             0.0742872            0.3816697          0.0309586 2.2639687  2.2639687
63    27:04.8      574246 6.35303E+12            5.41667E+13    5357.51       0.0123358     -0.0032478             0.0738276            0.3816697        -0.1004869 2.2499632   2.2499632
64    32:07.7      574246 6.35303E+12            5.41667E+13    5361.99       0.0123358     -0.0012084             0.0738894            0.3816697        -0.0373879 2.2518446   2.2518446
65    37:10.8      574246 6.35303E+12            5.41667E+13    5361.98       0.0123358      0.0049192             0.0738892            0.3816697              0.1522 2.2518404 2.2518404
66    42:13.6      574246 6.35303E+12            5.41667E+13    5366.22       0.0123358     -0.0153369             0.0739476            0.3816697        -0.4745237 2.2536211   2.2536211
67    47:16.4      574249 6.35303E+12            5.43573E+13    5361.59       0.0123358      -0.001234             0.0736247            0.3816697            -0.03818 2.2437799 2.2437799
68    52:19.3      574251 6.35303E+12            5.52479E+13     5360.9       0.0123358      0.0019206             0.0724286            0.3816697          0.0594234 2.2073275  2.2073275
69    57:22.2      574251 6.35303E+12            5.52479E+13    5354.26       0.0123358      0.0019529             0.0723389            0.3816697          0.0604227 2.2045935  2.2045935
70    02:25.2      574252 6.35303E+12            5.50584E+13    5358.27       0.0171547      0.0052837             0.0726423            0.5307664          0.1634777 2.2138386  2.2138386
71    07:29.5      574253 6.35303E+12            5.55506E+13    5362.43       0.0171547      0.1591301             0.0720545            0.5307664          4.9234853 2.1959243  4.9234853
72    12:32.4      574254 6.35303E+12            5.55733E+13    5360.24       0.0171547      0.0137192             0.0719957            0.5307664           0.424472 2.1941337  2.1941337
73    17:35.8      574255 6.35303E+12              5.5978E+13   5358.19       0.0171547      0.0100247             0.0714478            0.5307664          0.3101642 2.1774367  2.1774367
74    22:39.3      574257 6.35303E+12            5.59531E+13    5365.45       0.0171547       0.010676             0.0715764            0.5307664          0.3303154 2.1813562  2.1813562
75    27:42.4      574257 6.35303E+12            5.59531E+13    5368.93       0.0171547      0.0084567             0.0716229            0.5307664          0.2616503   2.182771  2.182771
76    32:45.3      574257 6.35303E+12            5.59531E+13    5368.01       0.0171547         0.00695            0.0716106            0.5307664           0.215033   2.182397  2.182397
77    37:48.1      574257 6.35303E+12            5.59531E+13    5368.01       0.0171547      0.0068908             0.0716106            0.5307664          0.2132014   2.182397  2.182397
78    42:51.2      574258 6.35303E+12            5.61961E+13    5363.48       0.0171547      0.0079862             0.0712408            0.5307664           0.247093 2.1711281  2.1711281
79    47:54.2      574258 6.35303E+12            5.61961E+13    5363.48       0.0171547      0.0077288             0.0712408            0.5307664          0.2391291 2.1711281  2.1711281
80    53:01.0      574258 6.35303E+12            5.61961E+13    5367.12       0.0171547      0.0079606             0.0712892            0.5307664           0.246301 2.1726015  2.1726015
81    58:03.9      574258 6.35303E+12            5.61961E+13     5368.9       0.0171547      0.0094797             0.0713128            0.5307664          0.2933019 2.1733221  2.1733221
82    03:06.9      574258 6.35303E+12            5.61961E+13    5361.18       0.0175345      0.0099931             0.0712103            0.5425174          0.3091865   2.170197  2.170197
83    08:10.0      574258 6.35303E+12            5.61961E+13    5360.85       0.0175345      0.0140424             0.0712059            0.5425174          0.4344719 2.1700634  2.1700634
84    13:13.1      574260 6.35303E+12            5.46276E+13    5364.69       0.0175345      0.0115677             0.0733029            0.5425174          0.3579046 2.2339708  2.2339708
85    18:16.1      574260 6.35303E+12            5.46276E+13    5368.73       0.0175345      0.0089848             0.0733581            0.5425174          0.2779897 2.2356531  2.2356531
86    23:19.1      574260 6.35303E+12            5.46276E+13    5365.96       0.0175345      0.0087186             0.0733202            0.5425174          0.2697535 2.2344996  2.2344996
87    28:22.1      574260 6.35303E+12            5.46276E+13    5366.96       0.0175345      0.0076954             0.0733339            0.5425174          0.2380957   2.234916  2.234916
88    33:25.3      574261 6.35303E+12            5.36607E+13    5369.99       0.0175345      0.0085314             0.0746974            0.5425174          0.2639615 2.2764693  2.2764693
89    38:28.2      574261 6.35303E+12            5.36607E+13    5366.01       0.0175345       0.007959              0.074642            0.5425174          0.2462515 2.2747821  2.2747821
90    43:31.2      574261 6.35303E+12            5.36607E+13    5363.99       0.0175345      0.0088748             0.0746139            0.5425174          0.2745863 2.2739257  2.2739257
91    48:34.0      574261 6.35303E+12            5.36607E+13    5362.94       0.0175345      0.0087942             0.0745993            0.5425174          0.2720925 2.2734806  2.2734806
92    53:36.9      574261 6.35303E+12            5.36607E+13    5374.61       0.0175345      0.0108958             0.0747616            0.5425174          0.3371161 2.2784278  2.2784278
93    58:39.7      574263 6.35303E+12            5.26165E+13    5373.07       0.0175345      0.0088925             0.0762235            0.5425174           0.275134 2.3229796  2.3229796
94    03:42.6      574266 6.35303E+12            5.51716E+13    5365.69       0.0192201       0.008437             0.0725936            0.5946699          0.2610408 2.2123564  2.2123564
95    08:45.5      574268 6.35303E+12            5.60115E+13    5358.95       0.0192201      0.0081387             0.0714152            0.5946699          0.2518114 2.1764425  2.1764425




                                                                                                                                                                                   BB10000920
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        A          B            C                 D                 E            F             G                H                      I                  J                K         L
  1 datetime block_height network_diff est_network_hashrate    BTC_price day_ahead_LMP real_time_LMP breakeven_mining_cost    day_ahead_LMP_rev real_time_LMP_rev mining_rev realized_rev
 96    13:48.7      574269 6.35303E+12            5.58958E+13    5350.35       0.0192201      0.0089234             0.0714482            0.5946699            0.27609 2.1774474   2.1774474
 97    18:51.9      574270 6.35303E+12              5.6144E+13   5350.01       0.0192201      0.0083345             0.0711278            0.5946699          0.2578694 2.1676825   2.1676825
 98    23:54.8      574271 6.35303E+12              5.6095E+13   5356.14       0.0192201      0.0081467             0.0712715            0.5946699          0.2520589   2.172064   2.172064
 99    28:57.8      574271 6.35303E+12              5.6095E+13   5348.01       0.0192201      0.0080171             0.0711633            0.5946699          0.2480491   2.168767   2.168767
100    34:00.7      574272 6.35303E+12            5.54087E+13    5356.18       0.0192201      0.0081756             0.0721548            0.5946699          0.2529531 2.1989837   2.1989837
101    39:03.7      574273 6.35303E+12            5.53104E+13    5355.34       0.0192201      0.0085978             0.0722717            0.5946699          0.2660159 2.2025454   2.2025454
102    44:07.1      574274 6.35303E+12            5.53441E+13    5355.28       0.0192201      0.0106277              0.072227            0.5946699           0.328821 2.2011814   2.2011814
103    49:10.1      574274 6.35303E+12            5.53441E+13    5354.11       0.0192201      0.0119739             0.0722112            0.5946699          0.3704725 2.2007005   2.2007005
104    54:13.2      574274 6.35303E+12            5.53441E+13    5355.14       0.0192201      0.0170918             0.0722251            0.5946699          0.5288203 2.2011238   2.2011238
105    59:16.2      574274 6.35303E+12            5.53441E+13    5369.69       0.0192201      0.0147439             0.0724213            0.5946699          0.4561763 2.2071043   2.2071043
106    04:19.1      574274 6.35303E+12            5.53441E+13    5370.68       0.0216772      0.0099164             0.0724347            0.6706926          0.3068134 2.2075112   2.2075112
107    09:22.5      574274 6.35303E+12            5.53441E+13     5367.34      0.0216772      0.0091219             0.0723896            0.6706926          0.2822316 2.2061384   2.2061384
108    14:25.5      574274 6.35303E+12            5.53441E+13     5364.39       0.0216772     0.0156346             0.0723498            0.6706926          0.4837345 2.2049258   2.2049258
109    19:28.4      574275 6.35303E+12            5.36343E+13     5366.28       0.0216772     0.0160516             0.0746825            0.6706926          0.4966365   2.276015   2.276015
110    24:31.3      574275 6.35303E+12            5.36343E+13     5371.27       0.0216772     0.0160404             0.0747519            0.6706926             0.49629 2.2781314  2.2781314
111    29:34.0      574275 6.35303E+12            5.36343E+13     5369.89       0.0216772     0.0158588             0.0747327            0.6706926          0.4906713 2.2775461   2.2775461
112    34:37.0      574277 6.35303E+12            5.50501E+13     5373.89       0.0216772     0.0200104             0.0728651            0.6706926          0.6191218 2.2206282   2.2206282
113    39:39.9      574280 6.35303E+12            5.61893E+13      5386.3       0.0216772     0.0192174             0.0715525            0.6706926          0.5945864 2.1806275   2.1806275
114    44:42.8      574281 6.35303E+12            5.67946E+13     5376.94       0.0216772     0.0172971              0.070667            0.6706926          0.5351723 2.1536405   2.1536405
115    49:45.4      574281 6.35303E+12            5.67946E+13     5380.34       0.0216772     0.0171393             0.0707117            0.6706926          0.5302899 2.1550023   2.1550023
116    54:48.5      574282 6.35303E+12              5.6096E+13    5376.01       0.0216772     0.0134753             0.0715347            0.6706926          0.4169258 2.1800845   2.1800845
117    59:51.6      574282 6.35303E+12              5.6096E+13    5379.99       0.0216772     0.0180308             0.0715877            0.6706926           0.557873 2.1816984   2.1816984
118    04:54.7      574283 6.35303E+12            5.56063E+13     5387.53       0.0236157     0.0178982             0.0723193            0.7306698          0.5537703 2.2039945   2.2039945
119    09:58.2      574283 6.35303E+12            5.56063E+13     5404.49       0.0236157     0.0199601             0.0725469            0.7306698          0.6175655 2.2109326   2.2109326
120    15:01.2      574283 6.35303E+12            5.56063E+13      5410.8       0.0236157      0.019843             0.0726316            0.7306698          0.6139424   2.213514   2.213514
121    20:04.6      574284 6.35303E+12            5.64188E+13     5402.18       0.0236157     0.0211652             0.0714716            0.7306698          0.6548513 2.1781617   2.1781617
122    25:08.2      574284 6.35303E+12            5.64188E+13     5401.01       0.0236157     0.0207169             0.0714561            0.7306698          0.6409809     2.17769    2.17769
123    30:11.3      574285 6.35303E+12            5.57835E+13     5408.19       0.0236157     0.0202099              0.072366            0.7306698          0.6252943 2.2054203   2.2054203
124    35:14.3      574285 6.35303E+12            5.57835E+13     5399.01       0.0236157     0.0197121             0.0722432            0.7306698          0.6098924 2.2016767   2.2016767
125    40:17.3      574285 6.35303E+12            5.57835E+13     5401.14       0.0236157     0.0205203             0.0722717            0.7306698          0.6348981 2.2025453   2.2025453
126    45:20.2      574285 6.35303E+12            5.57835E+13     5401.12       0.0236157      0.020253             0.0722714            0.7306698          0.6266278 2.2025372   2.2025372
127    50:23.3      574285 6.35303E+12            5.57835E+13     5404.01       0.0236157     0.0204966             0.0723101            0.7306698          0.6341648 2.2037157   2.2037157
128    55:26.4      574285 6.35303E+12            5.57835E+13     5402.66       0.0236157     0.0204779              0.072292            0.7306698          0.6335862 2.2031652   2.2031652
129    00:29.5      574285 6.35303E+12            5.57835E+13     5405.56       0.0246623     0.0205394             0.0723309            0.7630516           0.635489 2.2043478   2.2043478
130    05:32.6      574285 6.35303E+12            5.57835E+13     5408.51       0.0246623      0.020696             0.0723703            0.7630516          0.6403342 2.2055508   2.2055508
131    10:35.6      574286 6.35303E+12            5.36818E+13     5410.26       0.0246623     0.0206614             0.0752279            0.7630516          0.6392637 2.2926386   2.2926386
132    15:38.9      574287 6.35303E+12            5.50908E+13     5405.01       0.0246623     0.0206639             0.0732328            0.7630516          0.6393411 2.2318356   2.2318356
133    20:42.0      574287 6.35303E+12            5.50908E+13      5377.7       0.0246623     0.0207146             0.0728628            0.7630516          0.6409097 2.2205587   2.2205587
134    25:45.3      574288 6.35303E+12              5.6446E+13    5379.31       0.0246623     0.0207073             0.0711347            0.7630516          0.6406839 2.1678941   2.1678941
135    30:48.4      574289 6.35303E+12            5.61643E+13     5386.34       0.0246623     0.0217617              0.071585            0.7630516           0.673307 2.1816166   2.1816166
136    35:51.4      574289 6.35303E+12            5.61643E+13     5386.22       0.0246623     0.0218403             0.0715834            0.7630516          0.6757389   2.181568   2.181568
137    40:54.5      574289 6.35303E+12            5.61643E+13     5380.96       0.0246623     0.0212653             0.0715135            0.7630516          0.6579484 2.1794376   2.1794376
138    45:57.5      574289 6.35303E+12            5.61643E+13     5373.11       0.0246623     0.0218495             0.0714091            0.7630516          0.6760235 2.1762581   2.1762581
139    51:00.5      574290 6.35303E+12            5.56905E+13     5379.99       0.0246623     0.0219329             0.0721089            0.7630516          0.6786039 2.1975834   2.1975834
140    56:03.8      574293 6.35303E+12            5.63654E+13     5381.68       0.0246623     0.0219044             0.0712679            0.7630516          0.6777221 2.1719525   2.1719525
141    01:07.0      574294 6.35303E+12            5.66874E+13     5378.02       0.0258006        0.02135            0.0708148            0.7982706           0.660569 2.1581456   2.1581456
142    06:09.8      574295 6.35303E+12            5.71185E+13     5388.44       0.0258006     0.0215474             0.0704165            0.7982706          0.6666766 2.1460054   2.1460054
143    11:12.8      574296 6.35303E+12            5.69506E+13     5391.26       0.0258006     0.0217122              0.070661            0.7982706          0.6717755 2.1534583   2.1534583
144    16:15.8      574298 6.35303E+12            5.77593E+13     5388.44       0.0258006     0.0240987             0.0696352            0.7982706          0.7456138 2.1221966   2.1221966
145    21:19.0      574298 6.35303E+12            5.77593E+13     5388.43       0.0258006     0.0223207             0.0696351            0.7982706          0.6906025 2.1221927   2.1221927
146    26:22.1      574298 6.35303E+12            5.77593E+13     5393.86       0.0258006     0.0257788             0.0697053            0.7982706          0.7975961 2.1243313   2.1243313
147    31:25.5      574300 6.35303E+12            5.74492E+13     5390.38       0.0258006     0.0265151             0.0700363            0.7982706          0.8203772     2.13442    2.13442
148    36:29.7      574301 6.35303E+12              5.7613E+13    5391.27       0.0258006     0.0846763             0.0698488            0.7982706          2.6198847 2.1287047   2.6198847
149    41:33.9      574301 6.35303E+12              5.7613E+13     5391.2       0.0258006     0.2210761             0.0698479            0.7982706          6.8400945 2.1286771   6.8400945
150    46:37.9      574302 6.35303E+12            5.77583E+13     5394.99       0.0258006     0.1570346             0.0697211            0.7982706          4.8586505 2.1248138   4.8586505
151    51:42.1      574302 6.35303E+12            5.77583E+13     5394.99       0.0258006     0.1785148             0.0697211            0.7982706          5.5232479 2.1248138   5.5232479
152    56:46.2      574305 6.35303E+12              5.8471E+13    5394.98       0.0258006     0.1762844             0.0688712            0.7982706          5.4542393 2.0989108   5.4542393
153    01:50.2      574305 6.35303E+12              5.8471E+13    5392.44       0.0281961     0.2198672             0.0688387            0.8723873          6.8026912 2.0979226   6.8026912
154    06:53.7      574305 6.35303E+12              5.8471E+13    5392.99       0.0281961     0.0379209             0.0688458            0.8723873          1.1732726 2.0981366   2.0981366
155    11:56.7      574306 6.35303E+12            5.85526E+13     5393.03       0.0281961     0.0282621             0.0687504            0.8723873          0.8744294 2.0952297   2.0952297
156    17:00.1      574309 6.35303E+12            6.00748E+13     5396.48       0.0281961     0.0252831             0.0670512            0.8723873          0.7822591 2.0434454   2.0434454
157    22:03.0      574309 6.35303E+12            6.00748E+13     5397.01       0.0281961     0.0261016             0.0670578            0.8723873          0.8075835 2.0436461   2.0436461
158    27:06.2      574310 6.35303E+12            6.02983E+13     5396.19       0.0281961     0.0259345             0.0667991            0.8723873          0.8024134 2.0357628   2.0357628
159    32:09.2      574311 6.35303E+12            6.01255E+13     5399.99       0.0281961     0.0302117             0.0670382            0.8723873             0.93475 2.0430488  2.0430488
160    37:12.3      574311 6.35303E+12            6.01255E+13     5396.83       0.0281961     0.0302065             0.0669989            0.8723873          0.9345891 2.0418532   2.0418532
161    42:16.0      574312 6.35303E+12            5.99055E+13      5396.6       0.0281961     0.0302581             0.0672421            0.8723873          0.9361856 2.0492645   2.0492645
162    47:18.9      574312 6.35303E+12            5.99055E+13      5395.6       0.0281961     0.0260237             0.0672297            0.8723873          0.8051733 2.0488848   2.0488848
163    52:22.0      574315 6.35303E+12            5.97623E+13     5391.32       0.0281961     0.0287961             0.0673373            0.8723873          0.8909513 2.0521662   2.0521662
164    57:25.5      574315 6.35303E+12            5.97623E+13     5389.83       0.0281961     0.0262929             0.0673187            0.8723873          0.8135023   2.051599   2.051599
165    02:29.6      574316 6.35303E+12            5.95157E+13     5386.52       0.0299161     0.2138762             0.0675561            0.9256041          6.6173296 2.0588338   6.6173296
166    07:32.4      574317 6.35303E+12            6.04051E+13     5388.05       0.0299161     0.0275251             0.0665804            0.9256041          0.8516266 2.0290984   2.0290984
167    12:36.3      574319 6.35303E+12              6.0775E+13    5393.81       0.0299161     0.2273591             0.0662458            0.9256041          7.0344906 2.0189017   7.0344906
168    17:39.2      574320 6.35303E+12            6.21737E+13     5393.01       0.0299161     0.0493661              0.064746            0.9256041          1.5273871 1.9731924   1.9731924
169    22:42.0      574320 6.35303E+12            6.21737E+13     5402.48       0.0299161     0.0375238             0.0648597            0.9256041          1.1609864 1.9766573   1.9766573
170    27:44.8      574320 6.35303E+12            6.21737E+13     5407.98       0.0299161     0.0307697             0.0649257            0.9256041          0.9520145 1.9786696   1.9786696
171    32:47.7      574321 6.35303E+12            6.17749E+13     5401.85       0.0299161      0.028391             0.0652708            0.9256041          0.8784175 1.9891864   1.9891864
172    37:50.6      574321 6.35303E+12            6.17749E+13     5405.27       0.0299161     0.0282624             0.0653121            0.9256041          0.8744387 1.9904458   1.9904458
173    42:53.6      574321 6.35303E+12            6.17749E+13     5406.86       0.0299161     0.0277909             0.0653313            0.9256041          0.8598504 1.9910313   1.9910313
174    47:56.6      574321 6.35303E+12            6.17749E+13     5408.61       0.0299161     0.0279723             0.0653525            0.9256041           0.865463 1.9916757   1.9916757
175    52:59.4      574321 6.35303E+12            6.17749E+13     5414.93       0.0299161     0.0279911             0.0654288            0.9256041          0.8660446   1.994003   1.994003
176    58:02.4      574321 6.35303E+12            6.17749E+13     5402.69       0.0299161      0.026867             0.0652809            0.9256041           0.831265 1.9894957   1.9894957
177    03:05.3      574321 6.35303E+12            6.17749E+13     5391.74       0.0292659     0.0268991             0.0651486            0.9054869          0.8322582 1.9854634   1.9854634
178    08:08.5      574321 6.35303E+12            6.17749E+13      5395.3       0.0292659     0.0270222             0.0651917            0.9054869          0.8360669 1.9867744   1.9867744
179    13:11.4      574321 6.35303E+12            6.17749E+13     5397.89       0.0292659     0.0267872              0.065223            0.9054869           0.828796 1.9877281   1.9877281
180    18:14.9      574321 6.35303E+12            6.17749E+13      5399.5       0.0292659     0.0268543             0.0652424            0.9054869           0.830872   1.988321   1.988321
181    23:17.9      574321 6.35303E+12            6.17749E+13     5394.06       0.0292659     0.0269768             0.0651767            0.9054869          0.8346622 1.9863178   1.9863178
182    28:20.8      574321 6.35303E+12            6.17749E+13     5393.44       0.0292659     0.0268761             0.0651692            0.9054869          0.8315465 1.9860895   1.9860895
183    33:24.0      574322 6.35303E+12              5.8824E+13     5394.4       0.0292659     0.0268238             0.0684506            0.9054869          0.8299284   2.086093   2.086093
184    38:27.3      574322 6.35303E+12              5.8824E+13    5392.26       0.0292659     0.0261315             0.0684234            0.9054869          0.8085086 2.0852655   2.0852655
185    43:30.4      574323 6.35303E+12            5.85421E+13     5392.81       0.0292659     0.0274694             0.0687599            0.9054869          0.8499032 2.0955189   2.0955189
186    48:33.4      574323 6.35303E+12            5.85421E+13     5397.13       0.0292659     0.0267346              0.068815            0.9054869          0.8271685 2.0971976   2.0971976
187    53:36.4      574323 6.35303E+12            5.85421E+13     5402.13       0.0292659     0.0276262             0.0688787            0.9054869          0.8547546 2.0991404   2.0991404
188    58:39.2      574326 6.35303E+12            5.98016E+13     5403.36       0.0292659     0.0304034             0.0674434            0.9054869          0.9406812 2.0553977   2.0553977
189    03:42.1      574326  6.35303E+12           5.98016E+13     5402.78        0.030273     0.0359978             0.0674361            0.9366466          1.1137719  2.0551771  2.0551771




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                                                                                              2                                                        HIGHLY CONFIDENTIAL - ATTORNEYS' EYES ONLY


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       A          B            C                 D                 E            F             G                H                       I                  J               K          L
 1 datetime block_height network_diff est_network_hashrate    BTC_price day_ahead_LMP real_time_LMP breakeven_mining_cost     day_ahead_LMP_rev real_time_LMP_rev mining_rev realized_rev
190   08:45.0      574327 6.35303E+12            5.96067E+13    5401.47         0.030273     0.0287712             0.0676402             0.9366466          0.8901809 2.0613959  2.0613959
191   13:48.1      574327 6.35303E+12            5.96067E+13    5402.02         0.030273     0.0276182             0.0676471             0.9366466          0.8545071 2.0616058  2.0616058
192   18:51.1      574328 6.35303E+12            5.96752E+13    5405.01         0.030273     0.0258534             0.0676069             0.9366466          0.7999042 2.0603812  2.0603812
193   23:54.0      574328 6.35303E+12            5.96752E+13    5405.54         0.030273     0.0273201             0.0676135             0.9366466          0.8452839 2.0605832  2.0605832
194   28:57.0      574328 6.35303E+12            5.96752E+13    5411.23         0.030273     0.0271151             0.0676847             0.9366466          0.8389412 2.0627523  2.0627523
195   34:00.5      574329 6.35303E+12            5.94855E+13    5414.16         0.030273     0.0272609             0.0679373             0.9366466          0.8434522 2.0704516  2.0704516
196   39:03.4      574330 6.35303E+12            5.97035E+13    5414.16         0.030273     0.0272442             0.0676893             0.9366466          0.8429355 2.0628912  2.0628912
197   44:06.6      574331 6.35303E+12            5.96567E+13    5414.18         0.030273     0.0259561             0.0677426             0.9366466          0.8030817 2.0645162  2.0645162
198   49:10.2      574333 6.35303E+12              5.9734E+13   5407.51         0.030273     0.0270756             0.0675716             0.9366466          0.8377191 2.0593055  2.0593055
199   54:13.3      574333 6.35303E+12              5.9734E+13   5400.01         0.030273     0.0271004             0.0674779             0.9366466          0.8384864 2.0564494  2.0564494
200   59:16.4      574334 6.35303E+12            5.92562E+13    5403.78         0.030273     0.0273779             0.0680695             0.9366466          0.8470722 2.0744785  2.0744785
201   04:19.8      574335 6.35303E+12              5.9018E+13     5401.4      0.0290851      0.0283554             0.0683141              0.899893          0.8773161 2.0819329  2.0819329
202   09:23.3      574335 6.35303E+12              5.9018E+13   5400.65       0.0290851      0.0271462             0.0683046              0.899893          0.8399034 2.0816439  2.0816439
203   14:26.3      574337 6.35303E+12            6.04407E+13    5403.84       0.0290851      0.0271793             0.0667361              0.899893          0.8409275 2.0338434  2.0338434
204   19:29.7      574338 6.35303E+12            6.00814E+13    5403.99       0.0290851      0.0269492             0.0671371              0.899893          0.8338082 2.0460639  2.0460639
205   24:32.5      574341 6.35303E+12            6.05704E+13    5406.15       0.0290851      0.0265213             0.0666217              0.899893           0.820569 2.0303561  2.0303561
206   29:35.5      574342 6.35303E+12              6.0482E+13   5405.72       0.0290851      0.0269952             0.0667137              0.899893          0.8352315 2.0331615  2.0331615
207   34:38.6      574343 6.35303E+12            5.99395E+13    5402.02       0.0290851      0.0260047             0.0672715              0.899893          0.8045854 2.0501593  2.0501593
208   39:41.6      574343 6.35303E+12            5.99395E+13    5399.38       0.0290851      0.0266287             0.0672386              0.899893           0.823892 2.0491574  2.0491574
209   44:44.4      574344 6.35303E+12            5.95861E+13    5399.01       0.0290851      0.0265012             0.0676328              0.899893          0.8199471 2.0611697  2.0611697
210   49:47.3      574344 6.35303E+12            5.95861E+13    5394.85       0.0290851      0.0271631             0.0675807              0.899893          0.8404263 2.0595816  2.0595816
211   54:50.3      574344 6.35303E+12            5.95861E+13    5396.47       0.0290851      0.0265076              0.067601              0.899893          0.8201451     2.0602      2.0602
212   59:53.1      574344 6.35303E+12            5.95861E+13    5398.44       0.0290851      0.0266994             0.0676256              0.899893          0.8260794 2.0609521  2.0609521
213   04:56.9      574346 6.35303E+12            5.84022E+13    5394.51           0.02818    0.2274043             0.0689463             0.8718892           7.035889 2.1012014   7.035889
214   10:00.6      574347 6.35303E+12            5.86008E+13      5393.4          0.02818    0.0269004             0.0686985             0.8718892          0.8322984 2.0936499  2.0936499
215   15:04.1      574347 6.35303E+12            5.86008E+13     5397.48          0.02818     0.026967             0.0687505             0.8718892           0.834359 2.0952337  2.0952337
216   20:07.3      574348 6.35303E+12            5.87322E+13     5396.99          0.02818    0.0271281             0.0685905             0.8718892          0.8393434 2.0903567  2.0903567
217   25:10.3      574348 6.35303E+12            5.87322E+13     5396.15          0.02818    0.0268342             0.0685798             0.8718892          0.8302501 2.0900313  2.0900313
218   30:14.9      574349 6.35303E+12            5.84595E+13     5395.98          0.02818     0.226576             0.0688975             0.8718892          7.0102614 2.0997122  7.0102614
219   35:17.9      574350 6.35303E+12            5.91267E+13     5396.77          0.02818    0.0272473                0.06813            0.8718892          0.8430315 2.0763241  2.0763241
220   40:20.9      574350 6.35303E+12            5.91267E+13     5395.88          0.02818     0.024981             0.0681188             0.8718892          0.7729121 2.0759816  2.0759816
221   45:24.0      574351 6.35303E+12            5.92508E+13      5395.8          0.02818    0.0257123             0.0679751             0.8718892          0.7955386 2.0716025  2.0716025
222   50:27.1      574351 6.35303E+12            5.92508E+13     5393.06          0.02818    0.0249229             0.0679406             0.8718892          0.7711145 2.0705505  2.0705505
223   55:30.2      574351 6.35303E+12            5.92508E+13     5392.02          0.02818    0.0251479             0.0679275             0.8718892           0.778076 2.0701512  2.0701512
224   00:33.0      574351 6.35303E+12            5.92508E+13     5390.01       0.0294406     0.0252162             0.0679022             0.9108922          0.7801892 2.0693795  2.0693795
225   05:35.8      574351 6.35303E+12            5.92508E+13     5365.12       0.0294406     0.0226972             0.0675886             0.9108922          0.7022514 2.0598235  2.0598235
226   10:38.7      574351 6.35303E+12            5.92508E+13     5371.99       0.0294406     0.0227666             0.0676752             0.9108922          0.7043986 2.0624611  2.0624611
227   15:41.6      574351 6.35303E+12            5.92508E+13      5379.7       0.0294406     0.0243866             0.0677723             0.9108922          0.7545214 2.0654212  2.0654212
228   20:44.5      574353 6.35303E+12            5.95341E+13      5378.3       0.0294406     0.0230678             0.0674322             0.9108922          0.7137177 2.0550568  2.0550568
229   25:47.5      574353 6.35303E+12            5.95341E+13     5381.03       0.0294406     0.0249763             0.0674664             0.9108922          0.7727667 2.0560999  2.0560999
230   30:50.5      574353 6.35303E+12            5.95341E+13     5392.25       0.0294406     0.0253991             0.0676071             0.9108922          0.7858482 2.0603871  2.0603871
231   35:53.6      574353 6.35303E+12            5.95341E+13     5394.16       0.0294406     0.0253424              0.067631             0.9108922          0.7840939 2.0611169  2.0611169
232   40:56.7      574353 6.35303E+12            5.95341E+13     5399.99       0.0294406     0.0250223             0.0677041             0.9108922             0.77419 2.0633446 2.0633446
233   45:59.6      574356 6.35303E+12            6.01278E+13     5396.88       0.0294406     0.0234576             0.0669971             0.9108922          0.7257781 2.0417971  2.0417971
234   51:02.7      574356 6.35303E+12            6.01278E+13     5394.77       0.0294406     0.0249344             0.0669709             0.9108922          0.7714703 2.0409989  2.0409989
235   56:05.8      574356 6.35303E+12            6.01278E+13      5402.4       0.0294406      0.022081             0.0670656             0.9108922          0.6831861 2.0438855  2.0438855
236   01:08.8      574357 6.35303E+12            5.98782E+13     5407.57       0.0358454     0.0219246             0.0674096             1.1090567          0.6783471 2.0543694  2.0543694
237   06:12.1      574357 6.35303E+12            5.98782E+13     5412.01       0.0358454     0.0217059              0.067465             1.1090567          0.6715805 2.0560562  2.0560562
238   11:15.1      574359 6.35303E+12            5.99023E+13     5413.47       0.0358454     0.0219481              0.067456             1.1090567          0.6790742 2.0557835  2.0557835
239   16:18.2      574360 6.35303E+12              6.0023E+13    5411.11       0.0358454     0.0220348             0.0672909             1.1090567          0.6817567 2.0507521  2.0507521
240   21:21.3      574360 6.35303E+12              6.0023E+13    5411.03       0.0358454     0.0228761             0.0672899             1.1090567          0.7077865 2.0507217  2.0507217
241   26:24.5      574360 6.35303E+12              6.0023E+13    5403.73       0.0358454     0.0226145             0.0671992             1.1090567          0.6996926 2.0479551  2.0479551
242   31:27.6      574361 6.35303E+12            5.95038E+13     5407.93       0.0358454     0.0246405             0.0678382             1.1090567          0.7623771 2.0674304  2.0674304
243   36:30.8      574361 6.35303E+12            5.95038E+13     5411.14       0.0358454     0.0360477             0.0678785             1.1090567          1.1153158 2.0686576  2.0686576
244   41:34.3      574362 6.35303E+12            5.87448E+13     5422.09       0.0358454     0.0239492             0.0688946             1.1090567          0.7409882 2.0996263  2.0996263
245   46:37.4      574362 6.35303E+12            5.87448E+13     5435.74       0.0358454     0.0225539             0.0690681             1.1090567          0.6978177 2.1049121  2.1049121
246   51:40.5      574362 6.35303E+12            5.87448E+13     5435.55       0.0358454     0.0241469             0.0690657             1.1090567          0.7471051 2.1048385  2.1048385
247   56:43.6      574363 6.35303E+12            5.80502E+13     5427.15       0.0358454     0.0327231             0.0697841             1.1090567          1.0124527 2.1267343  2.1267343
248   01:47.3      574363 6.35303E+12            5.80502E+13      5428.1       0.0269617     0.0483081             0.0697964              0.834195          1.4946526 2.1271066  2.1271066
249   06:50.1      574364 6.35303E+12            5.78645E+13     5441.31       0.0269617     0.0434265             0.0701907              0.834195          1.3436159 2.1391255  2.1391255
250   11:53.2      574364 6.35303E+12            5.78645E+13     5428.95       0.0269617     0.0243957             0.0700313              0.834195           0.754803 2.1342664  2.1342664
251   16:56.5      574367 6.35303E+12            5.84533E+13     5433.74       0.0269617     0.0247673              0.069387              0.834195          0.7663003 2.1146321  2.1146321
252   21:59.8      574367 6.35303E+12            5.84533E+13     5439.23       0.0269617     0.0232371             0.0694571              0.834195          0.7189559 2.1167686  2.1167686
253   27:03.6      574368 6.35303E+12            5.81378E+13     5433.99       0.0269617     0.0215394             0.0697668              0.834195           0.666429 2.1262058  2.1262058
254   32:06.7      574368 6.35303E+12            5.81378E+13     5443.02       0.0269617     0.0212281             0.0698827              0.834195          0.6567974 2.1297391  2.1297391
255   37:09.8      574369 6.35303E+12              5.7527E+13    5441.82       0.0269617     0.0207248             0.0706092              0.834195          0.6412253 2.1518775  2.1518775
256   42:13.0      574370 6.35303E+12            5.73316E+13     5444.99       0.0269617     0.0200896             0.0708911              0.834195          0.6215722 2.1604697  2.1604697
257   47:16.2      574370 6.35303E+12            5.73316E+13     5471.73       0.0269617     0.0200075             0.0712392              0.834195          0.6190321 2.1710796  2.1710796
258   52:19.8      574370 6.35303E+12            5.73316E+13     5464.57       0.0269617     0.0196461              0.071146              0.834195          0.6078503 2.1682387  2.1682387
259   57:22.8      574373 6.35303E+12            5.75391E+13     5469.53       0.0269617     0.0199141             0.0709537              0.834195          0.6161423   2.162379   2.162379
260   02:26.3      574373 6.35303E+12            5.75391E+13     5466.18       0.0207707     0.0196095             0.0709103             0.6426455          0.6067179 2.1610546  2.1610546
261   07:29.4      574373 6.35303E+12            5.75391E+13      5468.2       0.0207707     0.0193582             0.0709365             0.6426455          0.5989427 2.1618532  2.1618532
262   12:32.4      574374 6.35303E+12            5.70787E+13     5462.25       0.0207707      0.019736             0.0714308             0.6426455          0.6106318 2.1769189  2.1769189
263   17:35.9      574375 6.35303E+12            5.67247E+13     5457.26       0.0207707     0.0194616             0.0718109             0.6426455          0.6021419 2.1885032  2.1885032
264   22:38.8      574376 6.35303E+12            5.68162E+13     5459.27       0.0207707      0.021469             0.0717217             0.6426455          0.6642509   2.185782   2.185782
265   27:41.6      574376 6.35303E+12            5.68162E+13     5455.91       0.0207707     0.0195687             0.0716775             0.6426455          0.6054556 2.1844367  2.1844367
266   32:44.5      574377 6.35303E+12            5.63276E+13     5456.06       0.0207707     0.0197946             0.0723014             0.6426455          0.6124449 2.2034492  2.2034492
267   37:47.4      574377 6.35303E+12            5.63276E+13     5461.19       0.0207707     0.0219931             0.0723693             0.6426455          0.6804665   2.205521   2.205521
268   42:50.1      574377 6.35303E+12            5.63276E+13      5464.3       0.0207707     0.0213058             0.0724106             0.6426455          0.6592015   2.206777   2.206777
269   47:53.0      574378 6.35303E+12            5.65074E+13     5471.12       0.0207707     0.0213015             0.0722702             0.6426455          0.6590684 2.2024995  2.2024995
270   52:55.9      574378 6.35303E+12            5.65074E+13      5465.8       0.0207707     0.0208578             0.0721999             0.6426455          0.6453403 2.2003578  2.2003578
271   57:58.7      574378 6.35303E+12            5.65074E+13     5467.45       0.0207707     0.0197404             0.0722217             0.6426455           0.610768 2.2010221  2.2010221
272   03:32.3      574384 6.35303E+12            5.65611E+13     5475.82       0.0180828      0.018821             0.0722636             0.5594818          0.5823217 2.2022993  2.2022993
273   08:35.1      574384 6.35303E+12            5.65611E+13     5472.78       0.0180828     0.0187888             0.0722235             0.5594818          0.5813255 2.2010766  2.2010766
274   13:38.2      574384 6.35303E+12            5.65611E+13     5477.51       0.0180828     0.0188459             0.0722859             0.5594818          0.5830921 2.2029789  2.2029789
275   18:41.2      574384 6.35303E+12            5.65611E+13     5475.27       0.0180828     0.0184952             0.0722564             0.5594818          0.5722415   2.202078   2.202078
276   23:44.5      574384 6.35303E+12            5.65611E+13     5485.01       0.0180828     0.0183313             0.0723849             0.5594818          0.5671704 2.2059953  2.2059953
277   28:47.4      574385 6.35303E+12            5.52675E+13     5483.01       0.0180828     0.0180025             0.0740521             0.5594818          0.5569974 2.2568058  2.2568058
278   33:50.3      574386 6.35303E+12              5.5002E+13    5487.35       0.0180828     0.0182859             0.0744685             0.5594818          0.5657657 2.2694951  2.2694951
279   38:53.3      574386 6.35303E+12              5.5002E+13     5489.7       0.0180828     0.0187295             0.0745004             0.5594818          0.5794907   2.270467   2.270467
280   43:56.2      574387 6.35303E+12              5.4816E+13    5485.01       0.0180828     0.0183101             0.0746893             0.5594818          0.5665145 2.2762247  2.2762247
281   48:59.1      574387 6.35303E+12              5.4816E+13    5494.56       0.0180828     0.0184541             0.0748194             0.5594818          0.5709699 2.2801879  2.2801879
282   54:02.0      574387 6.35303E+12              5.4816E+13    5496.86       0.0180828     0.0184113             0.0748507             0.5594818          0.5696456 2.2811424  2.2811424
283   59:04.8      574388  6.35303E+12           5.41076E+13     5492.23       0.0180828     0.0184131             0.0757667             0.5594818          0.5697013  2.3090591 2.3090591




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                                                                                              3                                                        HIGHLY CONFIDENTIAL - ATTORNEYS' EYES ONLY


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       A          B            C                 D                 E            F             G                H                      I                  J                K         L
 1 datetime block_height network_diff est_network_hashrate    BTC_price day_ahead_LMP real_time_LMP breakeven_mining_cost    day_ahead_LMP_rev real_time_LMP_rev mining_rev realized_rev
284   04:07.9      574388 6.35303E+12            5.41076E+13    5492.55       0.0171198      0.0184116             0.0757711            0.5296866          0.5696549 2.3091936   2.3091936
285   09:11.2      574388 6.35303E+12            5.41076E+13    5499.47       0.0171198       0.018402             0.0758666            0.5296866          0.5693579 2.3121029   2.3121029
286   14:14.7      574390 6.35303E+12            5.36713E+13    5497.38       0.0171198      0.0183991             0.0764543            0.5296866          0.5692682 2.3300147   2.3300147
287   19:17.4      574393 6.35303E+12              5.4543E+13   5505.67       0.0171198      0.0188975             0.0753459            0.5296866          0.5846887   2.296235   2.296235
288   24:20.4      574393 6.35303E+12              5.4543E+13   5525.72       0.0171198      0.0194457             0.0756203            0.5296866             0.60165 2.3045972  2.3045972
289   29:23.6      574393 6.35303E+12              5.4543E+13   5532.69       0.0171198      0.0193998             0.0757157            0.5296866          0.6002298 2.3075042   2.3075042
290   34:27.1      574393 6.35303E+12              5.4543E+13   5548.77       0.0171198      0.0195967             0.0759358            0.5296866          0.6063219 2.3142106   2.3142106
291   39:30.2      574394 6.35303E+12            5.38779E+13    5540.68       0.0171198      0.0195476              0.076761            0.5296866          0.6048027 2.3393597   2.3393597
292   44:33.4      574395 6.35303E+12            5.53825E+13    5512.91       0.0171198      0.0198241             0.0743014            0.5296866          0.6133577 2.2644017   2.2644017
293   49:36.3      574395 6.35303E+12            5.53825E+13    5524.53       0.0171198      0.0195437              0.074458            0.5296866          0.6046821 2.2691746   2.2691746
294   54:39.3      574395 6.35303E+12            5.53825E+13      5525.3      0.0171198      0.0195692             0.0744684            0.5296866           0.605471 2.2694909   2.2694909
295   59:42.3      574395 6.35303E+12            5.53825E+13    5518.69       0.0171198      0.0192178             0.0743793            0.5296866          0.5945987 2.2667759   2.2667759
296   04:45.3      574395 6.35303E+12            5.53825E+13      5533.7      0.0177576      0.0191891             0.0745816            0.5494201          0.5937108 2.2729411   2.2729411
297   09:48.1      574395 6.35303E+12            5.53825E+13    5530.29       0.0177576      0.0191378             0.0745356            0.5494201          0.5921235 2.2715405   2.2715405
298   14:51.2      574396 6.35303E+12            5.44713E+13    5534.64       0.0177576      0.0189612             0.0758421            0.5494201          0.5866595 2.3113551   2.3113551
299   19:54.1      574396 6.35303E+12            5.44713E+13     5544.31      0.0177576      0.0189168             0.0759746            0.5494201          0.5852858 2.3153934   2.3153934
300   24:57.0      574396 6.35303E+12            5.44713E+13     5549.76      0.0177576       0.018934             0.0760493            0.5494201           0.585818 2.3176694   2.3176694
301   30:00.1      574397 6.35303E+12            5.38389E+13     5535.92       0.0177576      0.019027             0.0767506            0.5494201          0.5886954 2.3390422   2.3390422
302   35:03.1      574397 6.35303E+12            5.38389E+13     5548.11       0.0177576     0.0186692             0.0769196            0.5494201           0.577625 2.3441927   2.3441927
303   40:06.4      574397 6.35303E+12            5.38389E+13     5576.84       0.0177576     0.0189082             0.0773179            0.5494201          0.5850197 2.3563317   2.3563317
304   45:09.5      574397 6.35303E+12            5.38389E+13     5588.49       0.0177576     0.0188137             0.0774794            0.5494201          0.5820959 2.3612541   2.3612541
305   50:12.8      574397 6.35303E+12            5.38389E+13     5580.14       0.0177576     0.0194016             0.0773636            0.5494201          0.6002855 2.3577261   2.3577261
306   55:16.0      574397 6.35303E+12            5.38389E+13     5584.03       0.0177576     0.0194473             0.0774176            0.5494201          0.6016995 2.3593697   2.3593697
307   00:19.0      574398 6.35303E+12            5.24135E+13     5587.36       0.0179634     0.0194473             0.0795704            0.5557876          0.6016995 2.4249801   2.4249801
308   05:22.0      574399 6.35303E+12            5.22154E+13     5575.01       0.0179634     0.0198978             0.0796957            0.5557876          0.6156379 2.4287994   2.4287994
309   10:25.0      574400 6.35303E+12            5.19602E+13     5558.15       0.0179634     0.0197059              0.079845            0.5557876          0.6097005 2.4333473   2.4333473
310   15:28.5      574400 6.35303E+12            5.19602E+13      5577.5       0.0179634     0.0197937             0.0801229            0.5557876          0.6124171 2.4418187   2.4418187
311   20:31.4      574400 6.35303E+12            5.19602E+13     5579.19       0.0179634      0.019798             0.0801472            0.5557876          0.6125501 2.4425586   2.4425586
312   25:34.2      574401 6.35303E+12            5.14241E+13     5571.72       0.0179634     0.0199501             0.0808744            0.5557876          0.6172561 2.4647197   2.4647197
313   30:37.1      574401 6.35303E+12            5.14241E+13     5570.01       0.0179634     0.0199163             0.0808496            0.5557876          0.6162103 2.4639632   2.4639632
314   35:40.1      574402 6.35303E+12            5.15991E+13      5590.6       0.0179634     0.0206372             0.0808732            0.5557876           0.638515 2.4646821   2.4646821
315   40:43.0      574403 6.35303E+12            5.16659E+13     5618.11       0.0179634     0.0201332             0.0811661            0.5557876          0.6229212 2.4736097   2.4736097
316   45:45.9      574404 6.35303E+12            5.22163E+13     5610.56       0.0179634     0.0220943             0.0802027            0.5557876          0.6835976   2.444248   2.444248
317   50:48.6      574406 6.35303E+12            5.44332E+13     5659.03       0.0179634     0.0201857             0.0776008            0.5557876          0.6245456 2.3649536   2.3649536
318   55:51.5      574406 6.35303E+12            5.44332E+13     5657.45       0.0179634     0.0201063             0.0775791            0.5557876          0.6220889 2.3642933   2.3642933
319   00:54.3      574407 6.35303E+12            5.44179E+13     5681.44       0.0187756     0.0190108             0.0779301            0.5809171          0.5881942 2.3749899   2.3749899
320   05:57.2      574408 6.35303E+12            5.43366E+13     5664.77       0.0187756     0.0196478             0.0778177            0.5809171          0.6079029 2.3715634   2.3715634
321   11:00.1      574409 6.35303E+12            5.45039E+13     5675.15       0.0187756      0.019932             0.0777209            0.5809171          0.6166961   2.368615   2.368615
322   16:03.5      574409 6.35303E+12            5.45039E+13      5712.4       0.0187756     0.0201859             0.0782311            0.5809171          0.6245517 2.3841619   2.3841619
323   21:07.1      574409 6.35303E+12            5.45039E+13     5686.74       0.0187756     0.0225242             0.0778796            0.5809171          0.6968987 2.3734522   2.3734522
324   26:10.3      574410 6.35303E+12              5.4739E+13    5682.68       0.0187756     0.0206965             0.0774898            0.5809171          0.6403497 2.3615721   2.3615721
325   31:13.5      574410 6.35303E+12              5.4739E+13    5696.73       0.0187756     0.0215966             0.0776814            0.5809171          0.6681988 2.3674109   2.3674109
326   36:16.9      574410 6.35303E+12              5.4739E+13    5721.55       0.0187756     0.0216764             0.0780199            0.5809171          0.6706678 2.3777254   2.3777254
327   41:19.9      574410 6.35303E+12              5.4739E+13    5723.36       0.0187756     0.0214227             0.0780445            0.5809171          0.6628183 2.3784776   2.3784776
328   46:23.0      574410 6.35303E+12              5.4739E+13    5753.44       0.0187756     0.0229512             0.0784547            0.5809171          0.7101101 2.3909781   2.3909781
329   51:26.1      574410 6.35303E+12              5.4739E+13    5751.61       0.0187756     0.0234893             0.0784298            0.5809171          0.7267589 2.3902176   2.3902176
330   56:29.0      574412 6.35303E+12            5.33495E+13     5783.15       0.0187756     0.0444265             0.0809138            0.5809171          1.3745559   2.465921   2.465921
331   01:31.9      574412 6.35303E+12            5.33495E+13     5778.34       0.0236295     0.0250626             0.0808465            0.7310967          0.7754368     2.46387    2.46387
332   06:34.9      574412 6.35303E+12            5.33495E+13     5717.03       0.0236295     0.0224619             0.0799887            0.7310967          0.6949712 2.4377276   2.4377276
333   11:38.0      574412 6.35303E+12            5.33495E+13     5720.45       0.0236295     0.0232839             0.0800365            0.7310967          0.7204039 2.4391858   2.4391858
334   16:40.9      574413 6.35303E+12            5.25253E+13     5714.68       0.0236295     0.0234838             0.0812103            0.7310967          0.7265888 2.4749582   2.4749582
335   21:43.7      574413 6.35303E+12            5.25253E+13     5731.49       0.0236295     0.0221746             0.0814492            0.7310967          0.6860821 2.4822384   2.4822384
336   26:46.8      574413 6.35303E+12            5.25253E+13     5723.09       0.0236295     0.0254915             0.0813299            0.7310967           0.788707 2.4786004   2.4786004
337   31:50.0      574414 6.35303E+12            5.19701E+13     5734.99       0.0236295     0.0253002             0.0823697            0.7310967          0.7827882 2.5102894   2.5102894
338   36:53.0      574414 6.35303E+12            5.19701E+13     5744.23       0.0236295     0.0255777             0.0825024            0.7310967           0.791374 2.5143339   2.5143339
339   41:56.0      574416 6.35303E+12            5.19215E+13     5727.36       0.0236295     0.0254854             0.0823371            0.7310967          0.7885183 2.5092973   2.5092973
340   46:59.2      574418 6.35303E+12            5.19586E+13     5734.35       0.0236295     0.0224637             0.0823788            0.7310967          0.6950269   2.510567   2.510567
341   52:02.0      574420 6.35303E+12            5.25895E+13     5710.56       0.0236295      0.036317             0.0810529            0.7310967           1.123648 2.4701587   2.4701587
342   57:05.3      574421 6.35303E+12            5.25734E+13     5677.64       0.0236295      0.023519             0.0806102            0.7310967          0.7276779 2.4566683   2.4566683
343   02:08.1      574422 6.35303E+12              5.2543E+13    5686.55       0.0268916     0.0219254             0.0807834            0.8320261          0.6783719 2.4619458   2.4619458
344   07:11.0      574423 6.35303E+12            5.29406E+13     5686.98       0.0268916     0.0218438             0.0801828            0.8320261          0.6758472 2.4436417   2.4436417
345   12:13.8      574424 6.35303E+12            5.28202E+13     5690.22       0.0268916     0.0219166             0.0804113            0.8320261          0.6780996 2.4506078   2.4506078
346   17:16.6      574424 6.35303E+12            5.28202E+13     5676.93       0.0268916         0.0283            0.0802235            0.8320261           0.875602 2.4448842   2.4448842
347   22:19.5      574426 6.35303E+12            5.30049E+13     5683.45       0.0268916     0.0487112             0.0800358            0.8320261          1.5071245 2.4391635   2.4391635
348   27:23.6      574426 6.35303E+12            5.30049E+13     5679.11       0.0268916     0.2372194             0.0799747            0.8320261          7.3395682 2.4373009   7.3395682
349   32:27.6      574427 6.35303E+12            5.28466E+13      5693.6       0.0268916     0.2295848             0.0804189            0.8320261          7.1033537 2.4508373   7.1033537
350   37:30.4      574427 6.35303E+12            5.28466E+13     5702.84       0.0268916     0.0489678             0.0805494            0.8320261          1.5150637 2.4548147   2.4548147
351   42:33.4      574428 6.35303E+12              5.2354E+13    5719.96       0.0268916     0.0279098             0.0815514            0.8320261          0.8635292 2.4853515   2.4853515
352   47:36.4      574428 6.35303E+12              5.2354E+13    5723.27       0.0268916     0.0281961             0.0815986            0.8320261          0.8723873 2.4867897   2.4867897
353   52:39.2      574428 6.35303E+12              5.2354E+13    5713.35       0.0268916     0.0284418             0.0814571            0.8320261          0.8799893 2.4824794   2.4824794
354   57:41.9      574429 6.35303E+12            5.15634E+13     5701.89       0.0268916     0.0240122             0.0825403            0.8320261          0.7429375 2.5154886   2.5154886
355   02:44.8      574429 6.35303E+12            5.15634E+13     5699.76       0.0275399     0.0225376             0.0825094            0.8520845          0.6973133 2.5145489   2.5145489
356   07:47.7      574429 6.35303E+12            5.15634E+13     5710.93       0.0275399     0.0233152             0.0826711            0.8520845          0.7213723 2.5194768   2.5194768
357   12:50.6      574430 6.35303E+12            5.12815E+13     5715.01       0.0275399     0.0234875             0.0831849            0.8520845          0.7267033 2.5351334   2.5351334
358   17:53.7      574430 6.35303E+12            5.12815E+13     5705.63       0.0275399     0.0238366             0.0830483            0.8520845          0.7375044 2.5309725   2.5309725
359   22:56.5      574430 6.35303E+12            5.12815E+13     5712.82       0.0275399     0.0238261              0.083153            0.8520845          0.7371795 2.5341619   2.5341619
360   27:59.5      574430 6.35303E+12            5.12815E+13     5735.12       0.0275399     0.0239167             0.0834776            0.8520845          0.7399827   2.544054   2.544054
361   33:02.8      574430 6.35303E+12            5.12815E+13     5742.14       0.0275399      0.024794             0.0835797            0.8520845          0.7671264   2.547168   2.547168
362   38:06.1      574430 6.35303E+12            5.12815E+13      5731.9       0.0275399     0.0244682             0.0834307            0.8520845          0.7570461 2.5426257   2.5426257
363   43:09.2      574430 6.35303E+12            5.12815E+13     5731.35       0.0275399     0.0248106             0.0834227            0.8520845             0.76764 2.5423817  2.5423817
364   48:12.0      574430 6.35303E+12            5.12815E+13     5726.26       0.0275399      0.047908             0.0833486            0.8520845          1.4822735 2.5401238   2.5401238
365   53:15.1      574432 6.35303E+12            4.99455E+13     5722.76       0.0275399     0.0287109             0.0855259            0.8520845          0.8883152 2.6064774   2.6064774
366   58:18.0      574432 6.35303E+12            4.99455E+13     5706.12       0.0275399     0.0476729             0.0852772            0.8520845          1.4749995 2.5988986   2.5988986
367   03:21.0      574433 6.35303E+12            4.98413E+13     5718.48        0.027516     0.0268482             0.0856405             0.851345          0.8306833 2.6099708   2.6099708
368   08:24.1      574435 6.35303E+12            4.97656E+13     5722.49        0.027516     0.0239382              0.085831             0.851345          0.7406479 2.6157766   2.6157766
369   13:27.6      574435 6.35303E+12            4.97656E+13     5731.99        0.027516      0.024889             0.0859735             0.851345          0.7700657 2.6201191   2.6201191
370   18:31.2      574437 6.35303E+12            4.98823E+13     5729.41        0.027516     0.0274338             0.0857336             0.851345          0.8488018     2.61281    2.61281
371   23:34.4      574438 6.35303E+12              4.9928E+13    5727.98        0.027516     0.0263334             0.0856339             0.851345          0.8147554 2.6097702   2.6097702
372   28:37.4      574438 6.35303E+12              4.9928E+13    5745.01        0.027516     0.0483259             0.0858885             0.851345          1.4952033 2.6175294   2.6175294
373   33:41.0      574441 6.35303E+12            5.04581E+13      5733.7        0.027516      0.027147             0.0848189             0.851345          0.8399282 2.5849309   2.5849309
374   38:43.9      574441 6.35303E+12            5.04581E+13     5748.11        0.027516     0.0269173              0.085032             0.851345          0.8328213 2.5914274   2.5914274
375   43:47.1      574442 6.35303E+12            5.28842E+13     5748.64        0.027516      0.048425             0.0811386             0.851345          1.4982695 2.4727723   2.4727723
376   48:50.4      574442 6.35303E+12            5.28842E+13     5745.02        0.027516     0.0346966             0.0810875             0.851345          1.0735128 2.4712151   2.4712151
377   53:53.5      574442  6.35303E+12           5.28842E+13     5746.74        0.027516      0.026743             0.0811118             0.851345          0.8274284   2.471955   2.471955




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       A          B            C                 D               E            F              G                H                      I                  J              K          L
 1 datetime block_height network_diff est_network_hashrate   BTC_price day_ahead_LMP real_time_LMP breakeven_mining_cost    day_ahead_LMP_rev real_time_LMP_rev mining_rev realized_rev
378   58:56.5      574443 6.35303E+12            5.28228E+13   5739.99         0.027516     0.0256215             0.0811107             0.851345          0.7927292 2.4719226  2.4719226
379   03:59.3      574443 6.35303E+12            5.28228E+13   5735.16       0.0300224      0.0258636             0.0810425            0.9288931          0.8002198 2.4698426  2.4698426
380   09:02.7      574443 6.35303E+12            5.28228E+13   5751.51       0.0300224      0.0247336             0.0812735            0.9288931          0.7652576 2.4768837  2.4768837
381   14:05.7      574443 6.35303E+12            5.28228E+13   5760.39       0.0300224      0.0249539              0.081399            0.9288931          0.7720737 2.4807079  2.4807079
382   19:09.0      574443 6.35303E+12            5.28228E+13    5759.7       0.0300224      0.0252528             0.0813893            0.9288931          0.7813216 2.4804107  2.4804107
383   24:12.2      574444 6.35303E+12            5.21447E+13   5765.94       0.0300224      0.0251079             0.0825368            0.9288931          0.7768384 2.5153845  2.5153845
384   29:15.1      574445 6.35303E+12            5.19166E+13   5760.01       0.0300224       0.028066             0.0828144            0.9288931           0.868362 2.5238421  2.5238421
385   34:18.0      574446 6.35303E+12            5.17083E+13   5752.55       0.0300224      0.0345945             0.0830402            0.9288931          1.0703538 2.5307244  2.5307244
386   39:20.9      574446 6.35303E+12            5.17083E+13   5767.39       0.0300224      0.0278833             0.0832544            0.9288931          0.8627093  2.537253   2.537253
387   44:23.9      574446 6.35303E+12            5.17083E+13   5759.99       0.0300224      0.0266611             0.0831476            0.9288931          0.8248944 2.5339975  2.5339975
388   49:26.8      574448 6.35303E+12            5.19511E+13   5756.94       0.0300224      0.0267976             0.0827151            0.9288931          0.8291177 2.5208172  2.5208172
389   54:30.1      574448 6.35303E+12            5.19511E+13    5735.1       0.0300224      0.0267019             0.0824013            0.9288931          0.8261568  2.511254   2.511254
390   59:33.0      574448 6.35303E+12            5.19511E+13   5719.45       0.0300224      0.0300539             0.0821764            0.9288931          0.9298677 2.5044012  2.5044012
391   04:36.4      574448 6.35303E+12            5.19511E+13    5702.8       0.0292181      0.0270051             0.0819372             0.904008          0.8355378 2.4971106  2.4971106
392   09:39.4      574449 6.35303E+12            5.17328E+13   5699.65       0.0292181      0.0251577             0.0822376             0.904008          0.7783792 2.5062642  2.5062642
393   14:42.6      574450 6.35303E+12            5.16724E+13   5715.01       0.0292181      0.0257413             0.0825556             0.904008          0.7964358 2.5159564  2.5159564
394   19:45.6      574450 6.35303E+12            5.16724E+13    5715.9       0.0292181      0.0260754             0.0825685             0.904008          0.8067729 2.5163482  2.5163482
395   24:48.6      574450 6.35303E+12            5.16724E+13   5710.01       0.0292181      0.0257615             0.0824834             0.904008          0.7970608 2.5137552  2.5137552
396   29:51.6      574450 6.35303E+12            5.16724E+13   5720.01       0.0292181      0.0258404             0.0826278             0.904008           0.799502 2.5181576  2.5181576
397   34:54.4      574450 6.35303E+12            5.16724E+13   5725.31       0.0292181      0.0255507             0.0827044             0.904008          0.7905387 2.5204908  2.5204908
398   39:57.2      574452 6.35303E+12            5.09821E+13   5720.01       0.0292181      0.0261083             0.0837466             0.904008          0.8077908 2.5522533  2.5522533
399   45:00.3      574454 6.35303E+12            5.11925E+13   5714.05       0.0292181       0.026223             0.0833155             0.904008          0.8113396 2.5391139  2.5391139
400   50:03.4      574454 6.35303E+12            5.11925E+13   5704.48       0.0292181       0.025018             0.0831759             0.904008          0.7740569 2.5348614  2.5348614
401   55:06.5      574454 6.35303E+12            5.11925E+13   5709.99       0.0292181      0.0242779             0.0832563             0.904008          0.7511582 2.5373098  2.5373098
402   00:09.5      574454 6.35303E+12            5.11925E+13   5711.52       0.0316117      0.0239833             0.0832786             0.978066          0.7420433 2.5379897  2.5379897
403   05:12.8      574454 6.35303E+12            5.11925E+13   5715.02       0.0316117      0.0251484             0.0833296             0.978066          0.7780915  2.539545   2.539545
404   10:15.8      574454 6.35303E+12            5.11925E+13   5705.02       0.0316117       0.024145             0.0831838             0.978066          0.7470463 2.5351013  2.5351013




                                                                                                                                                                                  BB10000920
                                                                                            5                                                       HIGHLY CONFIDENTIAL - ATTORNEYS' EYES ONLY


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                                                                                    Bearbox v Lancium
                                                                                     Trial Exhibit
                                                                                     TX920-10


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                                             Appx13441
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       A          B            C                 D                E            F              G                H                       I                  J               K         L
 1 datetime block_height network_diff est_network_hashrate    BTC_price day_ahead_LMP real_time_LMP breakeven_mining_cost     day_ahead_LMP_rev real_time_LMP_rev mining_rev realized_rev
 2    22:13.7      574204 6.35303E+12            5.38327E+13    5320.02       0.0059375      0.0061512             0.0737658             0.1837063          0.1903181 2.2480786  2.2480786
 3    27:16.8      574204 6.35303E+12            5.38327E+13    5320.01       0.0059375      0.0062341             0.0737656             0.1837063          0.1928831 2.2480744  2.2480744
 4    32:19.8      574204 6.35303E+12            5.38327E+13    5321.94       0.0059375      0.0048202             0.0737924             0.1837063           0.149137    2.24889    2.24889
 5    37:22.9      574205 6.35303E+12            5.30839E+13    5321.95       0.0059375      0.0036136             0.0748335             0.1837063          0.1118048 2.2806172  2.2806172
 6    42:25.9      574205 6.35303E+12            5.30839E+13    5325.19       0.0059375      0.0022848              0.074879             0.1837063          0.0706917 2.2820056  2.2820056
 7    47:28.9      574206 6.35303E+12            5.44532E+13    5328.27       0.0059375      0.0052204             0.0730384             0.1837063          0.1615192  2.225912   2.225912
 8    52:31.9      574206 6.35303E+12            5.44532E+13    5328.65       0.0059375      0.0074321             0.0730436             0.1837063          0.2299492 2.2260707  2.2260707
 9    57:34.9      574207 6.35303E+12            5.39845E+13    5327.68       0.0059375      0.0009997             0.0736643             0.1837063          0.0309307 2.2449863  2.2449863
10    02:37.8      574207 6.35303E+12            5.39845E+13    5327.22       0.0009735      0.0025864              0.073658             0.0301201          0.0800232 2.2447925  2.2447925
11    07:40.8      574208 6.35303E+12            5.34662E+13    5325.01       0.0009735     -0.0034704             0.0743412             0.0301201        -0.1073742 2.2656139   2.2656139
12    12:43.8      574208 6.35303E+12            5.34662E+13    5325.01       0.0009735     -0.0085232             0.0743412             0.0301201        -0.2637078 2.2656139   2.2656139
13    17:46.9      574209 6.35303E+12            5.33477E+13    5321.01       0.0009735      0.0007819             0.0744503             0.0301201           0.024192 2.2689395  2.2689395
14    22:49.7      574209 6.35303E+12            5.33477E+13    5327.95       0.0009735      0.0010434             0.0745474             0.0301201          0.0322828 2.2718988  2.2718988
15    27:53.3      574211 6.35303E+12            5.42133E+13    5325.19       0.0009735     -0.0190352             0.0733191             0.0301201        -0.5889491 2.2344662   2.2344662
16    32:56.5      574212 6.35303E+12            5.54528E+13    5323.43       0.0009735     -0.0316021             0.0716566             0.0301201          -0.977769     2.1838     2.1838
17    37:59.5      574214 6.35303E+12               5.533E+13   5323.35       0.0009735     -0.0308754             0.0718145             0.0301201        -0.9552849 2.1886119   2.1886119
18    43:03.0      574215 6.35303E+12            5.58834E+13     5323.1       0.0009735     -0.0299834             0.0711001             0.0301201        -0.9276864 2.1668382   2.1668382
19    48:06.0      574215 6.35303E+12            5.58834E+13    5326.55       0.0009735      -0.026648             0.0711461             0.0301201        -0.8244891 2.1682425   2.1682425
20    53:09.5      574215 6.35303E+12            5.58834E+13     5328.3       0.0009735      -0.030956             0.0711695             0.0301201        -0.9577786 2.1689549   2.1689549
21    58:12.8      574216 6.35303E+12            5.54406E+13    5326.69       0.0009735      -0.031885             0.0717163             0.0301201        -0.9865219 2.1856184   2.1856184
22    03:15.8      574216 6.35303E+12            5.54406E+13    5330.35       0.0003732     -0.0310131             0.0717656             0.0115468        -0.9595453 2.1871201   2.1871201
23    08:18.9      574218 6.35303E+12            5.58377E+13    5330.78       0.0003732     -0.0030349              0.071261             0.0115468        -0.0938998 2.1717421   2.1717421
24    13:22.6      574220 6.35303E+12            5.59914E+13    5329.45       0.0003732     -0.0190837             0.0710476             0.0115468        -0.5904497 2.1652392   2.1652392
25    18:25.7      574220 6.35303E+12            5.59914E+13    5348.41       0.0003732     -0.0174614             0.0713003             0.0115468        -0.5402557 2.1729422   2.1729422
26    23:28.8      574223 6.35303E+12            5.60912E+13    5338.35       0.0003732     -0.0275277             0.0710397             0.0115468          -0.851707  2.164998   2.164998
27    28:31.6      574226 6.35303E+12            5.60441E+13    5328.39       0.0003732     -0.0300569             0.0709666             0.0115468        -0.9299605 2.1627725   2.1627725
28    33:34.4      574226 6.35303E+12            5.60441E+13     5333.1       0.0003732     -0.0260876             0.0710294             0.0115468        -0.8071503 2.1646843   2.1646843
29    38:37.6      574227 6.35303E+12            5.56725E+13    5332.07       0.0003732     -0.0192161             0.0714897             0.0115468        -0.5945461 2.1787132   2.1787132
30    43:40.6      574227 6.35303E+12            5.56725E+13    5339.02       0.0003732     -0.0197771             0.0715829             0.0115468        -0.6119035   2.181553   2.181553
31    48:43.8      574228 6.35303E+12            5.52451E+13    5343.15       0.0003732     -0.0194532             0.0721925             0.0115468          -0.601882 2.2001303  2.2001303
32    53:47.1      574229 6.35303E+12              5.5892E+13   5338.61       0.0003732     -0.0291334             0.0712963             0.0115468        -0.9013874 2.1728179   2.1728179
33    58:50.2      574229 6.35303E+12              5.5892E+13   5336.51       0.0003732     -0.0235618             0.0712682             0.0115468        -0.7290021 2.1719632   2.1719632
34    03:53.5      574229 6.35303E+12              5.5892E+13   5340.15       0.0002799     -0.0187222             0.0713168             0.0086601        -0.5792649 2.1734447   2.1734447
35    08:56.9      574229 6.35303E+12              5.5892E+13   5341.69       0.0002799     -0.0308233             0.0713374             0.0086601        -0.9536729 2.1740715   2.1740715
36    14:00.0      574230 6.35303E+12            5.53347E+13     5346.1       0.0002799     -0.0302971             0.0721153             0.0086601        -0.9373923 2.1977795   2.1977795
37    19:03.3      574230 6.35303E+12            5.53347E+13    5347.19       0.0002799     -0.0301938                0.07213            0.0086601        -0.9341962 2.1982276   2.1982276
38    24:06.5      574231 6.35303E+12            5.49411E+13    5341.77       0.0002799     -0.0280347             0.0725732             0.0086601        -0.8673936 2.2117345   2.2117345
39    29:09.8      574231 6.35303E+12            5.49411E+13    5342.48       0.0002799     -0.0281744             0.0725829             0.0086601        -0.8717159 2.2120284   2.2120284
40    34:12.9      574232 6.35303E+12            5.47061E+13    5349.99       0.0002799     -0.0268456             0.0729971             0.0086601        -0.8306029 2.2246529   2.2246529
41    39:15.9      574232 6.35303E+12            5.47061E+13    5346.06       0.0002799     -0.0273812             0.0729435             0.0086601        -0.8471743 2.2230187   2.2230187
42    44:19.1      574232 6.35303E+12            5.47061E+13    5350.69       0.0002799     -0.0274119             0.0730067             0.0086601        -0.8481242   2.224944   2.224944
43    49:22.3      574232 6.35303E+12            5.47061E+13    5361.36       0.0002799     -0.0288527             0.0731523             0.0086601        -0.8927025 2.2293808   2.2293808
44    54:25.5      574232 6.35303E+12            5.47061E+13    5358.36       0.0002799     -0.0281218             0.0731113             0.0086601        -0.8700885 2.2281334   2.2281334
45    59:28.2      574232 6.35303E+12            5.47061E+13    5366.19       0.0002799     -0.0262745             0.0732182             0.0086601          -0.812933 2.2313893  2.2313893
46    04:31.6      574233 6.35303E+12            5.35475E+13     5377.4       0.0028119      -0.026271             0.0749586             0.0870002        -0.8128247 2.2844298   2.2844298
47    09:34.5      574233 6.35303E+12            5.35475E+13    5358.81       0.0028119     -0.0028349             0.0746994             0.0870002        -0.0877118 2.2765324   2.2765324
48    14:37.5      574233 6.35303E+12            5.35475E+13    5359.15       0.0028119     -0.0008362             0.0747042             0.0870002          -0.025872 2.2766768  2.2766768
49    19:40.5      574233 6.35303E+12            5.35475E+13    5359.66       0.0028119      -0.018256             0.0747113             0.0870002        -0.5648406 2.2768935   2.2768935
50    24:43.4      574234 6.35303E+12            5.31615E+13    5358.18       0.0028119     -0.0019335              0.075233             0.0870002        -0.0598225 2.2927926   2.2927926
51    29:46.4      574234 6.35303E+12            5.31615E+13    5351.99       0.0028119     -0.0146595             0.0751461             0.0870002        -0.4535649 2.2901439   2.2901439
52    34:49.2      574234 6.35303E+12            5.31615E+13    5344.84       0.0028119     -0.0033057             0.0750457             0.0870002        -0.1022784 2.2870844   2.2870844
53    39:52.4      574236 6.35303E+12            5.29706E+13    5349.94       0.0028119     -0.0160658              0.075388             0.0870002        -0.4970759 2.2975179   2.2975179
54    44:55.4      574237 6.35303E+12            5.26741E+13    5348.56       0.0028119     -0.0313865             0.0757929             0.0870002        -0.9710983 2.3098563   2.3098563
55    49:58.5      574238 6.35303E+12              5.2719E+13   5353.94       0.0028119     -0.0300483             0.0758044             0.0870002        -0.9296944 2.3102083   2.3102083
56    55:01.6      574238 6.35303E+12              5.2719E+13   5351.76       0.0028119     -0.0054625             0.0757736             0.0870002        -0.1690098 2.3092677   2.3092677
57    00:04.5      574239 6.35303E+12            5.28168E+13    5350.18       0.0122894     -0.0015936             0.0756109              0.380234          -0.049306 2.3043114  2.3043114
58    10:10.2      574240 6.35303E+12            5.25658E+13    5348.27       0.0122894     -0.0303162             0.0759448              0.380234        -0.9379832   2.314487   2.314487
59    15:13.1      574243 6.35303E+12            5.35108E+13    5354.34       0.0122894        4.40E-06            0.0746884              0.380234          0.0001361 2.2761958  2.2761958
60    20:15.8      574245 6.35303E+12            5.38531E+13    5358.41       0.0122894      0.0009337                0.07427             0.380234          0.0288887 2.2634449  2.2634449
61    25:18.5      574245 6.35303E+12            5.38531E+13    5356.02       0.0122894     -0.0033181             0.0742369              0.380234          -0.102662 2.2624353  2.2624353
62    30:21.5      574246 6.35303E+12            5.41667E+13    5359.34       0.0122894     -0.0013696             0.0738528              0.380234        -0.0423754 2.2507317   2.2507317
63    35:24.4      574246 6.35303E+12            5.41667E+13    5361.98       0.0122894      0.0048181             0.0738892              0.380234           0.149072 2.2518404  2.2518404
64    40:27.4      574246 6.35303E+12            5.41667E+13     5366.6       0.0122894     -0.0154488             0.0739529              0.380234        -0.4779859 2.2537807   2.2537807
65    45:30.2      574248 6.35303E+12            5.41479E+13    5365.93       0.0122894      -0.001393             0.0739693              0.380234        -0.0430994 2.2542821   2.2542821
66    50:33.1      574251 6.35303E+12            5.52479E+13    5359.19       0.0122894      0.0017926             0.0724055              0.380234           0.055463 2.2066234  2.2066234
67    55:36.2      574251 6.35303E+12            5.52479E+13     5356.1       0.0122894      0.0017688             0.0723638              0.380234          0.0547267 2.2053511  2.2053511
68    00:39.1      574252 6.35303E+12            5.50584E+13    5358.27       0.0171137       0.005096             0.0726423             0.5294979          0.1576702 2.2138386  2.2138386
69    05:43.7      574252 6.35303E+12            5.50584E+13    5360.85       0.0171137      0.1588863             0.0726772             0.5294979          4.9159421 2.2149045  4.9159421
70    10:47.0      574253 6.35303E+12            5.55506E+13    5361.66       0.0171137      0.0136055             0.0720441             0.5294979          0.4209542 2.1956089  2.1956089
71    15:49.8      574255 6.35303E+12              5.5978E+13   5358.19       0.0171137      0.0099201             0.0714478             0.5294979          0.3069279 2.1774367  2.1774367
72    20:52.5      574256 6.35303E+12            5.57331E+13    5364.52       0.0171137      0.0105695             0.0718465             0.5294979          0.3270203 2.1895872  2.1895872
73    25:55.7      574257 6.35303E+12            5.59531E+13    5368.93       0.0171137      0.0083334             0.0716229             0.5294979          0.2578354  2.182771   2.182771
74    30:58.7      574257 6.35303E+12            5.59531E+13    5369.93       0.0171137      0.0068334             0.0716362             0.5294979          0.2114254 2.1831776  2.1831776
75    36:01.5      574257 6.35303E+12            5.59531E+13    5368.01       0.0171137      0.0067429             0.0716106             0.5294979          0.2086253  2.182397   2.182397
76    41:04.6      574258 6.35303E+12            5.61961E+13    5363.48       0.0171137      0.0078346             0.0712408             0.5294979          0.2424025 2.1711281  2.1711281
77    46:07.7      574258 6.35303E+12            5.61961E+13    5363.48       0.0171137      0.0075805             0.0712408             0.5294979          0.2345407 2.1711281  2.1711281
78    51:10.6      574258 6.35303E+12            5.61961E+13    5363.48       0.0171137      0.0078186             0.0712408             0.5294979          0.2419075 2.1711281  2.1711281
79    01:19.4      574258 6.35303E+12            5.61961E+13    5365.45       0.0174714       0.009863              0.071267             0.5405651          0.3051612 2.1719255  2.1719255
80    06:22.3      574258 6.35303E+12            5.61961E+13    5361.34       0.0174714      0.0138977             0.0712124             0.5405651          0.4299948 2.1702618  2.1702618
81    16:28.1      574260 6.35303E+12            5.46276E+13    5368.73       0.0174714      0.0088417             0.0733581             0.5405651          0.2735622 2.2356531  2.2356531
82    26:33.4      574260 6.35303E+12            5.46276E+13    5367.86       0.0174714      0.0074735             0.0733462             0.5405651          0.2312301 2.2352908  2.2352908
83    31:36.3      574260 6.35303E+12            5.46276E+13    5369.51       0.0174714      0.0083523             0.0733687             0.5405651          0.2584202 2.2359779  2.2359779
84    36:39.4      574261 6.35303E+12            5.36607E+13    5367.41       0.0174714      0.0077585             0.0746615             0.5405651           0.240048 2.2753756  2.2753756
85    41:42.3      574261 6.35303E+12            5.36607E+13    5361.03       0.0174714      0.0087074             0.0745727             0.5405651           0.269407 2.2726709  2.2726709
86    46:45.2      574261 6.35303E+12            5.36607E+13    5363.23       0.0174714      0.0086441             0.0746033             0.5405651          0.2674485 2.2736036  2.2736036
87    51:48.5      574261 6.35303E+12            5.36607E+13    5367.99       0.0174714      0.0107546             0.0746695             0.5405651          0.3327473 2.2756214  2.2756214
88    56:51.5      574261 6.35303E+12            5.36607E+13    5378.51       0.0174714      0.0087535             0.0748159             0.5405651          0.2708333 2.2800811  2.2800811
89    01:54.8      574266 6.35303E+12            5.51716E+13    5368.99       0.0191744      0.0082983             0.0726383             0.5932559          0.2567494 2.2137171  2.2137171
90    06:57.7      574268 6.35303E+12            5.60115E+13    5366.55       0.0191744      0.0079925             0.0715165             0.5932559           0.247288 2.1795291  2.1795291
91    12:00.6      574269 6.35303E+12            5.58958E+13    5356.64       0.0191744      0.0087789             0.0715322             0.5932559          0.2716192 2.1800073  2.1800073
92    17:03.4      574270 6.35303E+12              5.6144E+13   5352.04       0.0191744      0.0082206             0.0711547             0.5932559          0.2543454  2.168505   2.168505
93    22:06.5      574271 6.35303E+12              5.6095E+13   5352.41       0.0191744      0.0080153             0.0712219             0.5932559          0.2479934 2.1705513  2.1705513
94    27:09.5      574271 6.35303E+12              5.6095E+13   5350.73       0.0191744      0.0078927             0.0711995             0.5932559          0.2442001 2.1698701  2.1698701
95    32:12.4      574271 6.35303E+12              5.6095E+13   5352.02       0.0191744      0.0080581             0.0712167             0.5932559          0.2493176 2.1703932  2.1703932




                                                                                                                                                                                    BB10000922
                                                                                              1                                                       HIGHLY CONFIDENTIAL - ATTORNEYS' EYES ONLY


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        A          B            C                 D                 E            F             G                H                      I                  J                K         L
  1 datetime block_height network_diff est_network_hashrate    BTC_price day_ahead_LMP real_time_LMP breakeven_mining_cost    day_ahead_LMP_rev real_time_LMP_rev mining_rev realized_rev
 96    37:15.7      574273 6.35303E+12            5.53104E+13      5353.7      0.0191744      0.0084743             0.0722496            0.5932559          0.2621948 2.2018709   2.2018709
 97    42:19.1      574273 6.35303E+12            5.53104E+13      5354.2      0.0191744      0.0105116             0.0722563            0.5932559          0.3252289 2.2020766   2.2020766
 98    47:22.1      574274 6.35303E+12            5.53441E+13    5354.14       0.0191744      0.0118583             0.0722116            0.5932559          0.3668958 2.2007128   2.2007128
 99    52:25.1      574274 6.35303E+12            5.53441E+13    5355.15       0.0191744      0.0169972             0.0722252            0.5932559          0.5258934 2.2011279   2.2011279
100    57:28.6      574274 6.35303E+12            5.53441E+13    5366.51       0.0191744      0.0145957             0.0723784            0.5932559           0.451591 2.2057972   2.2057972
101    02:31.9      574274 6.35303E+12            5.53441E+13    5367.34       0.0216519       0.009775             0.0723896            0.6699098          0.3024385 2.2061384   2.2061384
102    07:34.9      574274 6.35303E+12            5.53441E+13    5369.11       0.0216519      0.0089501             0.0724135            0.6699098          0.2769161 2.2068659   2.2068659
103    12:38.4      574274 6.35303E+12            5.53441E+13    5361.12       0.0216519      0.0155345             0.0723057            0.6699098          0.4806374 2.2035818   2.2035818
104    17:41.3      574274 6.35303E+12            5.53441E+13    5366.11       0.0216519      0.0159714              0.072373            0.6699098          0.4941551 2.2056328   2.2056328
105    22:44.6      574275 6.35303E+12            5.36343E+13    5369.98       0.0216519       0.015976             0.0747339            0.6699098          0.4942974 2.2775843   2.2775843
106    27:47.5      574275 6.35303E+12            5.36343E+13    5368.01       0.0216519      0.0157924             0.0747065            0.6699098          0.4886169 2.2767487   2.2767487
107    32:50.5      574277 6.35303E+12            5.50501E+13    5373.94       0.0216519      0.0199778             0.0728657            0.6699098          0.6181131 2.2206488   2.2206488
108    37:53.4      574279 6.35303E+12            5.54528E+13     5377.71      0.0216519       0.019191             0.0723873            0.6699098          0.5937695 2.2060669   2.2060669
109    42:56.1      574281 6.35303E+12            5.67946E+13     5384.52       0.0216519     0.0172445             0.0707666            0.6699098          0.5335448 2.1566766   2.1566766
110    47:59.0      574281 6.35303E+12            5.67946E+13     5380.73       0.0216519     0.0171053             0.0707168            0.6699098           0.529238 2.1551586   2.1551586
111    53:02.0      574282 6.35303E+12              5.6096E+13    5375.54       0.0216519     0.0134277             0.0715284            0.6699098           0.415453 2.1798939   2.1798939
112    58:05.2      574282 6.35303E+12              5.6096E+13    5378.27       0.0216519          0.018            0.0715648            0.6699098             0.55692 2.1810009  2.1810009
113    03:08.4      574283 6.35303E+12            5.56063E+13      5389.1       0.0235997     0.0178977             0.0723403            0.7301747          0.5537548 2.2046367   2.2046367
114    08:11.8      574283 6.35303E+12            5.56063E+13      5401.6       0.0235997     0.0199519             0.0725081            0.7301747          0.6173118 2.2097504   2.2097504
115    13:14.8      574283 6.35303E+12            5.56063E+13     5411.61       0.0235997     0.0198174             0.0726425            0.7301747          0.6131504 2.2138454   2.2138454
116    18:18.7      574284 6.35303E+12            5.64188E+13     5399.02       0.0235997     0.0211285             0.0714298            0.7301747          0.6537158 2.1768876   2.1768876
117    23:21.6      574284 6.35303E+12            5.64188E+13      5401.6       0.0235997     0.0206955             0.0714639            0.7301747          0.6403188 2.1779279   2.1779279
118    28:24.6      574284 6.35303E+12            5.64188E+13     5405.99       0.0235997     0.0201906              0.071522            0.7301747          0.6246972 2.1796979   2.1796979
119    38:30.0      574285 6.35303E+12            5.57835E+13     5401.12       0.0235997     0.0196938             0.0722714            0.7301747          0.6093262 2.2025372   2.2025372
120    43:33.2      574285 6.35303E+12            5.57835E+13     5404.01       0.0235997     0.0205017             0.0723101            0.7301747          0.6343226 2.2037157   2.2037157
121    48:36.5      574285 6.35303E+12            5.57835E+13     5404.26       0.0235997     0.0202344             0.0723135            0.7301747          0.6260523 2.2038176   2.2038176
122    53:39.7      574285 6.35303E+12            5.57835E+13     5400.01       0.0235997     0.0204794             0.0722566            0.7301747          0.6336326 2.2020845   2.2020845
123    58:42.8      574285 6.35303E+12            5.57835E+13     5405.56       0.0235997     0.0204578             0.0723309            0.7301747          0.6329643 2.2043478   2.2043478
124    03:45.8      574285 6.35303E+12            5.57835E+13      5405.7       0.0246624     0.0205258             0.0723327            0.7630547          0.6350683 2.2044049   2.2044049
125    08:49.5      574286 6.35303E+12            5.36818E+13     5416.95       0.0246624     0.0206883             0.0753209            0.7630547           0.640096 2.2954736   2.2954736
126    13:52.4      574287 6.35303E+12            5.50908E+13     5405.74       0.0246624     0.0206454             0.0732427            0.7630547          0.6387687   2.232137   2.232137
127    18:56.1      574287 6.35303E+12            5.50908E+13     5394.62       0.0246624     0.0206499              0.073092            0.7630547          0.6389079 2.2275453   2.2275453
128    23:59.2      574288 6.35303E+12              5.6446E+13    5372.85       0.0246624     0.0206922             0.0710493            0.7630547          0.6402167 2.1652907   2.1652907
129    29:02.2      574288 6.35303E+12              5.6446E+13    5385.99       0.0246624     0.0206955              0.071223            0.7630547          0.6403188 2.1705862   2.1705862
130    34:05.7      574289 6.35303E+12            5.61643E+13     5382.78       0.0246624     0.0217427             0.0715377            0.7630547          0.6727191 2.1801747   2.1801747
131    39:08.7      574289 6.35303E+12            5.61643E+13     5380.01       0.0246624     0.0218238             0.0715009            0.7630547          0.6752284 2.1790528   2.1790528
132    44:11.8      574289 6.35303E+12            5.61643E+13     5375.01       0.0246624     0.0212482             0.0714344            0.7630547          0.6574193 2.1770277   2.1770277
133    54:17.2      574292 6.35303E+12            5.59818E+13     5380.19       0.0246624     0.0219149             0.0717363            0.7630547           0.678047 2.1862275   2.1862275
134    59:20.2      574293 6.35303E+12            5.63654E+13     5377.35       0.0246624      0.021873             0.0712105            0.7630547          0.6767506 2.1702049   2.1702049
135    04:23.7      574294 6.35303E+12            5.66874E+13     5388.44       0.0258801     0.0213278              0.070952            0.8007303          0.6598821 2.1623271   2.1623271
136    09:26.5      574295 6.35303E+12            5.71185E+13     5388.44       0.0258801      0.021527             0.0704165            0.8007303          0.6660454 2.1460054   2.1460054
137    14:29.9      574298 6.35303E+12            5.77593E+13     5389.19       0.0258801     0.0216842             0.0696449            0.8007303          0.6709091   2.122492   2.122492
138    19:32.9      574298 6.35303E+12            5.77593E+13     5388.39       0.0258801     0.0240613             0.0696346            0.8007303          0.7444566   2.122177   2.122177
139    24:35.8      574298 6.35303E+12            5.77593E+13     5391.23       0.0258801     0.0222895             0.0696713            0.8007303          0.6896371 2.1232955   2.1232955
140    29:38.9      574298 6.35303E+12            5.77593E+13     5399.68       0.0258801     0.0257402             0.0697805            0.8007303          0.7964018 2.1266234   2.1266234
141    34:42.6      574300 6.35303E+12            5.74492E+13     5391.27       0.0258801     0.0264737             0.0700479            0.8007303          0.8190963 2.1347724   2.1347724
142    39:47.4      574301 6.35303E+12              5.7613E+13    5390.99       0.0258801     0.0845686             0.0698452            0.8007303          2.6165525 2.1285942   2.6165525
143    44:51.4      574302 6.35303E+12            5.77583E+13     5394.15       0.0258801     0.2208707             0.0697103            0.8007303          6.8337395   2.124483  6.8337395
144    49:55.5      574302 6.35303E+12            5.77583E+13     5395.41       0.0258801     0.1569397             0.0697265            0.8007303          4.8557143 2.1249792   4.8557143
145    55:00.3      574304 6.35303E+12              5.7411E+13    5395.02       0.0258801     0.1785686             0.0701433            0.8007303          5.5249125 2.1376815   5.5249125
146    05:07.6      574305 6.35303E+12              5.8471E+13    5393.61       0.0282381     0.2199419             0.0688537            0.8736868          6.8050024 2.0983778   6.8050024
147    10:10.7      574305 6.35303E+12              5.8471E+13    5393.59       0.0282381     0.0379328             0.0688534            0.8736868          1.1736408     2.09837    2.09837
148    15:13.9      574307 6.35303E+12            5.89967E+13      5393.1       0.0282381     0.0282657             0.0682337            0.8736868          0.8745408 2.0794831   2.0794831
149    20:16.9      574309 6.35303E+12            6.00748E+13     5397.01       0.0282381     0.0260977             0.0670578            0.8736868          0.8074628 2.0436461   2.0436461
150    25:20.0      574309 6.35303E+12            6.00748E+13     5396.19       0.0282381     0.0259319             0.0670476            0.8736868           0.802333 2.0433356   2.0433356
151    30:22.8      574310 6.35303E+12            6.02983E+13     5397.48       0.0282381      0.030206             0.0668151            0.8736868          0.9345736 2.0362495   2.0362495
152    35:25.7      574311 6.35303E+12            6.01255E+13     5402.84       0.0282381     0.0302009             0.0670736            0.8736868          0.9344158   2.044127   2.044127
153    40:29.7      574312 6.35303E+12            5.99055E+13     5397.41       0.0282381     0.0302509             0.0672522            0.8736868          0.9359628 2.0495721   2.0495721
154    45:32.5      574312 6.35303E+12            5.99055E+13     5395.01       0.0282381     0.0260271             0.0672223            0.8736868          0.8052785 2.0486608   2.0486608
155    55:37.6      574315 6.35303E+12            5.97623E+13     5391.82       0.0282381     0.0262949             0.0673436            0.8736868          0.8135642 2.0523565   2.0523565
156    00:42.0      574315 6.35303E+12            5.97623E+13      5387.9       0.0299687     0.2138963             0.0672946            0.9272316          6.6179515 2.0508644   6.6179515
157    05:45.0      574317 6.35303E+12            6.04051E+13     5388.49       0.0299687     0.0275245             0.0665859            0.9272316           0.851608 2.0292641   2.0292641
158    10:49.5      574319 6.35303E+12              6.0775E+13    5387.98       0.0299687     0.2273972             0.0661742            0.9272316          7.0356694 2.0167195   7.0356694
159    15:52.2      574320 6.35303E+12            6.21737E+13     5393.73       0.0299687     0.0493605             0.0647546            0.9272316          1.5272139 1.9734558   1.9734558
160    20:54.9      574320 6.35303E+12            6.21737E+13     5399.05       0.0299687     0.0375331             0.0648185            0.9272316          1.1612741 1.9754023   1.9754023
161    25:57.6      574320 6.35303E+12            6.21737E+13     5405.74       0.0299687     0.0307695             0.0648988            0.9272316          0.9520083     1.97785    1.97785
162    31:00.3      574321 6.35303E+12            6.17749E+13     5405.41       0.0299687     0.0283888             0.0653138            0.9272316          0.8783495 1.9904973   1.9904973
163    36:03.1      574321 6.35303E+12            6.17749E+13     5401.85       0.0299687     0.0282614             0.0652708            0.9272316          0.8744077 1.9891864   1.9891864
164    41:06.0      574321 6.35303E+12            6.17749E+13     5409.99       0.0299687     0.0277866             0.0653692            0.9272316          0.8597174 1.9921839   1.9921839
165    46:08.9      574321 6.35303E+12            6.17749E+13      5408.8       0.0299687     0.0279693             0.0653548            0.9272316          0.8653701 1.9917457   1.9917457
166    51:11.6      574321 6.35303E+12            6.17749E+13     5412.57       0.0299687     0.0279898             0.0654003            0.9272316          0.8660044 1.9931339   1.9931339
167    56:14.5      574321 6.35303E+12            6.17749E+13     5407.34       0.0299687     0.0268645             0.0653371            0.9272316          0.8311876   1.991208   1.991208
168    01:17.4      574321 6.35303E+12            6.17749E+13     5400.73       0.0293113     0.0268945             0.0652573            0.9068916          0.8321158 1.9887739   1.9887739
169    06:20.2      574321 6.35303E+12            6.17749E+13      5395.3       0.0293113      0.027018             0.0651917            0.9068916          0.8359369 1.9867744   1.9867744
170    11:23.2      574321 6.35303E+12            6.17749E+13     5397.81       0.0293113     0.0267743              0.065222            0.9068916          0.8283968 1.9876987   1.9876987
171    16:26.3      574321 6.35303E+12            6.17749E+13     5397.93       0.0293113     0.0268461             0.0652234            0.9068916          0.8306183 1.9877429   1.9877429
172    21:29.6      574321 6.35303E+12            6.17749E+13     5392.62       0.0293113     0.0269721             0.0651593            0.9068916          0.8345168 1.9857875   1.9857875
173    26:32.5      574321 6.35303E+12            6.17749E+13     5393.89       0.0293113     0.0268715             0.0651746            0.9068916          0.8314042 1.9862552   1.9862552
174    31:35.4      574322 6.35303E+12              5.8824E+13    5396.27       0.0293113     0.0268167             0.0684743            0.9068916          0.8297087 2.0868162   2.0868162
175    36:38.4      574322 6.35303E+12              5.8824E+13     5393.1       0.0293113     0.0261239             0.0684341            0.9068916          0.8082735 2.0855903   2.0855903
176    41:41.3      574322 6.35303E+12              5.8824E+13     5393.7       0.0293113     0.0274601             0.0684417            0.9068916          0.8496155 2.0858223   2.0858223
177    46:44.3      574323 6.35303E+12            5.85421E+13     5398.48       0.0293113     0.0267306             0.0688322            0.9068916          0.8270448 2.0977221   2.0977221
178    51:47.3      574323 6.35303E+12            5.85421E+13     5406.39       0.0293113     0.0276187              0.068933            0.9068916          0.8545226 2.1007958   2.1007958
179    56:50.2      574324 6.35303E+12            5.81584E+13     5403.98       0.0293113     0.0303914             0.0693569            0.9068916          0.9403099 2.1137127   2.1137127
180    01:53.0      574326 6.35303E+12            5.98016E+13     5406.62       0.0303255     0.0359994             0.0674841             0.938271          1.1138214 2.0566378   2.0566378
181    06:56.1      574326 6.35303E+12            5.98016E+13     5402.77       0.0303255     0.0287643              0.067436             0.938271          0.8899674 2.0551733   2.0551733
182    11:58.9      574327 6.35303E+12            5.96067E+13     5401.77       0.0303255     0.0276195              0.067644             0.938271          0.8545473 2.0615104   2.0615104
183    17:01.7      574327 6.35303E+12            5.96067E+13     5403.81       0.0303255     0.0258549             0.0676695             0.938271          0.7999506 2.0622889   2.0622889
184    22:04.9      574328 6.35303E+12            5.96752E+13     5405.43       0.0303255     0.0273178             0.0676122             0.938271          0.8452127 2.0605413   2.0605413
185    27:08.0      574328 6.35303E+12            5.96752E+13     5405.62       0.0303255      0.027105             0.0676145             0.938271          0.8386287 2.0606137   2.0606137
186    32:11.6      574329 6.35303E+12            5.94855E+13     5414.16       0.0303255     0.0272499             0.0679373             0.938271          0.8431119 2.0704516   2.0704516
187    37:14.5      574330 6.35303E+12            5.97035E+13     5414.16       0.0303255     0.0272366             0.0676893             0.938271          0.8427004 2.0628912   2.0628912
188    42:17.3      574331 6.35303E+12            5.96567E+13     5411.93       0.0303255     0.0259498             0.0677144             0.938271          0.8028868 2.0636583   2.0636583
189    47:20.1      574331  6.35303E+12           5.96567E+13     5411.28       0.0303255     0.0270709             0.0677063             0.938271          0.8375736  2.0634104  2.0634104




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       A          B            C                 D                 E            F             G                H                      I                  J               K          L
 1 datetime block_height network_diff est_network_hashrate    BTC_price day_ahead_LMP real_time_LMP breakeven_mining_cost    day_ahead_LMP_rev real_time_LMP_rev mining_rev realized_rev
190   52:22.9      574333 6.35303E+12              5.9734E+13   5406.27       0.0303255      0.0270923             0.0675561             0.938271          0.8382358 2.0588333  2.0588333
191   57:25.6      574333 6.35303E+12              5.9734E+13   5401.15       0.0303255      0.0273697             0.0674921             0.938271          0.8468185 2.0568835  2.0568835
192   02:28.6      574334 6.35303E+12            5.92562E+13    5400.02       0.0291501       0.028349             0.0680221            0.9019041          0.8771181 2.0730351  2.0730351
193   07:32.0      574335 6.35303E+12              5.9018E+13   5400.05       0.0291501      0.0271441              0.068297            0.9019041          0.8398385 2.0814126  2.0814126
194   12:35.2      574337 6.35303E+12            6.04407E+13    5403.81       0.0291501      0.0271795             0.0667358            0.9019041          0.8409337 2.0338321  2.0338321
195   17:38.0      574338 6.35303E+12            6.00814E+13      5403.9      0.0291501      0.0269433              0.067136            0.9019041          0.8336257 2.0460298  2.0460298
196   22:41.3      574340 6.35303E+12            6.01388E+13    5404.53       0.0291501      0.0265047             0.0670798            0.9019041          0.8200554 2.0443159  2.0443159
197   27:44.1      574342 6.35303E+12              6.0482E+13   5405.01       0.0291501      0.0269789              0.066705            0.9019041          0.8347272 2.0328944  2.0328944
198   32:47.4      574342 6.35303E+12              6.0482E+13   5405.02       0.0291501      0.0259921             0.0667051            0.9019041          0.8041956 2.0328982  2.0328982
199   37:50.1      574343 6.35303E+12            5.99395E+13    5399.97       0.0291501      0.0266251              0.067246            0.9019041          0.8237806 2.0493813  2.0493813
200   42:52.9      574344 6.35303E+12            5.95861E+13    5399.01       0.0291501      0.0264856             0.0676328            0.9019041          0.8194645 2.0611697  2.0611697
201   47:55.6      574344 6.35303E+12            5.95861E+13    5399.01       0.0291501       0.027138             0.0676328            0.9019041          0.8396497 2.0611697  2.0611697
202   52:58.5      574344 6.35303E+12            5.95861E+13    5394.86       0.0291501      0.0264887             0.0675808            0.9019041          0.8195604 2.0595854  2.0595854
203   58:01.6      574344 6.35303E+12            5.95861E+13    5398.35       0.0291501      0.0266866             0.0676245            0.9019041          0.8256834 2.0609177  2.0609177
204   03:05.6      574346 6.35303E+12            5.84022E+13    5395.14       0.0282198       0.227266             0.0689544            0.8731206             7.03161 2.1014468    7.03161
205   08:09.0      574347 6.35303E+12            5.86008E+13    5392.22       0.0282198      0.0268838             0.0686835            0.8731206          0.8317848 2.0931918  2.0931918
206   13:12.1      574347 6.35303E+12            5.86008E+13     5397.01      0.0282198      0.0269587             0.0687445            0.8731206          0.8341022 2.0950512  2.0950512
207   18:15.1      574348 6.35303E+12            5.87322E+13      5398.6      0.0282198         0.02711            0.0686109            0.8731206          0.8387834 2.0909802  2.0909802
208   23:18.2      574348 6.35303E+12            5.87322E+13     5396.18      0.0282198      0.0268066             0.0685802            0.8731206          0.8293962 2.0900429  2.0900429
209   28:22.4      574349 6.35303E+12            5.84595E+13     5396.23       0.0282198     0.2263655             0.0689007            0.8731206          7.0037486 2.0998095  7.0037486
210   33:25.3      574349 6.35303E+12            5.84595E+13     5395.06       0.0282198     0.0366701             0.0688857            0.8731206          1.1345729 2.0993542  2.0993542
211   38:28.1      574350 6.35303E+12            5.91267E+13     5395.03       0.0282198     0.0272366             0.0681081            0.8731206          0.8427004 2.0756546  2.0756546
212   43:31.1      574351 6.35303E+12            5.92508E+13     5395.02       0.0282198     0.0249648             0.0679653            0.8731206          0.7724109   2.071303  2.071303
213   48:33.9      574351 6.35303E+12            5.92508E+13     5394.15       0.0282198      0.025678             0.0679543            0.8731206          0.7944773   2.070969  2.070969
214   53:36.6      574351 6.35303E+12            5.92508E+13     5390.52       0.0282198     0.0248895             0.0679086            0.8731206          0.7700811 2.0695753  2.0695753
215   58:39.4      574351 6.35303E+12            5.92508E+13      5391.4       0.0282198     0.0251117             0.0679197            0.8731206           0.776956 2.0699132  2.0699132
216   03:42.2      574351 6.35303E+12            5.92508E+13     5383.02       0.0294796     0.0251798             0.0678141            0.9120988           0.779063 2.0666958  2.0666958
217   08:45.1      574351 6.35303E+12            5.92508E+13     5371.99       0.0294796     0.0226656             0.0676752            0.9120988          0.7012737 2.0624611  2.0624611
218   13:48.0      574351 6.35303E+12            5.92508E+13     5376.84       0.0294796     0.0227334             0.0677362            0.9120988          0.7033714 2.0643232  2.0643232
219   18:50.8      574353 6.35303E+12            5.95341E+13     5372.72       0.0294796     0.0243466             0.0673622            0.9120988          0.7532838 2.0529247  2.0529247
220   23:53.6      574353 6.35303E+12            5.95341E+13     5379.06       0.0294796      0.023035             0.0674417            0.9120988          0.7127029 2.0553472  2.0553472
221   28:56.9      574353 6.35303E+12            5.95341E+13     5386.27       0.0294796     0.0249424             0.0675321            0.9120988          0.7717179 2.0581021  2.0581021
222   33:59.8      574353 6.35303E+12            5.95341E+13     5393.51       0.0294796     0.0253684             0.0676229            0.9120988          0.7848983 2.0608686  2.0608686
223   39:02.6      574353 6.35303E+12            5.95341E+13     5397.98       0.0294796     0.0253102             0.0676789            0.9120988          0.7830976 2.0625766  2.0625766
224   44:05.8      574354 6.35303E+12            5.92005E+13     5401.73       0.0294796     0.0249924             0.0681077            0.9120988          0.7732649 2.0756429  2.0756429
225   49:09.4      574356 6.35303E+12            6.01278E+13     5395.44       0.0294796     0.0234267             0.0669792            0.9120988          0.7248221 2.0412523  2.0412523
226   54:12.7      574356 6.35303E+12            6.01278E+13     5400.19       0.0294796     0.0248989             0.0670382            0.9120988           0.770372 2.0430494  2.0430494
227   59:15.5      574357 6.35303E+12            5.98782E+13     5407.34       0.0294796     0.0220481             0.0674068            0.9120988          0.6821682   2.054282   2.054282
228   04:18.3      574357 6.35303E+12            5.98782E+13     5412.65       0.0358902     0.0218857              0.067473            1.1104428          0.6771436 2.0562993  2.0562993
229   09:22.0      574358 6.35303E+12            5.94067E+13     5412.99       0.0358902     0.0216716             0.0680127            1.1104428          0.6705193 2.0727494  2.0727494
230   14:25.2      574359 6.35303E+12            5.99023E+13     5410.59       0.0358902     0.0219037             0.0674202            1.1104428          0.6777005 2.0546898  2.0546898
231   19:28.2      574360 6.35303E+12              6.0023E+13    5412.47       0.0358902     0.0219939             0.0673079            1.1104428          0.6804913 2.0512675  2.0512675
232   24:32.0      574360 6.35303E+12              6.0023E+13    5404.27       0.0358902     0.0228282             0.0672059            1.1104428          0.7063045 2.0481598  2.0481598
233   29:35.3      574361 6.35303E+12            5.95038E+13     5406.99       0.0358902     0.0225739             0.0678264            1.1104428          0.6984365 2.0670711  2.0670711
234   34:38.6      574361 6.35303E+12            5.95038E+13     5410.01       0.0358902     0.0245993             0.0678643            1.1104428          0.7611023 2.0682256  2.0682256
235   39:41.7      574361 6.35303E+12            5.95038E+13     5424.76       0.0358902     0.0359936             0.0680493            1.1104428           1.113642 2.0738645  2.0738645
236   44:44.7      574362 6.35303E+12            5.87448E+13     5432.99       0.0358902     0.0239225             0.0690331            1.1104428          0.7401622 2.1038472  2.1038472
237   49:48.5      574362 6.35303E+12            5.87448E+13     5431.52       0.0358902     0.0225293             0.0690145            1.1104428          0.6970565   2.103278   2.103278
238   54:51.9      574363 6.35303E+12            5.80502E+13     5426.35       0.0358902     0.0241253             0.0697738            1.1104428          0.7464368 2.1264208  2.1264208
239   59:55.2      574363 6.35303E+12            5.80502E+13     5426.04       0.0358902     0.0326824             0.0697699            1.1104428          1.0111935 2.1262994  2.1262994
240   04:57.9      574364 6.35303E+12            5.78645E+13     5431.65       0.0269835     0.0482413             0.0700661            0.8348695          1.4925858 2.1353278  2.1353278
241   10:00.7      574364 6.35303E+12            5.78645E+13     5442.45       0.0269835      0.043395             0.0702054            0.8348695          1.3426413 2.1395736  2.1395736
242   15:04.3      574366 6.35303E+12              5.7531E+13     5432.6       0.0269835     0.0243861             0.0704846            0.8348695          0.7545059 2.1480807  2.1480807
243   20:07.3      574367 6.35303E+12            5.84533E+13     5443.24       0.0269835     0.0247503             0.0695083            0.8348695          0.7657743 2.1183292  2.1183292
244   25:11.1      574368 6.35303E+12            5.81378E+13     5430.99       0.0269835     0.0232247             0.0697283            0.8348695          0.7185722   2.125032   2.125032
245   30:14.0      574368 6.35303E+12            5.81378E+13     5447.49       0.0269835     0.0215208             0.0699401            0.8348695          0.6658536 2.1314881  2.1314881
246   35:16.8      574369 6.35303E+12              5.7527E+13    5441.28       0.0269835     0.0212082             0.0706021            0.8348695          0.6561817   2.151664   2.151664
247   40:20.2      574369 6.35303E+12              5.7527E+13    5444.99       0.0269835     0.0200685             0.0706503            0.8348695          0.6209194   2.153131   2.153131
248   45:23.2      574370 6.35303E+12            5.73316E+13     5445.99       0.0269835     0.0200685             0.0709041            0.8348695          0.6209194 2.1608665  2.1608665
249   50:26.3      574370 6.35303E+12            5.73316E+13     5466.65       0.0269835     0.0196295             0.0711731            0.8348695          0.6073367   2.169064   2.169064
250   55:29.5      574372 6.35303E+12              5.7029E+13    5473.18       0.0269835     0.0196295             0.0716362            0.8348695          0.6073367 2.1831762  2.1831762
251   00:32.6      574373 6.35303E+12            5.75391E+13      5470.2       0.0208048     0.0195841             0.0709624            0.6437005          0.6059321 2.1626439  2.1626439
252   05:35.5      574373 6.35303E+12            5.75391E+13     5471.01       0.0208048     0.0193404             0.0709729            0.6437005           0.598392 2.1629641  2.1629641
253   10:38.5      574374 6.35303E+12            5.70787E+13     5461.19       0.0208048     0.0197241              0.071417            0.6437005          0.6102637 2.1764965  2.1764965
254   15:41.4      574374 6.35303E+12            5.70787E+13     5460.95       0.0208048      0.019458             0.0714138            0.6437005          0.6020305 2.1764008  2.1764008
255   20:44.2      574376 6.35303E+12            5.68162E+13     5461.87       0.0208048     0.0214581             0.0717558            0.6437005          0.6639136   2.186823   2.186823
256   25:47.0      574376 6.35303E+12            5.68162E+13      5458.6       0.0208048      0.019573             0.0717129            0.6437005          0.6055886 2.1855137  2.1855137
257   30:49.8      574376 6.35303E+12            5.68162E+13     5452.56       0.0208048     0.0197916             0.0716335            0.6437005          0.6123521 2.1830955  2.1830955
258   35:52.5      574377 6.35303E+12            5.63276E+13     5460.02       0.0208048     0.0219913             0.0723538            0.6437005          0.6804108 2.2050485  2.2050485
259   40:55.3      574377 6.35303E+12            5.63276E+13     5466.78       0.0208048      0.021309             0.0724434            0.6437005          0.6593005 2.2077785  2.2077785
260   45:58.1      574378 6.35303E+12            5.65074E+13     5473.24       0.0208048     0.0213163             0.0722982            0.6437005          0.6595263 2.2033529  2.2033529
261   56:03.2      574378 6.35303E+12            5.65074E+13     5469.64       0.0208048     0.0197517             0.0722507            0.6437005          0.6111176 2.2019037  2.2019037
262   01:36.8      574383 6.35303E+12            5.72964E+13     5478.36       0.0179961     0.0188214             0.0713693            0.5567993          0.5823341 2.1750424  2.1750424
263   06:39.7      574384 6.35303E+12            5.65611E+13     5470.62       0.0179961     0.0187891              0.072195            0.5567993          0.5813348 2.2002079  2.2002079
264   11:42.6      574384 6.35303E+12            5.65611E+13     5480.47       0.0179961     0.0188495              0.072325            0.5567993          0.5832035 2.2041694  2.2041694
265   21:48.0      574384 6.35303E+12            5.65611E+13     5484.78       0.0179961     0.0183258             0.0723819            0.5567993          0.5670003 2.2059028  2.2059028
266   26:51.2      574384 6.35303E+12            5.65611E+13     5487.23       0.0179961     0.0179839             0.0724142            0.5567993          0.5564219 2.2068882  2.2068882
267   31:54.4      574385 6.35303E+12            5.52675E+13     5489.21       0.0179961      0.018281             0.0741359            0.5567993          0.5656141 2.2593577  2.2593577
268   36:57.3      574386 6.35303E+12              5.5002E+13    5489.86       0.0179961     0.0187203             0.0745026            0.5567993          0.5792061 2.2705332  2.2705332
269   42:00.1      574387 6.35303E+12              5.4816E+13    5485.01       0.0179961     0.0183036             0.0746893            0.5567993          0.5663134 2.2762247  2.2762247
270   47:03.0      574387 6.35303E+12              5.4816E+13    5496.27       0.0179961     0.0184508             0.0748427            0.5567993          0.5708678 2.2808975  2.2808975
271   52:05.9      574387 6.35303E+12              5.4816E+13    5492.82       0.0179961     0.0184047             0.0747957            0.5567993          0.5694414 2.2794658  2.2794658
272   57:09.3      574388 6.35303E+12            5.41076E+13     5492.11       0.0179961     0.0184153             0.0757651            0.5567993          0.5697694 2.3090086  2.3090086
273   02:12.6      574388 6.35303E+12            5.41076E+13     5492.89       0.0170398     0.0184147             0.0757758            0.5272114          0.5697508 2.3093366  2.3093366
274   07:15.4      574388 6.35303E+12            5.41076E+13     5495.29       0.0170398     0.0183942             0.0758089            0.5272114          0.5691165 2.3103456  2.3103456
275   12:18.2      574389 6.35303E+12            5.34819E+13     5496.51       0.0170398     0.0183866             0.0767129            0.5272114          0.5688814 2.3378941  2.3378941
276   17:21.0      574392 6.35303E+12            5.44667E+13     5498.94       0.0170398     0.0188814             0.0753591            0.5272114          0.5841905 2.2966372  2.2966372
277   22:23.9      574393 6.35303E+12              5.4543E+13    5520.34       0.0170398     0.0194343             0.0755467            0.5272114          0.6012972 2.3023534  2.3023534
278   27:26.7      574393 6.35303E+12              5.4543E+13    5541.73       0.0170398     0.0193942             0.0758394            0.5272114          0.6000565 2.3112745  2.3112745
279   32:29.9      574393 6.35303E+12              5.4543E+13    5543.62       0.0170398     0.0195938             0.0758653            0.5272114          0.6062322 2.3120627  2.3120627
280   37:32.8      574394 6.35303E+12            5.38779E+13     5540.34       0.0170398     0.0195528             0.0767563            0.5272114          0.6049636 2.3392162  2.3392162
281   42:35.6      574394 6.35303E+12            5.38779E+13     5499.34       0.0170398     0.0198363             0.0761882            0.5272114          0.6137351 2.3219053  2.3219053
282   47:38.5      574395 6.35303E+12            5.53825E+13     5524.89       0.0170398     0.0195588             0.0744629            0.5272114          0.6051493 2.2693225  2.2693225
283   52:42.0      574395  6.35303E+12           5.53825E+13     5516.19       0.0170398     0.0195968             0.0743456            0.5272114           0.606325   2.265749   2.265749




                                                                                                                                                                                   BB10000922
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       A          B            C                 D                 E            F             G                H                       I                  J               K          L
 1 datetime block_height network_diff est_network_hashrate    BTC_price day_ahead_LMP real_time_LMP breakeven_mining_cost     day_ahead_LMP_rev real_time_LMP_rev mining_rev realized_rev
284   57:45.2      574395 6.35303E+12            5.53825E+13    5519.38       0.0170398      0.0192475             0.0743886             0.5272114          0.5955177 2.2670593  2.2670593
285   02:48.0      574395 6.35303E+12            5.53825E+13    5528.44       0.0176772      0.0192253             0.0745107             0.5469326          0.5948308 2.2707806  2.2707806
286   07:50.8      574395 6.35303E+12            5.53825E+13    5533.27       0.0176772      0.0191698             0.0745758             0.5469326          0.5931136 2.2727645  2.2727645
287   12:53.8      574396 6.35303E+12            5.44713E+13    5531.02       0.0176772      0.0189901             0.0757925             0.5469326          0.5875537 2.3098433  2.3098433
288   17:56.7      574396 6.35303E+12            5.44713E+13    5545.02       0.0176772      0.0189449             0.0759843             0.5469326          0.5861552 2.3156899  2.3156899
289   22:59.6      574396 6.35303E+12            5.44713E+13    5548.95       0.0176772      0.0189618             0.0760382             0.5469326          0.5866781 2.3173312  2.3173312
290   28:02.4      574397 6.35303E+12            5.38389E+13    5554.01       0.0176772      0.0190515             0.0770014             0.5469326          0.5894534 2.3466856  2.3466856
291   33:05.6      574397 6.35303E+12            5.38389E+13    5549.85       0.0176772      0.0186935             0.0769437             0.5469326          0.5783769 2.3449279  2.3449279
292   38:08.5      574397 6.35303E+12            5.38389E+13      5562.7      0.0176772      0.0189393             0.0771218             0.5469326          0.5859819 2.3503573  2.3503573
293   43:13.3      574397 6.35303E+12            5.38389E+13    5576.66       0.0176772      0.0188386             0.0773154             0.5469326          0.5828663 2.3562557  2.3562557
294   48:16.3      574397 6.35303E+12            5.38389E+13    5591.65       0.0176772      0.0189326             0.0775232             0.5469326          0.5857746 2.3625893  2.3625893
295   53:19.2      574397 6.35303E+12            5.38389E+13    5576.07       0.0176772      0.0194225             0.0773072             0.5469326          0.6009321 2.3560064  2.3560064
296   58:22.3      574398 6.35303E+12            5.24135E+13     5579.93      0.0176772      0.0194733             0.0794646             0.5469326          0.6025039 2.4217554  2.4217554
297   03:25.2      574399 6.35303E+12            5.22154E+13     5582.01      0.0178805      0.0197824             0.0797958             0.5532227          0.6120675  2.431849   2.431849
298   13:30.3      574400 6.35303E+12            5.19602E+13     5575.84       0.0178805     0.0197535             0.0800991             0.5532227          0.6111733  2.441092   2.441092
299   18:33.2      574400 6.35303E+12            5.19602E+13     5579.19       0.0178805     0.0198435             0.0801472             0.5532227          0.6139579 2.4425586  2.4425586
300   23:36.6      574401 6.35303E+12            5.14241E+13     5571.19       0.0178805     0.0198432             0.0808667             0.5532227          0.6139486 2.4644852  2.4644852
301   28:40.0      574401 6.35303E+12            5.14241E+13     5570.27       0.0178805     0.0199995             0.0808533             0.5532227          0.6187845 2.4640783  2.4640783
302   38:45.6      574403 6.35303E+12            5.16659E+13     5613.91       0.0178805     0.0206986             0.0811054             0.5532227          0.6404147 2.4717605  2.4717605
303   43:48.7      574404 6.35303E+12            5.22163E+13     5628.79       0.0178805     0.0201896             0.0804633             0.5532227          0.6246662    2.45219    2.45219
304   48:51.6      574405 6.35303E+12            5.26766E+13     5629.74       0.0178805     0.0221578             0.0797736             0.5532227          0.6855623 2.4311707  2.4311707
305   53:54.6      574406 6.35303E+12            5.44332E+13     5687.49       0.0178805      0.020244              0.077991             0.5532227          0.6263494 2.3768473  2.3768473
306   58:57.4      574407 6.35303E+12            5.44179E+13     5665.95       0.0178805     0.0201642             0.0777176             0.5532227          0.6238803 2.3685147  2.3685147
307   04:00.3      574407 6.35303E+12            5.44179E+13     5670.39       0.0186939      0.019061             0.0777785             0.5783893          0.5897473 2.3703707  2.3703707
308   09:03.7      574408 6.35303E+12            5.43366E+13     5670.17       0.0186939     0.0196968             0.0778918             0.5783893           0.609419 2.3738241  2.3738241
309   14:06.8      574409 6.35303E+12            5.45039E+13     5709.88       0.0186939     0.0199734             0.0781965             0.5783893           0.617977 2.3831101  2.3831101
310   19:09.8      574409 6.35303E+12            5.45039E+13     5681.29       0.0186939     0.0202197              0.077805             0.5783893          0.6255975 2.3711776  2.3711776
311   24:13.3      574409 6.35303E+12            5.45039E+13      5681.4       0.0186939      0.022567             0.0778065             0.5783893           0.698223 2.3712235  2.3712235
312   34:18.6      574410 6.35303E+12              5.4739E+13    5723.04       0.0186939      0.021648             0.0780402             0.5783893          0.6697891 2.3783446  2.3783446
313   39:21.6      574410 6.35303E+12              5.4739E+13    5712.44       0.0186939     0.0217271             0.0778956             0.5783893          0.6722365 2.3739395  2.3739395
314   44:26.0      574410 6.35303E+12              5.4739E+13    5766.56       0.0186939     0.0214755             0.0786336             0.5783893           0.664452 2.3964304  2.3964304
315   49:30.2      574410 6.35303E+12              5.4739E+13    5752.64       0.0186939     0.0230133             0.0784438             0.5783893          0.7120315 2.3906456  2.3906456
316   54:33.3      574411 6.35303E+12            5.33843E+13     5785.23       0.0186939     0.0235469             0.0808902             0.5783893          0.7285411 2.4652002  2.4652002
317   59:36.0      574412 6.35303E+12            5.33495E+13     5778.03       0.0186939     0.0445382             0.0808422             0.5783893          1.3780119 2.4637378  2.4637378
318   04:38.7      574412 6.35303E+12            5.33495E+13     5707.59       0.0235949     0.0251205             0.0798566             0.7300262          0.7772283 2.4337024  2.4337024
319   09:41.6      574412 6.35303E+12            5.33495E+13     5698.98       0.0235949     0.0225234             0.0797362             0.7300262           0.696874 2.4300311  2.4300311
320   14:44.9      574412 6.35303E+12            5.33495E+13     5716.84       0.0235949      0.023342              0.079986             0.7300262          0.7222015 2.4376465  2.4376465
321   19:47.8      574413 6.35303E+12            5.25253E+13     5727.04       0.0235949     0.0235409              0.081386             0.7300262          0.7283554 2.4803111  2.4803111
322   24:51.0      574413 6.35303E+12            5.25253E+13     5727.44       0.0235949     0.0222209             0.0813917             0.7300262          0.6875146 2.4804844  2.4804844
323   29:53.8      574413 6.35303E+12            5.25253E+13     5735.97       0.0235949     0.0255473             0.0815129             0.7300262          0.7904335 2.4841786  2.4841786
324   34:56.6      574414 6.35303E+12            5.19701E+13     5739.52       0.0235949     0.0253504             0.0824347             0.7300262          0.7843414 2.5122723  2.5122723
325   39:59.3      574415 6.35303E+12            5.18073E+13     5733.01       0.0235949     0.0256234                 0.0826            0.7300262           0.792788 2.5173089  2.5173089
326   45:02.1      574418 6.35303E+12            5.19586E+13      5730.9       0.0235949     0.0255253             0.0823292             0.7300262          0.7897528 2.5090566  2.5090566
327   50:05.4      574420 6.35303E+12            5.25895E+13     5722.12       0.0235949     0.0224989             0.0812169             0.7300262           0.696116 2.4751591  2.4751591
328   55:08.2      574421 6.35303E+12            5.25734E+13     5697.57       0.0235949     0.0363746             0.0808932             0.7300262          1.1254301 2.4652918  2.4652918
329   00:11.2      574421 6.35303E+12            5.25734E+13     5676.99       0.0269152      0.023551              0.080601             0.8327563          0.7286679  2.456387    2.456387
330   05:14.1      574423 6.35303E+12            5.29406E+13     5669.12       0.0269152     0.0218688             0.0799309             0.8327563          0.6766207 2.4359674  2.4359674
331   15:19.2      574424 6.35303E+12            5.28202E+13     5679.07       0.0269152     0.0283279             0.0802538             0.8327563          0.8764652 2.4458059  2.4458059
332   20:22.3      574425 6.35303E+12            5.23532E+13     5686.98       0.0269152     0.0487423             0.0810825             0.8327563          1.5080868  2.471061    2.471061
333   25:27.1      574426 6.35303E+12            5.30049E+13     5674.69       0.0269152     0.2374762             0.0799125             0.8327563          7.3475136  2.435404  7.3475136
334   30:31.1      574427 6.35303E+12            5.28466E+13     5692.52       0.0269152     0.2299546             0.0804036             0.8327563          7.1147953 2.4503724  7.1147953
335   35:34.0      574427 6.35303E+12            5.28466E+13     5694.01       0.0269152     0.0490713             0.0804247             0.8327563           1.518266 2.4510138  2.4510138
336   40:36.8      574428 6.35303E+12              5.2354E+13    5713.35       0.0269152     0.0279617             0.0814571             0.8327563           0.865135 2.4824794  2.4824794
337   45:39.8      574428 6.35303E+12              5.2354E+13    5716.19       0.0269152     0.0282458             0.0814976             0.8327563          0.8739251 2.4837134  2.4837134
338   50:42.7      574428 6.35303E+12              5.2354E+13    5717.38       0.0269152     0.0284795             0.0815146             0.8327563          0.8811557 2.4842305  2.4842305
339   55:45.7      574429 6.35303E+12            5.15634E+13     5710.01       0.0269152     0.0240423             0.0826578             0.8327563          0.7438688 2.5190709  2.5190709
340   00:48.6      574429 6.35303E+12            5.15634E+13     5698.38       0.0275406     0.0225554             0.0824894             0.8521062          0.6978641 2.5139401  2.5139401
341   05:51.3      574429 6.35303E+12            5.15634E+13     5709.41       0.0275406     0.0225554             0.0826491             0.8521062          0.6978641 2.5188062  2.5188062
342   10:54.1      574430 6.35303E+12            5.12815E+13     5715.13       0.0275406      0.023496             0.0831866             0.8521062          0.7269662 2.5351866  2.5351866
343   15:58.2      574430 6.35303E+12            5.12815E+13     5712.23       0.0275406      0.023838             0.0831444             0.8521062          0.7375477 2.5339002  2.5339002
344   21:01.2      574430 6.35303E+12            5.12815E+13      5713.4       0.0275406     0.0238314             0.0831614             0.8521062          0.7373435 2.5344192  2.5344192
345   26:05.1      574430 6.35303E+12            5.12815E+13     5723.95       0.0275406     0.0239138              0.083315             0.8521062           0.739893 2.5390991  2.5390991
346   31:08.2      574430 6.35303E+12            5.12815E+13     5735.36       0.0275406     0.0247866             0.0834811             0.8521062          0.7668974 2.5441605  2.5441605
347   36:11.1      574430 6.35303E+12            5.12815E+13     5739.01       0.0275406     0.0244687             0.0835342             0.8521062          0.7570616 2.5457796  2.5457796
348   41:13.9      574430 6.35303E+12            5.12815E+13     5741.24       0.0275406      0.024823             0.0835666             0.8521062          0.7680236 2.5467688  2.5467688
349   46:16.8      574430 6.35303E+12            5.12815E+13     5724.65       0.0275406     0.0479102             0.0833252             0.8521062          1.4823416 2.5394096  2.5394096
350   51:19.5      574432 6.35303E+12            4.99455E+13     5726.23       0.0275406     0.0287101             0.0855777             0.8521062          0.8882905 2.6080579  2.6080579
351   56:22.3      574432 6.35303E+12            4.99455E+13     5715.44       0.0275406     0.0476762             0.0854165             0.8521062          1.4751016 2.6031435  2.6031435
352   01:25.2      574432 6.35303E+12            4.99455E+13     5710.99       0.0275178     0.0268429                0.08535            0.8514007          0.8305193 2.6011167  2.6011167
353   06:28.2      574433 6.35303E+12            4.98413E+13     5720.19       0.0275178      0.023935             0.0856661             0.8514007          0.7405489 2.6107513  2.6107513
354   11:31.5      574435 6.35303E+12            4.97656E+13     5727.69       0.0275178     0.0248874              0.085909             0.8514007          0.7700162 2.6181535  2.6181535
355   16:34.7      574435 6.35303E+12            4.97656E+13     5726.31       0.0275178     0.0274311             0.0858883             0.8514007          0.8487182 2.6175227  2.6175227
356   21:37.9      574437 6.35303E+12            4.98823E+13     5731.36       0.0275178     0.0263376             0.0857628             0.8514007          0.8148853 2.6136992  2.6136992
357   26:41.0      574438 6.35303E+12              4.9928E+13    5735.02       0.0275178     0.0483454             0.0857391             0.8514007          1.4958067 2.6129777  2.6129777
358   31:44.0      574440 6.35303E+12            4.96931E+13     5745.06       0.0275178     0.0271616             0.0862952             0.8514007          0.8403799 2.6299251  2.6299251
359   36:47.1      574441 6.35303E+12            5.04581E+13     5742.56       0.0275178     0.0269363             0.0849499             0.8514007          0.8334091 2.5889252  2.5889252
360   41:50.0      574441 6.35303E+12            5.04581E+13     5743.71       0.0275178     0.0484523             0.0849669             0.8514007          1.4991142 2.5894437  2.5894437
361   46:52.9      574442 6.35303E+12            5.28842E+13     5750.85       0.0275178     0.0347258             0.0811698             0.8514007          1.0744163 2.4737229  2.4737229
362   51:56.2      574442 6.35303E+12            5.28842E+13     5746.02       0.0275178     0.0267711             0.0811016             0.8514007          0.8282978 2.4716453  2.4716453
363   56:59.0      574443 6.35303E+12            5.28228E+13     5737.61       0.0275178     0.0256417             0.0810771             0.8514007          0.7933542 2.4708977  2.4708977
364   02:02.6      574443 6.35303E+12            5.28228E+13     5735.06       0.0300242     0.0258787             0.0810411             0.9289487           0.800687 2.4697995  2.4697995
365   07:05.8      574443 6.35303E+12            5.28228E+13      5735.1       0.0300242     0.0247432             0.0810416             0.9289487          0.7655546 2.4698168  2.4698168
366   12:08.7      574443 6.35303E+12            5.28228E+13     5755.91       0.0300242     0.0249703             0.0813357             0.9289487          0.7725811 2.4787786  2.4787786
367   17:11.4      574443 6.35303E+12            5.28228E+13     5760.01       0.0300242     0.0252751             0.0813936             0.9289487          0.7820116 2.4805442  2.4805442
368   22:14.5      574444 6.35303E+12            5.21447E+13     5754.45       0.0300242     0.0251352             0.0823724             0.9289487          0.7776831  2.510372    2.510372
369   27:17.4      574444 6.35303E+12            5.21447E+13     5767.44       0.0300242     0.0280841             0.0825583             0.9289487          0.8689221 2.5160389  2.5160389
370   32:20.3      574445 6.35303E+12            5.19166E+13     5755.01       0.0300242     0.0345983             0.0827425             0.9289487          1.0704714 2.5216513  2.5216513
371   37:23.3      574446 6.35303E+12            5.17083E+13     5764.68       0.0300242     0.0278962             0.0832153             0.9289487          0.8631084 2.5360608  2.5360608
372   42:26.9      574446 6.35303E+12            5.17083E+13     5756.94       0.0300242     0.0266725             0.0831036             0.9289487          0.8252472 2.5326557  2.5326557
373   47:29.7      574446 6.35303E+12            5.17083E+13     5755.95       0.0300242     0.0268138             0.0830893             0.9289487           0.829619 2.5322202  2.5322202
374   52:33.2      574448 6.35303E+12            5.19511E+13     5743.01       0.0300242     0.0267197              0.082515             0.9289487          0.8267075 2.5147176  2.5147176
375   57:36.1      574448 6.35303E+12            5.19511E+13     5714.06       0.0300242     0.0300574              0.082099             0.9289487           0.929976 2.5020411  2.5020411
376   02:39.4      574448 6.35303E+12            5.19511E+13     5709.16       0.0291971     0.0270146             0.0820286             0.9033583          0.8358317 2.4998955  2.4998955
377   07:42.2      574449  6.35303E+12           5.17328E+13     5699.99       0.0291971     0.0251716             0.0822425             0.9033583          0.7788093 2.5064137  2.5064137




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       A          B            C                 D               E            F              G                H                       I                  J              K          L
 1 datetime block_height network_diff est_network_hashrate   BTC_price day_ahead_LMP real_time_LMP breakeven_mining_cost     day_ahead_LMP_rev real_time_LMP_rev mining_rev realized_rev
378   12:45.4      574449 6.35303E+12            5.17328E+13   5715.31       0.0291971        0.02575             0.0824635             0.9033583           0.796705 2.5131502  2.5131502
379   17:48.3      574450 6.35303E+12            5.16724E+13   5717.01       0.0291971      0.0260891             0.0825845             0.9033583          0.8071968 2.5168369  2.5168369
380   22:51.1      574450 6.35303E+12            5.16724E+13   5712.98       0.0291971      0.0257711             0.0825263             0.9033583          0.7973578 2.5150627  2.5150627
381   27:54.3      574450 6.35303E+12            5.16724E+13   5722.03       0.0291971      0.0258512              0.082657             0.9033583          0.7998361 2.5190469  2.5190469
382   32:57.1      574450 6.35303E+12            5.16724E+13   5727.15       0.0291971      0.0255716              0.082731             0.9033583          0.7911853 2.5213009  2.5213009
383   38:00.1      574451 6.35303E+12            5.07309E+13   5728.02       0.0291971      0.0261372             0.0842791             0.9033583           0.808685 2.5684819  2.5684819
384   43:03.0      574453 6.35303E+12            5.08262E+13   5712.01       0.0291971      0.0262532              0.083886             0.9033583           0.812274 2.5565013  2.5565013
385   48:06.4      574454 6.35303E+12            5.11925E+13   5714.36       0.0291971      0.0250628                0.08332            0.9033583           0.775443 2.5392517  2.5392517
386   53:09.2      574454 6.35303E+12            5.11925E+13   5702.85       0.0291971      0.0243144             0.0831522             0.9033583          0.7522875 2.5341371  2.5341371
387   58:12.0      574454 6.35303E+12            5.11925E+13   5709.89       0.0291971      0.0240068             0.0832548             0.9033583          0.7427704 2.5372654  2.5372654
388   03:14.8      574454 6.35303E+12            5.11925E+13   5717.23       0.0316183      0.0251727             0.0833618             0.9782702          0.7788433  2.540527   2.540527
389   08:17.8      574454 6.35303E+12            5.11925E+13   5706.69       0.0316183      0.0241637             0.0832082             0.9782702          0.7476249 2.5358434  2.5358434
390   13:20.8      574454 6.35303E+12            5.11925E+13   5717.65       0.0316183      0.0244866              0.083368             0.9782702          0.7576154 2.5407136  2.5407136




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                                                                                    Bearbox v Lancium
                                                                                     Trial Exhibit
                                                                                     TX920-12

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      Let's talk 9AM CST Friday morning. My cell is (985) 377-6257.

      Cool, a 1.5MW pilot is ~ $IMM and should take about 6 weeks to fully deploy.

      -A

      On Nov 28, 2018, at 8:22 AM, Ben Hakes <ben@paretoadvisors.com> wrote:

      See my responses below.
      A few clarifying questions:

      Explain load "behind" substation? I mean that the wind farm sits behind the substation which connects it
      with the rest of the grid. The mining operation would tap into one of the cable runs that sits between the
      turbines and the substation. "Behind the meter", one could also say.
      Explain $3/MW - traditionally, this is measured in $/kWh (and accounts for 85%+ of monthly opex).
      I mean $3/MWh or $0.03/kWh. These guys typically think about selling power by the MWh, so they'll say
      $3 or $0.03 pretty interchangeably (as opposed to retail power which is almost always kWh).
      1: Yes to digging more, let's get the NDAs done ASAP.
      I will make some calls today about this.
      2: 20MW site is ~65 BearBoxes, that'd take 10-12 months (and a load of capital).
      Roughly how many acres would you need here? A high-level estimate is fine.
      3: 5MW site is ~18 BearBoxes, that'd take 3-4 months("").
      Roughly how many acres would you need here?

      If they have enough wind generation a ~$0/kWh cost of marginal production, it makes sense for them to
      mine Bitcoin and be the producer of a provably scarce, highly sought after digital commodity.
      Exactly. They think this is part of a larger trend as "wires charges" continue to increase as a result of
      labor/employee benefit/grid maintenance cost but the cost of fuel remains relatively flat.
      Let's hop on a call this week - let me know when you're avail.
      Mornings before 10am central is best. I can talk as early as 8:00a.
      -A

      P.S. - We're gonna need more than $10MM.
      Let's assume we right-size the BearBoxes/MW to the funding raise. It is possible that they would want to
      do a 1-2 MW pilot first, then scale.

      On Tue, Nov 27, 2018 at 11:20 PMaustin@bearbox.ioAustin Storms <austin@bearbox.io> wrote:
       For sure, Ben. I'm glad to hear you're enjoying the classes at Lambda, I've only heard great things and I'm
       currently lobbying my brother to apply.

       It's great that you're keeping your ear to the ground for opportunities and you love Bitcoin - same here!

       The deal sounds good, fair, and reasonable.

       A few clarifying questions:

       Explain load "behind" substation?
       Explain $3/MW - traditionally, this is measured in $/kWh (and accounts for 85%+ of monthly opex).

       1: Yes to digging more, let's get the NDAs done ASAP.
       2: 20MW site is ~65 BearBoxes, that'd take 10-12 months (and a load ofcapital).
       3: 5MW site is ~ 18 BearBoxes, that'd take 3-4 months ("").



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# gam·announcements "'              Company·wide announcements and work·based matters. PSA: the off topic room is here t#offtopic


       Tom Masiero 10:21 AM                                                                              August 3rd, 2020 ...,

       Based
       Austin Storms 10:51 AM
       We should hast an oil and gas Bitcoin mining virtual workshop and co ld email the entire industry.
        ,/ l    {iJ

■ Rete Browning 10:52 AM
       at DOE we ca lled that "CC the world "
        I\ t    (iJ

       Austin Storms 10:54 AM
       And make th e first one invite only • call it An Intro to Bitcoin M ining: Oil and Gas

llridl Marty Bent 11,04 AM
Ill love it
       Austin Storms 11:05AM
  i    Maybe rework th is illustration to utilize NG instead of wi nd?
       Image from i0S •




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                                         ;f1:fv
                                         ,f~"lP.
                                         'flk1'
                                          ,;;.l'f;

■ Rete Browning 11:06AM
       Did you draw that? ., ..

       Tom Masiero t 1:07 AM
       I love doodles like this

       Austin Storms 11:07 /\M
       Yea on an iPad Pro like 3 years ago

       This is what Layerl 's demand respo nse/controllab le load resource program is in a kindergarten nutshel l

       With O&G, I could just rework parts of the stack to include a flare boom/vent and illustrate their existing problem we're working to solve.
       Austin Storms 11,30AM
  ~    We doing th is standup today?
        lg/ 1   (iJ




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                                                                                                      Appx13565
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       To:         Austin Storms[austin@bearbox.io]; Mike Hoadley[mhoadley@glidepath.net]; Chris                            TX962
       Vickery[ cvickery@glidepath.net]
       Cc:         Ben Hakes[ben@paretoadvisors.com]
                                                                                                                      BearBox v. Lancium
       From:       Denis Labij                                                                                           21-cv-00534
       Sent:       Thur 4/25/2019 3:17:10 PM
       Subject: RE: Day-ahead vs. RTBM LMP biz requirements and data questions

        Austin,

        See comments below in red.

        Denis

        From: Austin Storms <austin@bearbox.io>
       Sent: Thursday, April 25, 2019 12:17 AM
       To: Denis Labij <dlabij@glidepath.net>; Mike Hoadley <mhoadley@glidepath.net>; Chris Vickery
        <cvickery@glidepath.net>
       Cc: Ben Hakes <ben@paretoadvisors.com>
       Subject: Day-ahead vs. RTBM LMP biz requirements and data questions

        Hey guys,

       I've been working on some code for the miner management system that integrates RTBM LMP profitability
         checks - but have a few questions regarding business requirements and available data feeds.

       From my understanding, the day-ahead LMP $/MWh is calculated based on forecast estimated demand and the
        RTBM LMP $/MWh fills the gap between the estimated demand in day-ahead market and actual demand in
        real-time ... is this correct? Sort of. In most ISOs the day-ahead market clears offered and self-scheduled
        generation against bid and self-scheduled load. Since there can be deviation charges for being off of your
        day-ahead schedule, I suspect most market participants offer and bid near their forecasts, though there
        may sometimes be reasons not to. RTBM is based on what is actually happening (ex ante) or actually has
        happened (ex post) on the system.

       The data modeling and system I've been building fetches RTBM LMP price and compares the profitability of
        selling load@ RTBM LMP vs. using the same load to mine Bitcoin, but I'm not exactly sure what the business
        requirements are - and I'm looking for a bit of guidance to build the model to show contrasted profitability.
        You would first want to calculate a break even power price. This will depend on the power efficiency of
        your units, and the expected revenue per Terra Hash. Let's say this number is estimated to be $30/MWh.
        You would either bid DA load at $30 (i.e. you receive a schedule to draw load if the DA LMP is less than $30}
        or you offer a block of generation equal to the capacity of your miner at $30 (i.e. you receive a schedule to
        deliver power if the DA LMP is greater than $30). You would then do the same thing in RT. That is, if the RT
        LMP is greater than $30, and you have a DA schedule, you will want to curtail the miner and offset your DA
        schedule by selling it into the RT instead (this happens automatically as a result of being off of your DA
        schedule}. Similarly, if you have no DA schedule, and prices go below $30 in RT, you will want to turn your
        miner on. Settlements can get pretty complicated and may vary from one ISO to the next, but this is the
        general idea.

       The data feed I've been utilizing is from the SPP marketplace - see link here to the 5-minute RTBM
         ( https :// marketplace. spp. org/fi le-a pi/ down load/rtbm-1 mp-by-location ?path=%2 FRTB M-LM P-SL-
         latestl nterva I. csv ). The only problem with fetching the .csv file is that it's a bit finicky- is there another data
        feed that Glide Path uses to get RTBM LMP pricing at specific node location? There is, but you need to be a
        market participant with portal access to query it. There is also public access to hourly-average RT prices




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                                                              Appx13566                                                            TX962.0001
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        but, as far as I know, not 5-min prices SPP mentions an FTP server in some of their Feb '18 published
        documentation, but I've yet to successfully authenticate to that server. If this is part of the portal, you would
        need a market participant digital certificate with the appropriate permissions.

        As always, I appreciate your time, consideration, and helpful input!

        Thanks and talk soon,

         Austin
         Austin M. Storms
       BearBox, LLC
       611 O' Keefe Avenue
       New Orleans, LA 70113
       a usti n@bea rbox. io

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                                                          Appx13567                                                         TX962.0002
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                                                                                                            Data Center Madu/es
                                                                                                            Turbine Inlet Chilling
                                                                                                          Modular Central Plants
                            Engineered Modular Solutions                                                    Aftermarket Services




                                         1803343 Lancium Data Box
                                             R3.2 - 11 May 18
      Scope Split
                         By Lancium                                                       By TAS
                                                                     Steel Base
                                                                     Steel / Aluminum Wall system
                                                                     Inlet Louvers
                                                                     Exit Louvers
                                                                     Inlet Filters
                                                                     Floor Grating
                                                                     Entry Doors, qty 2
                                                                     Building controls
                                                                     Fans – qty 20
                                                                     Misting System
                                                                     Fire System
                                                                     Distribution Panel Boards x qty 2, 1200A
                                                                     Utility Lighting
                                                                     Provisions for Security Entry
                                                                     Busway – requires clean install
                                                                     Starline Plug-Ins / Stab boxes

       Shelf PDU / Whip?
       Miners – qty 980
       Miner Power Supply – qty 980
       Data Switches – qty ?
       Wire Management
       SCADA
       External stairs/platform for entry
       Data Box Field Installation
       Water supply / storage to feed misting system
       connections
       Electrical distribution to feed TAS Panel Boards




      Lancium Info Needed
         1. Confirm scope split
         2. Miner shelves supplied by Lancium or TAS?


                                                                                                                    D
         3. Miner SCADA footprint, conduit and cable requirements                                                       Bearbox v Lancium
                                                                                                                         Trial Exhibit
         4. Miner relative humidity envelope
                                                                                                                            TX979

                                                           6110 Cullen Blvd.| Houston, TX 77021| 713-877-8700| www.tas.com


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                                                              Appx13568
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                                                                                                             Page 2 of 2
      _____________________________________________________________________________________




         5. Plan for electrical distribution from Distribution Panel Boards all the way to the Miner
            Power Supply.
         6. Confirm fire system media – CO2 vs misting system.

      Schedule
      Initial Build – 4 x 1.6MW Boxes. 10 weeks
      5/21             Firm offering
      5/25 4D          Receive PO, Down payment
      6/8      2W      Complete Engr & Long lead POs issued
      7/13 5W          Material receipt
      7/27 2W          RTS, 2 boxes
      8/1      3D      RTS, 2 boxes

      Mass Build – 63 x 1.6MW Boxes.
      8/13          Receive PO, Down payment
      9/3    3W     Begin fabrication
      9/14 2W       Receipt of all materials
      9/24 1W+ RTS. 1 box per day
      9/24-12/24 RTS. 1 box per day (5/week). Off 2D Thanksgiving. Off 5D Christmas.

      Discussion Points
      Control Narrative – fire, miners, fans, misting system
      Maintainability – filters, misting system
      Certifications – UL, other

      Revision Tracking
      Rev 1 – filter and evap plenum top mounted; 1 MW
      Rev 2 - filter and evap plenum bottom mounted; 1 MW
      Rev 3.0 – filter and misting system bottom mounted; single box; 1.6MW. 5-8-18
      Rev 3.1 – filter and misting system bottom mounted; single box; Busway and Starline plug-in /
      stab box to TAS scope. 1.6MW. 5-9-18
      Rev 3.2 – updated Lancium questions.




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                                                    Appx13569
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             From: Jacob Magin <jacob.magin@mp2energy.com>
                To: "ian.rock@lancium.com" <ian.rock@lancium.com>, "recline@lancium.com"
                    <recline@lancium.com>, "thomas.salvatore@lancium.com"
                    <thomas.salvatore@lancium.com>, "vitor.henrique@lancium.com"
                    <vitor.henrique@lancium.com>
               Cc: MP2 Asset Operations Desk <operations@mp2energy.com>
           Subject: ADK_LD1 - Lancium.xlsx
              Date: Mon, 26 Aug 2019 11:17:36 -0500
       Importance: Normal
      Attachments: ADK_LD1_-_Lancium.xlsx




                                                                                              D
                                                                                                Bearbox v Lancium
                                                                                                 Trial Exhibit
                                                                                                    TX981


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                                              Appx13570
                  A         B        C        D        E        F        G        H        I        J        K        L         M          N     O       P         Q         R         S          T        U        V       W          X         Y         Z
            1 8/26/2019
            2 ADK_LD1                1        2        3        4        5        6        7        8        9        10        11      12      13       14        15         16         17         18        19      20      21      22     23     24
            3           Awards         0.5      0.5      0.5      0.5      0.5      0.5      0.5      0.5      0.5       0.5       0.4     0.4     0.4      0.4        0.5        0.5        0.5        0.5      0.5     0.4     0.4     0.4    0.6    0.5
            4           LMP      $   1.20 $   1.20 $   1.20 $   1.20 $   1.20 $   1.43 $   2.27 $   2.61 $   3.11 $    4.24 $    6.92 $ 12.50 $ 26.64 $ 206.23 $ 1,304.11 $ 3,512.96 $ 2,572.23 $ 1,401.08 $ 133.96 $ 21.69 $ 14.29 $ 8.46 $ 6.29 $ 3.11
                                                                                                                                                                                                                                                                      Case: 23-1922
                                                                                                                                                                                                                                                                      Document: 39-7




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                                                                                                                                                                                                                                                                      Page: 298
                                                                                                                                                                                                                                                                      Filed: 01/02/2024




                                                                                                                                                                                                                                                  LANCIUM00030955
                                                                                                                                       1                                                                                        CONFIDENTIAL - ATTORNEY'S EYES ONLY
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                                     FRANK C. McCAMANT
           PO Box 26921 • Austin, Texas 78755 • frank@mccamantconsulting.com • 512.422.4704


                       Independent consultant for the electric utilities industry

                                  PROFESSIONAL EXPERIENCE
McCAMANT CONSULTING LLC, Austin, Texas
McCamant Consulting is a business and strategy development partner for organizations involved in
energy resource management and smart grid development. Based in Austin, Texas, I help public and
private entities develop a strategic focus for their business development efforts – and translate that
strategy into action.
Relationships are important to any business, but they are crucial in the electric utility sector. I bring a
wealth of executive-level relationships and experience negotiating tough deals while crafting sound
public policy. Over the course of my 33-year career, I have tackled some of the toughest utility
management challenges on the public agenda. My results-oriented, collaborative style has won the trust
and support of stakeholders from the board room to the living room – often in highly charged
environments.
Why do public and private industry leaders turn to McCamant Consulting for business and strategy
development execution?
Two simple but powerful reasons: Relationships. Results.
Areas of Focus:
   x   Wholesale power supply PPAs
   x   ERCOT market stakeholder process/representation
   x   PUCT regulatory monitoring
   x   ERCOT market monitoring / analytics
   x   Demand Response opportunities
   x   Load Resources
   x   Power project development / off-take agreements
   x   Fuel procurement / generation operations
   x   Expert witness                                                                            TX983
(www.mccamantconsulting.com)                                                                BearBox v. Lancium
                                                                                               21-cv-00534
PROJECT EXPERIENCE
Ranch Land Partnership, South Texas, USA                                    October 2021 - Present
Subject Matter Expert, ERCOT Market
Mr. McCamant provided advisory services for an independent assessment of a proposed solar farm
development. This included securing an experienced engineering subcontractor for the detailed review.

Investor-owned Electric Utility, Missouri/Kansas, USA                  October 2021 - November 2021
Independent Assessment/Subject Matter Expert (Utilicast)
Mr. McCamant authored the Generation Operations/Fuel Procurement sections and provided overall
review of a comprehensive report assessing the client’s response to the extreme cold weather in the
region that occurred between February 10, 2021, and February 20, 2021. Utilicast's findings were


                                                 Appx13572                                             TX983.0001
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                                FRANK C. MCCAMANT • Page 4

delivered in a detailed written report addressing fuel procurement, generation, transmission and
distribution operations, market coordination, and communications.

Professional Services Organization, Maryland, USA                        September 2021 - Present
Subject Matter Expert, ERCOT Market
Mr. McCamant provided advisory services for developing opportunities for FCC regulatory
compliance offerings that service the wireless and utility industries.

Law Firm/Electric Cooperative, Texas, USA                           June 2021 - November 2021
Subject Matter Expert, ERCOT Market
Mr. McCamant was an expert rebuttal witness on the ERCOT market design and operation for a
contested power plant property tax assessment case.

Electric Cooperative, Johnson City, Texas, USA                              March 2021 – June 2021
Subject Matter Expert, Regulatory & Legislative Issues (Utilicast)
Independent Assessment: Mr. McCamant was part of an after-action process and policy review
concerning PEC’s response to the extreme cold weather in the region that occurred between February
10, 2021 and February 20, 2021. Utilicast was charged with identifying potential gaps and
opportunities in PEC’s operations during the winter event. Mr. McCamant served as the SME for
regulatory and legislative issues.
Non-profit Energy Company, New England, USA                              February 2018 – Present
Subject Matter Expert, Transmission Development, Renewables
Mr. McCamant provided advisory services for developing participation opportunities for new
transmission projects in the Texas market including PUCT and ERCOT monitoring, relationship
development, and ongoing support.
Regulatory Agency, Mexico City, Mexico                               October - November 2016
Subject Matter Expert, Demand Response (Utilicast)
Mr. McCamant provided a comprehensive report and recommendations for future implementation of
demand response in Mexico’s energy market.
Utilicast, Consultant                                                           October 2016 – Present
Subject Matter Expert
Utilicast is more than just a consulting company. We provide our customers in the energy industry with
an expert level of service that brings results from both a Business Practices and Information
Technology perspective. Our ability to provide customized software development, data knowledge,
project management and deep business acumen helps Utilicast clients meet their goals on time and on
budget. Headquartered in Seattle, Washington. (http://www.utilicast.com)
Telecommunications Network Company, Raleigh, NC, USA                                       May 2015
Subject Matter Expert
Mr. McCamant provided research and a presentation on the characteristics and potential growth of
energy storage resources.
Electric Cooperative, Bandera, Texas, USA                                  March 2014 – Present
Subject Matter Expert, Wholesale power supply, Demand Response, Smart Grid, Distributed Energy
                Resources
Mr. McCamant provided advisory and support services for wholesale power supply PPAs, ERCOT
market stakeholder process/representation, PUCT monitoring, ERCOT market monitoring / analytics,
and demand response opportunities.
                                               Appx13573                                           TX983.0002
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                                FRANK C. MCCAMANT • Page 3

Crescent Power, Inc., Austin, TX, USA                                          October 2013 – Present
VP, Asset Development
Mr. McCamant was part of a strategic consulting alliance that provided advisory and marketing
support services for power project development clients and related off-take agreements, PUCT
monitoring, and ERCOT market monitoring and analytics.
Consert, Inc., San Antonio, TX, USA                                    October 2011 – February 2013
Board Director
Consert Inc. is a thought and action leader in the design and implementation of intelligent energy
distribution and load management. Consert converts electric consumption in homes and small businesses
into cost-effective, clean sources of capacity and energy reserves for utilities. The Consert load
management solution is based on real-time, wireless technology which allows participants to conserve
energy using a web-based, home area network. Consert utilizes the Verizon Wireless network to provide
real-time communication to the Consert data center. This highly secure network delivers fast data speeds
and increased efficiencies for utilities.
Municipal Electric Utility, San Marcos, TX, USA                             August 2011 – Present
Subject Matter Expert, Wholesale power supply, Distributed Energy Resources
Mr. McCamant provided advisory and support services for wholesale power supply PPAs, ERCOT
market stakeholder process/representation, PUCT monitoring, and ERCOT market monitoring /
analytics.
Smart Grid Company, Raleigh, NC/ San Antonio, TX, USA            November 2009 – September 2014
Subject Matter Expert, Marketing
Mr. McCamant provided advisory and marketing support services for demand response development
for Smart Grid applications and related resource agreements, PUCT monitoring, ERCOT market
monitoring and analytics.
Independent Project Developer, Houston, TX, USA                            July 2009 – June 2013
Subject Matter Expert, Marketing
Mr. McCamant provided advisory and marketing support services for power project development and
related off-take agreements, PUCT monitoring, ERCOT market monitoring and analytics.
Small Consulting Company, Austin, TX, USA                               May 2009 – October 2009
Subject Matter Expert
Mr. McCamant provided advisory and support services for energy efficiency/demand response
projects.
Regional Engineering Firm, Austin, TX, USA                        October 2008 – November 2010
Subject Matter Expert, Marketing
Mr. McCamant provided advisory and marketing support services for a pumped storage project
development and related off-take agreements, PUCT monitoring, ERCOT market monitoring and
analytics.
Electric Cooperative, Bastrop, Texas, USA                             September 2008 – Present
Subject Matter Expert, Wholesale power supply, Demand Response, Smart Grid, Distributed Energy
                Resources
Mr. McCamant provided advisory and support services for wholesale power supply PPAs, ERCOT
market stakeholder process/representation, PUCT monitoring, ERCOT market monitoring / analytics,
demand response opportunities, and Load Resources.


                                               Appx13574                                            TX983.0003
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Lower Colorado River Authority, Austin, TX, USA                             May 1978 – September 2008
Executive Management, Business Development, Strategic Planning, Fuels Development
Business Development: Led efforts to successfully develop, negotiate, and implement major electric
generation, electric transmission, and water utility development agreements. Led efforts to successfully
establish public input and collaboration processes on controversial utility projects. Researched and
established key external relationships and alliances.
Strategic Planning: Monitored high-level policy issues across the company and helped establish
processes to resolve key issues at the board level. Established a corporate-level strategic planning
process with senior management and board of directors. Developed strategic generation fuel portfolio
to forecast and manage pricing structure and risk that resulted in lowest cost fuel in Texas; enabled
company to gain competitive edge. Developed proposal and led initial effort to evaluate the viability of
multi-million dollar acquisition partnership.
Financial Planning: Executive level steering committee that provided in-depth review and approval of
financial policy, capital spending and long-term planning. Implemented and administered a capital
budget process for diverse business units.
Administered multi-million dollar engineering/construction projects that consistently met timelines and
budget constraints. Re-evaluated major gas storage project to determine validity of continuing the
project; made immediate significant change to return the project to financial viability. Negotiated rail
transportation contracts for fuel supplies that reduced cost by 33%.
Business Management: Utilized knowledge of contract law and mediation in the negotiation and
administration of multi-million dollar contracts. Highly skilled in accurately defining problems and
formulating collaborative teams to resolve issues. Restructured customer/community relations function
implementing a regional representative plan that has proven successful in developing relationships and
enhancing the company's image.
Electric Deregulation: Initiated and chaired a national coalition (Large Public Power Council) task
force focused on responding to federal/state policy issues relating to the restructuring of the electric
utility industry. Monitored electric industry restructuring and lead the development of strategic,
operational, and legislative action plans.

OTHER EXPERIENCE
Electric Utility, Austin, TX, USA                                         December 1977 – May 1978
Staff Engineer
Provided engineering support for the construction of a large jointly-owned Western coal power plant.

EDUCATION
University of Texas at Austin, TX                                                     Executive MBA
With honors, international studies in London.
University of Texas at Austin, TX                                               B.S. Civil Engineering
With honors, Beta Sigma Gamma, Phi Kappa Phi.

SKILLS AND EXPERTISE
Smart Grid, Project Management, Vendor Management, Customer management, Power Marketing,
Business Design, Market Design, Microsoft Office, Data Analysis, Energy Markets, Electricity
Markets, Electric Power, Process Improvement, FERC, Energy Management, Program Management,
Smart Metering, Power Systems, Business Process, Strategy, Project Planning, Power Generation,

                                                Appx13575                                           TX983.0004
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                               FRANK C. MCCAMANT • Page 3

Engineering, Energy Policy, Energy Industry, Energy, Demand Response, Business Process
Improvement, Integration

CERTIFICATIONS
Registered Professional Engineer • State of Texas • No. 51967

LANGUAGES
Native English and Basic German

APPOINTMENTS & HONORS
President/Chair –    Arc of the Capital Area Board of Directors (past)
                     Texas Council on Autism & Pervasive Developmental Disorders (past)
Board Member –       Hope Chapel (past)
                     Metropolitan Board of the Austin YMCA (past)
                     Western Coal Traffic League Executive Board (past)
Member –             Large Public Power Council - Electric Restructuring Task Force (past Chair)
Honor Societies –     Beta Sigma Gamma

HOBBIES
Fly Fishing, Upland Hunting, Ranching, Photography, Music, and Traveling




                                           Appx13576                                          TX983.0005
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Begin Bates      LANCIUM00032627
End Bates        LANCIUM00032627
Pages            1
BeginFamily      LANCIUM00032627
EndFamily        LANCIUM00032627
Family Range     LANCIUM00032627 - LANCIUM00032627
Parent Id
AttachBates
File Extension   xlsx
File Size        92137
MD5 Hash         05706b8459edcd238cb6694b2e091350
Date Modified
Date Created     5/9/2019 16:28
Author
Filename         exelon4_modeling_05092019 (1).xlsx
Time Received
Date Received
Date Sent
Time Sent
From
To
Cc
Bcc
Custodian        Raymond Cline Jr
Message Id
Subject
                 Cline Extracted User Files.zip.zip//Extracted User
                 Files/Users/recli/Downloads/exelon4_modeling_05092019
File Path        (1).xlsx
TextPath         text\0001\LANCIUM00032627.txt

NativePath       natives\0001\LANCIUM00032627_CONFIDENTIAL.xlsx




                                                                         TX984
                                                                   BearBox v. Lancium
                                                                      21-cv-00534


                               Appx13577                                       TX984.0001
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      A           B                C                  D             E              F                   G              H           I              J               K              L
1 BTC_price block_height breakeven_mining_cost datetime     day_ahead_LMP day_ahead_LMP_rev est_network_hashrate mining_rev network_diff real_time_LMP real_time_LMP_rev realized_rev
2   5698.24       574867             0.0883609 5/6/1911:37       0.0292715         0.9056602         4.81358E+13 2.6928794 6.70217E+12        0.0283682         0.8777121 2.6928794
3    5704.01     574867            0.0884504   5/6/1911:42    0.0292715          0.9056602          4.81358E+13   2.6956062   6.70217E+12    0.0256247         0.7928282 2.6956062
4    5721.16     574868            0.0878003   5/6/1911:47    0.0292715          0.9056602          4.86381E+13   2.6757929   6.70217E+12    0.0266466         0.8244458 2.6757929
5    5712.77     574868            0.0876715   5/6/1911:52    0.0292715          0.9056602          4.86381E+13   2.6718689   6.70217E+12    0.0294184         0.9102053 2.6718689
6    5702.98     574868            0.0875213   5/6/1911:57    0.0292715          0.9056602          4.86381E+13   2.6672901   6.70217E+12    0.2156316         6.6716417 6.6716417
7    5711.53     574868            0.0876525   5/6/1912:02    0.0319112          0.9873325          4.86381E+13    2.671289   6.70217E+12    0.4257598        13.1730082 13.1730082
8    5719.99     574868            0.0877823   5/6/1912:08    0.0319112          0.9873325          4.86381E+13   2.6752457   6.70217E+12    0.2947237         9.1187513 9.1187513
 9   5711.93     574869            0.0870193   5/6/1912:13    0.0319112          0.9873325          4.89954E+13   2.6519913   6.70217E+12    0.1560219         4.8273176 4.8273176
10   5708.01     574871            0.0868646   5/6/1912:18    0.0319112          0.9873325           4.9049E+13   2.6472769   6.70217E+12    0.0253548         0.7844775 2.6472769
11    5701.9     574871            0.0867716   5/6/1912:23    0.0319112          0.9873325           4.9049E+13   2.6444432   6.70217E+12     0.027036         0.8364938 2.6444432
12   5698.51     574871              0.08672   5/6/1912:28    0.0319112          0.9873325           4.9049E+13    2.642871   6.70217E+12     0.026636         0.8241178   2.642871
13   5705.99     574875            0.0875317   5/6/1913:07    0.0316965          0.9806897          4.86579E+13   2.6676082   6.70217E+12    0.0297482         0.9204093 2.6676082
14   5706.72     574875            0.0875429   5/6/1913:11    0.0316965          0.9806897          4.86579E+13   2.6679495   6.70217E+12    0.0283545         0.8772882 2.6679495
15   5702.01     574875            0.0874707   5/6/1913:16    0.0316965          0.9806897          4.86579E+13   2.6657475   6.70217E+12    0.0263671         0.8157981 2.6657475
16   5703.44     574876            0.0881359   5/6/1913:21    0.0316965          0.9806897          4.83028E+13   2.6860221   6.70217E+12     0.027458         0.8495505 2.6860221
17   5705.99     574876            0.0881753   5/6/1913:26    0.0316965          0.9806897          4.83028E+13    2.687223   6.70217E+12    0.0295297         0.9136489   2.687223
18   5706.85     574876            0.0881886   5/6/1913:31    0.0316965          0.9806897          4.83028E+13    2.687628   6.70217E+12     0.029437         0.9107808   2.687628
19   5726.52     574876            0.0884926   5/6/1913:36    0.0316965          0.9806897          4.83028E+13   2.6968915   6.70217E+12    0.0294468          0.911084 2.6968915
20   5727.41     574876            0.0885064   5/6/1913:41    0.0316965          0.9806897          4.83028E+13   2.6973107   6.70217E+12    0.0291977         0.9033768 2.6973107
21   5742.95     574876            0.0887465   5/6/1913:46    0.0316965          0.9806897          4.83028E+13   2.7046292   6.70217E+12    0.0461903         1.4291279 2.7046292
22   5734.03     574876            0.0886086   5/6/1913:51    0.0316965          0.9806897          4.83028E+13   2.7004284   6.70217E+12    0.0300478         0.9296789 2.7004284
23   5731.45     574876            0.0885688   5/6/1913:56    0.0316965          0.9806897          4.83028E+13   2.6992133   6.70217E+12     0.023358         0.7226965 2.6992133
24   5739.99     574877            0.0901743   5/6/1914:01    0.0292446          0.9048279          4.75135E+13   2.7481417   6.70217E+12    0.0252541         0.7813619 2.7481417
25    5749.1     574877            0.0903174   5/6/1914:06    0.0292446          0.9048279          4.75135E+13   2.7525033   6.70217E+12     0.022385         0.6925919 2.7525033
26   5732.99     574877            0.0900643   5/6/1914:11    0.0292446          0.9048279          4.75135E+13   2.7447903   6.70217E+12    0.0278815         0.8626536 2.7447903
27   5722.65     574878            0.0904991   5/6/1914:16    0.0292446          0.9048279          4.71999E+13   2.7580421   6.70217E+12    0.0276273         0.8547887 2.7580421
28   5719.43     574878            0.0904482   5/6/1914:21    0.0292446          0.9048279          4.71999E+13   2.7564902   6.70217E+12    0.0401146         1.2411457 2.7564902
29   5727.52     574878            0.0905761   5/6/1914:26    0.0292446          0.9048279          4.71999E+13   2.7603892   6.70217E+12    0.0357633         1.1065165 2.7603892
30   5719.12     574878            0.0904433   5/6/1914:31    0.0292446          0.9048279          4.71999E+13   2.7563408   6.70217E+12    0.0216376         0.6694673 2.7563408
31   5720.06     574880            0.0904384   5/6/1914:37    0.0292446          0.9048279          4.72102E+13   2.7561911   6.70217E+12    0.0206897         0.6401393 2.7561911
32   5730.64     574880            0.0906057   5/6/1914:42    0.0292446          0.9048279          4.72102E+13   2.7612891   6.70217E+12    0.0212322         0.6569243 2.7612891
33   5734.69     574880            0.0906697   5/6/1914:47    0.0292446          0.9048279          4.72102E+13   2.7632406   6.70217E+12    0.0214839         0.6647119 2.7632406
34   5739.31     574881             0.090775   5/6/1914:52    0.0292446          0.9048279          4.71935E+13   2.7664494   6.70217E+12    0.0212921         0.6587776 2.7664494
35   5736.72     574882            0.0910352   5/6/1914:57    0.0292446          0.9048279          4.70373E+13   2.7743811   6.70217E+12     0.020696         0.6403342 2.7743811
36   5741.99     574883            0.0905084   5/6/1915:02    0.0212846          0.6585455          4.73545E+13   2.7583257   6.70217E+12    0.0203623         0.6300096 2.7583257
37   5733.24     574885            0.0890821   5/6/1915:07    0.0212846          0.6585455          4.80395E+13   2.7148565   6.70217E+12    0.0198016         0.6126615 2.7148565
38   5724.73     574886            0.0885552   5/6/1915:12    0.0212846          0.6585455          4.82535E+13   2.6988006   6.70217E+12    0.0190006         0.5878786 2.6988006
39   5709.73     574886            0.0883232   5/6/1915:17    0.0212846          0.6585455          4.82535E+13   2.6917292   6.70217E+12    0.0184907         0.5721023 2.6917292
40   5678.11     574887             0.088385   5/6/1915:22    0.0212846          0.6585455          4.79528E+13   2.6936119   6.70217E+12     0.023136         0.7158278 2.6936119
41   5683.73     574888            0.0873487   5/6/1915:27    0.0212846          0.6585455          4.85697E+13   2.6620299   6.70217E+12    0.0165815         0.5130316 2.6620299
42   5681.84     574891            0.0832705   5/6/1915:32    0.0212846          0.6585455          5.09315E+13   2.5377429   6.70217E+12    0.0157946         0.4886849 2.5377429
43   5697.16     574891             0.083495   5/6/1915:37    0.0212846          0.6585455          5.09315E+13   2.5445855   6.70217E+12    0.0722406         2.2351242 2.5445855
44   5684.36     574892            0.0835678   5/6/1915:42    0.0212846          0.6585455          5.07728E+13   2.5468044   6.70217E+12     0.025128         0.7774603 2.5468044
45   5683.95     574894            0.0819393   5/6/1915:47    0.0212846          0.6585455          5.17781E+13   2.4971743   6.70217E+12    0.0141482         0.4377453 2.4971743
46   5700.28     574894            0.0821747   5/6/1915:52    0.0212846          0.6585455          5.17781E+13   2.5043487   6.70217E+12    0.0158794         0.4913086 2.5043487
47   5700.01     574895            0.0825354   5/6/1915:57    0.0212846          0.6585455          5.15494E+13    2.515341   6.70217E+12    0.0142467         0.4407929   2.515341
48   5696.94     574897            0.0824036   5/6/1916:02    0.0282033          0.8726101          5.16041E+13   2.5113225   6.70217E+12    0.0193804         0.5996296 2.5113225
49   5700.76     574897            0.0824588   5/6/1916:07    0.0282033          0.8726101          5.16041E+13   2.5130065   6.70217E+12    0.0145181           0.44919 2.5130065
50   5684.53     574897            0.0822241   5/6/1916:12    0.0282033          0.8726101          5.16041E+13    2.505852   6.70217E+12    0.0157287          0.486646   2.505852
51   5689.74     574897            0.0822994   5/6/1916:18    0.0282033          0.8726101          5.16041E+13   2.5081486   6.70217E+12    0.0162324         0.5022305 2.5081486
52   5682.26     574897            0.0821912   5/6/1916:23    0.0282033          0.8726101          5.16041E+13   2.5048513   6.70217E+12    0.0157041         0.4858849 2.5048513
53   5686.59     574898            0.0828228   5/6/1916:28    0.0282033          0.8726101          5.12496E+13   2.5240987   6.70217E+12    0.0148626         0.4598488 2.5240987
54   5681.45     574899            0.0829971   5/6/1916:33    0.0282033          0.8726101          5.10957E+13   2.5294123   6.70217E+12    0.0141661         0.4382991 2.5294123
55   5684.86     574899            0.0830469   5/6/1916:38    0.0282033          0.8726101          5.10957E+13   2.5309305   6.70217E+12    0.0039202          0.121291 2.5309305
56    5679.5     574899            0.0829686   5/6/1916:43    0.0282033          0.8726101          5.10957E+13   2.5285442   6.70217E+12    0.0059038         0.1826636 2.5285442
57   5681.53     574901            0.0836257   5/6/1916:48    0.0282033          0.8726101          5.07124E+13   2.5485671   6.70217E+12    0.0056964         0.1762466 2.5485671
58   5689.99     574902            0.0837969   5/6/1916:53    0.0282033          0.8726101          5.06841E+13   2.5537859   6.70217E+12    0.0098804         0.3056996 2.5537859
59   5691.01     574903            0.0831196   5/6/1916:58    0.0282033          0.8726101          5.11063E+13   2.5331438   6.70217E+12    0.0072672         0.2248472 2.5331438
60   5699.02     574904            0.0827156   5/6/1917:03    0.0245371          0.7591779          5.14281E+13   2.5208339   6.70217E+12    0.0100674         0.3114854 2.5208339
61   5700.57     574905            0.0827554   5/6/1917:08    0.0245371          0.7591779          5.14174E+13   2.5220451   6.70217E+12    0.0086099         0.2663903 2.5220451
62   5695.51     574906            0.0812506   5/6/1917:13    0.0245371          0.7591779          5.23232E+13   2.4761856   6.70217E+12    0.0053846         0.1665995 2.4761856
63    5694.8     574907            0.0809439   5/6/1917:18    0.0245371          0.7591779          5.25149E+13   2.4668388   6.70217E+12    0.0017196         0.0532044 2.4668388
64   5695.29     574907            0.0809509   5/6/1917:23    0.0245371          0.7591779          5.25149E+13    2.467051   6.70217E+12    0.0048459         0.1499321   2.467051
65   5711.94     574907            0.0811875   5/6/1917:28    0.0245371          0.7591779          5.25149E+13   2.4742634   6.70217E+12    0.0072046         0.2229103 2.4742634
66   5717.52     574908            0.0815164   5/6/1917:33    0.0245371          0.7591779          5.23541E+13   2.4842862   6.70217E+12    0.0173188         0.5358437 2.4842862
67   5717.19     574908            0.0815117   5/6/1917:38    0.0245371          0.7591779          5.23541E+13   2.4841428   6.70217E+12    0.0107967         0.3340499 2.4841428
68   5709.94     574908            0.0814083   5/6/1917:43    0.0245371          0.7591779          5.23541E+13   2.4809927   6.70217E+12    0.0175668         0.5435168 2.4809927
69   5706.05     574908            0.0813529   5/6/1917:48    0.0245371          0.7591779          5.23541E+13   2.4793025   6.70217E+12    0.0040943         0.1266776 2.4793025
70   5698.01     574909            0.0821371   5/6/1917:53    0.0245371          0.7591779          5.17812E+13   2.5032013   6.70217E+12    0.0062052         0.1919889 2.5032013
71   5704.79     574909            0.0822348   5/6/1917:59    0.0245371          0.7591779          5.17812E+13   2.5061798   6.70217E+12    0.0060673         0.1877223 2.5061798
72   5706.81     574909            0.0822639   5/6/1918:04    0.0188872            0.58437          5.17812E+13   2.5070672   6.70217E+12     0.004964         0.1535862 2.5070672
73   5699.44     574910            0.0819668   5/6/1918:09    0.0188872            0.58437          5.19018E+13   2.4980119   6.70217E+12    0.0096617          0.298933 2.4980119
74   5697.53     574910            0.0819393   5/6/1918:14    0.0188872            0.58437          5.19018E+13   2.4971748   6.70217E+12    0.0094749         0.2931534 2.4971748
75   5693.01     574910            0.0818743   5/6/1918:19    0.0188872            0.58437          5.19018E+13   2.4951937   6.70217E+12    0.0097717         0.3023364 2.4951937
76   5693.01     574910            0.0818743   5/6/1918:24    0.0188872            0.58437          5.19018E+13   2.4951937   6.70217E+12    0.0113155         0.3501016 2.4951937
77   5693.94     574911            0.0828462   5/6/1918:29    0.0188872            0.58437          5.13013E+13   2.5248113   6.70217E+12   Ͳ0.0060949        Ͳ0.1885762 2.5248113
78   5699.57     574911            0.0829281   5/6/1918:34    0.0188872            0.58437          5.13013E+13   2.5273078   6.70217E+12    0.0003233         0.0100029 2.5273078
79   5698.15     574912            0.0833531   5/6/1918:39    0.0188872            0.58437           5.1027E+13    2.540262   6.70217E+12    0.0028852         0.0892681   2.540262
80   5693.81     574913            0.0834471   5/6/1918:44    0.0188872            0.58437          5.09307E+13   2.5431267   6.70217E+12    0.0066411         0.2054756 2.5431267
81   5686.01     574914            0.0818977   5/6/1918:49    0.0188872            0.58437          5.18232E+13   2.4959076   6.70217E+12    0.0059357         0.1836506 2.4959076
82   5685.94     574915            0.0814507   5/6/1918:54    0.0188872            0.58437          5.21069E+13   2.4822846   6.70217E+12   Ͳ0.0011344        Ͳ0.0350983 2.4822846
83    5683.4     574915            0.0814144   5/6/1918:59    0.0188872            0.58437          5.21069E+13   2.4811757   6.70217E+12    0.0001905         0.0058941 2.4811757
84   5694.85     574915            0.0815784   5/6/1919:04    0.0193163          0.5976463          5.21069E+13   2.4861744   6.70217E+12    0.0002833         0.0087653 2.4861744
85   5721.14     574915             0.081955   5/6/1919:09    0.0193163          0.5976463          5.21069E+13   2.4976517   6.70217E+12    0.0025406         0.0786062 2.4976517
86   5732.53     574915            0.0821181   5/6/1919:14    0.0193163          0.5976463          5.21069E+13   2.5026242   6.70217E+12    0.0016449         0.0508932 2.5026242
87   5732.74     574915            0.0821211   5/6/1919:19    0.0193163          0.5976463          5.21069E+13   2.5027159   6.70217E+12    0.0041178         0.1274047 2.5027159
88    5730.2     574915            0.0820848   5/6/1919:24    0.0193163          0.5976463          5.21069E+13    2.501607   6.70217E+12    Ͳ0.000019        Ͳ0.0005879   2.501607
89   5737.27     574915             0.082186   5/6/1919:29    0.0193163          0.5976463          5.21069E+13   2.5046935   6.70217E+12   Ͳ0.0002028        Ͳ0.0062746 2.5046935
90   5731.74     574915            0.0821068   5/6/1919:34    0.0193163          0.5976463          5.21069E+13   2.5022793   6.70217E+12    0.0002309          0.007144 2.5022793
91   5727.94     574915            0.0820524   5/6/1919:40    0.0193163          0.5976463          5.21069E+13   2.5006204   6.70217E+12    0.0130869         0.4049087 2.5006204
92   5741.23     574915            0.0822428   5/6/1919:45    0.0193163          0.5976463          5.21069E+13   2.5064223   6.70217E+12    0.0122933         0.3803547 2.5064223
93   5740.52     574915            0.0822326   5/6/1919:50    0.0193163          0.5976463          5.21069E+13   2.5061123   6.70217E+12    0.0089193         0.2759631 2.5061123
94   5749.19     574916              0.08668   5/6/1919:55    0.0193163          0.5976463           4.9508E+13   2.6416525   6.70217E+12    0.0021355         0.0660724 2.6416525

                                                                               Appx13578                                                                                TX984.0002
                         Case: 23-1922                     Document: 39-7            Page: 306              Filed: 01/02/2024

       A        B           C                   D            E           F             G                H            I           J          K               L
95    5745.01   574916           0.086617   5/6/1920:00    0.0241251    0.7464306      4.9508E+13   2.6397319   6.70217E+12    Ͳ0.001813   Ͳ0.0560942   2.6397319
96    5763.99   574916          0.0869032   5/6/1920:05    0.0241251    0.7464306      4.9508E+13   2.6484528   6.70217E+12   Ͳ0.0003708   Ͳ0.0114726   2.6484528
97    5769.68   574916           0.086989   5/6/1920:10    0.0241251    0.7464306      4.9508E+13   2.6510673   6.70217E+12    0.0062241    0.1925737   2.6510673
98    5769.14   574917          0.0882187   5/6/1920:15    0.0241251    0.7464306     4.88133E+13   2.6885453   6.70217E+12    0.0116013    0.3589442   2.6885453
99    5755.39   574917          0.0880085   5/6/1920:20    0.0241251    0.7464306     4.88133E+13   2.6821375   6.70217E+12    0.0009813    0.0303614   2.6821375
100    5754.1   574917          0.0879887   5/6/1920:25    0.0241251    0.7464306     4.88133E+13   2.6815363   6.70217E+12   Ͳ0.0161407   Ͳ0.4993933   2.6815363
101    5771.1   574917          0.0882487   5/6/1920:30    0.0241251    0.7464306     4.88133E+13   2.6894587   6.70217E+12   Ͳ0.0174708   Ͳ0.5405466   2.6894587
102   5764.05   574918          0.0890788   5/6/1920:35    0.0241251    0.7464306     4.82994E+13    2.714756   6.70217E+12   Ͳ0.0175085    Ͳ0.541713    2.714756
103    5752.2   574918          0.0888956   5/6/1920:40    0.0241251    0.7464306     4.82994E+13   2.7091749   6.70217E+12   Ͳ0.0038463   Ͳ0.1190045   2.7091749
104   5755.49   574918          0.0889465   5/6/1920:45    0.0241251    0.7464306     4.82994E+13   2.7107244   6.70217E+12   Ͳ0.0004318   Ͳ0.0133599   2.7107244
105   5762.02   574919          0.0902091   5/6/1920:50    0.0241251    0.7464306     4.76774E+13   2.7492027   6.70217E+12    0.0004104    0.0126978   2.7492027
106    5760.7   574919          0.0901884   5/6/1920:55    0.0241251    0.7464306     4.76774E+13   2.7485729   6.70217E+12   Ͳ0.0009508   Ͳ0.0294178   2.7485729
107   5762.49                   0.0902164   5/6/1921:02    0.0175071    0.5416697     4.76774E+13    2.749427                  0.0007073    0.0218839    2.749427
108   5774.99   574920          0.1001885   5/6/1921:19    0.0175071    0.5242793     4.74463E+13   2.9553058   6.70217E+12   Ͳ0.0013119    Ͳ0.039287   2.9553058
109   5844.99   574922          0.1031216   5/6/1921:44    0.0175071    0.5242793     4.66555E+13   3.0418256   6.70217E+12   Ͳ0.0118157   Ͳ0.3538408   3.0418256
110   5844.99   574922          0.1031216   5/6/1921:44    0.0175071    0.5242793     4.66555E+13   3.0418256   6.70217E+12   Ͳ0.0118157   Ͳ0.3538408   3.0418256
111   5844.99   574922          0.1031216   5/6/1921:45    0.0175071    0.5242793     4.66555E+13   3.0418256   6.70217E+12   Ͳ0.0118157   Ͳ0.3538408   3.0418256
112   5844.99   574922          0.1031216   5/6/1921:45    0.0175071    0.5242793     4.66555E+13   3.0418256   6.70217E+12   Ͳ0.0118157   Ͳ0.3538408   3.0418256
113   5843.89   574923          0.1041911   5/6/1921:52    0.0175071    0.5242793     4.61679E+13   3.0733748   6.70217E+12    0.0001052    0.0031504   3.0733748
114   5889.14   574923          0.1049979   5/6/1921:57    0.0175071    0.5242793     4.61679E+13   3.0971724   6.70217E+12    0.0047856    0.1433128   3.0971724
115   5938.96   574925          0.1060149   5/6/1922:02    0.0137884    0.4129166     4.61118E+13   3.1271721   6.70217E+12    0.0012328    0.0369183   3.1271721
116   5924.06   574925           0.105749   5/6/1922:07    0.0137884    0.4129166     4.61118E+13   3.1193265   6.70217E+12   Ͳ0.0183554    Ͳ0.549683   3.1193265
117    5904.4   574925           0.105398   5/6/1922:15    0.0137884    0.4129166     4.61118E+13   3.1089744   6.70217E+12   Ͳ0.0038279   Ͳ0.1146328   3.1089744
118    5904.4   574925           0.105398   5/6/1922:16    0.0137884    0.4129166     4.61118E+13   3.1089744   6.70217E+12   Ͳ0.0038279   Ͳ0.1146328   3.1089744
119   5906.55   574925          0.1054364   5/6/1922:16    0.0137884    0.4129166     4.61118E+13   3.1101065   6.70217E+12   Ͳ0.0038279   Ͳ0.1146328   3.1101065
120   5906.55   574925          0.1054364   5/6/1922:16    0.0137884    0.4129166     4.61118E+13   3.1101065   6.70217E+12   Ͳ0.0038279   Ͳ0.1146328   3.1101065
121   5906.55   574925          0.1054364   5/6/1922:16    0.0137884    0.4129166     4.61118E+13   3.1101065   6.70217E+12   Ͳ0.0038279   Ͳ0.1146328   3.1101065
122   5906.55   574925          0.1054364   5/6/1922:16    0.0137884    0.4129166     4.61118E+13   3.1101065   6.70217E+12   Ͳ0.0038279   Ͳ0.1146328   3.1101065
123   5900.68   574927          0.1057464   5/6/1922:23    0.0137884    0.4129166     4.59309E+13    3.119251   6.70217E+12    0.0035913    0.1075475    3.119251
124   5904.02   574929          0.1030516   5/6/1922:30    0.0137884    0.4129166     4.71587E+13   3.0397615   6.70217E+12   Ͳ0.0015977   Ͳ0.0478458   3.0397615
125   5904.02   574929          0.1030516   5/6/1922:30    0.0137884    0.4129166     4.71587E+13   3.0397615   6.70217E+12   Ͳ0.0015977   Ͳ0.0478458   3.0397615
126    5898.4   574930          0.1031447   5/6/1922:35    0.0137884    0.4129166     4.70713E+13   3.0425064   6.70217E+12   Ͳ0.0289922   Ͳ0.8682197   3.0425064
127   5893.05   574930          0.1030511   5/6/1922:37    0.0137884    0.4129166     4.70713E+13   3.0397468   6.70217E+12   Ͳ0.0289922   Ͳ0.8682197   3.0397468
128   5897.36   574930          0.1031265   5/6/1922:42    0.0137884    0.4129166     4.70713E+13     3.04197   6.70217E+12   Ͳ0.0236925   Ͳ0.7095114     3.04197
129   5899.22   574931          0.1032757   5/6/1922:47    0.0137884    0.4129166     4.70181E+13    3.046371   6.70217E+12   Ͳ0.0155618    Ͳ0.466024    3.046371
130    5901.5   574931          0.1033156   5/6/1922:52    0.0137884    0.4129166     4.70181E+13   3.0475484   6.70217E+12   Ͳ0.0215767   Ͳ0.6461502   3.0475484
131   5895.01   574932          0.1028817   5/6/1922:57    0.0137884    0.4129166     4.71645E+13   3.0347496   6.70217E+12   Ͳ0.0188905   Ͳ0.5657075   3.0347496
132   5882.85   574943          0.1003326    5/7/190:02    0.0098383    0.2946243      4.8263E+13   2.9595589   6.70217E+12    Ͳ0.002652   Ͳ0.0794186   2.9595589
133   5891.99   574943          0.1004885    5/7/190:07    0.0098383    0.2946243      4.8263E+13   2.9641571   6.70217E+12    0.0003922    0.0117451   2.9641571
134    5896.7   574944          0.1020246    5/7/190:12    0.0098383    0.2946243     4.75743E+13   3.0094662   6.70217E+12    0.0109642    0.3283412   3.0094662
135   5903.84   574944          0.1021481    5/7/190:17    0.0098383    0.2946243     4.75743E+13   3.0131102   6.70217E+12    0.0001877     0.005621   3.0131102
136   5911.06   574944           0.102273    5/7/190:22    0.0098383    0.2946243     4.75743E+13   3.0167951   6.70217E+12   Ͳ0.0190565   Ͳ0.5706787   3.0167951
137   5885.39   574945          0.1028414    5/7/190:27    0.0098383    0.2946243     4.71059E+13   3.0335618   6.70217E+12    Ͳ0.005721   Ͳ0.1713249   3.0335618
138   5895.99   574945          0.1030267    5/7/190:32    0.0098383    0.2946243     4.71059E+13   3.0390254   6.70217E+12     0.005387    0.1613227   3.0390254
139   5897.07   574945          0.1030455    5/7/190:37    0.0098383    0.2946243     4.71059E+13   3.0395821   6.70217E+12    0.0090961    0.2723979   3.0395821
140   5898.51   574945          0.1030707    5/7/190:42    0.0098383    0.2946243     4.71059E+13   3.0403243   6.70217E+12    0.0000416    0.0012458   3.0403243
141   5901.99   574945          0.1031315    5/7/190:47    0.0098383    0.2946243     4.71059E+13   3.0421181   6.70217E+12    0.0002217    0.0066392   3.0421181
142   5889.59   574946          0.1043197    5/7/190:52    0.0098383    0.2946243     4.64716E+13   3.0771656   6.70217E+12   Ͳ0.0026672   Ͳ0.0798737   3.0771656
143   5889.01   574947          0.1040736    5/7/190:57    0.0098383    0.2946243     4.65768E+13   3.0699085   6.70217E+12   Ͳ0.0003307   Ͳ0.0099034   3.0699085
144   5877.69   574947          0.1038736    5/7/191:02    0.0105202    0.3150449     4.65768E+13   3.0640074   6.70217E+12   Ͳ0.0003011   Ͳ0.0090169   3.0640074
145   5889.43   574948          0.1042298    5/7/191:07    0.0105202    0.3150449     4.65104E+13   3.0745154   6.70217E+12   Ͳ0.0001362   Ͳ0.0040787   3.0745154
146   5887.99   574948          0.1042043    5/7/191:12    0.0105202    0.3150449     4.65104E+13   3.0737637   6.70217E+12    0.0091898    0.2752039   3.0737637
147    5867.4   574948          0.1038399    5/7/191:17    0.0105202    0.3150449     4.65104E+13   3.0630149   6.70217E+12    0.0091883     0.275159   3.0630149
148   5883.85   574950          0.1044213    5/7/191:22    0.0105202    0.3150449     4.63811E+13   3.0801634   6.70217E+12    0.0098517    0.2950256   3.0801634
149   5871.24   574950          0.1041975    5/7/191:27    0.0105202    0.3150449     4.63811E+13   3.0735621   6.70217E+12    0.0110652    0.3313659   3.0735621
150   5870.35   574950          0.1041817    5/7/191:32    0.0105202    0.3150449     4.63811E+13   3.0730962   6.70217E+12    0.0117356    0.3514421   3.0730962
151   5880.51   574950           0.104362    5/7/191:37    0.0105202    0.3150449     4.63811E+13   3.0784149   6.70217E+12    0.0114298    0.3422844   3.0784149
152   5887.56   574951          0.1056193    5/7/191:42    0.0105202    0.3150449     4.58839E+13   3.1155019   6.70217E+12    0.0158031    0.4732502   3.1155019
153   5888.94   574951          0.1056441    5/7/191:47    0.0105202    0.3150449     4.58839E+13   3.1162321   6.70217E+12    0.0139082    0.4165042   3.1162321
154   5890.07   574951          0.1056643    5/7/191:52    0.0105202    0.3150449     4.58839E+13   3.1168301   6.70217E+12    0.0141407    0.4234668   3.1168301
155   5887.93   574952          0.1061226    5/7/191:57    0.0105202    0.3150449     4.56692E+13   3.1303483   6.70217E+12    0.0129154    0.3867732   3.1303483
156   5879.77   574953          0.1056897    5/7/192:02     0.011378    0.3407332     4.57927E+13    3.117579   6.70217E+12    0.0142018    0.4252966    3.117579
157   5880.52   574954          0.1043159    5/7/192:07     0.011378    0.3407332     4.64017E+13   3.0770561   6.70217E+12    0.0139436    0.4175643   3.0770561
158   5875.01   574954          0.1042182    5/7/192:12     0.011378    0.3407332     4.64017E+13    3.074173   6.70217E+12    0.0105143    0.3148682    3.074173
159    5873.6   574954          0.1041932    5/7/192:17     0.011378    0.3407332     4.64017E+13   3.0734352   6.70217E+12    0.0094361    0.2825797   3.0734352
160   5871.85   574955          0.1044686    5/7/192:22     0.011378    0.3407332     4.62656E+13   3.0815582   6.70217E+12    0.0088951    0.2663786   3.0815582
161   5871.01   574956           0.103617    5/7/192:27     0.011378    0.3407332     4.66391E+13   3.0564397   6.70217E+12    0.0093072    0.2787196   3.0564397
162   5859.85   574956          0.1034201    5/7/192:32     0.011378    0.3407332     4.66391E+13   3.0506298   6.70217E+12    0.0120542    0.3609831   3.0506298
163   5865.94   574956          0.1035275    5/7/192:37     0.011378    0.3407332     4.66391E+13   3.0538003   6.70217E+12    0.0128926    0.3860904   3.0538003
164    5869.1   574956          0.1035833    5/7/192:42     0.011378    0.3407332     4.66391E+13   3.0554454   6.70217E+12    0.0141064    0.4224397   3.0554454
165    5877.6   574956          0.1037333    5/7/192:47     0.011378    0.3407332     4.66391E+13   3.0598705   6.70217E+12    0.0141304    0.4231584   3.0598705
166   5877.18   574957          0.1057538    5/7/192:52     0.011378    0.3407332     4.57448E+13   3.1194692   6.70217E+12    0.0141067    0.4224486   3.1194692
167   5885.01   574958          0.1054291    5/7/192:57     0.011378    0.3407332     4.59468E+13   3.1098919   6.70217E+12    0.0188926    0.5657704   3.1098919
168   5882.93   574959          0.1056834    5/7/193:02    0.0110606    0.3312281       4.582E+13   3.1173937   6.70217E+12    0.0159616    0.4779967   3.1173937
169   5880.11   574959          0.1056328    5/7/193:07    0.0110606    0.3312281       4.582E+13   3.1158994   6.70217E+12    0.0162983    0.4880798   3.1158994
170   5876.76   574959          0.1055726    5/7/193:12    0.0110606    0.3312281       4.582E+13   3.1141242   6.70217E+12    0.0123771    0.3706529   3.1141242
171   5875.44   574959          0.1055489    5/7/193:17    0.0110606    0.3312281       4.582E+13   3.1134247   6.70217E+12    0.0104838    0.3139549   3.1134247
172   5868.65   574959          0.1054269    5/7/193:22    0.0110606    0.3312281       4.582E+13   3.1098266   6.70217E+12    0.0135372     0.405394   3.1098266
173    5871.6   574959          0.1054799    5/7/193:27    0.0110606    0.3312281       4.582E+13   3.1113899   6.70217E+12    0.0142273    0.4260602   3.1113899
174    5871.6   574959          0.1054799    5/7/193:32    0.0110606    0.3312281       4.582E+13   3.1113899   6.70217E+12    0.0143862    0.4308187   3.1113899
175   5877.57   574959          0.1055871    5/7/193:37    0.0110606    0.3312281       4.582E+13   3.1145534   6.70217E+12    0.0142716    0.4273868   3.1145534
176   5876.48   574959          0.1055676    5/7/193:42    0.0110606    0.3312281       4.582E+13   3.1139758   6.70217E+12    0.0142134     0.425644   3.1139758
177   5868.98   574960           0.109055    5/7/193:47    0.0110606    0.3312281     4.42981E+13   3.2168461   6.70217E+12    0.0124885    0.3739889   3.2168461
178   5865.34   574960          0.1089874    5/7/193:52    0.0110606    0.3312281     4.42981E+13   3.2148509   6.70217E+12    0.0128153    0.3837755   3.2148509
179   5869.73   574961          0.1097753    5/7/193:57    0.0110606    0.3312281     4.40131E+13   3.2380924   6.70217E+12    0.0125425    0.3756061   3.2380924
180   5876.57   574962          0.1082718    5/7/194:02    0.0132424    0.3965657     4.46763E+13   3.1937442   6.70217E+12     0.012019     0.359929   3.1937442
181   5864.77   574962          0.1080544    5/7/194:07    0.0132424    0.3965657     4.46763E+13   3.1873313   6.70217E+12    0.0116681    0.3494207   3.1873313
182   5870.49   574963          0.1086102    5/7/194:12    0.0132424    0.3965657      4.4491E+13   3.2037267   6.70217E+12     0.012883    0.3858029   3.2037267
183   5892.85   574964          0.1086378    5/7/194:17    0.0132424    0.3965657     4.46491E+13   3.2045387   6.70217E+12    0.0113387    0.3395563   3.2045387
184   5893.36   574964          0.1086472    5/7/194:22    0.0132424    0.3965657     4.46491E+13    3.204816   6.70217E+12    0.0115719    0.3465398    3.204816
185   5890.81   574964          0.1086002    5/7/194:27    0.0132424    0.3965657     4.46491E+13   3.2034293   6.70217E+12    0.0118547    0.3550087   3.2034293
186   5894.23   574965          0.1080396    5/7/194:32    0.0132424    0.3965657     4.49069E+13   3.1868941   6.70217E+12    0.0122344    0.3663795   3.1868941
187   5898.56   574965           0.108119    5/7/194:37    0.0132424    0.3965657     4.49069E+13   3.1892353   6.70217E+12    0.0138738    0.4154741   3.1892353
188   5908.64   574965          0.1083037    5/7/194:42    0.0132424    0.3965657     4.49069E+13   3.1946853   6.70217E+12     0.014388    0.4308726   3.1946853

                                                                        Appx13579                                                                   TX984.0003
                         Case: 23-1922                     Document: 39-7            Page: 307              Filed: 01/02/2024

       A        B           C                   D            E           F             G                H            I           J         K              L
189   5915.11   574965          0.1084223    5/7/194:47    0.0132424    0.3965657     4.49069E+13   3.1981835   6.70217E+12   0.0166224    0.4977855 3.1981835
190    5909.7   574965          0.1083231    5/7/194:52    0.0132424    0.3965657     4.49069E+13   3.1952584   6.70217E+12   0.0144629    0.4331156 3.1952584
191   5906.81   574966          0.1085559    5/7/194:57    0.0132424    0.3965657     4.47887E+13   3.2021242   6.70217E+12    0.014704    0.4403358 3.2021242
192   5914.74   574966          0.1087016    5/7/195:02    0.0163996    0.4911134     4.47887E+13   3.2064231   6.70217E+12   0.0082133     0.245961 3.2064231
193    5917.1   574967           0.109481    5/7/195:07    0.0163996    0.4911134     4.44875E+13   3.2294129   6.70217E+12   0.0137796    0.4126531 3.2294129
194   5912.39   574967          0.1093939    5/7/195:12    0.0163996    0.4911134     4.44875E+13   3.2268423   6.70217E+12   0.0156701    0.4692673 3.2268423
195   5894.35   574968          0.1094478    5/7/195:17    0.0163996    0.4911134       4.433E+13   3.2284315   6.70217E+12   0.0146488    0.4386827 3.2284315
196   5898.35   574968           0.109522    5/7/195:22    0.0163996    0.4911134       4.433E+13   3.2306223   6.70217E+12   0.0145908    0.4369458 3.2306223
197   5902.16   574969          0.1079698    5/7/195:27    0.0163996    0.4911134     4.49963E+13   3.1848344   6.70217E+12   0.0155564    0.4658623 3.1848344
198   5900.85   574969          0.1079458    5/7/195:32    0.0163996    0.4911134     4.49963E+13   3.1841275   6.70217E+12   0.0134736    0.4034894 3.1841275
199   5900.34   574969          0.1079365    5/7/195:37    0.0163996    0.4911134     4.49963E+13   3.1838523   6.70217E+12   0.0130804    0.3917144 3.1838523
200   5898.32   574969          0.1078995    5/7/195:42    0.0163996    0.4911134     4.49963E+13   3.1827623   6.70217E+12   0.0152049    0.4553361 3.1827623
201   5896.02   574970          0.1092694    5/7/195:47    0.0163996    0.4911134     4.44149E+13   3.2231712   6.70217E+12   0.0153738    0.4603941 3.2231712
202   5901.06   574971          0.1070272    5/7/195:52    0.0163996    0.4911134     4.53842E+13   3.1570311   6.70217E+12   0.0162384     0.486286 3.1570311
203   5889.23   574971          0.1068126    5/7/195:57    0.0163996    0.4911134     4.53842E+13   3.1507021   6.70217E+12   0.0142726    0.4274168 3.1507021
204   5888.81   574971           0.106805    5/7/196:02    0.0219988    0.6587907     4.53842E+13   3.1504774   6.70217E+12   0.0140196    0.4198403 3.1504774
205   5888.88   574971          0.1068063    5/7/196:07    0.0219988    0.6587907     4.53842E+13   3.1505149   6.70217E+12   0.0128572    0.3850303 3.1505149
206   5894.99   574971          0.1069171    5/7/196:12    0.0219988    0.6587907     4.53842E+13   3.1537837   6.70217E+12   0.0139901    0.4189569 3.1537837
207   5888.93   574973          0.1083283    5/7/196:17    0.0219988    0.6587907     4.47469E+13   3.1954116   6.70217E+12   0.0169327    0.5070779 3.1954116
208   5883.23   574973          0.1082235    5/7/196:22    0.0219988    0.6587907     4.47469E+13   3.1923187   6.70217E+12   0.0161834    0.4846389 3.1923187
209   5874.07   574973           0.108055    5/7/196:27    0.0219988    0.6587907     4.47469E+13   3.1873483   6.70217E+12   0.0160255    0.4799103 3.1873483
210   5873.01   574975          0.1081041    5/7/196:32    0.0219988    0.6587907     4.47185E+13   3.1887959   6.70217E+12   0.0161849    0.4846838 3.1887959
211    5877.1   574977          0.1051264    5/7/196:37    0.0219988    0.6587907     4.60172E+13   3.1009613   6.70217E+12   0.0160886    0.4817999 3.1009613
212   5883.19   574977          0.1052353    5/7/196:42    0.0219988    0.6587907     4.60172E+13   3.1041746   6.70217E+12     0.01829    0.5477245 3.1041746
213   5883.91   574979          0.1039877    5/7/196:47    0.0219988    0.6587907      4.6575E+13   3.0673739   6.70217E+12   0.0197193    0.5905273 3.0673739
214   5887.01   574980          0.1024096    5/7/196:52    0.0219988    0.6587907     4.73176E+13   3.0208243   6.70217E+12   0.0172624    0.5169513 3.0208243
215   5890.93   574981          0.1023627    5/7/196:57    0.0219988    0.6587907     4.73708E+13   3.0194404   6.70217E+12   0.0219934     0.658629 3.0194404
216   5891.99   574981          0.1023811    5/7/197:02    0.0252156    0.7551232     4.73708E+13   3.0199837   6.70217E+12   0.0190854    0.5715441 3.0199837
217    5901.6   574981          0.1025481    5/7/197:07    0.0252156    0.7551232     4.73708E+13   3.0249094   6.70217E+12    0.022021    0.6594555 3.0249094
218   5900.12   574982          0.1027094    5/7/197:12    0.0252156    0.7551232     4.72845E+13   3.0296666   6.70217E+12    0.019538     0.585098 3.0296666
219   5902.76   574983          0.1021815    5/7/197:17    0.0252156    0.7551232     4.75501E+13   3.0140942   6.70217E+12   0.0208005    0.6229056 3.0140942
220   5901.94   574985          0.1025203    5/7/197:22    0.0252156    0.7551232     4.73864E+13   3.0240881   6.70217E+12   0.0333844    0.9997515 3.0240881
221   5902.21   574986          0.1024856    5/7/197:27    0.0252156    0.7551232     4.74046E+13   3.0230648   6.70217E+12   0.0226755    0.6790556 3.0230648
222   5897.09   574987          0.1012514    5/7/197:32    0.0252156    0.7551232     4.79408E+13   2.9866604   6.70217E+12   0.0258656    0.7745885 2.9866604
223   5891.39   574988          0.1001624    5/7/197:37    0.0252156    0.7551232     4.84152E+13   2.9545379   6.70217E+12   0.0217027    0.6499235 2.9545379
224   5896.98   574988          0.1002575    5/7/197:42    0.0252156    0.7551232     4.84152E+13   2.9573413   6.70217E+12   0.0181457    0.5434032 2.9573413
225   5915.01   574989          0.0992602    5/7/197:47    0.0252156    0.7551232     4.90511E+13   2.9279253   6.70217E+12   0.0175618    0.5259174 2.9279253
226   5909.89   574989          0.0991743    5/7/197:52    0.0252156    0.7551232     4.90511E+13   2.9253909   6.70217E+12   0.0176235    0.5277651 2.9253909
227   5907.41   574990          0.0997661    5/7/197:57    0.0252156    0.7551232     4.87396E+13   2.9428486   6.70217E+12   0.2076065    6.2171227 6.2171227
228   5909.98   574990          0.0998095    5/7/198:02    0.0276548    0.8281691     4.87396E+13   2.9441289   6.70217E+12   0.3509108   10.5086088 10.5086088
229    5885.9   574991          0.1001084    5/7/198:07    0.0276548    0.8281691     4.83962E+13   2.9529431   6.70217E+12   1.0618156   31.7978378 31.7978378
230   5894.01   574991          0.1002463    5/7/198:12    0.0276548    0.8281691     4.83962E+13   2.9570118   6.70217E+12   0.3477068   10.4126596 10.4126596
231   5901.61   574991          0.1003756    5/7/198:17    0.0276548    0.8281691     4.83962E+13   2.9608247   6.70217E+12   0.2233212    6.6877255 6.6877255
232   5901.01   574993          0.0990295    5/7/198:22    0.0276548    0.8281691      4.9049E+13   2.9211197   6.70217E+12   0.1839307    5.5081114 5.5081114
233   5896.99   574993           0.098962    5/7/198:27    0.0276548    0.8281691      4.9049E+13   2.9191298   6.70217E+12   0.2097637    6.2817236 6.2817236
234   5903.12   574994          0.0985656    5/7/198:32    0.0276548    0.8281691     4.92975E+13   2.9074343   6.70217E+12   0.0304959    0.9132506 2.9074343
235   5904.99   574994          0.0985968    5/7/198:37    0.0276548    0.8281691     4.92975E+13   2.9083554   6.70217E+12   0.0229099    0.6860751 2.9083554
236   5928.02   574994          0.0989813    5/7/198:42    0.0276548    0.8281691     4.92975E+13   2.9196982   6.70217E+12    0.023268     0.696799 2.9196982
237   5918.93   574994          0.0988295    5/7/198:47    0.0276548    0.8281691     4.92975E+13   2.9152212   6.70217E+12   0.0200853    0.6014878 2.9152212
238   5920.48   574994          0.0988554    5/7/198:52    0.0276548    0.8281691     4.92975E+13   2.9159846   6.70217E+12     0.02447    0.7327949 2.9159846
239   5927.27   574996          0.1000578    5/7/198:57    0.0276548    0.8281691      4.8761E+13   2.9514506   6.70217E+12   0.0185494    0.5554927 2.9514506
240   5970.03   574997          0.0973284    5/7/199:02    0.0268411    0.8038015       5.049E+13   2.8709404   6.70217E+12   0.0182697    0.5471166 2.8709404
241   5896.92   574997          0.0961365    5/7/199:07    0.0268411    0.8038015       5.049E+13   2.8357824   6.70217E+12   0.0189375     0.567115 2.8357824
242   5876.01   574998          0.0954385    5/7/199:12    0.0268411    0.8038015     5.06789E+13   2.8151949   6.70217E+12   0.0203296    0.6088038 2.8151949
243   5818.78   574999          0.0935121    5/7/199:17    0.0268411    0.8038015     5.12192E+13    2.758369   6.70217E+12   0.0194987    0.5839211   2.758369
244   5836.61   574999          0.0937986    5/7/199:22    0.0268411    0.8038015     5.12192E+13   2.7668213   6.70217E+12   0.0190273    0.5698042 2.7668213
245   5852.94   574999           0.094061    5/7/199:27    0.0268411    0.8038015     5.12192E+13   2.7745624   6.70217E+12   0.0201623    0.6037937 2.7745624
246   5843.39   575000          0.0949282    5/7/199:32    0.0268411    0.8038015     5.06685E+13   2.8001417   6.70217E+12   0.0195915    0.5867001 2.8001417
247    5840.9   575000          0.0948878    5/7/199:37    0.0268411    0.8038015     5.06685E+13   2.7989485   6.70217E+12   0.0208798    0.6252804 2.7989485
248   5844.44   575000          0.0949453    5/7/199:42    0.0268411    0.8038015     5.06685E+13   2.8006448   6.70217E+12   0.0199536    0.5975438 2.8006448
249   5831.94   575001          0.0948603    5/7/199:47    0.0268411    0.8038015     5.06054E+13   2.7981392   6.70217E+12   0.0196606    0.5887694 2.7981392
250   5840.78   575003          0.0941941    5/7/199:52    0.0268411    0.8038015     5.10406E+13   2.7784869   6.70217E+12   0.0187964    0.5628895 2.7784869
251   5839.47   575003           0.094173    5/7/199:57    0.0268411    0.8038015     5.10406E+13   2.7778637   6.70217E+12   0.0188057     0.563168 2.7778637
252   5836.55   575003          0.0941259    5/7/199:58    0.0268411    0.8038015     5.10406E+13   2.7764747   6.70217E+12   0.0188057     0.563168 2.7764747
253   5843.59   575003          0.0942394   5/7/1910:03    0.0287164    0.8599605     5.10406E+13   2.7798236   6.70217E+12   0.0202762    0.6072046 2.7798236
254   5851.93   575003          0.0943739   5/7/1910:08    0.0287164    0.8599605     5.10406E+13    2.783791   6.70217E+12   0.0195808    0.5863797   2.783791
255    5840.6   575003          0.0941912   5/7/1910:13    0.0287164    0.8599605     5.10406E+13   2.7784013   6.70217E+12   0.0202654    0.6068812 2.7784013
256   5841.73   575003          0.0942094   5/7/1910:18    0.0287164    0.8599605     5.10406E+13   2.7789388   6.70217E+12    0.020167    0.6039344 2.7789388
257   5837.26   575004          0.0966021   5/7/1910:23    0.0287164    0.8599605     4.97383E+13   2.8495172   6.70217E+12   0.0196567    0.5886526 2.8495172
258    5843.1   575004          0.0966987   5/7/1910:28    0.0287164    0.8599605     4.97383E+13    2.852368   6.70217E+12   0.0207215    0.6205399   2.852368
259   5843.45   575005          0.0974035   5/7/1910:35    0.0287164    0.8599605     4.93814E+13   2.8731576   6.70217E+12   0.0201838    0.6044375 2.8731576
260   5841.01   575005          0.0973629   5/7/1910:35    0.0287164    0.8599605     4.93814E+13   2.8719579   6.70217E+12   0.0198071    0.5931566 2.8719579
261   5844.02   575005           0.097413   5/7/1910:42    0.0287164    0.8599605     4.93814E+13   2.8734379   6.70217E+12   0.0200159    0.5994095 2.8734379
262   5844.02   575005           0.097413   5/7/1910:43    0.0287164    0.8599605     4.93814E+13   2.8734379   6.70217E+12   0.0200159    0.5994095 2.8734379
263   5843.32   575005          0.0974014   5/7/1910:43    0.0287164    0.8599605     4.93814E+13   2.8730937   6.70217E+12   0.0200159    0.5994095 2.8730937
264   5843.32   575005          0.0974014   5/7/1910:44    0.0287164    0.8599605     4.93814E+13   2.8730937   6.70217E+12   0.0200159    0.5994095 2.8730937
265   5843.18   575005           0.097399   5/7/1910:45    0.0287164    0.8599605     4.93814E+13   2.8730249   6.70217E+12   0.0201643    0.6038536 2.8730249
266   5843.18   575005           0.097399   5/7/1910:46    0.0287164    0.8599605     4.93814E+13   2.8730249   6.70217E+12   0.0201643    0.6038536 2.8730249
267   5843.81   575005          0.0974095   5/7/1910:48    0.0287164    0.8599605     4.93814E+13   2.8733347   6.70217E+12   0.0201643    0.6038536 2.8733347
268   5855.01   575005          0.0975962   5/7/1910:51    0.0287164    0.8599605     4.93814E+13   2.8788416   6.70217E+12   0.0202597    0.6067105 2.8788416
269   5853.18   575005          0.0975657   5/7/1910:52    0.0287164    0.8599605     4.93814E+13   2.8779418   6.70217E+12   0.0202597    0.6067105 2.8779418
270   5853.18   575005          0.0975657   5/7/1910:53    0.0287164    0.8599605     4.93814E+13   2.8779418   6.70217E+12   0.0202597    0.6067105 2.8779418
271   5854.99   575005          0.0975959   5/7/1910:58    0.0287164    0.8599605     4.93814E+13   2.8788317   6.70217E+12   0.0204901    0.6136102 2.8788317
272   5855.01   575005          0.0975962   5/7/1911:03    0.0273473    0.8189605     4.93814E+13   2.8788416   6.70217E+12    0.019272    0.5771322 2.8788416
273   5862.23   575005          0.0977166   5/7/1911:08    0.0273473    0.8189605     4.93814E+13   2.8823916   6.70217E+12   0.0185107    0.5543338 2.8823916
274   5868.68   575005          0.0978241   5/7/1911:13    0.0273473    0.8189605     4.93814E+13    2.885563   6.70217E+12   0.0182389    0.5461943   2.885563
275    5877.1   575005          0.0979644   5/7/1911:18    0.0273473    0.8189605     4.93814E+13    2.889703   6.70217E+12   0.0175485    0.5255191   2.889703
276   5880.82   575006          0.1020763   5/7/1911:23    0.0273473    0.8189605     4.74222E+13   3.0109929   6.70217E+12   0.0171425    0.5133607 3.0109929
277   5885.64   575007          0.1017322   5/7/1911:28    0.0273473    0.8189605     4.76216E+13    3.000843   6.70217E+12   0.0161012    0.4821773   3.000843
278   5888.81   575007           0.101787   5/7/1911:33    0.0273473    0.8189605     4.76216E+13   3.0024592   6.70217E+12   0.0167836    0.5026129 3.0024592
279   5887.01   575007          0.1017559   5/7/1911:38    0.0273473    0.8189605     4.76216E+13   3.0015415   6.70217E+12    0.017405    0.5212217 3.0015415
280   5885.87   575009          0.1022383   5/7/1911:43    0.0273473    0.8189605     4.73877E+13   3.0157712   6.70217E+12   0.0181379    0.5431696 3.0157712
281   5882.45   575010          0.1025602   5/7/1911:48    0.0273473    0.8189605     4.72115E+13   3.0252654   6.70217E+12   0.0188967    0.5658932 3.0252654
282   5889.31   575010          0.1026798   5/7/1911:53    0.0273473    0.8189605     4.72115E+13   3.0287934   6.70217E+12   0.0191234    0.5726821 3.0287934

                                                                        Appx13580                                                                  TX984.0004
                         Case: 23-1922                     Document: 39-7            Page: 308              Filed: 01/02/2024

       A        B           C                   D            E           F             G                H            I           J         K              L
283   5888.74   575011          0.1032466   5/7/1911:58    0.0273473    0.8189605     4.69478E+13   3.0455122   6.70217E+12   0.0189953    0.5688459 3.0455122
284   5894.74   575011          0.1033518   5/7/1912:03    0.0270574    0.8102789     4.69478E+13   3.0486153   6.70217E+12   0.0201972    0.6048388 3.0486153
285   5895.72   575011          0.1033689   5/7/1912:08    0.0270574    0.8102789     4.69478E+13   3.0491221   6.70217E+12   0.0246114    0.7370294 3.0491221
286   5907.12   575011          0.1035688   5/7/1912:13    0.0270574    0.8102789     4.69478E+13   3.0550179   6.70217E+12   0.0195085    0.5842145 3.0550179
287   5908.19   575013          0.1040015   5/7/1912:18    0.0270574    0.8102789     4.67609E+13   3.0677806   6.70217E+12   0.0177224    0.5307268 3.0677806
288   5895.99   575013          0.1037867   5/7/1912:23    0.0270574    0.8102789     4.67609E+13   3.0614459   6.70217E+12   0.0163821    0.4905893 3.0614459
289   5898.02   575014          0.1043706   5/7/1912:27    0.0270574    0.8102789     4.65154E+13   3.0786681   6.70217E+12   0.0162962    0.4880169 3.0786681
290    5895.6   575014          0.1043278   5/7/1912:32    0.0270574    0.8102789     4.65154E+13   3.0774049   6.70217E+12   0.0164602    0.4929281 3.0774049
291   5887.34   575016          0.1041844   5/7/1912:37    0.0270574    0.8102789     4.65141E+13   3.0731761   6.70217E+12   0.0200409    0.6001582 3.0731761
292    5889.4   575016          0.1042209   5/7/1912:42    0.0270574    0.8102789     4.65141E+13   3.0742514   6.70217E+12   0.0215114    0.6441947 3.0742514
293   5893.65   575016          0.1042961   5/7/1912:47    0.0270574    0.8102789     4.65141E+13   3.0764699   6.70217E+12    0.020945    0.6272329 3.0764699
294   5893.83   575018          0.1033386   5/7/1912:52    0.0270574    0.8102789     4.69465E+13   3.0482275   6.70217E+12   0.0215906    0.6465665 3.0482275
295   5890.09   575018           0.103273   5/7/1912:57    0.0270574    0.8102789     4.69465E+13   3.0462932   6.70217E+12   0.0199465    0.5973312 3.0462932
296   5887.86   575018          0.1032339   5/7/1913:02    0.0260477    0.7800418     4.69465E+13   3.0451399   6.70217E+12   0.0182097    0.5453198 3.0451399
297   5877.45   575018          0.1030514   5/7/1913:07    0.0260477    0.7800418     4.69465E+13   3.0397559   6.70217E+12   0.0171154    0.5125492 3.0397559
298   5880.76   575018          0.1031095   5/7/1913:12    0.0260477    0.7800418     4.69465E+13   3.0414678   6.70217E+12   0.0158291    0.4740288 3.0414678
299   5885.01   575018           0.103184   5/7/1913:17    0.0260477    0.7800418     4.69465E+13   3.0436659   6.70217E+12   0.0156969    0.4700698 3.0436659
300   5886.65   575019           0.105185   5/7/1913:22    0.0260477    0.7800418     4.60663E+13     3.10269   6.70217E+12   0.0194576    0.5826903    3.10269
301   5886.81   575019          0.1051878   5/7/1913:27    0.0260477    0.7800418     4.60663E+13   3.1027744   6.70217E+12   0.0237637    0.7116436 3.1027744
302   5886.02   575019          0.1051737   5/7/1913:32    0.0260477    0.7800418     4.60663E+13    3.102358   6.70217E+12    0.034183    1.0236669   3.102358
303   5878.86   575019          0.1050458   5/7/1913:37    0.0260477    0.7800418     4.60663E+13   3.0985841   6.70217E+12   0.4823059    14.443454 14.443454
304   5879.94   575019          0.1050651   5/7/1913:42    0.0260477    0.7800418     4.60663E+13   3.0991534   6.70217E+12   0.1343145    4.0222716 4.0222716
305   5872.78   575020          0.1055767   5/7/1913:47    0.0260477    0.7800418     4.57872E+13   3.1142442   6.70217E+12   0.0287544    0.8610984 3.1142442
306   5868.57   575020           0.105501   5/7/1913:52    0.0260477    0.7800418     4.57872E+13   3.1120117   6.70217E+12   0.0442637    1.3255503 3.1120117
307    5877.6   575020          0.1056633   5/7/1913:57    0.0260477    0.7800418     4.57872E+13   3.1168002   6.70217E+12   0.0156508    0.4686893 3.1168002
308    5880.3   575021          0.1070192   5/7/1914:02     0.025584    0.7661555     4.52279E+13    3.156795   6.70217E+12   0.0212368    0.6359714   3.156795
309    5873.1   575021          0.1068882   5/7/1914:07     0.025584    0.7661555     4.52279E+13   3.1529297   6.70217E+12   0.0135226    0.4049568 3.1529297
310   5856.76   575021          0.1065908   5/7/1914:12     0.025584    0.7661555     4.52279E+13   3.1441577   6.70217E+12   0.0161145    0.4825756 3.1441577
311   5835.32   575021          0.1062006   5/7/1914:17     0.025584    0.7661555     4.52279E+13   3.1326478   6.70217E+12    0.021294    0.6376843 3.1326478
312    5823.7   575021          0.1059891   5/7/1914:22     0.025584    0.7661555     4.52279E+13   3.1264097   6.70217E+12   0.0232619    0.6966164 3.1264097
313    5823.9   575021          0.1059927   5/7/1914:27     0.025584    0.7661555     4.52279E+13   3.1265171   6.70217E+12   0.0186602    0.5588108 3.1265171
314   5844.51   575021          0.1063678   5/7/1914:32     0.025584    0.7661555     4.52279E+13   3.1375814   6.70217E+12   0.0221179    0.6623574 3.1375814
315   5852.73   575022          0.1090264   5/7/1914:37     0.025584    0.7661555     4.41871E+13   3.2160024   6.70217E+12   0.0160534    0.4807458 3.2160024
316   5842.59   575022          0.1088375   5/7/1914:42     0.025584    0.7661555     4.41871E+13   3.2104306   6.70217E+12   0.0139152    0.4167139 3.2104306
317   5844.51   575023          0.1093454   5/7/1914:47     0.025584    0.7661555     4.39963E+13    3.225412   6.70217E+12   0.0096897    0.2901742   3.225412
318   5842.77   575023          0.1093128   5/7/1914:52     0.025584    0.7661555     4.39963E+13   3.2244517   6.70217E+12   0.0082441    0.2468833 3.2244517
319   5843.27   575023          0.1093222   5/7/1914:57     0.025584    0.7661555     4.39963E+13   3.2247277   6.70217E+12   0.0080116    0.2399207 3.2247277
320   5849.85   575023          0.1094453   5/7/1915:02    0.0200751    0.6011823     4.39963E+13    3.228359   6.70217E+12    0.004172    0.1249375   3.228359
321   5844.11   575023          0.1093379   5/7/1915:07    0.0200751    0.6011823     4.39963E+13   3.2251913   6.70217E+12   0.0063173    0.1891821 3.2251913
322   5838.69   575023          0.1092365   5/7/1915:12    0.0200751    0.6011823     4.39963E+13   3.2222001   6.70217E+12   0.0074128    0.2219887 3.2222001
323   5843.57   575023          0.1093278   5/7/1915:17    0.0200751    0.6011823     4.39963E+13   3.2248932   6.70217E+12   0.0068169    0.2041434 3.2248932
324   5844.59   575023          0.1093469   5/7/1915:22    0.0200751    0.6011823     4.39963E+13   3.2254562   6.70217E+12   0.0173942    0.5208983 3.2254562
325   5849.99   575023          0.1094479   5/7/1915:27    0.0200751    0.6011823     4.39963E+13   3.2284363   6.70217E+12   0.0160868     0.481746 3.2284363
326   5849.99   575023          0.1094479   5/7/1915:32    0.0200751    0.6011823     4.39963E+13   3.2284363   6.70217E+12   0.0179579    0.5377792 3.2284363
327   5862.15   575023          0.1096754   5/7/1915:37    0.0200751    0.6011823     4.39963E+13    3.235147   6.70217E+12   0.0185996     0.556996   3.235147
328    5861.7   575023           0.109667   5/7/1915:42    0.0200751    0.6011823     4.39963E+13   3.2348987   6.70217E+12   0.0164337    0.4921345 3.2348987
329   5871.48   575024          0.1144475   5/7/1915:47    0.0200751    0.6011823     4.22289E+13   3.3759101   6.70217E+12   0.0172669    0.5170861 3.3759101
330    5859.1   575024          0.1142061   5/7/1915:52    0.0200751    0.6011823     4.22289E+13    3.368792   6.70217E+12   0.0085437    0.2558553   3.368792
331    5854.1   575025          0.1144044   5/7/1915:57    0.0200751    0.6011823     4.21197E+13   3.3746406   6.70217E+12   0.0200752    0.6011853 3.3746406
332   5843.22   575026          0.1144995   5/7/1916:02    0.0216225    0.6475218     4.20066E+13   3.3774456   6.70217E+12   0.0220984    0.6617734 3.3774456
333   5853.43   575026          0.1146996   5/7/1916:07    0.0216225    0.6475218     4.20066E+13   3.3833471   6.70217E+12   0.0156725    0.4693391 3.3833471
334   5856.16   575026          0.1147531   5/7/1916:12    0.0216225    0.6475218     4.20066E+13    3.384925   6.70217E+12   0.0214597    0.6426465   3.384925
335   5854.02   575026          0.1147111   5/7/1916:17    0.0216225    0.6475218     4.20066E+13   3.3836881   6.70217E+12   0.0239835    0.7182259 3.3836881
336   5850.81   575026          0.1146482   5/7/1916:22    0.0216225    0.6475218     4.20066E+13   3.3818327   6.70217E+12   0.0167074    0.5003309 3.3818327
337   5854.62   575027          0.1163454   5/7/1916:27    0.0216225    0.6475218     4.14207E+13   3.4318944   6.70217E+12   0.0156102    0.4674735 3.4318944
338    5855.8   575028          0.1157465   5/7/1916:32    0.0216225    0.6475218     4.16435E+13   3.4142287   6.70217E+12   0.0163249    0.4888763 3.4142287
339   5856.74   575029          0.1142802   5/7/1916:37    0.0216225    0.6475218     4.21846E+13   3.3709755   6.70217E+12   0.0175314     0.525007 3.3709755
340   5868.02   575029          0.1145003   5/7/1916:42    0.0216225    0.6475218     4.21846E+13   3.3774679   6.70217E+12   0.0151098    0.4524881 3.3774679
341   5872.51   575029          0.1145879   5/7/1916:47    0.0216225    0.6475218     4.21846E+13   3.3800522   6.70217E+12   0.0146534    0.4388205 3.3800522
342   5871.99   575029          0.1145777   5/7/1916:52    0.0216225    0.6475218     4.21846E+13   3.3797529   6.70217E+12   0.0175759    0.5263396 3.3797529
343   5880.77   575029          0.1147491   5/7/1916:57    0.0216225    0.6475218     4.21846E+13   3.3848064   6.70217E+12   0.0063504    0.1901733 3.3848064
344   5886.53   575029          0.1148614   5/7/1917:02    0.0204922    0.6136731     4.21846E+13   3.3881217   6.70217E+12   0.0061338    0.1836869 3.3881217
345   5889.98   575029          0.1149288   5/7/1917:07    0.0204922    0.6136731     4.21846E+13   3.3901075   6.70217E+12   0.0028472    0.0852641 3.3901075
346    5885.6   575031          0.1147437   5/7/1917:12    0.0204922    0.6136731     4.22212E+13   3.3846492   6.70217E+12   0.0111196     0.332995 3.3846492
347   5883.88   575032          0.1144564   5/7/1917:17    0.0204922    0.6136731     4.23148E+13   3.3761744   6.70217E+12   0.0197231    0.5906411 3.3761744
348   5871.02   575033           0.114058   5/7/1917:22    0.0204922    0.6136731     4.23698E+13    3.364421   6.70217E+12    0.013771    0.4123955   3.364421
349   5872.05   575033           0.114078   5/7/1917:27    0.0204922    0.6136731     4.23698E+13   3.3650113   6.70217E+12   0.0099314    0.2974123 3.3650113
350   5878.77   575034          0.1147072   5/7/1917:32    0.0204922    0.6136731     4.21856E+13   3.3835727   6.70217E+12   0.0135307    0.4051994 3.3835727
351    5877.4   575034          0.1146805   5/7/1917:37    0.0204922    0.6136731     4.21856E+13   3.3827841   6.70217E+12   0.0143791    0.4306061 3.3827841
352   5880.39   575034          0.1147388   5/7/1917:42    0.0204922    0.6136731     4.21856E+13   3.3845051   6.70217E+12   0.0171643    0.5140136 3.3845051
353   5871.98   575034          0.1145747   5/7/1917:47    0.0204922    0.6136731     4.21856E+13   3.3796646   6.70217E+12   0.0179472    0.5374588 3.3796646
354    5878.4   575035          0.1155377   5/7/1917:52    0.0204922    0.6136731     4.18797E+13   3.4080684   6.70217E+12   0.0182428    0.5463111 3.4080684
355   5886.62   575035          0.1156992   5/7/1917:57    0.0204922    0.6136731     4.18797E+13   3.4128341   6.70217E+12   0.0280718    0.8406568 3.4128341
356   5896.23   575036          0.1119906   5/7/1918:02    0.0194272    0.5817799     4.33372E+13   3.3034392   6.70217E+12   0.4423178   13.2459437 13.2459437
357    5898.4   575036          0.1120318   5/7/1918:08    0.0194272    0.5817799     4.33372E+13    3.304655   6.70217E+12     0.19554    5.8557712 5.8557712
358   5899.98   575036          0.1120618   5/7/1918:13    0.0194272    0.5817799     4.33372E+13   3.3055402   6.70217E+12   0.0183816    0.5504676 3.3055402
359   5899.98   575037          0.1118805   5/7/1918:18    0.0194272    0.5817799     4.34075E+13   3.3001905   6.70217E+12   0.0124839    0.3738512 3.3001905
360   5901.99   575039          0.1087922   5/7/1918:23    0.0194272    0.5817799     4.46549E+13   3.2090942   6.70217E+12   0.0063404    0.1898738 3.2090942
361   5898.01   575040          0.1082466   5/7/1918:28    0.0194272    0.5817799     4.48497E+13   3.1930006   6.70217E+12   0.0069752     0.208884 3.1930006
362   5899.19   575041          0.1069708   5/7/1918:33    0.0194272    0.5817799     4.53937E+13   3.1553672   6.70217E+12   0.0117867    0.3529724 3.1553672
363   5858.01   575041          0.1062241   5/7/1918:38    0.0194272    0.5817799     4.53937E+13   3.1333408   6.70217E+12   0.0008215    0.0246012 3.1333408
364   5832.84   575041          0.1057677   5/7/1918:43    0.0194272    0.5817799     4.53937E+13   3.1198778   6.70217E+12    0.007936    0.2376567 3.1198778
365   5825.57   575042          0.1062064   5/7/1918:48    0.0194272    0.5817799     4.51499E+13   3.1328187   6.70217E+12   0.0131193    0.3928793 3.1328187
366   5730.23   575042          0.1044682   5/7/1918:53    0.0194272    0.5817799     4.51499E+13   3.0815477   6.70217E+12   0.0147234    0.4409168 3.0815477
367   5765.61   575042          0.1051132   5/7/1918:58    0.0194272    0.5817799     4.51499E+13    3.100574   6.70217E+12    0.015851    0.4746846   3.100574
368   5698.35   575042           0.103887   5/7/1919:03    0.0208363    0.6239777     4.51499E+13   3.0644036   6.70217E+12   0.0143949    0.4310793 3.0644036
369   5728.93   575043           0.104596   5/7/1919:08    0.0208363    0.6239777     4.50844E+13   3.0853184   6.70217E+12   0.0085453    0.2559033 3.0853184
370   5726.34   575044          0.1042417   5/7/1919:13    0.0208363    0.6239777     4.52172E+13   3.0748672   6.70217E+12   0.0131066     0.392499 3.0748672
371   5721.68   575044          0.1041569   5/7/1919:18    0.0208363    0.6239777     4.52172E+13    3.072365   6.70217E+12   0.0074483    0.2230518   3.072365
372   5740.89   575044          0.1045066   5/7/1919:23    0.0208363    0.6239777     4.52172E+13   3.0826801   6.70217E+12   0.0220669    0.6608301 3.0826801
373   5739.97   575047          0.1037772   5/7/1919:28    0.0208363    0.6239777     4.55277E+13   3.0611659   6.70217E+12   0.0206216    0.6175482 3.0611659
374   5762.15   575047          0.1041783   5/7/1919:33    0.0208363    0.6239777     4.55277E+13   3.0729946   6.70217E+12   0.0227412    0.6810231 3.0729946
375   5772.32   575048          0.1046881   5/7/1919:38    0.0208363    0.6239777      4.5386E+13   3.0880343   6.70217E+12   0.0213669    0.6398674 3.0880343
376   5757.52   575048          0.1044197   5/7/1919:43    0.0208363    0.6239777      4.5386E+13   3.0801167   6.70217E+12   0.0192512    0.5765093 3.0801167

                                                                        Appx13581                                                                  TX984.0005
                         Case: 23-1922                     Document: 39-7            Page: 309              Filed: 01/02/2024

       A        B           C                   D            E           F             G                H            I           J         K              L
377   5780.76   575048          0.1048412   5/7/1919:48    0.0208363    0.6239777      4.5386E+13   3.0925494   6.70217E+12   0.0184615   0.5528604   3.0925494
378   5772.27   575049          0.1062044   5/7/1919:53    0.0208363    0.6239777     4.47376E+13   3.1327595   6.70217E+12   0.0170593   0.5108692   3.1327595
379   5763.53   575049          0.1060435   5/7/1919:58    0.0208363    0.6239777     4.47376E+13    3.128016   6.70217E+12   0.0193825   0.5804413    3.128016
380   5774.99   575049          0.1062544   5/7/1920:03    0.0214057    0.6410294     4.47376E+13   3.1342357   6.70217E+12   0.0225229   0.6744858   3.1342357
381   5785.64   575050          0.1067275   5/7/1920:08    0.0214057    0.6410294     4.46214E+13   3.1481898   6.70217E+12   0.0200782   0.6012752   3.1481898
382   5794.65   575051          0.1065264   5/7/1920:13    0.0214057    0.6410294     4.47753E+13   3.1422582   6.70217E+12   0.0189119   0.5663484   3.1422582
383   5794.99   575052           0.105856   5/7/1920:18    0.0214057    0.6410294     4.50615E+13   3.1224836   6.70217E+12   0.0168789   0.5054668   3.1224836
384   5777.32   575052          0.1055332   5/7/1920:23    0.0214057    0.6410294     4.50615E+13   3.1129625   6.70217E+12   0.0188787   0.5653541   3.1129625
385   5779.44   575052          0.1055719   5/7/1920:28    0.0214057    0.6410294     4.50615E+13   3.1141049   6.70217E+12   0.0185028   0.5540972   3.1141049
386   5784.49   575053          0.1069047   5/7/1920:33    0.0214057    0.6410294     4.45386E+13   3.1534189   6.70217E+12   0.0168679   0.5051374   3.1534189
387   5792.26   575054          0.1071284   5/7/1920:38    0.0214057    0.6410294     4.45053E+13   3.1600161   6.70217E+12   0.0100913   0.3022008   3.1600161
388   5794.99   575055          0.1078127   5/7/1920:43    0.0214057    0.6410294     4.42437E+13   3.1802017   6.70217E+12   0.0159387   0.4773109   3.1802017
389   5798.99   575056          0.1065136   5/7/1920:48    0.0214057    0.6410294     4.48142E+13   3.1418807   6.70217E+12   0.0155694   0.4662516   3.1418807
390   5799.99   575056          0.1065319   5/7/1920:53    0.0214057    0.6410294     4.48142E+13   3.1424225   6.70217E+12   0.0120816   0.3618036   3.1424225
391   5792.47   575056          0.1063938   5/7/1920:58    0.0214057    0.6410294     4.48142E+13   3.1383482   6.70217E+12   0.0121052   0.3625104   3.1383482
392   5783.99   575057          0.1071229   5/7/1921:03    0.0187353    0.5610598      4.4444E+13   3.1598544   6.70217E+12   0.0062082   0.1859149   3.1598544
393   5798.01   575060          0.1064196   5/7/1921:08    0.0187353    0.5610598     4.48462E+13   3.1391083   6.70217E+12   0.0101617    0.304309   3.1391083
394   5804.99   575060          0.1065477   5/7/1921:13    0.0187353    0.5610598     4.48462E+13   3.1428873   6.70217E+12   0.0147359   0.4412911   3.1428873
395   5804.47   575060          0.1065382   5/7/1921:18    0.0187353    0.5610598     4.48462E+13   3.1426058   6.70217E+12   0.0161425   0.4834141   3.1426058
396   5797.19   575061          0.1077196   5/7/1921:23    0.0187353    0.5610598     4.42987E+13   3.1774565   6.70217E+12   0.0166747   0.4993517   3.1774565
397   5796.01   575062          0.1073179   5/7/1921:28    0.0187353    0.5610598     4.44555E+13   3.1656063   6.70217E+12   0.0162576   0.4868609   3.1656063
398   5796.91   575062          0.1073346   5/7/1921:33    0.0187353    0.5610598     4.44555E+13   3.1660978   6.70217E+12   0.0154972   0.4640895   3.1660978
399   5804.49   575063          0.1082426   5/7/1921:38    0.0187353    0.5610598     4.41402E+13   3.1928815   6.70217E+12   0.0140195   0.4198373   3.1928815
400   5807.51   575063          0.1082989   5/7/1921:43    0.0187353    0.5610598     4.41402E+13   3.1945427   6.70217E+12   0.0138085   0.4135185   3.1945427
401   5806.56   575064           0.107581   5/7/1921:48    0.0187353    0.5610598     4.44275E+13   3.1733683   6.70217E+12   0.0123646   0.3702786   3.1733683
402   5797.78   575064          0.1074184   5/7/1921:53    0.0187353    0.5610598     4.44275E+13   3.1685699   6.70217E+12   0.0135325   0.4052533   3.1685699
403   5793.65   575064          0.1073419   5/7/1921:58    0.0187353    0.5610598     4.44275E+13   3.1663128   6.70217E+12   0.0143717   0.4303845   3.1663128
404   5778.02   575065          0.1070536   5/7/1922:03    0.0092857    0.2780758     4.44269E+13   3.1578114   6.70217E+12   0.0159167   0.4766521   3.1578114
405   5773.43   575066          0.1052104   5/7/1922:08    0.0092857    0.2780758     4.51693E+13   3.1034402   6.70217E+12   0.0153253   0.4589417   3.1034402
406   5779.39   575067          0.1054664   5/7/1922:13    0.0092857    0.2780758     4.51062E+13   3.1109906   6.70217E+12   0.0139439   0.4175733   3.1109906
407   5791.59   575067           0.105689   5/7/1922:18    0.0092857    0.2780758     4.51062E+13   3.1175577   6.70217E+12   0.0131096   0.3925888   3.1175577
408   5790.02   575067          0.1056603   5/7/1922:23    0.0092857    0.2780758     4.51062E+13   3.1167126   6.70217E+12   0.0122573   0.3670653   3.1167126
409   5782.94   575067          0.1055311   5/7/1922:28    0.0092857    0.2780758     4.51062E+13   3.1129015   6.70217E+12   0.0136306    0.408191   3.1129015
410   5775.43   575067          0.1053941   5/7/1922:33    0.0092857    0.2780758     4.51062E+13   3.1088589   6.70217E+12   0.0135185    0.404834   3.1088589
411   5779.99   575068          0.1067775   5/7/1922:38    0.0092857    0.2780758      4.4557E+13   3.1496656   6.70217E+12   0.0130395   0.3904896   3.1496656
412   5785.55   575068          0.1068802   5/7/1922:43    0.0092857    0.2780758      4.4557E+13   3.1526954   6.70217E+12   0.0132167   0.3957961   3.1526954
413    5776.9   575070          0.1064823   5/7/1922:48    0.0092857    0.2780758     4.46566E+13   3.1409571   6.70217E+12   0.0151927   0.4549707   3.1409571
414   5782.35   575070          0.1065827   5/7/1922:53    0.0092857    0.2780758     4.46566E+13   3.1439203   6.70217E+12   0.0127496    0.381808   3.1439203
415   5778.56   575070          0.1065129   5/7/1922:58    0.0092857    0.2780758     4.46566E+13   3.1418596   6.70217E+12     0.01094   0.3276165   3.1418596
416   5807.88   575077          0.1057164    5/8/190:03     0.010744     0.321747     4.52214E+13   3.1183659   6.70217E+12   0.0116913   0.3501155   3.1183659
417   5804.11   575077          0.1056478    5/8/190:08     0.010744     0.321747     4.52214E+13   3.1163417   6.70217E+12   0.0120928   0.3621391   3.1163417
418   5801.23   575078          0.1058179    5/8/190:13     0.010744     0.321747     4.51263E+13   3.1213604   6.70217E+12   0.0121536   0.3639598   3.1213604
419   5791.66   575078          0.1056434    5/8/190:18     0.010744     0.321747     4.51263E+13   3.1162113   6.70217E+12   0.0124538   0.3729498   3.1162113
420    5795.5   575078          0.1057134    5/8/190:23     0.010744     0.321747     4.51263E+13   3.1182774   6.70217E+12   0.0132227   0.3959758   3.1182774
421   5795.98   575079          0.1065412    5/8/190:28     0.010744     0.321747     4.47794E+13   3.1426942   6.70217E+12   0.0133711   0.4004199   3.1426942
422   5799.99   575081           0.102499    5/8/190:33     0.010744     0.321747     4.65775E+13   3.0234621   6.70217E+12   0.0173409   0.5193022   3.0234621
423   5804.41   575082          0.1023697    5/8/190:38     0.010744     0.321747     4.66719E+13   3.0196463   6.70217E+12   0.0172819   0.5175353   3.0196463
424   5804.82   575084          0.1015622    5/8/190:43     0.010744     0.321747     4.70463E+13   2.9958274   6.70217E+12   0.0175389   0.5252316   2.9958274
425   5802.49   575086          0.0989662    5/8/190:48     0.010744     0.321747     4.82609E+13   2.9192535   6.70217E+12   0.0173835   0.5205779   2.9192535
426   5795.31   575086          0.0988438    5/8/190:53     0.010744     0.321747     4.82609E+13   2.9156412   6.70217E+12   0.0147548   0.4418571   2.9156412
427   5799.55   575087          0.0990391    5/8/190:58     0.010744     0.321747      4.8201E+13   2.9214025   6.70217E+12   0.0135535   0.4058821   2.9214025
428   5810.52   575087          0.0992264    5/8/191:03    0.0116366    0.3484774      4.8201E+13   2.9269284   6.70217E+12   0.0126685   0.3793793   2.9269284
429   5818.01   575087          0.0993543    5/8/191:08    0.0116366    0.3484774      4.8201E+13   2.9307013   6.70217E+12   0.0083531   0.2501475   2.9307013
430   5819.24   575089          0.0985572    5/8/191:13    0.0116366    0.3484774     4.86011E+13   2.9071881   6.70217E+12   0.0126493   0.3788044   2.9071881
431   5817.19   575090          0.0973429    5/8/191:18    0.0116366    0.3484774     4.91901E+13   2.8713676   6.70217E+12   0.0126278   0.3781605   2.8713676
432   5820.91   575090          0.0974051    5/8/191:23    0.0116366    0.3484774     4.91901E+13   2.8732038   6.70217E+12   0.0125071    0.374546   2.8732038
433   5831.99   575090          0.0975905    5/8/191:28    0.0116366    0.3484774     4.91901E+13   2.8786729   6.70217E+12   0.0125147   0.3747735   2.8786729
434   5837.72   575090          0.0976864    5/8/191:33    0.0116366    0.3484774     4.91901E+13   2.8815012   6.70217E+12   0.0030723   0.0920051   2.8815012
435   5825.57   575090          0.0974831    5/8/191:38    0.0116366    0.3484774     4.91901E+13    2.875504   6.70217E+12   0.0007008   0.0209866    2.875504
436    5834.9   575090          0.0976392    5/8/191:43    0.0116366    0.3484774     4.91901E+13   2.8801093   6.70217E+12    0.002842   0.0851084   2.8801093
437   5839.94   575090          0.0977235    5/8/191:49    0.0116366    0.3484774     4.91901E+13    2.882597   6.70217E+12   0.0029206   0.0874622    2.882597
438   5834.68   575090          0.0976355    5/8/191:54    0.0116366    0.3484774     4.91901E+13   2.8800007   6.70217E+12   0.0037273   0.1116202   2.8800007
439   5827.66   575090          0.0975181    5/8/191:59    0.0116366    0.3484774     4.91901E+13   2.8765356   6.70217E+12   0.0045235   0.1354637   2.8765356
440   5833.57   575090           0.097617    5/8/192:04    0.0119665    0.3583568     4.91901E+13   2.8794528   6.70217E+12    0.005794    0.173511   2.8794528
441   5837.02   575090          0.0976747    5/8/192:09    0.0119665    0.3583568     4.91901E+13   2.8811557   6.70217E+12   0.0120927   0.3621361   2.8811557
442   5834.82   575091          0.1021121    5/8/192:14    0.0119665    0.3583568     4.70347E+13   3.0120484   6.70217E+12   0.0138694   0.4153423   3.0120484
443   5832.01   575091          0.1020629    5/8/192:19    0.0119665    0.3583568     4.70347E+13   3.0105978   6.70217E+12   0.0243003    0.727713   3.0105978
444   5827.28   575091          0.1019802    5/8/192:24    0.0119665    0.3583568     4.70347E+13   3.0081561   6.70217E+12   0.0146496   0.4387067   3.0081561
445    5814.3   575091           0.101753    5/8/192:29    0.0119665    0.3583568     4.70347E+13   3.0014556   6.70217E+12    0.013417   0.4017944   3.0014556
446   5822.06   575092          0.1015212    5/8/192:34    0.0119665    0.3583568     4.72051E+13   2.9946169   6.70217E+12    0.013794   0.4130843   2.9946169
447   5827.69   575092          0.1016193    5/8/192:39    0.0119665    0.3583568     4.72051E+13   2.9975127   6.70217E+12   0.0134243    0.402013   2.9975127
448   5825.01   575094          0.1011451    5/8/192:44    0.0119665    0.3583568     4.74046E+13   2.9835236   6.70217E+12   0.0173396   0.5192632   2.9835236
449   5825.01   575094          0.1011451    5/8/192:49    0.0119665    0.3583568     4.74046E+13   2.9835236   6.70217E+12   0.0160878    0.481776   2.9835236
450   5827.65   575094          0.1011909    5/8/192:54    0.0119665    0.3583568     4.74046E+13   2.9848758   6.70217E+12   0.0135423   0.4055467   2.9848758
451   5828.98   575094           0.101214    5/8/192:59    0.0119665    0.3583568     4.74046E+13    2.985557   6.70217E+12   0.0119787   0.3587221    2.985557
452   5816.75   575095          0.1023933    5/8/193:04    0.0120924    0.3621271     4.67603E+13    3.020342   6.70217E+12    0.007941   0.2378065    3.020342
453   5816.32   575095          0.1023857    5/8/193:09    0.0120924    0.3621271     4.67603E+13   3.0201187   6.70217E+12    0.011828   0.3542092   3.0201187
454   5822.73   575095          0.1024985    5/8/193:14    0.0120924    0.3621271     4.67603E+13   3.0234471   6.70217E+12   0.0145702   0.4363289   3.0234471
455    5828.4   575095          0.1025983    5/8/193:19    0.0120924    0.3621271     4.67603E+13   3.0263913   6.70217E+12   0.0152655   0.4571508   3.0263913
456   5829.18   575097          0.1038705    5/8/193:24    0.0120924    0.3621271     4.61938E+13   3.0639178   6.70217E+12   0.0169161   0.5065808   3.0639178
457   5837.98   575097          0.1040273    5/8/193:29    0.0120924    0.3621271     4.61938E+13   3.0685432   6.70217E+12   0.0230203   0.6893813   3.0685432
458   5838.98   575098          0.1040229    5/8/193:34    0.0120924    0.3621271     4.62037E+13   3.0684122   6.70217E+12   0.0845618    2.532344   3.0684122
459   5828.52   575098          0.1038366    5/8/193:39    0.0120924    0.3621271     4.62037E+13   3.0629154   6.70217E+12   0.0234107   0.7010724   3.0629154
460   5822.59   575099          0.1046272    5/8/193:44    0.0120924    0.3621271     4.58079E+13   3.0862378   6.70217E+12   0.0168116   0.5034514   3.0862378
461   5803.44   575099          0.1042831    5/8/193:49    0.0120924    0.3621271     4.58079E+13   3.0760874   6.70217E+12   0.0140409   0.4204782   3.0760874
462   5796.56   575099          0.1041595    5/8/193:54    0.0120924    0.3621271     4.58079E+13   3.0724407   6.70217E+12   0.0144936    0.434035   3.0724407
463   5807.05   575101          0.1050426    5/8/193:59    0.0120924    0.3621271     4.55049E+13   3.0984912   6.70217E+12   0.0119057    0.356536   3.0984912
464   5809.78   575101           0.105092    5/8/194:04    0.0137229    0.4109551     4.55049E+13   3.0999478   6.70217E+12   0.0125622    0.376196   3.0999478
465   5812.68   575101          0.1051445    5/8/194:09    0.0137229    0.4109551     4.55049E+13   3.1014952   6.70217E+12   0.0142995   0.4282224   3.1014952
466   5815.61   575102          0.1048815    5/8/194:14    0.0137229    0.4109551      4.5642E+13   3.0937385   6.70217E+12   0.0193516   0.5795159   3.0937385
467   5808.55   575103          0.1046033    5/8/194:19    0.0137229    0.4109551     4.57078E+13   3.0855325   6.70217E+12   0.0200764   0.6012213   3.0855325
468   5820.01   575104          0.1050843    5/8/194:24    0.0137229    0.4109551     4.55884E+13     3.09972   6.70217E+12   0.0189938    0.568801     3.09972
469   5816.06   575105          0.1052763    5/8/194:29    0.0137229    0.4109551     4.54744E+13   3.1053836   6.70217E+12   0.0230152   0.6892285   3.1053836
470   5808.82   575106          0.1053792    5/8/194:34    0.0137229    0.4109551     4.53734E+13   3.1084182   6.70217E+12   0.0197229   0.5906351   3.1084182

                                                                        Appx13582                                                                 TX984.0006
                         Case: 23-1922                     Document: 39-7            Page: 310              Filed: 01/02/2024

       A        B           C                   D            E           F             G                H            I           J         K              L
471   5815.31   575106          0.1054969    5/8/194:39    0.0137229    0.4109551     4.53734E+13   3.1118911   6.70217E+12   0.0184185   0.5515727   3.1118911
472   5818.61   575108          0.1056718    5/8/194:44    0.0137229    0.4109551      4.5324E+13   3.1170516   6.70217E+12   0.0141625   0.4241197   3.1170516
473   5810.51   575108          0.1055247    5/8/194:49    0.0137229    0.4109551      4.5324E+13   3.1127124   6.70217E+12   0.0159072   0.4763676   3.1127124
474   5815.11   575108          0.1056083    5/8/194:54    0.0137229    0.4109551      4.5324E+13   3.1151766   6.70217E+12   0.0160139   0.4795629   3.1151766
475   5808.22   575109          0.1054956    5/8/194:59    0.0137229    0.4109551     4.53187E+13   3.1118531   6.70217E+12   0.0129169   0.3868181   3.1118531
476   5821.06   575109          0.1057288    5/8/195:04    0.0172785    0.5174335     4.53187E+13   3.1187323   6.70217E+12   0.0087613   0.2623717   3.1187323
477   5830.24   575109          0.1058956    5/8/195:09    0.0172785    0.5174335     4.53187E+13   3.1236507   6.70217E+12   0.0125147   0.3747735   3.1236507
478   5816.12   575110          0.1063653    5/8/195:14    0.0172785    0.5174335     4.50092E+13   3.1375074   6.70217E+12   0.0158514   0.4746966   3.1375074
479   5816.12   575110          0.1063653    5/8/195:19    0.0172785    0.5174335     4.50092E+13   3.1375074   6.70217E+12   0.0145818   0.4366763   3.1375074
480   5811.28   575111          0.1058572    5/8/195:24    0.0172785    0.5174335     4.51877E+13   3.1225197   6.70217E+12   0.0159657   0.4781195   3.1225197
481   5814.19   575113          0.1054793    5/8/195:29    0.0172785    0.5174335     4.53722E+13   3.1113735   6.70217E+12   0.0189354   0.5670521   3.1113735
482   5822.89   575113          0.1056372    5/8/195:34    0.0172785    0.5174335     4.53722E+13   3.1160292   6.70217E+12   0.0168377    0.504233   3.1160292
483    5825.6   575113          0.1056863    5/8/195:39    0.0172785    0.5174335     4.53722E+13   3.1174794   6.70217E+12   0.0142709   0.4273659   3.1174794
484   5825.47   575114          0.1057728    5/8/195:44    0.0172785    0.5174335     4.53341E+13   3.1200304   6.70217E+12   0.0162737   0.4873431   3.1200304
485   5830.59   575114          0.1058658    5/8/195:49    0.0172785    0.5174335     4.53341E+13   3.1227726   6.70217E+12    0.016296   0.4880109   3.1227726
486   5839.34   575114          0.1060247    5/8/195:54    0.0172785    0.5174335     4.53341E+13    3.127459   6.70217E+12   0.0078999   0.2365757    3.127459
487   5838.51   575115          0.1055129    5/8/195:59    0.0172785    0.5174335     4.55475E+13   3.1123637   6.70217E+12   0.0157437   0.4714713   3.1123637
488   5829.09   575117          0.1054774    5/8/196:04    0.0211899    0.6345669     4.54893E+13   3.1113164   6.70217E+12    0.015334   0.4592022   3.1113164
489   5826.85   575117          0.1054369    5/8/196:09    0.0211899    0.6345669     4.54893E+13   3.1101208   6.70217E+12   0.0095667   0.2864908   3.1101208
490   5838.53   575118           0.105587    5/8/196:14    0.0211899    0.6345669     4.55157E+13   3.1145494   6.70217E+12   0.0126575   0.3790499   3.1145494
491   5843.74   575119          0.1054459    5/8/196:19    0.0211899    0.6345669     4.56173E+13   3.1103869   6.70217E+12   0.0159603   0.4779578   3.1103869
492   5843.03   575119          0.1054331    5/8/196:24    0.0211899    0.6345669     4.56173E+13    3.110009   6.70217E+12   0.0169939   0.5089107    3.110009
493   5842.51   575119          0.1054237    5/8/196:29    0.0211899    0.6345669     4.56173E+13   3.1097323   6.70217E+12   0.0176305   0.5279747   3.1097323
494   5859.77   575120          0.1055662    5/8/196:34    0.0211899    0.6345669     4.56903E+13   3.1139353   6.70217E+12   0.0182108   0.5453528   3.1139353
495   5849.16   575120          0.1053751    5/8/196:39    0.0211899    0.6345669     4.56903E+13   3.1082971   6.70217E+12   0.0222873   0.6674303   3.1082971
496   5859.91   575120          0.1055687    5/8/196:44    0.0211899    0.6345669     4.56903E+13   3.1140097   6.70217E+12   0.0240313   0.7196573   3.1140097
497   5874.94   575120          0.1058395    5/8/196:49    0.0211899    0.6345669     4.56903E+13   3.1219968   6.70217E+12   0.0247785   0.7420335   3.1219968
498   5849.77   575122          0.1058251    5/8/196:54    0.0211899    0.6345669     4.55007E+13   3.1215733   6.70217E+12    0.035146   1.0525055   3.1215733
499   5847.52   575123          0.1059851    5/8/196:59    0.0211899    0.6345669     4.54146E+13   3.1262913   6.70217E+12   0.0331317    0.992184   3.1262913
500   5858.74   575123          0.1061884    5/8/197:04    0.0245969    0.7365952     4.54146E+13   3.1322899   6.70217E+12   0.0225584   0.6755489   3.1322899
501   5868.24   575124          0.1046351    5/8/197:09    0.0245969    0.7365952     4.61635E+13   3.0864695   6.70217E+12   0.0227738   0.6819994   3.0864695
502   5860.28   575124          0.1044931    5/8/197:14    0.0245969    0.7365952     4.61635E+13   3.0822829   6.70217E+12   0.0189208   0.5666149   3.0822829
503   5864.03   575124            0.10456    5/8/197:19    0.0245969    0.7365952     4.61635E+13   3.0842552   6.70217E+12   0.0206953   0.6197553   3.0842552
504   5860.24   575125          0.1049602    5/8/197:24    0.0245969    0.7365952     4.59578E+13   3.0960609   6.70217E+12   0.0230157   0.6892435   3.0960609
505   5855.35   575125          0.1048726    5/8/197:29    0.0245969    0.7365952     4.59578E+13   3.0934774   6.70217E+12   0.0225888   0.6764593   3.0934774
506   5861.24   575125          0.1049781    5/8/197:34    0.0245969    0.7365952     4.59578E+13   3.0965892   6.70217E+12   0.0205788   0.6162665   3.0965892
507   5864.22   575125          0.1050315    5/8/197:39    0.0245969    0.7365952     4.59578E+13   3.0981636   6.70217E+12   0.0197214   0.5905902   3.0981636
508    5855.4   575125          0.1048735    5/8/197:44    0.0245969    0.7365952     4.59578E+13   3.0935039   6.70217E+12   0.0198359   0.5940191   3.0935039
509   5848.68   575126           0.102448    5/8/197:49    0.0245969    0.7365952     4.69919E+13   3.0219576   6.70217E+12   0.0296779   0.8887542   3.0219576
510   5843.55   575127          0.1024751    5/8/197:54    0.0245969    0.7365952     4.69382E+13   3.0227572   6.70217E+12   0.0208223   0.6235585   3.0227572
511   5851.77   575127          0.1026193    5/8/197:59    0.0245969    0.7365952     4.69382E+13   3.0270092   6.70217E+12   0.0230156   0.6892405   3.0270092
512   5849.49   575127          0.1025793    5/8/198:04    0.0242095    0.7249938     4.69382E+13   3.0258298   6.70217E+12   0.0232039   0.6948795   3.0258298
513   5849.48   575129          0.1024537    5/8/198:09    0.0242095    0.7249938     4.69957E+13   3.0221242   6.70217E+12   0.0199092   0.5962142   3.0221242
514    5848.2   575130          0.1023337    5/8/198:14    0.0242095    0.7249938     4.70405E+13   3.0185855   6.70217E+12   0.0193885   0.5806209   3.0185855
515   5833.78   575131          0.1018159    5/8/198:19    0.0242095    0.7249938     4.71632E+13   3.0033105   6.70217E+12   0.0228642   0.6847066   3.0033105
516   5845.68   575131          0.1020236    5/8/198:24    0.0242095    0.7249938     4.71632E+13   3.0094368   6.70217E+12   0.0197323   0.5909166   3.0094368
517   5850.11   575133           0.101054    5/8/198:29    0.0242095    0.7249938     4.76518E+13   2.9808362   6.70217E+12   0.0210194    0.629461   2.9808362
518   5849.94   575134           0.101143    5/8/198:34    0.0242095    0.7249938     4.76084E+13   2.9834634   6.70217E+12   0.0253845   0.7601812   2.9834634
519   5844.18   575135          0.1003625    5/8/198:39    0.0242095    0.7249938     4.79315E+13   2.9604385   6.70217E+12   0.0187378   0.5611347   2.9604385
520   5844.99   575136          0.1007176    5/8/198:45    0.0242095    0.7249938     4.77691E+13   2.9709144   6.70217E+12   0.0201853   0.6044825   2.9709144
521   5856.45   575136          0.1009151    5/8/198:50    0.0242095    0.7249938     4.77691E+13   2.9767393   6.70217E+12   0.0212258    0.635642   2.9767393
522   5861.07   575136          0.1009947    5/8/198:55    0.0242095    0.7249938     4.77691E+13   2.9790876   6.70217E+12   0.0203371   0.6090284   2.9790876
523   5859.02   575136          0.1009594    5/8/199:00    0.0244939    0.7335107     4.77691E+13   2.9780456   6.70217E+12   0.0193291   0.5788421   2.9780456
524   5865.61   575136          0.1010729    5/8/199:05    0.0244939    0.7335107     4.77691E+13   2.9813952   6.70217E+12   0.0272511   0.8160796   2.9813952
525   5854.26   575136          0.1008773    5/8/199:10    0.0244939    0.7335107     4.77691E+13   2.9756262   6.70217E+12   0.0236817    0.709188   2.9756262
526    5831.3   575137          0.1018101    5/8/199:15    0.0244939    0.7335107     4.71458E+13   3.0031404   6.70217E+12   0.2149698   6.4376289   6.4376289
527   5839.16   575137          0.1019473    5/8/199:20    0.0244939    0.7335107     4.71458E+13   3.0071883   6.70217E+12   0.2149291   6.4364101   6.4364101
528    5843.2   575137          0.1020179    5/8/199:25    0.0244939    0.7335107     4.71458E+13   3.0092689   6.70217E+12   0.0275293   0.8244108   3.0092689
529   5841.15   575137          0.1019821    5/8/199:30    0.0244939    0.7335107     4.71458E+13   3.0082132   6.70217E+12   0.0429576   1.2864369   3.0082132
530   5849.05   575139          0.1011946    5/8/199:35    0.0244939    0.7335107      4.7577E+13   2.9849829   6.70217E+12   0.0232529   0.6963468   2.9849829
531   5857.36   575140          0.0999202    5/8/199:40    0.0244939    0.7335107     4.82522E+13    2.947394   6.70217E+12   0.0229391   0.6869496    2.947394
532   5857.91   575140          0.0999296    5/8/199:45    0.0244939    0.7335107     4.82522E+13   2.9476708   6.70217E+12   0.0235124    0.704118   2.9476708
533   5864.03   575140           0.100034    5/8/199:50    0.0244939    0.7335107     4.82522E+13   2.9507504   6.70217E+12   0.0259313    0.776556   2.9507504
534   5868.53   575142          0.0972217    5/8/199:55    0.0244939    0.7335107     4.96861E+13   2.8677931   6.70217E+12   0.0202099   0.6052191   2.8677931
535   5857.64   575143          0.0964425   5/8/1910:00    0.0273545    0.8191761     4.99946E+13   2.8448083   6.70217E+12    0.018816   0.5634765   2.8448083
536    5866.7   575143          0.0965916   5/8/1910:05    0.0273545    0.8191761     4.99946E+13   2.8492083   6.70217E+12   0.0166105   0.4974291   2.8492083
537   5863.82   575143          0.0965442   5/8/1910:10    0.0273545    0.8191761     4.99946E+13   2.8478096   6.70217E+12   0.0189675   0.5680134   2.8478096
538   5866.01   575143          0.0965803   5/8/1910:15    0.0273545    0.8191761     4.99946E+13   2.8488732   6.70217E+12   0.0207265   0.6206896   2.8488732
539   5864.99   575144          0.0934511   5/8/1910:20    0.0273545    0.8191761     5.16596E+13   2.7565705   6.70217E+12   0.0230154   0.6892345   2.7565705
540    5879.4   575144          0.0936807   5/8/1910:25    0.0273545    0.8191761     5.16596E+13   2.7633433   6.70217E+12    0.022665   0.6787412   2.7633433
541   5893.62   575144          0.0939073   5/8/1910:30    0.0273545    0.8191761     5.16596E+13   2.7700267   6.70217E+12    0.026083   0.7810989   2.7700267
542   5896.01   575144          0.0939454   5/8/1910:35    0.0273545    0.8191761     5.16596E+13     2.77115   6.70217E+12   0.0230839   0.6912859     2.77115
543   5888.01   575145          0.0946022   5/8/1910:40    0.0273545    0.8191761     5.12313E+13    2.790525   6.70217E+12   0.0287548   0.8611104    2.790525
544   5881.26   575145          0.0944937   5/8/1910:45    0.0273545    0.8191761     5.12313E+13    2.787326   6.70217E+12   0.0290496   0.8699387    2.787326
545   5890.78   575145          0.0946467   5/8/1910:50    0.0273545    0.8191761     5.12313E+13   2.7918378   6.70217E+12    0.031648   0.9477521   2.7918378
546   5902.32   575145          0.0948321   5/8/1910:55    0.0273545    0.8191761     5.12313E+13    2.797307   6.70217E+12   0.0386126   1.1563187    2.797307
547   5892.56   575146          0.0957691   5/8/1911:01    0.0256602    0.7684375     5.06462E+13   2.8249464   6.70217E+12   0.1850845   5.5426638   5.5426638
548    5892.8   575146           0.095773   5/8/1911:06    0.0256602    0.7684375     5.06462E+13   2.8250615   6.70217E+12   0.1223436    3.663783    3.663783
549   5886.97   575146          0.0956783   5/8/1911:11    0.0256602    0.7684375     5.06462E+13   2.8222665   6.70217E+12   0.0289788   0.8678185   2.8222665
550   5886.09   575147           0.095016   5/8/1911:16    0.0256602    0.7684375     5.09916E+13   2.8027303   6.70217E+12   0.0293671   0.8794468   2.8027303
551   5892.15   575147          0.0951138   5/8/1911:21    0.0256602    0.7684375     5.09916E+13   2.8056159   6.70217E+12   0.0222423   0.6660827   2.8056159
552   5876.44   575148          0.0951515   5/8/1911:26    0.0256602    0.7684375     5.08355E+13   2.8067268   6.70217E+12   0.0207227   0.6205758   2.8067268
553   5884.06   575149          0.0955244   5/8/1911:31    0.0256602    0.7684375     5.07027E+13   2.8177282   6.70217E+12   0.0191584   0.5737302   2.8177282
554   5888.27   575149          0.0955928   5/8/1911:36    0.0256602    0.7684375     5.07027E+13   2.8197442   6.70217E+12   0.0213724   0.6400321   2.8197442
555   5886.01   575149          0.0955561   5/8/1911:41    0.0256602    0.7684375     5.07027E+13    2.818662   6.70217E+12   0.0222172   0.6653311    2.818662
556   5884.57   575150          0.0935906   5/8/1911:46    0.0256602    0.7684375     5.17548E+13   2.7606856   6.70217E+12   0.0230647   0.6907109   2.7606856
557   5889.82   575150          0.0936741   5/8/1911:51    0.0256602    0.7684375     5.17548E+13   2.7631486   6.70217E+12   0.0228225   0.6834578   2.7631486
558   5888.19   575151          0.0945307   5/8/1911:56    0.0256602    0.7684375     5.12716E+13   2.7884168   6.70217E+12   0.0233477   0.6991858   2.7884168
559   5872.61   575151          0.0942806   5/8/1912:01     0.026371    0.7897235     5.12716E+13   2.7810387   6.70217E+12   0.0224703   0.6729106   2.7810387
560   5867.29   575152          0.0946705   5/8/1912:06     0.026371    0.7897235     5.10142E+13   2.7925413   6.70217E+12   0.0217427   0.6511214   2.7925413
561   5863.69   575152          0.0946125   5/8/1912:11     0.026371    0.7897235     5.10142E+13   2.7908278   6.70217E+12   0.0206502   0.6184047   2.7908278
562   5866.61   575153          0.0947421   5/8/1912:16     0.026371    0.7897235     5.09698E+13   2.7946505   6.70217E+12   0.0211696    0.633959   2.7946505
563   5868.73   575154          0.0943442   5/8/1912:21     0.026371    0.7897235     5.12032E+13   2.7829139   6.70217E+12   0.0227271   0.6806009   2.7829139
564   5877.65   575154          0.0944876   5/8/1912:26     0.026371    0.7897235     5.12032E+13   2.7871437   6.70217E+12   0.0262613   0.7864384   2.7871437

                                                                        Appx13583                                                                 TX984.0007
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       A        B           C                   D            E           F             G                H            I           J         K              L
565   5886.52   575156          0.0934827   5/8/1912:31     0.026371    0.7897235     5.18317E+13   2.7575042   6.70217E+12   0.0246938    0.739497   2.7575042
566   5883.25   575156          0.0934308   5/8/1912:36     0.026371    0.7897235     5.18317E+13   2.7559724   6.70217E+12   0.0239477   0.7171538   2.7559724
567    5880.8   575156          0.0933919   5/8/1912:41     0.026371    0.7897235     5.18317E+13   2.7548247   6.70217E+12   0.0215346   0.6448895   2.7548247
568   5886.84   575157          0.0931778   5/8/1912:46     0.026371    0.7897235     5.20042E+13   2.7485095   6.70217E+12   0.0215175   0.6443774   2.7485095
569   5887.77   575157          0.0931925   5/8/1912:51     0.026371    0.7897235     5.20042E+13   2.7489437   6.70217E+12   0.0210953   0.6317339   2.7489437
570   5886.14   575159          0.0936745   5/8/1912:56     0.026371    0.7897235     5.17223E+13   2.7631598   6.70217E+12   0.0221968   0.6647202   2.7631598
571   5880.23   575159          0.0935804   5/8/1913:01    0.0224056     0.670973     5.17223E+13   2.7603855   6.70217E+12   0.0220558   0.6604977   2.7603855
572   5884.79   575159           0.093653   5/8/1913:06    0.0224056     0.670973     5.17223E+13   2.7625261   6.70217E+12   0.0232481   0.6962031   2.7625261
573   5887.12   575159          0.0936901   5/8/1913:11    0.0224056     0.670973     5.17223E+13   2.7636199   6.70217E+12   0.0228614   0.6846227   2.7636199
574   5882.83   575159          0.0936218   5/8/1913:16    0.0224056     0.670973     5.17223E+13    2.761606   6.70217E+12   0.0286842   0.8589962    2.761606
575   5887.05   575160           0.095298   5/8/1913:21    0.0224056     0.670973      5.0849E+13   2.8110496   6.70217E+12   0.0210217   0.6295298   2.8110496
576   5885.01   575161          0.0954767   5/8/1913:26    0.0224056     0.670973     5.07362E+13   2.8163217   6.70217E+12   0.0209618    0.627736   2.8163217
577   5877.03   575161          0.0953473   5/8/1913:31    0.0224056     0.670973     5.07362E+13   2.8125028   6.70217E+12    0.019652   0.5885119   2.8125028
578    5864.5   575163          0.0928787   5/8/1913:36    0.0224056     0.670973     5.19737E+13   2.7396868   6.70217E+12   0.0197032   0.5900452   2.7396868
579   5878.37   575163          0.0930984   5/8/1913:41    0.0224056     0.670973     5.19737E+13   2.7461664   6.70217E+12   0.0229336   0.6867849   2.7461664
580   5884.42   575163          0.0931942   5/8/1913:46    0.0224056     0.670973     5.19737E+13   2.7489927   6.70217E+12    0.027902   0.8355719   2.7489927
581   5882.28   575163          0.0931603   5/8/1913:51    0.0224056     0.670973     5.19737E+13    2.747993   6.70217E+12   0.0286405   0.8576875    2.747993
582   5884.83   575163          0.0932007   5/8/1913:56    0.0224056     0.670973     5.19737E+13   2.7491843   6.70217E+12   0.0262751   0.7868517   2.7491843
583   5884.52   575164          0.0946934   5/8/1914:01    0.0200678    0.6009637     5.11517E+13    2.793214   6.70217E+12    0.027166   0.8135311    2.793214
584   5879.67   575164          0.0946153   5/8/1914:06    0.0200678    0.6009637     5.11517E+13   2.7909119   6.70217E+12   0.0243166   0.7282011   2.7909119
585   5877.49   575164          0.0945802   5/8/1914:11    0.0200678    0.6009637     5.11517E+13   2.7898771   6.70217E+12   0.0208701   0.6249899   2.7898771
586   5887.28   575166          0.0950829   5/8/1914:16    0.0200678    0.6009637      5.0966E+13   2.8047039   6.70217E+12   0.0218292   0.6537118   2.8047039
587   5884.05   575166          0.0950307   5/8/1914:21    0.0200678    0.6009637      5.0966E+13   2.8031651   6.70217E+12   0.0217633   0.6517383   2.8031651
588   5885.12   575166           0.095048   5/8/1914:26    0.0200678    0.6009637      5.0966E+13   2.8036749   6.70217E+12   0.0217781   0.6521815   2.8036749
589   5902.91   575167          0.0961455   5/8/1914:31    0.0200678    0.6009637     5.05365E+13    2.836049   6.70217E+12    0.021451   0.6423859    2.836049
590   5902.72   575167          0.0961424   5/8/1914:36    0.0200678    0.6009637     5.05365E+13   2.8359577   6.70217E+12   0.1801174   5.3939157   5.3939157
591   5906.61   575167          0.0962058   5/8/1914:41    0.0200678    0.6009637     5.05365E+13   2.8378267   6.70217E+12   0.0426523   1.2772942   2.8378267
592   5912.28   575167          0.0962981   5/8/1914:46    0.0200678    0.6009637     5.05365E+13   2.8405508   6.70217E+12   0.1999116    5.986686    5.986686
593   5908.65   575170           0.095031   5/8/1914:51    0.0200678    0.6009637      5.1179E+13   2.8031727   6.70217E+12   0.2670565    7.997452    7.997452
594   5900.02   575170          0.0948922   5/8/1914:56    0.0200678    0.6009637      5.1179E+13   2.7990785   6.70217E+12   0.0299601   0.8972051   2.7990785
595   5884.23   575171          0.0950701   5/8/1915:01    0.0170556    0.5107584     5.09465E+13   2.8043263   6.70217E+12   0.0297971   0.8923238   2.8043263
596   5890.02   575171          0.0951636   5/8/1915:06    0.0170556    0.5107584     5.09465E+13   2.8070857   6.70217E+12   0.0254303   0.7615527   2.8070857
597   5890.65   575171          0.0951738   5/8/1915:11    0.0170556    0.5107584     5.09465E+13   2.8073859   6.70217E+12   0.0264722   0.7927541   2.8073859
598   5868.34   575171          0.0948133   5/8/1915:16    0.0170556    0.5107584     5.09465E+13   2.7967533   6.70217E+12   0.0232906   0.6974758   2.7967533
599   5883.01   575172          0.0962041   5/8/1915:21    0.0170556    0.5107584     5.03355E+13    2.837777   6.70217E+12   0.0222239   0.6655317    2.837777
600   5877.22   575172          0.0961094   5/8/1915:26    0.0170556    0.5107584     5.03355E+13   2.8349841   6.70217E+12    0.021497   0.6437635   2.8349841
601   5882.35   575173          0.0955836   5/8/1915:31    0.0170556    0.5107584     5.06566E+13   2.8194728   6.70217E+12   0.0233908   0.7004765   2.8194728
602   5895.23   575174          0.0960485   5/8/1915:36    0.0170556    0.5107584     5.05218E+13   2.8331879   6.70217E+12   0.0260191   0.7791853   2.8331879
603   5891.02   575174          0.0959799   5/8/1915:41    0.0170556    0.5107584     5.05218E+13   2.8311646   6.70217E+12   0.0204508   0.6124333   2.8311646
604    5895.3   575174          0.0960497   5/8/1915:46    0.0170556    0.5107584     5.05218E+13   2.8332215   6.70217E+12   0.0203869   0.6105197   2.8332215
605   5898.69   575174          0.0961049   5/8/1915:51    0.0170556    0.5107584     5.05218E+13   2.8348507   6.70217E+12   0.0210614   0.6307187   2.8348507
606   5898.34   575175          0.0970802   5/8/1915:56    0.0170556    0.5107584     5.00112E+13    2.863621   6.70217E+12   0.0209194   0.6264663    2.863621
607   5900.14   575176          0.0971661   5/8/1916:01    0.0174326    0.5220483     4.99823E+13   2.8661537   6.70217E+12   0.0209977   0.6288111   2.8661537
608   5891.31   575176          0.0970207   5/8/1916:06    0.0174326    0.5220483     4.99823E+13   2.8618643   6.70217E+12   0.0203367   0.6090164   2.8618643
609   5893.65   575176          0.0970592   5/8/1916:11    0.0174326    0.5220483     4.99823E+13    2.863001   6.70217E+12   0.0213506   0.6393793    2.863001
610   5892.53   575177          0.0969298   5/8/1916:16    0.0174326    0.5220483     5.00395E+13   2.8591849   6.70217E+12   0.0261533   0.7832042   2.8591849
611   5894.16   575177          0.0969567   5/8/1916:21    0.0174326    0.5220483     5.00395E+13   2.8599758   6.70217E+12   0.0258626   0.7744987   2.8599758
612   5895.84   575178           0.097646   5/8/1916:26    0.0174326    0.5220483     4.97004E+13     2.88031   6.70217E+12   0.0215949   0.6466953     2.88031
613   5896.89   575179          0.0980892   5/8/1916:31    0.0174326    0.5220483     4.94846E+13   2.8933819   6.70217E+12   0.0198411   0.5941748   2.8933819
614   5902.19   575180          0.0983841   5/8/1916:36    0.0174326    0.5220483     4.93807E+13   2.9020809   6.70217E+12   0.0207134   0.6202973   2.9020809
615    5905.9   575181           0.097534   5/8/1916:41    0.0174326    0.5220483     4.98424E+13   2.8770052   6.70217E+12   0.0223016   0.6678586   2.8770052
616   5906.84   575181          0.0975495   5/8/1916:46    0.0174326    0.5220483     4.98424E+13   2.8774631   6.70217E+12   0.0254538   0.7622565   2.8774631
617   5904.42   575181          0.0975095   5/8/1916:51    0.0174326    0.5220483     4.98424E+13   2.8762842   6.70217E+12    0.025079   0.7510325   2.8762842
618   5903.02   575181          0.0974864   5/8/1916:56    0.0174326    0.5220483     4.98424E+13   2.8756022   6.70217E+12   0.0246071   0.7369006   2.8756022
619   5894.63   575182          0.0989154   5/8/1917:01    0.0174032    0.5211678     4.90525E+13   2.9177544   6.70217E+12   0.0226389   0.6779596   2.9177544
620   5898.06   575182           0.098973   5/8/1917:06    0.0174032    0.5211678     4.90525E+13   2.9194522   6.70217E+12   0.0256642   0.7685572   2.9194522
621   5891.22   575182          0.0988582   5/8/1917:11    0.0174032    0.5211678     4.90525E+13   2.9160665   6.70217E+12   0.0384273   1.1507695   2.9160665
622   5888.49   575182          0.0988124   5/8/1917:16    0.0174032    0.5211678     4.90525E+13   2.9147151   6.70217E+12   0.0364449   1.0914033   2.9147151
623   5895.57   575183          0.0996828   5/8/1917:21    0.0174032    0.5211678     4.86826E+13   2.9403898   6.70217E+12   0.0191003   0.5719903   2.9403898
624   5896.91   575183          0.0997054   5/8/1917:26    0.0174032    0.5211678     4.86826E+13   2.9410582   6.70217E+12   0.0230176   0.6893004   2.9410582
625   5918.72   575183          0.1000742   5/8/1917:31    0.0174032    0.5211678     4.86826E+13   2.9519358   6.70217E+12   0.0030289   0.0907055   2.9519358
626   5926.18   575183          0.1002003   5/8/1917:36    0.0174032    0.5211678     4.86826E+13   2.9556564   6.70217E+12   0.0439309    1.315584   2.9556564
627   5934.97   575183           0.100349   5/8/1917:41    0.0174032    0.5211678     4.86826E+13   2.9600404   6.70217E+12   0.0408583   1.2235699   2.9600404
628   5944.99   575185           0.100551   5/8/1917:46    0.0174032    0.5211678     4.86669E+13   2.9659989   6.70217E+12   0.0170991    0.512061   2.9659989
629   5940.01   575185          0.1004667   5/8/1917:51    0.0174032    0.5211678     4.86669E+13   2.9635144   6.70217E+12   0.0183967   0.5509198   2.9635144
630   5931.52   575186          0.1008871   5/8/1917:56    0.0174032    0.5211678     4.83948E+13   2.9759139   6.70217E+12   0.0163528   0.4897119   2.9759139
631    5938.6   575188          0.0986457   5/8/1918:01    0.0165475    0.4955425     4.95535E+13   2.9097985   6.70217E+12   0.0185884   0.5566606   2.9097985
632   5931.02   575189          0.0980181   5/8/1918:06    0.0165475    0.4955425     4.98071E+13   2.8912849   6.70217E+12   0.0173413   0.5193141   2.8912849
633   5928.19   575189          0.0979713   5/8/1918:12    0.0165475    0.4955425     4.98071E+13   2.8899053   6.70217E+12   0.0187899   0.5626949   2.8899053
634   5932.23   575189          0.0980381   5/8/1918:17    0.0165475    0.4955425     4.98071E+13   2.8918748   6.70217E+12   0.0180684   0.5410884   2.8918748
635   5931.78   575189          0.0980306   5/8/1918:22    0.0165475    0.4955425     4.98071E+13   2.8916554   6.70217E+12   0.0164812    0.493557   2.8916554
636   5964.15   575189          0.0985656   5/8/1918:27    0.0165475    0.4955425     4.98071E+13   2.9074353   6.70217E+12   0.0180238   0.5397527   2.9074353
637   5899.89   575189          0.0975036   5/8/1918:32    0.0165475    0.4955425     4.98071E+13   2.8761095   6.70217E+12   0.0168118   0.5034574   2.8761095
638   5931.45   575190          0.1008336   5/8/1918:37    0.0165475    0.4955425     4.84199E+13   2.9743362   6.70217E+12   0.0122315   0.3662927   2.9743362
639   5929.97   575190          0.1008085   5/8/1918:42    0.0165475    0.4955425     4.84199E+13    2.973594   6.70217E+12   0.0162317   0.4860853    2.973594
640    5923.2   575191          0.0994527   5/8/1918:47    0.0165475    0.4955425     4.90239E+13   2.9336031   6.70217E+12   0.0090855   0.2720804   2.9336031
641   5934.99   575192          0.0992547   5/8/1918:52    0.0165475    0.4955425     4.92195E+13   2.9277617   6.70217E+12   0.0122121   0.3657117   2.9277617
642   5940.66   575194          0.0989022   5/8/1918:57    0.0165475    0.4955425     4.94421E+13   2.9173636   6.70217E+12   0.0091815   0.2749553   2.9173636
643   5948.18   575194          0.0990274   5/8/1919:02    0.0158704    0.4752656     4.94421E+13   2.9210566   6.70217E+12   0.0137605   0.4120811   2.9210566
644   5964.98   575194          0.0993071   5/8/1919:07    0.0158704    0.4752656     4.94421E+13   2.9293068   6.70217E+12   0.0152734   0.4573874   2.9293068
645    5960.1   575194          0.0992258   5/8/1919:12    0.0158704    0.4752656     4.94421E+13   2.9269103   6.70217E+12   0.0109359   0.3274938   2.9269103
646   5946.01   575194          0.0989912   5/8/1919:17    0.0158704    0.4752656     4.94421E+13   2.9199909   6.70217E+12   0.0150092   0.4494755   2.9199909
647   5937.16   575194          0.0988439   5/8/1919:22    0.0158704    0.4752656     4.94421E+13   2.9156448   6.70217E+12   0.0154969   0.4640805   2.9156448
648   5955.08   575194          0.0991422   5/8/1919:27    0.0158704    0.4752656     4.94421E+13   2.9244451   6.70217E+12   0.0152611   0.4570191   2.9244451
649   5957.98   575195          0.1010248   5/8/1919:32    0.0158704    0.4752656     4.85444E+13    2.979976   6.70217E+12   0.0228461   0.6841645    2.979976
650   5962.91   575195          0.1011084   5/8/1919:37    0.0158704    0.4752656     4.85444E+13   2.9824418   6.70217E+12   0.0165428   0.4954017   2.9824418
651   5956.59   575195          0.1010012   5/8/1919:42    0.0158704    0.4752656     4.85444E+13   2.9792807   6.70217E+12   0.0163774   0.4904485   2.9792807
652    5957.7   575195          0.1010201   5/8/1919:47    0.0158704    0.4752656     4.85444E+13   2.9798359   6.70217E+12   0.0147872   0.4428273   2.9798359
653   5969.98   575195          0.1012283   5/8/1919:52    0.0158704    0.4752656     4.85444E+13    2.985978   6.70217E+12   0.0161979   0.4850731    2.985978
654   5987.65   575195          0.1015279   5/8/1919:57    0.0158704    0.4752656     4.85444E+13   2.9948159   6.70217E+12   0.0140256     0.42002   2.9948159
655    6036.6   575195          0.1023579   5/8/1920:02     0.013261    0.3971227     4.85444E+13    3.019299   6.70217E+12   0.0154454   0.4625382    3.019299
656   6037.49   575196          0.1050403   5/8/1920:07     0.013261    0.3971227     4.73117E+13   3.0984226   6.70217E+12   0.0157078   0.4703963   3.0984226
657   6092.47   575196          0.1059968   5/8/1920:12     0.013261    0.3971227     4.73117E+13   3.1266382   6.70217E+12   0.0215321   0.6448146   3.1266382
658   6052.38   575196          0.1052994   5/8/1920:17     0.013261    0.3971227     4.73117E+13   3.1060641   6.70217E+12    0.018557   0.5557203   3.1060641

                                                                        Appx13584                                                                 TX984.0008
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       A        B           C                   D             E           F              G                H            I           J          K                L
659   6053.32   575199          0.1035905   5/8/1920:22      0.013261     0.3971227     4.80997E+13   3.0556586   6.70217E+12    0.0163585    0.4898825    3.0556586
660   6041.03   575200          0.1032464   5/8/1920:27      0.013261     0.3971227      4.8162E+13   3.0455058   6.70217E+12    0.0188459    0.5643719    3.0455058
661   6030.66   575202          0.1032473   5/8/1920:32      0.013261     0.3971227     4.80789E+13   3.0455341   6.70217E+12    0.0134602    0.4030881    3.0455341
662   6043.34   575204          0.1032455   5/8/1920:37      0.013261     0.3971227     4.81808E+13   3.0454809   6.70217E+12    0.0164743    0.4933504    3.0454809
663   6042.19   575204          0.1032259   5/8/1920:42      0.013261     0.3971227     4.81808E+13   3.0449014   6.70217E+12    0.0147002     0.440222    3.0449014
664   6049.96   575204          0.1033586   5/8/1920:47      0.013261     0.3971227     4.81808E+13    3.048817   6.70217E+12    0.0148678    0.4452411     3.048817
665   6051.76   575205          0.1040715   5/8/1920:52      0.013261     0.3971227      4.7865E+13   3.0698443   6.70217E+12    0.0130545    0.3909388    3.0698443
666   6054.77   575206          0.1045618   5/8/1920:57      0.013261     0.3971227     4.76643E+13    3.084309   6.70217E+12    0.0122348    0.3663915     3.084309
667   6045.31   575206          0.1043985   5/8/1921:02     0.0057558      0.172367     4.76643E+13   3.0794901   6.70217E+12    0.0113115    0.3387417    3.0794901
668   6042.99   575207          0.1043195   5/8/1921:07     0.0057558      0.172367      4.7682E+13   3.0771614   6.70217E+12    0.0064092    0.1919342    3.0771614
669   6038.47   575207          0.1042415   5/8/1921:12     0.0057558      0.172367      4.7682E+13   3.0748598   6.70217E+12    0.0050076    0.1499609    3.0748598
670   6046.62   575207          0.1043822   5/8/1921:17     0.0057558      0.172367      4.7682E+13   3.0790099   6.70217E+12   Ͳ0.0026668   Ͳ0.0798618    3.0790099
671    6044.8   575207          0.1043508   5/8/1921:22     0.0057558      0.172367      4.7682E+13   3.0780831   6.70217E+12    0.0105849    0.3169825    3.0780831
672   6048.33   575207          0.1044117   5/8/1921:27     0.0057558      0.172367      4.7682E+13   3.0798806   6.70217E+12    0.0086089    0.2578079    3.0798806
673   6052.87   575208          0.1057954   5/8/1921:32     0.0057558      0.172367     4.70937E+13   3.1206959   6.70217E+12       0.0018     0.053904    3.1206959
674   6056.61   575210          0.1055202   5/8/1921:37     0.0057558      0.172367     4.72457E+13   3.1125773   6.70217E+12   Ͳ0.0021614   Ͳ0.0647267    3.1125773
675   6059.99   575212          0.0995054   5/8/1921:42     0.0057558      0.172367     5.01295E+13   2.9351584   6.70217E+12   Ͳ0.0034416   Ͳ0.1030644    2.9351584
676   6049.69   575213          0.0988159   5/8/1921:47     0.0057558      0.172367     5.03935E+13   2.9148188   6.70217E+12   Ͳ0.0015146   Ͳ0.0453572    2.9148188
677   6056.42   575214          0.0996142   5/8/1921:52     0.0057558      0.172367     5.00453E+13   2.9383674   6.70217E+12   Ͳ0.0023178   Ͳ0.0694104    2.9383674
678   6045.27   575214          0.0994308   5/8/1921:57     0.0057558      0.172367     5.00453E+13   2.9329578   6.70217E+12    0.0029429       0.08813   2.9329578
679   6041.19   575214          0.0993637   5/8/1922:02    Ͳ0.0039885    Ͳ0.1194423     5.00453E+13   2.9309783   6.70217E+12    0.0028846    0.0863842    2.9309783
680   6033.23   575215          0.0986577   5/8/1922:07    Ͳ0.0039885    Ͳ0.1194423      5.0337E+13   2.9101535   6.70217E+12   Ͳ0.0021717   Ͳ0.0650352    2.9101535
681   6034.99   575215          0.0986865   5/8/1922:12    Ͳ0.0039885    Ͳ0.1194423      5.0337E+13   2.9110025   6.70217E+12    0.0094236    0.2822054    2.9110025
682   6042.83   575215          0.0988147   5/8/1922:17    Ͳ0.0039885    Ͳ0.1194423      5.0337E+13   2.9147841   6.70217E+12   Ͳ0.0117128   Ͳ0.3507593    2.9147841
683   6033.48   575216          0.0981874   5/8/1922:22    Ͳ0.0039885    Ͳ0.1194423     5.05802E+13   2.8962791   6.70217E+12   Ͳ0.0071632    Ͳ0.214514    2.8962791
684   6028.01   575217          0.0985494   5/8/1922:27    Ͳ0.0039885    Ͳ0.1194423     5.03487E+13   2.9069577   6.70217E+12   Ͳ0.0043047   Ͳ0.1289114    2.9069577
685   6027.43   575217          0.0985399   5/8/1922:32    Ͳ0.0039885    Ͳ0.1194423     5.03487E+13    2.906678   6.70217E+12   Ͳ0.0026014   Ͳ0.0779033     2.906678
686   6029.94   575217           0.098581   5/8/1922:37    Ͳ0.0039885    Ͳ0.1194423     5.03487E+13   2.9078884   6.70217E+12   Ͳ0.0017683   Ͳ0.0529547    2.9078884
687   6039.16   575219          0.0983331   5/8/1922:42    Ͳ0.0039885    Ͳ0.1194423     5.05528E+13   2.9005763   6.70217E+12   Ͳ0.0018002      Ͳ0.05391   2.9005763
688   6039.06   575221          0.0975716   5/8/1922:47    Ͳ0.0039885    Ͳ0.1194423     5.09465E+13   2.8781157   6.70217E+12    0.0035525    0.1063855    2.8781157
689   6035.97   575221          0.0975217   5/8/1922:52    Ͳ0.0039885    Ͳ0.1194423     5.09465E+13    2.876643   6.70217E+12   Ͳ0.0028608   Ͳ0.0856714     2.876643
690   6041.91   575222          0.0971742   5/8/1922:57    Ͳ0.0039885    Ͳ0.1194423      5.1179E+13   2.8663937   6.70217E+12   Ͳ0.0044334   Ͳ0.1327656    2.8663937
691   6066.64   575224          0.1014592    5/9/190:02    Ͳ0.0060127    Ͳ0.1800603     4.92181E+13   2.9927906   6.70217E+12   Ͳ0.0145142   Ͳ0.4346519    2.9927906
692   6072.36   575225          0.1021048    5/9/190:07    Ͳ0.0060127    Ͳ0.1800603     4.89531E+13   3.0118316   6.70217E+12   Ͳ0.0130235   Ͳ0.3900104    3.0118316
693   6068.07   575225          0.1020326    5/9/190:12    Ͳ0.0060127    Ͳ0.1800603     4.89531E+13   3.0097038   6.70217E+12   Ͳ0.0286682    Ͳ0.858517    3.0097038
694   6076.08   575225          0.1021673    5/9/190:17    Ͳ0.0060127    Ͳ0.1800603     4.89531E+13   3.0136767   6.70217E+12   Ͳ0.0231556    Ͳ0.693433    3.0136767
695   6077.05   575225          0.1021836    5/9/190:22    Ͳ0.0060127    Ͳ0.1800603     4.89531E+13   3.0141578   6.70217E+12   Ͳ0.0015472   Ͳ0.0463335    3.0141578
696   6056.56   575225          0.1018391    5/9/190:27    Ͳ0.0060127    Ͳ0.1800603     4.89531E+13    3.003995   6.70217E+12   Ͳ0.0012057   Ͳ0.0361067     3.003995
697   6053.34   575225          0.1017849    5/9/190:37    Ͳ0.0060127    Ͳ0.1800603     4.89531E+13   3.0023979   6.70217E+12   Ͳ0.0181456   Ͳ0.5434002    3.0023979
698   6047.02   575227          0.1035951    5/9/190:42    Ͳ0.0060127    Ͳ0.1800603     4.80475E+13   3.0557938   6.70217E+12   Ͳ0.0191353   Ͳ0.5730385    3.0557938
699   6061.52   575227          0.1038435    5/9/190:47    Ͳ0.0060127    Ͳ0.1800603     4.80475E+13   3.0631212   6.70217E+12   Ͳ0.0107209   Ͳ0.3210552    3.0631212
700   6050.01   575229           0.103384    5/9/190:52    Ͳ0.0060127    Ͳ0.1800603     4.81694E+13   3.0495651   6.70217E+12    0.0010001    0.0299497    3.0495651
701   6044.15   575229          0.1032838    5/9/190:57    Ͳ0.0060127    Ͳ0.1800603     4.81694E+13   3.0466114   6.70217E+12   Ͳ0.0040798   Ͳ0.1221764    3.0466114
702   6044.76   575229          0.1032943    5/9/191:02    Ͳ0.0084514    Ͳ0.2530913     4.81694E+13   3.0469188   6.70217E+12   Ͳ0.0033111   Ͳ0.0991564    3.0469188
703   6039.56   575229          0.1032054    5/9/191:07    Ͳ0.0084514    Ͳ0.2530913     4.81694E+13   3.0442977   6.70217E+12   Ͳ0.0031204   Ͳ0.0934456    3.0442977
704    6042.9   575231          0.1030119    5/9/191:12    Ͳ0.0084514    Ͳ0.2530913     4.82866E+13   3.0385906   6.70217E+12   Ͳ0.0012951   Ͳ0.0387839    3.0385906
705   6042.77   575232          0.1030817    5/9/191:17    Ͳ0.0084514    Ͳ0.2530913     4.82528E+13   3.0406489   6.70217E+12   Ͳ0.0005672   Ͳ0.0169857    3.0406489
706   6053.94   575233          0.1033545    5/9/191:22    Ͳ0.0084514    Ͳ0.2530913     4.82145E+13   3.0486951   6.70217E+12   Ͳ0.0121807   Ͳ0.3647714    3.0486951
707   6056.93   575233          0.1034055    5/9/191:27    Ͳ0.0084514    Ͳ0.2530913     4.82145E+13   3.0502008   6.70217E+12   Ͳ0.0149888   Ͳ0.4488646    3.0502008
708   6055.69   575233          0.1033843    5/9/191:32    Ͳ0.0084514    Ͳ0.2530913     4.82145E+13   3.0495763   6.70217E+12   Ͳ0.0147726   Ͳ0.4423901    3.0495763
709   6058.16   575233          0.1034265    5/9/191:37    Ͳ0.0084514    Ͳ0.2530913     4.82145E+13   3.0508202   6.70217E+12   Ͳ0.0157309    Ͳ0.471088    3.0508202
710    6059.3   575234          0.1038084    5/9/191:42    Ͳ0.0084514    Ͳ0.2530913     4.80461E+13   3.0620845   6.70217E+12   Ͳ0.0227758   Ͳ0.6820593    3.0620845
711   6061.34   575235          0.1031342    5/9/191:47    Ͳ0.0084514    Ͳ0.2530913     4.83765E+13   3.0421965   6.70217E+12   Ͳ0.0265233   Ͳ0.7942844    3.0421965
712   6073.89   575235          0.1033477    5/9/191:52    Ͳ0.0084514    Ͳ0.2530913     4.83765E+13   3.0484953   6.70217E+12   Ͳ0.0258125   Ͳ0.7729983    3.0484953
713    6070.6   575236          0.1036534    5/9/191:57    Ͳ0.0084514    Ͳ0.2530913     4.82077E+13   3.0575115   6.70217E+12   Ͳ0.0270166   Ͳ0.8090571    3.0575115
714   6070.34   575237          0.1039744    5/9/192:02     Ͳ0.009959    Ͳ0.2982389     4.80568E+13   3.0669809   6.70217E+12   Ͳ0.0241909   Ͳ0.7244368    3.0669809
715   6070.64   575238          0.1033994    5/9/192:07     Ͳ0.009959    Ͳ0.2982389     4.83264E+13   3.0500217   6.70217E+12   Ͳ0.0192845   Ͳ0.5775065    3.0500217
716    6066.1   575238          0.1033221    5/9/192:12     Ͳ0.009959    Ͳ0.2982389     4.83264E+13   3.0477407   6.70217E+12   Ͳ0.0253576   Ͳ0.7593756    3.0477407
717   6051.34   575238          0.1030707    5/9/192:17     Ͳ0.009959    Ͳ0.2982389     4.83264E+13    3.040325   6.70217E+12   Ͳ0.0277084   Ͳ0.8297742     3.040325
718   6061.78   575239          0.1040791    5/9/192:22     Ͳ0.009959    Ͳ0.2982389     4.79408E+13   3.0700698   6.70217E+12   Ͳ0.0259793   Ͳ0.7779934    3.0700698
719   6063.51   575239          0.1041088    5/9/192:27     Ͳ0.009959    Ͳ0.2982389     4.79408E+13    3.070946   6.70217E+12   Ͳ0.0268247   Ͳ0.8033103     3.070946
720   6069.07   575240          0.1042563    5/9/192:32     Ͳ0.009959    Ͳ0.2982389     4.79168E+13   3.0752977   6.70217E+12   Ͳ0.0240329   Ͳ0.7197052    3.0752977
721   6065.45   575242          0.1026794    5/9/192:37     Ͳ0.009959    Ͳ0.2982389     4.86237E+13   3.0287832   6.70217E+12   Ͳ0.0250565   Ͳ0.7503587    3.0287832
722   6056.78   575242          0.1025327    5/9/192:43     Ͳ0.009959    Ͳ0.2982389     4.86237E+13   3.0244539   6.70217E+12   Ͳ0.0183811   Ͳ0.5504527    3.0244539
723   6054.89   575242          0.1025007    5/9/192:48     Ͳ0.009959    Ͳ0.2982389     4.86237E+13   3.0235101   6.70217E+12   Ͳ0.0211004   Ͳ0.6318866    3.0235101
724   6052.82   575243          0.1032503    5/9/192:53     Ͳ0.009959    Ͳ0.2982389     4.82542E+13   3.0456209   6.70217E+12   Ͳ0.0280966   Ͳ0.8413995    3.0456209
725   6054.43   575243          0.1032777    5/9/192:58     Ͳ0.009959    Ͳ0.2982389     4.82542E+13    3.046431   6.70217E+12   Ͳ0.0255341   Ͳ0.7646612     3.046431
726   6054.32   575244          0.1033884    5/9/193:03    Ͳ0.0077595    Ͳ0.2323712     4.82017E+13    3.049695   6.70217E+12   Ͳ0.0035264   Ͳ0.1056039     3.049695
727   6068.65   575246          0.1006368    5/9/193:08    Ͳ0.0077595    Ͳ0.2323712     4.96368E+13   2.9685297   6.70217E+12   Ͳ0.0237767   Ͳ0.7120329    2.9685297
728   6068.33   575249          0.0992317    5/9/193:13    Ͳ0.0077595    Ͳ0.2323712      5.0337E+13   2.9270841   6.70217E+12   Ͳ0.0227655   Ͳ0.6817508    2.9270841
729   6063.73   575250          0.0992085    5/9/193:18    Ͳ0.0077595    Ͳ0.2323712     5.03106E+13   2.9263997   6.70217E+12   Ͳ0.0241747   Ͳ0.7239517    2.9263997
730   6046.71   575250            0.09893    5/9/193:23    Ͳ0.0077595    Ͳ0.2323712     5.03106E+13   2.9181857   6.70217E+12   Ͳ0.0246606   Ͳ0.7385028    2.9181857
731   6046.74   575251           0.099455    5/9/193:28    Ͳ0.0077595    Ͳ0.2323712     5.00453E+13    2.933671   6.70217E+12   Ͳ0.0228565    Ͳ0.684476     2.933671
732   6058.26   575252          0.0992865    5/9/193:33    Ͳ0.0077595    Ͳ0.2323712     5.02257E+13   2.9286995   6.70217E+12   Ͳ0.0237663   Ͳ0.7117215    2.9286995
733   6064.08   575252          0.0993819    5/9/193:38    Ͳ0.0077595    Ͳ0.2323712     5.02257E+13    2.931513   6.70217E+12   Ͳ0.0229553   Ͳ0.6874347     2.931513
734   6061.98   575252          0.0993474    5/9/193:43    Ͳ0.0077595    Ͳ0.2323712     5.02257E+13   2.9304978   6.70217E+12   Ͳ0.0218107   Ͳ0.6531578    2.9304978
735   6061.61   575252          0.0993414    5/9/193:48    Ͳ0.0077595    Ͳ0.2323712     5.02257E+13   2.9303189   6.70217E+12   Ͳ0.0228651   Ͳ0.6847335    2.9303189
736   6055.44   575252          0.0992403    5/9/193:53    Ͳ0.0077595    Ͳ0.2323712     5.02257E+13   2.9273362   6.70217E+12   Ͳ0.0258057   Ͳ0.7727947    2.9273362
737   6048.17   575253          0.1013391    5/9/193:58    Ͳ0.0077595    Ͳ0.2323712     4.91264E+13   2.9892481   6.70217E+12   Ͳ0.0222549   Ͳ0.6664601    2.9892481
738   6036.54   575253          0.1011443    5/9/194:03    Ͳ0.0064119     Ͳ0.192015     4.91264E+13   2.9835001   6.70217E+12   Ͳ0.0201096   Ͳ0.6022155    2.9835001
739   6032.68   575254          0.1009675    5/9/194:08    Ͳ0.0064119     Ͳ0.192015      4.9181E+13   2.9782848   6.70217E+12   Ͳ0.0220837   Ͳ0.6613332    2.9782848
740   6036.52   575254          0.1010317    5/9/194:13    Ͳ0.0064119     Ͳ0.192015      4.9181E+13   2.9801806   6.70217E+12   Ͳ0.0189611   Ͳ0.5678217    2.9801806
741   6048.03   575254          0.1012244    5/9/194:18    Ͳ0.0064119     Ͳ0.192015      4.9181E+13    2.985863   6.70217E+12   Ͳ0.0284786   Ͳ0.8528391     2.985863
742   6049.12   575254          0.1012426    5/9/194:23    Ͳ0.0064119     Ͳ0.192015      4.9181E+13   2.9864011   6.70217E+12   Ͳ0.0265276   Ͳ0.7944132    2.9864011
743    6047.1   575255           0.102742    5/9/194:28    Ͳ0.0064119     Ͳ0.192015     4.84471E+13   3.0306289   6.70217E+12   Ͳ0.0220302   Ͳ0.6597311    3.0306289
744   6040.01   575255          0.1026215    5/9/194:33    Ͳ0.0064119     Ͳ0.192015     4.84471E+13   3.0270756   6.70217E+12   Ͳ0.0249572   Ͳ0.7473849    3.0270756
745   6039.32   575256          0.1033913    5/9/194:38    Ͳ0.0064119     Ͳ0.192015     4.80809E+13   3.0497802   6.70217E+12   Ͳ0.0273476   Ͳ0.8189695    3.0497802
746   6037.47   575256          0.1033596    5/9/194:43    Ͳ0.0064119     Ͳ0.192015     4.80809E+13   3.0488459   6.70217E+12   Ͳ0.0285916   Ͳ0.8562231    3.0488459
747   6046.95   575256          0.1035219    5/9/194:48    Ͳ0.0064119     Ͳ0.192015     4.80809E+13   3.0536332   6.70217E+12   Ͳ0.0276954   Ͳ0.8293849    3.0536332
748   6051.57   575256           0.103601    5/9/194:53    Ͳ0.0064119     Ͳ0.192015     4.80809E+13   3.0559662   6.70217E+12   Ͳ0.0189461   Ͳ0.5673725    3.0559662
749   6052.41   575257          0.1025409    5/9/194:58    Ͳ0.0064119     Ͳ0.192015     4.85847E+13   3.0246966   6.70217E+12   Ͳ0.0213883   Ͳ0.6405083    3.0246966
750   6058.73   575257           0.102648    5/9/195:03     Ͳ0.001004    Ͳ0.0300665     4.85847E+13    3.027855   6.70217E+12   Ͳ0.0284985   Ͳ0.8534351     3.027855
751    6054.8   575258          0.1018989    5/9/195:08     Ͳ0.001004    Ͳ0.0300665     4.89101E+13   3.0057607   6.70217E+12   Ͳ0.0254371   Ͳ0.7617564    3.0057607
752   6051.38   575258          0.1018414    5/9/195:13     Ͳ0.001004    Ͳ0.0300665     4.89101E+13   3.0040629   6.70217E+12   Ͳ0.0222254   Ͳ0.6655766    3.0040629

                                                                         Appx13585                                                                     TX984.0009
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       A        B           C                   D            E           F              G                H            I           J          K               L
753    6048.3   575258          0.1017896    5/9/195:18    Ͳ0.001004    Ͳ0.0300665     4.89101E+13   3.0025339   6.70217E+12   Ͳ0.0245437    Ͳ0.735002   3.0025339
754   6051.14   575258          0.1018373    5/9/195:23    Ͳ0.001004    Ͳ0.0300665     4.89101E+13   3.0039438   6.70217E+12   Ͳ0.0272051   Ͳ0.8147021   3.0039438
755   6057.19   575258          0.1019392    5/9/195:28    Ͳ0.001004    Ͳ0.0300665     4.89101E+13   3.0069471   6.70217E+12    Ͳ0.026005   Ͳ0.7787631   3.0069471
756   6059.15   575259          0.1040181    5/9/195:33    Ͳ0.001004    Ͳ0.0300665     4.79481E+13   3.0682693   6.70217E+12   Ͳ0.0148258   Ͳ0.4439833   3.0682693
757   6061.72   575260          0.1037848    5/9/195:38    Ͳ0.001004    Ͳ0.0300665     4.80762E+13   3.0613901   6.70217E+12   Ͳ0.0244808   Ͳ0.7331184   3.0613901
758   6057.72   575260          0.1037164    5/9/195:43    Ͳ0.001004    Ͳ0.0300665     4.80762E+13     3.05937   6.70217E+12   Ͳ0.0243887   Ͳ0.7303603     3.05937
759    6057.7   575260           0.103716    5/9/195:48    Ͳ0.001004    Ͳ0.0300665     4.80762E+13   3.0593599   6.70217E+12   Ͳ0.0198852   Ͳ0.5954955   3.0593599
760   6047.35   575260          0.1035388    5/9/195:53    Ͳ0.001004    Ͳ0.0300665     4.80762E+13   3.0541327   6.70217E+12   Ͳ0.0198875   Ͳ0.5955643   3.0541327
761   6044.98   575261          0.1039808    5/9/195:58    Ͳ0.001004    Ͳ0.0300665     4.78531E+13   3.0671699   6.70217E+12   Ͳ0.0198792   Ͳ0.5953158   3.0671699
762   6040.28   575262          0.1043375    5/9/196:03    0.0099891     0.2991402     4.76524E+13    3.077692   6.70217E+12   Ͳ0.0173633    Ͳ0.519973    3.077692
763   6034.01   575263          0.1041918    5/9/196:08    0.0099891     0.2991402     4.76695E+13   3.0733946   6.70217E+12    Ͳ0.018275   Ͳ0.5472753   3.0733946
764   6034.26   575263          0.1041961    5/9/196:13    0.0099891     0.2991402     4.76695E+13   3.0735219   6.70217E+12   Ͳ0.0079803   Ͳ0.2389834   3.0735219
765   6037.47   575263          0.1042516    5/9/196:18    0.0099891     0.2991402     4.76695E+13   3.0751569   6.70217E+12   Ͳ0.0028126    Ͳ0.084228   3.0751569
766   6035.61   575264          0.1036859    5/9/196:23    0.0099891     0.2991402     4.79148E+13   3.0584702   6.70217E+12   Ͳ0.0009188    Ͳ0.027515   3.0584702
767   6032.26   575264          0.1036283    5/9/196:28    0.0099891     0.2991402     4.79148E+13   3.0567726   6.70217E+12   Ͳ0.0017763   Ͳ0.0531943   3.0567726
768   6035.08   575266          0.1012996    5/9/196:33    0.0099891     0.2991402     4.90392E+13    2.988081   6.70217E+12   Ͳ0.0029613   Ͳ0.0886811    2.988081
769   6038.27   575266          0.1013531    5/9/196:38    0.0099891     0.2991402     4.90392E+13   2.9896604   6.70217E+12   Ͳ0.0017698   Ͳ0.0529996   2.9896604
770   6038.35   575267          0.1004336    5/9/196:43    0.0099891     0.2991402     4.94889E+13   2.9625364   6.70217E+12   Ͳ0.0040978   Ͳ0.1227155   2.9625364
771   6041.06   575267          0.1004787    5/9/196:48    0.0099891     0.2991402     4.94889E+13    2.963866   6.70217E+12   Ͳ0.0041121   Ͳ0.1231437    2.963866
772    6032.6   575269          0.1003466    5/9/196:53    0.0099891     0.2991402     4.94846E+13   2.9599697   6.70217E+12   Ͳ0.0017941   Ͳ0.0537273   2.9599697
773   6038.62   575269          0.1004467    5/9/196:58    0.0099891     0.2991402     4.94846E+13   2.9629235   6.70217E+12   Ͳ0.0169009   Ͳ0.5061256   2.9629235
774   6023.18   575269          0.1001899    5/9/197:03     0.015734     0.4711809     4.94846E+13   2.9553477   6.70217E+12   Ͳ0.0127165   Ͳ0.3808168   2.9553477
775   6018.06   575270           0.100393    5/9/197:08     0.015734     0.4711809     4.93426E+13   2.9613379   6.70217E+12   Ͳ0.0057831   Ͳ0.1731846   2.9613379
776   6028.56   575270          0.1005681    5/9/197:13     0.015734     0.4711809     4.93426E+13   2.9665047   6.70217E+12   Ͳ0.0011814    Ͳ0.035379   2.9665047
777   6023.05   575271          0.1000255    5/9/197:18     0.015734     0.4711809     4.95649E+13      2.9505   6.70217E+12   Ͳ0.0018878   Ͳ0.0565333      2.9505
778    6002.6   575271          0.0996859    5/9/197:23     0.015734     0.4711809     4.95649E+13   2.9404822   6.70217E+12   Ͳ0.0019315    Ͳ0.057842   2.9404822
779   6004.55   575271          0.0997183    5/9/197:28     0.015734     0.4711809     4.95649E+13   2.9414374   6.70217E+12   Ͳ0.0032781   Ͳ0.0981682   2.9414374
780   6023.65   575271          0.1000355    5/9/197:33     0.015734     0.4711809     4.95649E+13   2.9507939   6.70217E+12   Ͳ0.0044118   Ͳ0.1321187   2.9507939
781   6022.52   575272          0.1006869    5/9/197:38     0.015734     0.4711809      4.9235E+13   2.9700094   6.70217E+12   Ͳ0.0183056   Ͳ0.5481917   2.9700094
782   6016.76   575272          0.1005906    5/9/197:43     0.015734     0.4711809      4.9235E+13   2.9671688   6.70217E+12    Ͳ0.004465   Ͳ0.1337119   2.9671688
783   6007.87   575272           0.100442    5/9/197:48     0.015734     0.4711809      4.9235E+13   2.9627847   6.70217E+12   Ͳ0.0011594   Ͳ0.0347202   2.9627847
784   5998.51   575272          0.1002855    5/9/197:53     0.015734     0.4711809      4.9235E+13   2.9581688   6.70217E+12   Ͳ0.0019525   Ͳ0.0584709   2.9581688
785   6004.67   575273           0.101848    5/9/197:58     0.015734     0.4711809     4.85294E+13   3.0042572   6.70217E+12    Ͳ0.016446   Ͳ0.4925029   3.0042572
786   5986.82   575273          0.1015452    5/9/198:03    0.0212738     0.6370794     4.85294E+13   2.9953265   6.70217E+12   Ͳ0.0226577   Ͳ0.6785226   2.9953265
787   5966.01   575273          0.1011922    5/9/198:08    0.0212738     0.6370794     4.85294E+13   2.9849149   6.70217E+12   Ͳ0.0040549   Ͳ0.1214307   2.9849149
788   5975.72   575273          0.1013569    5/9/198:13    0.0212738     0.6370794     4.85294E+13    2.989773   6.70217E+12    0.0088876     0.266154    2.989773
789   5974.19   575273           0.101331    5/9/198:18    0.0212738     0.6370794     4.85294E+13   2.9890075   6.70217E+12    0.0059397    0.1778742   2.9890075
790   5989.16   575275          0.1021458    5/9/198:23    0.0212738     0.6370794      4.8263E+13   3.0130416   6.70217E+12     0.005809    0.1739602   3.0130416
791    5989.1   575275          0.1021448    5/9/198:28    0.0212738     0.6370794      4.8263E+13   3.0130114   6.70217E+12    0.0001868     0.005594   3.0130114
792   5990.38   575275          0.1021666    5/9/198:33    0.0212738     0.6370794      4.8263E+13   3.0136553   6.70217E+12    0.0010001    0.0299497   3.0136553
793   5999.35   575275          0.1023196    5/9/198:38    0.0212738     0.6370794      4.8263E+13    3.018168   6.70217E+12   Ͳ0.0026113   Ͳ0.0781997    3.018168
794   6009.99   575276          0.1040749    5/9/198:43    0.0212738     0.6370794     4.75331E+13   3.0699468   6.70217E+12    0.0003791    0.0113528   3.0699468
795   6015.23   575276          0.1041657    5/9/198:48    0.0212738     0.6370794     4.75331E+13   3.0726234   6.70217E+12    0.0045541    0.1363801   3.0726234
796   6006.59   575276          0.1040161    5/9/198:53    0.0212738     0.6370794     4.75331E+13   3.0682101   6.70217E+12    0.0020439     0.061208   3.0682101
797   6012.06   575276          0.1041108    5/9/198:58    0.0212738     0.6370794     4.75331E+13   3.0710042   6.70217E+12    0.0057903    0.1734002   3.0710042
798   5997.24   575276          0.1038541    5/9/199:03     0.021087     0.6314854     4.75331E+13    3.063434   6.70217E+12    0.0154138    0.4615919    3.063434
799   6009.31   575277          0.1048522    5/9/199:08     0.021087     0.6314854     4.71754E+13   3.0928732   6.70217E+12     0.007881    0.2360097   3.0928732
800   6014.99   575277          0.1049513    5/9/199:13     0.021087     0.6314854     4.71754E+13   3.0957966   6.70217E+12    0.0015859    0.0474924   3.0957966
801   6015.14   575277          0.1049539    5/9/199:18     0.021087     0.6314854     4.71754E+13   3.0958738   6.70217E+12    0.0110437     0.330722   3.0958738
802   6010.98   575277          0.1048813    5/9/199:23     0.021087     0.6314854     4.71754E+13   3.0937327   6.70217E+12    0.0082541    0.2471828   3.0937327
803    6015.8   575279          0.1061867    5/9/199:28     0.021087     0.6314854     4.66328E+13     3.13224   6.70217E+12    0.0098213    0.2941152     3.13224
804   6008.98   575281          0.1036694    5/9/199:33     0.021087     0.6314854      4.7711E+13   3.0579847   6.70217E+12    0.0137284    0.4111198   3.0579847
805   6005.02   575281          0.1036011    5/9/199:38     0.021087     0.6314854      4.7711E+13   3.0559695   6.70217E+12    0.0148862    0.4457921   3.0559695
806   5992.86   575281          0.1033913    5/9/199:43     0.021087     0.6314854      4.7711E+13   3.0497812   6.70217E+12     0.019156    0.5736583   3.0497812
807    6001.7   575281          0.1035438    5/9/199:48     0.021087     0.6314854      4.7711E+13   3.0542799   6.70217E+12    0.0155476    0.4655988   3.0542799
808   5996.77   575281          0.1034587    5/9/199:53     0.021087     0.6314854      4.7711E+13    3.051771   6.70217E+12    0.0127646    0.3822572    3.051771
809   5997.26   575281          0.1034672    5/9/199:58     0.021087     0.6314854      4.7711E+13   3.0520204   6.70217E+12      0.01036    0.3102475   3.0520204
810   5995.19   575281          0.1034315   5/9/1910:03    0.0217322     0.6508069      4.7711E+13    3.050967   6.70217E+12   Ͳ0.0001443   Ͳ0.0043213    3.050967
811   5995.19   575281          0.1034315   5/9/1910:08    0.0217322     0.6508069      4.7711E+13    3.050967   6.70217E+12    0.0134747    0.4035223    3.050967
812   5978.15   575281          0.1031375   5/9/1910:13    0.0217322     0.6508069      4.7711E+13   3.0422953   6.70217E+12    0.0153319    0.4591393   3.0422953
813   5989.44   575281          0.1033323   5/9/1910:18    0.0217322     0.6508069      4.7711E+13   3.0480408   6.70217E+12     0.016155    0.4837884   3.0480408
814   6001.74   575282          0.1070813   5/9/1910:23    0.0217322     0.6508069     4.61352E+13    3.158626   6.70217E+12    0.0174376     0.522198    3.158626
815   6010.06   575282          0.1072297   5/9/1910:28    0.0217322     0.6508069     4.61352E+13   3.1630047   6.70217E+12    0.0234385    0.7019049   3.1630047
816   6009.71   575283          0.1079065   5/9/1910:33    0.0217322     0.6508069     4.58431E+13   3.1829698   6.70217E+12    0.0203173    0.6084354   3.1829698
817   5995.73   575283          0.1076555   5/9/1910:38    0.0217322     0.6508069     4.58431E+13   3.1755655   6.70217E+12     0.019624    0.5876734   3.1755655
818   6000.73   575284          0.1065399   5/9/1910:43    0.0217322     0.6508069     4.63618E+13    3.142657   6.70217E+12    0.0143614    0.4300761    3.142657
819   6007.62   575284          0.1066622   5/9/1910:48    0.0217322     0.6508069     4.63618E+13   3.1462654   6.70217E+12    0.0184275    0.5518422   3.1462654
820   6006.48   575284           0.106642   5/9/1910:53    0.0217322     0.6508069     4.63618E+13   3.1456683   6.70217E+12    0.0226632    0.6786873   3.1456683
821   5999.23   575284          0.1065133   5/9/1910:58    0.0217322     0.6508069     4.63618E+13   3.1418714   6.70217E+12    0.2007318    6.0112483   6.0112483
822   6004.02   575284          0.1065983   5/9/1911:03    0.0217961     0.6527205     4.63618E+13     3.14438   6.70217E+12    0.0307427    0.9206414     3.14438
823   6000.99   575284          0.1065445   5/9/1911:08    0.0217961     0.6527205     4.63618E+13   3.1427931   6.70217E+12    0.0293874    0.8800547   3.1427931
824   6003.38   575284          0.1065869   5/9/1911:13    0.0217961     0.6527205     4.63618E+13   3.1440448   6.70217E+12    0.0349274    1.0459592   3.1440448
825   6014.88   575284          0.1067911   5/9/1911:18    0.0217961     0.6527205     4.63618E+13   3.1500675   6.70217E+12    0.0260766    0.7809072   3.1500675
826   6026.81   575284          0.1070029   5/9/1911:24    0.0217961     0.6527205     4.63618E+13   3.1563154   6.70217E+12    0.0118225    0.3540445   3.1563154




                                                                        Appx13586                                                                    TX984.0010
       Case: 23-1922     Document: 39-7     Page: 314    Filed: 01/02/2024


                                                                       Page 1

 1                IN THE UNITED STATES DISTRICT COURT
 2                 IN AND FOR THE DISTRICT OF DELAWARE
 3                               - - -
 4
       BEARBOX LLC and AUSTIN                   )
 5     STORMS,                                  )
                                                )
 6                Plaintiffs,                   )
                                                )
 7     vs.                                      ) Civil Action No.
                                                ) 21-534-MN-CJB
 8     LANCIUM LLC, MICHAEL T.                  )
       MCNAMARA, and RAYMOND E.                 )
 9     CLINE, JR.,                              )
                                                )
10                Defendants.                   )
11
                                       -   -    -
12
                            Wilmington, Delaware
13                         Friday, April 22, 2022
                          Motion to Strike Hearing
14                                   and
                          Discovery Dispute Hearing
15
                                       -   -    -
16
     BEFORE:    HONORABLE CHRISTOPHER J. BURKE, Magistrate Judge
17
                                       -   -    -
18   APPEARANCES:
19
                  ASHBY & GEDDES, P.A.
20                BY: ANDREW COLIN MAYO, ESQ.
21                     and
22                MARSHALL GERSTEIN BORUN LLP
                  BY: BENJAMIN HORTON, ESQ., and
23                     JOHN R. LABBE, ESQ.
                       (Chicago, Illinois)
24                       Counsel for Plaintiffs

                                 Veritext Legal Solutions
               215-241-1000 ~ 610-434-8588 ~ 302-571-0510 ~ 202-803-8830

                                   Appx13647
               Case: 23-1922             Document: 39-7               Page: 315              Filed: 01/02/2024

                                                     Page 22                                                                 Page 24
 1 was filed and the trade secret counts were dropped. So       1           THE COURT: And it didn't have anything to
 2 the trade secrets were no longer at issue in the case        2 do with arbitrage methods at all?
 3 when that interrogatory responded to.                        3           MR. HORTON: That's correct, Your Honor.
 4           But as far as --                                   4           THE COURT: Okay. Now, to that, the other
 5           THE COURT: Mr. Horton, wait. I'm sorry.            5 side, they cite your response to that interrogatory, and
 6 Just to back up, you said an architecture of something.      6 I think you've said that the response came after the
 7 What was it again?                                           7 trade secret counts were dropped. But in the
 8           MR. HORTON: Yeah. A system architecture,           8 interrogatory, they used the same phrase "BearBox
 9 Your Honor. So the way the system would be set up where      9 technology" that you used in the original complaint when
10 different components would be and how they would be         10 referencing the trade secret.
11 interconnected.                                             11           And then they say, Look, look at their
12           THE COURT: But a system architecture              12 answer. When we asked them what BearBox technology was,
13 relating to what?                                           13 part of the answer was the sentence beginning on the
14           MR. HORTON: Related to cryptocurrency             14 supplementary answer "Mr. Storms also explained." And I
15 mining.                                                     15 think they're saying what's being described there is
16           THE COURT: I mean, I'm just trying to --          16 energy value arbitrage.
17 obviously, one thing I'm trying to do here is I'm trying    17           How come they're wrong? In other words,
18 to understand in my own mind. Like, a key issue here is     18 they're suggesting that BearBox technology means the
19 defendants say that the plaintiffs were basically talking   19 kinds of methods for energy value arbitrage they're
20 about the types of arbitrage methods that are referred to   20 talking about in the second amended complaint, and
21 in the second amended complaint back in the original        21 they're citing particular parts of your supplemental
22 complaint.                                                  22 answer to demonstrate that.
23           And the plaintiff is saying, No, we               23           Why is their reading of your answer
24 weren't. No, no, we were talking about something else.      24 incorrect.

                                                     Page 23                                                                 Page 25
 1 And so incumbent upon that is to say, Here's what we were 1            MR. HORTON: It's incorrect, Your Honor,
 2 talking about. And you can see it's not the specific       2 because that answer does not discuss or reveal the
 3 arbitrage method that we're talking about now in the       3 particular method of energy value arbitrage we're talking
 4 second amended complaint. But I'm still struggling to      4 about here, nor would it, because at the time we
 5 understand what it was you were talking about in the       5 responded to this interrogatory, first of all, no trade
 6 first complaint.                                           6 secret was in the case at all.
 7           This architecture, what does it have to do       7           Second of all, we had no reason to
 8 with -- what more can you tell me about why the two        8 believe, at that point, that the defendants had
 9 things weren't overlapping?                                9 misappropriated and were using this particular trade
10           MR. HORTON: Yeah. Fair enough, Your             10 secret. And the particular trade secret, Your Honor, the
11 Honor. I'm not doing a good job of explaining that.       11 particular method of energy value arbitrage is very
12           First of all, it had nothing to do with         12 specific. It involves specific variables, specific
13 energy value arbitrage methods. What it did have to do    13 estimates or computations about specific performance
14 with was more -- when I say "architecture," I'm talking,  14 characteristics of particular machines and how those
15 Your Honor, about how different components are connected. 15 values all work together to inform how a system might
16 So, in other words, where servers might be in their       16 determine at what price to buy energy, at what price,
17 relationship in terms of how they're connected to an      17 when to sell it. It's very specific, Your Honor, and
18 electricity grid; where the control center may be with    18 that just wasn't contemplated at the time we responded to
19 respect to those servers in the electricity grid.         19 that interrogatory and that information's not in that
20 Something more high-level, how you set up various         20 answer.
21 physical components of a system.                          21           THE COURT: I guess when you were
22           THE COURT: So it was about certain              22 responding to the interrogatory, did you understand --
23 computer architecture?                                    23 they're obviously asking you to describe all aspects of
24           MR. HORTON: Yeah.                               24 the BearBox technology. Were you attempting -- and the

                                                                                                              7 (Pages 22 - 25)
                                      Veritext Legal Solutions
                    215-241-1000 ~ 610-434-8588 ~ 302-571-0510 ~ 202-803-8830
                                                       Appx13653
      Case: 23-1922   Document: 39-7    Page: 316   Filed: 01/02/2024
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 1
                          IN THE UNITED STATES DISTRICT COURT
 2
                          IN AND FOR THE DISTRICT OF DELAWARE
 3

 4   BEARBOX LLC and AUSTIN STORMS,                 )
              Plaintiffs,                           )
 5   v.                                             )
                                                    )   C.A. No.
 6   LANCIDM LLC, MICHAEL T.                        )   21-534-MN-CJB
     MCNAMARA, and RAYMOND E. CLINE,                )
 7   JR.                                            )
              Defendants.                           )
 8

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11                              Wilmington, Delaware
                                Thursday, October 20, 2022
12                              Markman Transcript

13                                     - - - -

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16    BEFORE:    HONORABLE GREGORY B. WILLIAMS
                 UNITED STATES DISTRICT COURT JUDGE
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25                                           Michele L. Rolfe, RPR, CRR



                              Appx13804
     Case: 23-1922   Document: 39-7     Page: 317     Filed: 01/02/2024
                                                                          18


 1   meaning as we understand BearBox understands the plain and

 2   ordinary meaning, because we're not sure what their plain

 3   and ordinary meaning actually is.              It seems to come from

 4   their expert.     And this is their expert, Dr. McClellan --

 5   and that's sort of how we got here because we didn't know

 6   until we took Mr. McClellan's deposition sort of where they

 7   were thinking about going with what they understood the

 8   plain and ordinary meaning to be.

 9                   And so this is Mr. McClellan here -- Dr.

10   McClellan.      My understanding of a power option agreement is

11   essentially a contract to buy power at a certain price.                   So

12   if that's the definition and the plain and ordinary meaning

13   they're going with, there's no option and there's no

14   minimum.

15                   So he goes on:      To me that's the plain and

16   ordinary meaning of it.          Opting to purchase power ahead of a

17   time at a certain rate.

18                   Now, that's slightly different than up here.

19                   And then he goes on:       I'm going to pay for that

20   power whether I use it or not.          I don't have to use it.

21                   So he's then asked:      You said PPA, meaning power

22   purchase agreement, I think the term from the patent is

23   power option agreement.          And he answers:       I may have used

24   the wrong term.     I meant the contracted purchase of power at

25   a certain price.



                             Appx13821
     Case: 23-1922    Document: 39-7     Page: 318   Filed: 01/02/2024
                                                                         25


 1                    So his point, I think, Your Honor, was, look,

 2   I'm contracted, I must receive it, it must be delivered to

 3   me.   Because I don't disagree with Mr. Nelson, the point of

 4   the power option agreement is the grid wants to be able to

 5   balance itself.      And so in the event that it needs to call

 6   on the option to sort of redirect that delivered power

 7   elsewhere; of course that means the power needs to be

 8   delivered in the first place.           And so I think Dr.

 9   McClellan's testimony is consistent with that.

10                    What I think he was resisting is the notion that

11   that delivered power has to be used to perform computations.

12   When -- his review of the patent, he thinks that the power

13   could be used to, you know, conduct computations, but also

14   to use for infrastructure, shunt to ground.               He's reading

15   the patent more broadly in terms of what the power can be

16   used for.       I don't think he disputed any point that it needs

17   to be contracted to be delivered.

18                    THE COURT:    Well, let me ask you a follow up:

19   Didn't I read somewhere where Dr. McClellan admitted that he

20   didn't review the patent?

21                    MR. HORTON:      I don't think so, Your Honor.       That

22   might have been Dr.       McCamant -- or Mr. McCamant.

23                    MR. NELSON:      Yeah, I was going to say counsel is

24   correct.    So both parties have a technical expert,

25   Dr. Hasani is ours, Dr. McClellan is BearBox's.                And a --



                              Appx13828
     Case: 23-1922   Document: 39-7     Page: 319   Filed: 01/02/2024
                                                                        32


 1                   So moving on to minimum power threshold, Your

 2   Honor.    Again, BearBox's construction has always been plain

 3   and ordinary meaning.        That was Lancium's construction of

 4   the term as well up until the summary judgment brief was

 5   filed.    That was Lancium's interpretation -- was consistent

 6   with BearBox's or at least they didn't dispute it all the

 7   way through fact discovery, all the way through expert

 8   reports, and only in summary judgment did they raise an

 9   issue.    Trying to --

10                   THE COURT:    Didn't both sides reserve the right

11   to request claim construction in the future if necessary?

12                   MR. HORTON:      They did, Your Honor.       They did.

13                   So if we're trying to resolve a perceived issue

14   about what the plain and ordinary meaning is, this is an

15   attempt at a compromise to try to harmonize, again, the

16   claim.

17                   A minimum power threshold, BearBox's proposes

18   would be a minimum amount of power delivered to a load

19   unless the power entity exercises the option.              And, again,

20   the option would be discussed in the previous plain and

21   ordinary meaning of power option agreement.

22                   What we want to be clear about here, though, is

23   that a minimum power threshold may be zero.              We didn't think

24   this was controversial until the summary judgment briefing,

25   because the patent is so clear about that.



                              Appx13835
      Case: 23-1922   Document: 39-7    Page: 320   Filed: 01/02/2024
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 1                        IN THE UNITED STATES DISTRICT COURT

 2                        IN AND FOR THE DISTRICT OF DELAWARE

 3
     BEARBOX LLC and AUSTIN STORMS,                 )
 4            Plaintiffs,                           )
     v.                                             )
 5                                                  )   C.A. No.
     LANCIUM LLC, MICHAEL T.                        )   21-534-MN-CJB
 6   MCNAMARA, and RAYMOND E. CLINE,                )
     JR.                                            )
 7            Defendants.                           )

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                                       - - - -
10
                                Wilmington, Delaware
11                              Tuesday, November 29, 2022
                                Pretrial Transcript
12
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14

15
      BEFORE:    HONORABLE GREGORY B. WILLIAMS
16               UNITED STATES DISTRICT COURT JUDGE

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                                             Michele L. Rolfe, RPR, CRR
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                              Appx13858
     Case: 23-1922   Document: 39-7    Page: 321   Filed: 01/02/2024
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 1   APPEARANCES:

 2

 3

 4
                         ASHBY & GEDDES
 5                       BY: ANDREW C. MAYO, ESQ.

 6                             -and-

 7                       MARSHALL, GERSTEIN & BORUN LLP
                         BY: BENJAMIN T. HORTON, ESQ.
 8                           JOHN LABBE, ESQ.
                                   For the Plaintiffs
 9

10                       BARNES & THORNBURG LLP
                         BY: WILLIAM BURTON, ESQ.
11                            MARK C. NELSON, ESQ.
                              ADAM M. KAUFMANN, ESQ.
12                            DERRICK HOOKER, ESQ.
                                   For the Defendants
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                             Appx13859
     Case: 23-1922   Document: 39-7     Page: 322   Filed: 01/02/2024
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 2                         P R O C E E D I N G S

 3

 4            (REPORTER'S NOTE:       The following pretrial hearing was

 5   held in Courtroom 6-B, beginning at 3:00 p.m.)

 6                   THE COURT:    Good afternoon.       You may be seated.

 7                   All right.    So we're here for the final pretrial

 8   conference in BearBox LLC, et al versus Lancium LLC, et al.

 9   Civil Action No. 21-534.

10                   There's a three-day bench trial scheduled to

11   start on Tuesday, December 6th at 9:00 a.m.

12                   So I have reviewed the proposed pretrial order

13   submitted by the parties and I just want to go through

14   and -- go through the various sections and see what needs to

15   be done and then decide on the motions in limine.

16                   So let's start by having counsel put their

17   appearances on the record.

18                   MR. MAYO:     Good afternoon, Your Honor.

19                   THE COURT:    Good afternoon, Mr. Mayo.

20                   MR. MAYO:     Andrew Mayo from Ashby & Geddes on

21   behalf of plaintiffs BearBox and Mr. Austin Storms.                I'm

22   joined today by my co-counsel from Marshall Gerstein Ben

23   Horton and John Labbe.

24                   MR. LABBE:    Good afternoon.

25                   MR. BURTON:      Good afternoon, Your Honor.



                             Appx13860
     Case: 23-1922   Document: 39-7   Page: 323   Filed: 01/02/2024
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 1   William Burton of Barnes & Thornburg on behalf of

 2   defendants.     With me today is Mark Nelson, Adam Kaufmann and

 3   Derrick Hooker all from Barnes & Thornburg and all have been

 4   admitted pro hac.

 5                   Mr. Stover wanted me to let you know he's with

 6   Judge Fallon right now, but he does intend on joining us

 7   once that's over.

 8                   THE COURT:   Okay.

 9                   So first with respect to trial exhibits and

10   objections thereto, I see that the parties have separate

11   list of exhibits.      What I'd like the parties to do is to

12   meet and confer and compile a joint -- a common list of

13   exhibits in an attempt to reach agreement on any remaining

14   objections.

15                   The common list of exhibits should be filed no

16   later than Friday, December 2nd, along with a list of any

17   exhibits that remain in dispute.        And for those that remain

18   in dispute, I want the specific objections to the proposed

19   exhibit with citations and any response to those objections

20   with citations.

21                   With respect -- you know, the purpose is to

22   narrow the objections down as much as possible and to

23   have -- it looks like many of the exhibits are the same, so

24   instead of having plaintiffs and defendants, let's just have

25   a common exhibit list.



                             Appx13861
     Case: 23-1922   Document: 39-7     Page: 324   Filed: 01/02/2024
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 1                   And then to the extent that there are some

 2   exceptions where you guys just can't reach an agreement,

 3   then we can have them as, you know, Plaintiffs Exhibits and

 4   Defense Exhibits, but the record will be clearer with as

 5   many common exhibits as we can have.

 6                   Next with respect to demonstrative exhibits, any

 7   party proposing to use demonstrative exhibits during their

 8   examination of witnesses should produce the proposed

 9   demonstrative to the other side at least 24 hours in advance

10   before its intended use and meet and confer about any

11   proposed objections.

12                   If the parties cannot reach agreement on

13   demonstratives, it should be brought to the Court's

14   attention for resolution prior to the start of the hearing

15   on the proposed demonstratives to be used.

16                   Next with respect to witnesses, are there any

17   significant disputes with respect to the calling of any

18   witnesses identified by either side that the Court needs to

19   resolve?

20                   In looking at the witness list, none was

21   apparent to me.

22                   MR. NELSON:      Your Honor, there's one issue

23   that's come up, I don't think it's going to be a problem,

24   but Rachel Arndt is on the may call list for defendants.               It

25   came to our attention last night that she is likely



                             Appx13862
     Case: 23-1922   Document: 39-7     Page: 325   Filed: 01/02/2024
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 1   unavailable.     She lives in Chicago and her husband is out of

 2   town this time period when the trial is going to occur and

 3   she doesn't have anybody to watch her kids.

 4                   I think it's unlikely -- I brought this up to

 5   opposing counsel this morning.          I think it's unlikely we

 6   will call her, given the current posture of the case, but

 7   she is amendable to appearing by Zoom or some other method

 8   in the event she were to be called if the Court would

 9   consider that.

10                   THE COURT:    Okay.    If it is necessary to call

11   her, she's on the may call list, so if it becomes an issue

12   where you need to -- where defendants decide they want to

13   call her, defendants should confer with counsel for

14   plaintiffs to see whether they have any objection to her

15   appearing remotely.      And if you guys can't reach agreement

16   on it, then I'll weigh in on it.          Hopefully the parties will

17   be able to reach agreement if necessary.

18                   MR. NELSON:      Thank you, Your Honor.

19                   THE COURT:    Any other issues with respect to

20   witnesses?

21                   MR. HORTON:      Your Honor, we have designated in

22   the pretrial order that we intend to call in our

23   case-in-chief by deposition some limited deposition

24   designations from two of the defendant's witnesses.                We

25   discussed that with counsel today during a meet and confer,



                             Appx13863
     Case: 23-1922   Document: 39-7     Page: 326   Filed: 01/02/2024
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 1   and counsel didn't have a position whether they were going

 2   to object or not to that.         So we wanted to raise that as a

 3   potential issue as well.

 4                   THE COURT:    Okay.    So what's the issue with

 5   respect to deposition designations?

 6                   MR. NELSON:      Well, Your Honor, we were -- we

 7   wanted some time to research the issue.            It's my experience

 8   that some courts permit deposition designations to be played

 9   when the witnesses are also present live and other courts do

10   not.    And if plaintiff wants to call an adverse witness in

11   their case-in-chief, then they call the person live.               And I

12   don't know what Your Honor's preference is at all, but we

13   wanted to research the issue to make a decision.

14                   THE COURT:    Right.    Did you intend to call these

15   witnesses live as well?

16                   MR. HORTON:      No, Your Honor, just limited

17   deposition testimony.        The rule -- the rule on point, we

18   think, on some point here, Your Honor, is Rule 32(a)(3).

19   And the witnesses that we're talking about here, Your Honor,

20   are also parties to the case, and that's what we believe

21   Rule 32(a)(3) covers.

22                   THE COURT:    Okay.    Are these witnesses that the

23   defendants will call as well?

24                   MR. HORTON:      I believe so, Your Honor, but I --

25                   MR. NELSON:      Who is it; is it Cline and



                             Appx13864
     Case: 23-1922   Document: 39-7     Page: 327   Filed: 01/02/2024
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 1   McNamara?

 2                   MR. HORTON:      Yes, that's correct.

 3                   MR. NELSON:      Yeah, I think it's highly likely

 4   we'll call both McNamara and Cline.

 5                   THE COURT:    Okay.    So if these witnesses are

 6   going to be live witnesses, why not just call them as cross

 7   in your case-in-chief?

 8                   MR. HORTON:      Rule 32(a)(3), Your Honor, says

 9   that we can use the parties' testimony taken by deposition

10   for any purpose; and so that's the purpose we'd like to use

11   it for.

12                   We also think it would be more efficient and

13   orderly for those pieces of information and authentication

14   of documents to be done by deposition rather than through,

15   for example, cross-examination or calling an adverse witness

16   live.

17                   THE COURT:    Okay.

18                   All right.    You said you may do it or are you

19   sure you're going to do it?

20                   MR. HORTON:      I think we're sure we're going to

21   do it, Your Honor.

22                   THE COURT:    Okay.

23                   All right.    So, defendants, you wanted some time

24   to look at the issue further.          Let me know your position,

25   defendants, on it by noon on Friday.



                             Appx13865
     Case: 23-1922   Document: 39-7     Page: 328   Filed: 01/02/2024
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 1                   MR. NELSON:      Yes, Your Honor.

 2                   One thing that would help us -- and I don't know

 3   if you're willing to do this or not -- was to know what

 4   portions of the depo designations they intend to play.

 5   Because if it's simply authenticating documents or something

 6   like that, you know, that may well be something that we're

 7   more likely to agree to than significant portions of

 8   depositions that we think might be out of context or

 9   whatever.

10                   I don't know if it's something you're willing to

11   do is to tell us what you're going to play in advance so we

12   can have a better feel for whether we're going to object or

13   not.

14                   MR. HORTON:      So, Your Honor, we've exchanged

15   deposition designations, as Your Honor probably knows those

16   start out broad and they get narrowed through the process.

17   We're in the process of narrowing that.            I believe under the

18   current pretrial order that we proposed, we would have to

19   provide the actual designations we intend to play by

20   Saturday.

21                   THE COURT:    Yes.

22                   MR. HORTON:      So that is our plan.

23                   THE COURT:    Okay.

24                   All right.    And then the defendants will have an

25   opportunity to designate their counter-designations.               So it



                             Appx13866
     Case: 23-1922   Document: 39-7     Page: 329   Filed: 01/02/2024
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 1   sounds like by Saturday plaintiffs will let defendants know

 2   the specific designations that they proposed to play.              Is it

 3   video as well?

 4                   MR. HORTON:      That's correct, Your Honor, yes.

 5                   THE COURT:    Okay.    And then defendants will have

 6   the opportunity to counter-designate or raise any objections

 7   that you have and if it's -- so why don't we make

 8   defendants -- if there's still an issue by Monday morning,

 9   you get me your position.         And if it's something that I need

10   to resolve, you'll let me know.

11                   MR. NELSON:      That sounds good, Your Honor.

12   Thank you.

13                   THE COURT:    Okay.    And the next topic was going

14   to be deposition designations, so parties are going to

15   continue to meet and narrow your deposition designations and

16   any objections to it.

17                   Any proposed deposition designations that either

18   side intends to present should be presented to the other

19   side in accordance with the instructions of the Court; and,

20   thereafter, the opposing side has the opportunity to make

21   counter-designations.

22                   And if there's still any objections, the parties

23   should bring it to the Court's attention before the day that

24   the counter-designations are proposed to be read into the

25   record.



                             Appx13867
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 1                   Next is just time allocation.         It's a three-day

 2   bench trial, so basically we're dealing with about 20 hours.

 3   Each side will be allocated a total of one hour for opening

 4   and closings.     Each side will be allocated up to

 5   seven-and-a-half hours to present their case or their

 6   defense case-in-chief and rebuttal through testimony.              So

 7   seven-and-a-half hours total each side.

 8                   Sidebar objections will be charged to the

 9   parties.

10                   With respect to openings and closings, you know,

11   it's a bench trial, you can decide whether or not you want

12   to give an opening or closing, but, you know, we'll just set

13   aside one hour.

14                   If you decide that you don't want it and would

15   rather have that time in your presentation of your case,

16   just let me know and we can have that time added to you.

17                   But the parties should meet and confer about

18   that and let me know about that prior to the start of trial.

19                   MR. NELSON:      Your Honor, may I ask a question?

20                   THE COURT:    Sure.

21                   MR. NELSON:      I think I know the answer, but when

22   you say one hour for openings and closings, do you mean each

23   or the total?

24                   THE COURT:    I mean each.

25                   MR. NELSON:      So one hour openings and one hour



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 1   for closing?

 2                   THE COURT:    No, one hour per side.

 3                   MR. NELSON:      Okay.

 4                   THE COURT:    You can divvy up your hour between

 5   opening and closing as you like.

 6                   MR. NELSON:      All right.    Thank you.

 7                   THE COURT:    All right.       Moving to the motions in

 8   limine.    I've reviewed the motions in limine.

 9                   I'll start with plaintiff's motion in limine

10   one, which is motion in limine to preclude defendants from

11   presenting evidence, testimony or argument at trial about

12   any of their patents, patent applications or inventions

13   other than the '433 patent.

14                   That motion in limine is denied.           Evidence of

15   Lancium's '632 application and other evidence of Lancium's

16   patent portfolio is relevant to plaintiff's claims and

17   defendant's defenses thereto, and its probative value is not

18   substantially outweighed by the danger of unfair prejudice.

19                   Moving to plaintiff's motion in limine two,

20   which is the motion in limine to preclude defendants from

21   presenting evidence, testimony or argument at trial about

22   any purported conception of any element of the inventions

23   claimed in the '433 patent that defendants withheld during

24   fact discovery.

25                   That motion in limine is denied.           Lancium



                             Appx13869
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 1   provided over 30 pages of dates and evidence supporting

 2   their claim of conception of the '433 patent.            Lancium later

 3   provided additional evidence on an element-by-element basis

 4   through Dr. Ehsani's expert report.          After Lancium

 5   supplemented its response to Interrogatory No. 3, BearBox

 6   never moved to compel for any alleged deficiency in the

 7   response, thus Lancium had reason to believe its response

 8   was sufficient.     And the Pennypack factors favor inclusion

 9   of the evidence.

10                   Moving to plaintiff's motion in limine number

11   three, which is motion in limine to preclude defendants from

12   presenting evidence, testimony or argument at trial

13   suggesting that plaintiffs cannot prove inventorship or

14   conversion by relying on nonconfidential information.

15                   That motion in limine is granted in part; denied

16   in part.    Lancium is able to present evidence, testimony or

17   argument about the public nature of BearBox's disclosures,

18   which is relevant to Lancium's defense against BearBox's

19   claim of joint inventorship, i.e., to prove there was no

20   collaboration between Lancium, including McNamara and/or

21   Cline and Mr. Storms.      However, Lancium cannot make blanket

22   statements that the alleged public nature of BearBox's

23   disclosures precludes a finding of joint inventorship.            Such

24   a statement is not supported by the law.           See the

25   Dana-Farber case, 964 F.3d, 1365 at 1371 to 1372.



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 1                   Moving to Lancium's first motion in limine,

 2   which is a motion in limine to preclude expert testimony

 3   inconsistent with the Court's claim construction ruling and

 4   to include new expert testimony or opinions outside the

 5   scope of expert's reports.

 6                   That motion is granted in part; denied in part.

 7   Defendant's motion in limine number one is granted in part

 8   to the extent it seeks to preclude Dr. McClellan from

 9   testifying inconsistently with the Court's Markman opinion.

10   Ultimately, any concern of prejudice can be adequately

11   addressed during trial by proper objection or through

12   cross-examination of Dr. McClellan.

13                   Defendant's motion in limine number one is

14   denied in part as moot based on the Court's November 23rd

15   order striking Dr. McClellan's supplemental report.

16                   Moving to Lancium's motion in limine number two,

17   which is a motion in limine to preclude plaintiffs from

18   using pejorative terms like "thief, theft, steal, stealing

19   or robbery."

20                   Defendant's motion in limine number two is

21   denied as moot.     Conversion is no longer a claim to be tried

22   and this is no longer a jury trial.

23                   Moving to Lancium's motion in limine number

24   three, motion in limine to preclude any argument or evidence

25   regarding discovery disputes.        The ruling is that neither



                             Appx13871
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 1   side should refer to Lancium's source code or any discovery

 2   dispute related to such matter.

 3                   At the same time, Lancium cannot not produce

 4   such information but try to use such information in its

 5   defense.

 6                   BearBox cannot refer or attempt to use any

 7   discovery the disputes.

 8                   That's all the rulings on the motions in limine.

 9                   That is all that I had on my list.

10                   Anything else that counsel believes that we need

11   to discuss this afternoon?

12                   One thing I need to raise is set up of

13   electronic equipment.      The parties requested that the Court

14   grant them access to the courtroom on Monday, December 5th

15   to allow the parties to set up electronic and computer

16   devices to be used during trial.          That's fine.       There's

17   nothing on the Court's schedule in this courtroom on that

18   date, so the parties will be granted access to set up their

19   electronic equipment.

20                   Just call chambers and coordinate to make sure

21   the courtroom is open so that you can set up your equipment.

22                   MR. HORTON:      Your Honor, one other -- it may be

23   too early to ask, but we wanted to ask about post-trial

24   briefing for conclusions of law and those findings of fact.

25   We started to discuss this with opposing counsel and we



                             Appx13872
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 1   didn't know whether you would prefer sequential briefing or

 2   simultaneous briefing.        And I think the one thing we're in

 3   agreement on is that we'd like to ask for maybe five to

 4   six weeks for the opening briefs to put them a little after

 5   the holidays, the next round wouldn't be due until

 6   thereafter.     We're sort of in agreement on that.

 7                   If that's amendable to Your Honor, we can put a

 8   proposed schedule, but I think we need your guidance on your

 9   preference for -- I think our preference would be sequential

10   briefing, I can't speak -- we didn't reach an agreement on

11   that aspect of anything, but our preference would be that we

12   would file briefs, they would respond and then we would have

13   an opportunity to reply as well as the plaintiffs.

14                   MR. NELSON:      And so I guess we are in agreement

15   with the other side with respect to trying to have

16   post-trial briefing done sort of after the holidays.               It

17   would be our preference, I think, to have simultaneous

18   briefing or if it is sequential briefing we would get a

19   sur-reply so each side would get the same number of papers.

20                   THE COURT:    Okay.    I'm fine with the schedule

21   after the holidays.

22                   You guys meet and confer and set a proposed

23   order.

24                   With respect to whether simultaneous or

25   sequential, I think it would be more -- it's more productive



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 1   for the Court to have sequential briefing, but I will grant

 2   your request for sur-reply so that each side has the same

 3   amount of times to address the Court.

 4                   MR. NELSON:      Thank you, Your Honor.

 5                   MR. HORTON:      Okay.    I think with that advice, we

 6   can meet and confer and put together a proposal.

 7                   MR. NELSON:      One more pretrial issue, Your

 8   Honor.

 9                   THE COURT:    Go ahead.

10                   MR. NELSON:      How does the Court prefer that we

11   bring up judgment as a matter of law, motion for directed

12   verdict, things like that during the course of once they

13   rest, assuming that we would make such a motion and then

14   again once we rest.

15                   THE COURT:    Yes.       Just make your motion orally

16   and let me know that you're making your motion.                I assume

17   that you'll follow up with, you know, written papers.               So if

18   I have it then you can make your motion and hand up your

19   written submission.      If you're going to do it -- a follow

20   up, you know, after your oral -- at some later date, you

21   know, let me know.

22                   MR. NELSON:      Okay.    It would be our preference

23   to do it at a later date and make the motions orally at the

24   time just to preserve the record.

25                   THE COURT:    Okay.      But they should be -- they



                             Appx13874
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 1   will be due within -- the written submissions will be due

 2   within five days after the completion of trial.

 3                   MR. NELSON:      Five days, Your Honor?

 4                   THE COURT:    Yes.    Five -- so seven days, yes.

 5   So a week after the completion of the trial.

 6                   MR. NELSON:      Thank you, Your Honor.        That's

 7   fine.

 8                   THE COURT:    Anything else?

 9                   MR. HORTON:      I guess I'll raise it, it is our

10   position that there's no such thing as a motion for a

11   directed verdict or for judgment as a matter of law for a

12   bench trial.     I think the rule specifically says with

13   respect to a jury trial, so that would be our position with

14   respect to those motions that they wouldn't be appropriate

15   for a bench trial.

16                   THE COURT:    Okay.

17                   All right.    We'll take it under advisement.            If

18   that is indeed the law, then it's easy to denial.

19                   MR. NELSON:      Okay, thank you, Your Honor.

20                   THE COURT:    Anything else?

21                   MR. HORTON:      No, Your Honor.

22                   THE COURT:    All right.

23                   MR. NELSON:      No, Your Honor.

24                   THE COURT:    All right.       We will recess.

25                   We'll look for your proposed orders and we'll



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 1   see you for trial on Tuesday.

 2                   (Whereupon, the following proceeding concluded

 3   at 3:26 p.m.)

 4                        I hereby certify the foregoing is a true

 5   and accurate transcript from my stenographic notes in the

 6   proceeding.

 7                                    /s/ Michele L. Rolfe, RPR, CRR
                                           U.S. District Court
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